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                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                     MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                                SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                                    PRETRIAL ORDER NO. 1

        The cases listed on Attachment A may merit special attention as complex litigation.

Accordingly, the Court enters the following Order.

1.      Scope of Order:         This Order governs the practice and procedures in the actions

transferred to this Court by order of the Judicial Panel on Multidistrict Litigation dated October

4, 2016 and related actions filed in the Eastern District of Louisiana. See Attachment A hereto

(listing transferred actions and related actions filed in this District). Any related action later

filed in, removed to, or transferred to this Court also shall be subject to this Order.

2.      Transmission of Records: Upon receipt of an electronically certified copy of a Panel

transfer order from the clerk of this Court (the transferee district), the clerk of the transferor

district shall transmit electronically (in PDF form) to the clerk of this Court a certified copy of

only (1) the docket sheet; and (2) the complaint, together with any amendments thereto. This

shall satisfy the clerk of the transferor court’s obligation to transmit the record pursuant to Rule

9.1(a) of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation, and the

transferred action may be closed in the transferor district.



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3.     Consolidation:          The cases listed on Attachment A are hereby consolidated for

pretrial purposes. Related actions later filed in, removed to, or transferred to this Court will be

consolidated automatically with this action without the need of further motions or orders. This

consolidation does not constitute a determination that the actions should be consolidated for trial,

nor does it have the effect of making any entity a party to any action in which he, she or it has

not been named, served or added in accordance with the Federal Rules of Civil Procedure.

4.     Initial Conference:      A conference shall be held in these proceedings on Thursday,

November 10, 2016 at 10:00 a.m. in Courtroom C351, United States Courthouse, 500 Poydras

Street, New Orleans, Louisiana 70130.

       (a) Appearance at Initial Conference:          Attendance at the initial conference will not

       waive objections to jurisdiction, venue, or service. To minimize costs and facilitate a

       manageable conference, parties with similar interests may designate an attending attorney

       to represent their interests at the conference. Doing so will not preclude a party from

       personally participating or selecting other representation in the future. However, parties

       must inform the Court of any such designation no later than Monday, November 7, 2016

       at 10:00 a.m. CST via email to efile-Engelhardt@laed.uscourts.gov.

       (b) Purposes and Agenda: The conference will be held for the purposes specified in

       Fed. R. Civ. P. 16(a), 16(b), 16(c), and 26(f). A tentative agenda is set forth in

       Attachment C.

       (c) Preparations for Conference:

               (i)     Procedures for Complex Litigation: Counsel are expected to

                       familiarize themselves with the Manual for Complex Litigation, Fourth

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              and to be prepared at the conference to suggest procedures that will

              facilitate the just, speedy, and inexpensive resolution of this litigation.

       (ii)   Initial Conference of Counsel: Before the conference, counsel shall

              confer and seek consensus to the extent possible with respect to the items

              on the agenda, including a proposed discovery plan under Rule 26(f) that

              contains expert discovery deadlines, and a suggested schedule under Rule

              16(b) for joinder of parties, amendment of pleadings, consideration of

              class action allegations, and motions under Rules 12, 23 and 56. If the

              parties wish to suggest additions to the agenda and/or provisions for a case

              management order, they shall submit them by 5:00 p.m. on Wednesday,

              November 2, 2016 via email to efile-Engelhardt@laed.uscourts.gov.

      (iii)   Preliminary Reports: Counsel for the plaintiffs and the defendants

              shall separately submit to the Court by noon on Wednesday, November

              2, 2016 (via email to efile-Engelhardt@laed.uscourts.gov) a brief written

              statement indicating their preliminary understanding of the facts involved

              in the litigation and the critical factual and legal issues. These statements

              will not be filed with the Clerk, will not be binding, will not waive claims

              or defenses, and may not be offered into evidence against a party in later

              proceedings. The statements shall list all motions pending as of the date

              of this Order, as well as all related cases pending in state or federal court

              and their current status. The parties are limited to one submission for all

              plaintiffs and one such submission for all defendants.

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5.     Service List:    Until the initial conference, service of all papers, including this Order,

shall be upon the persons shown on Attachment B, which consists of counsel who made

appearances before the Judicial Panel on Multidistrict Litigation and other counsel who were

served with papers filed with the Panel. Counsel on this list are requested to forward a copy of

the Order to other attorneys who should be notified of the matters herein. The parties shall

prepare a corrected service list at the initial conference, which shall include street and e-mail

addresses of counsel, as well as telephone and fax numbers.

6.     Admission of Counsel:        Attorneys admitted to practice and in good standing in any

United States District Court are hereby admitted pro hac vice in this litigation. Association of

local co-counsel is not required.

7.     Master Docket File: Any pleading or document that is to be filed in any of these

actions shall be filed with the Clerk of this Court and not in the transferor court. The Clerk of

this Court will maintain a master docket case file under the style “In Re: Taxotere, Products

Liability Litigation” and the identification “MDL No. 2740.” When a pleading is intended to be

applicable to all of the actions, this shall be indicated by the words: “This Document Relates to

All Cases.” When a pleading is intended to apply to fewer than all of the cases, this Court’s

docket number for each individual case to which the document number relates shall appear

immediately after the words “This Document Relates To.”

       (a) Filing.     All documents filed in this Court, after those initiating a new case, must be

       filed electronically pursuant to Local Rule 5.1 and this Court’s Administrative Procedures

       for Electronic Filing. Attorneys may register for electronic filing at

       www.laed.uscourts.gov/cmecf/cm_ecf_training.htm. An attorney who, due to

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       exceptional circumstances, is unable to comply with the requirements of electronic filing,

       may apply to the Court for an order granting an exemption. The application shall be in

       writing, filed with the Clerk of the Court, and shall state the reason for the attorney’s

       inability to comply. The Clerk of the Court is directed to make all entries on the master

       docket sheet with a notation listing the cases to which the document applies, except that a

       document closing a case will also be entered on the individual docket sheet. All

       documents shall be kept in the master file.

       (b) Docketing New Cases. When an action that properly belongs in In Re: Taxotere,

       Products Liability Litigation is hereafter filed in the Eastern District of Louisiana or

       transferred here from another court, the Clerk of this Court shall:

                (i)    File a copy of this Order in the separate file for such action;

                (ii)   Make an appropriate entry on the master docket sheet;

               (iii)   Forward to the attorneys for the plaintiff in the newly filed or transferred

                       case a copy of this Order;

               (iv)    Upon the first appearance of any new defendant, forward to the attorneys

                       for the defendant in such newly filed or transferred cases a copy of this

                       Order.

8.     Extension of Time: The defendants are hereby granted an extension of time to respond

to the complaints by motion or by answer, until a date to be set following the initial conference.

9.     Pending and New Discovery.         Pending the initial conference, all outstanding

disclosure and discovery requirements are hereby stayed, and no further discovery shall be

initiated. This Order does not preclude voluntary, informal discovery regarding the identification

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and location of relevant documents and witnesses, nor does it prevent a party from voluntarily

making disclosures or responding to an outstanding discovery request under Federal Rules of

Civil Procedure 33, 34, or 36.

10.    Pending Motions:          Regarding pending motions in cases transferred or removed to this

MDL from another court, such motions must be re-filed in the master docket in order to receive

consideration by this Court. Regarding pending motions in cases filed in this District, such

motions are hereby denied without prejudice. Such motions must be re-filed in the master

docket in order to receive consideration. Re-filing of all such motions (in both transferred and

E.D. La. cases) shall be done after the initial conference and pursuant to the scheduling order to

be entered by the Court.

11.    Orders of Transferor Courts:            All orders by transferor courts that impose dates for

hearings, pleadings, discovery, or conferences are hereby vacated.

12.    Preservation of Evidence:          All parties and their counsel are reminded of their duty to

preserve evidence that may be relevant to this action. The duty extends to documents, data, and

tangible things in possession, custody and control of the parties to this action, and any

employees, agents, contractors, carriers, bailees, or other nonparties who possess materials

reasonably anticipated to be subject to discovery in this action. “Documents, data, and tangible

things” is to be interpreted broadly to include writings, records, files, correspondence, reports,

memoranda, calendars, diaries, minutes, electronic messages, voice mail, E-mail, telephone

message records or logs, computer and network activity logs, backup data, removable computer

storage media such as tapes, discs and cards, printouts, document image files, Web pages,

databases, spreadsheets, software, books, ledgers, journals, orders, invoices, bills, vouchers,

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check statements, worksheets, summaries, compilations, computations, charts, diagrams, graphic

presentations, drawings, films, charts, digital or chemical process photographs, video,

phonographic, tape or digital recordings or transcripts thereof, drafts, jottings and notes, studies

or drafts of studies or other similar such material. Information that serves to identify, locate, or

link such material, such as file inventories, file folders, indices, and metadata, is also included in

this definition. Preservation includes the obligation not to alter any such thing as to its form,

content or manner of filing. Until the parties reach an agreement on a preservation plan or the

Court orders otherwise, each party shall take reasonable steps to preserve all documents, data and

tangible things containing information potentially relevant to the subject matter of this litigation.

Each counsel is under an obligation to the Court to exercise all reasonable efforts to identify and

notify parties and nonparties, including employees of corporate or institutional parties of the

contents of this paragraph. Failure to comply may lead to dismissal of claims, striking of

defenses, imposition of adverse inferences or other dire consequences.

       Before any devices, tangible things, documents, and other records that are reasonably

calculated to lead to admissible evidence are destroyed, altered, or erased, counsel shall confer to

resolve questions as to whether the information should be preserved. If counsel are unable to

agree, any party may apply to this Court for clarification or relief from this Order upon

reasonable notice.

13.    Discovery Shall Not Be Filed.           Pursuant to Rule 5(d) of the Federal Rules of Civil

Procedure, discovery requests and responses shall not be filed with the Clerk or sent to the

Judge’s Chambers, except when specifically ordered by the Court to the extent needed in

connection with a motion.

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14.    Motions to Certify Class:       The Court is unaware of any class action allegations

asserted in the transferred actions. Nevertheless, the time limit for filing a motion for class

certification set forth in Local Rule 23.1(B) is hereby suspended pending entry of a scheduling

order following the initial conference.

15.    Liaison Counsel:        The Court will appoint a liaison counsel for plaintiffs and for

defendants, respectively, who will be charged with essentially administrative functions. By 9:00

a.m. on Tuesday, October 25, 2016, counsel for the plaintiffs and counsel for defendants shall

confer (plaintiffs’ counsel amongst themselves, defense counsel amongst themselves) and seek

consensus regarding the nomination of candidates for liaison counsel for each group.

Nominations for liaison counsel shall be submitted to the Court no later than 9:00 a.m. on

Thursday, October 27, 2016 (via email to efile-Engelhardt@laed.uscourts.gov), with notice to

all counsel named in Attachment B (or an updated service list if one has been prepared).

Appointment of liaison counsel shall be made by the Court after full consideration of the

nominations; the Court shall not be limited to those nominated.

       Liaison counsel shall be authorized to receive orders and notices from the Court and from

the Judicial Panel on behalf of all parties within their liaison group and shall be responsible for

the preparation and transmittal of copies of such orders and notices to the parties in their liaison

group and perform other tasks set by the Court. Liaison counsel shall be required to maintain

complete files with copies of all documents served upon them and shall make such files available

to parties within their liaison group upon request. The expenses incurred in performing the

services of liaison counsel shall be shared by all members of the liaison group in a manner

agreeable to the parties or as set by the Court failing such agreement.

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16.    Plaintiffs’ Steering Committee.        It is the Court’s intent to appoint a Plaintiffs’

Steering Committee (“PSC”) to conduct and coordinate the discovery stage of this litigation with

the defendants’ representatives or committee. Applications and nominations for PSC positions

must be filed electronically in the master docket no later than 5:00 p.m. on Monday, October

24, 2016. Notice must also be served upon all counsel named in Attachment B (or an updated

service list if one has been prepared). The main criteria for membership on the PSC will be:

(a) willingness and availability to commit to a time-consuming project; (b) ability to work

cooperatively with others; (c) professional experience in this type of litigation; and (d)

willingness to commit the necessary resources to pursue this matter. Applications and

nominations should succinctly address each of the above criteria, as well as any other relevant

matters, including any agreements among counsel bearing on service on committees or relating

to fees or costs. No submissions longer than four (4) pages will be considered. The Court will

consider only attorneys who have filed a civil action that has been made part of this MDL.

       Objections to the appointment of a proposed applicant or nominee will be considered

only if made in writing and electronically filed in the master docket by 5:00 p.m. on

Wednesday, October 26, 2016, with notice to all counsel named in Attachment B (or an

updated service list if one has been prepared). Such objections, if there are any, must be short,

yet specific in nature, and must be supported by necessary documentation.

       The PSC will have the following responsibilities:

       (a)     Discovery:



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       (i)     Initiate, coordinate, and conduct all pretrial discovery on behalf of

               plaintiffs in all of the actions that are consolidated in this proceeding.

       (ii)    Develop and propose to the Court schedules for the commencement,

               execution, and completion of all discovery on behalf of all plaintiffs.

       (iii)   Cause to be issued in the name of all plaintiffs the necessary discovery

               requests, motions, and subpoenas pertaining to any witnesses and

               documents needed to properly prepare for the pretrial discovery of

               relevant issues. Similar requests, notices, and subpoenas may be caused to

               be issued by the PSC upon written request by an individual attorney in

               order to assist him/her in the preparation of the pretrial stages of his/her

               client’s particular claims.

       (iv)    Conduct all discovery in a coordinated and consolidated manner on behalf

               and for the benefit of all plaintiffs. No attorney for a plaintiff may be

               excluded from attending the examination of witnesses and other

               proceedings. Such attorney may suggest questions to be posed to

               deponents through the designated PSC members provided that such

               questions are not repetitious.

 (b)   Hearings and Meetings:

       (i)     Call meetings of counsel for plaintiffs for any appropriate purpose,

               including coordinating responses to questions of other parties or of the

               Court.



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       (ii)    Examine witnesses and introduce evidence at hearings on behalf of

               plaintiffs.

       (iii)   Act as spokesperson for all plaintiffs at pretrial proceedings and in

               response to any inquiries by the Court, subject of course to the right of any

               plaintiff’s counsel to present non-repetitive individual or different

               positions.

 (c)   Miscellaneous:

       (i)     Initiate proposals, suggestions, schedules, or joint briefs, and any other

               appropriate matter(s) pertaining to pretrial proceedings.

       (ii)    Submit and argue any motions presented to the Court or Magistrate Judge

               on behalf of the PSC, as well as oppose, when necessary, any motions

               submitted by the defendants or other parties that involve matters within

               the sphere of the responsibilities of the PSC.

       (iii)   Negotiate and enter into stipulations with Defendants regarding this

               litigation. All of the stipulations entered into by the PSC, except for

               strictly administrative details such as scheduling, must be submitted to the

               Court for approval and will not be binding until the Court has ratified the

               stipulation. Any attorney not in agreement with a non-administrative

               stipulation shall file with the Court a written objection thereto within ten

               (10) days after he/she knows or should have reasonably become aware of

               the stipulation. Failure to object within the term allowed shall be deemed

               a waiver and the stipulation will automatically be binding on that party.

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               (iv)     Explore, develop, and pursue all settlement options pertaining to any claim

                        or portion thereof of any case filed in this litigation.

               (v)      Maintain adequate files of all pretrial matters and have them available,

                        under reasonable terms and conditions, for examination by plaintiffs or

                        their attorneys.

               (vi)     Prepare periodic status reports summarizing the PSC’s work and progress.

                        These reports shall be submitted to the Plaintiff’s Liaison Counsel who

                        will promptly distribute copies to the other plaintiffs’ attorneys.

               (vii)    Perform any task necessary and proper for the PSC to accomplish its

                        responsibilities as defined by the Court’s orders.

               (viii) Perform such other functions as may be expressly authorized by further

                        orders of this Court.

               (ix)     Reimbursement for costs and/or fees for services will be set at a time and

                        in a manner to be set by the Court.

       (d) Common Benefit Fees and Expenses:               Forthwith following appointment of the

PSC, it shall formulate and submit to the Court for approval proposed rules and procedures for

governing eligibility, record-keeping, submission, and reimbursement of costs and fees incurred

for the common benefit of all plaintiffs.

17.    Website.        A website for MDL 2740 has been created and can be accessed by going to

http://www.laed.uscourts.gov/case-information/mdl-mass-class-action/taxotere or by going to

this Court’s website located at www.laed.uscourts.gov and clicking on the tab labeled “Mass
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Litigation.” The website will contain orders, a calendar of upcoming events, and other relevant

information.

18.    Communication with the Court:          Unless otherwise ordered by this Court, all

substantive communications with the Court shall be in writing, with copies to opposing counsel.

19.    Professionalism:        The attorneys listed on Attachment B are highly expert

professionals who are known for their ability to work with other counsel in a collegial manner.

This type of litigation places a premium on these qualities and requires counsel to fulfill their

obligations as advocates in a manner that will maintain positive working relationships with

fellow counsel and the Court. The Court expects, indeed demands, that professionalism and

courteous cooperation permeate this proceeding throughout. The Court expects that this

objective will be achieved without judicial intervention. Those who fail to comport shall be

subject to sanction, or disqualification from participation in these proceedings.

20.    Cell Phone Policy: The following items are strictly prohibited from entry into the

courtroom or the conference room of the undersigned: (1) any portable communication device,

including any and all cellular devices (e.g., cell phones, smartphones, personal digital assistants,

BlackBerrys, iPhones, Droids, etc.); (2) all ear piece devices (such as Bluetooth); (3) all laptop

computers and tablet devices (such as iPads, etc.); (4) any digital or other video camera or

recorder; and (5) any other similarly functioning device. Upon arrival, counsel shall turn in all

such devices to Susan Adams, judicial assistant in Section “N”, and may retrieve them upon

completing business in Section “N.”
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       The only exception to the above provision shall be that counsel of record (or their

assistants) who are seated at counsel tables (not in the public gallery) may use laptop computers

or tablet-type devices provided that the device (1) shall be used strictly and solely as an aid to the

proceeding being conducted by the undersigned and (2) shall not access or be accessed by or

connected to the internet, any cellular network, broad band, Wifi, or any other outside network

designed to transmit or receive messages, sounds, or visual images.

       Any person possessing or using a prohibited device in violation of the above paragraphs

shall be subject to (1) monetary sanction and (2) expulsion and permanent prohibition from entry

into the courtroom or conference room for the duration of the proceeding, both in addition to

having such device confiscated and retained by the Court until the proceeding is complete.


       New Orleans, Louisiana, this 13th day of October, 2016.




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                                               UNITED STATES DISTRICT
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                                                                      S   R CT JUDGE
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ATTACHMENT A
                                    MDL No. 2740
        IN RE: TAXOTERE (DOCETAXEL) PRODUCTS LIABILITY LITIGATION


Central District of California
COLLINS v. SANOFI S.A., ET AL., C.A. No. 2:16-05418


Northern District of California
DODSON v. SANOFI S.A., ET AL., C.A. No. 4:16-01251


District of Colorado
GAHAN v. SANOFI S.A., ET AL., C.A. No. 1:15-02777
LEITH v. SANOFI S.A., ET AL., C.A. No. 1:16-00741


Northern District of Illinois
SPANN v. SANOFI S.A., ET AL., C.A. No. 1:16-03038
PISTONE v. SANOFI S.A., ET AL., C.A. No. 1:16-04028
TRAYLOR v. SANOFI S.A., ET AL., C.A. No. 1:16-05651
JOHNSON v. SANOFI-AVENTIS U.S. LLC, ET AL., C.A. No. 1:16-06754
WYSOCKI v. SANOFI S.A., ET AL., C.A. No. 1:16-07059


Southern District of Illinois
CHASE v. SANOFI S.A., ET AL., C.A. No. 3:16-00588
DALTON v. SANOFI S.A., ET AL., C.A. No. 3:16-00718
KOONTZ v. SANOFI S.A., ET AL., C.A. No. 3:16-00805


District of Kansas
DETRIXHE v. SANOFI S.A., ET AL., C.A. No. 2:16-02250


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Eastern District of Louisiana
BEMISS v. SANOFI S.A., ET AL., C.A. No. 2:16-06425
SMITH v. SANOFI S.A., ET AL., C.A. No. 2:16-07794
WEBB v. SANOFI S.A., ET AL., C.A. No. 2:16-10763
WALTER v. SANOFI S.A., ET AL., C.A. No. 2:16-12706
SMITH v. SANOFI S.A., ET AL., C.A. No. 2:16-12943


Middle District of Louisiana
BURNEY v. SANOFI S.A., ET AL., C.A. No. 3:16-00388


District of Minnesota
TOUCHI-PETERS v. SANOFI S.A., ET AL., C.A. No. 0:16-02464


Southern District of Mississippi
JONES v. SANOFI S.A., ET AL., C.A. No. 3:16-00288
CARPENTER v. SANOFI S.A., ET AL., C.A. No. 3:16-00289
CHASE v. SANOFI S.A., ET AL., C.A. No. 3:16-00404
TOLEFREE v. SANOFI S.A., ET AL., C.A. No. 3:16-00412
GRINES v. SANOFI S.A., ET AL., C.A. No. 3:16-00488


Western District of North Carolina
MOTTOLA v. SANOFI S.A., ET AL., C.A. No. 3:16-00255
WOOD v. SANOFI S.A., ET AL., C.A. No. 3:16-00261


Northern District of Ohio
CARSON v. SANOFI S.A., ET AL., C.A. No. 1:16-00165




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District of South Carolina
MEYERS v. SANOFI SA, ET AL., C.A. No. 3:16-02536
CLINKSCALES v. SANOFI SA, ET AL., C.A. No. 6:16-02376


Eastern District of Tennessee
ADAMS v. SANOFI-AVENTIS, S.A., ET AL., C.A. No. 3:16-00365


Northern District of Texas
FREE v. SANOFI S.A., ET AL., C.A. No. 2:16-00074


Western District of Texas
GORNIAK v. SANOFI S.A., ET AL., C.A. No. 1:16-00637




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     INRE:TAXOTERE(DOCETAXEL)                                          MDL DOCKET NO. 2740
     PRODUCTS LIABILITY LITIGATION                                      SECTION N(5)


                                       SERVICE LIST

      CASE                JURISDICTION          CASE NO.        COUNSEL
1.    Collins, Valesta    Central District of   2:16-cv-05418   Plaintiff
      v. Sanofi, SA, et   California                            Karen Barth Menzies
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                                                                Defendant
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                                                                Fax: (816) 421-5547

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2.   Dodson, Ami v.      Northern District   4:16-cv-01251   Plaintiff
     Sanofi, SA, et al   of California                       Anna Dubrovsky
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3.   Gahan, Kelly v.
                         District of   1:15-cv-02777   Plaintiff
     Sanofi, SA, et al
                         Colorado                      Jere Kyle Bachus
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4.   Leith, Melissa F.   District of   1:16-cv-00741   Plaintiff
     v. Sanofi, SA, et   Colorado                      Jere Kyle Bachus
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5.   Wysocki,             Northern District   1:16-cv-07059   Plaintiff
     Theresa v.           of Illinois                         Peter J. Flowers
     Sanofi SA, et al.                                        pjf@meyers-flowers.com
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6.   Johnson, Renita      Northern District   1:16-cv-06754   Plaintiff
     v. Sanofi, SA., et   of Illinois                         Michelle L. Kranz
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                                                              No Attorney Appearance




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7.   Pistone,             Northern District   1:16-cv-04028   Plaintiff
     Christine v.         of Illinois                         Peter J. Flowers
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8.   Spann, Erma v.       Northern District   1:16-cv-03038   Plaintiff
     Sanofi, SA, et al.   of Illinois                         David M. Hundley
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9.    Traylor, Linda      Northern District   1:16-cv-05651   Plaintiff
      v. Sanofi, SA, et   of Illinois                         David M. Hundley
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10.   Chase, Mary         Southern District   3:16-cv-00588   Plaintiff
      Renee v. Sanofi,    of Illinois                         Trent Miracle
      SA, et al                                               tmiracle@simmonsfirm.com
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11.   Dalton, Barbara     Southern District   3:16-cv-00718   Plaintiff
      v. Sanofi, SA, et   of Illinois                         Mark R. Niemeyer
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12.   Koontz, Debra v.    Southern District   3:16-cv-00805   Plaintiff
      Sanofi, SA, et al   of Illinois                         Mark R. Niemeyer
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13.   Detrixhe, Karen District of Kansas   2:16-cv-02250
      v. Sanofi, SA, et                                    Plaintiff
      al
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14.   Bemiss, Yvonne     Eastern District of   2:16-cv-06425   Plaintiff
      v. Sanofi SA, et   Louisiana                             Christopher L. Coffin
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15.   Smith, Veronica   Eastern District of   2:16-cv-12943   Plaintiff
      A., v. Sanofi,    Louisiana                             Christopher L. Coffin
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        Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 30 of 657



16.   Smith, Wanda v.      Eastern District of   2:16-cv-07794   Plaintiff
      Sanofi, SA, et al.   Louisiana                             Christopher L. Coffin
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17.   Walter, Alma v.     Eastern District of   2:16-cv-12706   Plaintiff
      Sanofi SA, et al.   Louisiana                             Christopher L. Coffin
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        Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 32 of 657



18.   Webb, Carol v.       Eastern District of   2:16-cv-10763   Plaintiff
      Sanofi, SA, et al.   Louisiana                             Christopher L. Coffin
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19.   Burney, Brenda      Middle District of   3:16-cv-00388   Plaintiff
      v. Sanofi, SA, et   Louisiana                            Christopher L. Coffin
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        Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 34 of 657



20.   Touchi-Peters,     District of         0:16-cv-02464    Plaintiff
      Karen v. Sanofi,   Minnesota                            Timothy J. Becker
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21.   Carpenter,         Southern District   3:16-cv-00289    Plaintiff
      Homer v. Sanofi    of Mississippi                       Michael P. McGartland
      SA, et al                                               mike@mcgartland.com
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22.   Chase, Florine      Southern District   3:16-cv-00404   Plaintiff
      v. Sanofi SA, et    of Mississippi                      Michael P. McGartland
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23.   Grines, Hattie B.   Southern District   3:16-cv-00488   Plaintiff
      v. Sanofi, SA, et   of Mississippi                      Michael P. McGartland
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24.   Jones, Angela v.     Southern District   3:16-cv-00288   Plaintiff
      Sanofi, SA, et al.   of Mississippi                      Michael P. McGartland
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25.   Tolefree,            Southern District   3:16-cv-00412   Plaintiff
      Christine v.         of Mississippi                      Michael P. McGartland
      Sanofi, SA, et al.                                       mike@mcgartland.com
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26. Mottola, Kathy v.    Western District   3:16-cv-00255    Plaintiff
    Sanofi, SA, et al.   of North                            Daniel Kent Bryson
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27. Wood, Delight v      Western District   3:16-cv-00261    Plaintiff
    Sanofi, SA, et al.      of North                         Daniel Kent Bryson
                            Carolina                         dan@wbmllp.com
                                                             Whitfield, Bryson & Mason, LLP
                                                             900 W. Morgan Street
                                                             Raleigh, NC 27603
                                                             (919) 600-5000

                                                             Darin Lee Schanker
                                                             dschanker@coloradolaw.net
                                                             Jere Kyle Bachus
                                                             Kyle.bachus@coloradolaw.net
                                                             Bachus and Schanker LLC
                                                             1899 Wynkoop Street, Suite700
                                                             Denver, CO 80202
                                                             (303) 893-9800

                                                             Defendant
                                                            Molly Leigh McIntosh
                                                            Troutman Sanders LLP
                                                            301 S. College Street, Suite 3400
                                                            Charlotte, NC 28202
                                                            704-998-4074
                                                            Fax: 704-998-4051
                                                            Email:
                                                            molly.jagannathan@troutmansanders.com




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28.   Carson, Hattie   Northern         1:16-cv-00165   Plaintiff
                       District of Ohio                 Ned C. Gold , Jr.
                                                        gold@neo-lawgroup.com
                                                        Thomas D. Lambros
                                                        tdlambros@gmail.com
                                                        Ford, Gold, Kovoor & Simon
                                                        8872 East Market Street Warren, OH
                                                        44484
                                                        (330) 856-6888

                                                        Jere Kyle Bachus
                                                        Kyle.bachus@coloradolaw.net
                                                        Bachus and Schanker LLC
                                                        1899 Wynkoop Street, Suite700
                                                        Denver, CO 80202
                                                         (303) 893-9800
                                                        Fax: (303) 893-9900


                                                        Defendant
                                                        Joshua A. Klarfeld
                                                        Ulmer & Berne - Cleveland
                                                        1100 Skylight Office Tower
                                                        1660 West Second Street
                                                        Cleveland, OH 44113
                                                        216-583-7192
                                                        Fax: 216-583-7193
                                                        Email: jklarfeld@ulmer.com




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29.   Clinkscales,        District of South   6:16-cv-02376   Plaintiff
      Jennifer L. v.      Carolina                            Elizabeth Middleton Burke
      Sanofi, SA, et al                                       bburke@rpwb.com
                                                              Christiaan A Marcum
                                                              cmarcum@rpwb.com
                                                              H Blair Hahn bhahn@rpwb.com
                                                              Richardson, Patrick, Westbrook &
                                                              Brickman, LLC
                                                              1037 Chuck Dawley Blvd, Bldg A.
                                                              PO Box 1007
                                                              Mt Pleasant, SC 29465 (843) 727-6500

                                                               Christopher L. Coffin
                                                               ccoffin@pbclawfirm.com
                                                               Pendley Baudin and Coffin
                                                               24110 Eden Street
                                                               Plaquemine, LA 70765

                                                               Defendant
                                                              Keith D Munson
                                                              Womble Carlyle Sandridge and Rice
                                                              PO Box 10208
                                                              Greenville, SC 29603
                                                              864-255-5400
                                                              Fax: 864-255-5440
                                                               Email: kmunson@wcsr.com




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30. Meyers, Monica      District of South   3:16-cv-02536 Plaintiff
    v. Sanofi, SA, et    Carolina                         Elizabeth Middleton Burke
     al.                                                  bburke@rpwb.com
                                                          Christiaan A Marcum
                                                          cmarcum@rpwb.com
                                                          H Blair Hahn
                                                          bhahn@rpwb.com
                                                          Richardson, Patrick, Westbrook &
                                                          Brickman, LLC
                                                          1037 Chuck Dawley Blvd, Bldg
                                                          A. PO Box 1007
                                                          Mt Pleasant, SC 29465
                                                          (843) 727-6500
                                                          Jere Kyle Bachus
                                                          Kyle.bachus@coloradolaw.net
                                                          Bachus and Schanker LLC
                                                          1899 Wynkoop Street, Suite700
                                                          Denver, CO 80202
                                                           (303) 893-9800


                                                            Defendant
                                                            No Attorney Appearance




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31. Adams, Christa      Eastern District of   3:16-cv-00365 Plaintiff
    v. Sanofi SA, et al Tennessee                           Jere Kyle Bachus
                                                            Kyle.bachus@coloradolaw.net
                                                            Bachus and Schanker LLC
                                                            1899 Wynkoop Street, Suite700
                                                            Denver, CO 80202
                                                            (303) 893-9800
                                                            Jennifer K. O'Connell
                                                            joconnell@easttennlaw.com
                                                            Ogle, Elrod, & Baril PLLC
                                                            706 Walnut Street, Suite 700
                                                            Knoxville, TN 37902
                                                            (865) 546-1111

                                                            Defendant
                                                            Crews Townsend
                                                            Miller & Martin
                                                            832 Georgia Avenue
                                                            Suite 1000 Volunteer Building
                                                            Chattanooga, TN 37402-2289
                                                            Email: ctownsend@millermartin.com

                                                             Meredith Corey Lee
                                                             Miller & Martin, PLLC (Chattanooga)
                                                             832 Georgia Avenue
                                                             1200 Volunteer Building
                                                             Chattanooga, TN 37402
                                                             423-785-8289
                                                             Email:
                                                             meredith.lee@millermartin.com




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32. Free Kinberly v.     Northern District of 2:16-cv-00074 Plaintiff
    Sanofi, SA, et al.   Texas                              Gabriel A. Assaad
                                                            gassaad@kennedyhodges.com
                                                            Kennedy Hodges LLP
                                                            711 W Alabama St
                                                            Houston, TX 77006
                                                            (713) 523-0001
                                                          Jere Kyle Bachus
                                                          Kyle.bachus@coloradolaw.net
                                                          Bachus and Schanker LLC
                                                          1899 Wynkoop Street, Suite700
                                                          Denver, CO 80202
                                                          (303) 893-9800

                                                           Defendant
                                                           Jon Strongman
                                                           jstrongman@shb.com
                                                           Eric Anthony Swan
                                                           eswan@shb.com
                                                           Harley Victor Ratliff
                                                           hratliff@shb.com
                                                           Shook, Hardy & Bacon LLP
                                                           2555 Grand Blvd.
                                                           Kansas City, MO 64108
                                                           816-474-6550
                                                           Fax: (816) 421-5547




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33. Gorniak, Alina S. Western District of   1:16-cv-00637 Plaintiff
    v. Sanofi, SA, et al. Texas                           Grant D. Blaies
                                                          grantblaies@bhilaw.com Blaies &
                                                          Hightower, L.L.P.
                                                          421 W. 3rd Street, Suite 900
                                                          Fort Worth, TX 76102
                                                          (817) 334-0800
                                                           Christopher L. Coffin
                                                           ccoffin@pbclawfirm.com
                                                           Pendley, Baudin & Coffin, LLP
                                                           1515 Poydras Street, Suite 1400
                                                           New Orleans, LA 
                                                           (504) 355-0086

                                                           Michael P. McGartland
                                                           mike@mcgartland.com
                                                           McGartland Law Firm, PLLC
                                                           1300 South University, Suite 500
                                                           Fort Worth, TX 
                                                           (817) 332-9300

                                                           Defendant
                                                           Jon Strongman
                                                           jstrongman@shb.com
                                                           Eric Anthony Swan
                                                           eswan@shb.com
                                                           Harley Victor Ratliff
                                                           hratliff@shb.com
                                                           Shook, Hardy & Bacon LLP
                                                           2555 Grand Blvd.
                                                           Kansas City, MO 64108
                                                           816-474-6550
                                                           Fax: (816) 421-5547




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ATTACHMENT C


                                  Agenda for Initial Conference


  1. Appointment of Liaison Counsel and PSC

  2. Service of Papers

         a. Generate corrected service list

  3. Pretrial Schedule

         a. Master Complaint; amendment of pleadings; joinder of parties

         b. Motion Practice

                 i. Schedule

                ii. Rules

         c. Discovery Plan and Schedule

         d. Class Certification

  4. Role of Magistrate Judge
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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                 MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                            SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                                  PRETRIAL ORDER NO. 2
       Pursuant to Pretrial Order No. 1 (Rec. Doc. 4), issued by this Court on October 13, 2016,

the Court has received many applications for Plaintiffs’ Liaison Counsel, Defendants’ Liaison

Counsel, and the Plaintiffs’ Steering Committee (PSC). With regards to the PSC, the Court notes

that there is not a predetermined or requisite number of committee positions. Furthermore, the

number of committee members as well as the individuals comprising the committee, are subject to

change by order of this Court. Having reviewed the parties’ applications and recommendations,

the Court makes the following initial appointments:

1. Plaintiffs’ Liaison Counsel:
   The Court, having reviewed the applications and recommendations for this position and

carefully considered the matter, finds that Dawn Barrios and Palmer Lambert are well qualified to

carry out the various responsibilities of liaison counsel. Accordingly, the Court hereby appoints:

   Dawn Barrios                                       Palmer Lambert
   Barrios, Kingsdorf & Casteix, LLP                  Gainsburgh Benjamin David Meunier &
   701 Poydras Street                                 Warshauer, LLC
   Suite 3650                                         2800 Energy Centre
   New Orleans, Louisiana 70139                       1100 Poydras Street
   Phone: (504) 524-3300                              New Orleans, Louisiana 70163-2800
   Facsimile: (504) 524-3313                          Phone: (504) 522-2304
   Email: barrios@bkc-law.com                         Facsimile: (504) 528-9973
                                                      Email: plambert@gainsben.com


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   Liaison counsel shall have the responsibilities and authority set forth in Pretrial Order No. 1

(Rec. Doc. 4) at page 8.

2. Defendants’ Liaison Counsel:
   The Court, having reviewed the applications for this position and carefully considered the

matter, finds that Douglas J. Moore is well qualified to carry out the various responsibilities of

liaison counsel. Accordingly, the Court hereby appoints:

   Douglas J. Moore
   Irwin Fritchie Urquhart & Moore LLC
   400 Poydras Street
   Suite 2700
   New Orleans, Louisiana 70130
   Phone: (504) 310-2163
   Facsimile: (504) 310-2101
   Email: dmoore@irwinllc.com

   Liaison counsel shall have the responsibilities and authority set forth in Pretrial Order No. 1

(Rec. Doc. 4) at page 8.

3. Plaintiffs’ Steering Committee:
   Applications for PSC positions have been filed in accordance with the procedures set forth in

Pretrial Order No. 1 (Rec. Doc. 4). The Court, having reviewed the applications and carefully

considered the matter, hereby appoints the following members to the PSC, for a term commencing

immediately until January 1, 2018:

   Andrew Lemmon                                    Emily Jeffcott
   Lemmon Law Firm, LLC                             The Lambert Firm, PLC
   P.O. Box 904                                     701 Magazine Street
   Hahnville, Louisiana 70057                       New Orleans, Louisiana 70130
   Phone: (985) 783-6789                            Phone: (504) 581-1750
   Facsimile: (985) 783-1333                        Facsimile: (504) 529-2931
   Email: andrew@lemmonlawfirm.com                  Email: ejeffcott@thelambertfirm.com




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Christopher Coffin                          J. Kyle Bachus
Pendley, Baudin & Coffin, LLP               Bachus & Schanker, LLC
1515 Poydras Street                         1800 Wynkoop Street
Suite 1400                                  Suite 700
New Orleans, Louisiana 70112                Denver, Colorado 80202
Phone: (504) 355-0086                       Phone: (303) 893-9800
Facsimile: (504) 523-0699                   Facsimile: (303) 893-9900
Email: ccoffin@pbclawfirm.com               Email: kyle.bachus@coloradolaw.net

Anne Andrews                                Karen Barth Menzies
Andrews Thornton Higgins Razmara, LLP       Gibbs Law Group LLP
2 Corporate Park                            400 Continental Boulevard
Suite 110                                   6th Floor
Irvine, California 92606                    El Segundo, California 90245
Phone: (949) 748-1000                       Phone: (510) 350-9700
Facsimile: (949) 315-3540                   Facsimile: (510) 350-9701
Email: aa@andrewsthornton.com               Email: kbm@classlawgroup.com

Hunter J. Shkolnik                          Genevieve Zimmerman
Napoli Shkolnik PLLC                        Meshbesher & Spence LTD
360 Lexington Avenue                        1616 Park Avenue South
11th Floor                                  Minneapolis, Minnesota 55404
New York, New York 10017                    Phone: (612) 339-9121
Phone: (212) 397-1000                       Facsimile: (612) 339-9188
Facsimile: Not Available                    Email: gzimmerman@meshbesher.com
Email: hunter@napolilaw.com

Abby E. McClellan                           Lawrence J. Centola, III
Stueve Siegel Hanson LLP                    Martzell, Bickford, & Centola
460 Nichols Road                            338 Lafayette Street
Suite 200                                   New Orleans, Louisiana 70130
Kansas City, Missouri 64112                 Phone: (504) 581-9065
Phone: (816) 714-7100                       Facsimile: (504) 581-7635
Facsimile: (816) 714-7101                   Email: usdcedla@mbfirm.com
Email: mcclellan@stuevesiegel.com

Alexander G. Dwyer                          David F. Miceli
Kirkendall Dwyer LLP                        Simmons Hanly Conroy
440 Louisiana                               One Court Street
Suite 1901                                  Alton, Illinois 62002
Houston, Texas 77002                        Phone: (618) 259-2222
Phone: (713) 522-3529                       Facsimile: (618) 259-2251
Facsimile: (713) 495-2331                   Email: dmiceli@simmonsfirm.com
Email: adwyer@kirkendalldwyer.com

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     Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 49 of 657




   Rand P. Nolen                                     Daniel Markoff
   Fleming, Nolen & Jez, LLP                         Atkins & Markoff Law Firm
   2800 Post Oak Boulevard                           9211 Lake Hefner Parkway
   Suite 4000                                        Suite 104
   Houston, Texas 77056                              Oklahoma City, Oklahoma 73120
   Phone: (713) 621-7944                             Phone: (405) 607-8757
   Facsimile: (713) 621-9638                         Facsimile: (405) 607-8749
   Email: rand_nolen@fleming-law.com                 Email: dmarkoff@atkinsandmarkoff.com

   Appointment to the PSC is of a personal nature. Accordingly, the above appointees cannot be

substituted by other attorneys, including members of the appointee’s law firm, to perform the

PSC’s exclusive functions, such as committee meetings and court appearances, except with prior

approval of the Court.

       The PSC shall have the responsibilities set forth in Pretrial Order No. 1 (Rec. Doc. 4) at

pages 9 through 12. Additionally, as mentioned herein, the Court may, in its discretion, add counsel

to or subtract counsel from this committee as necessary.

4. Defendants’ Committee:
   At this time, the Court does not find that this litigation requires appointment of a Defendants’

Steering Committee.

5. All Appointments Herein Shall be for a Term:
   All appointments contained in this Order shall be for a term beginning from the date of this

Order until January 1, 2018, at which time the Court will appoint or reappoint committee members,

liaison counsel, and special counsel for the next one year term. Applications for the subsequent

term shall be submitted no later than November 15, 2017.

   New Orleans, Louisiana, this 17th day of November 201
                                                     2016.
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                                                     KURT D. ENGELH
                                                              ENGELHARDT
                                                                      HARA DTD
                                                     UNITED STATES DISTRICT
                                                                       DISTSTRI
                                                                           ST  R CT JUDGE

                                                 4
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                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                           SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                                  PRETRIAL ORDER NO. 3
                     (Filing Requests for Summons and Summons Returns)

        The Court notes that requests for summons and summons returns have recently been filed

in the master docket for MDL 2740, 16-md-2740. These filings will add an unnecessary amount

of clutter in the master docket. Accordingly,

        IT IS ORDERED that requests for summons shall be filed in the docket for the member

case, as opposed to the master docket. The Clerk of Court shall make the necessary adjustments

to CM/ECF to permit such filings.

        IT IS FURTHER ORDERED that summons returns and waivers returned executed shall

NOT be filed into any docket, master or member, unless filing the summons return becomes

necessary (for example, in connection with a motion for default judgment). When it is necessary

to file a summons return, the attorney shall avoid filing the summons return as a separate, stand-

alone document in the master docket. Instead, the summons return shall be filed as an exhibit to

the motion, etc., to which it relates.

        New Orleans, Louisiana, this 30th day of November 2016.



                                                    ____________________________________
                                                    __________
                                                            _____________
                                                                       ____
                                                                          _______
                                                                          __   _ _____________
                                                    KURT D. ENGELH
                                                             ENGELHARDTHARDT
                                                    UNITED STATES DISTRICT
                                                                       DIST   R CT JUDGE
                                                                            TRI
      Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 51 of 657




                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF LOUISIANA

---------------------------------------------------------
IN RE: T A XO T E RE ( DO CE T A X E L )                        :   MD L N O . 2 7 4 0
PRODUCTS LIABILITY LITIGATION                                   :
                                                                :   SECTION “N” (5)
-------------------------------------------------------         :
                                                                :   HON. KURT D. ENGELHARDT
THIS DOCUMENT RELATES TO                                        :
ALL CASES                                                       :
------------------------------------------------------          :

                                        PRETRIAL ORDER NO. 4
                                            (Direct Filing)

I.     SCOPE OF THE ORDER

       This Order shall govern (1) cases transferred to this Court by the Judicial Panel on

Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to

Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in this

Court or transferred or removed to this Court. The Order only applies to claims brought by a U.S.

citizen or resident based on usage or purchase of Taxotere (Docetaxel) in the United States.

II.    DIRECT FILING OF CASES INTO MDL NO. 2740

       A.         In order to eliminate delays associated with the transfer to this Court of cases filed

in or removed to other federal district courts and to promote judicial efficiency, any plaintiff whose

case could originally have been filed in any United States District Court, and that would be subject

to transfer to MDL No. 2740, may file his or her complaint directly in MDL No. 2740 in the

Eastern District of Louisiana. In doing so, the plaintiff shall, by signing and filing pursuant to this

Order, certify compliance with FRCP Rule 11, and be prepared to demonstrate due specific factual

inquiry sufficient to immediately participate in discovery and/or substantive mediation, and

demonstrate as much to this Court upon inquiry by the undersigned.

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      B.        Subject to the provisions of Paragraphs C and D, Defendants shall not at this time

assert any objection of improper venue pursuant to Fed. R. Civ. P. 12(b) as to any Taxotere-related

cases filed directly in the Eastern District of Louisiana that emanate from districts outside the

Eastern District of Louisiana, and that are filed in this multidistrict litigation proceeding.

Defendants’ right to do so shall be reserved and may be urged after receiving leave of Court.

      C.        Each case filed directly in MDL No. 2740 that emanates from a district court

outside the Eastern District of Louisiana will be filed in MDL No. 2740 for pretrial proceedings

only, consistent with the Judicial Panel on Multidistrict Litigation’s October 4, 2016, Transfer

Order. (Rec. Doc. 1).

      D.        Upon completion of all pretrial proceedings applicable to a case directly before this

Court, pursuant to this Order, this Court, pursuant to 28 U.S.C. § 1404(a), will transfer each case

to the federal district court in the district where the plaintiff allegedly was injured or where

plaintiff resided at the time of his or her alleged injury, after giving the parties an opportunity to

meet and confer and be heard on the issue. Defendants will not assert any objection of improper

venue pursuant to FRCP 12(b) upon transfer consistent with the provisions in this paragraph and

this Order, unless otherwise permitted by the court to which such case is transferred under this

paragraph.

      E.        Nothing contained in this Order shall preclude the parties from agreeing, at a future

date, to try cases filed pursuant to this Order in this District.

      F.        The inclusion of any action in In re: Taxotere (Docetaxel) Products Liability

Litigation, MDL No. 2740, whether such action was or will be filed originally or directly in the

Eastern District of Louisiana, shall not constitute a determination by this Court that venue is proper

in this District or that this Court has personal jurisdiction over any named party. Likewise, nothing

in this Order shall be construed as a waiver of personal jurisdiction by any named Defendant,

                                                    2
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served or unserved. The references to “Defendants” herein shall not constitute an appearance nor

waiver of service by or for any Defendant, not otherwise properly served.

       G.          Any case filed directly in MDL No. 2740 pursuant to this Order will have no impact

on choice of law that otherwise would apply to an individual case had it been originally filed in

another district court and transferred to this Court pursuant to 28 U.S.C. § 1407.

       H.          When asserting a statute of limitations defense in response to any complaint filed

directly into MDL No. 2740 pursuant to this order, the filing date will be deemed to be the date

that the case was filed in the Eastern District of Louisiana.

       I.          The caption for any complaint that is directly filed in MDL No. 2740 before this

Court shall bear the following caption:

                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF LOUISIANA

---------------------------------------------------------
IN RE: T A XO T E RE ( DO CE T A X E L )                        :     MD L N O . 2 7 4 0
PRODUCTS LIABILITY LITIGATION                                   :
                                                                :     SECTION “N” (5)
-------------------------------------------------------         :
                                                                :     HON. KURT D. ENGELHARDT
THIS DOCUMENT RELATES TO                                        :
ALL CASES                                                       :
------------------------------------------------------



            New Orleans, Louisiana this 9th day of December, 2016.




                                                                _____________________________
                                                                _________
                                                                       ____
                                                                          _ ____
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                                                                              __     ____
                                                                                        _ _______
                                                                KURT D. ENGE
                                                                           ENGELHARDT
                                                                               ELHARA DT
                                                                UNITED STATES DISTRICT
                                                                                     I TRICT JUDGE
                                                                                   DIS




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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                    MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                               SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                                   PRETRIAL ORDER NO. 5
                                       (“Direct Filing”)

I.    SCOPE OF THE ORDER

      This Order amends and supersedes this Court’s previous “Pretrial Order No. 4” that was

issued on December 9, 2016. 1 This Order shall govern (1) cases transferred to this Court by the

Judicial Panel on Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) any tag-

along actions subsequently transferred to this Court by the Judicial Panel on Multidistrict

Litigation pursuant to Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases

originally filed in this Court or transferred or removed to this Court. The Order only applies to

claims brought by a U.S. citizen or resident based on usage or purchase of Taxotere (Docetaxel)

in the United States.

II.   DIRECT FILING OF CASES INTO MDL NO. 2740

A.     The Court is well aware of the delay(s) associated with awaiting the Panel on Multidistrict

Litigation’s transfer of cases (originally filed in or removed to other federal district courts) to the

Eastern District of Louisiana for pre-trial consolidation in MDL No. 2740. Accordingly, to

promote judicial efficiency, and avoid the delays associated with awaiting transfer, IT IS



1
       For simplicity purposes, this Order completely supersedes “Pretrial Order No. 4” and
contains all information relevant to direct filing.
                                                   1
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ORDERED that any plaintiff whose case would be subject to transfer to MDL No. 2740, and that

could have been filed in any United States District Court, may instead directly file a complaint in

the Eastern District of Louisiana, thereby commencing a separate civil action for consolidation,

for pre-trial purposes, with MDL No. 2740. In doing so, plaintiff’s counsel shall, by signing and

filing pursuant to this Order, certify compliance with FRCP Rule 11, and be prepared to

demonstrate due specific factual inquiry sufficient to immediately participate in discovery and/or

substantive mediation, and demonstrate as much to this Court upon inquiry by the undersigned.

B.     As stated in Paragraph II. A, any complaint that is filed directly in the Eastern District of

Louisiana, pursuant to this Order, shall be filed as a new civil action through the Court’s electronic

filing system. At the time of filing, the complaint shall bear the caption set forth in Paragraph J of

this Order, and be accompanied by a civil cover sheet and summons. The civil cover sheet shall

specify under the “Related Case(s)” section that the case is related to MDL No. 2740. Once the

case is filed, it shall be assigned a civil case number. After review by the Clerk of Court’s office,

the case will be automatically consolidated in MDL No. 2740.

C.     Subject to the provisions of Paragraphs D and E, Defendants shall not at this time assert

any objection of improper venue pursuant to FRCP 12(b) as to any Taxotere-related cases that

emanate from districts outside the Eastern District of Louisiana, but are filed pursuant to this Order

for pretrial consolidation in this multidistrict litigation proceeding. Defendants’ right to do so shall

be reserved and may be urged after receiving leave of Court.

D.     Each case filed directly in the Eastern District of Louisiana, pursuant to this Order, that

emanates from a district court outside the Eastern District of Louisiana will be consolidated in

MDL No. 2740 for pretrial proceedings only, consistent with the Judicial Panel on Multidistrict

Litigation’s October 4, 2016 Transfer Order. (Rec. Doc. 1).



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E.      Upon completion of all pretrial proceedings in any case before this Court by virtue of this

“Direct Filing” Order, this Court, pursuant to 28 U.S.C. § 1404(a), will transfer each case to the

federal district court for the district where the plaintiff allegedly was injured or where plaintiff

resided at the time of his or her alleged injury, after the parties are given an opportunity to meet

and confer and be heard on the issue. Defendants will not assert any objection of improper venue

pursuant to FRCP 12(b), upon transfer consistent with the provisions in this paragraph and this

Order, unless otherwise permitted by the court to which such case is transferred under this

paragraph.

F.      Nothing contained in this Order shall preclude the parties from agreeing, at a future date,

to try cases filed pursuant to this Order in this District.

G.      The inclusion of any action in In re: Taxotere (Docetaxel) Products Liability Litigation,

MDL No. 2740, whether such action was or will be filed originally or directly in the Eastern

District of Louisiana, shall not constitute a determination by this Court that venue is proper in this

District or that this Court has personal jurisdiction over any named party. Likewise, nothing in

this Order shall be construed as a waiver of personal jurisdiction by any named Defendant, served

or unserved. The references to “Defendants” herein shall not constitute an appearance nor waiver

of service by or for any Defendant, not otherwise properly served.

H.      Any case filed directly in the Eastern District of Louisiana for pretrial consolidation in

MDL No. 2740, pursuant to this Order, shall have no impact on choice of law that otherwise would

apply to an individual case had it been originally filed in another district court and transferred to

this Court pursuant to 28 U.S.C. § 1407.

I.      When asserting a statute of limitations defense in response to any complaint filed directly

in the Eastern District of Louisiana for pretrial consolidation in MDL No. 2740, pursuant to this



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      Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 57 of 657




order, the filing date will be deemed to be the date that the case was filed in the Eastern District of

Louisiana.

J.      Any complaint that is directly filed in MDL No. 2740 before this Court shall bear the

following caption:



                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUIS IANA


IN RE: T AX OT ERE ( DOC ET A XE L)                            :   MD L N O . 2 7 4 0
PRODUCTS LIABILITY LITIGATION                                  :
                                                               :   SECTION “N” (5)
________________________________                               :   JUDGE ENGELHARDT
__________,                                                    :   MAG. JUDGE NORTH
                                                               :
         Plaintiff,                                            :   COMPLAINT & JURY DEMAND
                                                               :
vs.                                                            :   Civil Action No.:________________
                                                               :
_________________________________                              :
__________,                                                    :
                                                               :
         Defendant(s).                                         :
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K.     With regards to all other filings, as previously stated in Paragraph 7 of “Pretrial Order No.

1” (Rec. Doc. 4), the Clerk of Court shall maintain a master docket case file under the style “In

Re: Taxotere, Products Liability Litigation” and the identification “MDL No. 2740.” When a

pleading is intended to be applicable to all of the actions, this shall be indicated by the words:

“This Document Relates to All Cases.” When a pleading is intended to apply to fewer than all of

the cases, this Court’s docket number for each individual case to which the document number

relates shall appear immediately after the words “This Document Relates To.”

                                          y of December 20
       New Orleans, Louisiana this 13th day             22016.
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     Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 59 of 657




                               UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                    MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                               SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                                   PRETRIAL ORDER NO. 6
                            (Order Appointing Settlement Committees)

          The Court previously indicated to all counsel its intention to appoint committees for both

plaintiffs and defendants charged with engaging in continuous general settlement discussions on a

regular basis, as opposed to participating in detailed discovery, trial preparations, and presentations

at trial, wherein those time-consuming tasks would distract counsel from pursuing avenues for

potential resolution of some or all of the issues in this multi-district litigation. The settlement

committees are expected to hold regular discussions, in an attempt to establish common

understandings, potential ground rules, component parts and concepts, anticipated relief, necessary

approvals, and ultimately financial details, including drafting of all pertinent documents, in an

attempt to resolve this matter prior to remand of some or all of the member cases. These discussions

are to be both among the separate committee members themselves and with each other across the

adversarial divide, as well as with and/or without the input of the assigned Magistrate Judge in this

matter.

          Therefore, based upon the applications solicited by the undersigned and submitted by a

wide variety of highly competent counsel, the Court has narrowed down settlement committee

memberships and hereby appoints the following:




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     Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 60 of 657




1.    Plaintiff Settlement Committee:


Ben W. Gordon, Jr.
Levin Papantonio
316 S. Baylen Street, #600
Pensacola, Florida 32502
(Phone): 850-432-7274
(Facsimile): 850-436-6010
Email: bgordon@levinlaw.com

Mark R. Niemeyer
Niemeyer, Grebel & Kruse, LLC
10 S. Broadway, Suite 1125
St. Louis, Missouri 63102
(Phone): 314-241-1919
(Facsimile): 314-665-3017
Email: niemeyer@ngklawfirm.com

Irving J. Warshauer
Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C.
2800 Energy Centre
1100 Poydras Street
New Orleans, Louisiana 70163
(Phone): 504-522-2304
(Facsimile): 504-528-9973
Email: iwarshauer@gainsben.com

Dennis C. Reich
Reich and Binstock LLP
4265 San Felipe #1000
Houston, Texas 77027
(Phone): 713-622-7271
(Facsimile): 713-623-8724
Email: dreich@reichandbinstock.com

Ashlea G. Schwarz
Paul McInnes LLP
601 Walnut Street, Suite 300
Kansas City, Missouri 64106
(Phone): 816-984-8100
(Facsimile): 816-984-8101
Email: ashlea@paulmcinnes.com




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     Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 61 of 657




2.     Defendant Settlement Committee:
Anand Agneshwar
Arnold & Porter
399 Park Avenue
New York, New York 10022-4690
(Phone): 212-715-1107
(Facsimile): 212-715-1399
anand.agneshwar@aporter.com

Bruce H. Nagel
Nagel Rice LLP
103 Eisenhower Parkway
Roseland, New Jersey 07068
(Phone): 973-618-0400 (Ext. 110)
(Facsimile): 973-618-9194
bnagel@nagelrice.com

Harvey L. Kaplan
Shook, Hardy & Bacon
2555 Grand Boulevard
Kansas City, Missouri 64108
(Phone): 816-559-2214
(Facsimile): 816-421-5547
Email: hkaplan@shb.com

John Strongman
Shook, Hardy & Bacon
2555 Grand Boulevard
Kansas City, Missouri 64108
(Phone): 816-559-2430
(Facsimile): 816-421-5547
Email: jstrongman@shb.com

       These committees are to convene separately (in person or by telephone) within thirty (30)

days to select among them a spokesperson (or chair) whose responsibilities shall be to organize

meetings and handle communication with the counterpart committee as well as with the Court.

The terms of appointment to these committees shall be the same for the appointment of counsel to

the liaison committees (see Pretrial Order No. 2, Rec. Doc. 104), i.e., the initial term shall extend

until January 1, 2018, and all other provisions of Paragraph 5 of Pretrial Order No. 2 shall apply.


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     Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 62 of 657




       In addition, the Court will, from time to time, meet by phone and in person with the

settlement committees as so desired.

                                     3th day of December 201
       New Orleans, Louisiana, this 13th                   16.
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                                                         2016.



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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL) *   MDL NO. 2740
       PRODUCTS LIABILITY LITIGATION
                            *
                            *   SECTION “N” (5)
                            *
THIS DOCUMENT RELATES TO:   *   JUDGE ENGELHARDT
ALL CASES                   *   MAG. JUDGE NORTH
****************************************************
                                    PRETRIAL ORDER NO. 7

        All counsel shall provide to the appropriate Liaison Counsel their contact information using

the MDL 2740 Counsel Contact Information form attached hereto. The information set forth in

this form shall be updated as necessary so that the information made available to Liaison Counsel

remains current and accurate on an ongoing basis. The contact information shall be used for

service, and Liaison Counsel shall be entitled to rely on the information when distributing or

circulating information in these proceedings. The obligation to provide accurate and updated

information in the MDL 2740 Counsel Contact Information form rests solely on the part of counsel

providing the information. Liaison Counsel is relieved of any responsibility for serving materials

on, or distributing information to, any counsel failing to provide current and accurate information

in a MDL 2740 Counsel Contact Information form.

        The Clerk of Court shall transmit a copy of this Order to all listed counsel of record herein.

When an action is hereafter transferred into or consolidated with this MDL, the Clerk of Court

shall: (i) file a copy of this Order in any such action; and (ii) forward a copy of this Order to counsel

for the plaintiff(s) in the newly-filed or transferred action.

        New Orleans, Louisiana this 28th day              2016.
                                           y of December, 2016
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        Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 64 of 657

    IN RE: TAXOTERE (DOCETAXEL) PRODUCTS LIABILITY LITIGATION
MDL 2740                                      Judge Kurt D. Engelhardt

                     MDL 2740 Counsel Contact Information (Form PTO-7)
                            Please type below in the fillable form.

                                    ATTORNEY INFORMATION
Check                Plaintiff           Defense Counsel                   Third Party
One:                 Counsel                                               Defense Counsel

Last Name:                       First Name:                   Middle Initial /Maiden: Suffix:


Firm Name:


Address:


City:                            State:                        Zip:


Phone:                                         Fax:


Direct Dial No.:                               Cell Phone:


State/ Bar No.:                                Email Address:


Party Representing:


Assistant/Paralegal Name:                      Assistant/Paralegal Email:
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
Choose One Option Below:
         I elect to have Liaison Counsel transmit documents to me via email and consent on an
         ongoing basis to notify Liaison Counsel of any changes in the above information.

            I do not want to receive orders or other documents from Liaison Counsel.


Signed                                         Date
Print Name:___________________________________
______________________________________________________________________________


Please remit form to: Plaintiffs’ Liaison Counsel (Dawn Barrios/Palmer Lambert), 701 Poydras St., Ste. 3650,
New Orleans, Louisiana 70139, dwhite@bkc-law.com; or Defendants’ Liaison Counsel (Douglas Moore), 400
Poydras Street, Suite 2700, New Orleans, LA 70170, dmoore@irwinllc.com 
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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                 MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                            SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                                PRETRIAL ORDER NO. 8
                       “Federal-State Coordination and Cooperation”

       Recognizing the benefits of Federal-State Coordination and Cooperation, the Court

hereby orders as follows:

   1. Dawn M. Barrios is appointed as Plaintiffs’ Federal-State Liaison Counsel to interact

       between this Court and any court and litigant outside this MDL in an effort to coordinate

       the different litigations and foster cooperation between them.

   2. To assist the Court with Federal-State coordination and cooperation, five days before each

       Status Conference, counsel for each Defendant shall provide to Plaintiffs’ Federal-State

       Liaison Counsel a chart identifying all cases not in the MDL which are pending against the

       Defendant in which it has been served, with the case name, venue, and the name and address

       of each counsel for each plaintiff on the pleadings and the contact information for each

       judge.   The chart shall also indicate whether a dispositive motion has been filed, a

       scheduling order entered, or a trial date set. Should the Court not have a Status Conference

       in any month, the information and complaints described herein shall be due thirty (30)

       days after the preceding month’s complaints and information were produced. By January

       18, 2017 counsel for each Defendant must provide to Plaintiffs’ Federal-State Liaison



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   Counsel a copy of all complaints, including amended complaints, which are pending

   against and have been served upon Defendant as of December 31, 2016. Thereafter,

   counsel for each Defendant shall continue to provide the information described in

   this Order for non-MDL cases.

3. At each status conference, Plaintiffs’ Federal-State Liaison Counsel shall give a report to

   the Court on the non-MDL cases, the contact information for the judge, and any other

   relevant information, such as dispositive motion hearing, trial scheduling order, or trial

   date.



New Orleans, Louisiana, this 30th day of December 2016.




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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                                   MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                               SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                            PRETRIAL ORDER NO. 9
                      (Streamlined Service on Sanofi-aventis U.S. LLC)

I.     SCOPE OF THE ORDER

       This Stipulated Order shall govern (1) cases transferred to this Court by the Judicial Panel

on Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to

Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in this

Court or transferred or removed to this Court. The Order only applies to claims brought by a U.S.

citizen or resident based on usage or purchase of Taxotere® in the United States.

II.    STREAMLINED SERVICE OF PROCESS FOR SANOFI-AVENTIS U.S. LLC

       A.      Sanofi-aventis U.S. LLC agrees to waive formal service of process under Federal

Rule of Civil Procedure 4 and to accept service of Taxotere® cases that are properly commenced

in, removed to, or transferred to this MDL. By waiving formal service of process, Sanofi-aventis

U.S. LLC does not waive any defenses available to it.

       B.      These procedures for informal service of process are not available in cases in which

the plaintiff seeks remand to state court unless and until remand is denied. For plaintiffs seeking

remand, all deadlines set forth in this Order run from the date on which remand is denied.
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       C.      Plaintiffs whose Complaints are not subject to Paragraph B above, who have not

already served Sanofi-aventis U.S. LLC, and whose case has not yet been docketed in the MDL

shall have ninety (90) days from the date the case is docketed in the MDL to serve the Complaint

with a Summons. Plaintiffs whose cases already have been docketed in this MDL shall have sixty

(60) days from entry of this Order to serve the Complaint with a Summons. The Complaint and a

Summons shall be served by electronic mail (“email”) to the following address:

taxoterecomplaints@shb.com. Each email sent to this address shall only contain one Complaint

and Summons, and the subject line of each email shall state the plaintiff’s first and last name as

well as the originating court. The body of each email must also include contact information for

counsel of record.

       D.      Plaintiffs should receive an automatic reply from the mailbox address when a

complaint is served. If no such reply is received within twenty-four (24) hours, Plaintiffs should

re-serve it pursuant to the terms of this Order. Upon successful e-mail service, the date of the initial

effort to serve the Complaint via email shall be deemed the date of service.

       E.      Service will be effective only if addressed as above. General mailing or use of other

methods of transmission, including but not limited to Federal Express or email to an alternate

address, will not be sufficient to effect service. In accordance with Pretrial Order No. 1, Sanofi-

aventis U.S. LLC is not required to respond to effectively served Complaints until a date to be set

by the Court. Sanofi-aventis U.S. LLC agrees to provide thirty (30) days written notice before

moving to dismiss for a technical defect in the service process described in this section. Failure to

serve a Complaint within the time periods set forth above will be subject to the standards governing

Fed. R. Civ. P. 4(m). Other than those based on formal service of process, Sanofi-aventis U.S.




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     Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 69 of 657




LLC reserves all other rights and defenses available to it under federal or state law and under

applicable treaties and conventions.

       F.      For cases in which plaintiffs have served Sanofi-aventis U.S. LLC, any applicable

limitations in Fed. R. Civ. P. 4(m) are extended such that plaintiffs need not serve any other Sanofi

entities, including but not limited to Sanofi US Services Inc., Aventis Pharma S.A., and Sanofi

S.A., until further order of the Court after a meet and confer of the parties. Such extension shall

not waive any rights, obligations, or defenses of the parties. Further, neither Sanofi-aventis U.S.

LLC, nor the other Sanofi entities shall move to dismiss a complaint under Fed. R. Civ. P. 4(m) as

to an unserved Sanofi entity until further order of the Court after a meet and confer of the parties.

                                        his 3rd day of January
               New Orleans, Louisiana, this                  y, 20
                                                       January, 2017.




                                              KURT D. ENGELHARDT
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                                              UNITED STATES DISTRICT
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     Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 70 of 657




                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                           SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                              PRETRIAL ORDER NO. 10
               (Order Regarding the Scope of the Taxotere (Docetaxel) MDL)

       Upon inquiry by Liaison Counsel, this Court, on December 29, 2016, sought clarification

from the Judicial Panel on Multidistrict Litigation relative to the scope of MDL No. 2740, In re:

Taxotere (Docetaxel) Products Liability Litigation. See Attachment “A”. On January 4, 2017, the

Honorable Sarah S. Vance, Chair of the Judicial Panel on Multidistrict Litigation, issued a letter

regarding the Panel’s intent relative to the initial October 4, 2016 Transfer Order (Rec. Doc. 1).

See Attachment “B”. As stated in the December 29, 2016 letter, the Court will proceed

accordingly.

        New Orleans, Louisiana, this 10th day
                                            y of January 2017.



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                                                    UNITED STATES DISTRICT
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Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 71 of 657
                                                         ATTACHMENT A
Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 72 of 657
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                                        UNITED STATES JUDICIAL PANEL                                  ATTACHMENT B
                                                     on
                                         MULTIDISTRICT LITIGATION

CHAIR:                          MEMBERS:                                                              PANEL OFFICES:
Sarah S. Vance                  Marjorie O. Rendell                Ellen Segal Huvelle                Thomasenia P. Duncan
United States District Court    United States Court of Appeals     United States District Court       Panel Executive
Eastern District of Louisiana   Third Circuit                      District of District of Columbia
                                                                                                      One Columbus Circle, NE
U.S. Courthouse                 Charles R. Breyer                  R. David Proctor                   Thurgood Marshall Federal
New Orleans, LA 70130           United States District Court       United States District Court       Judiciary Building
                                Northern District of California    Northern District of Alabama       Room G-255, North Lobby
Telephone:   [504]589-7595                                                                            Washington, D.C. 20544-0005
Fax:         [504]589-7598      Lewis A. Kaplan                    Catherine D. Perry
                                United States District Court       United States District Court       Telephone: [202] 502-2801
sarah_vance@laed.uscourts.gov   Southern District of New York      Eastern District of Missouri       Fax:        [202] 502-2888
                                                                                                      http://www.jpml.uscourts.gov

                                                         January 4, 2017

Honorable Kurt D. Engelhardt
Chief Judge
United States District Court
Hale Boggs Federal Building
 United States Courthouse
500 Poydras Street, Room C-367
New Orleans, LA 70130


          Re:       Inquiry of December 29, 2016


Dear Kurt:

       I write in response to your inquiry of December 29, 2016 concerning whether the Panel's
order in MDL No. 2740, In re: Taxotere (Docetaxel) Products Liability Litigation was intended to
include within its scope only cases against the Sanofi brand entities or cases against all
manufacturers of docetaxel. The Panel's order, as reflected in the title of the MDL, was intended
to include cases against non-Sanofi/generic manufacturers of docetaxel that allege common
issues. In addition, since the MDL was formed, we have reviewed potential tag alongs that named
generic manufacturers and concluded that they shared sufficient factual questions (allegations of
a common injury after taking the drug) with MDL 2740 to warrant placing them on Conditional
Transfer Orders.

          Thank you again for taking this assignment. Let us know if we can be of further assistance.


                                                                  Sincerely,


                                                                  Sarah S. Vance
                                                                  Chair


cc:       Thomasenia Duncan, Panel Executive
     Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 74 of 657




                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                             MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                        SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                             PRETRIAL ORDER NO. 11
 (Order Extending Deadline to Submit Proposed Plaintiff Fact Sheets and Defendant Fact
                                       Sheets)

       On January 10, 2017, the Court held a teleconference with Plaintiffs’ Liaison Counsel,

Dawn Barrios and Palmer Lambert, and Defendants’ Liaison Counsel, Douglas Moore. As

discussed during the teleconference, IT IS ORDERED that the deadline to submit proposed form

Plaintiff Fact Sheets and Defendant Fact Sheets, as ordered in this Court’s December 21, 2016

Order (Rec. Doc. 140), is hereby extended from Friday, January 13, 2017 until Friday, January

20, 2017.

       New Orleans, Louisiana, this 10th day of January 2017.



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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 75 of 657




                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                            MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                       SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                               PRETRIAL ORDER NO. 12
                            (1/19/17 Liaison Counsel Meeting)

      On January 19, 2017, the Court held a meeting with Plaintiffs’ Liaison Counsel, Dawn

Barrios and Palmer Lambert, and Defendants’ Liaison Counsel, Douglas Moore. During the

meeting, the Court discussed with counsel the topics listed on the attached agenda. IT IS

ORDERED that:

      (1) Service of process shall be made on all known, non-Sanofi Defendants on or before

          Wednesday, February 15, 2017.

      (2) Liaison Counsel shall submit proposed deadlines to the Court for the submission of a

          Master Complaint, Short Form Complaint, Master Answer, and Motions to Dismiss at

          the next meeting of Liaison Counsel on Friday, January 27, 2017 at 8:45 a.m.

      New Orleans, Louisiana, this 19th day of January, 2017.




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      Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 76 of 657




        MDL 2740 – In Re: Taxotere (Docetaxel) Products Liability Litigation
                        Liaison Counsel Meeting Agenda
                                January 19, 2017



I.          Status Report on Completed or Substantially Completed Issues

       1.           Proposed Procedural Pretrial Orders

               a.            Common Benefit Order

                        i.     Special Master selection

               b.            MDL Centrality

               c.            PFS/DFS Forms

               d.            Service Waivers

       2.           State Court Litigation (CA, DE, MO)

               a.            Status/Census of each state court litigation

               b.            Additional venues?

               c.            Filing of State Court complaints by Plaintiff’s steering committee

       3.           ESI Meeting with Magistrate Judge North (1/25/17)

       4.           Potential Science Presentation

       5.           Settlement Committee Update

II.         New Issues / Next Steps

       1.      Participation of non-Sanofi defendants

       2.      PFS/DFS Order (submission/notice/deficiency deadlines)

       3.      Service on non-Sanofi Defendants

       4.      Deadline for briefing on Louisiana Class Action (Matthews)

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 5.    Tracks for Brand and Hybrids/Generics

 6.    Closing of Pleadings

       a.         Master and Short Form Complaint

       b.         Master Answer/Motions to Dismiss

 7.    Timeline for Discovery




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                                UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                            MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                         SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                                  PRETRIAL ORDER NO. 13
                 (Order Appointing Brian S. Rudick to the Settlement Committee)

       On December 13, 2016, the Court entered Pretrial Order No. 6, appointing a Settlement

Committee for this MDL. On January 25, 2017, Counsel for the Sanofi Defendants informed the Court

that Mr. Anand Agneshwar could no longer serve as a member of the Defendant Settlement Committee

as a result of an unanticipated conflict that arose after the entry of Pretrial Order No. 6. Defendants

further proposed that the Court replace Mr. Agneshwar with Mr. Brian S. Rudick. Upon consideration

of the reasons set forth by Counsel for the Sanofi Defendants, the Court adopts this proposal and appoints

Mr. Rudick to the Defendant Settlement Committee in place of Mr. Agneshwar.

       The terms of this appointment to the Defendant Settlement Committee shall be the same for the

appointment of other counsel to the Defendant Settlement Committee (see Pretrial Order No. 6, Rec.

Doc. 133) and liaison committees (see Pretrial Order No. 2, Rec. Doc. 104), i.e., the initial term shall

extend until January 1, 2018, and all other provisions of Paragraph 5 of Pretrial Order No. 2 shall apply.

       New Orleans, Louisiana, this 31st day of January 2017




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                                UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                            MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                        SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                                   PRETRIAL ORDER NO. 14
                         (Order from January 27, 2017 Status Conference)

       A status conference was held on January 27, 2017, at 10:00 a.m. in Judge Kurt D. Engelhardt’s

courtroom. At the conference, Plaintiffs’ Liaison Counsel, Dawn Barrios and Palmer Lambert, and

Defendants’ Liaison Counsel, Douglas Moore, reported to the Court on the topics listed in “Joint Report

No. 1 of Liaison Counsel” (Rec. Doc. 198).

       At the conference, liaison counsel also submitted “Joint Proposed Deadlines for Master and Short

Form Complaint, Master Answer, and Motions to Dismiss,” which is attached to this Order as “Attachment

A.” IT IS ORDERED that liaison counsel submit a final draft of a joint proposed order containing the

aforementioned deadlines.

       IT IS FURTHER ORDERED that the next status conference will take place on Friday, March

17, 2017, at 10:00 a.m. in Judge Engelhardt’s courtroom, with the meeting of liaison counsel at 8:30 a.m.

and meeting of the Plaintiffs’ Steering Committee at 9:00 a.m.

       IT IS FURTHER ORDERED that the Plaintiffs’ Steering Committee has until Wednesday,

March 1, 2017, to verify the information contained within Apotex Inc.’s affidavit that was presented to

the committee during the January 27, 2017 status conference.


       New Orleans, Louisiana, this 3rd day of February
                                                   uary 2017.

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                                                                                          ATTACHMENT A

                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

    In Re: TAXOTERE (DOCETAXEL)                                                    MDL NO. 2740
           PRODUCTS LIABILITY
           LITIGATION                                                              SECTION “N” (5)

    THIS DOCUMENT RELATES TO:
    ALL CASES


    JOINT PROPOSED DEADLINES FOR MASTER AND SHORT FORM COMPLAINT,
                MASTER ANSWER, AND MOTIONS TO DISMISS

A. Master Complaint Filing Deadline and Short Form Complaint (Exemplar) Submission:
   March 31, 2017.

B. Short Forms filed in each case:

         a. May 31, 2017 for all cases docketed in the MDL prior to April 1, 2017; or

         b. 30 days following the docketing of the case in the MDL docket for all cases filed
            from April 1, 207 forward.

C. Motion to Dismiss regarding Personal Jurisdiction: 30 days after filing of the Master
   Complaint. 1

D. All other Motions to Dismiss: 60 days after filing of the Master Complaint.

E. Opposition to Motions to Dismiss regarding Personal Jurisdiction: August 31, 2017.

F. Oppositions to all other Motions to Dismiss: 60 days after filing of Motions to Dismiss.

G. Master Answer: May 31, 2017 or 30 days after ruling on all Motions to Dismiss.




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  The parties have discussed whether discovery related to personal jurisdiction will be necessary and have agreed to
defer setting a deadline for such discovery at this time. The parties have further agreed to meet and confer about this
issue if defendants file a motion challenging personal jurisdiction.
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

     In Re: TAXOTERE (DOCETAXEL)                                     MDL NO. 2740
            PRODUCTS LIABILITY
            LITIGATION                                               SECTION “N” (5)

     THIS DOCUMENT RELATES TO:
     ALL CASES


                              PRETRIAL ORDER NO. 15
(Deadlines for Master and Short Form Complaint, Motions to Dismiss and Master Answer)


        This Order reflects the agreement to date between the parties with respect to case

management issues governing all proceedings in this matter. Several case management issues

remain under discussion between the parties. Accordingly, it is hereby ORDERED that:


A.      Plaintiffs, through the PSC, shall file a Master Complaint on or before March 31, 2017;

B.      Plaintiffs, through the PSC, shall submit a proposed Pretrial Order with an attached
        exemplar Short Form Complaint on or before March 31, 2017;

C.      Plaintiffs, through their individual counsel, shall abide by the following instructions
        regarding filing of Short Form Complaints:

        a. For all cases docketed in the MDL prior to April 1, 2017, a Short Form Complaint may
           be filed as an amended complaint1 in the plaintiff’s individual case docket on or before
           May 31, 2017 (if the plaintiff does not file a Short Form Complaint, adopting
           allegations in the Master Complaint, that plaintiff’s original Complaint shall remain the
           operative Complaint in that case); and

        b. For all cases filed in or transferred to the MDL from April 1, 2017 forward, the Master
           Complaint shall apply and Plaintiffs shall file a Short Form Complaint; for such cases



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       As a logistical matter, short form/amended complaints should be filed in the applicable
member case. Filing attorney should use the event, “Taxotere Amended Complaint”, located
under the Service of Process Category. If further direction is needed, please contact the Court at
(504) 589-7715.
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           filed directly in the MDL in accordance with Pretrial Order No. 5 (R. Doc. 131), a Short
           Form Complaint shall be filed in lieu of a long format original complaint;

D.     Defendants shall file all Motions to Dismiss directed to the Master Complaint and
       regarding personal jurisdiction within 30 days after filing of the Master Complaint;2

E.     Defendants shall file all other Rule 12 Motions to Dismiss directed to the Master Complaint
       within 60 days after filing of the Master Complaint;

F.     Plaintiffs, through the PSC, shall file any Opposition Memoranda to the Defendants’
       Motions to Dismiss directed to the Master Complaint and regarding personal jurisdiction
       on or before August 31, 2017;

G.     Plaintiffs, through the PSC, shall file any Opposition Memoranda to all other Rule 12
       Motions to Dismiss directed to the Master Complaint filed by Defendants within 60 days
       after filing of the Motions to Dismiss; and

H.     Each Defendant shall file a Master Answer on or before 60 days following the filing of the
       Master Complaint or within 30 days after the Undersigned’s ruling on all Motions to
       Dismiss, whichever is later.

I.     A Defendant’s Master Answer is not intended to and shall not waive any applicable
       defenses available to any Defendant, including any objections to service, jurisdiction or
       venue, and any defenses to any state law claims not otherwise set forth in the Master
       Complaint, and Defendants may respond to any such individual complaint, including Short
       Form Complaints, by way of motions permissible under the Federal Rules of Civil
       Procedure. Defendants may also file counterclaims, cross-claims, and/or third-party
       complaints, pursuant to Rules 13 and 14 of the Federal Rules of Civil Procedure, in
       connection with any particular individual action, with such filing to be made within 60
       days of transfer of the action to the MDL or, for those actions currently pending in the
       MDL, within sixty (60) days of the filing of the Master Answer, unless good cause is shown
       for filing at a later date.

J.     Because each Defendant shall be deemed to have answered all cases pending in, filed in,
       or subsequently transferred to the MDL upon filing of a Master Answer, cases may only
       be voluntarily dismissed against such Defendant by order of the Court pursuant to Federal

2
       The parties have discussed whether discovery related to personal jurisdiction will be
necessary and have agreed to defer setting a deadline for such discovery at this time. The PSC
and defendants shall meet and confer in an attempt to reach a consensus regarding this issue if
defendants file any motion challenging personal jurisdiction.
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        Rules of Civil Procedure Rule 41 (a)(2) or a stipulation pursuant to Federal Rules of Civil
        Procedure Rule 41(a)(1)(ii), except that a complaint filed directly in the MDL may be
        voluntarily dismissed upon notice by Plaintiff within 20 days of the filing of the complaint.
K.      Neither the filing of a Master Answer, nor the filing of a Notice of Appearance or ECF
        registration in an action, nor the appearance at a status conference shall constitute a waiver
        of any defense of lack of personal jurisdiction.



                                 9th day off ________________
     New Orleans, Louisiana this ____            February __,
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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                      MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION                                                SECTION “N” (5)

  THIS DOCUMENT RELATES TO:
  ALL CASES


                              PRETRIAL ORDER NO. 16
 [Intent to Enter Common Benefit, Time and Expense Rules, Appointment of CPA, Holdback,
                            Assessments, and Related Issues]

       Attached is a proposed Common Benefit Order, submitted to the Court by Plaintiffs’

Liaison Counsel, the Plaintiffs’ Steering Committee, and Defendants’ Liaison Counsel,

establishing guidelines for the monthly recordation and submission of common benefit time and

expenses for eventual consideration of common benefit attorney fees and cost reimbursement,

appointment of a Special Master for management, oversight, and substantive review of matters

related to and claimed to be common benefit, appointment of a CPA, holdback provisions, and

assessments. As set forth in the proposed Common Benefit Order, this Court retains all authority

and jurisdiction as to the final decisions of awards and allocations of awards for common benefit

fees and reimbursement of expenses.

       Any response in opposition to this Court’s entry of the proposed Common Benefit Order

shall be filed by Tuesday, February 21, 2017.

       New Orleans, Louisiana, this 1th
                                      th day of February, 2017.
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                    MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION                                             SECTION “N” (5)


            EXHIBIT A TO PRETRIAL ORDER NO. 16
 COMMON BENEFIT, TIME AND EXPENSE RULES, APPOINTMENT OF CPA,
        HOLDBACK, ASSESSMENTS, AND RELATED ISSUES

                           Proposed Common Benefit Order

I. Governing Principles and the Common Benefit Doctrine

       The common benefit governing principles are derived from the United States

Supreme Court’s common benefit doctrine, as initially established in Trustees v. Greenough,

105 U.S. 527 (1881) and as refined throughout the last century in cases including Boeing Co.

v. Van Gemert, 444 U.S. 472 (1980), Mills v. Electric Auto-Lite Co., 396 U.S. 375 (1970),

and Sprague v. Ticonic National Bank, 307 U.S. 161 (1939). See also Turner v. Murphy Oil

USA, Inc., 422 F.Supp.2d 676, 680 (E.D.La. 2006) (“Thus, to avoid the problem of free-

riding, the U.S. Supreme Court over 125 years ago approved the common benefit doctrine,

which provides that when the efforts of a litigant or attorney create, preserve, protect,

increase, or discover a common fund, all who benefit from that fund must contribute

proportionately to the costs of the litigation. ‘The doctrine rests on the perception that

persons who obtain the benefit of a lawsuit without contributing to its cost are unjustly

enriched at the successful litigant's expense.’” (citations omitted)). See also Manual for

Complex Litigation (Fourth) § 14.121 (2004) (discussing the American Rule and the

common-benefit exception in complex cases).”). See also In re Oil Spill by the Oil Rig

“Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, MDL No. 2179, 2012 WL



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161194, at *1, (Rec. Doc. 5064) (E.D. La. Jan. 18, 2012); Eldon E. Fallon, Common Benefit

Fees in Multidistrict Litigation, 74 La. L. Rev. 371, 374 (2014) (“Because the work that the

PSC performs inures to the common benefit of all plaintiffs and their primary counsel (the

counsel that they employed), MDL transferee courts usually establish a procedure for

creating a common benefit fee to compensate the members of the PSC and the members of

any subcommittees who have done common benefit work.”); Manual for Complex

Litigation, § 14.215 (4th ed. 2004) (noting that “Lead and liaison counsel may have been

appointed by the court to perform functions necessary for the management of the case but

not appropriately charged to their clients” and encouraging an order early in the litigation

that “establish[es] the arrangements for their compensation, including setting up a fund to

which designated parties should contribute in specified proportions.”).

       The Court’s authority to establish a fund and to order contributions also derives from

its equitable authority and its inherent managerial power over this consolidated and

multidistrict litigation. See, e.g., In re Vioxx Products Liab. Litig., 802 F.Supp.2d 740, 769-

71 (E.D. La. 2011); In re Diet Drugs, 582 F.3d 524, 546-47 (3rd Cir. 2009); In re Air Crash

Disaster at Fla. Everglades, 549 F.2d 1006, 1008 (5th Cir. 1977); Manual for Complex

Litigation, § 20.312 (4th ed. 2004) (“MDL judges generally issue orders directing the

defendants who settle MDL-related cases contribute a fixed percentage of the settlement to

a general fund to pay national counsel.”); Fallon, supra, at 378 (the common benefit doctrine

is justified “on principles of equity or quantum merit or class action procedures or [a court’s]

inherent authority”).

II. Scope of Order




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       This Order provides standards and procedures for the fair and equitable sharing

among plaintiffs, and their counsel, of the burden of services performed and expenses

incurred by attorneys acting for the common benefit of all plaintiffs in MDL 2740; for the

establishment of rules for compensable common benefit work and expenses; for the

anticipated percentage of assessments determined as of this date collected to fund payment

for common benefit fees and costs; for provisions governing a holdback on settlements or

payments of judgments; for the procedures for reporting of time and expenses and review of

those submissions by a Special Master appointed by the Court; for the appointment of a CPA;

and, other related issues.


       This Order applies to (1) all cases now pending, as well as to any cases later filed in,

transferred to, or removed to this Court and included as part of the MDL 2740 Proceeding,

and any attorney with a fee interest in those cases; (2) each attorney with a case in the MDL

who has a fee interest in a plaintiffs’ case in a jurisdiction outside the MDL or in any unfiled

claims; and (3) all counsel who voluntarily sign the attached Participation Agreement

(Exhibit A). Counsel with Taxotere (Docetaxel) cases pending only in the MDL are governed

by this Order and are not obligated to sign the Participation Agreement as these counsel are

deemed to have signed the Participation Agreement. Counsel with Taxotere (Docetaxel)

cases outside MDL 2740 (even if counsel has cases in MDL 2740) must sign the Participation

Agreement, if they want to receive common benefit work product and become Participating

Counsel. All counsel who have signed or are deemed to have signed the Participation

Agreement are classified as “Participating Counsel”.

       This Order is not intended to result in the payment of an assessment for a common

benefit case in the MDL 2740 Proceeding and an additional assessment in any other



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coordinated action in another jurisdiction. In the event two assessments cover any case or

claim, MDL 2740 Leadership, Participating Counsel and Participating Law Firm shall

attempt a mutually agreeable resolution to avoid multiple or excessive assessments. If the

MDL Leadership and any plaintiff’s counsel or law firm are unable to reach a mutually

agreeable resolution, the issue will be brought to the attention of the MDL 2740 Court, which

shall have authority to decide the issue after consultation with the jurist in the other

jurisdiction.

        Participating Counsel are prohibited from sharing work product of MDL 2740 with

counsel who are not Participating Counsel.

        Should any counsel who are not Participating Counsel obtain access to or receive the

work product of MDL 2740, that counsel shall be bound by the terms, conditions and

obligations of this Order, and its Exhibits.

III. Common Benefit Work and Expenses – General Rules

        The Court hereby adopts the following rules for the management of timekeeping,

expense reimbursement, and related common benefit issues, and instructs Plaintiffs’ Co-

Liaison Counsel to distribute additional guidelines from time to time as may be necessary to

ensure an efficient common benefit process in this litigation. The recovery of common

benefit attorneys’ fees and expenses will be limited to Participating Counsel, and only as

provided herein.

        Reimbursement for costs and payment of fees for services of all Participating

Counsel performing functions in accordance with this Order will be set by the Court at a time

and in a manner established by the Court in a separate Order after due notice to all counsel

and a hearing. The standards and procedures set forth in this Order and Exhibits A and B are



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to be utilized by every counsel seeking fees or expense reimbursement for the common

benefit.

       Work by attorneys who are hired as contract attorneys will not be compensable for

the common benefit without the prior express authorization of members of the Plaintiffs’

Executive Committee and at rates to be evaluated by the Special Master and ultimately

determined by the Court.

       Only Participating Counsel can do common benefit work or incur expenses for the

common benefit, receive or have access to common benefit work product, and seek common

benefit fees and reimbursement of common benefit expenses. Any attorney who is not

Participating Counsel shall not be entitled to receive any common benefit work product or

make a claim (or recovery) for any common benefit fees and expense reimbursements.

       Participating Counsel shall only be eligible to claim common benefit attorneys' fees

and cost reimbursement under the following conditions: if the time expended, costs incurred,

and activity in question were (a) for the common benefit; (b) appropriately authorized by

members of the Plaintiffs’ Executive Committee, or by any Chair or Co-Chair of a committee

of the Plaintiffs’ Steering Committee; (c) timely and properly submitted under the terms of

this Order; and (d) ultimately approved by this Court.

       Participating Counsel who seek to recover Court-awarded common benefit attorneys'

fees and expenses in connection with this litigation shall keep a daily, contemporaneous

record of their time and expenses, noting with specificity the amount of time in one tenth

(.1) hour increments, name of attorney/paralegal performing the task, law firm name,

professional level of attorney or paralegal performing the task, a description of the particular

common benefit activity, the appropriate task code, and the name of the Plaintiffs’ Executive



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Committee member or Chair or Co-Chair of a committee of the Plaintiffs’ Steering

Committee who authorized the activity in question. All Participating Counsel shall, by the

15th day of each month, submit their time and expenses for the prior month into a platform

to be established by the Time and Expense Committee. No other form of submission for time

and expenses will be accepted. The specific task codes which must be utilized and inputted

into the platform are set forth in Exhibit B attached hereto, but are subject to modification

by the Time and Expense Committee as necessary, the Special Master or by the Court.

       Counsel shall retain original copies of all receipts that are uploaded into the platform.

The Time and Expense Committee shall provide all necessary forms for electronic time and

expense reporting, provide online and webinar training, and provide user information for

access into the platform approximately 14 days after the entry of this Order. A Senior Partner

in each Participating Firm shall also email to the Time and Expense Committee Co-Chairs

(Stan Baudin (sbaudin@pbclawfirm.com) and Palmer Lambert (plambert@gainsben.com)),

a signed affirmation sheet by the 15th of each month attesting to the accuracy of the data they

have uploaded in the time and expense platform for the prior month.

       The required data inputs for monthly expense reporting into the platform shall

include: date expense incurred; name of attorney incurring the expense; law firm name;

description of the expense; amount of the expense; Executive Committee member or Chair

or Co-Chair of a committee of the Plaintiffs’ Steering Committee who approved the expense,

if approval is required; and a confirmation that the receipt has been attached to the expense

line item inputted on the platform.

       By April 15, 2017, submissions shall be made for all common benefit time and

“Held” expenses incurred from the date the first Motion for Transfer of Actions Pursuant to




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28 U.S.C. Section 1407 was filed with the Judicial Panel on Multi-District Litigation, July

22, 2016, through March 31, 2017. The Court recognizes that there may be extraordinary

circumstances in which Participating Counsel may have done significant work for the

common benefit and incurred significant expenses for the common benefit prior to July 22,

2016, and in such event, this common benefit time and expense may be recommended to the

Court to be included as compensable hours and reimbursable expenses. Counsel who believe

that they have expended such extraordinary common benefit time or expense shall also

submit these into the platform by April 15, 2017.

       Any time or expense records submitted more than two (2) months in arrears may not

be considered or included in any compilation of time or expense calculation for the

submitting Participating Counsel and shall be disallowed, except for good cause shown, or

by Court Order.

       The failure to obtain authority to do common benefit work or incur common benefit

expenses (if necessary), or maintain and timely provide such records in accord with this

Order (or any Order supplementing or amending this Order) will be grounds for denial of

common benefit attorneys’ fees or expenses, in whole or in part.

IV. Common Benefit Expense Rules

       Advanced costs will be deemed as either "Shared" or "Held." Both Shared and Held

Costs are those incurred for the common benefit of the MDL as a whole. Costs exceeding

$1,000 require approval from a member of the Plaintiffs’ Executive Committee or Chair or

Co-Chair of a committee of the Plaintiffs’ Steering Committee, except for air fare. No

individual client-related costs will be considered as Shared or Held Costs.




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           a. Shared Costs will be paid out of the Taxotere (Docetaxel) MDL Litigation

                Fund account to be established, which shall be funded by the periodic

                contributions/cash calls established by the Plaintiffs’ Executive Committee.

                The Taxotere (Docetaxel) MDL Litigation Fund account will be administered

                by Pendley, Baudin and Coffin and Gainsburgh, Benjamin, David, Meunier,

                & Warshauer, and monitored by John R. Falgoust, Jr., CPA, DeMonte &

                Falgoust, CPAs, LLC.

           b. Held Costs are those that will be carried by each attorney and incurred in

                connection with common benefit work in MDL 2740. These shall be

                reimbursed as and when determined by the Court.

           c. Plaintiffs’ Co-Liaison Counsel shall prepare and be responsible for

                distributing to Participating Counsel the reimbursement procedures for

                Shared Costs and the forms associated therewith.

   A. Shared Costs

       All costs for the common benefit of MDL 2740 which fall under the following

categories shall be considered Shared Costs and qualify to be submitted and paid directly

from the Taxotere (Docetaxel) MDL Litigation Fund account. Shared Costs include:

           1.      Court, filing and service costs;

           2.      Deposition and court reporter costs;

           3.      Document Depository: creation, operation, staffing, equipment and

                   administration;




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           4.      Plaintiffs’ Co-Liaison Counsel administrative matters approved by a

                   member of the Executive Committee;

           5.      Plaintiffs’ Steering Committee group administration matters such as costs

                   for Plaintiffs’ Steering Committee meetings and conference calls;

           6.      Legal, accounting and vendor fees;

           7.      Expert witness and consultant fees and expenses;

           8.      Common witness expenses, including travel;

           9.      Translation costs;

           10.     Bank or financial institution charges;

           11.     Investigative services;

           12.     Claims Administrator charges;

           13.     Special Master charges; and

           14.     CPA's charges.


       Request for payments from the Taxotere (Docetaxel) MDL Litigation Fund account

must be made on a Shared Expense Reimbursement Form to be provided by Plaintiffs’ Co-

Liaison Counsel, with sufficient information to allow the Plaintiffs’ Executive Committee

and the CPA to account properly for costs and to provide adequate detail to the Special

Master and the Court.

   B. Held Costs

       Held costs are costs incurred by Participating Counsel that do not fall into the above

Shared Costs categories but are incurred for the common benefit of all plaintiffs in MDL




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2740. No specific client-related costs can be considered as Held Costs. Held Costs include

the following which are governed by the Travel and Non-travel limitations set forth below:

           1. Postage, shipping, courier, certified mail;

           2. Printing and photocopying (in-house);

           3. Computerized research - Lexis/Westlaw (actual charges only);

           4. Telephone - long distance (actual charges only);

           5. Travel - pursuant to Travel Limitations set forth below, including travel for

               counsel to attend depositions or court;

           6. Airfare- pursuant to Travel Limitations set forth below;

           7. Reasonable ground transportation- pursuant to Travel Limitations set forth

               below;

           8. Hotel- pursuant to Travel Limitations set forth below;

           9. Reasonable meals; and

           10. Other reasonable and necessary charges such as parking.


   C. Travel Limitations

       Only reasonable expenses for the common benefit submitted by Participating

Counsel will be reimbursed. Participating Counsel shall keep receipts for all expenses. Credit

card receipts or monthly credit or debit card statements are an acceptable form of

verification. Hotel costs must be proven with the full hotel invoice. The description of

unclaimed expenses on any invoice may be redacted.




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       Except in extraordinary circumstances approved in advance by a member of the

Plaintiffs’ Executive Committee, all travel reimbursements are subject to the following

limitations:

          1.   Airfare: Only the price of a full coach fare seat will be reimbursed except for

               international flights Business/First Class airfare, which requires prior written

               approval by a member of the Plaintiffs’ Executive Committee. In the event

               non-coach air travel is utilized, the attorney shall be reimbursed only to the

               extent of the full coach fare, which counsel must contemporaneously

               document in the expense submission. Expenses incurred for upgrades to

               priority seating on a flight will not be reimbursed.

          2.   Hotel: Hotel room charges for the average available room rate of a business

               hotel, including but not limited to the Hyatt, Hilton, Sheraton, Westin, and

               Marriott hotels, in the city in which the stay occurred, will be reimbursed.

               Luxury hotels will not be fully reimbursed, but will be reimbursed at the

               average available rate of a business hotel.

          3.   Meals: Meal expenses must be reasonable and must contain a notation of

               who was present at the meal.

          4.   Cash Expenses: Miscellaneous cash expenses for which receipts generally

               are not available (tips, luggage handling, etc.) will be reimbursed up to

               $20.00 per trip, as long as the expenses are properly itemized.

         5.    Rental Automobiles: Luxury automobile rentals will not be fully reimbursed,

               unless only luxury automobiles were available. Counsel must submit




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               evidence of the unavailability of non-luxury vehicles. If luxury automobiles

               are selected when non-luxury vehicles are available, then the difference

               between the luxury and non-luxury vehicle rates must be shown on the travel

               reimbursement form and only the non-luxury rate may be claimed, unless

               such larger sized vehicle is needed to accommodate several counsel. Any

               claim for private car service will be reimbursed at the non-luxury rate of a

               rental vehicle.

          6. Mileage: Mileage claims must be documented by the starting origination point,

               destination, and total actual miles for each trip, and the reimbursed rate will

               be the maximum rate allowed by the IRS.

   D. Non-Travel Limitations

           Only reasonable common benefit expenses submitted by Participating Counsel

will be reimbursed.

       Except in extraordinary circumstances approved in advance by a member of the

Plaintiffs’ Executive Committee, all non-travel reimbursements are subject to the following

limitations:

          1.   Long Distance, Conference Call Charges: Common benefit long distance

               and conference call telephone charges must be documented as a line item

               on the bill in order to be compensable. Copies of the telephone bills must be

               submitted with notations as to which charges relate to the Taxotere

               (Docetaxel) MDL 2740 Litigation. Such charges are to be reported at actual

               cost.




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        2.    Shipping, Overnight, Courier, and Delivery Charges: All claimed common

              benefit shipping, overnight, courier, or delivery expenses must be

              documented with bills showing the sender, origin of the package, content

              of the package, recipient, and destination of the package. Such charges are

              to be reported at actual cost.

        3.   Postage Charges: A contemporaneous postage log or other supporting

             documentation must be maintained and submitted for common benefit

             postage charges. Such charges are to be reported at actual cost.

        4.   Telefax: Telefax should not be used and generally will not be reimbursed.

        5.   In-House Photocopy: A contemporaneous photocopy log or other

             supporting documentation must be maintained and submitted. The

             maximum copy charge is $0.15 per page.

        6.   Computerized Research - Lexis/Westlaw: Claims for Lexis or Westlaw, and

             other computerized legal research expenses, should be in the exact amount

             charged to the firm for the common benefit work in this MDL, specify the

             topic of the research, and must be reasonable under the circumstances.

V. Common Benefit Work Rules

       Only previously authorized common benefit work is compensable. Authorized

common benefit work is an assignment made by a member of the Plaintiffs’ Executive

Committee, or by any Chair or Co-Chair of a committee of the Plaintiffs’ Steering

Committee, subject to the provisions of this Order. Confirmation of such authorization may

be evidenced by an email or by notation in the electronic file sharing system to be utilized




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by all Participating Counsel. No time spent on developing or processing individual issues in

any case for an individual client (claimant) will be considered or should be submitted. Time

spent on unauthorized work shall not be submitted or compensated.

       Only Participating Attorneys can submit time for common benefit work. Counsel

who are not Participating Counsel are precluded from doing common benefit work and from

receiving common benefit fees for work done. Only attorneys and paralegals may submit

time, as allowed in this Order. No time for clerical or technical support shall be common

benefit, unless pre-approved by a member of the Plaintiffs’ Executive Committee.

      Examples of authorized and unauthorized work include, but are not limited to:

             a. Attendance at Depositions: Only the time and expenses for Participating

                 Counsel, both first and second chair (and paralegal, if necessary) designated

                 as one of the authorized questioners or otherwise authorized to attend the

                 deposition by a member of the Plaintiffs’ Executive Committee shall be

                 considered common benefit work.

             b. Periodic Plaintiffs’ Steering Committee Conference Calls and meetings:

                 Plaintiffs’ Steering Committee conference calls and meetings are common

                 benefit. Only the Plaintiffs’ Steering Committee member’s time, and that

                 of those invited from time to time by the Plaintiffs’ Executive Committee

                 or Chairs or Co-Chairs of the committees of the Plaintiffs’ Steering

                 Committee to participate in calls and meetings, shall be considered common

                 benefit; however, the Co-Lead or Co-Liaison Counsel may submit as

                 common benefit time that of a partner, associate, or paralegal to assist the




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          Co-Lead Counsel or Co-Liaison Counsel with their duties. During phone

          calls there is a presumption that only the Plaintiffs’ Steering Committee

          attorney, or his/her designee, will qualify for common benefit time as it is

          expected that each Plaintiffs’ Steering Committee member will attend the

          Plaintiffs’ Steering Committee conference calls and meetings. Multiple

          timekeepers in Participating Counsel’s or Plaintiffs’ Steering Committee

          member’s firm who monitor the Plaintiffs’ Steering Committee Conference

          Calls or meetings will not be considered as doing common benefit work.

       c. Periodic MDL Status Conferences: Plaintiffs’ Steering Committee

          members and other attorneys directed by the Court to appear, are expected

          to attend the MDL status conferences and are working for the common

          benefit and only their time will be considered for common benefit for such

          attendance.

       d. Attendance at Seminars: Attendance at seminars (i.e. AAJ Section

          Meetings, Mass Torts Made Perfect, Harris Martin and similar seminars and

          CLEs) does not qualify as common benefit work or a common benefit

          expense, unless authorized in advance by the Plaintiffs’ Executive

          Committee.

       e. Document Review: Only document review specifically authorized by a

          member of the Plaintiffs’ Executive Committee or its designee and assigned

          to an attorney (or paralegal previously approved by Plaintiffs’ Executive

          Committee or its designee) will be considered common benefit work. Only




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           licensed attorneys or paralegals previously approved by Plaintiffs’

           Executive Committee or its designee may conduct common benefit

           document review. Descriptions associated with "document review" must

           contain sufficient detail to allow those reviewing the submitted time entry

           to generally ascertain what was reviewed. For example, indicating the

           custodian, search query or number of document folders reviewed is the kind

           of description needed.

        f. Review of Pleadings and Orders: Each attorney has an obligation to keep

           themselves informed about the litigation so that they can best represent their

           clients, and review of pleadings and orders is part of that obligation.

           However, the members of the Plaintiff’s Executive Committee are expected

           to review pleadings and orders as part of their work for the common benefit

           and their time will be considered as such. Additionally, those attorneys who

           are working on assignments made by a member of the Plaintiffs’ Executive

           Committee or by any Chair or Co-Chair of a committee of the Plaintiffs’

           Steering Committee which requires them to reasonably review, analyze, or

           summarize certain filings and substantive Orders of this Court in connection

           with their assignments are doing so for the common benefit.

        g. Emails: Except for members of the Plaintiffs’ Executive Committee and

           attorneys working on pre-approved common benefit work, time recorded

           for reviewing emails is not compensable unless germane to specific

           authorized and assigned (as provided herein) task being performed by the




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                 receiving or sending attorney that is directly related to that email. Thus, for

                 example, review of an email sent to numerous attorneys to keep them

                 informed on a matter on which they are not specifically working would not

                 be compensable as common benefit work.

             h. Review of Discovery: Each attorney has an obligation to keep themselves

                 informed about the litigation so that they can best represent their clients, but

                 they should review discovery only to the extent required by their individual

                 assignments and responsibility. Those attorneys working on assignments

                 made by a member of the Executive Committee or by a Chair or Co-Chair

                 of a committee of the Plaintiffs’ Steering Committee which require them to

                 reasonably review, analyze, or summarize certain filings and substantive

                 Orders of this Court in connection with their assignments are doing so for

                 the common benefit.

VI. Procedures to be Established by Plaintiffs’ Executive Committee

       Plaintiffs’ Executive Committee will establish forms and procedures to implement

and carry out the time and expense submissions required by this Order and necessary to

compile, review, and maintain the records. As MDL 2740 progresses, there may be

additional forms and procedures implemented by Plaintiffs’ Executive Committee and

distributed to all Participating Counsel regarding time and expense submissions.

       Questions regarding the guidelines or procedures or the completion of any forms

should be directed to Plaintiffs' Co-Liaison Counsel: Dawn M. Barrios, Barrios, Kingsdorf

& Casteix, LLP, 701 Poydras Street, Suite 3650, New Orleans, LA 70139, Phone: (504) 524-



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3300, Fax: (504) 524-3313, or M. Palmer Lambert, Gainsburgh, Benjamin, David, Meunier,

& Warshauer, 2800 Energy Center, 1100 Poydras St., New Orleans, LA 70163, Phone: (504)

522-2304, Fax: (504) 528-9973.

VII. Review of Time and Expenses

       This Court is aware of the disputes that can arise when claims are made for common

benefit fees and costs at the conclusion of an MDL. In an effort to eliminate or, at the very

least, minimize these potential difficulties, this Court will appoint a Special Master under the

authority of Fed. R Civ. P. 53 and the inherent powers of the Court. The Special Master will

have the responsibility for management, oversight, and substantive review of matters related

to and claimed to be common benefit, and, ultimately to make recommendations to the Court

as directed by the Court.

       The purpose of the Special Master’s substantive review is to have time and expenses

accepted or rejected as common benefit as MDL 2740 progresses and not wait for a

substantive review by a fee committee appointed by the Court until nearly the end of the

litigation. It is the Court’s intent to avoid as much as possible any disputes over the

classification of time and expenses as common benefit and the value of same.

       This Time and Expense Special Master will be solely for the Plaintiffs’ benefit so

only the Plaintiffs shall bear the cost of this Special Master’s charges.

       The procedures to be employed by for the Special Master’s review are as follows:

       a. On a monthly basis Participating Counsel shall submit the time and expenses

           claimed to be common benefit in the manner set forth in this Order.




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   b. Approximately every 60 days the Special Master shall review all time and

      expenses submitted in the month since his last review to determine whether the

      time and expenses submitted adhered to the requirements in this Order and

      whether the time and expenses are for the common benefit. The Special Master

      is encouraged to consult with members of the Time and Expense Committee in

      performing this task as the members of the Time and Expense Committee may

      be of assistance in these determinations, as well as attend status conferences, as

      necessary

   c. Should the Special Master discover during his review of time and expenses any

      matter requiring further clarification, attention, or information in order to

      determine whether it is common benefit or whether it is compliant with this

      Order, he shall have the authority to confer ex parte with the counsel who

      submitted the report for the purpose of obtaining the necessary information to

      make the determination of whether all or part of the submission is common

      benefit or compliant with this Order. The Special Master shall also have the

      authority to consult with the Time and Expense Committee and Plaintiffs’

      Executive Committee on any issue.

   d. After consultation with the Time and Expense Committee, Plaintiffs’ Executive

      Committee or any counsel whose submission required additional information, the

      Special Master shall make a determination classifying each relevant time and

      expense entry in contention as compliant or non-compliant with this Order for




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      each month reviewed. If the Special Master disqualifies any time or expense

      submitted, he shall prepare a report and provide it to the Participating Counsel

      affected and the Time and Expense Committee. If the Participating Counsel

      disagrees with the decision of the Special Master, Participating Counsel shall

      have the right to submit the matter to the Court within thirty (30) days after the

      Special Master’s decision and, in that event, the Special Master shall submit his

      report and all relevant documents used in his determination to the Court in

      camera.

   e. The Court shall determine the issues raised and shall issue a report to the Special

      Master, submitting Participating Counsel, the Executive Committee and the Time

      and Expense Committee of the determination.

   f. If after the Special Master makes his determination for any period of time and no

      Participating Counsel submits the Special Master’s determination to the Court,

      the decisions of the Special Master shall not be submitted to the Court at that

      time, but retained by the Special Master. If a Participating Counsel submits the

      Special Master’s determination to the Court to challenge it, the decision of the

      Court becomes final as set forth below. It is the intent of the Court that such

      determinations shall not be re-visited or later challenged.

   g. Any plaintiff’s counsel with a Taxotere (Docetaxel) case may review the Special

      Master’s conclusions of the months’ time and expenses or, if challenged, ruled

      upon by the Court, upon reasonable request to the Special Master within thirty




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      (30) days of the Special Master’s review, if none are challenged, or the Court’s

      ruling if there is a challenge. The Time and Expense Committee will notify every

      Participating Counsel and non-Participating Counsel (by using the information

      provided to the Federal-State Liaison Counsel) that a period’s submissions have

      been made, been reviewed by the Special Master, and if challenged, been ruled

      upon by the Court.

   h. The Special Master has the discretion upon a showing of good cause to allow the

      review of a summary of the Special Master’s actions or the Court’s ruling at a

      time and location convenient and shall charge all expenses, such as the Special

      Master’s fees, to the counsel who seeks review. Any counsel seeking to review

      these decisions shall sign a confidentiality agreement.

   i. If no disagreement is submitted by counsel within thirty (30) days of the Court’s

      determination in accordance with the above paragraphs, the decisions

      determining compliance with this Order and the classification of common benefit

      time and expenses shall be final and no Participating Counsel or non-Participating

      Counsel shall have the right to modify or seek modifications of these decisions.

   j. The Special Master shall meet with the Court at the request of the Court at any

      time to review all matters within the Special Master’s scope of work and shall

      prepare reports for the Court at the direction of the Court. The time and expenses

      the Special Master or the Court accepts as complying with this Order and as being




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           common benefit will be used by the Special Master in any recommendation to

           the Court on matters the Court directs.

       k. This process of submission and substantive review is subject to modification

           should the Special Master make any recommended changes to the Court or should

           the Court issue any additional Orders to supplement or amend this Order.

       l. The Special Master shall confer with the Court appointed Certified Public

           Account regarding the common benefit expenses claimed, as needed.

       m. Any interpretation of this Order shall be guided by the Court’s intent of this Order

           that all common benefit time and expenses periodically approved or rejected by

           the Special Master or Court will be final. This procedure of a review by the

           Special Master done periodically        should eliminate a review of all time and

           expenses at the end of the litigation by a fee committee. The opportunity to review

           the decisions of the Special Master or Court should eliminate a challenge by any

           plaintiffs’ counsel at any point after the relevant thirty (30) day period has

           expired.

       n. The Court retains the sole authority to issue final rulings on all decisions made

           by the Special Master and all decisions regarding common benefit attorneys’ fees

           and expenses.

VIII. Contributions

       The Plaintiffs’ Steering Committee and Co-Liaison Counsel are ultimately

responsible for the costs related to all matters for the common benefit of the plaintiffs during




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the course of MDL 2740. In order to fund these necessary activities, the Plaintiffs’ Steering

Committee, Co-Liaison Counsel, and other Participating Attorneys selected by the Executive

Committee or the Plaintiffs’ Steering Committee must periodically contribute to the Taxotere

(Docetaxel) MDL Litigation Fund account at times and in amounts sufficient to cover the

administration of the MDL, as determined by the Plaintiffs’ Executive Committee. The

amount set as a periodic contribution must be paid within sixty (60) days from the date of

the written notification of the contribution and the amount of the contribution. . Should any

firm fail to contribute its contribution, in whole or in part, within ninety (90) days after the

written notification of the assessment, the Plaintiffs’ Executive Committee has the authority

to impose a prohibition on further work or other appropriate sanctions.

IX. Assessments Withheld for Common Benefit Work and Costs

       A.      Establishing the Fee and Expense Funds and CPA Appointment

       Plaintiffs’ Executive Committee is directed to establish two interest-bearing accounts

to receive and disburse holdback assessments to common benefit attorneys as approved by

the Court. One fund shall be designated the “Taxotere (Docetaxel) Common Benefit Fee

Fund” and the other fund shall be designated the “Taxotere (Docetaxel) Common Benefit

Expense Fund.” These two funds (collectively referred to herein as “Funds”) will be held

subject to the direction of this Court. The Plaintiffs’ Steering Committee has retained and

the Court approves the retention of the accounting firm of DeMonte & Falgoust, L.L.C., and

hereby appoints John R. Falgoust, Jr. as the CPA to assist and provide accounting services

to the Plaintiffs’ Steering Committee and this Court. The Funds described above shall be

monitored and overseen by the CPA.




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         The CPA shall submit quarterly detailed bills for his services to Plaintiffs’ Co-

Liaison Counsel and the Court. Upon approval by the Court, the CPA’s bills shall be paid

from the Taxotere (Docetaxel) MDL Litigation account and shall be considered Shared

Costs.

         The CPA shall maintain and keep detailed records of all deposits and withdrawals in

any account described in this Order, and prepare tax returns and other tax filings in

connection with any account, if needed.

         1. General Standards

         All counsel and plaintiffs who are subject to this Order who agree to settle,

compromise, dismiss, or reduce the amount of a claim or, with or without trial, recover a

judgment for monetary damages or other monetary relief, including compensatory and

punitive damages, with respect to Taxotere (Docetaxel) claims or a Taxotere (Docetaxel)

case, are subject to an assessment on the Gross Monetary Recovery, as provided herein, the

amount subject to Court approval.

         2. Gross Monetary Recovery

         Gross Monetary Recovery includes any and all amounts paid by defendants through

settlement or pursuant to a judgment. In measuring the “Gross Monetary Recovery,” the

parties are to (a) exclude any court costs that are to be paid by the defendant(s), but include

any attorneys’ fee awards under any fee-shifting statute or rule; (b) include any payments to

be made by the defendant(s) to a third party on behalf of the plaintiff; (c) include the present

value of any fixed and certain payments to be made in the future; and (d) if applicable,




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subtract any recovery paid by the plaintiff to a defendant through settlement or pursuant to a

judgment for counterclaim(s) asserted in a Taxotere (Docetaxel) case by a defendant.

         3. Initial Assessment Amounts

         The assessments in this Order represent a holdback (see, e.g., In re Zyprexa Prods.

Liab. Litig., 467 F.Supp.2d 256 (E.D.N.Y. 2006)) and may be altered only upon further

orders of the Court. The obligations in this Section shall follow the case to its final

disposition, including a court having jurisdiction in bankruptcy.

         Defendants shall hold back 1 and set aside for placement into the Taxotere

(Docetaxel) Common Benefit Fee Fund and the Taxotere (Docetaxel) Common Benefit

Expense Fund the amounts in this section, unless otherwise amended by the Court. The Court

is advised that the Plaintiffs’ Steering Committee currently believes that a total assessment

of 8% of the Gross Monetary Recovery recovered by any plaintiff(s) who is/are subject to

this Order for receipt of the common benefit work product and plaintiff(s) counsel’s eventual

compensation of common benefit fees and reimbursement of common benefit expenses is

fair and reasonable under the current circumstances and the law. Of this 8% total assessment,

6 percentage points shall be set aside for eventual payment of Court-approved common

benefit attorneys' fees, and 2 percentage points will be set aside for reimbursement of

common benefit costs approved for reimbursement by the Court. The 8% assessment set

forth herein is preliminary in nature and made at the inception of MDL 2740 before any


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  In the event any defendant fails to hold back the assessments required by this Order, plaintiffs’ counsel has
an equal duty to pay the appropriate holdback amounts to the Funds. Under all scenarios (except to the extent
the attorney is being paid an hourly rate), the fee assessment shall be paid from the attorney’s portion of the
recovery and shall not be borne by the client.




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discovery is done and is subject to revision, upward or downward, pursuant to subsequent

Orders of this Court. Further, the 8% assessment shall not be a final determination of

common benefit fees or expenses to ultimately be paid/reimbursed to plaintiffs’ counsel

performing functions in accordance with this Order; rather, such common benefit payments

for fees and reimbursement for costs, if later supported by evidence of the outcome of the

litigation, the extent of the work performed to achieve whatever the result, the caliber of

counsel doing common benefit work, and the applicable jurisprudence, will later be awarded

and set by the Court at a time and in a manner established by the Court in a separate Order

after due notice to all counsel and a hearing.

        Any case in the MDL 2740 proceeding that is subsequently resolved by settlement

or trial as part of a class action pursuant to Federal Rule of Civil Procedure 23 will not be

subject to this Order; rather in the event of a class action judgment or resolution, a separate

order addressing class counsel fees and costs will be entered.

        B.      Defendants’ Obligations to Pay Common Benefit Assessments

        Pursuant to this Order, Defendants are directed to withhold the assessment amount

set forth herein, unless otherwise amended by the Court from any amounts paid to plaintiffs

and their counsel who are subject to this Order, and to pay the assessment directly into the

Taxotere (Docetaxel) Common Benefit Fee Fund and the Taxotere (Docetaxel) Common

Benefit Expense Fund as a credit against the settlement or judgment of a case or claim subject

to this Order. If, for any reason, the assessment is not or has not been so withheld, the plaintiff

and his counsel are jointly responsible for paying the assessment into the Funds promptly.




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         Plaintiffs’ Co-Liaison Counsel shall provide the Defendants’ Liaison Counsel, the

CPA, and the Court (or its designee) with a list of cases and/or counsel who have signed or

is deemed to have signed the Participation Agreement (Exhibit A) or who are otherwise

subject to this Order on a quarterly basis, beginning July 1, 2017. In the event there is a

dispute as to whether a case or counsel are subject to this Order, the Plaintiffs’ Steering

Committee shall seek to resolve the matter with the particular plaintiff's counsel informally,

and if that is unsuccessful upon motion to the MDL Court.

         Although the settlement amounts are confidential, the settling defendant(s) must

disclose the amounts to the CPA who shall provide Plaintiffs’ Executive Committee at the

appropriate time with written verification that defendant(s) have made full and complete

payments to the appropriate Funds in accordance with this Order and with all procedures

established by the Court. The full and complete payments and the required verification from

the CPA shall discharge defendants’ and defendants’ counsel’s obligations and

responsibilities with respect to the deposited funds, including any disputes between or among

plaintiffs and plaintiffs’ counsel as to the allocation of such funds. Whether case(s) have

been settled and the specifics of any settlement(s), including but not limited to amount(s)

deposited into the appropriate Fund, shall be confidential and shall not be disclosed by the

CPA to Plaintiffs’ Co-Lead Counsel, Plaintiffs’ Co-Liaison Counsel, the Plaintiffs’ Steering

Committee, any other plaintiffs’ lawyer, the Court, the Court’s designee, or to anyone else.

However, it may be provided to the Court or the Court’s designee, and to the Court or its

designee only, should the Court request that information. Monthly statements from the CPA

shall, however, be provided to Plaintiffs’ Co-Lead and Co-Liaison Counsel and the Court




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showing only the aggregate of the monthly deposits, disbursements, interest earned, financial

institution charges, if any, and current balance.

        The CPA shall provide Plaintiffs’ Executive Committee with written verification that

defendants have made full and complete payments to the appropriate Funds in accordance

with this Order and with all procedures established by the Court; however, the CPA shall not

disclose any settlement amounts to anyone, other than to the Court if requested by the Court.

X.      Notice to All Prospective Participating Counsel

        In order to ensure that all prospective Participating Counsel have due notice of the

instant Order, Plaintiffs’ Co-Liaison Counsel are ordered to provide immediate notice of the

instant Order, and any other Order related to common benefit fees, expenses, or procedures,

to all plaintiffs’ counsel in Taxotere (Docetaxel) cases, without regard for whether the case

is filed in federal or state court, so as to provide full notice as to the procedures which will

govern this case.

        THUS DONE AND SIGNED

        New Orleans, Louisiana, this ___day of _________________ 2017.



                                               KURT D. ENGELHARDT
                                               UNITED STATES DISTRICT JUDGE




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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

     In Re: TAXOTERE (DOCETAXEL)                    MDL NO. 2740
            PRODUCTS LIABILITY
            LITIGATION                              SECTION “N” (5)


               EXHIBIT B TO PRETRIAL ORDER NO. 16
        COMMON BENEFIT, TIME AND EXPENSE RULES, HOLDBACK,
                ASSESSMENTS, AND RELATED ISSUES

                           Common Benefit Participation Agreement


        THIS COMMON BENEFIT PARTICIPATION AGREEMENT is made this ____ day

of _____________, 2017, by and between the Plaintiffs’ Steering Committee and Co-Liaison

Counsel, as appointed by the United States District Court for the Eastern District of Louisiana in

MDL 2740, and _________________________________ [Name of the Attorney and Law Firm

Executing the Agreement] (the “Participating Counsel” or “Participating Firm”), on behalf of all

of his/their clients having claims relating to or arising from Taxotere, whether in the MDL or in

any non-MDL court including cases that are originally filed in or otherwise remanded to state

court, as well as unfiled claims.

        NOW, THEREFORE, in consideration of the covenants and promises contained herein,

and intending to be legally bound hereby, the parties agree as follows:

I.      SCOPE OF AGREEMENT

         A.    Purpose

        This Participation Agreement (the “Agreement”) is a private cooperative agreement

between plaintiffs’ attorneys to share common benefit work product pursuant to the Court’s Case

Management Order No. ____ Common Benefit, Time and Expense Rules, Holdback, Assessments,

and Related Issues (the “Order”), which is incorporated herein. By signing this Participation

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Agreement, the Participating Counsel and Participating Firm executing this Agreement are

entitled to receive and use common benefit work product, regardless of the venue or jurisdiction

in which Participating Counsel’s cases are pending, or if the claim has not yet been filed.

         B.    Rights and Obligations of Participating Counsel

        Participating Counsel and Participating Firm shall be provided access to the common

benefit work product, including access to the document depository. Participating Counsel and

Participating Firm agree that all Taxotere cases and/or claims in which Participating Counsel or

Participating Firm has any fee interest, including unfiled cases, tolled cases, and/or cases filed in

any state or federal court, are all subject to the terms of this Participation Agreement.

        Participating Counsel and Participating Firm shall produce a list that correctly sets forth

the name of each client represented by him/them or in which he/they have an interest in the attorney

fee, regardless of what that interest is, whether the case if filed or not yet in suit. Such list shall

include the court and docket number of each such case; if the case is not yet filed, the list shall

include the address of the claimant. Participating Counsel and Participating Firm shall supplement

the list on a quarterly basis and provide the list to Co-Liaison Counsel via electronic mail. The

initial list shall be provided within 14 calendar days of signing this Agreement and must be

supplemented every 90 days thereafter.

II.     AGREEMENT TO PAY AN ASSESSMENT ON GROSS RECOVERY

        Subject to the terms of this Agreement and the terms of the Order, Participating Counsel

and Participating Firm who agree to settle, compromise, dismiss, or reduce the amount of a claim,

with or without trial, recover a judgment for monetary damages or other monetary relief, including

compensatory and punitive damages, for any Taxotere claims on behalf of any client are subject

to an assessment of the Gross Monetary Recovery, as provided herein, regardless of whether

Participating Counsel or Participating Firm has actually accessed or used common benefit work
                                                  2
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product at any time.

         A.     Gross Monetary Recovery Defined

        “Gross Monetary Recovery” includes any and all amounts paid to plaintiffs’ and/or their

counsel by defendant(s) through a settlement or pursuant to a judgment. In measuring the Gross

Monetary Recovery, the parties are to (a) exclude court costs to be paid by the defendant(s), but

include any attorneys’ fee awards under any fee-shifting statute or rule; (b) include any payments

to be made by defendant(s) to a third party on behalf of a plaintiff; (c) include the present value

of any fixed and certain payments to be made in the future; and (d) if applicable, subtract any

recovery paid by the plaintiff to defendant(s) through settlement or pursuant to a judgment for

counterclaim(s) asserted by defendant(s).

         B.     Assessment Amount

        This assessment herein represents a holdback (see, e.g., In re Zyprexa Prods. Liab. Litig., 467 F.

Supp. 2d 256 (E.D.N.Y. 2006)). The obligations in this Participation Agreement shall follow all cases or

claims to their final disposition, including a court having jurisdiction in bankruptcy. The assessment rules

shall govern in accordance with the Order as a holdback for placement into the Taxotere Common Benefit

Fee Fund and the Taxotere Common Benefit Expense Fund.

         Regardless of where any case is filed or pending, or if a claim has not yet been filed,        the

 Participating Counsel, Participating Firm and his/their clients hereby agree to be bound by the assessment

 set by the Court. At the present time that total assessment is 8% of the Gross Monetary Recovery

 by the Participating Counsel or Participating Firm for each client. Of this 8% total assessment,

 6% shall be paid by the attorney for attorneys' fees from the individual law firm’s fee percentage

 with the client and 2% will be paid by the client for reimbursement of costs from the client’s

 recovery. Participating Counsel, Participating Firm and his/their clients believe the assessment

 and holdback is fair and reasonable under the circumstances and the law.


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        The 8% assessment set forth in the Order and this Participation Agreement is preliminary

in nature and made at the inception of MDL 2740 before any discovery is done, and is subject to

revision, upward or downward, pursuant to subsequent Orders of this Court. Further, the 8%

assessment shall not be a final determination of common benefit fees or expenses to ultimately be

paid/reimbursed to plaintiffs’ counsel performing functions in accordance with this Order; rather,

common benefit assessments, if later supported by evidence, the outcome of the litigation, the

extent of the work performed to achieve whatever the result, the caliber of counsel doing common

benefit work, and the applicable jurisprudence, may later be awarded in the same or in a different

amount and set by the Court at a time and in a manner established by the Court in a separate Order

after due notice to all counsel and a hearing.

        In the event any defendant fails to hold back the assessments required by this Participation

Agreement, Participating Counsel and Participating Firm must pay the appropriate holdback amounts to the

Taxotere Common Benefit Fee Fund and the Taxotere Common Benefit Expense Fund. Under all scenarios

the fee assessment shall be paid from the Participating Attorney’s portion of the recovery and shall not be

borne by Participating Attorney’s client.

         C.      Covered Cases

        By signing this Agreement, the Participating Counsel and Participating Firm agree that the

assessment percentages set forth above or those ultimately set by the Court shall apply to all of Participating

Counsel and Participating Firm’s cases wherever filed or pending or claims not yet filed. in which he/they

have a fee interest, regardless of the size of that fee interest, and that the assessment percentages for MDL

Counsel set forth in the Court’s Order will apply to all Participating Counsel’s and Participating Firm’s

cases in any federal or state court or unfiled claims.

         D.      Attorneys’ Fee Lien

        With respect to each client represented in connection with Taxotere related claims that are filed or

pending in any federal or state court, are un-filed, or are subject to a tolling agreement, Participating Counsel

                                                         4
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and Participating Firm agree to have defendants deposit or cause to be deposited in the Taxotere Common

Benefit Fee Fund and Taxotere Common Benefit Expense Fund established by the District Court in MDL

2740, a percentage of the Gross Monetary Recovery recovered by each such client that is equal to the

assessment amount ultimately approved by the Court. In the event defendants do not deposit the assessed

percentage into the Funds, Participating Counsel and Participating Firm shall deposit or cause to be

deposited in the Taxotere Common Benefit Fee Fund and Taxotere Common Benefit Expense Fund a

percentage of the Gross Monetary Recovery recovered by each such client that is equal to the assessment

amount ultimately approved by the Court. Participating Counsel, on behalf of themselves, their firms, their

affiliated counsel, and their clients, hereby grant and convey to Plaintiffs’ Steering Committee and Co-

Liaison Counsel a lien upon and/or a security interest in any fee generated as a result of any recovery by

any client who they represent in connection with any Taxotere-related claims and any claims they have

any interest in, to the full extent permitted by law, in order to secure payment in accordance with the

provisions of this Agreement and the Court’s Order. Participating Counsel and Participating Firm will

undertake all actions and execute all documents are reasonably necessary to effectuate and/or perfect this

lien and/or security interest.

III.     OTHER PROVISIONS

         It is the intention of the MDL 2740 that Participating Counsel’s and the Participating Law

Firm’s payment of these funds as described above be in full and final satisfaction of any present

or future obligation on the part of each.

         In accordance with the Orders of the Court in the MDL 2740 Proceeding, the amounts

deposited in the Taxotere Common Benefit Fee Fund and Taxotere Common Benefit Expense Fund will

be available for distribution to Participating Counsel who have performed common benefit work

or incurred common benefit expenses pursuant to the Order. Such sums will be distributed only

upon an Order of the Court in the MDL 2740, after full consideration by the Court, with notice

and a hearing. Appropriate consideration will be given to the experience, talent, and contribution

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made by all of those authorized to perform common benefit work and incur common benefit

expenses.

       Upon execution of this Participation Agreement, MDL 2740 Co-Liaison Counsel will

provide to Participating Counsel and Participating Law Firm, to the extent developed, access to

the common benefit work product. If the Court in MDL 2740 rules that a Participating Counsel or

Participating Law Firm is not authorized to be a Participating Counsel or Participating Firm, then

this Agreement shall be null and void and no access to common benefit work product will be

permitted.

       A Participating Counsel or Participating Law Firm will have access to the following

resources, for use on behalf of their plaintiff cases:

               a.      Research and testing information and other expert discovery materials

                       relevant to the various issues alleged in MDL 2740;

               b.      Legal research and memoranda on legal issues relevant to the various issues

                       alleged in MDL 2740;

               c.      Deposition database of all discovery depositions related to the MDL 2740

                       litigation;

               d.      Transcript database of trial and court proceedings to the extent permissible;

               e.      Any MDL 2740 trial package as it is developed or assistance with trial-

                       related matters;

               f.      Any other non-confidential or privileged work product of the Plaintiffs

                       Steering Committee; and

               g.      the Document Depository set up and maintained by the Plaintiffs Steering

                       Committee.


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        This Agreement shall apply to each and every client who is a plaintiff in a Taxotere action

in which Participating Counsel or Participating Law Firm has a right or claim to a fee.

        Participating Counsel and Participating Law Firm understand and agree that by entering

into the Participation Agreement, Participating Counsel and Participating Law Firm and its clients

are bound by, and may not withdraw from, the Participation Agreement, provided they satisfy the

requirements for Participating Counsel under the Order.

        The MDL 2740 Court shall have exclusive and continuing jurisdiction to adjudicate any

unresolved dispute arising under this Agreement.



        I _______________________ [name of attorney] hereby represent that I have the authority to

execute this Agreement on behalf of my law firm, ___________________________ [insert name of law

firm], and on behalf of all of my Taxotere clients. I hereby represent that I have the authority to bind my

law firm and all of my Taxotere clients to the terms of this Participation Agreement.


By: __________________________________
Attorney at Participating Law Firm authorized to sign for
Participating Law Firm and clients listed on Exhibit 1
[Attorney Name and Law Firm Name and Address]


Dated: _______________________________




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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                      MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION                                                SECTION “N” (5)




             EXHIBIT C TO PRETRIAL ORDER NO. 16
      COMMON BENEFIT TIME AND EXPENSE RULES, HOLDBACK,
              ASSESSMENTS, AND RELATED ISSUES

                                Litigation Task Categories

The following Litigation Task Codes/Categories are to be used to identify all tasks performed:

Task Code             Litigation Category

    01.               Administration (data and file management)
    02.               ESI
    03.               Document Review
    04.               Legal Research
    05.               Pleadings, Briefs & Pretrial Motions
    06.               Written Discovery
    07.               Deposition Prep/Take/Defend
    08.               Experts/Consultants
    09.               Case Vetting/Bellwether
    10.               Trial Preparation and Trial
    11.               Court Appearances/Arguments before the Court
    12.               Status Conference Attendance
    13.               Litigation Strategy & Analysis
    14.               Settlement
    15.               Travel
    16.               Committee Meetings or Calls
    17.               PEC / Liaison Counsel Duties
    18.               Pre-MDL Common Benefit Work
    19.               Appeal




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                       MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION                                                 SECTION “N” (5)

  THIS DOCUMENT RELATES TO:
  ALL CASES


                                  PRETRIAL ORDER NO. 17
                    [Intent to Appoint Kenneth W. DeJean as Special Master]


       On Monday, February 13, 2017, the Court issued a Show Cause Order (Pretrial Order No.

16) related to the Court’s intent to enter the PSC’s proposed Common Benefit Order. In that

proposed common benefit order, guidelines are established for the monthly recordation and

submission of common benefit time and expenses for eventual consideration of common benefit

attorney fees and cost reimbursement. Section VII of the proposed common benefit order also

contemplates appointment of a Special Master for management, oversight, and substantive review

of matters related to and claimed to be common benefit, and any other matters or recommendation

as directed by the Court.

       In accordance with Federal Rule of Civil Procedure 53(b)(1), the Court hereby gives notice

of its intent to appoint Kenneth W. DeJean to serve as Special Master as contemplated in the

proposed Common Benefit Order. Mr. DeJean’s curriculum vitae is attached to this Order as

Exhibit A. An affidavit by Mr. DeJean disclosing any ground for disqualification under 28 U.S.C.

§ 455 is attached to this Order as Exhibit B. See Fed. R. Civ. P. 53(b)(3)(A). The proposed order

appointing Mr. DeJean as Special Master is attached as Exhibit C.


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        Any response in opposition to this appointment shall be filed by Tuesday, February 21,

2017.

        New Orleans, Louisiana, this 13th
                                      3th day of February, 20
                                                           2017.
                                                            017.



                                            ______________________________________
                                            _____________________
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                                            KURT D. ENGELHARDT
                                                    ENGELHAR   ARDT
                                                               AR    T
                                            UNITED STATES DISTRICT
                                                               DIST  R CT JUDGE
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                                                          EXHIBIT A
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                                                        EXHIBIT B
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                                                                                      EXHIBIT C

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                        MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION                                                  SECTION “N” (5)

  THIS DOCUMENT RELATES TO:
  ALL CASES


                                  [PROPOSED] ORDER
                    [Appointment of Kenneth W. DeJean as Special Master]

       On __________, 2017, this Court entered an Order advising all counsel of record of the

Undersigned’s intent to appoint Kenneth W. DeJean as Special Master for the purposes set forth

in Section VII of the Common Benefit Order (Pretrial Order No. __, R. Doc. ___). All parties

having had notice that the Court was considering the appointment of a special master in this matter,

and having had an opportunity to be heard and make suggestions and objections concerning the

naming of the special master,

       IT IS ORDERED that Kenneth W. DeJean is hereby appointed as Special Master herein,

pursuant to Rule 53 of the Federal Rules of Civil Procedure;

       IT IS FURTHER ORDERED that the Special Master shall be responsible for all purposes

set forth in Section VII of the Common Benefit Order (Pretrial Order No. __, R. Doc. ___) and

any other duties later assigned by the Court;

       IT IS FURTHER ORDERED that the Special Master shall be responsible for, and shall

have the authority to engage appropriate support personnel to assist in carrying out his duties as

Special Master;
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       IT IS FURTHER ORDERED that the Special Master may communicate ex parte with

the Court or with the plaintiff attorneys, without providing notice to the attorneys or the parties;

       IT IS FURTHER ORDERED that all recommendations to the Court rendered by the

Special Master shall be in writing and shall be submitted to the Court;

       IT IS FURTHER ORDERED that the Special Master’s decisions will be done and

reviewed in the manner described in in Section VII of the Common Benefit Order (Pretrial Order

No. __, R. Doc. ___).

       IT IS FURTHER ORDERED that the Special Master shall maintain those records upon

which he bases his recommendations at his office, which is located at 417 W. University Avenue,

Lafayette, LA 70506, or on the platform established by the PSC for entry of common benefit time

and expenses, and shall make those records available for inspection as provided in the Common

Benefit Order;

       IT IS FURTHER ORDERED that the Special Master shall be invested with all powers

incidental to the accomplishment of his duties as outlined above;

       IT IS FURTHER ORDERED that the Special Master shall proceed with all reasonable

diligence in accomplishing the above; and

        IT IS FINALLY ORDERED that the Special Master and his staff shall be compensated

 by the Plaintiffs’ Steering Committee (PSC) at the following rates: Special Master Kenneth W.

 DeJean: $400.00 per hour; paralegals: $50.00 per hour, all of which charges shall be billed on a

 monthly basis, except that the in-state travel charges of the Special Master shall not be billed.

       New Orleans, Louisiana, this ___ day of ______________, 2017.

                                              ______________________________________
                                              KURT D. ENGELHARDT
                                              UNITED STATES DISTRICT JUDGE
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                       MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION                                                 SECTION “N” (5)

  THIS DOCUMENT RELATES TO:
  ALL CASES

                                   PRETRIAL ORDER NO. 18
                          [Plaintiff Fact Sheet and Defendant Fact Sheet]

       Pursuant to this Court’s Orders of December 21, 2016 (R. Doc. 140) and January 11, 2017

(R. Doc. 170), on January 20, 2017, the parties submitted counterproposals on the form of the

Plaintiff and Defendant Fact Sheets. After reviewing the respective submissions of the parties,

       IT IS ORDERED that the document attached to this Order as Exhibit A will be the

operable Plaintiff Fact Sheet in this matter;

       IT IS FURTHER ORDERED that the document attached to this Order as Exhibit B will

be the operable Defendant Fact Sheet in this matter; and

       IT IS FINALLY ORDERED that the parties will be required to complete and submit for

the Court’s consideration the authorizations to be attached to Exhibit A, and the deadlines and

guideline/rules for implementation of these forms in a Proposed Order through Liaison Counsel

no later than Friday, March 3, 2017.

       New Orleans, Louisiana, this 14th
                                      th day of February, 2017
                                                          2017.
                                                             7.



                                                ______________________________________
                                                _ __________
                                                __        ________
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                                                             __ ____
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                                                KURT D. ENGELHAR
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                                                UNITED STATES DISTRICT
                                                                DISTRI R CT JUDGE
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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                  MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                             SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                                  PLAINTIFF FACT SHEET

        This Fact Sheet must be completed by each plaintiff who has filed a lawsuit related to the
use of Taxotere® by the plaintiff or a plaintiff’s decedent. Please answer every question to the best
of your knowledge. In completing this Fact Sheet, you are under oath and must provide information
that is true and correct to the best of your knowledge. If you cannot recall all of the details
requested, please provide as much information as you can. You must supplement your responses
if you learn that they are incomplete or incorrect in any material respect..

        In filling out this form, please use the following definitions: (1) “healthcare provider”
means any hospital, clinic, medical center, physician’s office, infirmary, medical or diagnostic
laboratory, or other facility that provides medical, dietary, psychiatric, or psychological care or
advice, and any pharmacy, weight loss center, x-ray department, laboratory, physical therapist or
physical therapy department, rehabilitation specialist, physician, psychiatrist, osteopath,
homeopath, chiropractor, psychologist, nutritionist, dietician, or other persons or entities involved
in the evaluation, diagnosis, care, and/or treatment of the plaintiff or plaintiff’s decedent; (2)
“document” means any writing or record of every type that is in your possession, including but
not limited to written documents, documents in electronic format, cassettes, videotapes,
photographs, charts, computer discs or tapes, and x-rays, drawings, graphs, phone-records, non-
identical copies, and other data compilations from which information can be obtained and
translated, if necessary, by the respondent through electronic devices into reasonably usable form.

        Information provided by plaintiff will only be used for purposes related to this
litigation and may be disclosed only as permitted by the protective order in this litigation.
This Fact Sheet is completed pursuant to the Federal Rules of Civil Procedure governing
discovery (or, for state court case, the governing rules of civil of the state in which the case
is pending).

I. CASE INFORMATION

Attorney Information

               Please provide the following information for the civil action that you filed:


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               1. Caption:                                                             ______

               2. Court and Docket No.:

               3. MDL Docket No. (if different):                                       ______

               4. Date Lawsuit Filed:

               5. Plaintiff’s Attorney:

               6. Attorney’s Address:

               7. Attorney’s Phone Number:

               8. Attorney’s Email Address:

Plaintiff Information

               Please provide the following information for the individual on whose behalf this
               action was filed:

               9. Name:_________________________________________________________

               10. Street Address:                                                     ______

               11. City:__________________________________________________________

               12. State:

               13. Zip code:                         ______

               14. Date of Birth:

               15. Place of Birth:            ____________

               16. Social Security Number:

               17. Maiden or other names you have used or by which you have been known:

                  _______________________________________________________________

               18. Sex: Male: ‫ ܆‬Female: ‫܆‬

               19. Race:

                                         Race                     ‫܆‬
                        American Indian or Alaska Native          ‫܆‬
                        Asian                                     ‫܆‬


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                                      Race                          ‫܆‬
                    Black or African American                       ‫܆‬
                    Native Hawaiian or Other Pacific Islander       ‫܆‬
                    White                                           ‫܆‬


              20. Ethnicity:

                                    Ethnicity                       ‫܆‬
                    Hispanic or Latino                              ‫܆‬
                    Not Hispanic or Latino                          ‫܆‬


              21. Primary Language:         __________________________________________

Representative Information

              If you are completing this questionnaire in a representative capacity (e.g., on
              behalf of the estate of a deceased person), please state the following:

              22. Name:_________________________________________________________

              23. Address:                                                                   ______

              24. Capacity in which you are representing the individual:___________________

              25. If you were appointed as a representative by a court, identify the State, Court
                  and Case Number:

                     a) State:______________________

                     b) Court:_____________________

                     c) Case Number:_______________

              26. Relationship to the Represented Person:_______________________________

              27. State the date of death of the decedent:_______________________________

              28. State the place of death of the decedent:_______________________________

              29. Are you filling this questionnaire out on behalf of an individual who is
                  deceased and on whom an autopsy was performed? Yes ‫ ܆‬No‫܆‬




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If you are completing this questionnaire in a representative capacity, please respond to these
questions with respect to the person whose medical treatment involved Taxotere® or Docetaxel.

II. PERSONAL INFORMATION

Relationship Information

              1. Are you currently: Married: ‫ ܆‬Single: ‫ ܆‬Engaged: ‫ ܆‬Significant other: ‫܆‬
                 Divorced: ‫ ܆‬Widowed: ‫ ܆‬Same sex partner: ‫܆‬

              2. Have you ever been married? Yes ‫ ܆‬No‫܆‬

              3. If yes, for EACH marriage, state the following:

                                                            Date
                                                  Date of                   Nature of
                       Spouse’s Name                      Marriage
                                                 Marriage                  Termination
                                                           Ended
                                                                                 
                                                                                 
                                                                                 
Education

              4. For each level of education you completed, please check below:

              High School: ‫܆‬                    Vocational School: ‫܆‬

              College: AA: ‫ ܆‬BA/BS: ‫ ܆‬Masters: ‫ ܆‬PhD: ‫ ܆‬M.D.: ‫ ܆‬Other:

Employment
              5. Are you currently employed? Yes ‫ ܆‬No‫܆‬

              6. If yes, state the following:

                     a) Current employer name:_____________________________________

                     b) Address:_________________________________________________

                     c) Telephone number:_________________________________________

                     d) Your position there:________________________________________

              7. Are you making a claim for lost wages or lost earning capacity? Yes ‫ ܆‬No‫܆‬

              8. Only if you are asserting a wage loss claim, please state the following for EACH
                 employer for the last seven (7) years:



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                                                                            Annual
                        Name of           Address of          Dates of                   Your
                                                                             Gross
                        Employer          Employer           Employment                 Position
                                                                            Income
                                                                                           
                                                                                           
                                                                                           

              9. Have you ever been out of work for more than thirty (30) days for reasons
                 related to your health in the last seven (7) years? Yes ‫ ܆‬No‫܆‬

              10. If yes, please state the following:

                      Name of Employer               Dates         Health Reason




       YOU MUST ATTACH TAX RETURNS, EMPLOYMENT AUTHORIZATIONS, AND
       IDENTIFY THE LOSS OF CONSORTIUM PLAINTIFF’S EMPLOYERS IF
       CLAIMING LOST WAGES OR LOST EARNING CAPACITY DAMAGES.

Worker’s Compensation and Disability Claims

              11. Within the last ten (10) years, have you ever filed for workers’ compensation,
                  social security, and/or state or federal disability benefits? Yes ‫ ܆‬No‫܆‬

              12. If yes, then as to EACH application, please state the following:

                    Year Claim                       Nature of Claimed     Period of    Award
                                       Court
                      Filed                               Injury           Disability   Amount
                                                                                         
                                                                                         
                                                                                         

Military Service

              13. Have you ever served in any branch of the military? Yes ‫ ܆‬No‫܆‬

              14. If yes, state the branch and dates of service:

                            Branch                Dates of Service




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               15. If yes, were you discharged for any reason relating to your health (whether
                   physical, psychiatric, or other health condition)? Yes ‫ ܆‬No‫܆‬

               16. If yes, state the condition:__________________________________________

Other Lawsuits


               17. Within the last ten (10) years, have you filed a lawsuit, relating to any bodily
                   injury, or made a claim, OTHER THAN the present suit? Yes ‫ ܆‬No ‫܆‬


Computer Use

               18. Apart from communications to or from your attorney, have you
                   communicated via email, visited any chat rooms, or publicly posted a
                   comment, message or blog entry on a public internet site regarding your
                   experience with or injuries you attribute to Taxotere®, other chemotherapies,
                   or alopecia/hair loss during the past ten (10) years? You should include all
                   postings on public social network sites including Twitter, Facebook,
                   MySpace, LinkedIn, or “blogs” that address the topics above. Yes ‫ ܆‬No‫܆‬

               19. If yes, please state the following:

                                            Screen Name or           Date of
                       Forum Name                                                     Substance of Post
                                             User Handle              Post
                                                                                  
                                                                                               
                                                                                               

               20. Are you now or have you ever been a member of an alopecia support group?
                   Yes ‫ ܆‬No‫܆‬

                       a) If yes, identify the group by name:_____________________________

                       b) When did you join the group?_________________________________

III.PRODUCT IDENTIFICATION

      I HAVE RECORDS DEMONSTRATING USE OF TAXOTERE® OR OTHER
                       DOXETAXEL: Yes ‫ ܆‬No‫܆‬

      YOU MUST UPLOAD THEM BEFORE YOU SUBMIT THIS FACT SHEET

Taxotere®
               1. Were you treated with brand name Taxotere®? Yes ‫ ܆‬No ‫ ܆‬Unknown ‫܆‬


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Other Docetaxel
             2. Were you treated with another Docetaxel or generic Taxotere®? Yes ‫ ܆‬No‫܆‬

                   3. If yes, select all that apply:

                                  Name of Drug
                         Docetaxel – Winthrop                   ‫܆‬
                         Docetaxel – Teva Pharms USA            ‫܆‬
                         Docetaxel – Dr. Reddy’s Labs Ltd.      ‫܆‬
                         Docetaxel – Eagle Pharms               ‫܆‬
                         Docetaxel – Actavis Inc.               ‫܆‬
                         Docetaxel – Pfizer Labs                ‫܆‬
                         Docetaxel – Sandoz                     ‫܆‬
                         Docetaxel – Accord Healthcare          ‫܆‬
                         Docetaxel – Apotex Inc.                ‫܆‬
                         Docetaxel – Hospira Inc.               ‫܆‬
                         Docefrez – Sun Pharma Global           ‫܆‬
                         Unknown                                ‫܆‬

                   4. IF YOU SELECTED “UNKNOWN” YOU MUST CERTIFY AS
                      FOLLOWS:

                       I certify that I have made reasonable, good faith efforts to identify the
                       manufacturer of the Docetaxel used in my treatment, including
                       requesting records from my infusion pharmacy, and the manufacturer
                       either remains unknown at this time or I am awaiting the records: ‫܆‬

IV. MEDICAL INFORMATION

Vital Statistics

                   1. How old are you:_________________________________________________

                   2. Age at the time of your alleged injury:________________________________

                   3. Current weight:__________________________________________________

                   4. Current height:

                       Feet:_______________        Inches:_______________

                   5. Weight at time of alleged injury:____________________________________

Gynecologic and Obstetric History

                   6. Have you ever been pregnant? Yes ‫ ܆‬No ‫܆‬

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               a) Number of pregnancies:________

               b) Number of live births:_________

        7. If you have children, please state the following for EACH child:

                    Child’s Name              Address        Date of Birth




        8. Date of first period (menses):_________          Age:_________

        9. Date of last period (menses): _________          Age:_________

        10. Are you menopausal, perimenopausal or postmenopausal? Yes ‫ ܆‬No‫܆‬

        11. For EACH year for the last seven (7) years before your first treatment with
            Taxotere® or Docetaxel and since then, who did you see for your annual
            gynecological exam? Also indicate whether an annual exam was skipped or
            missed.

                                                                               Skipped or
                      Doctor                Office            Year
                                                                                 Missed
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬

        12. For EACH year after age 40, or before then if applicable, who did you see for
            your annual mammogram? Also indicate whether an annual mammogram was
            skipped or missed.

                                                                              Skipped or
                      Doctor                Office            Year
                                                                                Missed
                                                                                  ‫܆‬
                                                                                  ‫܆‬
                                                                                  ‫܆‬
                                                                                  ‫܆‬
                                                                                  ‫܆‬
                                                                                  ‫܆‬
                                                                                  ‫܆‬

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Other Risk Factors

               13. Have any family members been diagnosed with breast cancer?

                          Family Member          Diagnosed       Age at Diagnosis
                     Mother                         ‫܆‬
                     Sister                         ‫܆‬
                     Daughter                       ‫܆‬
                     Paternal grandmother           ‫܆‬
                     Maternal grandmother           ‫܆‬

               14. Have you ever been diagnosed as having genes or gene mutations that carry an
                   increased cancer risk (e.g., BRCA1, BRCA2)? Yes ‫ ܆‬No‫܆‬

                       a) If yes, which?                                          ____________

               15. Did you receive radiation treatments or exposure to radiation before the age of
                   30? Yes ‫ ܆‬No‫܆‬

                       a) If yes, describe the particulars of your treatment or exposure:
                          _________________________________________________________

Tobacco Use History

For the ten (10) year period before your use of Taxotere® or Docetaxel up to the present, check
the answer and fill in the blanks applicable to your history of tobacco use, including cigarettes,
cigars, pipes, and/or chewing tobacco/snuff.

               16. I currently use tobacco: Yes ‫ ܆‬No‫܆‬

               17. I have never used tobacco: Yes ‫ ܆‬No‫܆‬

               18. I used tobacco in the ten (10) years before Taxotere® or Docetaxel treatment:
                   Yes ‫ ܆‬No‫܆‬

               19. Identify types of tobacco use:

                                                                               Duration of
                              Type              Used     Average Per Day
                                                                               Use (Years)
                      Cigarettes                     ‫܆‬                             
                      Cigars                         ‫܆‬                             
                      Pipes                          ‫܆‬                             
                      Chewing tobacco/snuff          ‫܆‬                             




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Prescription Medications

              20. Apart from chemotherapy, are there prescription or over-the-counter
                  medications that you took on a regular basis or more than three (3) times in
                  the seven (7) year period before you first took Taxotere®? Yes ‫ ܆‬No ‫܆‬

                 For purposes of this question, “regular basis” means that you were directed by
                 a healthcare provider to take a medication for at least forty-five (45)
                 consecutive days.

              21. If yes, please provide the following for EACH prescription medication:

                           Medication                 Prescriber               Dates Taken




V. CANCER DIAGNOSIS AND TREATMENT

Cancer Diagnosis & Treatment Generally

              1. Have you ever been diagnosed with cancer? Yes ‫ ܆‬No‫܆‬

              2. Were you diagnosed with cancer more than once? Yes ‫ ܆‬No‫܆‬

              3. Did you undergo any of the following for cancer? 

                        Treatment           Treated
                    Surgery                   ‫܆‬
                    Radiation                 ‫܆‬
                    Chemotherapy              ‫܆‬

              4. For surgery, specify:

                         Type of Surgery           Treated
                    Double mastectomy                ‫܆‬
                    Left-side mastectomy             ‫܆‬
                    Right-side mastectomy            ‫܆‬
                    Lumpectomy                       ‫܆‬
                    Other:_________________          ‫܆‬

              5. Please state the following for EACH cancer diagnosis:




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Type of Cancer
Date of Diagnosis
                     Name:
                     Address:
Primary Oncologist
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Primary Oncologist
                     Dates of Treatment:
                     Treatment:
                     Name:
Primary Oncologist   Address:
                     Dates of Treatment:
                     Name:
                     Address:
Treatment Facility
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Treatment Facility
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Treatment Facility
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Treatment Facility
                     Dates of Treatment:
                     Treatment:


Type of Cancer
Date of Diagnosis
                     Name:
                     Address:
Primary Oncologist
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Primary Oncologist
                     Dates of Treatment:
                     Treatment:




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 Type of Cancer
 Date of Diagnosis
                         Name:
                         Address:
 Primary Oncologist
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:

Particulars of Chemotherapy

              6. When were you first diagnosed with the condition for which you were
                 prescribed Taxotere® or Docetaxel?__________________________________

              7. What was the diagnosis for which you were prescribed Taxotere® or
                 Docetaxel?

                              Diagnosis             Diagnosed
                     Breast cancer                     ‫܆‬
                     Non-small cell lung cancer        ‫܆‬
                     Prostate cancer                   ‫܆‬
                     Gastric adenocarcinoma            ‫܆‬
                     Head and neck cancer              ‫܆‬
                     Other:_________________           ‫܆‬

              8. For breast cancer, specify:

                      a) Tumor size: 

                                         Tumor Size                   Yes
                            TX                                        ‫܆‬

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                     T0                                           ‫܆‬
                     Tis                                          ‫܆‬
                     T1                                           ‫܆‬
                     T2                                           ‫܆‬
                     T3                                           ‫܆‬
                     T4 (T4a, T4b, T4c, T4d)                      ‫܆‬

               b) Metastasis:

               c) Node involvement:

                                     Node                            Yes
              Node + NX                                              ‫܆‬
              Node + N0                                              ‫܆‬
              Node + N1                                              ‫܆‬
              Node + N2                                              ‫܆‬
              Node + N3                                              ‫܆‬
              Node – (negative)                                      ‫܆‬

               d) HER2: + (positive): ‫ ܆‬- (negative): ‫܆‬

               e) Estrogen receptor: Positive (ER+): ‫ ܆‬Negative (ER-): ‫܆‬

               f) Progesterone receptor: Positive (PR+): ‫ ܆‬Negative (PR-): ‫܆‬

        9. Was Taxotere® or Docetaxel the only chemotherapy treatment that you ever
           received? Yes ‫ ܆‬No‫ ܆‬Unknown ‫܆‬

        10. Have you ever been treated with other chemotherapy drugs, either alone or in
            combination with or sequentially with Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬
            Unknown ‫܆‬

        11. If yes, check which of the following chemotherapy drugs you took:
            
                                 Drug                       Yes
               5-Fluorouracil (Eludex)                       ‫܆‬
               Actinomycin                                   ‫܆‬
               Altretamine (Hexalen)                         ‫܆‬
               Amsacrine                                     ‫܆‬
               Bleomycin                                     ‫܆‬
               Busulfan (Busulfex, Myleran)                  ‫܆‬
               Cabazitaxel: Mitoxantrone                     ‫܆‬
               Carboplatin (Paraplatin)                      ‫܆‬

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                               Drug                   Yes
            Carmustine (BiCNU, Gliadel)               ‫܆‬
            Cetuximab (Erbitux)                       ‫܆‬
            Chlorambucil (Leukeran)                   ‫܆‬
            Cisplatin (Platinol)                      ‫܆‬
            Cyclophosphamide (Neosar)                 ‫܆‬
            Cytarabine (Depocyt)                      ‫܆‬
            Dacarbazine                               ‫܆‬
            Daunorubicin (Cerubidine, DaunoXome)      ‫܆‬
            Doxorubicin (Adriamycin, Doxil)           ‫܆‬
            Epirubicin (Ellence)                      ‫܆‬
            Erlotinib (Tarceva)                       ‫܆‬
            Etoposide (Etopophos, Toposar)            ‫܆‬
            Everolimus (Afinitor, Zortress)           ‫܆‬
            Faslodex (Fulvestrant)                    ‫܆‬
            Gemcitabine (Gemzar)                      ‫܆‬
            Hexamethylmelamine (Hexalen)              ‫܆‬
            Hydroxyurea (Hydrea, Droxia)              ‫܆‬
            Idarubicin (Idamycin)                     ‫܆‬
            Ifosfamide (Ifex)                         ‫܆‬
            L-asparginase (crisantaspase)             ‫܆‬
            Lomustine (Ceenu)                         ‫܆‬
            Melphalan (Alkeran)                       ‫܆‬
            Mercaptopurine (Purinethol, Purixan)      ‫܆‬
            Methotrexate (Trexall, Rasuvo)            ‫܆‬
            Mitomycin                                 ‫܆‬
            Mitoxantrone                              ‫܆‬
            Nab-paclitaxel (Abraxane): Mitoxantrone   ‫܆‬
            Nitrogen mustard                          ‫܆‬
            Paclitaxel (Taxol)                        ‫܆‬
            Panitumumab (Vectibix)                    ‫܆‬
            Procarbazine (Matulane)                   ‫܆‬
            Sorafenib (Nexavar)                       ‫܆‬
            Teniposide (Vumon)                        ‫܆‬
            Thioguanine (Tabloid)                     ‫܆‬
            Thiotepa (Tepadina)                       ‫܆‬
            Topotecan (Hycamtin)                      ‫܆‬
            Vemurafenib (Zelboraf)                    ‫܆‬
            Vinblastine                               ‫܆‬
            Vincristine (Mariqibo, Vincasar)          ‫܆‬

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                                  Drug                        Yes
              Vindesine                                       ‫܆‬
              Vinorelbine (Alocrest, Navelbine)               ‫܆‬
              Unknown                                         ‫܆‬

        12. Please provide the following information regarding Taxotere® or Docetaxel:

               a) Number of cycles:

               b) Frequency: Every week ‫ ܆‬Every three weeks ‫ ܆‬Other:____________

               c) First treatment date:________

               d) Last treatment date:________

               e) Dosage:______________

                       (1) Combined with another chemotherapy drug: ‫܆‬

                       (2) Sequential with another chemotherapy drug: ‫܆‬

                       (3) If so, describe the combination or sequence:

        13. Prescribing Physician(s):

                    Prescribing Physician                      Address
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:

        14. Treatment Facility:

                      Treatment Facility                       Address
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:
                                                    Street:

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                                                               City:
                                                               State:
                                                               Zip:
                                                               Street:
                                                               City:
                                                               State:
                                                               Zip:

                 15. Identify EACH state where you resided when you began and while taking
                     Taxotere® or Docetaxel:

                                   State                  From Date             To Date




                 16. Was your Taxotere® or Docetaxel treatment part of a clinical trial? Yes ‫ ܆‬No
                     ‫ ܆‬Unknown ‫܆‬

                 17. If yes, please provide the name and location of the trial site:

                        a) Name of trial site:__________________________________________

                        b) Location of trial site:________________________________________

VI. CLAIM INFORMATION

Current Status

                 1. Are you currently taking Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

                 2. Are you currently cancer-free? Yes ‫ ܆‬No‫܆‬

                 3. If no, check those that apply to your CURRENT status:
                    
                                      Current Status                   Yes
                       In remission                                     ‫܆‬
                       Currently receiving chemotherapy                 ‫܆‬
                       Currently receiving radiation therapy            ‫܆‬
                       Currently hospitalized for cancer or cancer-
                                                                        ‫܆‬
                       related complications
                       Currently in home health or hospice care for
                                                                        ‫܆‬
                       cancer or cancer-related complications
                       Cancer returned after taking Taxotere® or
                                                                        ‫܆‬
                       Docetaxel


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                 4. When was the last (most recent) date you consulted with an oncologist:_____

Alleged Injury

                 5. State the injury you allege in this lawsuit and the dates between which you
                    experienced the alleged injury. Check all that apply:

                                            Alleged Injury                      Yes   No From To
                       Persistent total alopecia – No hair growth on your head                
                       or body after six (6) months of discontinuing Taxotere® ‫܆‬      ‫܆‬
                       or Docetaxel treatment
                       Persistent alopecia of your head – No hair growth on                          
                       your head after six (6) months of discontinuing
                                                                                ‫܆‬      ‫܆‬
                       Taxotere® or Docetaxel treatment. Hair is present
                       elsewhere on your body
                       Permanent/Persistent Hair Loss on Scalp                  ‫܆‬      ‫܆‬            
                       Diffuse thinning of hair: partial scalp                                       
                               ‫܆‬Top
                               ‫܆‬Sides
                                                                                ‫܆‬     ‫܆‬
                               ‫܆‬Back
                               ‫܆‬Temples
                               ‫܆‬Other:_____________________________
                       Diffuse thinning of hair: total scalp                                         
                               ‫܆‬Top
                               ‫܆‬Sides
                                                                                ‫܆‬     ‫܆‬
                               ‫܆‬Back
                               ‫܆‬Temples
                               ‫܆‬Other:_____________________________
                       Significant thinning of the hair on your head after six                       
                       (6) months of discontinuing Taxotere® or Docetaxel
                                                                                ‫܆‬     ‫܆‬
                       treatment – There are visible bald spots on your head
                       no matter how you style your hair
                       Moderate thinning of the hair on your head after six (6)                      
                       months of discontinuing Taxotere® or Docetaxel
                                                                                ‫܆‬     ‫܆‬
                       treatment – There is noticeable hair loss but if you
                       brush or style your hair, the hair loss is less evident
                       Small bald area in the hair on your head                 ‫܆‬     ‫܆‬            
                       Large bald area in the hair on your head                 ‫܆‬     ‫܆‬            
                       Multiple bald spots in the hair on your head             ‫܆‬     ‫܆‬            
                       Change in the texture, thickness or color of your hair                        
                                                                                ‫܆‬     ‫܆‬
                       after Taxotere® or Docetaxel treatment
                       Other:______________________________________             ‫܆‬     ‫܆‬            
                       Permanent/Persistent Loss of Eyebrows                    ‫܆‬     ‫܆‬            
                       Permanent/Persistent Loss of Eyelashes                   ‫܆‬     ‫܆‬            

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                                      Alleged Injury                Yes              No From To
                   Permanent/Persistent Loss of Body Hair           ‫܆‬               ‫܆‬      
                   Permanent/Persistent Loss of Genital Hair        ‫܆‬               ‫܆‬      
                   Permanent/Persistent Loss of Nasal Hair          ‫܆‬               ‫܆‬      
                   Permanent/Persistent Loss of Ear Hair            ‫܆‬               ‫܆‬      
                   Permanent/Persistent Loss of Hair in Other Areas                          
                                                                    ‫܆‬               ‫܆‬
                   Describe:_____________________________________

             6. Have you ever received treatment for the injury you allege in this lawsuit? Yes
                ‫ ܆‬No‫܆‬

                        Name of Treating Physician       Dates of Treatment         Treatments
                                                                                         
                                                                                         
                                                                                         

             7. Were you diagnosed by a healthcare provider for the injury you allege in this
                lawsuit? Yes ‫ ܆‬No‫܆‬

                        Name of Treating Physician       Dates of Treatment         Treatments
                                                                                         
                                                                                         
                                                                                         

             8. Have you discussed with any healthcare provider whether Taxotere® or Docetaxel
                caused or contributed to your alleged injury? Yes ‫ ܆‬No‫܆‬

                   Name of Treating Physician            Dates of Treatment         Treatments
                                                                                         
                                                                                         
                                                                                         

Statement Information

             9. Were you ever given any written instructions, including any prescriptions,
                packaging, package inserts, literature, medication guides, or dosing
                instructions, regarding chemotherapy, Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

             10. If yes, please describe the documents, if you no longer have them. If you have
                 the documents, please produce them:
                     
                                                                   I Have the     I Do Not Have
                            Description of Document
                                                                   Documents     the Documents
                                                                       ‫܆‬                 ‫܆‬

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                                                            I Have the       I Do Not Have
                       Description of Document
                                                            Documents        the Documents
                                                                ‫܆‬                  ‫܆‬
                                                                ‫܆‬                  ‫܆‬

        11. Were you given any oral instructions from a healthcare provider regarding
            chemotherapy or your use of Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

        12. If yes, please identify each healthcare provider who provided the oral
            instructions:

                    Name of Healthcare Provider




        13. Have you ever seen any advertisements (e.g., in magazines or television
            commercials) for Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

        14. If yes, identify the advertisement or commercial, and approximately when you
            saw the advertisement or commercial:

                                                                Date of Advertisement or
                 Type of Advertisement or Commercial
                                                                      Commercial




        15. Other than through your attorneys, have you had any communication, oral or
            written, with any of the Defendants or their representatives? Yes ‫ ܆‬No‫܆‬

        16. If yes, please identify:

                  Date of                Method of        Name of       Substance of
               Communication           Communication    Representative Communication




        17. Have you filed a MedWatch Adverse Event Report to the FDA? Yes ‫ ܆‬No‫܆‬

YOU MUST UPLOAD NOW ANY MEDICAL RECORDS IN YOUR POSSESSION
DEMONSTRATING ALLEGED INJURY OR PHOTOGRAPHS SHOWING YOUR




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   HAIR BEFORE AND AFTER TREATMENT WITH TAXOTERE® ALONG WITH
   THE DATE(S) THE PHOTOGRAPHS WERE TAKEN.

Other Claimed Damages

            18. Mental or Emotional Damages: Do you claim that your use of Taxotere® or
                Docetaxel caused or aggravated any psychiatric or psychological condition?
                Yes ‫ ܆‬No‫܆‬

            19. If yes, did you seek treatment for the psychiatric or psychological condition?
                Yes ‫ ܆‬No‫܆‬

                         Provider                   Date                  Condition




            20. Medical Expenses: Do you claim that you incurred medical expenses for the
                alleged injury that you claim was caused by Taxotere® or Docetaxel? Yes ‫܆‬
                No‫܆‬

            21. If yes, list all of your medical expenses, including amounts billed or paid by
                insurers and other third-party payors, which are related to any alleged injury
                you claim was caused by Taxotere® or Docetaxel:

                         Provider                   Date                   Expense




            22. Lost Wages: Do you claim that you lost wages or suffered impairment of
                earning capacity because of the alleged injury that you claim was caused by
                Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

            23. If yes, state the annual gross income you earned for each of the three (3) years
                before the injury you claim was caused by Taxotere® or Docetaxel.

                          Year                    Annual Gross Income




            24. State the annual gross income for every year following the injury or condition
                you claim was caused by Taxotere® or Docetaxel.




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                            Year                    Annual Gross Income




               25. Out-of-Pocket Expenses: Are you making a claim for lost out-of-pocket
                   expenses? Yes ‫ ܆‬No‫܆‬

               26. If yes, please identify and itemize all out-of-pocket expenses you have
                   incurred:

                                Expense                 Expense Amount




VII.     HAIR LOSS INFORMATION

Background
               1. Did you ever see a healthcare provider for hair loss BEFORE taking
                  Taxotere® or Docetaxel? Yes ‫ ܆‬No ‫܆‬

               2. Did your hair loss begin during chemotherapy treatment? Yes ‫ ܆‬No‫܆‬

               3. If yes, did you FIRST experience hair loss:

                      a) After treatment with another chemotherapy agent: ‫܆‬

                      b) After treatment with Taxotere® or Docetaxel: ‫܆‬

               4. At any time before or during the hair loss were you:

                                Condition                  Yes           Description
                     Pregnant                               ‫܆‬
                     Seriously ill                          ‫܆‬
                     Hospitalized                           ‫܆‬
                     Under severe stress                    ‫܆‬
                     Undergoing treatment for any
                                                           ‫܆‬
                     other medical condition

               5. When did you FIRST discuss with or see a healthcare provider about your hair
                  loss? BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

               6. Have you started any special diets at any time before or during the hair loss?
                  Yes ‫ ܆‬No ‫ ܆‬Describe:___________________________________________


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Hair Loss History

                                                                                     Name of Healthcare
                                  Question                           No       Yes
                                                                                         Provider
            Have you had a biopsy of your scalp to evaluate          ‫܆‬        ‫܆‬
            your hair loss problem?
            Have you had blood tests done to evaluate your hair      ‫܆‬        ‫܆‬
            loss problem?
            Have your hormones ever been checked to evaluate         ‫܆‬        ‫܆‬
            your hair loss problem?
            Have you ever been told by a doctor that you have a      ‫܆‬        ‫܆‬
            thyroid condition?
            Have you ever been treated with thyroid hormone?         ‫܆‬        ‫܆‬
            Have you ever been told by a doctor that you have a      ‫܆‬        ‫܆‬
            low iron level?

              7. Have you ever been on endocrine or hormonal therapy, either before or after
                 chemotherapy with Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

              8. If yes, please identify:

                                                    Dates of
                        Treating Physician                               Treatment
                                                   Treatment




              9. Do you have any autoimmune diseases? Yes ‫ ܆‬No‫܆‬

              10. If yes, check the following which describes you:

                          Autoimmune Disease             Yes
                    Lupus                                 ‫܆‬
                    Rheumatoid arthritis                  ‫܆‬
                    Celiac disease                        ‫܆‬
                    Type 1 diabetes                       ‫܆‬
                    Sjogrens disease                      ‫܆‬
                    Vitiligo                              ‫܆‬
                    Hashimoto’s                           ‫܆‬
                    Other:_____________________           ‫܆‬


              11. Were you taking any medications when your hair loss began? Yes ‫ ܆‬No‫܆‬



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                            Medication



Hair Care

            12. How often do you wash/shampoo your hair? Every ______ days

            13. Check any of the following that apply to you currently or that have in the past:
                   




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                                                     Period of
                     Hair Treatment            Yes                      Frequency
                                                       Time
                                                                 ‫܆‬Never
            Hair chemically processed or                         ‫܆‬Once a week
            straightened (relaxers, keratin,                     ‫܆‬2-3 times a week
                                               ‫܆‬         
            Brazilian blowout, Japanese                          ‫܆‬Once a month
            straightening, other)                                ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
            Hair heat processed or
                                                                 ‫܆‬2-3 times a week
            straightened (blow drying/ flat    ‫܆‬         
            ironing, curling)                                    ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Hair dyed                          ‫܆‬         
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Hair highlighted                   ‫܆‬         
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Braids                             ‫܆‬         
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Weaves                             ‫܆‬        
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year




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                                                                          ‫܆‬Never
                                                                          ‫܆‬Once a week
                                                                          ‫܆‬2-3 times a week
                      Tight hairstyles (ponytails)    ‫܆‬        
                                                                          ‫܆‬Once a month
                                                                          ‫܆‬Once every 1-2 months
                                                                          ‫܆‬A few times a year
                                                                          ‫܆‬Never
                                                                          ‫܆‬Once a week
                                                                          ‫܆‬2-3 times a week
                      Extensions                      ‫܆‬        
                                                                          ‫܆‬Once a month
                                                                          ‫܆‬Once every 1-2 months
                                                                          ‫܆‬A few times a year
                                                                          ‫܆‬Never
                                                                          ‫܆‬Once a week
                                                                          ‫܆‬2-3 times a week
                      Other:_____________________     ‫܆‬        
                                                                          ‫܆‬Once a month
                                                                          ‫܆‬Once every 1-2 months
                                                                          ‫܆‬A few times a year

             14. Have you ever used the following?
                    
                                Hair Treatment                      Yes
                  WEN Cleansing Conditioners                         ‫܆‬
                  Unilever Suave Professionals Keratin
                                                                    ‫܆‬
                  Infusion
                  L’Oréal Chemical Relaxer                          ‫܆‬

             15. Has your hair care regimen been different in the past? Yes ‫ ܆‬No‫܆‬

                       a) If yes, describe:____________________________________________

Hair Loss Treatment

             16. Did you use any other methods to prevent hair loss during chemotherapy?

                                    Hair Treatment                  Yes
                      Folic Acid supplementation                     ‫܆‬
                      Minoxidil                                      ‫܆‬
                      Other:___________________________              ‫܆‬

             17. Did you wear a cool cap during chemotherapy treatment? Yes ‫ ܆‬No‫܆‬

             18. If yes, which cooling cap did you wear: ______________________________

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              19. Have you used any over-the-counter medications, supplements, or cosmetic
                  aides for your hair loss? Yes ‫ ܆‬No‫܆‬

              20. If yes, please state the following:

                                                        When was     How long did
                             Treatment                                                  Did it help?
                                                         it tried?    you try it?
                                                                                    ‫܆‬Yes
                                                                           
                                                                                    ‫܆‬No
                                                                                    ‫܆‬Yes
                                                                           
                                                                                    ‫܆‬No
                                                                                    ‫܆‬Yes
                                                                           
                                                                                    ‫܆‬No

              21. Has anything helped your hair loss? Yes ‫ ܆‬No‫܆‬

              22. If yes, please specify:

                                                         Dates of     Place of
                          Type of Product                                           Results of Use
                                                          Use         Purchase
                                                                          
                                                                                   
                                                                                   

              23. As of the date you verify your PFS, how long have you had alopecia or
                  incomplete hair re-growth?_________________________________________

              24. Has any hair regrowth occurred? Yes ‫ ܆‬No‫܆‬

              25. Have you ever worn a wig to conceal your hair loss? Yes ‫ ܆‬No‫܆‬

              26. Specify:

                                                                        Place
                         Dates Used            Period of Use                            Cost of Item
                                                                      Purchased
                                                                           
                                                                                   
                                                                                   

VIII. RECORD HOLDER IDENTIFICATION

Healthcare Providers:




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                1. Identify each physician, doctor, or other healthcare provider who has provided
                   treatment to you for any reason in the past eight (8) years and the reason for
                   consulting the healthcare provider or mental healthcare provider.

YOU MUST INCLUDE YOUR ONCOLOGIST, RADIOLOGIST, DERMATOLOGIST,
DERMATOLOGIST-PATHOLOGIST, HAIR LOSS SPECIALIST, GYNECOLOGIST,
OBSTETRICIAN, AND PRIMARY CARE PHYSICIAN, ALONG WITH ANY OTHER
HEALTHCARE PROVIDERS IDENTIFIED ABOVE

                                                                                      Reason for
      Name           Area or Specialty        Address                Dates
                                                                                     Consultation




Hospitals, Clinics, and Other Facilities:


                2. Identify each hospital, clinic, surgery center, physical therapy or rehabilitation
                   center, or other healthcare facility where you have received inpatient or outpatient
                   treatment (including emergency room treatment) in the past eight (8) years:


YOU MUST INCLUDE THE LOCATIONS FOR SURGERIES, RADIOLOGY,
IMAGING, BIOPSIES, CHEMOTHERAPY, CHILD BIRTHS, GYNECOLOGIC
PROCEDURES OR TREATMENT, ALONG WITH ANY OTHER HEALTHCARE
FACILITIES

         Name                     Address                Dates            Reason for Treatment




Laboratories:

                3. Identify each laboratory at which you had tests run in the past ten (10) years:

      Name                Address               Dates                Test          Reason for Tests




Pharmacies:

                4. To the best of your recollection, Identify each pharmacy, drugstore, and/or other
                   supplier (including mail order) where you have had prescriptions filled or from


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                   which you have ever received any prescription medication within three (3) years
                   prior to and three (3) years after your first treatment with Taxotere:

         Name                    Address                   Dates                 Medications




Retailers:

                5. Identify each pharmacy, drugstore, and/or other retailer (including mail order)
                   where you have purchased over-the-counter medications, or hair products in the
                   past ten (10) years:

         Name                    Address                   Dates                  Purchases




Insurance Carriers:

                6. Identify each health insurance carrier which provided you with medical coverage
                   and/or pharmacy benefits for the last ten (10) years:

                                           Name of Insured                              Dates of
      Carrier              Address                               Policy Number
                                              & SSN                                     Coverage




IX. DOCUMENT REQUESTS AND AUTHORIZATIONS

   Please state which of the following documents you have in your possession. If you do not have
   the following documents but know they exist in the possession of others, state who has
   possession of the documents: Produce all documents in your possession (including writings on
   paper or in electronic form) and signed authorizations and attach a copy of them to this PFS.

Requests
                       
                                                                             If No, who has the
                   Type of Document(s)                        Yes    No
                                                                                document(s)?
 Documents you reviewed to prepare your answers to
 this Plaintiff Fact Sheet.
 Your attorney may withhold some documents on claims          ‫܆‬       ‫܆‬
 of attorney-client privilege or work product protection
 and, if so, provide a privilege log


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                                                                        If No, who has the
                 Type of Document(s)                         Yes   No
                                                                           document(s)?
Medical records or other documents related to the use
of Taxotere® or Docetaxel at any time for the past           ‫܆‬     ‫܆‬
twelve (12) years.
Medical records or other documents related to your
treatment for any disease, condition or symptom
                                                             ‫܆‬     ‫܆‬
referenced above for any time in the past twelve (12)
years.
Laboratory reports and results of blood tests performed
                                                             ‫܆‬     ‫܆‬
on you related to your hair loss.
Pathology reports and results of biopsies performed on
you related to your hair loss.
Plaintiffs or their counsel must maintain the slides
                                                             ‫܆‬     ‫܆‬
and/or specimens requested in this subpart, or send a
preservation notice, copying Defendants, to the
healthcare facility where these items are maintained.
Documents reflecting your use of any prescription drug
or medication at any time within the past eight (8)          ‫܆‬     ‫܆‬
years.
Documents identifying all chemotherapy agents that
                                                             ‫܆‬     ‫܆‬
you have taken.
Documents for any workers' compensation, social
security or other disability proceeding at any time          ‫܆‬     ‫܆‬
within the last five (5) years.
Instructions, product warnings, package inserts,
handouts or other materials that you were provided or        ‫܆‬     ‫܆‬
obtained in connection with your use of Taxotere®.
Advertisements or promotions for Taxotere®.                  ‫܆‬     ‫܆‬
Articles discussing Taxotere®.                               ‫܆‬     ‫܆‬
Any packaging, container, box, or label for Taxotere®
or Docetaxel that you were provided or obtained in
connection with your use of Taxotere®.                       ‫܆‬     ‫܆‬
Plaintiffs or their counsel must maintain the originals of
these items.
Documents which mention Taxotere® or Docetaxel or
any alleged health risks related to Taxotere®.
Your attorney may withhold some legal documents,
documents provided by your attorney, or documents
                                                             ‫܆‬     ‫܆‬
obtained or created for the purpose of seeking legal
advice or assistance on claims of attorney-client
privilege or work product protection and, if so, provide
a privilege log.
Documents obtained directly or indirectly from any of
                                                             ‫܆‬     ‫܆‬
the Defendants.


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                                                                      If No, who has the
                 Type of Document(s)                       Yes   No
                                                                         document(s)?
Communications or correspondence between you and
                                                           ‫܆‬     ‫܆‬
any representative of the Defendants.
Photographs, drawing, slides, videos, recordings,
DVDs, or any other media that show your alleged            ‫܆‬     ‫܆‬
injury or its effect in your life.
Journals or diaries related to the use of Taxotere® or
Docetaxel or your treatment for any disease, condition
                                                           ‫܆‬     ‫܆‬
or symptom referenced above at any time for the past
twelve (12) years.
Social media or internet posts to or through any site
(including, but not limited to, Facebook, MySpace,
LinkedIn, Google Plus, Windows Live, YouTube,
                                                           ‫܆‬     ‫܆‬
Twitter, Instagram, Pinterest, blogs, and Internet chat
rooms/message boards) relating to Taxotere® or
Docetaxel or any of your claims in this lawsuit.
If you claim you have suffered a loss of earnings or
earning capacity, your federal tax returns for each of
the five (5) years preceding the injury you allege to be
caused by Taxotere® or Docetaxel, and every year           ‫܆‬     ‫܆‬
thereafter or W-2s for each of the five (5) years
preceding the injury you allege to be caused by
Taxotere® or Docetaxel, and every year thereafter.
If you claim any medical expenses, bills from any
physician, hospital, pharmacy or other healthcare          ‫܆‬     ‫܆‬
providers.
Records of any other expenses allegedly incurred as a
                                                           ‫܆‬     ‫܆‬
result of your alleged injury.
If you are suing in a representative capacity, letters
                                                           ‫܆‬     ‫܆‬
testamentary or letters of administration.
If you are suing in a representative capacity on behalf
of a deceased person, decedent’s death certificate         ‫܆‬     ‫܆‬
and/or autopsy report.
Photographs of you that are representative of your hair
composition before treatment with Taxotere® or             ‫܆‬     ‫܆‬
Docetaxel.
Photographs of you that are representative of your hair
composition during treatment with Taxotere® or             ‫܆‬     ‫܆‬
Docetaxel.
Photographs of you that are representative of your hair
composition six months after conclusion of treatment       ‫܆‬     ‫܆‬
with Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
                                                           ‫܆‬     ‫܆‬
composition in present day.


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                                                                            If No, who has the
                Type of Document(s)                         Yes     No
                                                                               document(s)?
Signed authorizations for medical records related to any
cancer treatment identified herein and all pharmacy
records from three (3) years before and three (3) years      ‫܆‬      ‫܆‬
after your first treatment with Taxotere in the forms
attached hereto.

X. DECLARATION

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that all of the information
      provided in connection with this Plaintiff Profile Form is true and correct to the best of my
      knowledge information and belief at the present time.

________________________                    ___________________
Signature                                   Date

XI. AUTHORIZATIONS

             See Attached Exhibit A.




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                           MDL NO. 2740
PRODUCTS LIABILITY LITIGATION
                                                      SECTION “N” (5)
THIS DOCUMENT RELATES TO:

       ALL CASES                                      HON. KURT D. ENGELHARDT



              DEFENDANT FACT SHEET – PRODUCT IDENTIFICATION
         Within sixty (60) days of receiving a substantially completed Plaintiff Fact Sheet (“PFS”),
Defendants Sanofi S.A., Aventis Pharma S.A., and Sanofi-Aventis U.S., LLC, and Winthrop US
(collectively referred to as “Defendants”) must complete and serve this Defendant Fact Sheet
(“DFS”) and identify or provide DOCUMENTS and/or data responsive to the questions set forth
below for each such Plaintiff. Defendants must supplement their responses to the extent that
additional information is provided by Plaintiff in a supplemental PFS, within sixty (60) days of
receiving the supplemental information. In the event the DFS does not provide YOU with enough
space to complete YOUR responses or answers, please attach additional sheets if
necessary. Please identify any DOCUMENTS that YOU are producing as responsive to a question
or request by bates number.

                              DEFINITIONS & INSTRUCTIONS

As used herein, “YOU,” “YOUR,” or “YOURS” means the responding DEFENDANTS.

“DEFENDANTS” shall mean and refer to those companies involved in the development,
manufacture and distribution of the drugs known as Taxotere (Docetaxel) including Sanofi S.A.,
Aventis Pharma S.A., Sanofi-Aventis U.S., LLC, and Winthrop US shall each answer each
document request and question that not only calls for YOUR knowledge, but also for all knowledge
that is available to YOU by reasonable inquiry, including inquiry of YOUR "officers," "directors,"
"agents," "employees,” and attorneys.

As used herein, the phrase “HEALTHCARE PROVIDER” means: any physician or other
individual healthcare provider, health care facility, clinic, hospital or hospital pharmacy identified
by full name and address in PFS Section Sections V. 13 and V.14 who administered, prescribed,
and/or dispensed Taxotere (Docetaxel) to the Plaintiff.

“WHOLESALE DISTRIBUTION” means distribution of prescription drugs to persons other than
a consumer or patient, as defined in U.S. Code of Federal Regulations, 21 CFR 205.3.



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“WHOLESALE DISTRIBUTOR” means any one engaged in wholesale distribution of
prescription drugs, including, but not limited to, manufacturers; repackers; own-label distributors;
private-label distributors; jobbers; brokers; warehouses, including manufacturers' and distributors'
warehouses, chain drug warehouses, and wholesale drug warehouses; independent wholesale drug
traders; and retail pharmacies that conduct wholesale distributions, as defined in U.S. Code of
Federal Regulations, 21 CFR 205.3.

“REMUNERATION” means anything of value, directly or indirectly, overtly or covertly, in cash
or in kind, including but not limited to monetary payment, compensation, incentives,
preceptorship fees, gifts, entertainment, sports and/or concert tickets, speaker fees, grants,
SAMPLES, reimbursement assistance, beneficiary inducements, wellness programs, patience
assistance programs, transportation and/or lodging assistance, adherence to treatment regimen
programs, incentives or inducements to remain in network, navigator/care coordination
programs, end of life and/or palliative care programs, third party payments of premiums, or any
other inducements or programs.
As used herein, the term “DOCUMENT” SHALL, consistent with Federal Rule of Civil Procedure
34(a)(1)(A), refer to any “designated documents or electronically stored information – including
writings, drawings, graphs, charts, photographs, sound recordings, images, and other data or data
compilations – stored in any medium form which information can be obtained either directly or, if
necessary, after translation by the responding party into a reasonably usable form.”

If YOU are aware that any DOCUMENT that was, or might have been, responsive to any sections
of this DFS which concern or relate to Plaintiff or Plaintiff’s Named Facilities was destroyed,
erased, surrendered or otherwise removed from YOUR possession, custody or control, at any time,
provide, to the maximum extent possible, the following information: (a) the nature of the
DOCUMENT (e,g., letter, memorandum, contract, etc.,) and a description of its subject matter; (b)
the author or sender of the DOCUMENT; (c) the recipient(s) of the DOCUMENT; (d) the date
that the DOCUMENT was authored, sent and received; (e) the circumstances surrounding the
removal of the DOCUMENT from YOUR custody, possession or control; and (f) the identity of
the person(s) having knowledge of such removal from YOUR custody, possession or control.

As used herein, “KEY OPINION LEADER” or “THOUGHT LEADER” shall mean and refer to
physicians, often academic researchers, who are believed by DEFENDANTS to be effective at
transmitting messages to their peers and others in the medical community. This term shall mean
and refer to any doctors or medical professionals hired by, consulted with, or retained by
DEFENDANTS to, amongst other things, consult, give lectures, respond to media inquiries,
conduct clinical trials, write articles or abstracts, sign their names as authors to articles or abstracts
written by others, sit on advisory boards and make presentations on their behalf at regulatory
meetings or hearings.

The phrase “SAMPLES” refers to any medication or unit of a prescription drug not intended to be
sold, which is given to promote the drug's sales. This includes any vouchers or coupons that
provide for the HEALTHCARE PROVIDERS or patients access to the medication for a specified
period of time.



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“PATIENT ASSISTANCE PROGRAM” means programs created by drug companies, such as
Sanofi, to offer free or low cost drugs to individuals who are unable to pay for their medication.
These Programs may also be called indigent drug programs, charitable drug programs or
medication assistance programs.

The phrase “SALES REPRESENTATIVE” means any person presently or formerly engaged or
employed by YOU whose job duties include calling on physicians or other health care
professionals, healthcare facilities, hospitals, and/or physician practice groups; promoting drugs
manufactured or licensed by YOU to physicians or other HEALTH CARE PROVIDERS;
distributing drug SAMPLES to physicians or other HEALTH CARE PROVIDERS. “SALES
REPRESENTATIVE” also includes those who occupy positions titled “Professional Sales
Representative,” “Sales Professional,” “Specialty Sales Representative,” “Senior Sales
Representative,” “Senior Health Care Representative,” “Professional Representative,” “Health
Care Representative”, “Institutional” or “Managed Care” sales representative, “Oncology Sales
Representative” “Medical Service Representative”, and “Medical Sales Representative” or any
other titles used by Defendants and any of its divisions SALES REPRESENTATIVE also includes
any contract employees or SALES REPRESENTATIVES from other companies involved in the
promotion or co-promotion of Taxotere (Docetaxel) .

The phrase “SALES MANAGER” means any person presently or formerly engaged or employed
by YOU whose job duties include managing SALES REPRESENTATIVES and/or the promotion
or marketing of pharmaceutical products in a specific geographic region. “SALES MANAGER”
includes those who occupy positions titled “District Sales Manager,” “Senior Regional Sales
Manager,” “Regional Sales Manager” and “Area Business Manager”, “Business Manager”, or any
other titles YOU use or have used in the past for managers involved in the promotion or marketing
of Taxotere (Docetaxel).

The phrase “MEDICAL SCIENCE LIAISON(S)” means any person presently or formerly
engaged or employed by YOU for the purpose of sales support and direct field communication
with physicians or other HEALTH CARE PROVIDERS about medical and science information
related to Taxotere (Docetaxel), and opinion leader management. This includes employees with
the titles of “Medical Science Liaison (MSL)”, “Clinical Education Consultant (CEC)” or any
other titles YOU use or have used in the past for these employees.

The phrase “MARKETING ORGANIZATION REPRESENTATIVE,” means any person
presently or formerly engaged or employed by YOU for the purpose of generating interest in
Taxotere (Docetaxel) by creating and implementing a marketing campaign(s) to reach physicians
or other HEALTHCARE PROVIDERS. This includes employees with the title of “Marketing
Representative” or any other titles YOU use or have used in the past for these employees.

The phrase “CALL NOTES” means any and all writings, notations, electronically stored
information, memoranda, DOCUMENTS, emails, database entries and reports or records, internal
communications and any other information reflecting any contact with HEALTHCARE
PROVIDERS, and/or information about or referring to HEALTHCARE PROVIDERS related to
Taxotere (Docetaxel), oncology, treatment of cancer and chemotherapy.


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The phrase “TARGETING INFORMATION” means any information the company uses to
identify a particular person, group of people, type of health care provider or demographic within a
larger audience regarding the promotion of Taxotere (Docetaxel). This includes documentation,
including electronically stored information, designating particular campaigns, PROMOTIONAL
MATERIAL and/or other promotional efforts directed toward particular types or specialties of
healthcare providers (e.g., oncologists) and/or specifically identified healthcare providers.



I.        CASE INFORMATION

          This DFS pertains to the following case:

          Case caption:_____________________________________________________

          Civil Action No.__________________________________________________

          Court in which action was originally filed:______________________________

          Date this DFS was completed:________________________________


II.       SALE OF TAXOTERE (DOCETAXEL) TO DISPENSER
          (HOSPITAL/PHARMACY) DIRECTLY AND/OR THROUGH GROUP
          PURCHASING ORGANIZATIONS

A.        Did YOU sell, distribute, deliver or otherwise provide Taxotere (Docetaxel) to, any
          HEALTHCARE PROVIDER, either directly or pursuant to a Group Purchasing
          Organization (“GPO”), identified by the Plaintiff in Sections V. 13 and V.14 of the PFS,
          during the time period of twenty-four (24) months preceding Plaintiff’s first administration
          of Taxotere through the Plaintiff’s last administration of Taxotere (Docetaxel)?

                 Yes_____        No_____

B.        If YOUR answer is “Yes” to Question A. above, please provide a list of all deliveries or
          shipments of Taxotere (Docetaxel) sold, distributed or otherwise provided to each of the
          HEALTHCARE PROVIDERS, as identified by the Plaintiff in Sections V. 13 and V.14 of
          the PFS, for the time period spanning from twenty-four (24) months prior to Plaintiff’s first
          administration of Taxotere (Docetaxel) through Plaintiff’s last administration of Taxotere
          (Docetaxel). Please include the name of each HEALTHCARE PROVIDER, the date of
          shipment/distribution of Taxotere (Docetaxel), and the amount of Taxotere (Docetaxel)
          distributed on said date.

     Name of Healthcare Provider             Date of Shipment               Amount of Taxotere
                                               Distribution                    Distributed
                                                     4
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C.      Please provide all DOCUMENTS reflecting sale or purchase agreements regarding
        Taxotere (Docetaxel) between DEFENDANTS and the HEALTHCARE PROVIDERS
        identified by Plaintiff in Section Sections V. 13 and V.14 of the PFS in effect during the
        time period spanning from twenty-four (24) months prior to Plaintiff’s first administration
        of Taxotere (Docetaxel) through Plaintiff’s last administration of Taxotere (Docetaxel).

D.      Please provide all DOCUMENTS, including product labels, patient information packets,
        order forms, purchase orders, billing records, invoices, and other DOCUMENTS related to
        the shipments of Taxotere (Docetaxel) shipped to the HEALTHCARE PROVIDERS
        identified by Plaintiff in Sections V. 13 and V.14of the PFS for the time period spanning
        from twenty-four (24) months prior to Plaintiff’s first administration of Taxotere
        (Docetaxel) through to Plaintiff’s last administration of Taxotere (Docetaxel), and
        associate each label with the code numbers to which they are applicable. With regard to
        product labels, identification of the labels that applied to applicable lot numbers or dates is
        acceptable.



IV.     COMMUNICATIONS AND CONTACTS WITH PLAINTIFF’S HEALTHCARE
        PROVIDERS

A.      For each HEALTHCARE PROVIDER identified in Sections V. 13 and V.14 of the PFS:

           1. Identify by name all of Defendants’ Sale Representatives, Marketing Organizations
           Representatives, MEDICAL SCIENCE LIAISONS, and/or any other detail persons
           (“Representative”) who came in contact with any of Plaintiff’s HEALTHCARE
           PROVIDER(S) in connection with Taxotere (Docetaxel) during the timeframe for
           which such records are available, namely 1996 to present.

           Name of Representative                                        Title




           2. Identify the time period, and specifically the dates, during which the Representative
           had any such contact with the HEALTHCARE PROVIDER.

      Name of Representative              Healthcare Provider                Dates of Contact

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            3. If the Representative is no longer an employee, Defendants will provide the dates
            of employment for the employee and will also provide the last known address,
            telephone number, and email address for the Representative.

 Name          of Dates of              Last Known       Telephone         Email Address
 Representative   Employment            Address          Number




            4. For each Representative, provide the names of the Representative’s
            Supervising/District SALES MANAGER. If the Representative’s Supervising District
            SALES MANAGER is no longer an employee, Defendants will provide the dates of
            employment for the employee and will also provide the last known address, telephone
            number, and email address for the former employee.



 HEALTHCARE Name of                     Date(s) of       Current or        Supervising/District
 PROVIDER   Representative              Contact          Former            SALES
                                                         Employee          MANAGER




B.     For each Defendants’ Sale Representatives, MARKETING ORGANIZATION
       REPRESENTATIVES, MEDICAL SCIENCE LIAISONS, and/or any other detail persons
       (“Representative”), previously identified in IV.A of this DFS please produce the following:

       1.      His/her complete CALL NOTES for each such contact that relates to (a) Taxotere
               (Docetaxel); and/or (b) hair loss; and/or (c) permanent hair loss and/or alopecia.

       2.      Produce all emails or other written correspondence with the HEALTHCARE
               PROVIDER(S) that relates to (a) Taxotere (Docetaxel); and/or (b) hair loss; and/or
               (c) permanent hair loss and/or alopecia.

       3.      Produce any and all TARGETING INFORMATION related to the HEALTHCARE
               PROVIDER(S) identified by Plaintiff in Sections V. 13 and V.14 of the PFS.

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C.     For the HEALTHCARE PROVIDERS identified by Plaintiff in Sections V. 13 and V.14of
       the PFS, please provide the following information related to SAMPLES of Taxotere
       (Docetaxel):

       1.     The date(s) on which such SAMPLES of Taxotere (Docetaxel) were provided;

       2.     The date(s) on which the Taxotere (Docetaxel) was provided through a PATIENT
              ASSISTANCE PROGRAM;

       3.     The amount, dosage, and lot numbers of such SAMPLES and/or Taxotere
              (Docetaxel) provided through a PATIENT ASSISTANCE PROGRAM;

       4.     The name(s) of the DEFENDANT representative(s) and/or department who
              provided such SAMPLES Taxotere (Docetaxel);

       5.     The name(s) of the DEFENDANT representative(s) and/or department who
              provided Taxotere (Docetaxel) through a PATIENT ASSISTANCE PROGRAM.




 HEALTHCARE             Date(s)           Amount and       Lot Number           Representative
 PROVIDER               Shipped           Dosage                                Who Provided
                        and/or
                        Provided




V.     CONSULTING WITH PLAINTIFF’S HEALTHCARE PROVIDER

       For each HEALTHCARE PROVIDER identified in Plaintiff’s PFS, please answer the
following:

A.     If the HEALTHCARE PROVIDER has been consulted, retained, or compensated by
       Defendants as a “KEY OPINION LEADER,” “THOUGHT LEADER,” member of a
       “speaker’s bureau,” “clinical investigator,” “consultant”, advisory board member or in a
       similar capacity or otherwise has or had a financial relationship with or has been provided
       REMUNERATION by DEFENDANTS, please state the following for each:

       1.     Identify the HEALTHCARE PROVIDER.

       2.     Identify the date(s) that the HEALTHCARE PROVIDER was consulted, retained,
              or compensated.

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        3.     State the nature of the affiliation.

        4.   State the type amount of REMUNERATION provided to the HEALTHCARE
        PROVIDER.

         HEALTHCARE              Date(s)                  Nature of          REMUNERATION
         PROVIDER                Consulted,               Affiliation
                                 Retained, or
                                 Compensated




        5.      Please identify and produce any and all consulting agreements/contracts and/or
        retainer agreements/contracts entered into by DEFENDANTS with the HEALTHCARE
        PROVIDERS identified in Sections V. 13 and V.14of the PFS.

VI.     PLAINTIFF’S HEALTHCARE PROVIDER’S PRACTICES

A.      Provide all chemotherapy related prescriber-level data designed to track prescribing or
        treating practices that YOU obtained on Plaintiff’s HEALTHCARE PROVIDERS
        identified in Sections V. 13 and V.14 of the PFS.

B.      Was the HEALTHCARE PROVIDER(S) identified in Sections V. 13 and V.14 of the PFS
        involved in any clinical trial sponsored by DEFENDANTS related to the treatment of
        cancer?

        _____Yes _____ No

               If yes, provide the final Investigator Protocol related to any such trial(s).

A.       Did the Plaintiff’s HEALTHCARE PROVIDER ever report any adverse events to
         DEFENDANTS as they pertain to Taxotere (Docetaxel)?

        _________      Yes     __________      No

        If yes, provide all DOCUMENTS related to the adverse event report/MedWatch form.



                                        CERTIFICATION

         I am employed by _______________________, one of the DEFENDANTS in this
litigation.   I am authorized by ______________________________ [name of other
DEFENDANTS] to execute this certification on each corporation’s behalf. The foregoing answers
were prepared with the assistance of a number of individual, including counsel for

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DEFENDANTS, upon whose advice and information I relied. I declare under penalty of perjury
subject to 28 U.S.C. § 1746 that all of the information provided in this Defendant Fact Sheet is
true and correct to the best of my knowledge and that I have supplied all requested DOCUMENTS
to the extent that such DOCUMENTS are in my possession, custody and control (including the
custody and control of my lawyers).
____________________         _______________________              ____________________
Signature                    Print Name                           Date




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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                    MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION                                             SECTION “N” (5)


                    PRETRIAL ORDER NO. 19
 COMMON BENEFIT, TIME AND EXPENSE RULES, APPOINTMENT OF CPA,
        HOLDBACK, ASSESSMENTS, AND RELATED ISSUES

       The Court, having received no response to “Pretrial Order No. 16” (Rec. Doc. 234),

entered on February 13, 2017, adopts the proposed Common Benefit Order submitted by

Liaison Counsel and the Plaintiffs’ Steering Committee. Accordingly;

I. Governing Principles and the Common Benefit Doctrine

       The common benefit governing principles are derived from the United States

Supreme Court’s common benefit doctrine, as initially established in Trustees v. Greenough,

105 U.S. 527 (1881) and as refined throughout the last century in cases including Boeing Co.

v. Van Gemert, 444 U.S. 472 (1980), Mills v. Electric Auto-Lite Co., 396 U.S. 375 (1970),

and Sprague v. Ticonic National Bank, 307 U.S. 161 (1939). See also Turner v. Murphy Oil

USA, Inc., 422 F.Supp.2d 676, 680 (E.D.La. 2006) (“Thus, to avoid the problem of free-

riding, the U.S. Supreme Court over 125 years ago approved the common benefit doctrine,

which provides that when the efforts of a litigant or attorney create, preserve, protect,

increase, or discover a common fund, all who benefit from that fund must contribute

proportionately to the costs of the litigation. ‘The doctrine rests on the perception that

persons who obtain the benefit of a lawsuit without contributing to its cost are unjustly

enriched at the successful litigant's expense.’” (citations omitted)). See also Manual for

Complex Litigation (Fourth) § 14.121 (2004) (discussing the American Rule and the



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common-benefit exception in complex cases).”). See also In re Oil Spill by the Oil Rig

“Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, MDL No. 2179, 2012 WL

161194, at *1, (Rec. Doc. 5064) (E.D. La. Jan. 18, 2012); Eldon E. Fallon, Common Benefit

Fees in Multidistrict Litigation, 74 La. L. Rev. 371, 374 (2014) (“Because the work that the

PSC performs inures to the common benefit of all plaintiffs and their primary counsel (the

counsel that they employed), MDL transferee courts usually establish a procedure for

creating a common benefit fee to compensate the members of the PSC and the members of

any subcommittees who have done common benefit work.”); Manual for Complex

Litigation, § 14.215 (4th ed. 2004) (noting that “Lead and liaison counsel may have been

appointed by the court to perform functions necessary for the management of the case but

not appropriately charged to their clients” and encouraging an order early in the litigation

that “establish[es] the arrangements for their compensation, including setting up a fund to

which designated parties should contribute in specified proportions.”).

       The Court’s authority to establish a fund and to order contributions also derives from

its equitable authority and its inherent managerial power over this consolidated and

multidistrict litigation. See, e.g., In re Vioxx Products Liab. Litig., 802 F.Supp.2d 740, 769-

71 (E.D. La. 2011); In re Diet Drugs, 582 F.3d 524, 546-47 (3rd Cir. 2009); In re Air Crash

Disaster at Fla. Everglades, 549 F.2d 1006, 1008 (5th Cir. 1977); Manual for Complex

Litigation, § 20.312 (4th ed. 2004) (“MDL judges generally issue orders directing the

defendants who settle MDL-related cases contribute a fixed percentage of the settlement to

a general fund to pay national counsel.”); Fallon, supra, at 378 (the common benefit doctrine




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is justified “on principles of equity or quantum merit or class action procedures or [a court’s]

inherent authority”).

II. Scope of Order

       This Order provides standards and procedures for the fair and equitable sharing

among plaintiffs, and their counsel, of the burden of services performed and expenses

incurred by attorneys acting for the common benefit of all plaintiffs in MDL 2740; for the

establishment of rules for compensable common benefit work and expenses; for the

anticipated percentage of assessments determined as of this date collected to fund payment

for common benefit fees and costs; for provisions governing a holdback on settlements or

payments of judgments; for the procedures for reporting of time and expenses and review of

those submissions by a Special Master appointed by the Court; for the appointment of a CPA;

and, other related issues.


       This Order applies to (1) all cases now pending, as well as to any cases later filed in,

transferred to, or removed to this Court and included as part of the MDL 2740 Proceeding,

and any attorney with a fee interest in those cases; (2) each attorney with a case in the MDL

who has a fee interest in a plaintiffs’ case in a jurisdiction outside the MDL or in any unfiled

claims; and (3) all counsel who voluntarily sign the attached Participation Agreement

(Exhibit A). Counsel with Taxotere (Docetaxel) cases pending only in the MDL are governed

by this Order and are not obligated to sign the Participation Agreement as these counsel are

deemed to have signed the Participation Agreement. Counsel with Taxotere (Docetaxel)

cases outside MDL 2740 (even if counsel has cases in MDL 2740) must sign the Participation

Agreement, if they want to receive common benefit work product and become Participating




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Counsel. All counsel who have signed or are deemed to have signed the Participation

Agreement are classified as “Participating Counsel”.

        This Order is not intended to result in the payment of an assessment for a common

benefit case in the MDL 2740 Proceeding and an additional assessment in any other

coordinated action in another jurisdiction. In the event two assessments cover any case or

claim, MDL 2740 Leadership, Participating Counsel and Participating Law Firm shall

attempt a mutually agreeable resolution to avoid multiple or excessive assessments. If the

MDL Leadership and any plaintiff’s counsel or law firm are unable to reach a mutually

agreeable resolution, the issue will be brought to the attention of the MDL 2740 Court, which

shall have authority to decide the issue after consultation with the jurist in the other

jurisdiction.

        Participating Counsel are prohibited from sharing work product of MDL 2740 with

counsel who are not Participating Counsel.

        Should any counsel who are not Participating Counsel obtain access to or receive the

work product of MDL 2740, that counsel shall be bound by the terms, conditions and

obligations of this Order, and its Exhibits.

III. Common Benefit Work and Expenses – General Rules

        The Court hereby adopts the following rules for the management of timekeeping,

expense reimbursement, and related common benefit issues, and instructs Plaintiffs’ Co-

Liaison Counsel to distribute additional guidelines from time to time as may be necessary to

ensure an efficient common benefit process in this litigation. The recovery of common

benefit attorneys’ fees and expenses will be limited to Participating Counsel, and only as

provided herein.



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       Reimbursement for costs and payment of fees for services of all Participating

Counsel performing functions in accordance with this Order will be set by the Court at a time

and in a manner established by the Court in a separate Order after due notice to all counsel

and a hearing. The standards and procedures set forth in this Order and Exhibits A and B are

to be utilized by every counsel seeking fees or expense reimbursement for the common

benefit.

       Work by attorneys who are hired as contract attorneys will not be compensable for

the common benefit without the prior express authorization of members of the Plaintiffs’

Executive Committee and at rates to be evaluated by the Special Master and ultimately

determined by the Court.

       Only Participating Counsel can do common benefit work or incur expenses for the

common benefit, receive or have access to common benefit work product, and seek common

benefit fees and reimbursement of common benefit expenses. Any attorney who is not

Participating Counsel shall not be entitled to receive any common benefit work product or

make a claim (or recovery) for any common benefit fees and expense reimbursements.

       Participating Counsel shall only be eligible to claim common benefit attorneys' fees

and cost reimbursement under the following conditions: if the time expended, costs incurred,

and activity in question were (a) for the common benefit; (b) appropriately authorized by

members of the Plaintiffs’ Executive Committee, or by any Chair or Co-Chair of a committee

of the Plaintiffs’ Steering Committee; (c) timely and properly submitted under the terms of

this Order; and (d) ultimately approved by this Court.




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       Participating Counsel who seek to recover Court-awarded common benefit attorneys'

fees and expenses in connection with this litigation shall keep a daily, contemporaneous

record of their time and expenses, noting with specificity the amount of time in one tenth

(.1) hour increments, name of attorney/paralegal performing the task, law firm name,

professional level of attorney or paralegal performing the task, a description of the particular

common benefit activity, the appropriate task code, and the name of the Plaintiffs’ Executive

Committee member or Chair or Co-Chair of a committee of the Plaintiffs’ Steering

Committee who authorized the activity in question. All Participating Counsel shall, by the

15th day of each month, submit their time and expenses for the prior month into a platform

to be established by the Time and Expense Committee. No other form of submission for time

and expenses will be accepted. The specific task codes which must be utilized and inputted

into the platform are set forth in Exhibit B attached hereto, but are subject to modification

by the Time and Expense Committee as necessary, the Special Master or by the Court.

       Counsel shall retain original copies of all receipts that are uploaded into the platform.

The Time and Expense Committee shall provide all necessary forms for electronic time and

expense reporting, provide online and webinar training, and provide user information for

access into the platform approximately 14 days after the entry of this Order. A Senior Partner

in each Participating Firm shall also email to the Time and Expense Committee Co-Chairs

(Stan Baudin (sbaudin@pbclawfirm.com) and Palmer Lambert (plambert@gainsben.com)),

a signed affirmation sheet by the 15th of each month attesting to the accuracy of the data they

have uploaded in the time and expense platform for the prior month.

       The required data inputs for monthly expense reporting into the platform shall

include: date expense incurred; name of attorney incurring the expense; law firm name;




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description of the expense; amount of the expense; Executive Committee member or Chair

or Co-Chair of a committee of the Plaintiffs’ Steering Committee who approved the expense,

if approval is required; and a confirmation that the receipt has been attached to the expense

line item inputted on the platform.

       By April 15, 2017, submissions shall be made for all common benefit time and

“Held” expenses incurred from the date the first Motion for Transfer of Actions Pursuant to

28 U.S.C. Section 1407 was filed with the Judicial Panel on Multi-District Litigation, July

22, 2016, through March 31, 2017. The Court recognizes that there may be extraordinary

circumstances in which Participating Counsel may have done significant work for the

common benefit and incurred significant expenses for the common benefit prior to July 22,

2016, and in such event, this common benefit time and expense may be recommended to the

Court to be included as compensable hours and reimbursable expenses. Counsel who believe

that they have expended such extraordinary common benefit time or expense shall also

submit these into the platform by April 15, 2017.

       Any time or expense records submitted more than two (2) months in arrears may not

be considered or included in any compilation of time or expense calculation for the

submitting Participating Counsel and shall be disallowed, except for good cause shown, or

by Court Order.

       The failure to obtain authority to do common benefit work or incur common benefit

expenses (if necessary), or maintain and timely provide such records in accord with this

Order (or any Order supplementing or amending this Order) will be grounds for denial of

common benefit attorneys’ fees or expenses, in whole or in part.

IV. Common Benefit Expense Rules




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       Advanced costs will be deemed as either "Shared" or "Held." Both Shared and Held

Costs are those incurred for the common benefit of the MDL as a whole. Costs exceeding

$1,000 require approval from a member of the Plaintiffs’ Executive Committee or Chair or

Co-Chair of a committee of the Plaintiffs’ Steering Committee, except for air fare. No

individual client-related costs will be considered as Shared or Held Costs.

            a. Shared Costs will be paid out of the Taxotere (Docetaxel) MDL Litigation

               Fund account to be established, which shall be funded by the periodic

               contributions/cash calls established by the Plaintiffs’ Executive Committee.

               The Taxotere (Docetaxel) MDL Litigation Fund account will be administered

               by Pendley, Baudin and Coffin and Gainsburgh, Benjamin, David, Meunier,

               & Warshauer, and monitored by John R. Falgoust, Jr., CPA, DeMonte &

               Falgoust, CPAs, LLC.

            b. Held Costs are those that will be carried by each attorney and incurred in

               connection with common benefit work in MDL 2740. These shall be

               reimbursed as and when determined by the Court.

            c. Plaintiffs’ Co-Liaison Counsel shall prepare and be responsible for

               distributing to Participating Counsel the reimbursement procedures for

               Shared Costs and the forms associated therewith.

   A. Shared Costs

       All costs for the common benefit of MDL 2740 which fall under the following

categories shall be considered Shared Costs and qualify to be submitted and paid directly

from the Taxotere (Docetaxel) MDL Litigation Fund account. Shared Costs include:




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           1.     Court, filing and service costs;

           2.     Deposition and court reporter costs;

           3.     Document Depository: creation, operation, staffing, equipment and

                  administration;

           4.     Plaintiffs’ Co-Liaison Counsel administrative matters approved by a

                  member of the Executive Committee;

           5.     Plaintiffs’ Steering Committee group administration matters such as costs

                  for Plaintiffs’ Steering Committee meetings and conference calls;

           6.     Legal, accounting and vendor fees;

           7.     Expert witness and consultant fees and expenses;

           8.     Common witness expenses, including travel;

           9.     Translation costs;

           10.    Bank or financial institution charges;

           11.    Investigative services;

           12.    Claims Administrator charges;

           13.    Special Master charges; and

           14.    CPA's charges.


       Request for payments from the Taxotere (Docetaxel) MDL Litigation Fund account

must be made on a Shared Expense Reimbursement Form to be provided by Plaintiffs’ Co-

Liaison Counsel, with sufficient information to allow the Plaintiffs’ Executive Committee

and the CPA to account properly for costs and to provide adequate detail to the Special

Master and the Court.




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   B. Held Costs

       Held costs are costs incurred by Participating Counsel that do not fall into the above

Shared Costs categories but are incurred for the common benefit of all plaintiffs in MDL

2740. No specific client-related costs can be considered as Held Costs. Held Costs include

the following which are governed by the Travel and Non-travel limitations set forth below:

           1. Postage, shipping, courier, certified mail;

           2. Printing and photocopying (in-house);

           3. Computerized research - Lexis/Westlaw (actual charges only);

           4. Telephone - long distance (actual charges only);

           5. Travel - pursuant to Travel Limitations set forth below, including travel for

               counsel to attend depositions or court;

           6. Airfare- pursuant to Travel Limitations set forth below;

           7. Reasonable ground transportation- pursuant to Travel Limitations set forth

               below;

           8. Hotel- pursuant to Travel Limitations set forth below;

           9. Reasonable meals; and

           10. Other reasonable and necessary charges such as parking.


   C. Travel Limitations

       Only reasonable expenses for the common benefit submitted by Participating

Counsel will be reimbursed. Participating Counsel shall keep receipts for all expenses. Credit

card receipts or monthly credit or debit card statements are an acceptable form of




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verification. Hotel costs must be proven with the full hotel invoice. The description of

unclaimed expenses on any invoice may be redacted.

       Except in extraordinary circumstances approved in advance by a member of the

Plaintiffs’ Executive Committee, all travel reimbursements are subject to the following

limitations:

          1.   Airfare: Only the price of a full coach fare seat will be reimbursed except for

               international flights Business/First Class airfare, which requires prior written

               approval by a member of the Plaintiffs’ Executive Committee. In the event

               non-coach air travel is utilized, the attorney shall be reimbursed only to the

               extent of the full coach fare, which counsel must contemporaneously

               document in the expense submission. Expenses incurred for upgrades to

               priority seating on a flight will not be reimbursed.

          2.   Hotel: Hotel room charges for the average available room rate of a business

               hotel, including but not limited to the Hyatt, Hilton, Sheraton, Westin, and

               Marriott hotels, in the city in which the stay occurred, will be reimbursed.

               Luxury hotels will not be fully reimbursed, but will be reimbursed at the

               average available rate of a business hotel.

          3.   Meals: Meal expenses must be reasonable and must contain a notation of

               who was present at the meal.

          4.   Cash Expenses: Miscellaneous cash expenses for which receipts generally

               are not available (tips, luggage handling, etc.) will be reimbursed up to

               $20.00 per trip, as long as the expenses are properly itemized.




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         5.      Rental Automobiles: Luxury automobile rentals will not be fully reimbursed,

                 unless only luxury automobiles were available. Counsel must submit

                 evidence of the unavailability of non-luxury vehicles. If luxury automobiles

                 are selected when non-luxury vehicles are available, then the difference

                 between the luxury and non-luxury vehicle rates must be shown on the travel

                 reimbursement form and only the non-luxury rate may be claimed, unless

                 such larger sized vehicle is needed to accommodate several counsel. Any

                 claim for private car service will be reimbursed at the non-luxury rate of a

                 rental vehicle.

          6. Mileage: Mileage claims must be documented by the starting origination point,

                 destination, and total actual miles for each trip, and the reimbursed rate will

                 be the maximum rate allowed by the IRS.

   D. Non-Travel Limitations

              Only reasonable common benefit expenses submitted by Participating Counsel

will be reimbursed.

       Except in extraordinary circumstances approved in advance by a member of the

Plaintiffs’ Executive Committee, all non-travel reimbursements are subject to the following

limitations:

          1.     Long Distance, Conference Call Charges: Common benefit long distance

                 and conference call telephone charges must be documented as a line item

                 on the bill in order to be compensable. Copies of the telephone bills must be

                 submitted with notations as to which charges relate to the Taxotere




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             (Docetaxel) MDL 2740 Litigation. Such charges are to be reported at actual

             cost.

       2.   Shipping, Overnight, Courier, and Delivery Charges: All claimed common

            benefit shipping, overnight, courier, or delivery expenses must be

            documented with bills showing the sender, origin of the package, content

            of the package, recipient, and destination of the package. Such charges are

            to be reported at actual cost.

       3.   Postage Charges: A contemporaneous postage log or other supporting

            documentation must be maintained and submitted for common benefit

            postage charges. Such charges are to be reported at actual cost.

       4.   Telefax: Telefax should not be used and generally will not be reimbursed.

       5.   In-House Photocopy: A contemporaneous photocopy log or other

            supporting documentation must be maintained and submitted. The

            maximum copy charge is $0.15 per page.

       6.   Computerized Research - Lexis/Westlaw: Claims for Lexis or Westlaw, and

            other computerized legal research expenses, should be in the exact amount

            charged to the firm for the common benefit work in this MDL, specify the

            topic of the research, and must be reasonable under the circumstances.

V. Common Benefit Work Rules

      Only previously authorized common benefit work is compensable. Authorized

common benefit work is an assignment made by a member of the Plaintiffs’ Executive

Committee, or by any Chair or Co-Chair of a committee of the Plaintiffs’ Steering




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Committee, subject to the provisions of this Order. Confirmation of such authorization may

be evidenced by an email or by notation in the electronic file sharing system to be utilized

by all Participating Counsel. No time spent on developing or processing individual issues in

any case for an individual client (claimant) will be considered or should be submitted. Time

spent on unauthorized work shall not be submitted or compensated.

       Only Participating Attorneys can submit time for common benefit work. Counsel

who are not Participating Counsel are precluded from doing common benefit work and from

receiving common benefit fees for work done. Only attorneys and paralegals may submit

time, as allowed in this Order. No time for clerical or technical support shall be common

benefit, unless pre-approved by a member of the Plaintiffs’ Executive Committee.

      Examples of authorized and unauthorized work include, but are not limited to:

             a. Attendance at Depositions: Only the time and expenses for Participating

                 Counsel, both first and second chair (and paralegal, if necessary) designated

                 as one of the authorized questioners or otherwise authorized to attend the

                 deposition by a member of the Plaintiffs’ Executive Committee shall be

                 considered common benefit work.

             b. Periodic Plaintiffs’ Steering Committee Conference Calls and meetings:

                 Plaintiffs’ Steering Committee conference calls and meetings are common

                 benefit. Only the Plaintiffs’ Steering Committee member’s time, and that

                 of those invited from time to time by the Plaintiffs’ Executive Committee

                 or Chairs or Co-Chairs of the committees of the Plaintiffs’ Steering

                 Committee to participate in calls and meetings, shall be considered common




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           benefit; however, the Co-Lead or Co-Liaison Counsel may submit as

           common benefit time that of a partner, associate, or paralegal to assist the

           Co-Lead Counsel or Co-Liaison Counsel with their duties. During phone

           calls there is a presumption that only the Plaintiffs’ Steering Committee

           attorney, or his/her designee, will qualify for common benefit time as it is

           expected that each Plaintiffs’ Steering Committee member will attend the

           Plaintiffs’ Steering Committee conference calls and meetings. Multiple

           timekeepers in Participating Counsel’s or Plaintiffs’ Steering Committee

           member’s firm who monitor the Plaintiffs’ Steering Committee Conference

           Calls or meetings will not be considered as doing common benefit work.

        c. Periodic MDL Status Conferences: Plaintiffs’ Steering Committee

           members and other attorneys directed by the Court to appear, are expected

           to attend the MDL status conferences and are working for the common

           benefit and only their time will be considered for common benefit for such

           attendance.

        d. Attendance at Seminars: Attendance at seminars (i.e. AAJ Section

           Meetings, Mass Torts Made Perfect, Harris Martin and similar seminars and

           CLEs) does not qualify as common benefit work or a common benefit

           expense, unless authorized in advance by the Plaintiffs’ Executive

           Committee.

        e. Document Review: Only document review specifically authorized by a

           member of the Plaintiffs’ Executive Committee or its designee and assigned




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           to an attorney (or paralegal previously approved by Plaintiffs’ Executive

           Committee or its designee) will be considered common benefit work. Only

           licensed attorneys or paralegals previously approved by Plaintiffs’

           Executive Committee or its designee may conduct common benefit

           document review. Descriptions associated with "document review" must

           contain sufficient detail to allow those reviewing the submitted time entry

           to generally ascertain what was reviewed. For example, indicating the

           custodian, search query or number of document folders reviewed is the kind

           of description needed.

        f. Review of Pleadings and Orders: Each attorney has an obligation to keep

           themselves informed about the litigation so that they can best represent their

           clients, and review of pleadings and orders is part of that obligation.

           However, the members of the Plaintiff’s Executive Committee are expected

           to review pleadings and orders as part of their work for the common benefit

           and their time will be considered as such. Additionally, those attorneys who

           are working on assignments made by a member of the Plaintiffs’ Executive

           Committee or by any Chair or Co-Chair of a committee of the Plaintiffs’

           Steering Committee which requires them to reasonably review, analyze, or

           summarize certain filings and substantive Orders of this Court in connection

           with their assignments are doing so for the common benefit.

        g. Emails: Except for members of the Plaintiffs’ Executive Committee and

           attorneys working on pre-approved common benefit work, time recorded




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                 for reviewing emails is not compensable unless germane to specific

                 authorized and assigned (as provided herein) task being performed by the

                 receiving or sending attorney that is directly related to that email. Thus, for

                 example, review of an email sent to numerous attorneys to keep them

                 informed on a matter on which they are not specifically working would not

                 be compensable as common benefit work.

             h. Review of Discovery: Each attorney has an obligation to keep themselves

                 informed about the litigation so that they can best represent their clients, but

                 they should review discovery only to the extent required by their individual

                 assignments and responsibility. Those attorneys working on assignments

                 made by a member of the Executive Committee or by a Chair or Co-Chair

                 of a committee of the Plaintiffs’ Steering Committee which require them to

                 reasonably review, analyze, or summarize certain filings and substantive

                 Orders of this Court in connection with their assignments are doing so for

                 the common benefit.

VI. Procedures to be Established by Plaintiffs’ Executive Committee

       Plaintiffs’ Executive Committee will establish forms and procedures to implement

and carry out the time and expense submissions required by this Order and necessary to

compile, review, and maintain the records. As MDL 2740 progresses, there may be

additional forms and procedures implemented by Plaintiffs’ Executive Committee and

distributed to all Participating Counsel regarding time and expense submissions.




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       Questions regarding the guidelines or procedures or the completion of any forms

should be directed to Plaintiffs' Co-Liaison Counsel: Dawn M. Barrios, Barrios, Kingsdorf

& Casteix, LLP, 701 Poydras Street, Suite 3650, New Orleans, LA 70139, Phone: (504) 524-

3300, Fax: (504) 524-3313, or M. Palmer Lambert, Gainsburgh, Benjamin, David, Meunier,

& Warshauer, 2800 Energy Center, 1100 Poydras St., New Orleans, LA 70163, Phone: (504)

522-2304, Fax: (504) 528-9973.

VII. Review of Time and Expenses

       This Court is aware of the disputes that can arise when claims are made for common

benefit fees and costs at the conclusion of an MDL. In an effort to eliminate or, at the very

least, minimize these potential difficulties, this Court will appoint a Special Master under the

authority of Fed. R Civ. P. 53 and the inherent powers of the Court. The Special Master will

have the responsibility for management, oversight, and substantive review of matters related

to and claimed to be common benefit, and, ultimately to make recommendations to the Court

as directed by the Court.

       The purpose of the Special Master’s substantive review is to have time and expenses

accepted or rejected as common benefit as MDL 2740 progresses and not wait for a

substantive review by a fee committee appointed by the Court until nearly the end of the

litigation. It is the Court’s intent to avoid as much as possible any disputes over the

classification of time and expenses as common benefit and the value of same.

       This Time and Expense Special Master will be solely for the Plaintiffs’ benefit so

only the Plaintiffs shall bear the cost of this Special Master’s charges.




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   The procedures to be employed by for the Special Master’s review are as follows:

   a. On a monthly basis Participating Counsel shall submit the time and expenses

      claimed to be common benefit in the manner set forth in this Order.

   b. Approximately every 60 days the Special Master shall review all time and

      expenses submitted in the month since his last review to determine whether the

      time and expenses submitted adhered to the requirements in this Order and

      whether the time and expenses are for the common benefit. The Special Master

      is encouraged to consult with members of the Time and Expense Committee in

      performing this task as the members of the Time and Expense Committee may

      be of assistance in these determinations, as well as attend status conferences, as

      necessary

   c. Should the Special Master discover during his review of time and expenses any

      matter requiring further clarification, attention, or information in order to

      determine whether it is common benefit or whether it is compliant with this

      Order, he shall have the authority to confer ex parte with the counsel who

      submitted the report for the purpose of obtaining the necessary information to

      make the determination of whether all or part of the submission is common

      benefit or compliant with this Order. The Special Master shall also have the

      authority to consult with the Time and Expense Committee and Plaintiffs’

      Executive Committee on any issue.

   d. After consultation with the Time and Expense Committee, Plaintiffs’ Executive

      Committee or any counsel whose submission required additional information, the



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      Special Master shall make a determination classifying each relevant time and

      expense entry in contention as compliant or non-compliant with this Order for

      each month reviewed. If the Special Master disqualifies any time or expense

      submitted, he shall prepare a report and provide it to the Participating Counsel

      affected and the Time and Expense Committee. If the Participating Counsel

      disagrees with the decision of the Special Master, Participating Counsel shall

      have the right to submit the matter to the Court within thirty (30) days after the

      Special Master’s decision and, in that event, the Special Master shall submit his

      report and all relevant documents used in his determination to the Court in

      camera.

   e. The Court shall determine the issues raised and shall issue a report to the Special

      Master, submitting Participating Counsel, the Executive Committee and the Time

      and Expense Committee of the determination.

   f. If after the Special Master makes his determination for any period of time and no

      Participating Counsel submits the Special Master’s determination to the Court,

      the decisions of the Special Master shall not be submitted to the Court at that

      time, but retained by the Special Master. If a Participating Counsel submits the

      Special Master’s determination to the Court to challenge it, the decision of the

      Court becomes final as set forth below. It is the intent of the Court that such

      determinations shall not be re-visited or later challenged.




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   g. Any plaintiff’s counsel with a Taxotere (Docetaxel) case may review the Special

      Master’s conclusions of the months’ time and expenses or, if challenged, ruled

      upon by the Court, upon reasonable request to the Special Master within thirty

      (30) days of the Special Master’s review, if none are challenged, or the Court’s

      ruling if there is a challenge. The Time and Expense Committee will notify every

      Participating Counsel and non-Participating Counsel (by using the information

      provided to the Federal-State Liaison Counsel) that a period’s submissions have

      been made, been reviewed by the Special Master, and if challenged, been ruled

      upon by the Court.

   h. The Special Master has the discretion upon a showing of good cause to allow the

      review of a summary of the Special Master’s actions or the Court’s ruling at a

      time and location convenient and shall charge all expenses, such as the Special

      Master’s fees, to the counsel who seeks review. Any counsel seeking to review

      these decisions shall sign a confidentiality agreement.

   i. If no disagreement is submitted by counsel within thirty (30) days of the Court’s

      determination in accordance with the above paragraphs, the decisions

      determining compliance with this Order and the classification of common benefit

      time and expenses shall be final and no Participating Counsel or non-Participating

      Counsel shall have the right to modify or seek modifications of these decisions.

   j. The Special Master shall meet with the Court at the request of the Court at any

      time to review all matters within the Special Master’s scope of work and shall




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         prepare reports for the Court at the direction of the Court. The time and expenses

         the Special Master or the Court accepts as complying with this Order and as being

         common benefit will be used by the Special Master in any recommendation to

         the Court on matters the Court directs.

      k. This process of submission and substantive review is subject to modification

         should the Special Master make any recommended changes to the Court or should

         the Court issue any additional Orders to supplement or amend this Order.

      l. The Special Master shall confer with the Court appointed Certified Public

         Account regarding the common benefit expenses claimed, as needed.

      m. Any interpretation of this Order shall be guided by the Court’s intent of this Order

         that all common benefit time and expenses periodically approved or rejected by

         the Special Master or Court will be final. This procedure of a review by the

         Special Master done periodically        should eliminate a review of all time and

         expenses at the end of the litigation by a fee committee. The opportunity to review

         the decisions of the Special Master or Court should eliminate a challenge by any

         plaintiffs’ counsel at any point after the relevant thirty (30) day period has

         expired.

      n. The Court retains the sole authority to issue final rulings on all decisions made

         by the Special Master and all decisions regarding common benefit attorneys’ fees

         and expenses.

VIII. Contributions




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       The Plaintiffs’ Steering Committee and Co-Liaison Counsel are ultimately

responsible for the costs related to all matters for the common benefit of the plaintiffs during

the course of MDL 2740. In order to fund these necessary activities, the Plaintiffs’ Steering

Committee, Co-Liaison Counsel, and other Participating Attorneys selected by the Executive

Committee or the Plaintiffs’ Steering Committee must periodically contribute to the Taxotere

(Docetaxel) MDL Litigation Fund account at times and in amounts sufficient to cover the

administration of the MDL, as determined by the Plaintiffs’ Executive Committee. The

amount set as a periodic contribution must be paid within sixty (60) days from the date of

the written notification of the contribution and the amount of the contribution. . Should any

firm fail to contribute its contribution, in whole or in part, within ninety (90) days after the

written notification of the assessment, the Plaintiffs’ Executive Committee has the authority

to impose a prohibition on further work or other appropriate sanctions.

IX. Assessments Withheld for Common Benefit Work and Costs

       A.      Establishing the Fee and Expense Funds and CPA Appointment

       Plaintiffs’ Executive Committee is directed to establish two interest-bearing accounts

to receive and disburse holdback assessments to common benefit attorneys as approved by

the Court. One fund shall be designated the “Taxotere (Docetaxel) Common Benefit Fee

Fund” and the other fund shall be designated the “Taxotere (Docetaxel) Common Benefit

Expense Fund.” These two funds (collectively referred to herein as “Funds”) will be held

subject to the direction of this Court. The Plaintiffs’ Steering Committee has retained and

the Court approves the retention of the accounting firm of DeMonte & Falgoust, L.L.C., and

hereby appoints John R. Falgoust, Jr. as the CPA to assist and provide accounting services




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to the Plaintiffs’ Steering Committee and this Court. The Funds described above shall be

monitored and overseen by the CPA.

         The CPA shall submit quarterly detailed bills for his services to Plaintiffs’ Co-

Liaison Counsel and the Court. Upon approval by the Court, the CPA’s bills shall be paid

from the Taxotere (Docetaxel) MDL Litigation account and shall be considered Shared

Costs.

         The CPA shall maintain and keep detailed records of all deposits and withdrawals in

any account described in this Order, and prepare tax returns and other tax filings in

connection with any account, if needed.

         1. General Standards

         All counsel and plaintiffs who are subject to this Order who agree to settle,

compromise, dismiss, or reduce the amount of a claim or, with or without trial, recover a

judgment for monetary damages or other monetary relief, including compensatory and

punitive damages, with respect to Taxotere (Docetaxel) claims or a Taxotere (Docetaxel)

case, are subject to an assessment on the Gross Monetary Recovery, as provided herein, the

amount subject to Court approval.

         2. Gross Monetary Recovery

         Gross Monetary Recovery includes any and all amounts paid by defendants through

settlement or pursuant to a judgment. In measuring the “Gross Monetary Recovery,” the

parties are to (a) exclude any court costs that are to be paid by the defendant(s), but include

any attorneys’ fee awards under any fee-shifting statute or rule; (b) include any payments to

be made by the defendant(s) to a third party on behalf of the plaintiff; (c) include the present




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value of any fixed and certain payments to be made in the future; and (d) if applicable,

subtract any recovery paid by the plaintiff to a defendant through settlement or pursuant to a

judgment for counterclaim(s) asserted in a Taxotere (Docetaxel) case by a defendant.

         3. Initial Assessment Amounts

         The assessments in this Order represent a holdback (see, e.g., In re Zyprexa Prods.

Liab. Litig., 467 F.Supp.2d 256 (E.D.N.Y. 2006)) and may be altered only upon further

orders of the Court. The obligations in this Section shall follow the case to its final

disposition, including a court having jurisdiction in bankruptcy.

         Defendants shall hold back 1 and set aside for placement into the Taxotere

(Docetaxel) Common Benefit Fee Fund and the Taxotere (Docetaxel) Common Benefit

Expense Fund the amounts in this section, unless otherwise amended by the Court. The Court

is advised that the Plaintiffs’ Steering Committee currently believes that a total assessment

of 8% of the Gross Monetary Recovery recovered by any plaintiff(s) who is/are subject to

this Order for receipt of the common benefit work product and plaintiff(s) counsel’s eventual

compensation of common benefit fees and reimbursement of common benefit expenses is

fair and reasonable under the current circumstances and the law. Of this 8% total assessment,

6 percentage points shall be set aside for eventual payment of Court-approved common

benefit attorneys' fees, and 2 percentage points will be set aside for reimbursement of

common benefit costs approved for reimbursement by the Court. The 8% assessment set


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  In the event any defendant fails to hold back the assessments required by this Order, plaintiffs’ counsel has
an equal duty to pay the appropriate holdback amounts to the Funds. Under all scenarios (except to the extent
the attorney is being paid an hourly rate), the fee assessment shall be paid from the attorney’s portion of the
recovery and shall not be borne by the client.




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forth herein is preliminary in nature and made at the inception of MDL 2740 before any

discovery is done and is subject to revision, upward or downward, pursuant to subsequent

Orders of this Court. Further, the 8% assessment shall not be a final determination of

common benefit fees or expenses to ultimately be paid/reimbursed to plaintiffs’ counsel

performing functions in accordance with this Order; rather, such common benefit payments

for fees and reimbursement for costs, if later supported by evidence of the outcome of the

litigation, the extent of the work performed to achieve whatever the result, the caliber of

counsel doing common benefit work, and the applicable jurisprudence, will later be awarded

and set by the Court at a time and in a manner established by the Court in a separate Order

after due notice to all counsel and a hearing.

        Any case in the MDL 2740 proceeding that is subsequently resolved by settlement

or trial as part of a class action pursuant to Federal Rule of Civil Procedure 23 will not be

subject to this Order; rather in the event of a class action judgment or resolution, a separate

order addressing class counsel fees and costs will be entered.

        B.      Defendants’ Obligations to Pay Common Benefit Assessments

        Pursuant to this Order, Defendants are directed to withhold the assessment amount

set forth herein, unless otherwise amended by the Court from any amounts paid to plaintiffs

and their counsel who are subject to this Order, and to pay the assessment directly into the

Taxotere (Docetaxel) Common Benefit Fee Fund and the Taxotere (Docetaxel) Common

Benefit Expense Fund as a credit against the settlement or judgment of a case or claim subject

to this Order. If, for any reason, the assessment is not or has not been so withheld, the plaintiff

and his counsel are jointly responsible for paying the assessment into the Funds promptly.




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         Plaintiffs’ Co-Liaison Counsel shall provide the Defendants’ Liaison Counsel, the

CPA, and the Court (or its designee) with a list of cases and/or counsel who have signed or

is deemed to have signed the Participation Agreement (Exhibit A) or who are otherwise

subject to this Order on a quarterly basis, beginning July 1, 2017. In the event there is a

dispute as to whether a case or counsel are subject to this Order, the Plaintiffs’ Steering

Committee shall seek to resolve the matter with the particular plaintiff's counsel informally,

and if that is unsuccessful upon motion to the MDL Court.

         Although the settlement amounts are confidential, the settling defendant(s) must

disclose the amounts to the CPA who shall provide Plaintiffs’ Executive Committee at the

appropriate time with written verification that defendant(s) have made full and complete

payments to the appropriate Funds in accordance with this Order and with all procedures

established by the Court. The full and complete payments and the required verification from

the CPA shall discharge defendants’ and defendants’ counsel’s obligations and

responsibilities with respect to the deposited funds, including any disputes between or among

plaintiffs and plaintiffs’ counsel as to the allocation of such funds. Whether case(s) have

been settled and the specifics of any settlement(s), including but not limited to amount(s)

deposited into the appropriate Fund, shall be confidential and shall not be disclosed by the

CPA to Plaintiffs’ Co-Lead Counsel, Plaintiffs’ Co-Liaison Counsel, the Plaintiffs’ Steering

Committee, any other plaintiffs’ lawyer, the Court, the Court’s designee, or to anyone else.

However, it may be provided to the Court or the Court’s designee, and to the Court or its

designee only, should the Court request that information. Monthly statements from the CPA

shall, however, be provided to Plaintiffs’ Co-Lead and Co-Liaison Counsel and the Court




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showing only the aggregate of the monthly deposits, disbursements, interest earned, financial

institution charges, if any, and current balance.

        The CPA shall provide Plaintiffs’ Executive Committee with written verification that

defendants have made full and complete payments to the appropriate Funds in accordance

with this Order and with all procedures established by the Court; however, the CPA shall not

disclose any settlement amounts to anyone, other than to the Court if requested by the Court.

X.      Notice to All Prospective Participating Counsel

        In order to ensure that all prospective Participating Counsel have due notice of the

instant Order, Plaintiffs’ Co-Liaison Counsel are ordered to provide immediate notice of the

instant Order, and any other Order related to common benefit fees, expenses, or procedures,

to all plaintiffs’ counsel in Taxotere (Docetaxel) cases, without regard for whether the case

is filed in federal or state court, so as to provide full notice as to the procedures which will

govern this case.

        THUS DONE AND SIGNED

        New Orleans, Louisiana, this 23rd day of Februaryy 22017.
                                                             017.



                                               KURT D. ENGELHARDT
                                                       ENGELHARDDT
                                               UNITED STATES DIST
                                                                TRICT JUDGE
                                                             DISTRICT




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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


     In Re: TAXOTERE (DOCETAXEL)                                      MDL NO. 2740
            PRODUCTS LIABILITY
            LITIGATION                                                SECTION “N” (5)



               EXHIBIT A TO PRETRIAL ORDER NO. 19
        COMMON BENEFIT, TIME AND EXPENSE RULES, HOLDBACK,
                ASSESSMENTS, AND RELATED ISSUES

                           Common Benefit Participation Agreement


        THIS COMMON BENEFIT PARTICIPATION AGREEMENT is made this ____ day

of _____________, 2017, by and between the Plaintiffs’ Steering Committee and Co-Liaison

Counsel, as appointed by the United States District Court for the Eastern District of Louisiana in

MDL 2740, and _________________________________ [Name of the Attorney and Law Firm

Executing the Agreement] (the “Participating Counsel” or “Participating Firm”), on behalf of all

of his/their clients having claims relating to or arising from Taxotere, whether in the MDL or in

any non-MDL court including cases that are originally filed in or otherwise remanded to state

court, as well as unfiled claims.

        NOW, THEREFORE, in consideration of the covenants and promises contained herein,

and intending to be legally bound hereby, the parties agree as follows:

I.      SCOPE OF AGREEMENT

         A.    Purpose

        This Participation Agreement (the “Agreement”) is a private cooperative agreement

between plaintiffs’ attorneys to share common benefit work product pursuant to the Court’s



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                                                                                       Exhibit “A”
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Pretrial Order No. 19 - Common Benefit, Time and Expense Rules, Holdback, Assessments, and

Related Issues (the “Order”), which is incorporated herein.           By signing this Participation

Agreement, the Participating Counsel and Participating Firm executing this Agreement are

entitled to receive and use common benefit work product, regardless of the venue or jurisdiction

in which Participating Counsel’s cases are pending, or if the claim has not yet been filed.

         B.    Rights and Obligations of Participating Counsel

        Participating Counsel and Participating Firm shall be provided access to the common

benefit work product, including access to the document depository. Participating Counsel and

Participating Firm agree that all Taxotere cases and/or claims in which Participating Counsel or

Participating Firm has any fee interest, including unfiled cases, tolled cases, and/or cases filed in

any state or federal court, are all subject to the terms of this Participation Agreement.

        Participating Counsel and Participating Firm shall produce a list that correctly sets forth

the name of each client represented by him/them or in which he/they have an interest in the attorney

fee, regardless of what that interest is, whether the case if filed or not yet in suit. Such list shall

include the court and docket number of each such case; if the case is not yet filed, the list shall

include the address of the claimant. Participating Counsel and Participating Firm shall supplement

the list on a quarterly basis and provide the list to Co-Liaison Counsel via electronic mail. The

initial list shall be provided within 14 calendar days of signing this Agreement and must be

supplemented every 90 days thereafter.

II.     AGREEMENT TO PAY AN ASSESSMENT ON GROSS RECOVERY

        Subject to the terms of this Agreement and the terms of the Order, Participating Counsel

and Participating Firm who agree to settle, compromise, dismiss, or reduce the amount of a claim,

with or without trial, recover a judgment for monetary damages or other monetary relief, including

compensatory and punitive damages, for any Taxotere claims on behalf of any client are subject
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to an assessment of the Gross Monetary Recovery, as provided herein, regardless of whether

Participating Counsel or Participating Firm has actually accessed or used common benefit work

product at any time.

         A.     Gross Monetary Recovery Defined

        “Gross Monetary Recovery” includes any and all amounts paid to plaintiffs’ and/or their

counsel by defendant(s) through a settlement or pursuant to a judgment. In measuring the Gross

Monetary Recovery, the parties are to (a) exclude court costs to be paid by the defendant(s), but

include any attorneys’ fee awards under any fee-shifting statute or rule; (b) include any payments

to be made by defendant(s) to a third party on behalf of a plaintiff; (c) include the present value

of any fixed and certain payments to be made in the future; and (d) if applicable, subtract any

recovery paid by the plaintiff to defendant(s) through settlement or pursuant to a judgment for

counterclaim(s) asserted by defendant(s).

         B.     Assessment Amount

        This assessment herein represents a holdback (see, e.g., In re Zyprexa Prods. Liab. Litig., 467 F.

Supp. 2d 256 (E.D.N.Y. 2006)). The obligations in this Participation Agreement shall follow all cases or

claims to their final disposition, including a court having jurisdiction in bankruptcy. The assessment rules

shall govern in accordance with the Order as a holdback for placement into the Taxotere Common Benefit

Fee Fund and the Taxotere Common Benefit Expense Fund.

         Regardless of where any case is filed or pending, or if a claim has not yet been filed,        the

 Participating Counsel, Participating Firm and his/their clients hereby agree to be bound by the assessment

 set by the Court. At the present time that total assessment is 8% of the Gross Monetary Recovery

 by the Participating Counsel or Participating Firm for each client. Of this 8% total assessment,

 6% shall be paid by the attorney for attorneys' fees from the individual law firm’s fee percentage

 with the client and 2% will be paid by the client for reimbursement of costs from the client’s


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 recovery. Participating Counsel, Participating Firm and his/their clients believe the assessment

 and holdback is fair and reasonable under the circumstances and the law.

        The 8% assessment set forth in the Order and this Participation Agreement is preliminary

in nature and made at the inception of MDL 2740 before any discovery is done, and is subject to

revision, upward or downward, pursuant to subsequent Orders of this Court. Further, the 8%

assessment shall not be a final determination of common benefit fees or expenses to ultimately be

paid/reimbursed to plaintiffs’ counsel performing functions in accordance with this Order; rather,

common benefit assessments, if later supported by evidence, the outcome of the litigation, the

extent of the work performed to achieve whatever the result, the caliber of counsel doing common

benefit work, and the applicable jurisprudence, may later be awarded in the same or in a different

amount and set by the Court at a time and in a manner established by the Court in a separate Order

after due notice to all counsel and a hearing.

        In the event any defendant fails to hold back the assessments required by this Participation

Agreement, Participating Counsel and Participating Firm must pay the appropriate holdback amounts to the

Taxotere Common Benefit Fee Fund and the Taxotere Common Benefit Expense Fund. Under all scenarios

the fee assessment shall be paid from the Participating Attorney’s portion of the recovery and shall not be

borne by Participating Attorney’s client.

         C.      Covered Cases

        By signing this Agreement, the Participating Counsel and Participating Firm agree that the

assessment percentages set forth above or those ultimately set by the Court shall apply to all of Participating

Counsel and Participating Firm’s cases wherever filed or pending or claims not yet filed. in which he/they

have a fee interest, regardless of the size of that fee interest, and that the assessment percentages for MDL

Counsel set forth in the Court’s Order will apply to all Participating Counsel’s and Participating Firm’s

cases in any federal or state court or unfiled claims.



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          D.     Attorneys’ Fee Lien

         With respect to each client represented in connection with Taxotere related claims that are filed or

pending in any federal or state court, are un-filed, or are subject to a tolling agreement, Participating Counsel

and Participating Firm agree to have defendants deposit or cause to be deposited in the Taxotere Common

Benefit Fee Fund and Taxotere Common Benefit Expense Fund established by the District Court in MDL

2740, a percentage of the Gross Monetary Recovery recovered by each such client that is equal to the

assessment amount ultimately approved by the Court. In the event defendants do not deposit the assessed

percentage into the Funds, Participating Counsel and Participating Firm shall deposit or cause to be

deposited in the Taxotere Common Benefit Fee Fund and Taxotere Common Benefit Expense Fund a

percentage of the Gross Monetary Recovery recovered by each such client that is equal to the assessment

amount ultimately approved by the Court. Participating Counsel, on behalf of themselves, their firms, their

affiliated counsel, and their clients, hereby grant and convey to Plaintiffs’ Steering Committee and Co-

Liaison Counsel a lien upon and/or a security interest in any fee generated as a result of any recovery by

any client who they represent in connection with any Taxotere-related claims and any claims they have

any interest in, to the full extent permitted by law, in order to secure payment in accordance with the

provisions of this Agreement and the Court’s Order. Participating Counsel and Participating Firm will

undertake all actions and execute all documents are reasonably necessary to effectuate and/or perfect this

lien and/or security interest.

III.     OTHER PROVISIONS

         It is the intention of the MDL 2740 that Participating Counsel’s and the Participating Law

Firm’s payment of these funds as described above be in full and final satisfaction of any present

or future obligation on the part of each.

         In accordance with the Orders of the Court in the MDL 2740 Proceeding, the amounts

deposited in the Taxotere Common Benefit Fee Fund and Taxotere Common Benefit Expense Fund will

be available for distribution to Participating Counsel who have performed common benefit work

                                                       5
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or incurred common benefit expenses pursuant to the Order. Such sums will be distributed only

upon an Order of the Court in the MDL 2740, after full consideration by the Court, with notice

and a hearing. Appropriate consideration will be given to the experience, talent, and contribution

made by all of those authorized to perform common benefit work and incur common benefit

expenses.

       Upon execution of this Participation Agreement, MDL 2740 Co-Liaison Counsel will

provide to Participating Counsel and Participating Law Firm, to the extent developed, access to

the common benefit work product. If the Court in MDL 2740 rules that a Participating Counsel or

Participating Law Firm is not authorized to be a Participating Counsel or Participating Firm, then

this Agreement shall be null and void and no access to common benefit work product will be

permitted.

       A Participating Counsel or Participating Law Firm will have access to the following

resources, for use on behalf of their plaintiff cases:

               a.      Research and testing information and other expert discovery materials

                       relevant to the various issues alleged in MDL 2740;

               b.      Legal research and memoranda on legal issues relevant to the various issues

                       alleged in MDL 2740;

               c.      Deposition database of all discovery depositions related to the MDL 2740

                       litigation;

               d.      Transcript database of trial and court proceedings to the extent permissible;

               e.      Any MDL 2740 trial package as it is developed or assistance with trial-

                       related matters;

               f.      Any other non-confidential or privileged work product of the Plaintiffs


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                        Steering Committee; and

                g.      the Document Depository set up and maintained by the Plaintiffs Steering

                        Committee.

        This Agreement shall apply to each and every client who is a plaintiff in a Taxotere action

in which Participating Counsel or Participating Law Firm has a right or claim to a fee.

        Participating Counsel and Participating Law Firm understand and agree that by entering

into the Participation Agreement, Participating Counsel and Participating Law Firm and its clients

are bound by, and may not withdraw from, the Participation Agreement, provided they satisfy the

requirements for Participating Counsel under the Order.

        The MDL 2740 Court shall have exclusive and continuing jurisdiction to adjudicate any

unresolved dispute arising under this Agreement.



        I _______________________ [name of attorney] hereby represent that I have the authority to

execute this Agreement on behalf of my law firm, ___________________________ [insert name of law

firm], and on behalf of all of my Taxotere clients. I hereby represent that I have the authority to bind my

law firm and all of my Taxotere clients to the terms of this Participation Agreement.


By: __________________________________
Attorney at Participating Law Firm authorized to sign for
Participating Law Firm and clients listed on Exhibit 1
[Attorney Name and Law Firm Name and Address]


Dated: _______________________________




                                                    7
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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                      MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION                                                SECTION “N” (5)




             EXHIBIT B TO PRETRIAL ORDER NO. 19
      COMMON BENEFIT TIME AND EXPENSE RULES, HOLDBACK,
              ASSESSMENTS, AND RELATED ISSUES

                                Litigation Task Categories

The following Litigation Task Codes/Categories are to be used to identify all tasks performed:

Task Code             Litigation Category

    01.               Administration (data and file management)
    02.               ESI
    03.               Document Review
    04.               Legal Research
    05.               Pleadings, Briefs & Pretrial Motions
    06.               Written Discovery
    07.               Deposition Prep/Take/Defend
    08.               Experts/Consultants
    09.               Case Vetting/Bellwether
    10.               Trial Preparation and Trial
    11.               Court Appearances/Arguments before the Court
    12.               Status Conference Attendance
    13.               Litigation Strategy & Analysis
    14.               Settlement
    15.               Travel
    16.               Committee Meetings or Calls
    17.               PEC / Liaison Counsel Duties
    18.               Pre-MDL Common Benefit Work
    19.               Appeal




                                              1
                                                                                 Exhibit “B”
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


  In Re: TAXOTERE (DOCETAXEL)                                       MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION                                                 SECTION “N” (5)

  THIS DOCUMENT RELATES TO:
  ALL CASES


                               PRETRIAL ORDER NO. 20
                   [Appointment of Kenneth W. DeJean as Special Master]

       On February 13, 2017, this Court entered “Pretrial Order No. 17,” advising all counsel of

record of the Undersigned’s intent to appoint Kenneth W. DeJean as Special Master for the

purposes set forth in Section VII of the Common Benefit Order. See Pretrial Order No. 19, Rec.

Doc. 262. All parties having had notice that the Court was considering the appointment of a special

master in this matter, and having had an opportunity to be heard and make suggestions and

objections concerning the naming of the special master,

       IT IS ORDERED that Kenneth W. DeJean is hereby appointed as Special Master herein,

pursuant to Rule 53 of the Federal Rules of Civil Procedure;

       IT IS FURTHER ORDERED that the Special Master shall be responsible for all purposes

set forth in Section VII of the Common Benefit Order (Pretrial Order No. 19, Rec. Doc. 262) and

any other duties later assigned by the Court;

       IT IS FURTHER ORDERED that the Special Master shall be responsible for, and shall

have the authority to engage appropriate support personnel to assist in carrying out his duties as

Special Master;
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       IT IS FURTHER ORDERED that the Special Master may communicate ex parte with

the Court or with the plaintiff attorneys, without providing notice to the attorneys or the parties;

       IT IS FURTHER ORDERED that all recommendations to the Court rendered by the

Special Master shall be in writing and shall be submitted to the Court;

       IT IS FURTHER ORDERED that the Special Master’s decisions will be done and

reviewed in the manner described in in Section VII of the Common Benefit Order (Pretrial Order

No. 19, Rec. Doc. 262).

       IT IS FURTHER ORDERED that the Special Master shall maintain those records upon

which he bases his recommendations at his office, which is located at 417 W. University Avenue,

Lafayette, LA 70506, or on the platform established by the PSC for entry of common benefit time

and expenses, and shall make those records available for inspection as provided in the Common

Benefit Order;

       IT IS FURTHER ORDERED that the Special Master shall be invested with all powers

incidental to the accomplishment of his duties as outlined above;

       IT IS FURTHER ORDERED that the Special Master shall proceed with all reasonable

diligence in accomplishing the above; and

        IT IS FINALLY ORDERED that the Special Master and his staff shall be compensated

 by the Plaintiffs’ Steering Committee (PSC) at the following rates: Special Master Kenneth W.

 DeJean: $400.00 per hour; paralegals: $50.00 per hour, all of which charges shall be billed on a

 monthly basis, except that the in-state travel charges of the Spe
                                                               Special
                                                                peci
                                                                pec al Master shall not be billed.

       New Orleans, Louisiana, this 23rd        February,
                                      rd day of Feb
                                                 ebru
                                                 ebr arry, 2017.

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                                              KURT D. ENGELHARDT
                                                      ENGELHAR ARRDT  T
                                              UNITED STATES DISTRICT
                                                               DISTRIR CT
                                                                     RI C JUDGE
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                                                          EXHIBIT A
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                                                        EXHIBIT B
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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                             MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                        SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                                PRETRIAL ORDER NO. 21
                              (3/6/17 Liaison Counsel Meeting)

       On March 6, 2017, the Court held a meeting with Plaintiffs’ Liaison Counsel, Palmer

Lambert, and Defendants’ Liaison Counsel, Douglas Moore. During the meeting, the Court

discussed with counsel the topics listed on the attached agenda. IT IS ORDERED that:

       (1) Defendants shall submit a proposal to the court regarding the appointment of

          Defendants’ Liaison Counsel for the 505(b)(2) Defendants by Friday, March 10,

          2017.

       (2) Defendants shall submit a proposed order designating counsel who will attend each of

          the Plaintiffs’ Steering Committee meetings, which take place prior to each status

          conference, by Wednesday, March 15, 2017.

       (3) Liaison counsel shall confer and submit to the Court a proposed order regarding the

          streamlined service of non-Sanofi Defendants within twenty (20) days.

       (4) Liaison counsel shall confer and submit a proposed briefing schedule to the Court

          regarding jurisdictional motions, i.e. motions to remand.




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  (5) Liaison counsel shall confer regarding the possible dates offered by the Court for

     “Science Day,” which include Wednesday, April 19, 2017 or Wednesday, May 3, 2017.

  New Orleans, Louisiana, this 7th day of March, 2017.




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                                             KURT D. EN
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                                                           LHHAR
                                                      ENGELHARDT  RDT
                                             UNITED STATES DISTRICT
                                                              DISTSTRICT JUDGE
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                  March 6, 2017 Meeting of Liaison Counsel Agenda


1.      Filing of State Court Cases by PSC
        a. City of St. Louis
        b. Delaware
        c. California


2.      MDL Centrality Order and PFS/DFS Implementation Order


3.      Disclosure of Third-Party Funding by Plaintiffs


4.      Voluntary Dismissal of Claims/Potential Order


5.      Lack of Product Identification/Filing of Cases Not Properly Vetted


6.      Settlement Counsel Meeting – March 7, 2017 (NYC)


7.      Service on All Defendants Per Court Order/Appearance of Counsel/ Waivers of Service-
        Streamlined Service


8.      Defendants’ Liaison Counsel for 505(b)(2) Defendants


9.      Science Day


10.     Status of ESI




                                                1
                                                                               Exhibit “A”
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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                  MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                             SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                                  PLAINTIFF FACT SHEET

        This Fact Sheet must be completed by each plaintiff who has filed a lawsuit related to the
use of Taxotere® by the plaintiff or a plaintiff’s decedent. Please answer every question to the best
of your knowledge. In completing this Fact Sheet, you are under oath and must provide information
that is true and correct to the best of your knowledge. If you cannot recall all of the details
requested, please provide as much information as you can. You must supplement your responses
if you learn that they are incomplete or incorrect in any material respect..

        In filling out this form, please use the following definitions: (1) “healthcare provider”
means any hospital, clinic, medical center, physician’s office, infirmary, medical or diagnostic
laboratory, or other facility that provides medical, dietary, psychiatric, or psychological care or
advice, and any pharmacy, weight loss center, x-ray department, laboratory, physical therapist or
physical therapy department, rehabilitation specialist, physician, psychiatrist, osteopath,
homeopath, chiropractor, psychologist, nutritionist, dietician, or other persons or entities involved
in the evaluation, diagnosis, care, and/or treatment of the plaintiff or plaintiff’s decedent; (2)
“document” means any writing or record of every type that is in your possession, including but
not limited to written documents, documents in electronic format, cassettes, videotapes,
photographs, charts, computer discs or tapes, and x-rays, drawings, graphs, phone-records, non-
identical copies, and other data compilations from which information can be obtained and
translated, if necessary, by the respondent through electronic devices into reasonably usable form.

        Information provided by plaintiff will only be used for purposes related to this
litigation and may be disclosed only as permitted by the protective order in this litigation.
This Fact Sheet is completed pursuant to the Federal Rules of Civil Procedure governing
discovery (or, for state court case, the governing rules of civil of the state in which the case
is pending).

I. CASE INFORMATION

Attorney Information

               Please provide the following information for the civil action that you filed:


                                                 1

                                                                                               Exhibit “A”
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               1. Caption:                                                             ______

               2. Court and Docket No.:

               3. MDL Docket No. (if different):                                       ______

               4. Date Lawsuit Filed:

               5. Plaintiff’s Attorney:

               6. Attorney’s Address:

               7. Attorney’s Phone Number:

               8. Attorney’s Email Address:

Plaintiff Information

               Please provide the following information for the individual on whose behalf this
               action was filed:

               9. Name:_________________________________________________________

               10. Street Address:                                                     ______

               11. City:__________________________________________________________

               12. State:

               13. Zip code:                         ______

               14. Date of Birth:

               15. Place of Birth:            ____________

               16. Social Security Number:

               17. Maiden or other names you have used or by which you have been known:

                  _______________________________________________________________

               18. Sex: Male: ‫ ܆‬Female: ‫܆‬

               19. Race:

                                         Race                     ‫܆‬
                        American Indian or Alaska Native          ‫܆‬
                        Asian                                     ‫܆‬


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                                      Race                          ‫܆‬
                    Black or African American                       ‫܆‬
                    Native Hawaiian or Other Pacific Islander       ‫܆‬
                    White                                           ‫܆‬


              20. Ethnicity:

                                    Ethnicity                       ‫܆‬
                    Hispanic or Latino                              ‫܆‬
                    Not Hispanic or Latino                          ‫܆‬


              21. Primary Language:         __________________________________________

Representative Information

              If you are completing this questionnaire in a representative capacity (e.g., on
              behalf of the estate of a deceased person), please state the following:

              22. Name:_________________________________________________________

              23. Address:                                                                   ______

              24. Capacity in which you are representing the individual:___________________

              25. If you were appointed as a representative by a court, identify the State, Court
                  and Case Number:

                     a) State:______________________

                     b) Court:_____________________

                     c) Case Number:_______________

              26. Relationship to the Represented Person:_______________________________

              27. State the date of death of the decedent:_______________________________

              28. State the place of death of the decedent:_______________________________

              29. Are you filling this questionnaire out on behalf of an individual who is
                  deceased and on whom an autopsy was performed? Yes ‫ ܆‬No‫܆‬




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If you are completing this questionnaire in a representative capacity, please respond to these
questions with respect to the person whose medical treatment involved Taxotere® or Docetaxel.

II. PERSONAL INFORMATION

Relationship Information

              1. Are you currently: Married: ‫ ܆‬Single: ‫ ܆‬Engaged: ‫ ܆‬Significant other: ‫܆‬
                 Divorced: ‫ ܆‬Widowed: ‫ ܆‬Same sex partner: ‫܆‬

              2. Have you ever been married? Yes ‫ ܆‬No‫܆‬

              3. If yes, for EACH marriage, state the following:

                                                            Date
                                                  Date of                   Nature of
                       Spouse’s Name                      Marriage
                                                 Marriage                  Termination
                                                           Ended
                                                                                 
                                                                                 
                                                                                 
Education

              4. For each level of education you completed, please check below:

              High School: ‫܆‬                    Vocational School: ‫܆‬

              College: AA: ‫ ܆‬BA/BS: ‫ ܆‬Masters: ‫ ܆‬PhD: ‫ ܆‬M.D.: ‫ ܆‬Other:

Employment
              5. Are you currently employed? Yes ‫ ܆‬No‫܆‬

              6. If yes, state the following:

                     a) Current employer name:_____________________________________

                     b) Address:_________________________________________________

                     c) Telephone number:_________________________________________

                     d) Your position there:________________________________________

              7. Are you making a claim for lost wages or lost earning capacity? Yes ‫ ܆‬No‫܆‬

              8. Only if you are asserting a wage loss claim, please state the following for EACH
                 employer for the last seven (7) years:



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                                                                            Annual
                        Name of           Address of          Dates of                   Your
                                                                             Gross
                        Employer          Employer           Employment                 Position
                                                                            Income
                                                                                           
                                                                                           
                                                                                           

              9. Have you ever been out of work for more than thirty (30) days for reasons
                 related to your health in the last seven (7) years? Yes ‫ ܆‬No‫܆‬

              10. If yes, please state the following:

                      Name of Employer               Dates         Health Reason




       YOU MUST ATTACH TAX RETURNS, EMPLOYMENT AUTHORIZATIONS, AND
       IDENTIFY THE LOSS OF CONSORTIUM PLAINTIFF’S EMPLOYERS IF
       CLAIMING LOST WAGES OR LOST EARNING CAPACITY DAMAGES.

Worker’s Compensation and Disability Claims

              11. Within the last ten (10) years, have you ever filed for workers’ compensation,
                  social security, and/or state or federal disability benefits? Yes ‫ ܆‬No‫܆‬

              12. If yes, then as to EACH application, please state the following:

                    Year Claim                       Nature of Claimed     Period of    Award
                                       Court
                      Filed                               Injury           Disability   Amount
                                                                                         
                                                                                         
                                                                                         

Military Service

              13. Have you ever served in any branch of the military? Yes ‫ ܆‬No‫܆‬

              14. If yes, state the branch and dates of service:

                            Branch                Dates of Service




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               15. If yes, were you discharged for any reason relating to your health (whether
                   physical, psychiatric, or other health condition)? Yes ‫ ܆‬No‫܆‬

               16. If yes, state the condition:__________________________________________

Other Lawsuits


               17. Within the last ten (10) years, have you filed a lawsuit, relating to any bodily
                   injury, or made a claim, OTHER THAN the present suit? Yes ‫ ܆‬No ‫܆‬


Computer Use

               18. Apart from communications to or from your attorney, have you
                   communicated via email, visited any chat rooms, or publicly posted a
                   comment, message or blog entry on a public internet site regarding your
                   experience with or injuries you attribute to Taxotere®, other chemotherapies,
                   or alopecia/hair loss during the past ten (10) years? You should include all
                   postings on public social network sites including Twitter, Facebook,
                   MySpace, LinkedIn, or “blogs” that address the topics above. Yes ‫ ܆‬No‫܆‬

               19. If yes, please state the following:

                                            Screen Name or           Date of
                       Forum Name                                                     Substance of Post
                                             User Handle              Post
                                                                                  
                                                                                               
                                                                                               

               20. Are you now or have you ever been a member of an alopecia support group?
                   Yes ‫ ܆‬No‫܆‬

                       a) If yes, identify the group by name:_____________________________

                       b) When did you join the group?_________________________________

III.PRODUCT IDENTIFICATION

      I HAVE RECORDS DEMONSTRATING USE OF TAXOTERE® OR OTHER
                       DOXETAXEL: Yes ‫ ܆‬No‫܆‬

      YOU MUST UPLOAD THEM BEFORE YOU SUBMIT THIS FACT SHEET

Taxotere®
               1. Were you treated with brand name Taxotere®? Yes ‫ ܆‬No ‫ ܆‬Unknown ‫܆‬


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Other Docetaxel
             2. Were you treated with another Docetaxel or generic Taxotere®? Yes ‫ ܆‬No‫܆‬

                   3. If yes, select all that apply:

                                  Name of Drug
                         Docetaxel – Winthrop                   ‫܆‬
                         Docetaxel – Teva Pharms USA            ‫܆‬
                         Docetaxel – Dr. Reddy’s Labs Ltd.      ‫܆‬
                         Docetaxel – Eagle Pharms               ‫܆‬
                         Docetaxel – Actavis Inc.               ‫܆‬
                         Docetaxel – Pfizer Labs                ‫܆‬
                         Docetaxel – Sandoz                     ‫܆‬
                         Docetaxel – Accord Healthcare          ‫܆‬
                         Docetaxel – Apotex Inc.                ‫܆‬
                         Docetaxel – Hospira Inc.               ‫܆‬
                         Docefrez – Sun Pharma Global           ‫܆‬
                         Unknown                                ‫܆‬

                   4. IF YOU SELECTED “UNKNOWN” YOU MUST CERTIFY AS
                      FOLLOWS:

                       I certify that I have made reasonable, good faith efforts to identify the
                       manufacturer of the Docetaxel used in my treatment, including
                       requesting records from my infusion pharmacy, and the manufacturer
                       either remains unknown at this time or I am awaiting the records: ‫܆‬

IV. MEDICAL INFORMATION

Vital Statistics

                   1. How old are you:_________________________________________________

                   2. Age at the time of your alleged injury:________________________________

                   3. Current weight:__________________________________________________

                   4. Current height:

                       Feet:_______________        Inches:_______________

                   5. Weight at time of alleged injury:____________________________________

Gynecologic and Obstetric History

                   6. Have you ever been pregnant? Yes ‫ ܆‬No ‫܆‬

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               a) Number of pregnancies:________

               b) Number of live births:_________

        7. If you have children, please state the following for EACH child:

                    Child’s Name              Address        Date of Birth




        8. Date of first period (menses):_________          Age:_________

        9. Date of last period (menses): _________          Age:_________

        10. Are you menopausal, perimenopausal or postmenopausal? Yes ‫ ܆‬No‫܆‬

        11. For EACH year for the last seven (7) years before your first treatment with
            Taxotere® or Docetaxel and since then, who did you see for your annual
            gynecological exam? Also indicate whether an annual exam was skipped or
            missed.

                                                                               Skipped or
                      Doctor                Office            Year
                                                                                 Missed
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬

        12. For EACH year after age 40, or before then if applicable, who did you see for
            your annual mammogram? Also indicate whether an annual mammogram was
            skipped or missed.

                                                                              Skipped or
                      Doctor                Office            Year
                                                                                Missed
                                                                                  ‫܆‬
                                                                                  ‫܆‬
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                                                                                  ‫܆‬
                                                                                  ‫܆‬
                                                                                  ‫܆‬
                                                                                  ‫܆‬

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Other Risk Factors

               13. Have any family members been diagnosed with breast cancer?

                          Family Member          Diagnosed       Age at Diagnosis
                     Mother                         ‫܆‬
                     Sister                         ‫܆‬
                     Daughter                       ‫܆‬
                     Paternal grandmother           ‫܆‬
                     Maternal grandmother           ‫܆‬

               14. Have you ever been diagnosed as having genes or gene mutations that carry an
                   increased cancer risk (e.g., BRCA1, BRCA2)? Yes ‫ ܆‬No‫܆‬

                       a) If yes, which?                                          ____________

               15. Did you receive radiation treatments or exposure to radiation before the age of
                   30? Yes ‫ ܆‬No‫܆‬

                       a) If yes, describe the particulars of your treatment or exposure:
                          _________________________________________________________

Tobacco Use History

For the ten (10) year period before your use of Taxotere® or Docetaxel up to the present, check
the answer and fill in the blanks applicable to your history of tobacco use, including cigarettes,
cigars, pipes, and/or chewing tobacco/snuff.

               16. I currently use tobacco: Yes ‫ ܆‬No‫܆‬

               17. I have never used tobacco: Yes ‫ ܆‬No‫܆‬

               18. I used tobacco in the ten (10) years before Taxotere® or Docetaxel treatment:
                   Yes ‫ ܆‬No‫܆‬

               19. Identify types of tobacco use:

                                                                               Duration of
                              Type              Used     Average Per Day
                                                                               Use (Years)
                      Cigarettes                     ‫܆‬                             
                      Cigars                         ‫܆‬                             
                      Pipes                          ‫܆‬                             
                      Chewing tobacco/snuff          ‫܆‬                             




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Prescription Medications

              20. Apart from chemotherapy, are there prescription or over-the-counter
                  medications that you took on a regular basis or more than three (3) times in
                  the seven (7) year period before you first took Taxotere®? Yes ‫ ܆‬No ‫܆‬

                 For purposes of this question, “regular basis” means that you were directed by
                 a healthcare provider to take a medication for at least forty-five (45)
                 consecutive days.

              21. If yes, please provide the following for EACH prescription medication:

                           Medication                 Prescriber               Dates Taken




V. CANCER DIAGNOSIS AND TREATMENT

Cancer Diagnosis & Treatment Generally

              1. Have you ever been diagnosed with cancer? Yes ‫ ܆‬No‫܆‬

              2. Were you diagnosed with cancer more than once? Yes ‫ ܆‬No‫܆‬

              3. Did you undergo any of the following for cancer? 

                        Treatment           Treated
                    Surgery                   ‫܆‬
                    Radiation                 ‫܆‬
                    Chemotherapy              ‫܆‬

              4. For surgery, specify:

                         Type of Surgery           Treated
                    Double mastectomy                ‫܆‬
                    Left-side mastectomy             ‫܆‬
                    Right-side mastectomy            ‫܆‬
                    Lumpectomy                       ‫܆‬
                    Other:_________________          ‫܆‬

              5. Please state the following for EACH cancer diagnosis:




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Type of Cancer
Date of Diagnosis
                     Name:
                     Address:
Primary Oncologist
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Primary Oncologist
                     Dates of Treatment:
                     Treatment:
                     Name:
Primary Oncologist   Address:
                     Dates of Treatment:
                     Name:
                     Address:
Treatment Facility
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Treatment Facility
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Treatment Facility
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Treatment Facility
                     Dates of Treatment:
                     Treatment:


Type of Cancer
Date of Diagnosis
                     Name:
                     Address:
Primary Oncologist
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Primary Oncologist
                     Dates of Treatment:
                     Treatment:




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 Type of Cancer
 Date of Diagnosis
                         Name:
                         Address:
 Primary Oncologist
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:

Particulars of Chemotherapy

              6. When were you first diagnosed with the condition for which you were
                 prescribed Taxotere® or Docetaxel?__________________________________

              7. What was the diagnosis for which you were prescribed Taxotere® or
                 Docetaxel?

                              Diagnosis             Diagnosed
                     Breast cancer                     ‫܆‬
                     Non-small cell lung cancer        ‫܆‬
                     Prostate cancer                   ‫܆‬
                     Gastric adenocarcinoma            ‫܆‬
                     Head and neck cancer              ‫܆‬
                     Other:_________________           ‫܆‬

              8. For breast cancer, specify:

                      a) Tumor size: 

                                         Tumor Size                   Yes
                            TX                                        ‫܆‬

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                     T0                                           ‫܆‬
                     Tis                                          ‫܆‬
                     T1                                           ‫܆‬
                     T2                                           ‫܆‬
                     T3                                           ‫܆‬
                     T4 (T4a, T4b, T4c, T4d)                      ‫܆‬

               b) Metastasis:

               c) Node involvement:

                                     Node                            Yes
              Node + NX                                              ‫܆‬
              Node + N0                                              ‫܆‬
              Node + N1                                              ‫܆‬
              Node + N2                                              ‫܆‬
              Node + N3                                              ‫܆‬
              Node – (negative)                                      ‫܆‬

               d) HER2: + (positive): ‫ ܆‬- (negative): ‫܆‬

               e) Estrogen receptor: Positive (ER+): ‫ ܆‬Negative (ER-): ‫܆‬

               f) Progesterone receptor: Positive (PR+): ‫ ܆‬Negative (PR-): ‫܆‬

        9. Was Taxotere® or Docetaxel the only chemotherapy treatment that you ever
           received? Yes ‫ ܆‬No‫ ܆‬Unknown ‫܆‬

        10. Have you ever been treated with other chemotherapy drugs, either alone or in
            combination with or sequentially with Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬
            Unknown ‫܆‬

        11. If yes, check which of the following chemotherapy drugs you took:
            
                                 Drug                       Yes
               5-Fluorouracil (Eludex)                       ‫܆‬
               Actinomycin                                   ‫܆‬
               Altretamine (Hexalen)                         ‫܆‬
               Amsacrine                                     ‫܆‬
               Bleomycin                                     ‫܆‬
               Busulfan (Busulfex, Myleran)                  ‫܆‬
               Cabazitaxel: Mitoxantrone                     ‫܆‬
               Carboplatin (Paraplatin)                      ‫܆‬

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                               Drug                   Yes
            Carmustine (BiCNU, Gliadel)               ‫܆‬
            Cetuximab (Erbitux)                       ‫܆‬
            Chlorambucil (Leukeran)                   ‫܆‬
            Cisplatin (Platinol)                      ‫܆‬
            Cyclophosphamide (Neosar)                 ‫܆‬
            Cytarabine (Depocyt)                      ‫܆‬
            Dacarbazine                               ‫܆‬
            Daunorubicin (Cerubidine, DaunoXome)      ‫܆‬
            Doxorubicin (Adriamycin, Doxil)           ‫܆‬
            Epirubicin (Ellence)                      ‫܆‬
            Erlotinib (Tarceva)                       ‫܆‬
            Etoposide (Etopophos, Toposar)            ‫܆‬
            Everolimus (Afinitor, Zortress)           ‫܆‬
            Faslodex (Fulvestrant)                    ‫܆‬
            Gemcitabine (Gemzar)                      ‫܆‬
            Hexamethylmelamine (Hexalen)              ‫܆‬
            Hydroxyurea (Hydrea, Droxia)              ‫܆‬
            Idarubicin (Idamycin)                     ‫܆‬
            Ifosfamide (Ifex)                         ‫܆‬
            L-asparginase (crisantaspase)             ‫܆‬
            Lomustine (Ceenu)                         ‫܆‬
            Melphalan (Alkeran)                       ‫܆‬
            Mercaptopurine (Purinethol, Purixan)      ‫܆‬
            Methotrexate (Trexall, Rasuvo)            ‫܆‬
            Mitomycin                                 ‫܆‬
            Mitoxantrone                              ‫܆‬
            Nab-paclitaxel (Abraxane): Mitoxantrone   ‫܆‬
            Nitrogen mustard                          ‫܆‬
            Paclitaxel (Taxol)                        ‫܆‬
            Panitumumab (Vectibix)                    ‫܆‬
            Procarbazine (Matulane)                   ‫܆‬
            Sorafenib (Nexavar)                       ‫܆‬
            Teniposide (Vumon)                        ‫܆‬
            Thioguanine (Tabloid)                     ‫܆‬
            Thiotepa (Tepadina)                       ‫܆‬
            Topotecan (Hycamtin)                      ‫܆‬
            Vemurafenib (Zelboraf)                    ‫܆‬
            Vinblastine                               ‫܆‬
            Vincristine (Mariqibo, Vincasar)          ‫܆‬

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                                  Drug                        Yes
              Vindesine                                       ‫܆‬
              Vinorelbine (Alocrest, Navelbine)               ‫܆‬
              Unknown                                         ‫܆‬

        12. Please provide the following information regarding Taxotere® or Docetaxel:

               a) Number of cycles:

               b) Frequency: Every week ‫ ܆‬Every three weeks ‫ ܆‬Other:____________

               c) First treatment date:________

               d) Last treatment date:________

               e) Dosage:______________

                       (1) Combined with another chemotherapy drug: ‫܆‬

                       (2) Sequential with another chemotherapy drug: ‫܆‬

                       (3) If so, describe the combination or sequence:

        13. Prescribing Physician(s):

                    Prescribing Physician                      Address
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:

        14. Treatment Facility:

                      Treatment Facility                       Address
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:
                                                    Street:

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                                                               City:
                                                               State:
                                                               Zip:
                                                               Street:
                                                               City:
                                                               State:
                                                               Zip:

                 15. Identify EACH state where you resided when you began and while taking
                     Taxotere® or Docetaxel:

                                   State                  From Date             To Date




                 16. Was your Taxotere® or Docetaxel treatment part of a clinical trial? Yes ‫ ܆‬No
                     ‫ ܆‬Unknown ‫܆‬

                 17. If yes, please provide the name and location of the trial site:

                        a) Name of trial site:__________________________________________

                        b) Location of trial site:________________________________________

VI. CLAIM INFORMATION

Current Status

                 1. Are you currently taking Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

                 2. Are you currently cancer-free? Yes ‫ ܆‬No‫܆‬

                 3. If no, check those that apply to your CURRENT status:
                    
                                      Current Status                   Yes
                       In remission                                     ‫܆‬
                       Currently receiving chemotherapy                 ‫܆‬
                       Currently receiving radiation therapy            ‫܆‬
                       Currently hospitalized for cancer or cancer-
                                                                        ‫܆‬
                       related complications
                       Currently in home health or hospice care for
                                                                        ‫܆‬
                       cancer or cancer-related complications
                       Cancer returned after taking Taxotere® or
                                                                        ‫܆‬
                       Docetaxel


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                 4. When was the last (most recent) date you consulted with an oncologist:_____

Alleged Injury

                 5. State the injury you allege in this lawsuit and the dates between which you
                    experienced the alleged injury. Check all that apply:

                                            Alleged Injury                      Yes   No From To
                       Persistent total alopecia – No hair growth on your head                
                       or body after six (6) months of discontinuing Taxotere® ‫܆‬      ‫܆‬
                       or Docetaxel treatment
                       Persistent alopecia of your head – No hair growth on                          
                       your head after six (6) months of discontinuing
                                                                                ‫܆‬      ‫܆‬
                       Taxotere® or Docetaxel treatment. Hair is present
                       elsewhere on your body
                       Permanent/Persistent Hair Loss on Scalp                  ‫܆‬      ‫܆‬            
                       Diffuse thinning of hair: partial scalp                                       
                               ‫܆‬Top
                               ‫܆‬Sides
                                                                                ‫܆‬     ‫܆‬
                               ‫܆‬Back
                               ‫܆‬Temples
                               ‫܆‬Other:_____________________________
                       Diffuse thinning of hair: total scalp                                         
                               ‫܆‬Top
                               ‫܆‬Sides
                                                                                ‫܆‬     ‫܆‬
                               ‫܆‬Back
                               ‫܆‬Temples
                               ‫܆‬Other:_____________________________
                       Significant thinning of the hair on your head after six                       
                       (6) months of discontinuing Taxotere® or Docetaxel
                                                                                ‫܆‬     ‫܆‬
                       treatment – There are visible bald spots on your head
                       no matter how you style your hair
                       Moderate thinning of the hair on your head after six (6)                      
                       months of discontinuing Taxotere® or Docetaxel
                                                                                ‫܆‬     ‫܆‬
                       treatment – There is noticeable hair loss but if you
                       brush or style your hair, the hair loss is less evident
                       Small bald area in the hair on your head                 ‫܆‬     ‫܆‬            
                       Large bald area in the hair on your head                 ‫܆‬     ‫܆‬            
                       Multiple bald spots in the hair on your head             ‫܆‬     ‫܆‬            
                       Change in the texture, thickness or color of your hair                        
                                                                                ‫܆‬     ‫܆‬
                       after Taxotere® or Docetaxel treatment
                       Other:______________________________________             ‫܆‬     ‫܆‬            
                       Permanent/Persistent Loss of Eyebrows                    ‫܆‬     ‫܆‬            
                       Permanent/Persistent Loss of Eyelashes                   ‫܆‬     ‫܆‬            

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                                      Alleged Injury                Yes              No From To
                   Permanent/Persistent Loss of Body Hair           ‫܆‬               ‫܆‬      
                   Permanent/Persistent Loss of Genital Hair        ‫܆‬               ‫܆‬      
                   Permanent/Persistent Loss of Nasal Hair          ‫܆‬               ‫܆‬      
                   Permanent/Persistent Loss of Ear Hair            ‫܆‬               ‫܆‬      
                   Permanent/Persistent Loss of Hair in Other Areas                          
                                                                    ‫܆‬               ‫܆‬
                   Describe:_____________________________________

             6. Have you ever received treatment for the injury you allege in this lawsuit? Yes
                ‫ ܆‬No‫܆‬

                        Name of Treating Physician       Dates of Treatment         Treatments
                                                                                         
                                                                                         
                                                                                         

             7. Were you diagnosed by a healthcare provider for the injury you allege in this
                lawsuit? Yes ‫ ܆‬No‫܆‬

                        Name of Treating Physician       Dates of Treatment         Treatments
                                                                                         
                                                                                         
                                                                                         

             8. Have you discussed with any healthcare provider whether Taxotere® or Docetaxel
                caused or contributed to your alleged injury? Yes ‫ ܆‬No‫܆‬

                   Name of Treating Physician            Dates of Treatment         Treatments
                                                                                         
                                                                                         
                                                                                         

Statement Information

             9. Were you ever given any written instructions, including any prescriptions,
                packaging, package inserts, literature, medication guides, or dosing
                instructions, regarding chemotherapy, Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

             10. If yes, please describe the documents, if you no longer have them. If you have
                 the documents, please produce them:
                     
                                                                   I Have the     I Do Not Have
                            Description of Document
                                                                   Documents     the Documents
                                                                       ‫܆‬                 ‫܆‬

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                                                            I Have the       I Do Not Have
                       Description of Document
                                                            Documents        the Documents
                                                                ‫܆‬                  ‫܆‬
                                                                ‫܆‬                  ‫܆‬

        11. Were you given any oral instructions from a healthcare provider regarding
            chemotherapy or your use of Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

        12. If yes, please identify each healthcare provider who provided the oral
            instructions:

                    Name of Healthcare Provider




        13. Have you ever seen any advertisements (e.g., in magazines or television
            commercials) for Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

        14. If yes, identify the advertisement or commercial, and approximately when you
            saw the advertisement or commercial:

                                                                Date of Advertisement or
                 Type of Advertisement or Commercial
                                                                      Commercial




        15. Other than through your attorneys, have you had any communication, oral or
            written, with any of the Defendants or their representatives? Yes ‫ ܆‬No‫܆‬

        16. If yes, please identify:

                  Date of                Method of        Name of       Substance of
               Communication           Communication    Representative Communication




        17. Have you filed a MedWatch Adverse Event Report to the FDA? Yes ‫ ܆‬No‫܆‬

YOU MUST UPLOAD NOW ANY MEDICAL RECORDS IN YOUR POSSESSION
DEMONSTRATING ALLEGED INJURY OR PHOTOGRAPHS SHOWING YOUR




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   HAIR BEFORE AND AFTER TREATMENT WITH TAXOTERE® ALONG WITH
   THE DATE(S) THE PHOTOGRAPHS WERE TAKEN.

Other Claimed Damages

            18. Mental or Emotional Damages: Do you claim that your use of Taxotere® or
                Docetaxel caused or aggravated any psychiatric or psychological condition?
                Yes ‫ ܆‬No‫܆‬

            19. If yes, did you seek treatment for the psychiatric or psychological condition?
                Yes ‫ ܆‬No‫܆‬

                         Provider                   Date                  Condition




            20. Medical Expenses: Do you claim that you incurred medical expenses for the
                alleged injury that you claim was caused by Taxotere® or Docetaxel? Yes ‫܆‬
                No‫܆‬

            21. If yes, list all of your medical expenses, including amounts billed or paid by
                insurers and other third-party payors, which are related to any alleged injury
                you claim was caused by Taxotere® or Docetaxel:

                         Provider                   Date                   Expense




            22. Lost Wages: Do you claim that you lost wages or suffered impairment of
                earning capacity because of the alleged injury that you claim was caused by
                Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

            23. If yes, state the annual gross income you earned for each of the three (3) years
                before the injury you claim was caused by Taxotere® or Docetaxel.

                          Year                    Annual Gross Income




            24. State the annual gross income for every year following the injury or condition
                you claim was caused by Taxotere® or Docetaxel.




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                            Year                    Annual Gross Income




               25. Out-of-Pocket Expenses: Are you making a claim for lost out-of-pocket
                   expenses? Yes ‫ ܆‬No‫܆‬

               26. If yes, please identify and itemize all out-of-pocket expenses you have
                   incurred:

                                Expense                 Expense Amount




VII.     HAIR LOSS INFORMATION

Background
               1. Did you ever see a healthcare provider for hair loss BEFORE taking
                  Taxotere® or Docetaxel? Yes ‫ ܆‬No ‫܆‬

               2. Did your hair loss begin during chemotherapy treatment? Yes ‫ ܆‬No‫܆‬

               3. If yes, did you FIRST experience hair loss:

                      a) After treatment with another chemotherapy agent: ‫܆‬

                      b) After treatment with Taxotere® or Docetaxel: ‫܆‬

               4. At any time before or during the hair loss were you:

                                Condition                  Yes           Description
                     Pregnant                               ‫܆‬
                     Seriously ill                          ‫܆‬
                     Hospitalized                           ‫܆‬
                     Under severe stress                    ‫܆‬
                     Undergoing treatment for any
                                                           ‫܆‬
                     other medical condition

               5. When did you FIRST discuss with or see a healthcare provider about your hair
                  loss? BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

               6. Have you started any special diets at any time before or during the hair loss?
                  Yes ‫ ܆‬No ‫ ܆‬Describe:___________________________________________


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Hair Loss History

                                                                                     Name of Healthcare
                                  Question                           No       Yes
                                                                                         Provider
            Have you had a biopsy of your scalp to evaluate          ‫܆‬        ‫܆‬
            your hair loss problem?
            Have you had blood tests done to evaluate your hair      ‫܆‬        ‫܆‬
            loss problem?
            Have your hormones ever been checked to evaluate         ‫܆‬        ‫܆‬
            your hair loss problem?
            Have you ever been told by a doctor that you have a      ‫܆‬        ‫܆‬
            thyroid condition?
            Have you ever been treated with thyroid hormone?         ‫܆‬        ‫܆‬
            Have you ever been told by a doctor that you have a      ‫܆‬        ‫܆‬
            low iron level?

              7. Have you ever been on endocrine or hormonal therapy, either before or after
                 chemotherapy with Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

              8. If yes, please identify:

                                                    Dates of
                        Treating Physician                               Treatment
                                                   Treatment




              9. Do you have any autoimmune diseases? Yes ‫ ܆‬No‫܆‬

              10. If yes, check the following which describes you:

                          Autoimmune Disease             Yes
                    Lupus                                 ‫܆‬
                    Rheumatoid arthritis                  ‫܆‬
                    Celiac disease                        ‫܆‬
                    Type 1 diabetes                       ‫܆‬
                    Sjogrens disease                      ‫܆‬
                    Vitiligo                              ‫܆‬
                    Hashimoto’s                           ‫܆‬
                    Other:_____________________           ‫܆‬


              11. Were you taking any medications when your hair loss began? Yes ‫ ܆‬No‫܆‬



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                            Medication



Hair Care

            12. How often do you wash/shampoo your hair? Every ______ days

            13. Check any of the following that apply to you currently or that have in the past:
                   




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                                                     Period of
                     Hair Treatment            Yes                      Frequency
                                                       Time
                                                                 ‫܆‬Never
            Hair chemically processed or                         ‫܆‬Once a week
            straightened (relaxers, keratin,                     ‫܆‬2-3 times a week
                                               ‫܆‬         
            Brazilian blowout, Japanese                          ‫܆‬Once a month
            straightening, other)                                ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
            Hair heat processed or
                                                                 ‫܆‬2-3 times a week
            straightened (blow drying/ flat    ‫܆‬         
            ironing, curling)                                    ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Hair dyed                          ‫܆‬         
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Hair highlighted                   ‫܆‬         
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Braids                             ‫܆‬         
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Weaves                             ‫܆‬        
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year




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                                                                          ‫܆‬Never
                                                                          ‫܆‬Once a week
                                                                          ‫܆‬2-3 times a week
                      Tight hairstyles (ponytails)    ‫܆‬        
                                                                          ‫܆‬Once a month
                                                                          ‫܆‬Once every 1-2 months
                                                                          ‫܆‬A few times a year
                                                                          ‫܆‬Never
                                                                          ‫܆‬Once a week
                                                                          ‫܆‬2-3 times a week
                      Extensions                      ‫܆‬        
                                                                          ‫܆‬Once a month
                                                                          ‫܆‬Once every 1-2 months
                                                                          ‫܆‬A few times a year
                                                                          ‫܆‬Never
                                                                          ‫܆‬Once a week
                                                                          ‫܆‬2-3 times a week
                      Other:_____________________     ‫܆‬        
                                                                          ‫܆‬Once a month
                                                                          ‫܆‬Once every 1-2 months
                                                                          ‫܆‬A few times a year

             14. Have you ever used the following?
                    
                                Hair Treatment                      Yes
                  WEN Cleansing Conditioners                         ‫܆‬
                  Unilever Suave Professionals Keratin
                                                                    ‫܆‬
                  Infusion
                  L’Oréal Chemical Relaxer                          ‫܆‬

             15. Has your hair care regimen been different in the past? Yes ‫ ܆‬No‫܆‬

                       a) If yes, describe:____________________________________________

Hair Loss Treatment

             16. Did you use any other methods to prevent hair loss during chemotherapy?

                                    Hair Treatment                  Yes
                      Folic Acid supplementation                     ‫܆‬
                      Minoxidil                                      ‫܆‬
                      Other:___________________________              ‫܆‬

             17. Did you wear a cool cap during chemotherapy treatment? Yes ‫ ܆‬No‫܆‬

             18. If yes, which cooling cap did you wear: ______________________________

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              19. Have you used any over-the-counter medications, supplements, or cosmetic
                  aides for your hair loss? Yes ‫ ܆‬No‫܆‬

              20. If yes, please state the following:

                                                        When was     How long did
                             Treatment                                                  Did it help?
                                                         it tried?    you try it?
                                                                                    ‫܆‬Yes
                                                                           
                                                                                    ‫܆‬No
                                                                                    ‫܆‬Yes
                                                                           
                                                                                    ‫܆‬No
                                                                                    ‫܆‬Yes
                                                                           
                                                                                    ‫܆‬No

              21. Has anything helped your hair loss? Yes ‫ ܆‬No‫܆‬

              22. If yes, please specify:

                                                         Dates of     Place of
                          Type of Product                                           Results of Use
                                                          Use         Purchase
                                                                          
                                                                                   
                                                                                   

              23. As of the date you verify your PFS, how long have you had alopecia or
                  incomplete hair re-growth?_________________________________________

              24. Has any hair regrowth occurred? Yes ‫ ܆‬No‫܆‬

              25. Have you ever worn a wig to conceal your hair loss? Yes ‫ ܆‬No‫܆‬

              26. Specify:

                                                                        Place
                         Dates Used            Period of Use                            Cost of Item
                                                                      Purchased
                                                                           
                                                                                   
                                                                                   

VIII. RECORD HOLDER IDENTIFICATION

Healthcare Providers:




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                1. Identify each physician, doctor, or other healthcare provider who has provided
                   treatment to you for any reason in the past eight (8) years and the reason for
                   consulting the healthcare provider or mental healthcare provider.

YOU MUST INCLUDE YOUR ONCOLOGIST, RADIOLOGIST, DERMATOLOGIST,
DERMATOLOGIST-PATHOLOGIST, HAIR LOSS SPECIALIST, GYNECOLOGIST,
OBSTETRICIAN, AND PRIMARY CARE PHYSICIAN, ALONG WITH ANY OTHER
HEALTHCARE PROVIDERS IDENTIFIED ABOVE

                                                                                      Reason for
      Name           Area or Specialty        Address                Dates
                                                                                     Consultation




Hospitals, Clinics, and Other Facilities:


                2. Identify each hospital, clinic, surgery center, physical therapy or rehabilitation
                   center, or other healthcare facility where you have received inpatient or outpatient
                   treatment (including emergency room treatment) in the past eight (8) years:


YOU MUST INCLUDE THE LOCATIONS FOR SURGERIES, RADIOLOGY,
IMAGING, BIOPSIES, CHEMOTHERAPY, CHILD BIRTHS, GYNECOLOGIC
PROCEDURES OR TREATMENT, ALONG WITH ANY OTHER HEALTHCARE
FACILITIES

         Name                     Address                Dates            Reason for Treatment




Laboratories:

                3. Identify each laboratory at which you had tests run in the past ten (10) years:

      Name                Address               Dates                Test          Reason for Tests




Pharmacies:

                4. To the best of your recollection, Identify each pharmacy, drugstore, and/or other
                   supplier (including mail order) where you have had prescriptions filled or from


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                   which you have ever received any prescription medication within three (3) years
                   prior to and three (3) years after your first treatment with Taxotere:

         Name                    Address                   Dates                 Medications




Retailers:

                5. Identify each pharmacy, drugstore, and/or other retailer (including mail order)
                   where you have purchased over-the-counter medications, or hair products in the
                   past ten (10) years:

         Name                    Address                   Dates                  Purchases




Insurance Carriers:

                6. Identify each health insurance carrier which provided you with medical coverage
                   and/or pharmacy benefits for the last ten (10) years:

                                           Name of Insured                              Dates of
      Carrier              Address                               Policy Number
                                              & SSN                                     Coverage




IX. DOCUMENT REQUESTS AND AUTHORIZATIONS

   Please state which of the following documents you have in your possession. If you do not have
   the following documents but know they exist in the possession of others, state who has
   possession of the documents: Produce all documents in your possession (including writings on
   paper or in electronic form) and signed authorizations and attach a copy of them to this PFS.

Requests
                       
                                                                             If No, who has the
                   Type of Document(s)                        Yes    No
                                                                                document(s)?
 Documents you reviewed to prepare your answers to
 this Plaintiff Fact Sheet.
 Your attorney may withhold some documents on claims          ‫܆‬       ‫܆‬
 of attorney-client privilege or work product protection
 and, if so, provide a privilege log


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                                                                        If No, who has the
                 Type of Document(s)                         Yes   No
                                                                           document(s)?
Medical records or other documents related to the use
of Taxotere® or Docetaxel at any time for the past           ‫܆‬     ‫܆‬
twelve (12) years.
Medical records or other documents related to your
treatment for any disease, condition or symptom
                                                             ‫܆‬     ‫܆‬
referenced above for any time in the past twelve (12)
years.
Laboratory reports and results of blood tests performed
                                                             ‫܆‬     ‫܆‬
on you related to your hair loss.
Pathology reports and results of biopsies performed on
you related to your hair loss.
Plaintiffs or their counsel must maintain the slides
                                                             ‫܆‬     ‫܆‬
and/or specimens requested in this subpart, or send a
preservation notice, copying Defendants, to the
healthcare facility where these items are maintained.
Documents reflecting your use of any prescription drug
or medication at any time within the past eight (8)          ‫܆‬     ‫܆‬
years.
Documents identifying all chemotherapy agents that
                                                             ‫܆‬     ‫܆‬
you have taken.
Documents for any workers' compensation, social
security or other disability proceeding at any time          ‫܆‬     ‫܆‬
within the last five (5) years.
Instructions, product warnings, package inserts,
handouts or other materials that you were provided or        ‫܆‬     ‫܆‬
obtained in connection with your use of Taxotere®.
Advertisements or promotions for Taxotere®.                  ‫܆‬     ‫܆‬
Articles discussing Taxotere®.                               ‫܆‬     ‫܆‬
Any packaging, container, box, or label for Taxotere®
or Docetaxel that you were provided or obtained in
connection with your use of Taxotere®.                       ‫܆‬     ‫܆‬
Plaintiffs or their counsel must maintain the originals of
these items.
Documents which mention Taxotere® or Docetaxel or
any alleged health risks related to Taxotere®.
Your attorney may withhold some legal documents,
documents provided by your attorney, or documents
                                                             ‫܆‬     ‫܆‬
obtained or created for the purpose of seeking legal
advice or assistance on claims of attorney-client
privilege or work product protection and, if so, provide
a privilege log.
Documents obtained directly or indirectly from any of
                                                             ‫܆‬     ‫܆‬
the Defendants.


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                                                                      If No, who has the
                 Type of Document(s)                       Yes   No
                                                                         document(s)?
Communications or correspondence between you and
                                                           ‫܆‬     ‫܆‬
any representative of the Defendants.
Photographs, drawing, slides, videos, recordings,
DVDs, or any other media that show your alleged            ‫܆‬     ‫܆‬
injury or its effect in your life.
Journals or diaries related to the use of Taxotere® or
Docetaxel or your treatment for any disease, condition
                                                           ‫܆‬     ‫܆‬
or symptom referenced above at any time for the past
twelve (12) years.
Social media or internet posts to or through any site
(including, but not limited to, Facebook, MySpace,
LinkedIn, Google Plus, Windows Live, YouTube,
                                                           ‫܆‬     ‫܆‬
Twitter, Instagram, Pinterest, blogs, and Internet chat
rooms/message boards) relating to Taxotere® or
Docetaxel or any of your claims in this lawsuit.
If you claim you have suffered a loss of earnings or
earning capacity, your federal tax returns for each of
the five (5) years preceding the injury you allege to be
caused by Taxotere® or Docetaxel, and every year           ‫܆‬     ‫܆‬
thereafter or W-2s for each of the five (5) years
preceding the injury you allege to be caused by
Taxotere® or Docetaxel, and every year thereafter.
If you claim any medical expenses, bills from any
physician, hospital, pharmacy or other healthcare          ‫܆‬     ‫܆‬
providers.
Records of any other expenses allegedly incurred as a
                                                           ‫܆‬     ‫܆‬
result of your alleged injury.
If you are suing in a representative capacity, letters
                                                           ‫܆‬     ‫܆‬
testamentary or letters of administration.
If you are suing in a representative capacity on behalf
of a deceased person, decedent’s death certificate         ‫܆‬     ‫܆‬
and/or autopsy report.
Photographs of you that are representative of your hair
composition before treatment with Taxotere® or             ‫܆‬     ‫܆‬
Docetaxel.
Photographs of you that are representative of your hair
composition during treatment with Taxotere® or             ‫܆‬     ‫܆‬
Docetaxel.
Photographs of you that are representative of your hair
composition six months after conclusion of treatment       ‫܆‬     ‫܆‬
with Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
                                                           ‫܆‬     ‫܆‬
composition in present day.


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                                                                            If No, who has the
                Type of Document(s)                         Yes     No
                                                                               document(s)?
Signed authorizations for medical records related to any
cancer treatment identified herein and all pharmacy
records from three (3) years before and three (3) years      ‫܆‬      ‫܆‬
after your first treatment with Taxotere in the forms
attached hereto.

X. DECLARATION

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that all of the information
      provided in connection with this Plaintiff Profile Form is true and correct to the best of my
      knowledge information and belief at the present time.

________________________                    ___________________
Signature                                   Date

XI. AUTHORIZATIONS

      See QH[WSDJHIRU$XWKRUL]DWLRQV




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                            LIMITED AUTHORIZATION TO DISCLOSE HEALTH INFORMATION
                      Pursuant to the Health Insurance Portability and Accountability Act "HIPAA" of 4/14/03
                        (Excluding Psychiatric, Psychological, and Mental Health Treatment Notes/Records)

TO:
Patient Name:
DOB:
SSN:

                  I, _____________________ , hereby authorize you to release and furnish to: Shook Hardy & Bacon LLP, Keogh Cox &
Wilson Ltd., Ulmer & Berne LLP, Greenberg Traurig LLP, Wheeler Trigg O’Donnell LLP, Adams and Reese LLP, Chaffe McCall LLP,
Quinn Emanuel Urquhart & Sullivan LLP, Morrison & Foerster LLP, Leake & Anderson LLP, Hinshaw & Culbertson LLP, Kirkland &
Ellis LLP and/or their duly assigned agents, copies of the following records and/or information from the time period of twelve (12) years
prior to the date on which the authorization is signed:

* All medical records, including inpatient, outpatient, and emergency room treatment, all clinical charts, reports, documents,
  correspondence, test results, statements, questionnaires/histories, office and doctor's handwritten notes, and records received by other
  physicians. Said medical records shall include all information regarding AIDS and HIV status.
* All autopsy, laboratory, histology, cytology, pathology, radiology, CT Scan, MRI, echocardiogram and cardiac catheterization reports.
* All radiology films, mammograms, myelograms, CT scans, photographs, bone scans,
  pathology/cytology/histology/autopsy/immunohistochemistry specimens, cardiac catheterization videos/CDs/films/reels, and
  echocardiogram videos.
* All pharmacy/prescription records including NDC numbers and drug information handouts/monographs.
* All billing records including all statements, itemized bills, and insurance records.
**Notwithstanding the broad scope of the above disclosure requests, the undersigned does not authorize the disclosure of notes or
records pertaining to psychiatric, psychological, or mental health treatment or diagnosis as such terms are defined by HIPAA, 45
CFR §164.501.

1. To my medical provider: this authorization is being forwarded by, or on behalf of, attorneys for the defendants for the
purpose of litigation. You are not authorized to discuss any aspect of the above-named person's medical history, care,
treatment, diagnosis, prognosis, information revealed by or in the medical records, or any other matter bearing on his or her
medical or physical condition, unless you receive an additional authorization permitting such discussion. Subject to all
applicable legal objections, this restriction does not apply to discussing my medical history, care, treatment, diagnosis,
prognosis, information revealed by or in the medical records, or any other matter bearing on my medical or physical condition
at a deposition or trial.

2. I understand that the information in my health record may include information relating to sexually transmitted disease, acquired
immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV).

3. I understand that I have the right to revoke this authorization at any time. I understand that if I revoke this authorization I must do so
in writing and present my written revocation to the health information management department. I understand the revocation will not
apply to information that has already been released in response to this authorization. I understand the revocation will not apply to my
insurance company when the law provides my insurer with the right to contest a claim under my policy. Unless otherwise revoked, this
authorization will expire in one year.

4. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this authorization. I need not
sign his form in order to assure treatment. I understand I may inspect or copy the information to be used or disclosed as provided in CFR
164.524. I understand that any disclosure of information carries with it the potential for an unauthorized re-disclosure and the
information may not be protected by federal confidentiality rules. If I have questions about disclosure of my health information, I can
contact the releaser indicated above.

5. A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an original.

Print Name:                                             (plaintiff/representative)


Signature: ______________________________________ Date


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                    LIM ITED AUTHORIZATIO N TO DISCLO SE EM PLOYM ENT
                      RECORDS AND INFORM ATION (HIPAA COM PLIANT
                     AUTHORIZATION FO RM PURSUANT TO 45 CFR 164.508)

T O:
         Name of Employer



         Address, City State and Zip Code

RE:      Employee Name:                                                    AKA:
         Date of Birth: ________________________ Social Security Number:

         Address:

I authorize the limited disclosure of my employment records including medical information protected by HIPAA,
45 CFR 164.508, for the purpose of review and evaluation in connection with a legal claim.

This authorization only authorizes release of records and/or information from the time period of seven (7)
years prior to the date on which this authorization is signed. I expressly request that all entities identified
above disclose full and complete records from the time period of seven (7) years prior to the date on which this
authorization is signed, including the following:

This will authorize you to furnish copies of all applications for employment; resumes; records of all positions
held; job descriptions of positions held; wage and income statements and/or compensation records; wage
increases and decreases; evaluations, reviews and job performance summaries; W-2s; employee health files, and
correspondence and memoranda regarding the undersigned.



I authorize you to release the information to:



Name (Records Requestor)



Street Address                                                 City                                 State and Zip Code

I intend that this authorization shall be continuing in nature. If information responsive to this authorization is created,
learned or discovered at any time in the future, either by you or another party, you must produce such information to
the Records Requestor at that time.

I acknowledge the right to revoke this authorization by writing to you at the above referenced address. However, /
understand that any actions already taken in reliance on this authorization cannot be reversed, and my revocation
will not affect those actions. Any facsimile, copy or photocopy of the authorization shall authorize you to release
the records herein.




Signature of Employee or Personal Representative           Date         Name of Employee or Personal Representative



Description of Personal Representative's Authority to Sign for Employee (attach documents that show authority)




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                               LIMITED AUTHORIZATION FOR
                                  RELEASE OF WORKERS'
                                 COMPENSATION RECORDS


To:
                       Name


                       Address


                       City, State and Zip Code

       This will authorize you to furnish copies of any and all workers' compensation records
of any sort for any workers’ compensation claims filed within the last ten (10) years,
including, but not limited to, statements, applications, disclosures, correspondence, notes,
settlements, agreements, contracts or other documents, concerning:


                                           Name of Claimant

 whose date of birth is ______________and whose social security number is



       You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.



        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code


        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.




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        This authorization shall be considered as continuing in nature and is to be given full force
and effect to release information of any of the foregoing learned or determined after the date hereof.
It is expressly understood by the undersigned and you are authorized to accept a copy or photocopy
of this authorization with the same validity as through the original had been presented to you.


Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                       LIMITED AUTHORIZATION FOR RELEASE OF
                             DISABILITY CLAIMS RECORDS



To:
                        Name


                        Address


                        City, State and Zip Code


        This will authorize you to furnish copies of any and all records of disability claims of any
sort for any disability claim(s) filed within the last ten (10) years, including, but not limited to,
statements, applications, disclosures, correspondence, notes, settlements, agreements, contracts or
other documents, concerning:

                                            Name of Claimant

 whose date of birth is ______________and whose social security number is


        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.
        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.


        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code




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        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.



Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                                      FOR RELEASE OF
                                 HEALTH INSURANCE RECORDS


To:
                        Name


                        Address


                        City, State and Zip Code

        This will authorize you to furnish copies of any and all insurance claims applications and
benefits, and all medical, health, hospital, physicians, nursing or allied health professional reports,
records or notes, invoices and bills, in your possession that pertain to the named insured identified
below. This authorization only authorizes release of Health Insurance records and/or
information from the time period of ten (10) years prior to the date on which this authorization
is signed.

                                            Name of Claimant

 whose date of birth is ______________and whose social security number is
        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.

        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code




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        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.
        This authorization is not valid unless the record requestor named above has executed the
acknowledgement at the bottom of this authorization.
        This authorization shall be considered as continuing in nature and is to be given full force and
effect to release information of any of the foregoing learned or determined after the date hereof. It is
expressly understood by the undersigned and you are authorized to accept a copy or photocopy of
this authorization with the same validity as through the original had been presented to you.



Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                                LIMITED AUTHORIZATION TO DISCLOSE PSYCHIATRIC,
                    PSYCHOLOGICAL AND/OR MENTAL HEALTH TREATMENT NOTES/RECORDS
                   (Pursuant to the Health Insurance Portability and Accountability Act "HIPAA" of 4/14/03)

TO:
Patient Name:
DOB:
SSN:

         I, ________________________ , hereby authorize you to release and furnish to: Shook Hardy & Bacon LLP, Keogh Cox &
         Wilson Ltd., Ulmer & Berne LLP, Greenberg Traurig LLP, Wheeler Trigg O’Donnell LLP, Adams and Reese LLP, Chaffe
         McCall LLP, Quinn Emanuel Urquhart & Sullivan LLP, Morrison & Foerster LLP, Leake & Anderson LLP, Hinshaw &
         Culbertson LLP, Kirkland & Ellis LLP and/or their duly assigned agents, copies of the following records and/or information
         from the time period of ten (10) years prior to the date on which the authorization is signed:

     x   All “psychotherapy notes”, as such term is defined by the Health Insurance Portability and Accountability Act, 45 CFR
         §164.501. Under HIPAA, the term “psychotherapy notes” means notes recorded (in any medium) by a health care provider
         who is a mental health professional documenting or analyzing the contents of conversations during a private counseling session
         or a group, joint or family counseling session and that are separated from the rest of the individual’s record. This authorization
         does not authorize ex parte communication concerning same.

1. To my medical and/or mental health provider: this authorization is being forwarded by, or on behalf of, attorneys for the
defendants for the purpose of litigation. You are not authorized to discuss any aspect of the above-named person's medical
history, mental health history, care, treatment, diagnosis, prognosis, information revealed by or in the medical or mental
health records, or any other matter bearing on his or her medical, psychological, or physical condition, unless you receive
an additional authorization permitting such discussion. Subject to all applicable legal objections, this restriction does not
apply to discussing my medical history, mental health history, care, treatment, diagnosis, prognosis, information revealed
by or in the medical or mental health records, or any other matter bearing on my medical, psychological, or physical
condition at a deposition or trial.

2. I understand that the information in my health record may include information relating to sexually transmitted disease, acquired
immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV). It may also include information about behavioral or
mental health services, and treatment for alcohol and drug abuse.

3. I understand that I have the right to revoke this authorization at any time. I understand that if I revoke this authorization I must do
so in writing and present my written revocation to the health information management department. I understand the revocation will
not apply to information that has already been released in response to this authorization. I understand the revocation will not apply to
my insurance company when the law provides my insurer with the right to contest a claim under my policy. Unless otherwise revoked,
this authorization will expire in one year.

4. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this authorization. I need
not sign his form in order to assure treatment. I understand I may inspect or copy the information to be used or disclosed as provided
in CFR 164.524. I understand that any disclosure of information carries with it the potential for an unauthorized re-disclosure and the
information may not be protected by federal confidentiality rules. If I have questions about disclosure of my health information, I can
contact the releaser indicated above.

5.   A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an original.

Print Name: ____________________________________ (plaintiff/representative)

Signature: ______________________________________ Date ________________




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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


 In Re: TAXOTERE (DOCETAXEL)                                                       MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                                SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES


                                 PRETRIAL ORDER NO. 22
                 (Service of Plaintiff Fact Sheets and Defendant Fact Sheets)

        In accordance with Pretrial Order No. 18, this Order governs the form and schedule for

service of Plaintiff Fact Sheets (“PFS”), Record Document 236-1, and Defendant Fact Sheets

(“DFS”), Record Document 236-2, in cases that were: (1) transferred to this Court by the Judicial

Panel on Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) subsequently

transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to Rule 7.4 of

the Rules of Procedure of that Panel; and (3) originally filed in this Court or transferred or removed

to this Court.

    1. Considering the nature of the case and the difficulty of identifying the exact manufacturer,

        each side shall be given reasonable flexibility with the timeframes set forth herein.

        Accordingly, the Parties may agree to extensions of the below deadlines for the completion

        and service of PFSs, executed Authorizations, and DFSs. If the Parties cannot agree on an

        extension of time after meeting and conferring, the requesting Party may apply to the Court

        for such relief upon a showing of good cause.

PLAINTIFF FACT SHEETS:



                                                  1

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    2. Plaintiffs shall each complete and serve upon Defendants a PFS and Authorizations for

        Release of Records of all healthcare providers and other sources of information and records

        (e.g. pharmacies, employers, etc.) using MDL Centrality in the form set forth in PFS. R.

        Doc. 236-1. In addition, any plaintiff asserting a claim for lost wages must complete an

        authorization for release of employment records. Those Plaintiffs shall also produce with

        their PFS all documents responsive to the document requests contained therein.

    3. A complete and verified1 PFS, signed and dated Authorizations, and all responsive

        documents in Plaintiff’s possession shall be submitted to the Defendants using MDL

        Centrality on the following schedule: (a) within seventy-five (75) days from the date of

        this Order for any Plaintiff whose case has been docketed in this MDL on or before the

        date of this Order; (b) within seventy-five (75) days of the date the case is docketed in this

        MDL for any Plaintiff whose case is docketed in the MDL after the date of this Order. The

        Authorizations are set forth in PFS Attachment A.

    4. In the event any single law firm has more than twenty-five (25) PFSs due on the same date

        in accordance with the schedule set forth above, that firm shall submit to Defendants at

        least twenty-five (25) PFSs in accordance with the above schedule, an additional twenty-

        five (25) PFSs within sixty (60) days of those submissions; and any additional PFSs within

        sixty (60) days of those submissions.

    5. Plaintiffs who fail to provide a complete and verified PFS, signed and dated Authorizations,

        and all responsive documents requested in the PFS within the time periods set forth herein



1
 Plaintiffs may verify a PFS by their handwritten signature or through the use of an electronic signature using an
application such as DocuSign, and all subsequent amendments or supplements to the PFS may be verified by signature
of the plaintiff’s attorney.

                                                        2

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         shall be given notice of deficiency2 via MDL Centrality within forty-five (45) days of

         service of the PFS, 3 and shall be given thirty (30) additional days from the date the notice

         of deficiency is submitted through MDL Centrality to cure such deficiency. Afterwards,

         Defendants may add the name and case number of any Plaintiff who fails to cure

         deficiencies within the thirty-day cure period to the Agenda for the next Status

         Conference. No briefing is required. Any Plaintiff who remains deficient at the time of

         that Status Conference will be subject to an Order to Show Cause, returnable at the

         following Status Conference, which will require Plaintiff to show cause why her Complaint

         should not be dismissed with prejudice. Failure to timely comply may result in a dismissal

         of Plaintiff’s claim.

    6. Authorizations shall be dated and signed. Defendants may use the Authorizations for all

         healthcare providers and other sources of information and records (e.g., pharmacies,

         employers, etc.) identified in the PFS, without further notice to Plaintiff’s counsel. Within

         twenty (20) days of receipt of records by Defendants, DLC shall make said records received

         pursuant to the Authorizations available to Plaintiffs’ Liaison Counsel (“PLC”) and

         Plaintiff’s counsel by uploading copy to MDL Centrality at a reasonable cost to the

         requesting Plaintiff of electronically reproducing records received by defendants.

    7. If Defendants wish to use an Authorization to obtain medical records from a source that is

         not identified in the PFS, Defendants shall provide the Plaintiff’s counsel for that particular



2
  Each party shall bring any and all deficiencies to the attention of the opposing counsel in one letter, and shall be
barred from raising any additional deficiencies that were apparent at that time, absent good cause shown, except those
arising from the response to/cure of the deficiency.
3
  Service of a completed Fact Sheet and Records Authorizations shall be deemed to occur when the submitting party
has performed each of the steps required by the MDL Centrality System to execute the online submission of the
materials, and the submitting party has received confirmation on screen that the materials have been successfully
submitted, and the receiving party has received notification of the submission via the MDL Centrality System.
                                                          3

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        case with fourteen (14) days written notice (email) of the intent to use an authorization to

        obtain records from that source. If Plaintiff’s counsel fails to object to the request within

        fourteen (14) days, Defendants may use the authorization to request the medical records

        from the source identified in the notice. If Plaintiff’s counsel objects to the use of the

        authorization to obtain records from the source identified in the notice within said fourteen

        (14) day period, Plaintiff’s counsel and Defendants’ counsel shall meet and confer in an

        attempt to resolve the objection. If counsel are unable to resolve the objection, Plaintiff

        shall file a motion for a protective order within thirty (30) days of the Defendants’ notice

        of intent to use the authorization.

    8. Plaintiffs’ responses to the PFS shall be treated as answers to interrogatories under Fed. R.

        Civ. P. 33 and responses to requests for production of documents under Fed. R. Civ. P. 34

        and shall be supplemented in accordance with Fed. R. Civ. P. 26.

    9. Defendants’ use of the PFS and Authorizations shall be without prejudice to Defendants’

        right to serve additional discovery, if authorized in further Orders of the Court.

DEFENDANT FACT SHEETS:

    10. Because of the naming of multiple defendants in individual cases and questions of product

        identification, the following limitations shall apply to which Defendant(s) serve DFSs, in

        the form set forth in DFS, Record Document 236-2, in which cases:

             a. Pre-2011 – Sanofi Defendants only: If the first treatment date and last treatment

                date identified by a Plaintiff in PFS Section V(12)(c-d) is 2011 or earlier and the

                PFS is submitted with the documentation required by PFS Section III and VI, only

                Defendants Sanofi S.A., Aventis Pharma S.A., and Sanofi-Aventis U.S., LLC, and

                Winthrop US (collectively “Sanofi Defendants”) must complete and serve a

                                                  4

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                corresponding DFS. Sanofi Defendants need not complete and serve a DFS in any

                case where it has not been properly served either with process and summons

                consistent with the Federal Rules of Civil Procedure or consistent with Pretrial

                Order No. 9 (R. Doc. 160).

             b. Post-2011 with Product Identification – That Defendant Only:

                     i. If the first treatment date and last treatment date the Plaintiff identified in

                        PFS Section V(12)(c-d) is 2011 or later; Plaintiff has provided the

                        information request by PFS Section VI(12-14); and the PFS is submitted

                        with the documentation required by PFS Section III and VI;

                    ii. Only the Defendant(s) whose product the Plaintiff identified in PFS Section

                        III(2-3) and for whom documentation required by PFS Section VI was

                        provided must complete and serve a DFS. No Defendant must complete

                        and serve a DFS in any case where it has not been properly served either

                        with process and summons consistent with the Federal Rules of Civil

                        Procedure or by service through procedures for streamlined service as

                        approved by Orders in this MDL.

             c. Post-2011 without Product Identification – Named, Served Defendants But
                Limited DFS Only:
                    i. If the first treatment date and last treatment date the Plaintiff identified in

                        PFS Section V(12)(c-d) is 2011 or later; Plaintiff has provided the

                        information request by PFS Section VI(12-14); and the PFS is submitted

                        with the documentation required by PFS Sections III and VI; and

                    ii. If the Plaintiff selects “unknown” or does not identify the product allegedly

                        taken in PFS Section III(2-3) and certifies in PFS Section III(4) that


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                       reasonable, good faith efforts were made to identify the manufacturer of

                       Docetaxel; then

                  iii. Each Defendants named by Plaintiff in her lawsuit Complaint and properly

                       served either with process and summons consistent with the Federal Rules

                       of Civil Procedure or by service through procedures for streamlined service

                       as approved by Orders in this MDL must complete and serve a DFS, but

                       only DFS Sections I - II.

                  iv. Notwithstanding the requirements of this Paragraph, no Defendant must

                       complete and serve any DFS, including DFS Sections I – II, if their

                       Docetaxel product was not FDA approved until after the last treatment date

                       identified by the Plaintiff in PFS Section V(12)(c-d).

                   v. Defendants subject to the provisions of this paragraph need not complete

                       any remaining DFS sections unless and until the product used in the

                       Plaintiff’s care is identified by supplementation of PFS Section III(2-3);

                       Plaintiff has provided the information requested by PFS Section VI(12-14);

                       and the PFS is submitted with the documentation required by PFS Section

                       III and VI. However, once the above-stated conditions are met, Defendant

                       must complete and submit a DFS in accordance with the time period and

                       requirements set forth herein.

    11. Subject to the limitations set forth in Paragraph 10, Defendants shall submit a DFS to the

        Plaintiff using MDL Centrality within seventy-five (75) days of the date the Defendants

        receive a substantially completed PFS from a Plaintiff. Solely for the purpose of triggering

        the DFS submission deadline, the term “substantially completed” in this Order and in the


                                                   6

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         DFS (R. Doc. 236-2) is defined as service on Defendants of the PFS with Plaintiff’s signed

         verification and the documentation required by PFS Sections III and VI, i.e., prescription

         and/or pharmacy records demonstrating use of Taxotere (or Docetaxel), as well as medical

         records in Plaintiff’s possession demonstrating alleged injury or photographs showing

         Plaintiff’s hair before and after treatment with Taxotere (Docetaxel) along with the dates

         the photographs were taken.

    12. In the event any single Defendant has more than twenty-five (25) DFSs due on the same

         date in accordance with the schedule set forth above, that Defendant shall submit to

         Plaintiffs at least twenty-five (25) DFSs in accordance with the above schedule, an

         additional twenty-five (25) PFSs within sixty (60) days of those submissions; and any

         additional DFSs within sixty (60) days of those submissions.

    13. If Defendants fail to provide a complete and verified DFS within the time period set forth

         hereinabove, Defendants shall be given notice of the deficiency4 via MDL Centrality

         within forty-five (45) days of service of the DFS and shall be given thirty (30) additional

         days from the date the notice of deficiency is received through MDL Centrality to cure

         such deficiency. Afterwards, Plaintiffs may add the name and case number of any cases in

         which Defendants failed to cure deficiencies within the thirty-day cure period to the

         Agenda for the next Status Conference. No briefing is required. Any Defendant who

         remains deficient at the time of that Status Conference will be subject to an Order to Show

         Cause, returnable at the following Status Conference, which will require Defendant to




4
  Each party shall bring any and all deficiencies to the attention of the opposing counsel in one letter, and shall be
barred from raising any additional deficiencies that were apparent at that time, absent good cause shown, except those
arising from the response to/cure of the deficiency.
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        show cause why its defenses should not be stricken in that case. Failure to timely comply

        may result in a dismissal of defenses.

    14. Defendants’ responses on a DFS shall be treated as answers to interrogatories under Fed.

        R. Civ. P. 33 and responses to requests for production of documents under Fed. R. Civ. P.

        34 and shall be supplemented in accordance with Fed. R. Civ. P. 26.

    15. It will be the responsibility of the counsel for the particular plaintiffs or defendants

        involved, as well as in coordination with Liaison Counsel for plaintiffs and defendants, to

        attempt to cure deficiencies and get a PFS/DFS served prior to raising the issue with the

        Court.

    16. Plaintiffs’ use of the DFS shall be without prejudice to the right of the Plaintiffs in a specific

        case to serve additional discovery, if authorized in further Orders of the Court.


    New Orleans, Louisiana this 9th day of March, 2017.




                                                           KURT D. ENGELHARDT
                                                                   ENGELHAR
                                                                         A DT
                                                           UNITED STATES DISTRICT
                                                                         D STRICT JUDGE
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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                  MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                             SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                             PRETRIAL ORDER NO. 23
       [Amending Pretrial Order No. 18 Exhibit “A” to Include the Court Approved
                                    Authorizations]

       Pursuant to Pretrial Order No. 18 (Rec. Doc. 236), the parties have submitted proposed

authorizations to be attached to the Plaintiff Fact Sheet (Exhibit “A” to Pretrial Order No. 18, Rec.

Doc. 236-1) for the Court’s consideration.

       IT IS ORDERED that the Plaintiff Fact Sheet (Exhibit “A” to Pretrial Order No. 18, Rec.

Doc. 236-1) be and hereby is updated to include the authorizations approved by the Court.

       New Orleans, Louisiana, this 10th day of March 2017.




                                                      ___________________________________
                                                      ___________
                                                               _ __
                                                                  _ ____
                                                                      ____
                                                                      __ ____
                                                                         __
                                                                          _____
                                                                            _______
                                                                                ________
                                                                                __  ________
                                                                                          _ __
                                                                                            _ _
                                                      KURT D. E ENGELHARDT
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                                                                      LHAR  RDT
                                                      UNITED STATES DISTRICTSTRICT JUDGE
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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                  MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                             SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                                  PLAINTIFF FACT SHEET

        This Fact Sheet must be completed by each plaintiff who has filed a lawsuit related to the
use of Taxotere® by the plaintiff or a plaintiff’s decedent. Please answer every question to the best
of your knowledge. In completing this Fact Sheet, you are under oath and must provide information
that is true and correct to the best of your knowledge. If you cannot recall all of the details
requested, please provide as much information as you can. You must supplement your responses
if you learn that they are incomplete or incorrect in any material respect..

        In filling out this form, please use the following definitions: (1) “healthcare provider”
means any hospital, clinic, medical center, physician’s office, infirmary, medical or diagnostic
laboratory, or other facility that provides medical, dietary, psychiatric, or psychological care or
advice, and any pharmacy, weight loss center, x-ray department, laboratory, physical therapist or
physical therapy department, rehabilitation specialist, physician, psychiatrist, osteopath,
homeopath, chiropractor, psychologist, nutritionist, dietician, or other persons or entities involved
in the evaluation, diagnosis, care, and/or treatment of the plaintiff or plaintiff’s decedent; (2)
“document” means any writing or record of every type that is in your possession, including but
not limited to written documents, documents in electronic format, cassettes, videotapes,
photographs, charts, computer discs or tapes, and x-rays, drawings, graphs, phone-records, non-
identical copies, and other data compilations from which information can be obtained and
translated, if necessary, by the respondent through electronic devices into reasonably usable form.

        Information provided by plaintiff will only be used for purposes related to this
litigation and may be disclosed only as permitted by the protective order in this litigation.
This Fact Sheet is completed pursuant to the Federal Rules of Civil Procedure governing
discovery (or, for state court case, the governing rules of civil of the state in which the case
is pending).

I. CASE INFORMATION

Attorney Information

               Please provide the following information for the civil action that you filed:


                                                 1

                                                                                               Exhibit “A”
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               1. Caption:                                                             ______

               2. Court and Docket No.:

               3. MDL Docket No. (if different):                                       ______

               4. Date Lawsuit Filed:

               5. Plaintiff’s Attorney:

               6. Attorney’s Address:

               7. Attorney’s Phone Number:

               8. Attorney’s Email Address:

Plaintiff Information

               Please provide the following information for the individual on whose behalf this
               action was filed:

               9. Name:_________________________________________________________

               10. Street Address:                                                     ______

               11. City:__________________________________________________________

               12. State:

               13. Zip code:                         ______

               14. Date of Birth:

               15. Place of Birth:            ____________

               16. Social Security Number:

               17. Maiden or other names you have used or by which you have been known:

                  _______________________________________________________________

               18. Sex: Male: ‫ ܆‬Female: ‫܆‬

               19. Race:

                                         Race                     ‫܆‬
                        American Indian or Alaska Native          ‫܆‬
                        Asian                                     ‫܆‬


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                                      Race                          ‫܆‬
                    Black or African American                       ‫܆‬
                    Native Hawaiian or Other Pacific Islander       ‫܆‬
                    White                                           ‫܆‬


              20. Ethnicity:

                                    Ethnicity                       ‫܆‬
                    Hispanic or Latino                              ‫܆‬
                    Not Hispanic or Latino                          ‫܆‬


              21. Primary Language:         __________________________________________

Representative Information

              If you are completing this questionnaire in a representative capacity (e.g., on
              behalf of the estate of a deceased person), please state the following:

              22. Name:_________________________________________________________

              23. Address:                                                                   ______

              24. Capacity in which you are representing the individual:___________________

              25. If you were appointed as a representative by a court, identify the State, Court
                  and Case Number:

                     a) State:______________________

                     b) Court:_____________________

                     c) Case Number:_______________

              26. Relationship to the Represented Person:_______________________________

              27. State the date of death of the decedent:_______________________________

              28. State the place of death of the decedent:_______________________________

              29. Are you filling this questionnaire out on behalf of an individual who is
                  deceased and on whom an autopsy was performed? Yes ‫ ܆‬No‫܆‬




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If you are completing this questionnaire in a representative capacity, please respond to these
questions with respect to the person whose medical treatment involved Taxotere® or Docetaxel.

II. PERSONAL INFORMATION

Relationship Information

              1. Are you currently: Married: ‫ ܆‬Single: ‫ ܆‬Engaged: ‫ ܆‬Significant other: ‫܆‬
                 Divorced: ‫ ܆‬Widowed: ‫ ܆‬Same sex partner: ‫܆‬

              2. Have you ever been married? Yes ‫ ܆‬No‫܆‬

              3. If yes, for EACH marriage, state the following:

                                                            Date
                                                  Date of                   Nature of
                       Spouse’s Name                      Marriage
                                                 Marriage                  Termination
                                                           Ended
                                                                                 
                                                                                 
                                                                                 
Education

              4. For each level of education you completed, please check below:

              High School: ‫܆‬                    Vocational School: ‫܆‬

              College: AA: ‫ ܆‬BA/BS: ‫ ܆‬Masters: ‫ ܆‬PhD: ‫ ܆‬M.D.: ‫ ܆‬Other:

Employment
              5. Are you currently employed? Yes ‫ ܆‬No‫܆‬

              6. If yes, state the following:

                     a) Current employer name:_____________________________________

                     b) Address:_________________________________________________

                     c) Telephone number:_________________________________________

                     d) Your position there:________________________________________

              7. Are you making a claim for lost wages or lost earning capacity? Yes ‫ ܆‬No‫܆‬

              8. Only if you are asserting a wage loss claim, please state the following for EACH
                 employer for the last seven (7) years:



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                                                                            Annual
                        Name of           Address of          Dates of                   Your
                                                                             Gross
                        Employer          Employer           Employment                 Position
                                                                            Income
                                                                                           
                                                                                           
                                                                                           

              9. Have you ever been out of work for more than thirty (30) days for reasons
                 related to your health in the last seven (7) years? Yes ‫ ܆‬No‫܆‬

              10. If yes, please state the following:

                      Name of Employer               Dates         Health Reason




       YOU MUST ATTACH TAX RETURNS, EMPLOYMENT AUTHORIZATIONS, AND
       IDENTIFY THE LOSS OF CONSORTIUM PLAINTIFF’S EMPLOYERS IF
       CLAIMING LOST WAGES OR LOST EARNING CAPACITY DAMAGES.

Worker’s Compensation and Disability Claims

              11. Within the last ten (10) years, have you ever filed for workers’ compensation,
                  social security, and/or state or federal disability benefits? Yes ‫ ܆‬No‫܆‬

              12. If yes, then as to EACH application, please state the following:

                    Year Claim                       Nature of Claimed     Period of    Award
                                       Court
                      Filed                               Injury           Disability   Amount
                                                                                         
                                                                                         
                                                                                         

Military Service

              13. Have you ever served in any branch of the military? Yes ‫ ܆‬No‫܆‬

              14. If yes, state the branch and dates of service:

                            Branch                Dates of Service




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               15. If yes, were you discharged for any reason relating to your health (whether
                   physical, psychiatric, or other health condition)? Yes ‫ ܆‬No‫܆‬

               16. If yes, state the condition:__________________________________________

Other Lawsuits


               17. Within the last ten (10) years, have you filed a lawsuit, relating to any bodily
                   injury, or made a claim, OTHER THAN the present suit? Yes ‫ ܆‬No ‫܆‬


Computer Use

               18. Apart from communications to or from your attorney, have you
                   communicated via email, visited any chat rooms, or publicly posted a
                   comment, message or blog entry on a public internet site regarding your
                   experience with or injuries you attribute to Taxotere®, other chemotherapies,
                   or alopecia/hair loss during the past ten (10) years? You should include all
                   postings on public social network sites including Twitter, Facebook,
                   MySpace, LinkedIn, or “blogs” that address the topics above. Yes ‫ ܆‬No‫܆‬

               19. If yes, please state the following:

                                            Screen Name or           Date of
                       Forum Name                                                     Substance of Post
                                             User Handle              Post
                                                                                  
                                                                                               
                                                                                               

               20. Are you now or have you ever been a member of an alopecia support group?
                   Yes ‫ ܆‬No‫܆‬

                       a) If yes, identify the group by name:_____________________________

                       b) When did you join the group?_________________________________

III.PRODUCT IDENTIFICATION

      I HAVE RECORDS DEMONSTRATING USE OF TAXOTERE® OR OTHER
                       DOXETAXEL: Yes ‫ ܆‬No‫܆‬

      YOU MUST UPLOAD THEM BEFORE YOU SUBMIT THIS FACT SHEET

Taxotere®
               1. Were you treated with brand name Taxotere®? Yes ‫ ܆‬No ‫ ܆‬Unknown ‫܆‬


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Other Docetaxel
             2. Were you treated with another Docetaxel or generic Taxotere®? Yes ‫ ܆‬No‫܆‬

                   3. If yes, select all that apply:

                                  Name of Drug
                         Docetaxel – Winthrop                   ‫܆‬
                         Docetaxel – Teva Pharms USA            ‫܆‬
                         Docetaxel – Dr. Reddy’s Labs Ltd.      ‫܆‬
                         Docetaxel – Eagle Pharms               ‫܆‬
                         Docetaxel – Actavis Inc.               ‫܆‬
                         Docetaxel – Pfizer Labs                ‫܆‬
                         Docetaxel – Sandoz                     ‫܆‬
                         Docetaxel – Accord Healthcare          ‫܆‬
                         Docetaxel – Apotex Inc.                ‫܆‬
                         Docetaxel – Hospira Inc.               ‫܆‬
                         Docefrez – Sun Pharma Global           ‫܆‬
                         Unknown                                ‫܆‬

                   4. IF YOU SELECTED “UNKNOWN” YOU MUST CERTIFY AS
                      FOLLOWS:

                       I certify that I have made reasonable, good faith efforts to identify the
                       manufacturer of the Docetaxel used in my treatment, including
                       requesting records from my infusion pharmacy, and the manufacturer
                       either remains unknown at this time or I am awaiting the records: ‫܆‬

IV. MEDICAL INFORMATION

Vital Statistics

                   1. How old are you:_________________________________________________

                   2. Age at the time of your alleged injury:________________________________

                   3. Current weight:__________________________________________________

                   4. Current height:

                       Feet:_______________        Inches:_______________

                   5. Weight at time of alleged injury:____________________________________

Gynecologic and Obstetric History

                   6. Have you ever been pregnant? Yes ‫ ܆‬No ‫܆‬

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               a) Number of pregnancies:________

               b) Number of live births:_________

        7. If you have children, please state the following for EACH child:

                    Child’s Name              Address        Date of Birth




        8. Date of first period (menses):_________          Age:_________

        9. Date of last period (menses): _________          Age:_________

        10. Are you menopausal, perimenopausal or postmenopausal? Yes ‫ ܆‬No‫܆‬

        11. For EACH year for the last seven (7) years before your first treatment with
            Taxotere® or Docetaxel and since then, who did you see for your annual
            gynecological exam? Also indicate whether an annual exam was skipped or
            missed.

                                                                               Skipped or
                      Doctor                Office            Year
                                                                                 Missed
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬

        12. For EACH year after age 40, or before then if applicable, who did you see for
            your annual mammogram? Also indicate whether an annual mammogram was
            skipped or missed.

                                                                              Skipped or
                      Doctor                Office            Year
                                                                                Missed
                                                                                  ‫܆‬
                                                                                  ‫܆‬
                                                                                  ‫܆‬
                                                                                  ‫܆‬
                                                                                  ‫܆‬
                                                                                  ‫܆‬
                                                                                  ‫܆‬

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Other Risk Factors

               13. Have any family members been diagnosed with breast cancer?

                          Family Member          Diagnosed       Age at Diagnosis
                     Mother                         ‫܆‬
                     Sister                         ‫܆‬
                     Daughter                       ‫܆‬
                     Paternal grandmother           ‫܆‬
                     Maternal grandmother           ‫܆‬

               14. Have you ever been diagnosed as having genes or gene mutations that carry an
                   increased cancer risk (e.g., BRCA1, BRCA2)? Yes ‫ ܆‬No‫܆‬

                       a) If yes, which?                                          ____________

               15. Did you receive radiation treatments or exposure to radiation before the age of
                   30? Yes ‫ ܆‬No‫܆‬

                       a) If yes, describe the particulars of your treatment or exposure:
                          _________________________________________________________

Tobacco Use History

For the ten (10) year period before your use of Taxotere® or Docetaxel up to the present, check
the answer and fill in the blanks applicable to your history of tobacco use, including cigarettes,
cigars, pipes, and/or chewing tobacco/snuff.

               16. I currently use tobacco: Yes ‫ ܆‬No‫܆‬

               17. I have never used tobacco: Yes ‫ ܆‬No‫܆‬

               18. I used tobacco in the ten (10) years before Taxotere® or Docetaxel treatment:
                   Yes ‫ ܆‬No‫܆‬

               19. Identify types of tobacco use:

                                                                               Duration of
                              Type              Used     Average Per Day
                                                                               Use (Years)
                      Cigarettes                     ‫܆‬                             
                      Cigars                         ‫܆‬                             
                      Pipes                          ‫܆‬                             
                      Chewing tobacco/snuff          ‫܆‬                             




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Prescription Medications

              20. Apart from chemotherapy, are there prescription or over-the-counter
                  medications that you took on a regular basis or more than three (3) times in
                  the seven (7) year period before you first took Taxotere®? Yes ‫ ܆‬No ‫܆‬

                 For purposes of this question, “regular basis” means that you were directed by
                 a healthcare provider to take a medication for at least forty-five (45)
                 consecutive days.

              21. If yes, please provide the following for EACH prescription medication:

                           Medication                 Prescriber               Dates Taken




V. CANCER DIAGNOSIS AND TREATMENT

Cancer Diagnosis & Treatment Generally

              1. Have you ever been diagnosed with cancer? Yes ‫ ܆‬No‫܆‬

              2. Were you diagnosed with cancer more than once? Yes ‫ ܆‬No‫܆‬

              3. Did you undergo any of the following for cancer? 

                        Treatment           Treated
                    Surgery                   ‫܆‬
                    Radiation                 ‫܆‬
                    Chemotherapy              ‫܆‬

              4. For surgery, specify:

                         Type of Surgery           Treated
                    Double mastectomy                ‫܆‬
                    Left-side mastectomy             ‫܆‬
                    Right-side mastectomy            ‫܆‬
                    Lumpectomy                       ‫܆‬
                    Other:_________________          ‫܆‬

              5. Please state the following for EACH cancer diagnosis:




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Type of Cancer
Date of Diagnosis
                     Name:
                     Address:
Primary Oncologist
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Primary Oncologist
                     Dates of Treatment:
                     Treatment:
                     Name:
Primary Oncologist   Address:
                     Dates of Treatment:
                     Name:
                     Address:
Treatment Facility
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Treatment Facility
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Treatment Facility
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Treatment Facility
                     Dates of Treatment:
                     Treatment:


Type of Cancer
Date of Diagnosis
                     Name:
                     Address:
Primary Oncologist
                     Dates of Treatment:
                     Treatment:
                     Name:
                     Address:
Primary Oncologist
                     Dates of Treatment:
                     Treatment:




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 Type of Cancer
 Date of Diagnosis
                         Name:
                         Address:
 Primary Oncologist
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:

Particulars of Chemotherapy

              6. When were you first diagnosed with the condition for which you were
                 prescribed Taxotere® or Docetaxel?__________________________________

              7. What was the diagnosis for which you were prescribed Taxotere® or
                 Docetaxel?

                              Diagnosis             Diagnosed
                     Breast cancer                     ‫܆‬
                     Non-small cell lung cancer        ‫܆‬
                     Prostate cancer                   ‫܆‬
                     Gastric adenocarcinoma            ‫܆‬
                     Head and neck cancer              ‫܆‬
                     Other:_________________           ‫܆‬

              8. For breast cancer, specify:

                      a) Tumor size: 

                                         Tumor Size                   Yes
                            TX                                        ‫܆‬

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                     T0                                           ‫܆‬
                     Tis                                          ‫܆‬
                     T1                                           ‫܆‬
                     T2                                           ‫܆‬
                     T3                                           ‫܆‬
                     T4 (T4a, T4b, T4c, T4d)                      ‫܆‬

               b) Metastasis:

               c) Node involvement:

                                     Node                            Yes
              Node + NX                                              ‫܆‬
              Node + N0                                              ‫܆‬
              Node + N1                                              ‫܆‬
              Node + N2                                              ‫܆‬
              Node + N3                                              ‫܆‬
              Node – (negative)                                      ‫܆‬

               d) HER2: + (positive): ‫ ܆‬- (negative): ‫܆‬

               e) Estrogen receptor: Positive (ER+): ‫ ܆‬Negative (ER-): ‫܆‬

               f) Progesterone receptor: Positive (PR+): ‫ ܆‬Negative (PR-): ‫܆‬

        9. Was Taxotere® or Docetaxel the only chemotherapy treatment that you ever
           received? Yes ‫ ܆‬No‫ ܆‬Unknown ‫܆‬

        10. Have you ever been treated with other chemotherapy drugs, either alone or in
            combination with or sequentially with Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬
            Unknown ‫܆‬

        11. If yes, check which of the following chemotherapy drugs you took:
            
                                 Drug                       Yes
               5-Fluorouracil (Eludex)                       ‫܆‬
               Actinomycin                                   ‫܆‬
               Altretamine (Hexalen)                         ‫܆‬
               Amsacrine                                     ‫܆‬
               Bleomycin                                     ‫܆‬
               Busulfan (Busulfex, Myleran)                  ‫܆‬
               Cabazitaxel: Mitoxantrone                     ‫܆‬
               Carboplatin (Paraplatin)                      ‫܆‬

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                               Drug                   Yes
            Carmustine (BiCNU, Gliadel)               ‫܆‬
            Cetuximab (Erbitux)                       ‫܆‬
            Chlorambucil (Leukeran)                   ‫܆‬
            Cisplatin (Platinol)                      ‫܆‬
            Cyclophosphamide (Neosar)                 ‫܆‬
            Cytarabine (Depocyt)                      ‫܆‬
            Dacarbazine                               ‫܆‬
            Daunorubicin (Cerubidine, DaunoXome)      ‫܆‬
            Doxorubicin (Adriamycin, Doxil)           ‫܆‬
            Epirubicin (Ellence)                      ‫܆‬
            Erlotinib (Tarceva)                       ‫܆‬
            Etoposide (Etopophos, Toposar)            ‫܆‬
            Everolimus (Afinitor, Zortress)           ‫܆‬
            Faslodex (Fulvestrant)                    ‫܆‬
            Gemcitabine (Gemzar)                      ‫܆‬
            Hexamethylmelamine (Hexalen)              ‫܆‬
            Hydroxyurea (Hydrea, Droxia)              ‫܆‬
            Idarubicin (Idamycin)                     ‫܆‬
            Ifosfamide (Ifex)                         ‫܆‬
            L-asparginase (crisantaspase)             ‫܆‬
            Lomustine (Ceenu)                         ‫܆‬
            Melphalan (Alkeran)                       ‫܆‬
            Mercaptopurine (Purinethol, Purixan)      ‫܆‬
            Methotrexate (Trexall, Rasuvo)            ‫܆‬
            Mitomycin                                 ‫܆‬
            Mitoxantrone                              ‫܆‬
            Nab-paclitaxel (Abraxane): Mitoxantrone   ‫܆‬
            Nitrogen mustard                          ‫܆‬
            Paclitaxel (Taxol)                        ‫܆‬
            Panitumumab (Vectibix)                    ‫܆‬
            Procarbazine (Matulane)                   ‫܆‬
            Sorafenib (Nexavar)                       ‫܆‬
            Teniposide (Vumon)                        ‫܆‬
            Thioguanine (Tabloid)                     ‫܆‬
            Thiotepa (Tepadina)                       ‫܆‬
            Topotecan (Hycamtin)                      ‫܆‬
            Vemurafenib (Zelboraf)                    ‫܆‬
            Vinblastine                               ‫܆‬
            Vincristine (Mariqibo, Vincasar)          ‫܆‬

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                                  Drug                        Yes
              Vindesine                                       ‫܆‬
              Vinorelbine (Alocrest, Navelbine)               ‫܆‬
              Unknown                                         ‫܆‬

        12. Please provide the following information regarding Taxotere® or Docetaxel:

               a) Number of cycles:

               b) Frequency: Every week ‫ ܆‬Every three weeks ‫ ܆‬Other:____________

               c) First treatment date:________

               d) Last treatment date:________

               e) Dosage:______________

                       (1) Combined with another chemotherapy drug: ‫܆‬

                       (2) Sequential with another chemotherapy drug: ‫܆‬

                       (3) If so, describe the combination or sequence:

        13. Prescribing Physician(s):

                    Prescribing Physician                      Address
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:

        14. Treatment Facility:

                      Treatment Facility                       Address
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:
                                                    Street:

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                                                               City:
                                                               State:
                                                               Zip:
                                                               Street:
                                                               City:
                                                               State:
                                                               Zip:

                 15. Identify EACH state where you resided when you began and while taking
                     Taxotere® or Docetaxel:

                                   State                  From Date             To Date




                 16. Was your Taxotere® or Docetaxel treatment part of a clinical trial? Yes ‫ ܆‬No
                     ‫ ܆‬Unknown ‫܆‬

                 17. If yes, please provide the name and location of the trial site:

                        a) Name of trial site:__________________________________________

                        b) Location of trial site:________________________________________

VI. CLAIM INFORMATION

Current Status

                 1. Are you currently taking Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

                 2. Are you currently cancer-free? Yes ‫ ܆‬No‫܆‬

                 3. If no, check those that apply to your CURRENT status:
                    
                                      Current Status                   Yes
                       In remission                                     ‫܆‬
                       Currently receiving chemotherapy                 ‫܆‬
                       Currently receiving radiation therapy            ‫܆‬
                       Currently hospitalized for cancer or cancer-
                                                                        ‫܆‬
                       related complications
                       Currently in home health or hospice care for
                                                                        ‫܆‬
                       cancer or cancer-related complications
                       Cancer returned after taking Taxotere® or
                                                                        ‫܆‬
                       Docetaxel


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                 4. When was the last (most recent) date you consulted with an oncologist:_____

Alleged Injury

                 5. State the injury you allege in this lawsuit and the dates between which you
                    experienced the alleged injury. Check all that apply:

                                            Alleged Injury                      Yes   No From To
                       Persistent total alopecia – No hair growth on your head                
                       or body after six (6) months of discontinuing Taxotere® ‫܆‬      ‫܆‬
                       or Docetaxel treatment
                       Persistent alopecia of your head – No hair growth on                          
                       your head after six (6) months of discontinuing
                                                                                ‫܆‬      ‫܆‬
                       Taxotere® or Docetaxel treatment. Hair is present
                       elsewhere on your body
                       Permanent/Persistent Hair Loss on Scalp                  ‫܆‬      ‫܆‬            
                       Diffuse thinning of hair: partial scalp                                       
                               ‫܆‬Top
                               ‫܆‬Sides
                                                                                ‫܆‬     ‫܆‬
                               ‫܆‬Back
                               ‫܆‬Temples
                               ‫܆‬Other:_____________________________
                       Diffuse thinning of hair: total scalp                                         
                               ‫܆‬Top
                               ‫܆‬Sides
                                                                                ‫܆‬     ‫܆‬
                               ‫܆‬Back
                               ‫܆‬Temples
                               ‫܆‬Other:_____________________________
                       Significant thinning of the hair on your head after six                       
                       (6) months of discontinuing Taxotere® or Docetaxel
                                                                                ‫܆‬     ‫܆‬
                       treatment – There are visible bald spots on your head
                       no matter how you style your hair
                       Moderate thinning of the hair on your head after six (6)                      
                       months of discontinuing Taxotere® or Docetaxel
                                                                                ‫܆‬     ‫܆‬
                       treatment – There is noticeable hair loss but if you
                       brush or style your hair, the hair loss is less evident
                       Small bald area in the hair on your head                 ‫܆‬     ‫܆‬            
                       Large bald area in the hair on your head                 ‫܆‬     ‫܆‬            
                       Multiple bald spots in the hair on your head             ‫܆‬     ‫܆‬            
                       Change in the texture, thickness or color of your hair                        
                                                                                ‫܆‬     ‫܆‬
                       after Taxotere® or Docetaxel treatment
                       Other:______________________________________             ‫܆‬     ‫܆‬            
                       Permanent/Persistent Loss of Eyebrows                    ‫܆‬     ‫܆‬            
                       Permanent/Persistent Loss of Eyelashes                   ‫܆‬     ‫܆‬            

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                                      Alleged Injury                Yes              No From To
                   Permanent/Persistent Loss of Body Hair           ‫܆‬               ‫܆‬      
                   Permanent/Persistent Loss of Genital Hair        ‫܆‬               ‫܆‬      
                   Permanent/Persistent Loss of Nasal Hair          ‫܆‬               ‫܆‬      
                   Permanent/Persistent Loss of Ear Hair            ‫܆‬               ‫܆‬      
                   Permanent/Persistent Loss of Hair in Other Areas                          
                                                                    ‫܆‬               ‫܆‬
                   Describe:_____________________________________

             6. Have you ever received treatment for the injury you allege in this lawsuit? Yes
                ‫ ܆‬No‫܆‬

                        Name of Treating Physician       Dates of Treatment         Treatments
                                                                                         
                                                                                         
                                                                                         

             7. Were you diagnosed by a healthcare provider for the injury you allege in this
                lawsuit? Yes ‫ ܆‬No‫܆‬

                        Name of Treating Physician       Dates of Treatment         Treatments
                                                                                         
                                                                                         
                                                                                         

             8. Have you discussed with any healthcare provider whether Taxotere® or Docetaxel
                caused or contributed to your alleged injury? Yes ‫ ܆‬No‫܆‬

                   Name of Treating Physician            Dates of Treatment         Treatments
                                                                                         
                                                                                         
                                                                                         

Statement Information

             9. Were you ever given any written instructions, including any prescriptions,
                packaging, package inserts, literature, medication guides, or dosing
                instructions, regarding chemotherapy, Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

             10. If yes, please describe the documents, if you no longer have them. If you have
                 the documents, please produce them:
                     
                                                                   I Have the     I Do Not Have
                            Description of Document
                                                                   Documents     the Documents
                                                                       ‫܆‬                 ‫܆‬

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                                                            I Have the       I Do Not Have
                       Description of Document
                                                            Documents        the Documents
                                                                ‫܆‬                  ‫܆‬
                                                                ‫܆‬                  ‫܆‬

        11. Were you given any oral instructions from a healthcare provider regarding
            chemotherapy or your use of Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

        12. If yes, please identify each healthcare provider who provided the oral
            instructions:

                    Name of Healthcare Provider




        13. Have you ever seen any advertisements (e.g., in magazines or television
            commercials) for Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

        14. If yes, identify the advertisement or commercial, and approximately when you
            saw the advertisement or commercial:

                                                                Date of Advertisement or
                 Type of Advertisement or Commercial
                                                                      Commercial




        15. Other than through your attorneys, have you had any communication, oral or
            written, with any of the Defendants or their representatives? Yes ‫ ܆‬No‫܆‬

        16. If yes, please identify:

                  Date of                Method of        Name of       Substance of
               Communication           Communication    Representative Communication




        17. Have you filed a MedWatch Adverse Event Report to the FDA? Yes ‫ ܆‬No‫܆‬

YOU MUST UPLOAD NOW ANY MEDICAL RECORDS IN YOUR POSSESSION
DEMONSTRATING ALLEGED INJURY OR PHOTOGRAPHS SHOWING YOUR




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   HAIR BEFORE AND AFTER TREATMENT WITH TAXOTERE® ALONG WITH
   THE DATE(S) THE PHOTOGRAPHS WERE TAKEN.

Other Claimed Damages

            18. Mental or Emotional Damages: Do you claim that your use of Taxotere® or
                Docetaxel caused or aggravated any psychiatric or psychological condition?
                Yes ‫ ܆‬No‫܆‬

            19. If yes, did you seek treatment for the psychiatric or psychological condition?
                Yes ‫ ܆‬No‫܆‬

                         Provider                   Date                  Condition




            20. Medical Expenses: Do you claim that you incurred medical expenses for the
                alleged injury that you claim was caused by Taxotere® or Docetaxel? Yes ‫܆‬
                No‫܆‬

            21. If yes, list all of your medical expenses, including amounts billed or paid by
                insurers and other third-party payors, which are related to any alleged injury
                you claim was caused by Taxotere® or Docetaxel:

                         Provider                   Date                   Expense




            22. Lost Wages: Do you claim that you lost wages or suffered impairment of
                earning capacity because of the alleged injury that you claim was caused by
                Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

            23. If yes, state the annual gross income you earned for each of the three (3) years
                before the injury you claim was caused by Taxotere® or Docetaxel.

                          Year                    Annual Gross Income




            24. State the annual gross income for every year following the injury or condition
                you claim was caused by Taxotere® or Docetaxel.




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                            Year                    Annual Gross Income




               25. Out-of-Pocket Expenses: Are you making a claim for lost out-of-pocket
                   expenses? Yes ‫ ܆‬No‫܆‬

               26. If yes, please identify and itemize all out-of-pocket expenses you have
                   incurred:

                                Expense                 Expense Amount




VII.     HAIR LOSS INFORMATION

Background
               1. Did you ever see a healthcare provider for hair loss BEFORE taking
                  Taxotere® or Docetaxel? Yes ‫ ܆‬No ‫܆‬

               2. Did your hair loss begin during chemotherapy treatment? Yes ‫ ܆‬No‫܆‬

               3. If yes, did you FIRST experience hair loss:

                      a) After treatment with another chemotherapy agent: ‫܆‬

                      b) After treatment with Taxotere® or Docetaxel: ‫܆‬

               4. At any time before or during the hair loss were you:

                                Condition                  Yes           Description
                     Pregnant                               ‫܆‬
                     Seriously ill                          ‫܆‬
                     Hospitalized                           ‫܆‬
                     Under severe stress                    ‫܆‬
                     Undergoing treatment for any
                                                           ‫܆‬
                     other medical condition

               5. When did you FIRST discuss with or see a healthcare provider about your hair
                  loss? BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

               6. Have you started any special diets at any time before or during the hair loss?
                  Yes ‫ ܆‬No ‫ ܆‬Describe:___________________________________________


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Hair Loss History

                                                                                     Name of Healthcare
                                  Question                           No       Yes
                                                                                         Provider
            Have you had a biopsy of your scalp to evaluate          ‫܆‬        ‫܆‬
            your hair loss problem?
            Have you had blood tests done to evaluate your hair      ‫܆‬        ‫܆‬
            loss problem?
            Have your hormones ever been checked to evaluate         ‫܆‬        ‫܆‬
            your hair loss problem?
            Have you ever been told by a doctor that you have a      ‫܆‬        ‫܆‬
            thyroid condition?
            Have you ever been treated with thyroid hormone?         ‫܆‬        ‫܆‬
            Have you ever been told by a doctor that you have a      ‫܆‬        ‫܆‬
            low iron level?

              7. Have you ever been on endocrine or hormonal therapy, either before or after
                 chemotherapy with Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

              8. If yes, please identify:

                                                    Dates of
                        Treating Physician                               Treatment
                                                   Treatment




              9. Do you have any autoimmune diseases? Yes ‫ ܆‬No‫܆‬

              10. If yes, check the following which describes you:

                          Autoimmune Disease             Yes
                    Lupus                                 ‫܆‬
                    Rheumatoid arthritis                  ‫܆‬
                    Celiac disease                        ‫܆‬
                    Type 1 diabetes                       ‫܆‬
                    Sjogrens disease                      ‫܆‬
                    Vitiligo                              ‫܆‬
                    Hashimoto’s                           ‫܆‬
                    Other:_____________________           ‫܆‬


              11. Were you taking any medications when your hair loss began? Yes ‫ ܆‬No‫܆‬



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                            Medication



Hair Care

            12. How often do you wash/shampoo your hair? Every ______ days

            13. Check any of the following that apply to you currently or that have in the past:
                   




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                                                     Period of
                     Hair Treatment            Yes                      Frequency
                                                       Time
                                                                 ‫܆‬Never
            Hair chemically processed or                         ‫܆‬Once a week
            straightened (relaxers, keratin,                     ‫܆‬2-3 times a week
                                               ‫܆‬         
            Brazilian blowout, Japanese                          ‫܆‬Once a month
            straightening, other)                                ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
            Hair heat processed or
                                                                 ‫܆‬2-3 times a week
            straightened (blow drying/ flat    ‫܆‬         
            ironing, curling)                                    ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Hair dyed                          ‫܆‬         
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Hair highlighted                   ‫܆‬         
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Braids                             ‫܆‬         
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Weaves                             ‫܆‬        
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year




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                                                                          ‫܆‬Never
                                                                          ‫܆‬Once a week
                                                                          ‫܆‬2-3 times a week
                      Tight hairstyles (ponytails)    ‫܆‬        
                                                                          ‫܆‬Once a month
                                                                          ‫܆‬Once every 1-2 months
                                                                          ‫܆‬A few times a year
                                                                          ‫܆‬Never
                                                                          ‫܆‬Once a week
                                                                          ‫܆‬2-3 times a week
                      Extensions                      ‫܆‬        
                                                                          ‫܆‬Once a month
                                                                          ‫܆‬Once every 1-2 months
                                                                          ‫܆‬A few times a year
                                                                          ‫܆‬Never
                                                                          ‫܆‬Once a week
                                                                          ‫܆‬2-3 times a week
                      Other:_____________________     ‫܆‬        
                                                                          ‫܆‬Once a month
                                                                          ‫܆‬Once every 1-2 months
                                                                          ‫܆‬A few times a year

             14. Have you ever used the following?
                    
                                Hair Treatment                      Yes
                  WEN Cleansing Conditioners                         ‫܆‬
                  Unilever Suave Professionals Keratin
                                                                    ‫܆‬
                  Infusion
                  L’Oréal Chemical Relaxer                          ‫܆‬

             15. Has your hair care regimen been different in the past? Yes ‫ ܆‬No‫܆‬

                       a) If yes, describe:____________________________________________

Hair Loss Treatment

             16. Did you use any other methods to prevent hair loss during chemotherapy?

                                    Hair Treatment                  Yes
                      Folic Acid supplementation                     ‫܆‬
                      Minoxidil                                      ‫܆‬
                      Other:___________________________              ‫܆‬

             17. Did you wear a cool cap during chemotherapy treatment? Yes ‫ ܆‬No‫܆‬

             18. If yes, which cooling cap did you wear: ______________________________

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              19. Have you used any over-the-counter medications, supplements, or cosmetic
                  aides for your hair loss? Yes ‫ ܆‬No‫܆‬

              20. If yes, please state the following:

                                                        When was     How long did
                             Treatment                                                  Did it help?
                                                         it tried?    you try it?
                                                                                    ‫܆‬Yes
                                                                           
                                                                                    ‫܆‬No
                                                                                    ‫܆‬Yes
                                                                           
                                                                                    ‫܆‬No
                                                                                    ‫܆‬Yes
                                                                           
                                                                                    ‫܆‬No

              21. Has anything helped your hair loss? Yes ‫ ܆‬No‫܆‬

              22. If yes, please specify:

                                                         Dates of     Place of
                          Type of Product                                           Results of Use
                                                          Use         Purchase
                                                                          
                                                                                   
                                                                                   

              23. As of the date you verify your PFS, how long have you had alopecia or
                  incomplete hair re-growth?_________________________________________

              24. Has any hair regrowth occurred? Yes ‫ ܆‬No‫܆‬

              25. Have you ever worn a wig to conceal your hair loss? Yes ‫ ܆‬No‫܆‬

              26. Specify:

                                                                        Place
                         Dates Used            Period of Use                            Cost of Item
                                                                      Purchased
                                                                           
                                                                                   
                                                                                   

VIII. RECORD HOLDER IDENTIFICATION

Healthcare Providers:




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                1. Identify each physician, doctor, or other healthcare provider who has provided
                   treatment to you for any reason in the past eight (8) years and the reason for
                   consulting the healthcare provider or mental healthcare provider.

YOU MUST INCLUDE YOUR ONCOLOGIST, RADIOLOGIST, DERMATOLOGIST,
DERMATOLOGIST-PATHOLOGIST, HAIR LOSS SPECIALIST, GYNECOLOGIST,
OBSTETRICIAN, AND PRIMARY CARE PHYSICIAN, ALONG WITH ANY OTHER
HEALTHCARE PROVIDERS IDENTIFIED ABOVE

                                                                                      Reason for
      Name           Area or Specialty        Address                Dates
                                                                                     Consultation




Hospitals, Clinics, and Other Facilities:


                2. Identify each hospital, clinic, surgery center, physical therapy or rehabilitation
                   center, or other healthcare facility where you have received inpatient or outpatient
                   treatment (including emergency room treatment) in the past eight (8) years:


YOU MUST INCLUDE THE LOCATIONS FOR SURGERIES, RADIOLOGY,
IMAGING, BIOPSIES, CHEMOTHERAPY, CHILD BIRTHS, GYNECOLOGIC
PROCEDURES OR TREATMENT, ALONG WITH ANY OTHER HEALTHCARE
FACILITIES

         Name                     Address                Dates            Reason for Treatment




Laboratories:

                3. Identify each laboratory at which you had tests run in the past ten (10) years:

      Name                Address               Dates                Test          Reason for Tests




Pharmacies:

                4. To the best of your recollection, Identify each pharmacy, drugstore, and/or other
                   supplier (including mail order) where you have had prescriptions filled or from


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                   which you have ever received any prescription medication within three (3) years
                   prior to and three (3) years after your first treatment with Taxotere:

         Name                    Address                   Dates                 Medications




Retailers:

                5. Identify each pharmacy, drugstore, and/or other retailer (including mail order)
                   where you have purchased over-the-counter medications, or hair products in the
                   past ten (10) years:

         Name                    Address                   Dates                  Purchases




Insurance Carriers:

                6. Identify each health insurance carrier which provided you with medical coverage
                   and/or pharmacy benefits for the last ten (10) years:

                                           Name of Insured                              Dates of
      Carrier              Address                               Policy Number
                                              & SSN                                     Coverage




IX. DOCUMENT REQUESTS AND AUTHORIZATIONS

   Please state which of the following documents you have in your possession. If you do not have
   the following documents but know they exist in the possession of others, state who has
   possession of the documents: Produce all documents in your possession (including writings on
   paper or in electronic form) and signed authorizations and attach a copy of them to this PFS.

Requests
                       
                                                                             If No, who has the
                   Type of Document(s)                        Yes    No
                                                                                document(s)?
 Documents you reviewed to prepare your answers to
 this Plaintiff Fact Sheet.
 Your attorney may withhold some documents on claims          ‫܆‬       ‫܆‬
 of attorney-client privilege or work product protection
 and, if so, provide a privilege log


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                                                                        If No, who has the
                 Type of Document(s)                         Yes   No
                                                                           document(s)?
Medical records or other documents related to the use
of Taxotere® or Docetaxel at any time for the past           ‫܆‬     ‫܆‬
twelve (12) years.
Medical records or other documents related to your
treatment for any disease, condition or symptom
                                                             ‫܆‬     ‫܆‬
referenced above for any time in the past twelve (12)
years.
Laboratory reports and results of blood tests performed
                                                             ‫܆‬     ‫܆‬
on you related to your hair loss.
Pathology reports and results of biopsies performed on
you related to your hair loss.
Plaintiffs or their counsel must maintain the slides
                                                             ‫܆‬     ‫܆‬
and/or specimens requested in this subpart, or send a
preservation notice, copying Defendants, to the
healthcare facility where these items are maintained.
Documents reflecting your use of any prescription drug
or medication at any time within the past eight (8)          ‫܆‬     ‫܆‬
years.
Documents identifying all chemotherapy agents that
                                                             ‫܆‬     ‫܆‬
you have taken.
Documents for any workers' compensation, social
security or other disability proceeding at any time          ‫܆‬     ‫܆‬
within the last five (5) years.
Instructions, product warnings, package inserts,
handouts or other materials that you were provided or        ‫܆‬     ‫܆‬
obtained in connection with your use of Taxotere®.
Advertisements or promotions for Taxotere®.                  ‫܆‬     ‫܆‬
Articles discussing Taxotere®.                               ‫܆‬     ‫܆‬
Any packaging, container, box, or label for Taxotere®
or Docetaxel that you were provided or obtained in
connection with your use of Taxotere®.                       ‫܆‬     ‫܆‬
Plaintiffs or their counsel must maintain the originals of
these items.
Documents which mention Taxotere® or Docetaxel or
any alleged health risks related to Taxotere®.
Your attorney may withhold some legal documents,
documents provided by your attorney, or documents
                                                             ‫܆‬     ‫܆‬
obtained or created for the purpose of seeking legal
advice or assistance on claims of attorney-client
privilege or work product protection and, if so, provide
a privilege log.
Documents obtained directly or indirectly from any of
                                                             ‫܆‬     ‫܆‬
the Defendants.


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                                                                      If No, who has the
                 Type of Document(s)                       Yes   No
                                                                         document(s)?
Communications or correspondence between you and
                                                           ‫܆‬     ‫܆‬
any representative of the Defendants.
Photographs, drawing, slides, videos, recordings,
DVDs, or any other media that show your alleged            ‫܆‬     ‫܆‬
injury or its effect in your life.
Journals or diaries related to the use of Taxotere® or
Docetaxel or your treatment for any disease, condition
                                                           ‫܆‬     ‫܆‬
or symptom referenced above at any time for the past
twelve (12) years.
Social media or internet posts to or through any site
(including, but not limited to, Facebook, MySpace,
LinkedIn, Google Plus, Windows Live, YouTube,
                                                           ‫܆‬     ‫܆‬
Twitter, Instagram, Pinterest, blogs, and Internet chat
rooms/message boards) relating to Taxotere® or
Docetaxel or any of your claims in this lawsuit.
If you claim you have suffered a loss of earnings or
earning capacity, your federal tax returns for each of
the five (5) years preceding the injury you allege to be
caused by Taxotere® or Docetaxel, and every year           ‫܆‬     ‫܆‬
thereafter or W-2s for each of the five (5) years
preceding the injury you allege to be caused by
Taxotere® or Docetaxel, and every year thereafter.
If you claim any medical expenses, bills from any
physician, hospital, pharmacy or other healthcare          ‫܆‬     ‫܆‬
providers.
Records of any other expenses allegedly incurred as a
                                                           ‫܆‬     ‫܆‬
result of your alleged injury.
If you are suing in a representative capacity, letters
                                                           ‫܆‬     ‫܆‬
testamentary or letters of administration.
If you are suing in a representative capacity on behalf
of a deceased person, decedent’s death certificate         ‫܆‬     ‫܆‬
and/or autopsy report.
Photographs of you that are representative of your hair
composition before treatment with Taxotere® or             ‫܆‬     ‫܆‬
Docetaxel.
Photographs of you that are representative of your hair
composition during treatment with Taxotere® or             ‫܆‬     ‫܆‬
Docetaxel.
Photographs of you that are representative of your hair
composition six months after conclusion of treatment       ‫܆‬     ‫܆‬
with Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
                                                           ‫܆‬     ‫܆‬
composition in present day.


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                                                                            If No, who has the
                Type of Document(s)                         Yes     No
                                                                               document(s)?
Signed authorizations for medical records related to any
cancer treatment identified herein and all pharmacy
records from three (3) years before and three (3) years      ‫܆‬      ‫܆‬
after your first treatment with Taxotere in the forms
attached hereto.

X. DECLARATION

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that all of the information
      provided in connection with this Plaintiff Profile Form is true and correct to the best of my
      knowledge information and belief at the present time.

________________________                    ___________________
Signature                                   Date

XI. AUTHORIZATIONS

      See QH[WSDJHIRU$XWKRUL]DWLRQV




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                            LIMITED AUTHORIZATION TO DISCLOSE HEALTH INFORMATION
                      Pursuant to the Health Insurance Portability and Accountability Act "HIPAA" of 4/14/03
                        (Excluding Psychiatric, Psychological, and Mental Health Treatment Notes/Records)

TO:
Patient Name:
DOB:
SSN:

                  I, _____________________ , hereby authorize you to release and furnish to: Shook Hardy & Bacon LLP, Keogh Cox &
Wilson Ltd., Ulmer & Berne LLP, Greenberg Traurig LLP, Wheeler Trigg O’Donnell LLP, Adams and Reese LLP, Chaffe McCall LLP,
Quinn Emanuel Urquhart & Sullivan LLP, Morrison & Foerster LLP, Leake & Anderson LLP, Hinshaw & Culbertson LLP, Kirkland &
Ellis LLP and/or their duly assigned agents, copies of the following records and/or information from the time period of twelve (12) years
prior to the date on which the authorization is signed:

* All medical records, including inpatient, outpatient, and emergency room treatment, all clinical charts, reports, documents,
  correspondence, test results, statements, questionnaires/histories, office and doctor's handwritten notes, and records received by other
  physicians. Said medical records shall include all information regarding AIDS and HIV status.
* All autopsy, laboratory, histology, cytology, pathology, radiology, CT Scan, MRI, echocardiogram and cardiac catheterization reports.
* All radiology films, mammograms, myelograms, CT scans, photographs, bone scans,
  pathology/cytology/histology/autopsy/immunohistochemistry specimens, cardiac catheterization videos/CDs/films/reels, and
  echocardiogram videos.
* All pharmacy/prescription records including NDC numbers and drug information handouts/monographs.
* All billing records including all statements, itemized bills, and insurance records.
**Notwithstanding the broad scope of the above disclosure requests, the undersigned does not authorize the disclosure of notes or
records pertaining to psychiatric, psychological, or mental health treatment or diagnosis as such terms are defined by HIPAA, 45
CFR §164.501.

1. To my medical provider: this authorization is being forwarded by, or on behalf of, attorneys for the defendants for the
purpose of litigation. You are not authorized to discuss any aspect of the above-named person's medical history, care,
treatment, diagnosis, prognosis, information revealed by or in the medical records, or any other matter bearing on his or her
medical or physical condition, unless you receive an additional authorization permitting such discussion. Subject to all
applicable legal objections, this restriction does not apply to discussing my medical history, care, treatment, diagnosis,
prognosis, information revealed by or in the medical records, or any other matter bearing on my medical or physical condition
at a deposition or trial.

2. I understand that the information in my health record may include information relating to sexually transmitted disease, acquired
immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV).

3. I understand that I have the right to revoke this authorization at any time. I understand that if I revoke this authorization I must do so
in writing and present my written revocation to the health information management department. I understand the revocation will not
apply to information that has already been released in response to this authorization. I understand the revocation will not apply to my
insurance company when the law provides my insurer with the right to contest a claim under my policy. Unless otherwise revoked, this
authorization will expire in one year.

4. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this authorization. I need not
sign his form in order to assure treatment. I understand I may inspect or copy the information to be used or disclosed as provided in CFR
164.524. I understand that any disclosure of information carries with it the potential for an unauthorized re-disclosure and the
information may not be protected by federal confidentiality rules. If I have questions about disclosure of my health information, I can
contact the releaser indicated above.

5. A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an original.

Print Name:                                             (plaintiff/representative)


Signature: ______________________________________ Date


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                    LIM ITED AUTHORIZATIO N TO DISCLO SE EM PLOYM ENT
                      RECORDS AND INFORM ATION (HIPAA COM PLIANT
                     AUTHORIZATION FO RM PURSUANT TO 45 CFR 164.508)

T O:
         Name of Employer



         Address, City State and Zip Code

RE:      Employee Name:                                                    AKA:
         Date of Birth: ________________________ Social Security Number:

         Address:

I authorize the limited disclosure of my employment records including medical information protected by HIPAA,
45 CFR 164.508, for the purpose of review and evaluation in connection with a legal claim.

This authorization only authorizes release of records and/or information from the time period of seven (7)
years prior to the date on which this authorization is signed. I expressly request that all entities identified
above disclose full and complete records from the time period of seven (7) years prior to the date on which this
authorization is signed, including the following:

This will authorize you to furnish copies of all applications for employment; resumes; records of all positions
held; job descriptions of positions held; wage and income statements and/or compensation records; wage
increases and decreases; evaluations, reviews and job performance summaries; W-2s; employee health files, and
correspondence and memoranda regarding the undersigned.



I authorize you to release the information to:



Name (Records Requestor)



Street Address                                                 City                                 State and Zip Code

I intend that this authorization shall be continuing in nature. If information responsive to this authorization is created,
learned or discovered at any time in the future, either by you or another party, you must produce such information to
the Records Requestor at that time.

I acknowledge the right to revoke this authorization by writing to you at the above referenced address. However, /
understand that any actions already taken in reliance on this authorization cannot be reversed, and my revocation
will not affect those actions. Any facsimile, copy or photocopy of the authorization shall authorize you to release
the records herein.




Signature of Employee or Personal Representative           Date         Name of Employee or Personal Representative



Description of Personal Representative's Authority to Sign for Employee (attach documents that show authority)




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                               LIMITED AUTHORIZATION FOR
                                  RELEASE OF WORKERS'
                                 COMPENSATION RECORDS


To:
                       Name


                       Address


                       City, State and Zip Code

       This will authorize you to furnish copies of any and all workers' compensation records
of any sort for any workers’ compensation claims filed within the last ten (10) years,
including, but not limited to, statements, applications, disclosures, correspondence, notes,
settlements, agreements, contracts or other documents, concerning:


                                           Name of Claimant

 whose date of birth is ______________and whose social security number is



       You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.



        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code


        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.




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        This authorization shall be considered as continuing in nature and is to be given full force
and effect to release information of any of the foregoing learned or determined after the date hereof.
It is expressly understood by the undersigned and you are authorized to accept a copy or photocopy
of this authorization with the same validity as through the original had been presented to you.


Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                       LIMITED AUTHORIZATION FOR RELEASE OF
                             DISABILITY CLAIMS RECORDS



To:
                        Name


                        Address


                        City, State and Zip Code


        This will authorize you to furnish copies of any and all records of disability claims of any
sort for any disability claim(s) filed within the last ten (10) years, including, but not limited to,
statements, applications, disclosures, correspondence, notes, settlements, agreements, contracts or
other documents, concerning:

                                            Name of Claimant

 whose date of birth is ______________and whose social security number is


        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.
        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.


        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code




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        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.



Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                                      FOR RELEASE OF
                                 HEALTH INSURANCE RECORDS


To:
                        Name


                        Address


                        City, State and Zip Code

        This will authorize you to furnish copies of any and all insurance claims applications and
benefits, and all medical, health, hospital, physicians, nursing or allied health professional reports,
records or notes, invoices and bills, in your possession that pertain to the named insured identified
below. This authorization only authorizes release of Health Insurance records and/or
information from the time period of ten (10) years prior to the date on which this authorization
is signed.

                                            Name of Claimant

 whose date of birth is ______________and whose social security number is
        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.

        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code




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        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.
        This authorization is not valid unless the record requestor named above has executed the
acknowledgement at the bottom of this authorization.
        This authorization shall be considered as continuing in nature and is to be given full force and
effect to release information of any of the foregoing learned or determined after the date hereof. It is
expressly understood by the undersigned and you are authorized to accept a copy or photocopy of
this authorization with the same validity as through the original had been presented to you.



Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                                LIMITED AUTHORIZATION TO DISCLOSE PSYCHIATRIC,
                    PSYCHOLOGICAL AND/OR MENTAL HEALTH TREATMENT NOTES/RECORDS
                   (Pursuant to the Health Insurance Portability and Accountability Act "HIPAA" of 4/14/03)

TO:
Patient Name:
DOB:
SSN:

         I, ________________________ , hereby authorize you to release and furnish to: Shook Hardy & Bacon LLP, Keogh Cox &
         Wilson Ltd., Ulmer & Berne LLP, Greenberg Traurig LLP, Wheeler Trigg O’Donnell LLP, Adams and Reese LLP, Chaffe
         McCall LLP, Quinn Emanuel Urquhart & Sullivan LLP, Morrison & Foerster LLP, Leake & Anderson LLP, Hinshaw &
         Culbertson LLP, Kirkland & Ellis LLP and/or their duly assigned agents, copies of the following records and/or information
         from the time period of ten (10) years prior to the date on which the authorization is signed:

     x   All “psychotherapy notes”, as such term is defined by the Health Insurance Portability and Accountability Act, 45 CFR
         §164.501. Under HIPAA, the term “psychotherapy notes” means notes recorded (in any medium) by a health care provider
         who is a mental health professional documenting or analyzing the contents of conversations during a private counseling session
         or a group, joint or family counseling session and that are separated from the rest of the individual’s record. This authorization
         does not authorize ex parte communication concerning same.

1. To my medical and/or mental health provider: this authorization is being forwarded by, or on behalf of, attorneys for the
defendants for the purpose of litigation. You are not authorized to discuss any aspect of the above-named person's medical
history, mental health history, care, treatment, diagnosis, prognosis, information revealed by or in the medical or mental
health records, or any other matter bearing on his or her medical, psychological, or physical condition, unless you receive
an additional authorization permitting such discussion. Subject to all applicable legal objections, this restriction does not
apply to discussing my medical history, mental health history, care, treatment, diagnosis, prognosis, information revealed
by or in the medical or mental health records, or any other matter bearing on my medical, psychological, or physical
condition at a deposition or trial.

2. I understand that the information in my health record may include information relating to sexually transmitted disease, acquired
immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV). It may also include information about behavioral or
mental health services, and treatment for alcohol and drug abuse.

3. I understand that I have the right to revoke this authorization at any time. I understand that if I revoke this authorization I must do
so in writing and present my written revocation to the health information management department. I understand the revocation will
not apply to information that has already been released in response to this authorization. I understand the revocation will not apply to
my insurance company when the law provides my insurer with the right to contest a claim under my policy. Unless otherwise revoked,
this authorization will expire in one year.

4. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this authorization. I need
not sign his form in order to assure treatment. I understand I may inspect or copy the information to be used or disclosed as provided
in CFR 164.524. I understand that any disclosure of information carries with it the potential for an unauthorized re-disclosure and the
information may not be protected by federal confidentiality rules. If I have questions about disclosure of my health information, I can
contact the releaser indicated above.

5.   A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an original.

Print Name: ____________________________________ (plaintiff/representative)

Signature: ______________________________________ Date ________________




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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                          MDL NO. 2740
PRODUCTS LIABILITY
LITIGATION
                                                                     SECTION “N” (5)
THIS DOCUMENT RELATES TO
ALL CASES

                               PRETRIAL ORDER NO. 24
[Service of Fact Sheets and Authorizations through MDL Centrality and PLC Distribution
                           of Orders and Notices per PTO No. 1]

       The Parties have agreed to accept online submission and service of Plaintiff and Defendant

Fact Sheets (“PFS” and “DFS”) (collectively, “Fact Sheets”), attachments to Fact Sheets, and

transmittal by the PLC of Orders and notices described in PTO No. 1, paragraph 15 in actions filed

in or transferred to MDL No. 2740, and therefore, in the interest of efficiency and judicial

economy,

       IT IS HEREBY ORDERED that:

       1. Manner of Completion and Service of Fact Sheets and Authorization Forms. Plaintiffs

and Defendants shall use the online MDL Centrality System designed and provided by

BrownGreer PLC and accessible at www.mdlcentrality.com/Taxotere to complete and serve

Plaintiff and Defendant Fact Sheets, as follows:

(a) Each Plaintiff required to submit a Plaintiff Fact Sheet (“PFS”), shall, by counsel or as a pro
    se Plaintiff, obtain an authorized user name and secure login password to permit use of a secure
    online portal in the MDL Centrality online system by such counsel or pro se Plaintiff. Except
    as set forth herein, Counsel for a Plaintiff or each pro se Plaintiff shall be permitted to view,
    search and download on MDL Centrality only those materials submitted by that Plaintiff and
    by Defendants relating to that Plaintiff, and not materials submitted by or relating to other
    Plaintiffs.




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(b) Each Defendant, through their counsel, shall obtain an authorized user name and secure login
    password to permit use of a secure online portal with the MDL Centrality online system by
    such defendant’s counsel.

(c) The Plaintiffs’ Executive Committee and Attorney Designees appointed by the Plaintiffs’
    Executive Committee, shall have access to and be able to view, search and download all
    materials submitted by all Plaintiffs and by all Defendants.

(d) Each Plaintiff and Defendant shall use the MDL Centrality System to obtain, complete or
    upload data, and serve the appropriate Fact Sheet online (including the upload of PDFs or other
    electronic images, and photographs of any records required in the Fact Sheets), as well as any
    Fact Sheet Deficiency Notices, unless it is not reasonably practical due to international data
    privacy laws and requirements, in which case Defendants will produce by another medium.

(e) Each Plaintiff shall use the MDL Centrality System to obtain, complete and serve online the
    Plaintiff’s Records Authorizations. Each Plaintiff shall sign each of the required Records
    Authorizations, which will then be uploaded and served through MDL Centrality.

(f) Service of a completed Fact Sheet and Records Authorizations shall be deemed to occur when
    the submitting party has performed each of the steps required by the MDL Centrality System
    to execute the online submission of the materials, the submitting party has received
    confirmation on screen that the materials have been successfully submitted, and the receiving
    party has received notice of the submission via notification in the MDL Centrality System.

(g) If a party amends a previously served Fact Sheet, all subsequent versions must be named
    accordingly (“First Amended Fact Sheet”, “Second Amended Fact Sheet”, etc.), and all
    iterations of a party’s Fact Sheet must remain available and accessible to all Parties to a case
    through trial, appeal (if any), or other resolution of the litigation.

(h) The Court may establish a secure online portal with the MDL Centrality online system and
    obtain an authorized user name and secure login password to permit use of MDL Centrality by
    the Court.

       2. Payment for Centrality. For these services, BrownGreer will charge a $10 filing fee for

each initial Plaintiff Fact Sheet submitted by Plaintiffs. The first time Plaintiffs’ Counsel or pro

se Plaintiff submits a Plaintiff Fact Sheet, the platform will require the payment of this filing fee

via credit card. There will be no additional charge for any amendments or additional filings.

       For these services, BrownGreer will be paid by the Defendants a $10 fee for each Plaintiff

Fact Sheet submitted by Plaintiffs, which will be allocated amongst all Defendants in a manner to

be determined later and following further discussions between BrownGreer and Defendants. The

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time of payment will also be determined at a later date and following further discussions between

BrownGreer and Defendants.

       3. HIPAA Authorization. By using MDL Centrality, each Plaintiff authorizes the

disclosure of his or her medical records and other health information submitted as part of the PFS

or DFS to BrownGreer PLC as the administrator of the MDL Centrality System, the Court,

Plaintiffs’ Executive Committee and Attorney Designees Appointed by the Plaintiffs’ Executive

Committee and Defendants, and to the authorized agents, representatives and experts of the

foregoing, for purposes of this litigation.

       4. PLC Pleading Distribution to Other Plaintiff Counsel (PTO 1)- Email Addresses and

Counsel Contact Form. All attorneys of record for Plaintiffs in this litigation or any pro se Plaintiff

who complies with the requirements of this Order on whom service of documents must be

effectuated shall, within ten days of the entry of this Order, or of the entry of appearance for a new

attorney of record for any Plaintiff or the entry of a pro se Plaintiff, or the docketing of their

transferred case, whichever occurs earliest, (1) obtain an e-mail address and access to the Internet's

World Wide Web (the "Web") if they do not have an e-mail address and Web access; (2) forward

to Plaintiffs’ Co-Liaison Counsel (Dawn M. Barrios and M. Palmer Lambert) (hereinafter “PLC”)

at dwhite@bkc-law.com a fully completed "MDL 2740 Counsel Contact Information Form," as

required by Pretrial Order 7, and forward a copy to BrownGreer at jswoody@browngreer.com;

and (3) sign up for electronic service in this litigation by registering with the BrownGreer MDL

Centrality system by going to https://www.mdlcentrality.com/taxotere, and following the

instructions on how to register.




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        Within five business days of the entry of this order, Plaintiffs’ Co-Liaison Counsel shall

provide MDL Centrality with the then current list of Plaintiffs’ counsel who executed Counsel

Contact Forms in the MDL 2740 via email to jswoody@browngreer.com.

        Plaintiff Attorneys who fail to register with MDL Centrality and complete a Counsel

Contact Form in accordance with Pre-Trial Order 7 or any pro se Plaintiff who fails to register

with MDL Centrality will no longer receive service of documents filed in the MDL.

        5. Interaction with Clerk of Court. When practicable, representatives of MDL Centrality

shall meet and confer with the Clerk of Court for the United States District Court, Eastern District

of Louisiana, to obtain a listing of all cases filed in MDL 2740, which listing should include the

case name and number, original jurisdiction where filed, party name, party type, attorneys' names,

firm names and addresses, phone numbers and e-mail addresses for each case in MDL 2740.

        The Clerk of Court shall execute the steps necessary to include BrownGreer as the MDL

Centrality Administrator as an interested party for purposes of receiving emailed ECF notifications

related to this matter.

        From time-to-time, the Court may call upon BrownGreer to run reports, statistics, and

queries as directed by the Court.

        6. PLC Pleading Distribution to Other Plaintiff Counsel - Access to Pleadings through

MDL Centrality. Once BrownGreer advises PLC that the MDL Centrality system is in place, PLC

will notify all Plaintiffs’ counsel who have provided Counsel Contact Forms pursuant to Pre-Trial

Order 7. Upon such notice by PLC, PLC is no longer required to serve and distribute pleadings,

orders, and motions on Plaintiffs’ attorneys of record, as required by Pre-Trial Order 1. All

distribution of documents filed in the MDL on individual Plaintiffs’ counsel by PLC shall hereafter




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be made via MDL Centrality. This method of distribution will be deemed to satisfy any obligations

of PLC to distribute pleadings and other documents to all other Plaintiff’s counsel.

       MDL Centrality’s system will upload all documents (all references to "document" include

exhibits, if any) in Adobe PDF electronic format onto an Internet website maintained by MDL

Centrality, in MDL No. 2740, where counsel of record or pro se Plaintiffs who are registered users

of the MDL Centrality system may access the copy. The MDL Centrality system shall contain an

index of all served documents for the MDL No. 2740 litigation that is searchable and able to be

sorted according to methods that provide useful 24 hour/seven day a week access to the documents

via the Web.

       Once a document is uploaded and submitted electronically, MDL Centrality shall send an

e-mail to all registered users notifying them that the document has been posted to its Website

(unless such registered user has declined to receive e-mails).

       7. Registered Users. Only registered users of MDL Centrality will be able to access the

MDL No. 2740 documents hosted online with MDL Centrality. Registered users will include

counsel of record for any party in the consolidated MDL No. 2740 or any pro se plaintiff who

complies with the requirements of this Order. Only counsel for a party in the Taxotere MDL or a

pro se plaintiff shall be allowed to register or have access to the MDL Centrality system.

       8. Administrative Agreement. MDL Centrality will also be bound by the terms of the

Administrative Agreement(s) and all Confidentiality and Protective Orders.

       9. Responsibility to Keep Current Contact Information. MDL Centrality shall perform all

administrative functions to the system. Once initially registered, MDL Centrality shall be

responsible for the registration and confirmation of all contact information for registered users.

After initial enrollment/registration, it shall be the responsibility of the registered users to keep



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current their contact information by noting any changes directly on the MDL Centrality Website

and completing an amended Counsel Contact Form to be sent to dwhite@bkc-law.com.

       10. Privileges or Work Product Protection Maintained. Nothing in this Order shall be

interpreted to alter or waive any attorney-client privilege or work product doctrine protection, or

any other privilege or protection otherwise applicable under the law. Until material is served on

or purposefully disclosed to the opposing party, any notations, comments, or documents stored or

uploaded to MDL Centrality shall be afforded all applicable protections and limitations on waiver,

including but not limited to those codified in Rule 502 of the Federal Rules of Evidence. Pursuant

to Rule 502(d) of the Federal Rules of Evidence, any disclosure connected with this Order that

does not constitute waiver of any attorney-client privilege or work product doctrine protection, or

any other privilege or protection in litigation pending before the Court, also does not constitute

waiver in any other federal or state proceeding.

       11. Effective Service. Defendants shall satisfy their service obligations for PFS deficiency

notices, DFSs, and any accompanying documents as to any and all Plaintiffs’ counsel or pro se

Plaintiff by service through MDL Centrality. Other than service on Defendants of the initial PFS,

any supplemental PFS, any documents uploaded in connection with completion of the PFS,

including signature page(s), and any DFS Deficiency Notice(s), nothing in this Order shall be

construed to alter or amend the requirements of Plaintiffs to serve Defendants with process,

summons, discovery, motions, or any other pleadings or documents. Service of process, summons,

discovery, motions, or any pleadings or documents other than the initial PFS, any supplemental

PFS, any documents uploaded in connection with completion of the PFS, including signature

page(s), and any DFS Deficiency Notice(s) shall be in accordance with the applicable requirements

of the Federal Rules of Civil Procedure or any other Orders of this Court regarding service. Any



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documents served pursuant to this Order shall be deemed to be served pursuant to Federal Rule of

Civil Procedure 5.

       12. Confidentiality and Protective Orders. All registered users shall be bound by any

Confidentiality and Protective Orders that this Court may issue, as well as the terms and conditions

for the use of the MDL Centrality system which includes adherence to the terms and conditions of

the MDL Centrality User Agreement which will be one of the first matters counsel or pro se

Plaintiff will see on the first time they log in. MDL Centrality will also be bound by the terms of

said Confidentiality and Protective Orders.



       New Orleans, Louisiana, this 13th day of Marc
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 IN RE: TAXOTERE (DOCETAXEL)                       §     MDL NO. 2740
 PRODUCTS LIABILITY LITIGATION                     §
                                                   §     SECTION “N” (5)
 THIS DOCUMENT RELATES TO:                         §
 ALL CASES                                         §     HON. KURT D. ENGELHARDT
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       Considering the foregoing joint motion of Defendants Hospira Worldwide, LLC 5HF

'RF , formerly doing business as Hospira Worldwide, Inc., Pfizer Inc., and Sandoz Inc.,


       ,7,625'(5('that the nomination of John F. Olinde as Defense Liaison Counsel

to serve with current Defense Liaison Counsel Douglas J. Moore is hereby *5$17('.


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        NEW ORLEANS, LOUISIANA, this ___BB            March
                                      15th day of ______________, 2017.




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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                      MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION
                                                                   SECTION “N” (5)
  THIS DOCUMENT RELATES TO:
  ALL CASES




                             PRETRIAL ORDER NO. 26
     [Designating Defense Counsel to Attend Plaintiffs’ Steering Committee Meetings]

       Pursuant to Pretrial Order No. 21 (Rec. Doc. 276), the following counsel have been

designated by Defendants to attend each of the Plaintiffs’ Steering Committee meetings, which

take place prior to each status conference:

 NAME                                             CLIENT


 Douglas J. Moore (Defense Liaison sanofi-aventis, U.S. LLC
 Counsel)
 John F. Olinde (proposed Co-Defense Liaison Pfizer, Inc., Hospira Worldwide, LLC
 Counsel)
 Harley Ratliff                              sanofi-aventis, U.S. LLC

 Mark S. Cheffo                                   Pfizer, Inc., Hospira Worldwide, LLC

 Cliff Merrell                                    Sandoz, Inc.

 Chad A. Sullivan                                 Accord Healthcare, Inc.

 Michael J. Suffern                               Actavis Pharma, Inc.

 Habib Nasrullah                                  Northstar Rx LLC

 Geoffrey M. Coan                                 Sun Pharma Global, Inc.

 Dmitriy Tishyevich                               Eagle Pharmaceuticals, Inc.



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Erin M. Bosman                                   McKesson Corporation       d/b/a   McKesson
                                                 Packaging
Jon Strongman (settlement counsel)               sanofi-aventis, U.S. LLC



      New Orleans, Louisiana, this 16th day of March, 2017.


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                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                             MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                         SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                                   PRETRIAL ORDER NO. 27
                          (Order from March 17, 2017 Status Conference)

       A status conference was held on March 17, 2017, at 10:00 a.m. in Judge Kurt D. Engelhardt’s

courtroom. At the conference, Plaintiffs’ Liaison Counsel, Dawn Barrios and Palmer Lambert, and

Defendants’ Liaison Counsel, Douglas Moore and John Olinde, reported to the Court on the topics listed

in “Joint Report No. 2 of Liaison Counsel” (Rec. Doc. 290). IT IS ORDERED that:

       (1) The next status conference will take place on Friday, May 12, 2017, at 10:00 a.m. in Judge

          Engelhardt’s courtroom, with the meeting of liaison counsel at 8:30 a.m. and meeting of the

          Plaintiffs’ Steering Committee at 9:00 a.m. The Court has set up a conference line for the status

          conference. To participate, call (800) 260-0712 and enter access code 421090.

       (2) “Science Day” with the Court, the purpose of which is to provide the Court with information

          that is educational in nature rather than adversarial, will take place on Wednesday, May 3,

          2017, at 8:30 a.m. in Judge Engelhardt’s courtroom.

       (3) Liaison counsel shall provide a list of member cases with pending motions and where the issue

          of remand has been raised, but not yet been determined, prior to the action being transferred to

          the Eastern District of Louisiana and consolidated into MDL 2740. Furthermore, liaison

          counsel shall identify any briefing materials in the record of such member cases that may have

          already been submitted. Liaison counsel shall provide this list to the Court via email

          (chynna_anderson@laed.uscourts.gov) on or before Friday, March 24, 2017.

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(4) Liaison counsel shall provide a list of cases that are currently pending outside of MDL 2740.

   Such list shall contain information regarding the status of the matter, e.g., awaiting transfer to

   MDL 2740 or pending in Delaware state court. Liaison counsel shall provide this list to the

   Court via email (chynna_anderson@laed.uscourts.gov) on or before Friday, March 24, 2017.

(5) Plaintiffs’ Liaison Counsel shall submit a chart to Defendants’ Liaison Counsel and to the

   Court via email (chynna_anderson@laed.uscourts.gov), which contains information regarding

   when a Defendant’s product received FDA approval and when that product was placed on or

   entered the market.

(6) Counsel     from      the     settlement       committees     shall     email      the     Court

   (chynna_anderson@laed.uscourts.gov) to schedule a meeting with Judge Engelhardt.

(7) Liaison counsel shall contact the Court via email (chynna_anderson@laed.uscourts.gov) to

   schedule a meeting with the Court, which will take place within the next three (3) weeks.

(8) Liaison counsel shall confer regarding the development of a discovery schedule and possible

   dates for bellwether trials prior to the next
                                              xt status conference on Friday,
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New Orleans, Louisiana, this 22nd day of March
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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                                  MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                              SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                                 PRETRIAL ORDER NO. 28
                          [Setting a Meeting with Liaison Counsel]

       Pursuant to Pretrial Order No. 27 (Rec. Doc. 298), the next meeting of liaison counsel shall

take place on Friday, April 21, 2017, at 9:00 a.m. in Judge Kurt D. Engelhardt’s chambers.

       New Orleans, Louisiana, this 27th day
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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                                   MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                               SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                                 PRETRIAL ORDER NO. 29
                       [Streamlined Service on Accord Healthcare, Inc.]

I.      SCOPE OF THE ORDER

        This Stipulated Order shall govern (1) cases transferred to this Court by the Judicial Panel

on Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to

Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in this

Court or transferred or removed to this Court. The Order only applies to claims brought by a U.S.

citizen or resident based on usage or purchase of docetaxel in the United States.

II.     STREAMLINED SERVICE OF PROCESS FOR ACCORD HEALTHCARE, INC.

        A.     Accord Healthcare, Inc. agrees to waive formal service of process under Federal

Rule of Civil Procedure 4 and to accept service of docetaxel cases that are properly commenced

in, removed to, or transferred to this MDL. By waiving formal service of process, Accord

Healthcare, Inc. does not waive any defenses available to it.

        B.     These procedures for informal service of process are not available in cases in which

the plaintiff seeks remand to state court unless and until remand is denied. For plaintiffs seeking

remand, all deadlines set forth in this Order run from the date on which remand is denied.
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       C.      Plaintiffs whose Complaints are not subject to Paragraph B above, who have not

already served Accord Healthcare, Inc., and whose case has not yet been docketed in the MDL

shall have ninety (90) days from the date the case is docketed in the MDL to serve the Complaint

with a Summons. Plaintiffs whose cases already have been docketed in this MDL shall have sixty

(60) days from entry of this Order to serve the Complaint with a Summons. The Complaint and a

Summons shall be served by electronic mail (“email”) to the following address:

docetaxel@keoghcox.com. Each email sent to this address shall only contain one Complaint and

Summons, and the subject line of each email shall state the plaintiff’s first and last name as well

as the originating court. The body of each email must also include contact information for counsel

of record.

       D.      Plaintiffs should receive an automatic reply from the mailbox address when a

complaint is served. If no such reply is received within twenty-four (24) hours, Plaintiffs should

re-serve it pursuant to the terms of this Order. Upon successful e-mail service, the date of the initial

effort to serve the Complaint via email shall be deemed the date of service.

       E.      Service will be effective only if addressed as above. General mailing or use of other

methods of transmission, including but not limited to Federal Express or email to an alternate

address, will not be sufficient to effect service. In accordance with Pretrial Order No. 1, Accord

Healthcare, Inc. is not required to respond to effectively served Complaints until a date to be set

by the Court. Accord Healthcare, Inc. agrees to provide thirty (30) days written notice before

moving to dismiss for a technical defect in the service process described in this section. Failure to

serve a Complaint within the time periods set forth above will be subject to the standards governing

Fed. R. Civ. P. 4(m). Other than those based on formal service of process, Accord Healthcare, Inc.




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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 323 of 657




reserves all other rights and defenses available to it under federal or state law and under applicable

treaties and conventions.

                                       h day of March, 2017.
       New Orleans, Louisiana, this 27th




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                                UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA



In Re: TAXOTERE (DOCETAXEL)                                                     MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                                SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                                    PRETRIAL ORDER NO. 30
                                [Streamlined Service on Sandoz Inc.]


I.      SCOPE OF THE ORDER

        This Stipulated Order shall govern (1) cases transferred to this Court by the Judicial Panel

on Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to

Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in this

Court or transferred or removed to this Court. The Order only applies to claims brought by a U.S.

citizen or resident based on usage or purchase of docetaxel in the United States.

II.     STREAMLINED SERVICE OF PROCESS FOR SANDOZ INC.

        A.     Sandoz Inc. agrees to waive formal service of process under Federal Rule of Civil

Procedure 4 and to accept service of docetaxel cases that are properly commenced in, removed

to, or transferred to this MDL. By waiving formal service of process, Sandoz Inc. does not waive

any defenses available to it.

        B.     These procedures for informal service of process are not available in cases in which

the plaintiff seeks remand to state court unless and until remand is denied. For plaintiffs seeking

remand, all deadlines set forth in this Order run from the date on which remand is denied.


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   Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 325 of 657




       C.      Plaintiffs whose Complaints are not subject to Paragraph B above, who have

not already served Sandoz Inc., and whose case has not yet been docketed in the MDL shall

have ninety (90) days from the date the case is docketed in the MDL to serve the Complaint

with a Summons. Plaintiffs whose cases already have been docketed in this MDL shall have sixty

(60) days from entry of this Order to serve the Complaint with a Summons. The Complaint and

a Summons shall be served by electronic mail (“email”) to the following address: sandoz-

taxotere-complaints@gtlaw.com. Each email sent to this address shall only contain one

Complaint and Summons, and the subject line of each email shall state the plaintiff’s first and

last name as well as the originating court. The body of each email must also include contact

information for counsel of record.

       D.      Plaintiffs should receive an automatic reply from the mailbox address when

a complaint is served. If no such reply is received within twenty-four (24) hours, Plaintiffs

should re-serve it pursuant to the terms of this Order. Upon successful e-mail service, the date of

the initial effort to serve the Complaint via email shall be deemed the date of service.

       E.      Service will be effective only if addressed as above. General mailing or use of other

methods of transmission, including but not limited to Federal Express or email to an alternate

address, will not be sufficient to effect service. In accordance with Pretrial Order No. 1, Sandoz

Inc. is not required to respond to effectively served Complaints until dates provided by Pretrial

Order No. 15 (MDL Doc. No. 230). Any deadlines for Sandoz Inc. which are triggered by e-mail

service of Complaints pursuant to this Order shall be extended by ten (10) days. Sandoz Inc.

agrees to provide thirty (30) days written notice before moving to dismiss for a technical

defect in the service process described in this section. Failure to serve a Complaint within the

time periods set forth above will be subject to the standards governing Fed. R. Civ. P. 4(m). Other
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than those based on formal service of process, Sandoz Inc. reserves all other rights and

defenses available to it under federal or state law and under     applicable treaties and

conventions.

      New Orleans, Louisiana, this 27th day of March 20
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      Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 327 of 657




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                         MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                      SECTION “N” (5)
 THIS DOCUMENT RELATES TO:
 ALL CASES


                                 PRETRIAL ORDER NO.
                      >Amended Task Codes for Common Benefit Order@

        THE COURT being fully advised on the matter, hereby *5$176 Plaintiffs’ Co-

Liaison Counsel’s Ex Parte Motion to Amend Exhibit B (Rec. Doc. 262-2) to Pretrial Order No.

19 (Rec. Doc. 262) regarding task codes for common benefit work and enters Pretrial Order No.

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        New Orleans, Louisiana, this WKGD\of
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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                                   MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                               SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                                PRETRIAL ORDER NO. 32
                        [Streamlined Service on Actavis Pharma, Inc.]

I.      SCOPE OF THE ORDER

        This Stipulated Order shall govern (1) cases transferred to this Court by the Judicial Panel

on Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to

Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in this

Court or transferred or removed to this Court. The Order only applies to claims brought by a U.S.

citizen or resident based on usage or purchase of docetaxel in the United States.

II.     STREAMLINED SERVICE OF PROCESS FOR ACTAVIS PHARMA, INC.

        A.     Actavis Pharma, Inc. agrees to waive formal service of process under Federal Rule

of Civil Procedure 4 and to accept service of docetaxel cases that are properly commenced in,

removed to, or transferred to this MDL. By waiving formal service of process, Actavis Pharma,

Inc. does not waive any defenses available to it.

        B.     These procedures for informal service of process are not available in cases in which

the plaintiff seeks remand to state court unless and until remand is denied. For plaintiffs seeking

remand, all deadlines set forth in this Order run from the date on which remand is denied.
    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 329 of 657




       C.      Plaintiffs whose Complaints or Short Form Complaints are not subject to Paragraph

B above, who have not already served Actavis Pharma, Inc., and whose case has not yet been

docketed in the MDL shall have ninety (90) days from the date the case is docketed in the MDL

to serve the Complaint or Short Form Complaint with a Summons. Plaintiffs whose cases already

have been docketed in this MDL shall have sixty (60) days from entry of this Order to serve the

Complaint or Short Form Complaint with a Summons. The Complaint or Short Form Complaint

and a Summons shall be served by electronic mail (“email”) to the following address:

actdocecomp@ulmer.com. Each email sent to this address shall only contain one Complaint or

Short Form Complaint and Summons, and the subject line of each email shall state the plaintiff’s

first and last name as well as the originating court. The body of each email must also include

contact information for counsel of record.

       D.      Plaintiffs should receive an automatic reply from the mailbox address when a

complaint and summons is served. If no such reply is received within twenty-four (24) hours,

Plaintiffs should re-serve it pursuant to the terms of this Order. Upon successful e-mail service,

the date of the initial effort to serve the Complaint or Short Form Complaint and a Summons via

email shall be deemed the date of service.

       E.      Service will be effective only if addressed as above. General mailing or use of other

methods of transmission, including but not limited to Federal Express or email to an alternate

address, will not be sufficient to effect service. In accordance with Pretrial Order No. 1, Actavis

Pharma, Inc. is not required to respond to effectively served Complaints or Short Form Complaints

until a date to be set by the Court. Actavis Pharma, Inc. agrees to provide thirty (30) days written

notice before moving to dismiss for a technical defect in the service process described in this

section. Failure to serve a Complaint or a Short Form Complaint within the time periods set forth




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above will be subject to the standards governing Fed. R. Civ. P. 4(m). Other than those based on

formal service of process, Actavis Pharma, Inc. reserves all other rights and defenses available to

it under federal or state law and under applicable treaties and conventions.

                                         is 31st day of March, 2017
               New Orleans, Louisiana, this                    20
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                                                               2017.




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      Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 331 of 657




                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                                   MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                               SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                                 PRETRIAL ORDER NO. 33
                       [Streamlined Service on McKesson Corporation]

I.      SCOPE OF THE ORDER

        This Stipulated Order shall govern (1) cases transferred to this Court by the Judicial Panel

on Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to

Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in this

Court or transferred or removed to this Court. The Order only applies to claims brought by a U.S.

citizen or resident based on usage or purchase of docetaxel in the United States.

II.     STREAMLINED SERVICE OF PROCESS FOR MCKESSON CORPORATION

        A.     McKesson Corporation agrees to waive formal service of process under Federal

Rule of Civil Procedure 4 and to accept service of docetaxel cases that are properly commenced

in, removed to, or transferred to this MDL. By waiving formal service of process, McKesson

Corporation does not waive any defenses available to it.

        B.     These procedures for informal service of process are not available in cases in which

the plaintiff seeks remand to state court unless and until remand is denied. For plaintiffs seeking

remand, all deadlines set forth in this Order run from the date on which remand is denied.




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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 332 of 657




       C.      Plaintiffs whose Complaints are not subject to Paragraph B above, who have not

already served McKesson Corporation, and whose case has not yet been docketed in the MDL

shall have ninety (90) days from the date the case is docketed in the MDL to serve the Complaint

with a Summons. Plaintiffs whose cases already have been docketed in this MDL shall have sixty

(60) days from entry of this Order to serve the Complaint with a Summons. The Complaint and a

Summons shall be served by electronic mail (“email”) to the following address:

McKessonTaxotere@mofo.com. Each email sent to this address shall only contain one Complaint

and Summons, and the subject line of each email shall state the plaintiff’s first and last name as

well as the originating court. The body of each email must also include contact information for

counsel of record.

       D.      Plaintiffs should receive an automatic reply from the mailbox address when a

complaint is served. If no such reply is received within twenty-four (24) hours, Plaintiffs should

re-serve it pursuant to the terms of this Order. Upon successful e-mail service, the date of the initial

effort to serve the Complaint via email shall be deemed the date of service.

       E.      Service will be effective only if addressed as above. General mailing or use of other

methods of transmission, including but not limited to Federal Express or email to an alternate

address, will not be sufficient to effect service. In accordance with Pretrial Order No. 1, McKesson

Corporation is not required to respond to effectively served Complaints until a date to be set by

the Court. McKesson Corporation agrees to provide thirty (30) days written notice before moving

to dismiss for a technical defect in the service process described in this section. Failure to serve a

Complaint within the time periods set forth above will be subject to the standards governing Fed.

R. Civ. P. 4(m). Other than those based on formal service of process, McKesson Corporation




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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 333 of 657




reserves all other rights and defenses available to it under federal or state law and under applicable

treaties and conventions.

                                        his 31st day of March,, 20
               New Orleans, Louisiana, this                     2017.




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                    )   Case No. 2:16-md-02740-KDE-MBN
      PRODUCTS LIABILITY                       )
      LITIGATION                               )   MDL No. 2740
                                               )

THIS DOCUMENT RELATES TO ALL CASES
                              35(75,$/ORDER12
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         Considering the Consent Motion for Extension of Time to Submit Proposed Orders

 Regarding the Streamlined Service of Defendants Eagle Pharmaceuticals, Inc. and

 NorthStar Rx LLC 5HF 'RF  , IT IS HEREBY ORDERED that the Motion is

 granted.    Defendants Eagle Pharmaceuticals, Inc. and NorthStar Rx LLC shall have until

 0RQGD\ $SULO   to submit their respective proposed orders regarding streamlined service,

 if resolution is not reached.



       New Orleans, Louisiana, this _____ day of March, 2017




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     Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 335 of 657




                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA



 In Re: TAXOTERE (DOCETAXEL)                                                   MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                               SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                               PRETRIAL ORDER NO. 35
          [Scheduling Meetings Between the Court and the Settlement Committees]

        Pursuant to Pretrial Order No. 27 (Rec. Doc. 298), counsel from the Settlement Committees

have contacted the Court to schedule a meeting.

        IT IS ORDERED that the Court will hold a meeting with the Settlement Committees on

Wednesday, May 3, 2017, following the conclusion of the “Science Day” presentations scheduled

for this date.

        IT IS FURTHER ORDERED that the Court will hold a follow-up meeting with the

Settlement Committees on Friday, May 12, 2017, following the conclusion of the general status

conference scheduled for this date.

        New Orleans, Louisiana, this 31st day
                                            y of March 2017.



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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 336 of 657




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                    )   Case No. 2:16-md-02740-KDE-MBN
       PRODUCTS LIABILITY                      )
       LITIGATION                              )   MDL No. 2740
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THIS DOCUMENT RELATES TO ALL CASES


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       Considering the Consent Motion for Withdrawal of Deadline to Submit Proposed Orders

Regarding the Streamlined Service of Defendants Eagle Pharmaceuticals, Inc. and NorthStar Rx

LLC 5HF 'RF  , IT IS HEREBY ORDERED that the Motion is *5$17('. The

deadline to submit proposed orders regarding streamlined service is hereby withdrawn with

respect to Defendants Eagle Pharmaceuticals, Inc. and NorthStar Rx LLC.


                                     6th
                                       h__ day of __
       New Orleans, Louisiana, this _____               A _pril
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

    In Re: TAXOTERE (DOCETAXEL)                                      MDL NO. 2740
           PRODUCTS LIABILITY
           LITIGATION                                                SECTION “N” (5)

    THIS DOCUMENT RELATES TO:
    ALL CASES


                                  PRETRIAL ORDER NO. 37
                               [Exemplar Short Form Complaint]

       Pretrial Order 15 (R. Doc. 230) ordered the Plaintiffs, through the Plaintiffs’ Steering

Committee (PSC), to submit a proposed Pretrial Order with an attached exemplar Short Form

Complaint. The exemplar Short Form Complaint provided to the Court is attached as Attachment

A for Plaintiffs’ counsel's use when filing their complaints. Short Form Complaints shall be used

by Plaintiffs’ counsel consistent with Pretrial Order No. 15, and counsel are encouraged to review

it prior to using the form provided by the PSC. Only one Plaintiff (and any

secondary/consortium/representative Plaintiff(s) claiming through or on behalf of the Plaintiff) is

allowed on each Short Form Complaint. The Short Form Complaint is intended to provide

guidance for individual counsel who should refer to the Master Complaint in conjunction with the

use of the Short Form Complaint. Individual Plaintiffs’ counsel shall tailor the form to correspond

to each Plaintiff’s claims/allegations.

       If the Short Form Complaint is a Plaintiff’s original pleading, it must be filed as a new

complaint through the Court’s CM/ECF system consistent with the Local Rules1 and served with




1
        See Eastern District of Louisiana website for instructions on opening a new case.
http://www.laed.uscourts.gov/case-information/cmecf/efiling-new-case
                                                1
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a summons, pursuant to Rule 4 of the Federal Rules of Civil Procedure, or pursuant to relevant

Pretrial Orders regarding “streamlined” service of process entered in this MDL, and not in the

master MDL docket. If the Short Form Complaint is filed as an amending complaint, it should be

filed in the member case,2 and not in the MDL master file. For any case in which no Defendant

has filed a responsive pleading or a motion directed at the pleadings pursuant to Rule 12 of the

Federal Rules of Civil Procedure, Plaintiff need not seek leave to amend until Defendants have

filed a Master Answer pursuant to Pretrial Order No. 15. For any case in which any Defendant

has filed a responsive pleading or a motion directed at the pleadings pursuant to Rule 12 of the

Federal Rules of Civil Procedure, whether Plaintiff must seek leave to amend a prior complaint,

including by the filing of a Short Form Complaint, shall be governed by Rule 15 of the Federal

Rules of Civil Procedure.

        If further direction regarding filing is needed, please contact the Court at (504) 589-7715.

       If further direction regarding the Short Form Complaint is needed, Counsel may contact

Plaintiffs’ Liaison Counsel, Dawn Barrios or Palmer Lambert, with any questions regarding the

exemplar form.


       NEW ORLEANS, LOUISIANA,
                            A, this 6th day of April 20
                                                     2017.



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                                             KURT D. ENGELHAR
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                                             UNITED STATES DISTRICT
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       Filing attorneys shall use the event “Taxotere Amended Complaint” found under the
Service of Process Category in the Court’s CM/ECF system.
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

                                                  :
 IN RE: TAXOTERE (DOCETAXEL)                      :        MDL NO. 2740
 PRODUCTS LIABILITY LITIGATION                    :
                                                  :        SECTION “N” (5)
                                                  :
 THIS DOCUMENT RELATES TO:                        :        HON. KURT D. ENGELHARDT
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                                  SHORT FORM COMPLAINT

        Plaintiff(s) incorporate by reference the Master Long Form Complaint and Jury Demand

filed in the above-referenced case on March 31, 2017. Pursuant to Pretrial Order No. 15, this Short

Form Complaint adopts allegations and encompasses claims as set forth in the Master Long Form

Complaint against Defendant(s).

        Plaintiff(s) further allege as follows:

 1.        Plaintiff:



 2.        Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss

           of consortium):



 3.        Other type of Plaintiff and capacity (i.e., administrator, executor, guardian,

           conservator):



 4.        Current State of Residence:

 5.        State in which Plaintiff(s) allege(s) injury:



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                                                                             ATTACHMENT “A”
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6.       Defendants (check all Defendants against whom a Complaint is made):

         a.     Taxotere Brand Name Defendants

                       A.     Sanofi S.A.

                       B.     Aventis Pharma S.A.

                       C.     Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.

                       D.     Sanofi-Aventis U.S. LLC

         b.     Other Brand Name Drug Sponsors, Manufacturers, Distributors

                       A.     Sandoz, Inc.

                       B.     Accord Healthcare, Inc.

                       C.     McKesson Corporation d/b/a McKesson Packaging

                       D.     Hospira Worldwide Inc.

                       E.     Hospira Inc

                       F.     Sun Pharma Global FZE

                       G.     Sun Pharma Global Inc.

                       H.     Caraco Pharmaceutical Laboratories Ltd.

                       I.     Pfizer Inc.

                       J.     Allergan Finance LLC f/k/a Actavis Inc.

                       K.     Actavis Pharma Inc.

                       L.     Other:




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                                                                        ATTACHMENT “A”
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7.        Basis for Jurisdiction:

                   Diversity of Citizenship

                   Other (any additional basis for jurisdiction must be pled in sufficient detail as
                   required by the applicable Federal Rules of Civil Procedure):




8.        Venue:

          District Court and Division in which remand and trial is proper and where you might
          have otherwise filed this Short Form Complaint absent the direct filing Order entered by
          this Court:




9.        Brand Product(s) used by Plaintiff (check applicable):

                   A.     Taxotere

                   B.     Docefrez

                   C.     Docetaxel Injection

                   D.     Docetaxel Injection Concentrate

                   E.     Unknown

                   F.     Other:




10.       First date and last date of use (or approximate date range, if specific dates are unknown)
          for Products identified in question 9:




                                                 3
                                                                           ATTACHMENT “A”
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11.       State in which Product(s) identified in question 9 was/were administered:




12.           Nature and extent of alleged injury (including duration, approximate
              date of onset (if known), and description of alleged injury):



13.           Counts in Master Complaint brought by Plaintiff(s):

                  Count I – Strict Products Liability - Failure to Warn
                  Count II – Strict Products Liability for Misrepresentation
                  Count III – Negligence
                  Count IV – Negligent Misrepresentation
                  Count V – Fraudulent Misrepresentation
                  Count VI – Fraudulent Concealment
                  Count VII – Fraud and Deceit
                  Count VIII – Breach of Express Warranty (Sanofi Defendants
                  only)

                  Other: Plaintiff(s) may assert the additional theories and/or State
                  Causes of Action against Defendant(s) identified by selecting
                  “Other” and setting forth such claims below. If Plaintiff(s)
                  includes additional theories of recovery, for example, Redhibition
                  under Louisiana law or state consumer protection claims, the
                  specific facts and allegations supporting additional theories must
                  be pleaded by Plaintiff in sufficient detail as required by the
                  applicable Federal Rules of Civil Procedure.




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                                                                          ATTACHMENT “A”
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14.       Name of Attorney(s), Bar Number(s), Law Firm(s), Phone Number(s),
          Email Address(es) and Mailing Address(es) representing Plaintiff(s):

                                        By:




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                                                                    ATTACHMENT “A”
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                                 UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA


    In Re: TAXOTERE (DOCETAXEL)                                                            MDL NO. 2740
           PRODUCTS LIABILITY
           LITIGATION
                                                                                           SECTION “N” (5)

    THIS DOCUMENT RELATES TO
    ALL CASES


                             AMENDED PRETRIAL ORDER NO. 22
                    [Service of Plaintiff Fact Sheets and Defendant Fact Sheets]

         This Order amends and supersedes this Court’s previous Pretrial Order No. 22 (Rec. Doc.

279) that was issued on March 10, 2017. 1

     In accordance with Pretrial Order No. 18, this Order governs the form and schedule for service

of Plaintiff Fact Sheets (“PFS”), Record Document 236-1, and Defendant Fact Sheets (“DFS”),

Record Document 236-2, in cases that were: (1) transferred to this Court by the Judicial Panel on

Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) subsequently transferred to

this Court by the Judicial Panel on Multidistrict Litigation pursuant to Rule 7.4 of the Rules of

Procedure of that Panel; and (3) originally filed in this Court or transferred or removed to this

Court.


     1. Considering the nature of the case and the difficulty of identifying the exact manufacturer,

         each side shall be given reasonable flexibility with the timeframes set forth herein.

         Accordingly, the Parties may agree to extensions of the below deadlines for the completion

         and service of PFSs, executed Authorizations, and DFSs. If the Parties cannot agree on an


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         For simplicity purposes, this Order completely supersedes Pretrial Order No. 22 and contains all information
relevant to form and schedule for service of the fact sheets.
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        extension of time after meeting and conferring, the requesting Party may apply to the Court

        for such relief upon a showing of good cause.

PLAINTIFF FACT SHEETS:

    2. Plaintiffs shall each complete and serve upon Defendants a PFS and Authorizations for

        Release of Records of all healthcare providers and other sources of information and records

        (e.g. pharmacies, employers, etc.) using MDL Centrality in the form set forth in PFS. R.

        Doc. 236-1. In addition, any plaintiff asserting a claim for lost wages must complete an

        authorization for release of employment records. Those Plaintiffs shall also produce with

        their PFS all documents responsive to the document requests contained therein.

    3. A complete and verified2 PFS, signed and dated Authorizations, and all responsive

        documents in Plaintiff’s possession shall be submitted to the Defendants using MDL

        Centrality on the following schedule: (a) within seventy-five (75) days from the date of

        this Order for any Plaintiff whose case has been docketed in this MDL on or before the

        date of this Order; (b) within seventy-five (75) days of the date the case is docketed in this

        MDL for any Plaintiff whose case is docketed in the MDL after the date of this Order. The

        Authorizations are set forth in PFS Attachment A.

    4. In the event any single law firm has more than twenty-five (25) PFSs due on the same date

        in accordance with the schedule set forth above, that firm shall submit to Defendants at

        least twenty-five (25) PFSs in accordance with the above schedule, an additional twenty-

        five (25) PFSs within sixty (60) days of those submissions; and any additional PFSs within

        sixty (60) days of those submissions.


2
  Plaintiffs may verify a PFS by their handwritten signature or through the use of an electronic signature using an
application such as DocuSign, and all subsequent amendments or supplements to the PFS may be verified by signature
of the plaintiff’s attorney.
                                                        2

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     Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 346 of 657




    5. Plaintiffs who fail to provide a complete and verified PFS, signed and dated Authorizations,

         and all responsive documents requested in the PFS within the time periods set forth herein

         shall be given notice of deficiency3 via MDL Centrality within forty-five (45) days of

         service of the PFS, 4 and shall be given thirty (30) additional days from the date the notice

         of deficiency is submitted through MDL Centrality to cure such deficiency. Afterwards,

         Defendants may add the name and case number of any Plaintiff who fails to cure

         deficiencies within the thirty-day cure period to the Agenda for the next Status

         Conference. No briefing is required. Any Plaintiff who remains deficient at the time of

         that Status Conference will be subject to an Order to Show Cause, returnable at the

         following Status Conference, which will require Plaintiff to show cause why her Complaint

         should not be dismissed with prejudice. Failure to timely comply may result in a dismissal

         of Plaintiff’s claim.

    6. Authorizations shall be dated and signed. Defendants may use the Authorizations for all

         healthcare providers and other sources of information and records (e.g., pharmacies,

         employers, etc.) identified in the PFS, without further notice to Plaintiff’s counsel. Within

         twenty (20) days of receipt of records by Defendants, Defendants’ Liaison Counsel

         (“DLC”) shall make said records received pursuant to the Authorizations available to

         Plaintiffs’ Liaison Counsel (“PLC”) and Plaintiff’s counsel by uploading a copy to MDL




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  Each party shall bring any and all deficiencies to the attention of the opposing counsel in one letter, and shall be
barred from raising any additional deficiencies that were apparent at the time, absent good cause shown, except those
arising from the response to/cure of the deficiency.
4
  Service of a completed Fact Sheet and Records Authorizations shall be deemed to occur when the submitting party
has performed each of the steps required by the MDL Centrality System to execute the online submission of the
materials, and the submitting party has received confirmation on screen that the materials have been successfully
submitted, and the receiving party has received notification of the submission via the MDL Centrality System.
                                                          3

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        Centrality at a reasonable cost to the requesting Plaintiff of electronically reproducing

        records received by defendants.

    7. If Defendants wish to use an Authorization to obtain medical records from a source that is

        not identified in the PFS, Defendants shall provide the Plaintiff’s counsel for that particular

        case with fourteen (14) days written notice (email) of the intent to use an authorization to

        obtain records from that source. If Plaintiff’s counsel fails to object to the request within

        fourteen (14) days, Defendants may use the authorization to request the medical records

        from the source identified in the notice. If Plaintiff’s counsel objects to the use of the

        authorization to obtain records from the source identified in the notice within said fourteen

        (14) day period, Plaintiff’s counsel and Defendants’ counsel shall meet and confer in an

        attempt to resolve the objection. If counsel are unable to resolve the objection, Plaintiff

        shall file a motion for a protective order within thirty (30) days of the Defendants’ notice

        of intent to use the authorization.

    8. Plaintiffs’ responses to the PFS shall be treated as answers to interrogatories under Fed. R.

        Civ. P. 33 and responses to requests for production of documents under Fed. R. Civ. P. 34

        and shall be supplemented in accordance with Fed. R. Civ. P. 26.

    9. Defendants’ use of the PFS and Authorizations shall be without prejudice to Defendants’

        right to serve additional discovery, if authorized in further Orders of the Court.

DEFENDANT FACT SHEETS:

    10. Because of the naming of multiple defendants in individual cases and questions of product

        identification, the following limitations shall apply to which Defendant(s) serve DFSs, in

        the form set forth in DFS, Record Document 236-2, in which cases:



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             a. Before 2011 – Sanofi Defendants only: If the first treatment date and last treatment

                date identified by a Plaintiff in PFS Section V(12)(c-d) is before 2011 and the PFS

                is submitted with the documentation required by PFS Section III and VI, only

                Defendants Sanofi S.A., Aventis Pharma S.A., and Sanofi-Aventis U.S., LLC, and

                Winthrop US (collectively “sanofi Defendants”) must complete and serve a

                corresponding DFS. Sanofi Defendants need not complete and serve a DFS in any

                case where it has not been properly served either with process and summons

                consistent with the Federal Rules of Civil Procedure or consistent with Pretrial

                Order No. 9 (R. Doc. 160).

             b. 2011 or Later with Product Identification – That Defendant Only:

                     i. If the first treatment date and last treatment date the Plaintiff identified in

                        PFS Section V(12)(c-d) is 2011 or later; Plaintiff has provided the

                        information request by PFS Section VI(12-14); and the PFS is submitted

                        with the documentation required by PFS Section III and VI;

                    ii. Only the Defendant(s) whose product the Plaintiff identified in PFS Section

                        III(2-3) and for whom documentation required by PFS Section VI was

                        provided must complete and serve a DFS. No Defendant must complete

                        and serve a DFS in any case where it has not been properly served either

                        with process and summons consistent with the Federal Rules of Civil

                        Procedure or by service through procedures for streamlined service as

                        approved by Orders in this MDL.

             c. 2011 or Later without Product Identification – Named, Served Defendants But
                Limited DFS Only:



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                i. If the first treatment date and last treatment date the Plaintiff identified in

                   PFS Section V(12)(c-d) is 2011 or later; Plaintiff has provided the

                   information request by PFS Section VI(12-14); and the PFS is submitted

                   with the documentation required by PFS Sections III and VI; and

               ii. If the Plaintiff selects “unknown” or does not identify the product allegedly

                   taken in PFS Section III(2-3) and certifies in PFS Section III(4) that

                   reasonable, good faith efforts were made to identify the manufacturer of

                   Docetaxel; then

               iii. Each Defendant named by Plaintiff in her lawsuit Complaint and properly

                   served either with process and summons consistent with the Federal Rules

                   of Civil Procedure or by service through procedures for streamlined service

                   as approved by Orders in this MDL must complete and serve a DFS, but

                   only DFS Sections I - II.

               iv. Notwithstanding the requirements of this Paragraph, no Defendant must

                   complete and serve any DFS, including DFS Sections I – II, if their

                   Docetaxel product was not FDA approved until after the last treatment date

                   identified by the Plaintiff in PFS Section V(12)(c-d).

               v. Defendants subject to the provisions of this paragraph need not complete

                   any remaining DFS sections unless and until the product used in the

                   Plaintiff’s care is identified by supplementation of PFS Section III(2-3);

                   Plaintiff has provided the information requested by PFS Section VI(12-14);

                   and the PFS is submitted with the documentation required by PFS Section

                   III and VI. However, once the above-stated conditions are met, Defendant


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                           must complete and submit a DFS in accordance with the time period and

                           requirements set forth herein.

    11. Subject to the limitations set forth in Paragraph 10, Defendants shall submit a DFS to the

         Plaintiff using MDL Centrality within seventy-five (75) days of the date the Defendants

         receive a substantially completed PFS from a Plaintiff. Solely for the purpose of triggering

         the DFS submission deadline, the term “substantially completed” in this Order and in the

         DFS (R. Doc. 236-2) is defined as service on Defendants of the PFS with Plaintiff’s signed

         verification and the documentation required by PFS Sections III and VI, i.e., prescription

         and/or pharmacy records demonstrating use of Taxotere (or Docetaxel), as well as medical

         records in Plaintiff’s possession demonstrating alleged injury or photographs showing

         Plaintiff’s hair before and after treatment with Taxotere (Docetaxel) along with the dates

         the photographs were taken.

    12. In the event any single Defendant has more than twenty-five (25) DFSs due on the same

         date in accordance with the schedule set forth above, that Defendant shall submit to

         Plaintiffs at least twenty-five (25) DFSs in accordance with the above schedule, an

         additional twenty-five (25) PFSs within sixty (60) days of those submissions; and any

         additional DFSs within sixty (60) days of those submissions.

    13. If Defendants fail to provide a complete and verified DFS within the time period set forth

         hereinabove, Defendants shall be given notice of the deficiency5 via MDL Centrality

         within forty-five (45) days of service of the DFS and shall be given thirty (30) additional

         days from the date the notice of deficiency is received through MDL Centrality to cure



5
  Each party shall bring any and all deficiencies to the attention of the opposing counsel in one letter, and shall be
barred from raising any additional deficiencies that were apparent at the time, absent good cause shown, except those
arising from the response to/cure of the deficiency.
                                                          7

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        such deficiency. Afterwards, Plaintiffs may add the name and case number of any cases in

        which Defendants failed to cure deficiencies within the thirty-day cure period to the

        Agenda for the next Status Conference. No briefing is required. Any Defendant who

        remains deficient at the time of that Status Conference will be subject to an Order to Show

        Cause, returnable at the following Status Conference, which will require Defendant to

        show cause why its defenses should not be stricken in that case. Failure to timely comply

        may result in a dismissal of defenses.

    14. Defendants’ responses on a DFS shall be treated as answers to interrogatories under Fed.

        R. Civ. P. 33 and responses to requests for production of documents under Fed. R. Civ. P.

        34 and shall be supplemented in accordance with Fed. R. Civ. P. 26.

    15. It will be the responsibility of the counsel for the particular plaintiffs or defendants

        involved, as well as in coordination with Liaison Counsel for plaintiffs and defendants, to

        attempt to cure deficiencies and get a PFS/DFS served prior to raising the issue with the

        Court.

    16. Plaintiffs’ use of the DFS shall be without prejudice to the right of the Plaintiffs in a specific

        case to serve additional discovery, if authorized in further Orders of the Court.


    New Orleans, Louisiana this 12th day of April, 2017.




                                                           KURT D. ENGELH
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                                                           UNITED STATES DISTRICT
                                                                         DIISTRICT JUDGE
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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                           SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                              PRETRIAL ORDER NO. 38
               [Amending the Plaintiff Fact Sheet and Defendant Fact Sheet]

       As the parties began completing the fact sheets, various typographical issues and

inconsistencies were discovered in the Plaintiff Fact Sheet (Exhibit “A” to Pretrial Order No. 18,

Rec. Doc. 236-1) and the Defendant Fact Sheet (Exhibit “B” to Pretrial Order No. 18, Rec. Doc.

236-2). In response, Plaintiffs’ Liaison Counsel submitted revised versions of these documents to

the Court for approval.

       IT IS ORDERED that the Plaintiff Fact Sheet (Exhibit “A” to Pretrial Order No. 18, Rec.

Doc. 236-1)and the Defendant Fact Sheet (Exhibit “B” to Pretrial Order No. 18, Rec. Doc. 236-2)

be and are hereby updated in the record to reflect the revised version of these documents.

       New Orleans, Louisiana, this 12th day
                                           y of April 2017



                                                    ____________________________________
                                                    __________
                                                            ____
                                                            __
                                                            ____
                                                               ______
                                                                _   ______
                                                                        ____
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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                  MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                             SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                                  PLAINTIFF FACT SHEET

        This Fact Sheet must be completed by each plaintiff who has filed a lawsuit related to the
use of Taxotere® by the plaintiff or a plaintiff’s decedent. Please answer every question to the best
of your knowledge. In completing this Fact Sheet, you are under oath and must provide information
that is true and correct to the best of your knowledge. If you cannot recall all of the details
requested, please provide as much information as you can. You must supplement your responses
if you learn that they are incomplete or incorrect in any material respect.

        In filling out this form, please use the following definitions: (1) “healthcare provider”
means any hospital, clinic, medical center, physician’s office, infirmary, medical or diagnostic
laboratory, or other facility that provides medical, dietary, psychiatric, or psychological care or
advice, and any pharmacy, weight loss center, x-ray department, laboratory, physical therapist or
physical therapy department, rehabilitation specialist, physician, psychiatrist, osteopath,
homeopath, chiropractor, psychologist, nutritionist, dietician, or other persons or entities involved
in the evaluation, diagnosis, care, and/or treatment of the plaintiff or plaintiff’s decedent; (2)
“document” means any writing or record of every type that is in your possession, including but
not limited to written documents, documents in electronic format, cassettes, videotapes,
photographs, charts, computer discs or tapes, and x-rays, drawings, graphs, phone-records, non-
identical copies, and other data compilations from which information can be obtained and
translated, if necessary, by the respondent through electronic devices into reasonably usable form.

        Information provided by plaintiff will only be used for purposes related to this
litigation and may be disclosed only as permitted by the protective order in this litigation.
This Fact Sheet is completed pursuant to the Federal Rules of Civil Procedure governing
discovery (or, for state court case, the governing rules of civil of the state in which the case
is pending).

I. CASE INFORMATION

Attorney Information

               Please provide the following information for the civil action that you filed:


                                                 1
                                                                                   Exhibit “A”
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               1. Caption:

               2. Court and Docket No.:

               3. MDL Docket No. (if different):

               4. Date Lawsuit Filed:

               5. Plaintiff’s Attorney:

               6. Plaintiff’s Law Firm:

               7. Attorney’s Address:

               8. Attorney’s Phone Number:

               9. Attorney’s Email Address:

Plaintiff Information

               Please provide the following information for the individual on whose behalf this
               action was filed:

               10. Name:_________________________________________________________

               11. Street Address:

               12. City:__________________________________________________________

               13. State:

               14. Zip code:

               15. Date of Birth:

               16. Place of Birth:

               17. Social Security Number:

               18. Maiden or other names you have used or by which you have been known:

                  _______________________________________________________________

               19. Sex: Male: ‫ ܆‬Female: ‫܆‬

               20. Race:

                                         Race                     ‫܆‬
                        American Indian or Alaska Native          ‫܆‬

                                                 2
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                                       Race                         ‫܆‬
                    Asian                                           ‫܆‬
                    Black or African American                       ‫܆‬
                    Native Hawaiian or Other Pacific Islander       ‫܆‬
                    White                                           ‫܆‬


              21. Ethnicity:

                                    Ethnicity                       ‫܆‬
                    Hispanic or Latino                              ‫܆‬
                    Not Hispanic or Latino                          ‫܆‬


              22. Primary Language:         __________________________________________

Representative Information

              If you are completing this questionnaire in a representative capacity (e.g., on
              behalf of the estate of a deceased person), please state the following:

              23. Name:_________________________________________________________

              24. Address:

              25. Capacity in which you are representing the individual:___________________

              26. If you were appointed as a representative by a court, identify the State, Court
                  and Case Number:

                     a) State:______________________

                     b) Court:_____________________

                     c) Case Number:_______________

              27. Relationship to the Represented Person:_______________________________

              28. State the date of death of the decedent:_______________________________

              29. State the place of death of the decedent:_______________________________

              30. Are you filling this questionnaire out on behalf of an individual who is
                  deceased and on whom an autopsy was performed? Yes ‫ ܆‬No‫܆‬




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If you are completing this questionnaire in a representative capacity, please respond to these
questions with respect to the person whose medical treatment involved Taxotere® or Docetaxel.

II. PERSONAL INFORMATION

Relationship Information

              1. Are you currently: Married: ‫ ܆‬Single: ‫ ܆‬Engaged: ‫ ܆‬Significant other: ‫܆‬
                 Divorced: ‫ ܆‬Widowed: ‫ ܆‬Same sex partner: ‫܆‬

              2. Have you ever been married? Yes ‫ ܆‬No‫܆‬

              3. If yes, for EACH marriage, state the following:

                                                            Date
                                                  Date of                   Nature of
                       Spouse’s Name                      Marriage
                                                 Marriage                  Termination
                                                           Ended
                                                                                 
                                                                                 
                                                                                 
Education

              4. For each level of education you completed, please check below:

              High School: ‫܆‬                    Vocational School: ‫܆‬

              College: AA: ‫ ܆‬BA/BS: ‫ ܆‬Masters: ‫ ܆‬PhD: ‫ ܆‬M.D.: ‫ ܆‬Other:

Employment
              5. Are you currently employed? Yes ‫ ܆‬No‫܆‬

              6. If yes, state the following:

                     a) Current employer name:_____________________________________

                     b) Address:_________________________________________________

                     c) Telephone number:_________________________________________

                     d) Your position there:________________________________________

              7. Are you making a claim for lost wages or lost earning capacity? Yes ‫ ܆‬No‫܆‬

              8. Only if you are asserting a wage loss claim, please state the following for EACH
                 employer for the last seven (7) years:



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                                                                            Annual
                        Name of           Address of          Dates of                   Your
                                                                             Gross
                        Employer          Employer           Employment                 Position
                                                                            Income
                                                                                           
                                                                                           
                                                                                           

              9. Have you ever been out of work for more than thirty (30) days for reasons
                 related to your health in the last seven (7) years? Yes ‫ ܆‬No‫܆‬

              10. If yes, please state the following:

                      Name of Employer               Dates         Health Reason




       YOU MUST ATTACH TAX RETURNS, EMPLOYMENT AUTHORIZATIONS, AND
       IDENTIFY THE LOSS OF CONSORTIUM PLAINTIFF’S EMPLOYERS IF
       CLAIMING LOST WAGES OR LOST EARNING CAPACITY DAMAGES.

Worker’s Compensation and Disability Claims

              11. Within the last ten (10) years, have you ever filed for workers’ compensation,
                  social security, and/or state or federal disability benefits? Yes ‫ ܆‬No‫܆‬

              12. If yes, then as to EACH application, please state the following:

                    Year Claim                       Nature of Claimed     Period of    Award
                                       Court
                      Filed                               Injury           Disability   Amount
                                                                                         
                                                                                         
                                                                                         

Military Service

              13. Have you ever served in any branch of the military? Yes ‫ ܆‬No‫܆‬

              14. If yes, state the branch and dates of service:

                            Branch                Dates of Service




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               15. If yes, were you discharged for any reason relating to your health (whether
                   physical, psychiatric, or other health condition)? Yes ‫ ܆‬No‫܆‬

               16. If yes, state the condition:__________________________________________

Other Lawsuits


               17. Within the last ten (10) years, have you filed a lawsuit, relating to any bodily
                   injury, or made a claim, OTHER THAN the present suit? Yes ‫ ܆‬No ‫܆‬


Computer Use

               18. Apart from communications to or from your attorney, have you
                   communicated via email, visited any chat rooms, or publicly posted a
                   comment, message or blog entry on a public internet site regarding your
                   experience with or injuries you attribute to Taxotere®, other chemotherapies,
                   or alopecia/hair loss during the past ten (10) years? You should include all
                   postings on public social network sites including Twitter, Facebook,
                   MySpace, LinkedIn, or “blogs” that address the topics above. Yes ‫ ܆‬No‫܆‬

               19. If yes, please state the following:

                                            Screen Name or           Date of
                       Forum Name                                                     Substance of Post
                                             User Handle              Post
                                                                                  
                                                                                               
                                                                                               

               20. Are you now or have you ever been a member of an alopecia support group?
                   Yes ‫ ܆‬No‫܆‬

                       a) If yes, identify the group by name:_____________________________

                       b) When did you join the group?_________________________________

III.PRODUCT IDENTIFICATION

      I HAVE RECORDS DEMONSTRATING USE OF TAXOTERE® OR OTHER
                       DOCETAXEL: Yes ‫ ܆‬No‫܆‬

      YOU MUST UPLOAD THEM BEFORE YOU SUBMIT THIS FACT SHEET

Taxotere®
               1. Were you treated with brand name Taxotere®? Yes ‫ ܆‬No ‫ ܆‬Unknown ‫܆‬


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Other Docetaxel
             2. Were you treated with another Docetaxel or generic Taxotere®? Yes ‫ ܆‬No‫܆‬

                   3. If yes, select all that apply:

                                  Name of Drug
                         Docetaxel – Winthrop                   ‫܆‬
                         Docetaxel – Teva Pharms USA            ‫܆‬
                         Docetaxel – Dr. Reddy’s Labs Ltd.      ‫܆‬
                         Docetaxel – Eagle Pharms               ‫܆‬
                         Docetaxel – Actavis Inc.               ‫܆‬
                         Docetaxel – Pfizer Labs                ‫܆‬
                         Docetaxel – Sandoz                     ‫܆‬
                         Docetaxel – Accord Healthcare,         ‫܆‬
                         Inc.
                         Docetaxel – Apotex Inc.                ‫܆‬
                         Docetaxel – Hospira Inc.               ‫܆‬
                         Docefrez – Sun Pharma Global,          ‫܆‬
                         Inc.
                         Unknown                                ‫܆‬

                   4. IF YOU SELECTED “UNKNOWN” YOU MUST CERTIFY AS
                      FOLLOWS:

                       I certify that I have made reasonable, good faith efforts to identify the
                       manufacturer of the Docetaxel used in my treatment, including
                       requesting records from my infusion pharmacy, and the manufacturer
                       either remains unknown at this time or I am awaiting the records: ‫܆‬

IV. MEDICAL INFORMATION

Vital Statistics

                   1. How old are you:_________________________________________________

                   2. Age at the time of your alleged injury:________________________________

                   3. Current weight:__________________________________________________

                   4. Current height:

                       Feet:_______________        Inches:_______________

                   5. Weight at time of alleged injury:____________________________________

Gynecologic and Obstetric History

                                                       7
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        6. Have you ever been pregnant? Yes ‫ ܆‬No ‫܆‬

               a) Number of pregnancies:________

               b) Number of live births:_________

        7. If you have children, please state the following for EACH child:

                    Child’s Name              Address        Date of Birth




        8. Date of first period (menses):_________          Age:_________

        9. Date of last period (menses): _________          Age:_________

        10. Are you menopausal, perimenopausal or postmenopausal? Yes ‫ ܆‬No‫܆‬

        11. For EACH year for the last seven (7) years before your first treatment with
            Taxotere® or Docetaxel and since then, who did you see for your annual
            gynecological exam? Also indicate whether an annual exam was skipped or
            missed.

                                                                               Skipped or
                      Doctor                Office            Year
                                                                                 Missed
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬
                                                                                   ‫܆‬

        12. For EACH year after age 40, or before then if applicable, who did you see for
            your annual mammogram? Also indicate whether an annual mammogram was
            skipped or missed.

                                                                              Skipped or
                      Doctor                Office            Year
                                                                                Missed
                                                                                  ‫܆‬
                                                                                  ‫܆‬
                                                                                  ‫܆‬
                                                                                  ‫܆‬

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                                                                                    Skipped or
                              Doctor                 Office           Year
                                                                                      Missed
                                                                                        ‫܆‬
                                                                                        ‫܆‬
                                                                                        ‫܆‬
Other Risk Factors

               13. Have any family members been diagnosed with breast cancer?

                          Family Member          Diagnosed       Age at Diagnosis
                     Mother                         ‫܆‬
                     Sister                         ‫܆‬
                     Daughter                       ‫܆‬
                     Paternal grandmother           ‫܆‬
                     Maternal grandmother           ‫܆‬

               14. Have you ever been diagnosed as having genes or gene mutations that carry an
                   increased cancer risk (e.g., BRCA1, BRCA2)? Yes ‫ ܆‬No‫܆‬

                       a) If yes, which?                                          ____________

               15. Did you receive radiation treatments or exposure to radiation before the age of
                   30? Yes ‫ ܆‬No‫܆‬

                       a) If yes, describe the particulars of your treatment or exposure:
                          _________________________________________________________

Tobacco Use History

For the ten (10) year period before your use of Taxotere® or Docetaxel up to the present, check
the answer and fill in the blanks applicable to your history of tobacco use, including cigarettes,
cigars, pipes, and/or chewing tobacco/snuff.

               16. I currently use tobacco: Yes ‫ ܆‬No‫܆‬

               17. I have never used tobacco: Yes ‫ ܆‬No‫܆‬

               18. I used tobacco in the ten (10) years before Taxotere® or Docetaxel treatment:
                   Yes ‫ ܆‬No‫܆‬

               19. Identify types of tobacco use:

                                                                               Duration of
                               Type             Used      Average Per Day
                                                                               Use (Years)
                      Cigarettes                     ‫܆‬                             


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                                                                              Duration of
                              Type             Used     Average Per Day
                                                                              Use (Years)
                    Cigars                       ‫܆‬                                
                    Pipes                        ‫܆‬                                
                    Chewing tobacco/snuff        ‫܆‬                                

Prescription Medications

              20. Apart from chemotherapy, are there prescription or over-the-counter
                  medications that you took on a regular basis or more than three (3) times in
                  the seven (7) year period before you first took Taxotere®? Yes ‫ ܆‬No ‫܆‬

                 For purposes of this question, “regular basis” means that you were directed by
                 a healthcare provider to take a medication for at least forty-five (45)
                 consecutive days.

              21. If yes, please provide the following for EACH prescription medication:

                           Medication                 Prescriber               Dates Taken




V. CANCER DIAGNOSIS AND TREATMENT

Cancer Diagnosis & Treatment Generally

              1. Have you ever been diagnosed with cancer? Yes ‫ ܆‬No‫܆‬

              2. Were you diagnosed with cancer more than once? Yes ‫ ܆‬No‫܆‬

              3. Did you undergo any of the following for cancer? 

                        Treatment           Treated
                    Surgery                   ‫܆‬
                    Radiation                 ‫܆‬
                    Chemotherapy              ‫܆‬

              4. For surgery, specify:

                         Type of Surgery           Treated
                    Double mastectomy                ‫܆‬
                    Left-side mastectomy             ‫܆‬
                    Right-side mastectomy            ‫܆‬
                    Lumpectomy                       ‫܆‬

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                    Other:_________________       ‫܆‬

            5. Please state the following for EACH cancer diagnosis:

Type of Cancer
Date of Diagnosis
                       Name:
                       Address:
Primary Oncologist
                       Dates of Treatment:
                       Treatment:
                       Name:
                       Address:
Primary Oncologist
                       Dates of Treatment:
                       Treatment:
                       Name:
                       Address:
Primary Oncologist
                       Dates of Treatment:
                       Treatment:
                       Name:
                       Address:
Treatment Facility
                       Dates of Treatment:
                       Treatment:
                       Name:
                       Address:
Treatment Facility
                       Dates of Treatment:
                       Treatment:
                       Name:
                       Address:
Treatment Facility
                       Dates of Treatment:
                       Treatment:
                       Name:
                       Address:
Treatment Facility
                       Dates of Treatment:
                       Treatment:


Type of Cancer
Date of Diagnosis
                       Name:
                       Address:
Primary Oncologist
                       Dates of Treatment:
                       Treatment:




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 Type of Cancer
 Date of Diagnosis
                         Name:
                         Address:
 Primary Oncologist
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Primary Oncologist
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:

Particulars of Chemotherapy

              6. When were you first diagnosed with the condition for which you were
                 prescribed Taxotere® or Docetaxel?__________________________________

              7. What was the diagnosis for which you were prescribed Taxotere® or
                 Docetaxel?

                              Diagnosis             Diagnosed
                     Breast cancer                     ‫܆‬
                     Non-small cell lung cancer        ‫܆‬
                     Prostate cancer                   ‫܆‬
                     Gastric adenocarcinoma            ‫܆‬
                     Head and neck cancer              ‫܆‬
                     Other:_________________           ‫܆‬

              8. For breast cancer, specify:


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               a) Tumor size: 

                                  Tumor Size                      Yes
                     TX                                           ‫܆‬
                     T0                                           ‫܆‬
                     Tis                                          ‫܆‬
                     T1                                           ‫܆‬
                     T2                                           ‫܆‬
                     T3                                           ‫܆‬
                     T4 (T4a, T4b, T4c, T4d)                      ‫܆‬

               b) Metastasis:

               c) Node involvement:

                                     Node                            Yes
              Node + NX                                              ‫܆‬
              Node + N0                                              ‫܆‬
              Node + N1                                              ‫܆‬
              Node + N2                                              ‫܆‬
              Node + N3                                              ‫܆‬
              Node – (negative)                                      ‫܆‬

               d) HER2: + (positive): ‫ ܆‬- (negative): ‫܆‬

               e) Estrogen receptor: Positive (ER+): ‫ ܆‬Negative (ER-): ‫܆‬

               f) Progesterone receptor: Positive (PR+): ‫ ܆‬Negative (PR-): ‫܆‬

        9. Was Taxotere® or Docetaxel the only chemotherapy treatment that you ever
           received? Yes ‫ ܆‬No‫ ܆‬Unknown ‫܆‬

        10. Have you ever been treated with other chemotherapy drugs, either alone or in
            combination with or sequentially with Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬
            Unknown ‫܆‬

        11. If yes, check which of the following chemotherapy drugs you took:
            
                                 Drug                       Yes
               5-Fluorouracil (Eludex)                       ‫܆‬
               Actinomycin                                   ‫܆‬
               Altretamine (Hexalen)                         ‫܆‬
               Amsacrine                                     ‫܆‬
               Bleomycin                                     ‫܆‬

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                               Drug                   Yes
            Busulfan (Busulfex, Myleran)              ‫܆‬
            Cabazitaxel: Mitoxantrone                 ‫܆‬
            Carboplatin (Paraplatin)                  ‫܆‬
            Carmustine (BiCNU, Gliadel)               ‫܆‬
            Cetuximab (Erbitux)                       ‫܆‬
            Chlorambucil (Leukeran)                   ‫܆‬
            Cisplatin (Platinol)                      ‫܆‬
            Cyclophosphamide (Neosar)                 ‫܆‬
            Cytarabine (Depocyt)                      ‫܆‬
            Dacarbazine                               ‫܆‬
            Daunorubicin (Cerubidine, DaunoXome)      ‫܆‬
            Doxorubicin (Adriamycin, Doxil)           ‫܆‬
            Epirubicin (Ellence)                      ‫܆‬
            Erlotinib (Tarceva)                       ‫܆‬
            Etoposide (Etopophos, Toposar)            ‫܆‬
            Everolimus (Afinitor, Zortress)           ‫܆‬
            Faslodex (Fulvestrant)                    ‫܆‬
            Gemcitabine (Gemzar)                      ‫܆‬
            Hexamethylmelamine (Hexalen)              ‫܆‬
            Hydroxyurea (Hydrea, Droxia)              ‫܆‬
            Idarubicin (Idamycin)                     ‫܆‬
            Ifosfamide (Ifex)                         ‫܆‬
            L-asparginase (crisantaspase)             ‫܆‬
            Lomustine (Ceenu)                         ‫܆‬
            Melphalan (Alkeran)                       ‫܆‬
            Mercaptopurine (Purinethol, Purixan)      ‫܆‬
            Methotrexate (Trexall, Rasuvo)            ‫܆‬
            Mitomycin                                 ‫܆‬
            Mitoxantrone                              ‫܆‬
            Nab-paclitaxel (Abraxane): Mitoxantrone   ‫܆‬
            Nitrogen mustard                          ‫܆‬
            Paclitaxel (Taxol)                        ‫܆‬
            Panitumumab (Vectibix)                    ‫܆‬
            Procarbazine (Matulane)                   ‫܆‬
            Sorafenib (Nexavar)                       ‫܆‬
            Teniposide (Vumon)                        ‫܆‬
            Thioguanine (Tabloid)                     ‫܆‬
            Thiotepa (Tepadina)                       ‫܆‬
            Topotecan (Hycamtin)                      ‫܆‬

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                                Drug                          Yes
              Vemurafenib (Zelboraf)                          ‫܆‬
              Vinblastine                                     ‫܆‬
              Vincristine (Mariqibo, Vincasar)                ‫܆‬
              Vindesine                                       ‫܆‬
              Vinorelbine (Alocrest, Navelbine)               ‫܆‬
              Unknown                                         ‫܆‬

        12. Please provide the following information regarding Taxotere® or Docetaxel:

               a) Number of cycles:

               b) Frequency: Every week ‫ ܆‬Every three weeks ‫ ܆‬Other:____________

               c) First treatment date:________

               d) Last treatment date:________

               e) Dosage:______________

                       (1) Combined with another chemotherapy drug: ‫܆‬

                       (2) Sequential with another chemotherapy drug: ‫܆‬

                       (3) If so, describe the combination or sequence:

        13. Prescribing Physician(s):

                    Prescribing Physician                      Address
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:

        14. Treatment Facility:

                      Treatment Facility                       Address
                                                    Street:

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                                                               City:
                                                               State:
                                                               Zip:
                                                               Street:
                                                               City:
                                                               State:
                                                               Zip:
                                                               Street:
                                                               City:
                                                               State:
                                                               Zip:

                 15. Identify EACH state where you resided when you began and while taking
                     Taxotere® or Docetaxel:

                                   State                  From Date             To Date




                 16. Was your Taxotere® or Docetaxel treatment part of a clinical trial? Yes ‫ ܆‬No
                     ‫ ܆‬Unknown ‫܆‬

                 17. If yes, please provide the name and location of the trial site:

                        a) Name of trial site:__________________________________________

                        b) Location of trial site:________________________________________

VI. CLAIM INFORMATION

Current Status

                 1. Are you currently taking Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

                 2. Are you currently cancer-free? Yes ‫ ܆‬No‫܆‬

                 3. If no, check those that apply to your CURRENT status:
                    
                                      Current Status                   Yes
                       In remission                                     ‫܆‬
                       Currently receiving chemotherapy                 ‫܆‬
                       Currently receiving radiation therapy            ‫܆‬
                       Currently hospitalized for cancer or cancer-
                                                                        ‫܆‬
                       related complications


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                                      Current Status                      Yes
                       Currently in home health or hospice care for
                                                                           ‫܆‬
                       cancer or cancer-related complications
                       Cancer returned after taking Taxotere® or
                                                                           ‫܆‬
                       Docetaxel

                 4. When was the last (most recent) date you consulted with an oncologist:_____

Alleged Injury

                 5. State the injury you allege in this lawsuit and the dates between which you
                    experienced the alleged injury. Check all that apply:

                                            Alleged Injury                      Yes   No From To
                       Persistent total alopecia – No hair growth on your head                
                       or body after six (6) months of discontinuing Taxotere® ‫܆‬      ‫܆‬
                       or Docetaxel treatment
                       Persistent alopecia of your head – No hair growth on                          
                       your head after six (6) months of discontinuing
                                                                                ‫܆‬      ‫܆‬
                       Taxotere® or Docetaxel treatment. Hair is present
                       elsewhere on your body
                       Permanent/Persistent Hair Loss on Scalp                  ‫܆‬      ‫܆‬            
                       Diffuse thinning of hair: partial scalp                                       
                               ‫܆‬Top
                               ‫܆‬Sides
                                                                                ‫܆‬     ‫܆‬
                               ‫܆‬Back
                               ‫܆‬Temples
                               ‫܆‬Other:_____________________________
                       Diffuse thinning of hair: total scalp                                         
                               ‫܆‬Top
                               ‫܆‬Sides
                                                                                ‫܆‬     ‫܆‬
                               ‫܆‬Back
                               ‫܆‬Temples
                               ‫܆‬Other:_____________________________
                       Significant thinning of the hair on your head after six                       
                       (6) months of discontinuing Taxotere® or Docetaxel
                                                                                ‫܆‬     ‫܆‬
                       treatment – There are visible bald spots on your head
                       no matter how you style your hair
                       Moderate thinning of the hair on your head after six (6)                      
                       months of discontinuing Taxotere® or Docetaxel
                                                                                ‫܆‬     ‫܆‬
                       treatment – There is noticeable hair loss but if you
                       brush or style your hair, the hair loss is less evident
                       Small bald area in the hair on your head                 ‫܆‬     ‫܆‬            
                       Large bald area in the hair on your head                 ‫܆‬     ‫܆‬            


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                                       Alleged Injury                     Yes        No From To
                   Multiple bald spots in the hair on your head           ‫܆‬         ‫܆‬      
                   Change in the texture, thickness or color of your hair                    
                                                                          ‫܆‬         ‫܆‬
                   after Taxotere® or Docetaxel treatment
                   Other:______________________________________           ‫܆‬         ‫܆‬            
                   Permanent/Persistent Loss of Eyebrows                  ‫܆‬         ‫܆‬            
                   Permanent/Persistent Loss of Eyelashes                 ‫܆‬         ‫܆‬            
                   Permanent/Persistent Loss of Body Hair                 ‫܆‬         ‫܆‬            
                   Permanent/Persistent Loss of Genital Hair              ‫܆‬         ‫܆‬            
                   Permanent/Persistent Loss of Nasal Hair                ‫܆‬         ‫܆‬            
                   Permanent/Persistent Loss of Ear Hair                  ‫܆‬         ‫܆‬            
                   Permanent/Persistent Loss of Hair in Other Areas                                
                                                                          ‫܆‬         ‫܆‬
                   Describe:_____________________________________

             6. Have you ever received treatment for the injury you allege in this lawsuit? Yes
                ‫ ܆‬No‫܆‬

                        Name of Treating Physician       Dates of Treatment         Treatments
                                                                                         
                                                                                         
                                                                                         

             7. Were you diagnosed by a healthcare provider for the injury you allege in this
                lawsuit? Yes ‫ ܆‬No‫܆‬

                        Name of Treating Physician       Dates of Treatment         Treatments
                                                                                         
                                                                                         
                                                                                         

             8. Have you discussed with any healthcare provider whether Taxotere® or Docetaxel
                caused or contributed to your alleged injury? Yes ‫ ܆‬No‫܆‬

                   Name of Treating Physician            Dates of Treatment         Treatments
                                                                                         
                                                                                         
                                                                                         

Statement Information

             9. Were you ever given any written instructions, including any prescriptions,
                packaging, package inserts, literature, medication guides, or dosing
                instructions, regarding chemotherapy, Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬


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        10. If yes, please describe the documents, if you no longer have them. If you have
            the documents, please produce them:
                
                                                              I Have the     I Do Not Have
                       Description of Document
                                                              Documents     the Documents
                                                                  ‫܆‬                 ‫܆‬
                                                                  ‫܆‬                 ‫܆‬
                                                                  ‫܆‬                 ‫܆‬

        11. Were you given any oral instructions from a healthcare provider regarding
            chemotherapy or your use of Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

        12. If yes, please identify each healthcare provider who provided the oral
            instructions:

                    Name of Healthcare Provider




        13. Have you ever seen any advertisements (e.g., in magazines or television
            commercials) for Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

        14. If yes, identify the advertisement or commercial, and approximately when you
            saw the advertisement or commercial:

                                                                Date of Advertisement or
                 Type of Advertisement or Commercial
                                                                      Commercial




        15. Other than through your attorneys, have you had any communication, oral or
            written, with any of the Defendants or their representatives? Yes ‫ ܆‬No‫܆‬

        16. If yes, please identify:

                  Date of                Method of        Name of       Substance of
               Communication           Communication    Representative Communication




        17. Have you filed a MedWatch Adverse Event Report to the FDA? Yes ‫ ܆‬No‫܆‬



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   YOU MUST UPLOAD NOW ANY MEDICAL RECORDS IN YOUR POSSESSION
   DEMONSTRATING ALLEGED INJURY OR PHOTOGRAPHS SHOWING YOUR
   HAIR BEFORE AND AFTER TREATMENT WITH TAXOTERE® ALONG WITH
   THE DATE(S) THE PHOTOGRAPHS WERE TAKEN.

Other Claimed Damages

            18. Mental or Emotional Damages: Do you claim that your use of Taxotere® or
                Docetaxel caused or aggravated any psychiatric or psychological condition?
                Yes ‫ ܆‬No‫܆‬

            19. If yes, did you seek treatment for the psychiatric or psychological condition?
                Yes ‫ ܆‬No‫܆‬

                         Provider                   Date                  Condition




            20. Medical Expenses: Do you claim that you incurred medical expenses for the
                alleged injury that you claim was caused by Taxotere® or Docetaxel? Yes ‫܆‬
                No‫܆‬

            21. If yes, list all of your medical expenses, including amounts billed or paid by
                insurers and other third-party payors, which are related to any alleged injury
                you claim was caused by Taxotere® or Docetaxel:

                         Provider                   Date                   Expense




            22. Lost Wages: Do you claim that you lost wages or suffered impairment of
                earning capacity because of the alleged injury that you claim was caused by
                Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

            23. If yes, state the annual gross income you earned for each of the three (3) years
                before the injury you claim was caused by Taxotere® or Docetaxel.

                          Year                    Annual Gross Income




            24. State the annual gross income for every year following the injury or condition
                you claim was caused by Taxotere® or Docetaxel.


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                            Year                    Annual Gross Income




               25. Out-of-Pocket Expenses: Are you making a claim for lost out-of-pocket
                   expenses? Yes ‫ ܆‬No‫܆‬

               26. If yes, please identify and itemize all out-of-pocket expenses you have
                   incurred:

                                Expense                 Expense Amount




VII.     HAIR LOSS INFORMATION

Background
               1. Did you ever see a healthcare provider for hair loss BEFORE taking
                  Taxotere® or Docetaxel? Yes ‫ ܆‬No ‫܆‬

               2. Did your hair loss begin during chemotherapy treatment? Yes ‫ ܆‬No‫܆‬

               3. If yes, did you FIRST experience hair loss:

                      a) After treatment with another chemotherapy agent: ‫܆‬

                      b) After treatment with Taxotere® or Docetaxel: ‫܆‬

               4. At any time before or during the hair loss were you:

                                Condition                  Yes           Description
                     Pregnant                               ‫܆‬
                     Seriously ill                          ‫܆‬
                     Hospitalized                           ‫܆‬
                     Under severe stress                    ‫܆‬
                     Undergoing treatment for any
                                                           ‫܆‬
                     other medical condition

               5. When did you FIRST discuss with or see a healthcare provider about your hair
                  loss? BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

               6. Have you started any special diets at any time before or during the hair loss?
                  Yes ‫ ܆‬No ‫ ܆‬Describe:___________________________________________


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Hair Loss History

                                                                                     Name of Healthcare
                                  Question                           No       Yes
                                                                                         Provider
            Have you had a biopsy of your scalp to evaluate          ‫܆‬        ‫܆‬
            your hair loss problem?
            Have you had blood tests done to evaluate your hair      ‫܆‬        ‫܆‬
            loss problem?
            Have your hormones ever been checked to evaluate         ‫܆‬        ‫܆‬
            your hair loss problem?
            Have you ever been told by a doctor that you have a      ‫܆‬        ‫܆‬
            thyroid condition?
            Have you ever been treated with thyroid hormone?         ‫܆‬        ‫܆‬
            Have you ever been told by a doctor that you have a      ‫܆‬        ‫܆‬
            low iron level?

              7. Have you ever been on endocrine or hormonal therapy, either before or after
                 chemotherapy with Taxotere® or Docetaxel? Yes ‫ ܆‬No‫܆‬

              8. If yes, please identify:

                                                    Dates of
                        Treating Physician                               Treatment
                                                   Treatment




              9. Do you have any autoimmune diseases? Yes ‫ ܆‬No‫܆‬

              10. If yes, check the following which describes you:

                          Autoimmune Disease             Yes
                    Lupus                                 ‫܆‬
                    Rheumatoid arthritis                  ‫܆‬
                    Celiac disease                        ‫܆‬
                    Type 1 diabetes                       ‫܆‬
                    Sjogrens disease                      ‫܆‬
                    Vitiligo                              ‫܆‬
                    Hashimoto’s                           ‫܆‬
                    Other:_____________________           ‫܆‬


              11. Were you taking any medications when your hair loss began? Yes ‫ ܆‬No‫܆‬



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                            Medication



Hair Care

            12. How often do you wash/shampoo your hair? Every ______ days

            13. Check any of the following that apply to you currently or that have in the past:
                   




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                                                     Period of
                     Hair Treatment            Yes                      Frequency
                                                       Time
                                                                 ‫܆‬Never
            Hair chemically processed or                         ‫܆‬Once a week
            straightened (relaxers, keratin,                     ‫܆‬2-3 times a week
                                               ‫܆‬         
            Brazilian blowout, Japanese                          ‫܆‬Once a month
            straightening, other)                                ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
            Hair heat processed or
                                                                 ‫܆‬2-3 times a week
            straightened (blow drying/ flat    ‫܆‬         
            ironing, curling)                                    ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Hair dyed                          ‫܆‬         
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Hair highlighted                   ‫܆‬         
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Braids                             ‫܆‬         
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year
                                                                 ‫܆‬Never
                                                                 ‫܆‬Once a week
                                                                 ‫܆‬2-3 times a week
            Weaves                             ‫܆‬        
                                                                 ‫܆‬Once a month
                                                                 ‫܆‬Once every 1-2 months
                                                                 ‫܆‬A few times a year




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                                                                          ‫܆‬Never
                                                                          ‫܆‬Once a week
                                                                          ‫܆‬2-3 times a week
                      Tight hairstyles (ponytails)    ‫܆‬        
                                                                          ‫܆‬Once a month
                                                                          ‫܆‬Once every 1-2 months
                                                                          ‫܆‬A few times a year
                                                                          ‫܆‬Never
                                                                          ‫܆‬Once a week
                                                                          ‫܆‬2-3 times a week
                      Extensions                      ‫܆‬        
                                                                          ‫܆‬Once a month
                                                                          ‫܆‬Once every 1-2 months
                                                                          ‫܆‬A few times a year
                                                                          ‫܆‬Never
                                                                          ‫܆‬Once a week
                                                                          ‫܆‬2-3 times a week
                      Other:_____________________     ‫܆‬        
                                                                          ‫܆‬Once a month
                                                                          ‫܆‬Once every 1-2 months
                                                                          ‫܆‬A few times a year

             14. Have you ever used the following?
                    
                                Hair Treatment                      Yes
                  WEN Cleansing Conditioners                         ‫܆‬
                  Unilever Suave Professionals Keratin
                                                                    ‫܆‬
                  Infusion
                  L’Oréal Chemical Relaxer                          ‫܆‬

             15. Has your hair care regimen been different in the past? Yes ‫ ܆‬No‫܆‬

                       a) If yes, describe:____________________________________________

Hair Loss Treatment

             16. Did you use any other methods to prevent hair loss during chemotherapy?

                                    Hair Treatment                  Yes
                      Folic Acid supplementation                     ‫܆‬
                      Minoxidil                                      ‫܆‬
                      Other:___________________________              ‫܆‬

             17. Did you wear a cool cap during chemotherapy treatment? Yes ‫ ܆‬No‫܆‬

             18. If yes, which cooling cap did you wear: ______________________________

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              19. Have you used any over-the-counter medications, supplements, or cosmetic
                  aides for your hair loss? Yes ‫ ܆‬No‫܆‬

              20. If yes, please state the following:

                                                        When was     How long did
                             Treatment                                                  Did it help?
                                                         it tried?    you try it?
                                                                                    ‫܆‬Yes
                                                                           
                                                                                    ‫܆‬No
                                                                                    ‫܆‬Yes
                                                                           
                                                                                    ‫܆‬No
                                                                                    ‫܆‬Yes
                                                                           
                                                                                    ‫܆‬No

              21. Has anything helped your hair loss? Yes ‫ ܆‬No‫܆‬

              22. If yes, please specify:

                                                         Dates of     Place of
                          Type of Product                                           Results of Use
                                                          Use         Purchase
                                                                          
                                                                                   
                                                                                   

              23. As of the date you verify your PFS, how long have you had alopecia or
                  incomplete hair re-growth?_________________________________________

              24. Has any hair regrowth occurred? Yes ‫ ܆‬No‫܆‬

              25. Have you ever worn a wig to conceal your hair loss? Yes ‫ ܆‬No‫܆‬

              26. Specify:

                                                                        Place
                         Dates Used            Period of Use                            Cost of Item
                                                                      Purchased
                                                                           
                                                                                   
                                                                                   

VIII. RECORD HOLDER IDENTIFICATION

Healthcare Providers:




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                1. Identify each physician, doctor, or other healthcare provider who has provided
                   treatment to you for any reason in the past eight (8) years and the reason for
                   consulting the healthcare provider or mental healthcare provider.

YOU MUST INCLUDE YOUR ONCOLOGIST, RADIOLOGIST, DERMATOLOGIST,
DERMATOLOGIST-PATHOLOGIST, HAIR LOSS SPECIALIST, GYNECOLOGIST,
OBSTETRICIAN, AND PRIMARY CARE PHYSICIAN, ALONG WITH ANY OTHER
HEALTHCARE PROVIDERS IDENTIFIED ABOVE

                                                                                      Reason for
      Name           Area or Specialty        Address                Dates
                                                                                     Consultation




Hospitals, Clinics, and Other Facilities:


                2. Identify each hospital, clinic, surgery center, physical therapy or rehabilitation
                   center, or other healthcare facility where you have received inpatient or outpatient
                   treatment (including emergency room treatment) in the past eight (8) years:


YOU MUST INCLUDE THE LOCATIONS FOR SURGERIES, RADIOLOGY,
IMAGING, BIOPSIES, CHEMOTHERAPY, CHILD BIRTHS, GYNECOLOGIC
PROCEDURES OR TREATMENT, ALONG WITH ANY OTHER HEALTHCARE
FACILITIES

         Name                     Address                Dates            Reason for Treatment




Laboratories:

                3. Identify each laboratory at which you had tests run in the past ten (10) years:

      Name                Address               Dates                Test          Reason for Tests




Pharmacies:

                4. To the best of your recollection, Identify each pharmacy, drugstore, and/or other
                   supplier (including mail order) where you have had prescriptions filled or from


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                   which you have ever received any prescription medication within three (3) years
                   prior to and three (3) years after your first treatment with Taxotere:

         Name                    Address                   Dates                 Medications




Retailers:

                5. Identify each pharmacy, drugstore, and/or other retailer (including mail order)
                   where you have purchased over-the-counter medications, or hair products in the
                   past ten (10) years:

         Name                    Address                   Dates                  Purchases




Insurance Carriers:

                6. Identify each health insurance carrier which provided you with medical coverage
                   and/or pharmacy benefits for the last ten (10) years:

                                           Name of Insured                              Dates of
      Carrier              Address                               Policy Number
                                              & SSN                                     Coverage




IX. DOCUMENT REQUESTS AND AUTHORIZATIONS

   Please state which of the following documents you have in your possession. If you do not have
   the following documents but know they exist in the possession of others, state who has
   possession of the documents: Produce all documents in your possession (including writings on
   paper or in electronic form) and signed authorizations and attach a copy of them to this PFS.

Requests
                       
                                                                             If No, who has the
                   Type of Document(s)                        Yes    No
                                                                                document(s)?
 Documents you reviewed to prepare your answers to
 this Plaintiff Fact Sheet.
 Your attorney may withhold some documents on claims          ‫܆‬       ‫܆‬
 of attorney-client privilege or work product protection
 and, if so, provide a privilege log


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                                                                        If No, who has the
                 Type of Document(s)                         Yes   No
                                                                           document(s)?
Medical records or other documents related to the use
of Taxotere® or Docetaxel at any time for the past           ‫܆‬     ‫܆‬
twelve (12) years.
Medical records or other documents related to your
treatment for any disease, condition or symptom
                                                             ‫܆‬     ‫܆‬
referenced above for any time in the past twelve (12)
years.
Laboratory reports and results of blood tests performed
                                                             ‫܆‬     ‫܆‬
on you related to your hair loss.
Pathology reports and results of biopsies performed on
you related to your hair loss.
Plaintiffs or their counsel must maintain the slides
                                                             ‫܆‬     ‫܆‬
and/or specimens requested in this subpart, or send a
preservation notice, copying Defendants, to the
healthcare facility where these items are maintained.
Documents reflecting your use of any prescription drug
or medication at any time within the past eight (8)          ‫܆‬     ‫܆‬
years.
Documents identifying all chemotherapy agents that
                                                             ‫܆‬     ‫܆‬
you have taken.
Documents for any workers' compensation, social
security or other disability proceeding at any time          ‫܆‬     ‫܆‬
within the last five (5) years.
Instructions, product warnings, package inserts,
handouts or other materials that you were provided or        ‫܆‬     ‫܆‬
obtained in connection with your use of Taxotere®.
Advertisements or promotions for Taxotere®.                  ‫܆‬     ‫܆‬
Articles discussing Taxotere®.                               ‫܆‬     ‫܆‬
Any packaging, container, box, or label for Taxotere®
or Docetaxel that you were provided or obtained in
connection with your use of Taxotere®.                       ‫܆‬     ‫܆‬
Plaintiffs or their counsel must maintain the originals of
these items.
Documents which mention Taxotere® or Docetaxel or
any alleged health risks related to Taxotere®.
Your attorney may withhold some legal documents,
documents provided by your attorney, or documents
                                                             ‫܆‬     ‫܆‬
obtained or created for the purpose of seeking legal
advice or assistance on claims of attorney-client
privilege or work product protection and, if so, provide
a privilege log.
Documents obtained directly or indirectly from any of
                                                             ‫܆‬     ‫܆‬
the Defendants.


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                                                                      If No, who has the
                 Type of Document(s)                       Yes   No
                                                                         document(s)?
Communications or correspondence between you and
                                                           ‫܆‬     ‫܆‬
any representative of the Defendants.
Photographs, drawing, slides, videos, recordings,
DVDs, or any other media that show your alleged            ‫܆‬     ‫܆‬
injury or its effect in your life.
Journals or diaries related to the use of Taxotere® or
Docetaxel or your treatment for any disease, condition
                                                           ‫܆‬     ‫܆‬
or symptom referenced above at any time for the past
twelve (12) years.
Social media or internet posts to or through any site
(including, but not limited to, Facebook, MySpace,
LinkedIn, Google Plus, Windows Live, YouTube,
                                                           ‫܆‬     ‫܆‬
Twitter, Instagram, Pinterest, blogs, and Internet chat
rooms/message boards) relating to Taxotere® or
Docetaxel or any of your claims in this lawsuit.
If you claim you have suffered a loss of earnings or
earning capacity, your federal tax returns for each of
the five (5) years preceding the injury you allege to be
caused by Taxotere® or Docetaxel, and every year           ‫܆‬     ‫܆‬
thereafter or W-2s for each of the five (5) years
preceding the injury you allege to be caused by
Taxotere® or Docetaxel, and every year thereafter.
If you claim any medical expenses, bills from any
physician, hospital, pharmacy or other healthcare          ‫܆‬     ‫܆‬
providers.
Records of any other expenses allegedly incurred as a
                                                           ‫܆‬     ‫܆‬
result of your alleged injury.
If you are suing in a representative capacity, letters
                                                           ‫܆‬     ‫܆‬
testamentary or letters of administration.
If you are suing in a representative capacity on behalf
of a deceased person, decedent’s death certificate         ‫܆‬     ‫܆‬
and/or autopsy report.
Photographs of you that are representative of your hair
composition before treatment with Taxotere® or             ‫܆‬     ‫܆‬
Docetaxel.
Photographs of you that are representative of your hair
composition during treatment with Taxotere® or             ‫܆‬     ‫܆‬
Docetaxel.
Photographs of you that are representative of your hair
composition six months after conclusion of treatment       ‫܆‬     ‫܆‬
with Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
                                                           ‫܆‬     ‫܆‬
composition in present day.


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                                                                            If No, who has the
                Type of Document(s)                         Yes     No
                                                                               document(s)?
Signed authorizations for medical records related to any
cancer treatment identified herein and all pharmacy
records from three (3) years before and three (3) years      ‫܆‬      ‫܆‬
after your first treatment with Taxotere in the forms
attached hereto.

X. DECLARATION

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that all of the information
      provided in connection with this Plaintiff Profile Form is true and correct to the best of my
      knowledge information and belief at the present time.

________________________                    ___________________
Signature                                   Date

XI. AUTHORIZATIONS

             See next page for Authorizations.




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                            LIMITED AUTHORIZATION TO DISCLOSE HEALTH INFORMATION
                      Pursuant to the Health Insurance Portability and Accountability Act "HIPAA" of 4/14/03
                        (Excluding Psychiatric, Psychological, and Mental Health Treatment Notes/Records)

TO:
Patient Name:
DOB:
SSN:

                  I, _____________________ , hereby authorize you to release and furnish to: Shook Hardy & Bacon LLP, Keogh Cox &
Wilson Ltd., Ulmer & Berne LLP, Greenberg Traurig LLP, Wheeler Trigg O’Donnell LLP, Adams and Reese LLP, Chaffe McCall LLP,
Quinn Emanuel Urquhart & Sullivan LLP, Morrison & Foerster LLP, Leake & Anderson LLP, Hinshaw & Culbertson LLP, Kirkland &
Ellis LLP and/or their duly assigned agents, copies of the following records and/or information from the time period of twelve (12) years
prior to the date on which the authorization is signed:

* All medical records, including inpatient, outpatient, and emergency room treatment, all clinical charts, reports, documents,
  correspondence, test results, statements, questionnaires/histories, office and doctor's handwritten notes, and records received by other
  physicians. Said medical records shall include all information regarding AIDS and HIV status.
* All autopsy, laboratory, histology, cytology, pathology, radiology, CT Scan, MRI, echocardiogram and cardiac catheterization reports.
* All radiology films, mammograms, myelograms, CT scans, photographs, bone scans,
  pathology/cytology/histology/autopsy/immunohistochemistry specimens, cardiac catheterization videos/CDs/films/reels, and
  echocardiogram videos.
* All pharmacy/prescription records including NDC numbers and drug information handouts/monographs.
* All billing records including all statements, itemized bills, and insurance records.
**Notwithstanding the broad scope of the above disclosure requests, the undersigned does not authorize the disclosure of notes or
records pertaining to psychiatric, psychological, or mental health treatment or diagnosis as such terms are defined by HIPAA, 45
CFR §164.501.

1. To my medical provider: this authorization is being forwarded by, or on behalf of, attorneys for the defendants for the
purpose of litigation. You are not authorized to discuss any aspect of the above-named person's medical history, care,
treatment, diagnosis, prognosis, information revealed by or in the medical records, or any other matter bearing on his or her
medical or physical condition, unless you receive an additional authorization permitting such discussion. Subject to all
applicable legal objections, this restriction does not apply to discussing my medical history, care, treatment, diagnosis,
prognosis, information revealed by or in the medical records, or any other matter bearing on my medical or physical condition
at a deposition or trial.

2. I understand that the information in my health record may include information relating to sexually transmitted disease, acquired
immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV).

3. I understand that I have the right to revoke this authorization at any time. I understand that if I revoke this authorization I must do so
in writing and present my written revocation to the health information management department. I understand the revocation will not
apply to information that has already been released in response to this authorization. I understand the revocation will not apply to my
insurance company when the law provides my insurer with the right to contest a claim under my policy. Unless otherwise revoked, this
authorization will expire in one year.

4. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this authorization. I need not
sign his form in order to assure treatment. I understand I may inspect or copy the information to be used or disclosed as provided in CFR
164.524. I understand that any disclosure of information carries with it the potential for an unauthorized re-disclosure and the
information may not be protected by federal confidentiality rules. If I have questions about disclosure of my health information, I can
contact the releaser indicated above.

5. A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an original.

Print Name:                                             (plaintiff/representative)


Signature: ______________________________________ Date


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                    LIM ITED AUTHORIZATIO N TO DISCLO SE EM PLOYM ENT
                      RECORDS AND INFORM ATION (HIPAA COM PLIANT
                     AUTHORIZATION FO RM PURSUANT TO 45 CFR 164.508)

T O:
         Name of Employer



         Address, City State and Zip Code

RE:      Employee Name:                                                    AKA:
         Date of Birth: ________________________ Social Security Number:

         Address:

I authorize the limited disclosure of my employment records including medical information protected by HIPAA,
45 CFR 164.508, for the purpose of review and evaluation in connection with a legal claim.

This authorization only authorizes release of records and/or information from the time period of seven (7)
years prior to the date on which this authorization is signed. I expressly request that all entities identified
above disclose full and complete records from the time period of seven (7) years prior to the date on which this
authorization is signed, including the following:

This will authorize you to furnish copies of all applications for employment; resumes; records of all positions
held; job descriptions of positions held; wage and income statements and/or compensation records; wage
increases and decreases; evaluations, reviews and job performance summaries; W-2s; employee health files, and
correspondence and memoranda regarding the undersigned.



I authorize you to release the information to:



Name (Records Requestor)



Street Address                                                 City                                 State and Zip Code

I intend that this authorization shall be continuing in nature. If information responsive to this authorization is created,
learned or discovered at any time in the future, either by you or another party, you must produce such information to
the Records Requestor at that time.

I acknowledge the right to revoke this authorization by writing to you at the above referenced address. However, /
understand that any actions already taken in reliance on this authorization cannot be reversed, and my revocation
will not affect those actions. Any facsimile, copy or photocopy of the authorization shall authorize you to release
the records herein.




Signature of Employee or Personal Representative           Date         Name of Employee or Personal Representative



Description of Personal Representative's Authority to Sign for Employee (attach documents that show authority)




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                               LIMITED AUTHORIZATION FOR
                                  RELEASE OF WORKERS'
                                 COMPENSATION RECORDS


To:
                       Name


                       Address


                       City, State and Zip Code

       This will authorize you to furnish copies of any and all workers' compensation records
of any sort for any workers’ compensation claims filed within the last ten (10) years,
including, but not limited to, statements, applications, disclosures, correspondence, notes,
settlements, agreements, contracts or other documents, concerning:


                                           Name of Claimant

 whose date of birth is ______________and whose social security number is



       You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.



        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code


        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.




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        This authorization shall be considered as continuing in nature and is to be given full force
and effect to release information of any of the foregoing learned or determined after the date hereof.
It is expressly understood by the undersigned and you are authorized to accept a copy or photocopy
of this authorization with the same validity as through the original had been presented to you.


Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                       LIMITED AUTHORIZATION FOR RELEASE OF
                             DISABILITY CLAIMS RECORDS



To:
                        Name


                        Address


                        City, State and Zip Code


        This will authorize you to furnish copies of any and all records of disability claims of any
sort for any disability claim(s) filed within the last ten (10) years, including, but not limited to,
statements, applications, disclosures, correspondence, notes, settlements, agreements, contracts or
other documents, concerning:

                                            Name of Claimant

 whose date of birth is ______________and whose social security number is


        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.
        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.


        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code




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        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.



Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                                      FOR RELEASE OF
                                 HEALTH INSURANCE RECORDS


To:
                        Name


                        Address


                        City, State and Zip Code

        This will authorize you to furnish copies of any and all insurance claims applications and
benefits, and all medical, health, hospital, physicians, nursing or allied health professional reports,
records or notes, invoices and bills, in your possession that pertain to the named insured identified
below. This authorization only authorizes release of Health Insurance records and/or
information from the time period of ten (10) years prior to the date on which this authorization
is signed.

                                            Name of Claimant

 whose date of birth is ______________and whose social security number is
        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.

        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code




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        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.
        This authorization is not valid unless the record requestor named above has executed the
acknowledgement at the bottom of this authorization.
        This authorization shall be considered as continuing in nature and is to be given full force and
effect to release information of any of the foregoing learned or determined after the date hereof. It is
expressly understood by the undersigned and you are authorized to accept a copy or photocopy of
this authorization with the same validity as through the original had been presented to you.



Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                                LIMITED AUTHORIZATION TO DISCLOSE PSYCHIATRIC,
                    PSYCHOLOGICAL AND/OR MENTAL HEALTH TREATMENT NOTES/RECORDS
                   (Pursuant to the Health Insurance Portability and Accountability Act "HIPAA" of 4/14/03)

TO:
Patient Name:
DOB:
SSN:

         I, ________________________ , hereby authorize you to release and furnish to: Shook Hardy & Bacon LLP, Keogh Cox &
         Wilson Ltd., Ulmer & Berne LLP, Greenberg Traurig LLP, Wheeler Trigg O’Donnell LLP, Adams and Reese LLP, Chaffe
         McCall LLP, Quinn Emanuel Urquhart & Sullivan LLP, Morrison & Foerster LLP, Leake & Anderson LLP, Hinshaw &
         Culbertson LLP, Kirkland & Ellis LLP and/or their duly assigned agents, copies of the following records and/or information
         from the time period of ten (10) years prior to the date on which the authorization is signed:

     x   All “psychotherapy notes”, as such term is defined by the Health Insurance Portability and Accountability Act, 45 CFR
         §164.501. Under HIPAA, the term “psychotherapy notes” means notes recorded (in any medium) by a health care provider
         who is a mental health professional documenting or analyzing the contents of conversations during a private counseling session
         or a group, joint or family counseling session and that are separated from the rest of the individual’s record. This authorization
         does not authorize ex parte communication concerning same.

1. To my medical and/or mental health provider: this authorization is being forwarded by, or on behalf of, attorneys for the
defendants for the purpose of litigation. You are not authorized to discuss any aspect of the above-named person's medical
history, mental health history, care, treatment, diagnosis, prognosis, information revealed by or in the medical or mental
health records, or any other matter bearing on his or her medical, psychological, or physical condition, unless you receive
an additional authorization permitting such discussion. Subject to all applicable legal objections, this restriction does not
apply to discussing my medical history, mental health history, care, treatment, diagnosis, prognosis, information revealed
by or in the medical or mental health records, or any other matter bearing on my medical, psychological, or physical
condition at a deposition or trial.

2. I understand that the information in my health record may include information relating to sexually transmitted disease, acquired
immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV). It may also include information about behavioral or
mental health services, and treatment for alcohol and drug abuse.

3. I understand that I have the right to revoke this authorization at any time. I understand that if I revoke this authorization I must do
so in writing and present my written revocation to the health information management department. I understand the revocation will
not apply to information that has already been released in response to this authorization. I understand the revocation will not apply to
my insurance company when the law provides my insurer with the right to contest a claim under my policy. Unless otherwise revoked,
this authorization will expire in one year.

4. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this authorization. I need
not sign his form in order to assure treatment. I understand I may inspect or copy the information to be used or disclosed as provided
in CFR 164.524. I understand that any disclosure of information carries with it the potential for an unauthorized re-disclosure and the
information may not be protected by federal confidentiality rules. If I have questions about disclosure of my health information, I can
contact the releaser indicated above.

5.   A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an original.

Print Name: ____________________________________ (plaintiff/representative)

Signature: ______________________________________ Date ________________




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                           MDL NO. 2740
PRODUCTS LIABILITY LITIGATION
                                                      SECTION “N” (5)
THIS DOCUMENT RELATES TO:

       ALL CASES                                      HON. KURT D. ENGELHARDT



              DEFENDANT FACT SHEET – PRODUCT IDENTIFICATION
         Within seventy-five (75) days of receiving a substantially completed Plaintiff Fact Sheet
(“PFS”), Defendants Sanofi S.A., Aventis Pharma S.A., and Sanofi-Aventis U.S., LLC, and
Winthrop US (collectively referred to as “Defendants”) must complete and serve this Defendant
Fact Sheet (“DFS”) and identify or provide DOCUMENTS and/or data responsive to the questions
set forth below for each such Plaintiff. Defendants must supplement their responses to the extent
that additional information is provided by Plaintiff in a supplemental PFS, within sixty (60) days
of receiving the supplemental information. In the event the DFS does not provide YOU with
enough space to complete YOUR responses or answers, please attach additional sheets if
necessary. Please identify any DOCUMENTS that YOU are producing as responsive to a question
or request by bates number.

                              DEFINITIONS & INSTRUCTIONS

As used herein, “YOU,” “YOUR,” or “YOURS” means the responding DEFENDANTS.

“DEFENDANTS” shall mean and refer to those companies involved in the development,
manufacture and distribution of the drugs known as Taxotere (Docetaxel) including Sanofi S.A.,
Aventis Pharma S.A., Sanofi-Aventis U.S., LLC, and Winthrop US shall each answer each
document request and question that not only calls for YOUR knowledge, but also for all knowledge
that is available to YOU by reasonable inquiry, including inquiry of YOUR "officers," "directors,"
"agents," "employees,” and attorneys.

As used herein, the phrase “HEALTHCARE PROVIDER” means: any physician or other
individual healthcare provider, health care facility, clinic, hospital or hospital pharmacy identified
by full name and address in PFS Section Sections V.13 and V.14 who administered, prescribed,
and/or dispensed Taxotere (Docetaxel) to the Plaintiff.

“REMUNERATION” means anything of value, directly or indirectly, overtly or covertly, in cash
or in kind, including but not limited to monetary payment, compensation, incentives, preceptorship
fees, gifts, entertainment, sports and/or concert tickets, speaker fees, grants, SAMPLES,
reimbursement assistance, beneficiary inducements, wellness programs, patience assistance

                                                  1
                                                                                      Exhibit “B”
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programs, transportation and/or lodging assistance, adherence to treatment regimen programs,
incentives or inducements to remain in network, navigator/care coordination programs, end of life
and/or palliative care programs, third party payments of premiums, or any other inducements or
programs.
As used herein, the term “DOCUMENT” shall, consistent with Federal Rule of Civil Procedure
34(a)(1)(A), refer to any “designated documents or electronically stored information – including
writings, drawings, graphs, charts, photographs, sound recordings, images, and other data or data
compilations – stored in any medium form which information can be obtained either directly or, if
necessary, after translation by the responding party into a reasonably usable form.”

If YOU are aware that any DOCUMENT that was, or might have been, responsive to any sections
of this DFS which concern or relate to Plaintiff or Plaintiff’s Named Facilities was destroyed,
erased, surrendered or otherwise removed from YOUR possession, custody or control, at any time,
provide, to the maximum extent possible, the following information: (a) the nature of the
DOCUMENT (e,g., letter, memorandum, contract, etc.,) and a description of its subject matter; (b)
the author or sender of the DOCUMENT; (c) the recipient(s) of the DOCUMENT; (d) the date
that the DOCUMENT was authored, sent and received; (e) the circumstances surrounding the
removal of the DOCUMENT from YOUR custody, possession or control; and (f) the identity of
the person(s) having knowledge of such removal from YOUR custody, possession or control.

As used herein, “KEY OPINION LEADER” or “THOUGHT LEADER” shall mean and refer to
physicians, often academic researchers, who are believed by DEFENDANTS to be effective at
transmitting messages to their peers and others in the medical community. This term shall mean
and refer to any doctors or medical professionals hired by, consulted with, or retained by
DEFENDANTS to, amongst other things, consult, give lectures, respond to media inquiries,
conduct clinical trials, write articles or abstracts, sign their names as authors to articles or abstracts
written by others, sit on advisory boards and make presentations on their behalf at regulatory
meetings or hearings.

The phrase “SAMPLES” refers to any medication or unit of a prescription drug not intended to be
sold, which is given to promote the drug's sales. This includes any vouchers or coupons that
provide for the HEALTHCARE PROVIDERS or patients access to the medication for a specified
period of time.

“PATIENT ASSISTANCE PROGRAM” means programs created by drug companies, such as
Sanofi, to offer free or low cost drugs to individuals who are unable to pay for their medication.
These Programs may also be called indigent drug programs, charitable drug programs or
medication assistance programs.

The phrase “SALES REPRESENTATIVE” means any person presently or formerly engaged or
employed by YOU whose job duties include calling on physicians or other health care
professionals, healthcare facilities, hospitals, and/or physician practice groups; promoting drugs
manufactured or licensed by YOU to physicians or other HEALTH CARE PROVIDERS;
distributing drug SAMPLES to physicians or other HEALTH CARE PROVIDERS. “SALES
REPRESENTATIVE” also includes those who occupy positions titled “Professional Sales
Representative,” “Sales Professional,” “Specialty Sales Representative,” “Senior Sales

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Representative,” “Senior Health Care Representative,” “Professional Representative,” “Health
Care Representative,” “Institutional” or “Managed Care” sales representative, “Oncology Sales
Representative,” “Medical Service Representative,” and “Medical Sales Representative” or any
other titles used by Defendants and any of its divisions SALES REPRESENTATIVE also includes
any contract employees or SALES REPRESENTATIVES from other companies involved in the
promotion or co-promotion of Taxotere (Docetaxel) .

The phrase “SALES MANAGER” means any person presently or formerly engaged or employed
by YOU whose job duties include managing SALES REPRESENTATIVES and/or the promotion
or marketing of pharmaceutical products in a specific geographic region. “SALES MANAGER”
includes those who occupy positions titled “District Sales Manager,” “Senior Regional Sales
Manager,” “Regional Sales Manager,” “Area Business Manager”, “Business Manager,” or any
other titles YOU use or have used in the past for managers involved in the promotion or marketing
of Taxotere (Docetaxel).

The phrase “MEDICAL SCIENCE LIAISON(S)” means any person presently or formerly
engaged or employed by YOU for the purpose of sales support and direct field communication
with physicians or other HEALTH CARE PROVIDERS about medical and science information
related to Taxotere (Docetaxel), and opinion leader management. This includes employees with
the titles of “Medical Science Liaison (MSL),” “Clinical Education Consultant (CEC)” or any
other titles YOU use or have used in the past for these employees.

The phrase “MARKETING ORGANIZATION REPRESENTATIVE,” means any person
presently or formerly engaged or employed by YOU for the purpose of generating interest in
Taxotere (Docetaxel) by creating and implementing a marketing campaign(s) to reach physicians
or other HEALTHCARE PROVIDERS. This includes employees with the title of “Marketing
Representative” or any other titles YOU use or have used in the past for these employees.

The phrase “CALL NOTES” means any and all writings, notations, electronically stored
information, memoranda, DOCUMENTS, emails, database entries and reports or records, internal
communications and any other information reflecting any contact with HEALTHCARE
PROVIDERS, and/or information about or referring to HEALTHCARE PROVIDERS related to
Taxotere (Docetaxel), oncology, or the treatment of cancer and chemotherapy.

The phrase “TARGETING INFORMATION” means any information the company uses to
identify a particular person, group of people, type of health care provider or demographic within a
larger audience regarding the promotion of Taxotere (Docetaxel). This includes documentation,
including electronically stored information, designating particular campaigns, PROMOTIONAL
MATERIAL and/or other promotional efforts directed toward particular types or specialties of
healthcare providers (e.g., oncologists) and/or specifically identified healthcare providers.



I.     CASE INFORMATION


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        This DFS pertains to the following case:

        Case caption:_____________________________________________________

        Civil Action No.__________________________________________________

        Court in which action was originally filed:______________________________

        Date this DFS was completed:________________________________


II.     SALE OF TAXOTERE (DOCETAXEL) TO DISPENSER
        (HOSPITAL/PHARMACY) DIRECTLY AND/OR THROUGH GROUP
        PURCHASING ORGANIZATIONS

A.      Did YOU sell, distribute, deliver or otherwise provide Taxotere (Docetaxel) to, any
        HEALTHCARE PROVIDER, either directly or pursuant to a Group Purchasing
        Organization (“GPO”), identified by the Plaintiff in Sections V.13 and V.14 of the PFS,
        during the time period of twenty-four (24) months preceding Plaintiff’s first administration
        of Taxotere through the Plaintiff’s last administration of Taxotere (Docetaxel)?

               Yes_____        No_____

B.      If YOUR answer is “Yes” to Question A. above, please provide a list of all deliveries or
        shipments of Taxotere (Docetaxel) sold, distributed or otherwise provided to each of the
        HEALTHCARE PROVIDERS, as identified by the Plaintiff in Sections V.13 and V.14 of
        the PFS, for the time period spanning from twenty-four (24) months prior to Plaintiff’s first
        administration of Taxotere (Docetaxel) through Plaintiff’s last administration of Taxotere
        (Docetaxel). Please include the name of each HEALTHCARE PROVIDER, the date of
        shipment/distribution of Taxotere (Docetaxel), and the amount of Taxotere (Docetaxel)
        distributed on said date.

 Name of Healthcare Provider               Date of Shipment               Amount of Taxotere
                                             Distribution                    Distributed




C.      Please provide all DOCUMENTS reflecting sale or purchase agreements regarding
        Taxotere (Docetaxel) between DEFENDANTS and the HEALTHCARE PROVIDERS
        identified by Plaintiff in Section Sections V.13 and V.14 of the PFS in effect during the
        time period spanning from twenty-four (24) months prior to Plaintiff’s first administration
        of Taxotere (Docetaxel) through Plaintiff’s last administration of Taxotere (Docetaxel).



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D.       Please provide all DOCUMENTS, including product labels, patient information packets,
         order forms, purchase orders, billing records, invoices, and other DOCUMENTS related to
         the shipments of Taxotere (Docetaxel) shipped to the HEALTHCARE PROVIDERS
         identified by Plaintiff in Sections V.13 and V.14 of the PFS for the time period spanning
         from twenty-four (24) months prior to Plaintiff’s first administration of Taxotere
         (Docetaxel) through to Plaintiff’s last administration of Taxotere (Docetaxel), and
         associate each label with the code numbers to which they are applicable. With regard to
         product labels, identification of the labels that applied to applicable lot numbers or dates is
         acceptable.

III.     COMMUNICATIONS AND CONTACTS WITH PLAINTIFF’S HEALTHCARE
         PROVIDERS

A.       For each HEALTHCARE PROVIDER identified in Sections V.13 and V.14 of the PFS:

            1. Identify by name all of Defendants’ SALES REPRESENTATIVES,
            MARKETING ORGANIZATIONS REPRESENTATIVES, MEDICAL SCIENCE
            LIAISONS, and/or any other detail persons (“Representative”) who came in contact
            with any of Plaintiff’s HEALTHCARE PROVIDER(S) in connection with Taxotere
            (Docetaxel) during the timeframe for which such records are available, namely 1996 to
            present.

            Name of Representative                                        Title




            2. Identify the time period, and specifically the dates, during which the Representative
            had any such contact with the HEALTHCARE PROVIDER.

       Name of Representative              Healthcare Provider                Dates of Contact




            3. If the Representative is no longer an employee, Defendants will provide the dates
            of employment for the employee and will also provide the last known address,
            telephone number, and email address for the Representative.

 Name          of Dates of                 Last Known        Telephone            Email Address
 Representative   Employment               Address           Number




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            4. For each Representative, provide the names of the Representative’s
            Supervising/District SALES MANAGER. If the Representative’s Supervising District
            SALES MANAGER is no longer an employee, Defendants will provide the dates of
            employment for the employee and will also provide the last known address, telephone
            number, and email address for the former employee.

 Supervising/Dis     Current or     Dates     of Last             Telephone     Email Address
 trict SALES         Former         Employment   Known            Number
 MANAGER             Employee                    Address




B.     For each Defendants’ Sale Representatives, MARKETING ORGANIZATION
       REPRESENTATIVES, MEDICAL SCIENCE LIAISONS, and/or any other detail persons
       (“Representative”), previously identified in Section III.A of this DFS please produce the
       following:

       1.      His/her complete CALL NOTES for each such contact that relates to (a) Taxotere
               (Docetaxel); and/or (b) hair loss; and/or (c) permanent hair loss and/or alopecia.

       2.      Produce all emails or other written correspondence with the HEALTHCARE
               PROVIDER(S) that relates to (a) Taxotere (Docetaxel); and/or (b) hair loss; and/or
               (c) permanent hair loss and/or alopecia.

       3.      Produce any and all TARGETING INFORMATION related to the HEALTHCARE
               PROVIDER(S) identified by Plaintiff in Sections V.13 and V.14 of the PFS.

C.     For the HEALTHCARE PROVIDERS identified by Plaintiff in Sections V.13 and V.14 of
       the PFS, please provide the following information related to SAMPLES of Taxotere
       (Docetaxel):

       1.      The date(s) on which such SAMPLES of Taxotere (Docetaxel) were provided;

       2.      The date(s) on which the Taxotere (Docetaxel) was provided through a PATIENT
               ASSISTANCE PROGRAM;

       3.      The amount, dosage, and lot numbers of such SAMPLES and/or Taxotere
               (Docetaxel) provided through a PATIENT ASSISTANCE PROGRAM;

       4.      The name(s) of the DEFENDANT representative(s) and/or department who
               provided such SAMPLES Taxotere (Docetaxel);

       5.      The name(s) of the DEFENDANT representative(s) and/or department who
               provided Taxotere (Docetaxel) through a PATIENT ASSISTANCE PROGRAM.

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 HEALTHCARE              Date(s)             Amount and         Lot Number       Representative
 PROVIDER                Shipped             Dosage                              Who Provided
                         and/or
                         Provided




IV.     CONSULTING WITH PLAINTIFF’S HEALTHCARE PROVIDER

       For each HEALTHCARE PROVIDER identified in Plaintiff’s PFS, please answer the
following:

A.      If the HEALTHCARE PROVIDER has been consulted, retained, or compensated by
        Defendants as a “KEY OPINION LEADER,” “THOUGHT LEADER,” member of a
        “speaker’s bureau,” “clinical investigator,” “consultant,” advisory board member or in a
        similar capacity or otherwise has or had a financial relationship with or has been provided
        REMUNERATION by DEFENDANTS, please state the following for each:

        1.     Identify the HEALTHCARE PROVIDER.

        2.     Identify the date(s) that the HEALTHCARE PROVIDER was consulted, retained,
               or compensated.

        3.     State the nature of the affiliation.

        4.   State the type amount of REMUNERATION provided to the HEALTHCARE
        PROVIDER.

         HEALTHCARE              Date(s)                  Nature of          REMUNERATION
         PROVIDER                Consulted,               Affiliation
                                 Retained, or
                                 Compensated




        5.      Please identify and produce any and all consulting agreements/contracts and/or
        retainer agreements/contracts entered into by DEFENDANTS with the HEALTHCARE
        PROVIDERS identified in Sections V.13 and V.14 of the PFS.

V.      PLAINTIFF’S HEALTHCARE PROVIDER’S PRACTICES




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A.     Provide all chemotherapy related prescriber-level data designed to track prescribing or
       treating practices that YOU obtained on Plaintiff’s HEALTHCARE PROVIDERS
       identified in Sections V.13 and V.14 of the PFS.

B.     Was the HEALTHCARE PROVIDER(S) identified in Sections V.13 and V.14 of the PFS
       involved in any clinical trial sponsored by DEFENDANTS related to the treatment of
       cancer?

       _____Yes _____ No

              If yes, provide the final Investigator Protocol related to any such trial(s).

C. Did the Plaintiff’s HEALTHCARE PROVIDER ever report any adverse events to
   DEFENDANTS as they pertain to Taxotere (Docetaxel)?

       _________      Yes    __________      No

       If yes, provide all DOCUMENTS related to the adverse event report/MedWatch form.

                                       CERTIFICATION

         I am employed by _______________________, one of the DEFENDANTS in this
litigation.    I am authorized by ______________________________ [name of other
DEFENDANTS] to execute this certification on each corporation’s behalf. The foregoing answers
were prepared with the assistance of a number of individual, including counsel for
DEFENDANTS, upon whose advice and information I relied. I declare under penalty of perjury
subject to 28 U.S.C. § 1746 that all of the information provided in this Defendant Fact Sheet is
true and correct to the best of my knowledge and that I have supplied all requested DOCUMENTS
to the extent that such DOCUMENTS are in my possession, custody and control (including the
custody and control of my lawyers).
____________________         _______________________                 ____________________
Signature                    Print Name                              Date




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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                                    MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                                SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                                PRETRIAL ORDER NO. 39
                      [Streamlined Service on Sun Pharma Global, Inc.]

I.      SCOPE OF THE ORDER

        This Stipulated Order shall govern (1) cases transferred to this Court by the Judicial Panel

on Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to

Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in this

Court or transferred or removed to this Court. The Order only applies to claims brought by a U.S.

citizen or resident based on usage or purchase of docetaxel in the United States.

II.     STAY OF SERVICE OF PROCESS FOR SUN PHARMA GLOBAL INC.

        All applicable limitations in Fed. R. Civ. P. 4(m) are stayed as of the date of this Order,

such that plaintiffs need not serve Sun Pharma Global Inc. until further order of the Court after a

meet and confer of the parties. Such stay shall not exceed ninety (90) days from the date of this

Order and may be lifted pursuant to an earlier motion to lift the stay by either party or by order of

the Court. Such extension shall not waive any rights, obligations, or defenses of the parties.

Further, Sun Pharma Global Inc. shall not move to dismiss a complaint under Fed. R. Civ. P. 4(m)

as to Sun Pharma Global Inc. until further order of the Court after a meet and confer of the parties.




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Upon lifting of the stay, Plaintiffs shall serve Sun Pharma Global Inc. pursuant to the Streamlined

Service of Process set forth below.


III.     STREAMLINED SERVICE OF PROCESS FOR SUN PHARMA GLOBAL INC.

         A.    Sun Pharma Global Inc. agrees to waive formal service of process under Federal

Rule of Civil Procedure 4 and to accept service of docetaxel cases that are properly commenced

in, removed to, or transferred to this MDL. By waiving formal service of process, Sun Pharma

Global Inc. does not waive any defenses available to it.

         B.     These procedures for informal service of process are not available in cases in which

the plaintiff seeks remand to state court unless and until remand is denied. For plaintiffs seeking

remand, all deadlines set forth in this Order run from the date on which remand is denied.

         C.    Plaintiffs whose Complaints are not subject to Paragraph B above, who have not

already served Sun Pharma Global Inc., and whose case has not yet been docketed in the MDL

shall have ninety (90) days from the date the case is docketed in the MDL and the above stay has

been lifted to serve the Complaint with a Summons. If the stay is still in place, Plaintiffs whose

cases already have been docketed in this MDL shall have sixty (60) days from the lift of the stay

to serve the Complaint with a Summons. The Complaint and a Summons shall be served by

electronic mail (“email”) to the following address: docetaxel@hinshawlaw.com. Each email sent

to this address shall only contain one Complaint and Summons, and the subject line of each email

shall state the plaintiff’s first and last name as well as the originating court. The body of each email

must also include contact information for counsel of record.

         D.    Plaintiffs should receive an automatic reply from the mailbox address when a

complaint is served. If no such reply is received within twenty-four (24) hours, Plaintiffs should




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re-serve it pursuant to the terms of this Order. Upon successful e-mail service, the date of the initial

effort to serve the Complaint via email shall be deemed the date of service.

        E.     Service will be effective only if addressed as above. General mailing or use of other

methods of transmission, including but not limited to Federal Express or email to an alternate

address, will not be sufficient to effect service. In accordance with Pretrial Order No. 1, Sun

Pharma Global Inc. is not required to respond to effectively served Complaints until a date to be

set by the Court. Sun Pharma Global Inc. agrees to provide thirty (30) days written notice before

moving to dismiss for a technical defect in the service process described in this section. Failure to

serve a Complaint within the time periods set forth above will be subject to the standards governing

Fed. R. Civ. P. 4(m). Other than those based on formal service of process, Sun Pharma Global Inc.

reserves all other rights and defenses available to it under federal or state law and under applicable

treaties and conventions.

        F.     For cases in which plaintiffs have served Sun Pharma Global Inc., any applicable

limitations in Fed. R. Civ. P. 4(m) are extended such that plaintiffs need not serve any other Sun

Pharma Global Inc. entities until further order of the Court after a meet and confer of the parties.

Such extension shall not waive any rights, obligations, or defenses of the parties. Further, Sun

Pharma Global Inc. shall not move to dismiss a complaint under Fed. R. Civ. P. 4(m) as to an

unserved Sun Pharma Global Inc. entity until further order of the Court after a meet and confer of

the parties.

                                        his 11th day of April,, 20
               New Orleans, Louisiana, this                     20117.
                                                                2017.




                                               KURT D. ENGELHARDT
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                                               UNITED STATES DISTRICT
                                                             DISTRI T JUDGE
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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                 MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                            SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES



                               PRETRIAL ORDER NO. 40
             [Streamlined Service on Hospira Worldwide, LLC and Pfizer Inc.]

I.      SCOPE OF THE ORDER

        This Stipulated Order shall govern (1) cases transferred to this Court by the Judicial Panel

on Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to

Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in this

Court or transferred or removed to this Court. The Order only applies to claims brought by a U.S.

citizen or resident based on usage or purchase of docetaxel in the United States.

II.     STREAMLINED SERVICE OF PROCESS FOR HOSPIRA WORLDWIDE, LLC
        AND PFIZER INC.

        A.     For forty-five (45) days following the date of this Order, Defendants Hospira

Worldwide, LLC, formerly doing business as Hospira Worldwide, Inc., and Pfizer Inc. (together,

“Defendants”) agree to accept and return waivers of service of summons for docetaxel cases that

are properly commenced in, removed to, or transferred to this MDL. This agreement is

contingent upon service being handled in accordance with the procedures outlined in Rule 4(d)

of the Federal Rules of Civil Procedure and below. By agreeing to waive service, Defendants do

not waive any defenses available to them.
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       For the time period within forty-five (45) days of this Order, Defendants provide the

following addresses to which Rule 4(d) requests for waiver should be sent via certified mail:

Pfizer Inc.

Pfizer Inc.
The Corporation Trust Company
1209 Orange Street
Wilmington, DE 19801
Hospira Worldwide, LLC
Hospira Worldwide, LLC
CT Corporation System
208 South LaSalle Street
Suite 814
Chicago, IL 60604


       B.      However,     IT IS ORDERED that during this forty-five (45) day period,

Defendants Hospira Worldwide, LLC, formerly doing business as Hospira Worldwide, Inc., and

Pfizer Inc. (together, “Defendants”) shall update and modify their infrastructure for service of

process and case tracking to allow, solely for purposes of this MDL, for a waiver of formal service

of process under Federal Rule of Civil Procedure 4 and acceptance of service of docetaxel cases

that are properly commenced in, removed to, or transferred to this MDL. By waiving formal

service of process, Defendants do not waive any defenses available to them.

       Following forty-five (45) days of this Order, the Complaint and a Summons shall be served

by electronic mail (“email”) to an email address that shall be set up by Defendants to receive

Taxotere MDL complaints and summons. Such email address is to be provided to the Court no

later than forty-five (45) days from the date of this Order, so that the Court may publish that email

address in a subsequent order. Each email sent to this address shall only contain one Complaint

and Summons, and the subject line of each email shall state the plaintiff’s first and last name as


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well as the originating court. The body of each email must also include contact information for

counsel of record.

       Plaintiffs should receive an automatic reply from the mailbox address when a complaint is

served. If no such reply is received within twenty-four (24) hours, Plaintiffs should re-serve it

pursuant to the terms of this Order. Upon successful e-mail service, the date of the initial effort to

serve the Complaint via email shall be deemed the date of service.

       After forty-five (45) days from the date of this Order, service will be effective only if

addressed as above. General mailing or use of other methods of transmission, including but not

limited to Federal Express or email to an alternate address, will not be sufficient to effect service.

       C.      These procedures for service are not available in cases in which the plaintiff seeks

remand to state court unless and until remand is denied. For plaintiffs seeking remand, all

deadlines set forth in this Order run from the date on which remand is denied.

       D.      Plaintiffs whose Complaints or Short Form Complaints are not subject to Paragraph

C above, who have not already served Defendants, and whose cases have not yet been docketed in

the MDL shall have ninety (90) days from the date the case is docketed in the MDL to serve a

Complaint or Short Form Complaint, consistent with Pretrial Order No. 15, with a waiver of

service summons. Plaintiffs whose cases already have been docketed in this MDL shall have sixty

(60) days from entry of this Order to serve the Complaint or Short Form Complaint, consistent

with Pretrial Order No. 15, with a waiver of service summons.

       E.      In accordance with Pretrial Order No. 1, Defendants are not required to respond to

effectively served Complaints or Short Form Complaints until a date to be set by the Court.

Defendants agree to provide thirty (30) days written notice before moving to dismiss for a technical

defect in the service process. Failure to serve a Short Form Complaint and/or Complaint within



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the time periods set forth above will be subject to the standards governing Federal Rule of Civil

Procedure 4(m). Other than those based on formal service of process, Defendants reserve all other

rights and defenses available to them under federal or state law and under applicable treaties and

conventions.

       New Orleans, Louisiana, this 12th day of April, 2017.




                                                    KURT D. ENGE
                                                            ENGELHARDT
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                                                    UNITED STATES DISTRICT
                                                                  DIISTRICT JUDGE




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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                      MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                  SECTION “N” (5)
 THIS DOCUMENT RELATES TO:
 ALL CASES


                                PRETRIAL ORDER NO.

                       [Amended Exemplar Short Form Complaint]

       THE COURT being fully advised on the matter, hereby GRANTS Plaintiffs’ Co-Liaison

Counsel’s Consent Motion to Amend Exhibit A (Rec. Doc. 318-1) to Pretrial Order No. 37 (Rec.

Doc. 318) to allow for the names of Plaintiff(s) and Defendant(s) to be inserted into the case

caption of the Exemplar Complaint and enters Pretrial Order No. .

       IT IS ORDERED that Exhibit A to Pretrial Order No. 37 (Rec. Doc. 318-1) be and it is

hereby amended so that the names of Plaintiff(s) and Defendant(s) shall be inserted into the

case caption of the Exemplar Complaint (Rec. Doc.  ).

       New Orleans, Louisiana, this 17th
                                    ____ day of April, 2017.




                                            KURT D. ENGELHARDT
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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                                    :   MDL NO. 2740
PRODUCTS LIABILITY LITIGATION                                  :
                                                               :   SECTION “N”(5)
                                                               :   JUDGE ENGELHARDT
                                                               :   MAG. JUDGE NORTH
                                                      ,        :
                                                               :   COMPLANT & JURY DEMAND
         Plaintiff(s),                                         :
                                                               :   Civil Action No.:
vs.                                                            :
                                                               :
                                                               :
                                                      ,        :
                                                               :
         Defendant(s).                                         :
-------------------------------------------------------------- :


                                      SHORT FORM COMPLAINT

        Plaintiff(s) incorporate by reference the Master Long Form Complaint and Jury Demand

filed in the above-referenced case on March 31, 2017. Pursuant to Pretrial Order No. 15, this

Short Form Complaint adopts allegations and encompasses claims as set forth in the Master

Long Form Complaint against Defendant(s).

        Plaintiff(s) further allege as follows:

1.         Plaintiff:



2.         Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss

           of consortium):




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3.      Other type of Plaintiff and capacity (i.e., administrator, executor, guardian,

        conservator):



4.      Current State of Residence:

5.      State in which Plaintiff(s) allege(s) injury:

6.      Defendants (check all Defendants against whom a Complaint is made):

        a.     Taxotere Brand Name Defendants

                        A.     Sanofi S.A.

                        B.     Aventis Pharma S.A.

                        C.     Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.

                        D.     Sanofi-Aventis U.S. LLC

        b.     Other Brand Name Drug Sponsors, Manufacturers, Distributors

                        A.     Sandoz, Inc.

                        B.     Accord Healthcare, Inc.

                        C.     McKesson Corporation d/b/a McKesson Packaging

                        D.     Hospira Worldwide Inc.

                        E.     Hospira Inc

                        F.     Sun Pharma Global FZE

                        G.     Sun Pharma Global Inc.

                        H.     Caraco Pharmaceutical Laboratories Ltd.

                        I.     Pfizer Inc.

                        J.     Allergan Finance LLC f/k/a Actavis Inc.

                        K.     Actavis Pharma Inc.




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                        L.        Other:




7.      Basis for Jurisdiction:

                 Diversity of Citizenship

                 Other (any additional basis for jurisdiction must be pled in sufficient detail as
                 required by the applicable Federal Rules of Civil Procedure):




8.      Venue:

        District Court and Division in which remand and trial is proper and where you might
        have otherwise filed this Short Form Complaint absent the direct filing Order entered
        by this Court:




9.      Brand Product(s) used by Plaintiff (check applicable):

                 A.     Taxotere

                 B.     Docefrez

                 C.     Docetaxel Injection

                 D.     Docetaxel Injection Concentrate

                 E.     Unknown

                 F.     Other:




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10.      First date and last date of use (or approximate date range, if specific dates are
         unknown) for Products identified in question 9:




11.      State in which Product(s) identified in question 9 was/were administered:




12.          Nature and extent of alleged injury (including duration, approximate
             date of onset (if known), and description of alleged injury):




13.          Counts in Master Complaint brought by Plaintiff(s):

                   Count I – Strict Products Liability - Failure to Warn
                   Count II – Strict Products Liability for Misrepresentation
                   Count III – Negligence
                   Count IV – Negligent Misrepresentation
                   Count V – Fraudulent Misrepresentation
                   Count VI – Fraudulent Concealment
                   Count VII – Fraud and Deceit
                   Count VIII – Breach of Express Warranty (Sanofi Defendants
                   only)

                   Other: Plaintiff(s) may assert the additional theories and/or
                   State Causes of Action against Defendant(s) identified by
                   selecting “Other” and setting forth such claims below. If
                   Plaintiff(s) includes additional theories of recovery, for
                   example, Redhibition under Louisiana law or state consumer
                   protection claims, the specific facts and allegations supporting
                   additional theories must be pleaded by Plaintiff in sufficient
                   detail as required by the applicable Federal Rules of Civil
                   Procedure.




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14.      Name of Attorney(s), Bar Number(s), Law Firm(s), Phone Number(s),
         Email Address(es) and Mailing Address(es) representing Plaintiff(s):

                                      By:




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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


 In Re: TAXOTERE (DOCETAXEL)                                                   MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                               SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES


                                PRETRIAL ORDER NO. 42
                 (Responsive Pleadings to Short Form Complaints Reserved)

       On April 6, 2017, the Court entered Pretrial Order No. 37 (R. Doc. 318) governing the

entry of an exemplar Short Form Complaint and a Master Complaint for the MDL. Further, Pretrial

Order 15 (R. Doc. 230) provides that a Defendant’s Master Answer does not waive any applicable

defenses and that Defendants may respond to individual complaints, including Short Form

Complaints, by way of motions permissible under the Federal Rules of Civil Procedure. Pretrial

Order 15 provides timelines for filing certain claims upon transfer of cases to the MDL or upon

filing of the Master Answer.

       It is further ordered that a plaintiff’s filing of a Short Form Complaint does not trigger any

responsive pleading deadline on the part of any Defendant at this time. All responsive pleading

obligations for Defendants shall remain stayed notwithstanding the filing of Short Form

Complaints until further Order from the Court. Defendants’ only current responsive pleading

obligations pertain to the Master Answer, as outlined in Pretrial Order 15.

       To the extent Plaintiffs assert claims in their Short Form Complaint that are different from

or in addition to those set forth in the Master Complaint, the parties will meet and confer, and a

deadline will be set at a later date for Defendants to file supplemental responsive pleadings, if



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warranted. Defendants expressly retain the right to challenge those claims separately at a later

date.

   New Orleans, Louisiana this 26th day of April, 2017.




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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                 MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                            SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                                 PRETRIAL ORDER NO. 43
                              (4/21/17 Liaison Counsel Meeting)

       On Friday, April 21, 2017, the Court held a meeting with Plaintiffs’ Liaison Counsel, Dawn

Barrios and Palmer Lambert, and Defendants’ Liaison Counsel, Douglas Moore and John Olinde.

During the meeting, the Court discussed with counsel the topics listed on the attached agenda. IT

IS ORDERED that:

       (1) The next general status conference will take place on Friday, July 7, 2017, at 10:00

           a.m. in Judge Engelhardt’s courtroom, with the meeting of liaison counsel at 8:30 a.m.

           and the meeting of the Plaintiffs’ Steering Committee at 9:00 a.m. The Court has set

           up a conference line for the status conference. To participate, call (800) 260-0712 and

           enter access code 423344.

       (2) The 505(b)(2) Defendants shall submit nominations of counsel to be appointed to the

           Settlement Committee via email (chynna_anderson@laed.uscourts.gov) on or before

           Friday, April, 28, 2017, at 5:00 p.m.

       (3) The “Science Day” presentations, scheduled for May 3, 2017 at 8:30 a.m., shall be

           limited to thirty (30) minutes per side. These presentations shall be open to the public.

           However, attendance of the members of the Plaintiffs’ Steering Committee is not



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Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 417 of 657




     required. In addition, the Court has set up a conference line for the presentations. To

     participate, call (800) 260-0702 and enter access code 423343.

  (4) The submission date for the Motions to Remand discussed at the April 21, 2017

     meeting with liaison counsel shall be Wednesday, June 21, 2017.

  (5) Liaison counsel, in drafting a proposed order regarding a discovery timeline and

     bellwether protocol, shall include a selection protocol for how plaintiffs shall be

     selected for bellwether trials and a proposed briefing schedule for the submission of

     potential bellwether cases to the Court.

  New Orleans, Louisiana, this 27th day of April 2017.



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     MDL 2740 – In Re: Taxotere (Docetaxel) Products Liability Litigation
                     Liaison Counsel Meeting Agenda
                              April 21, 2017



1.    Status of State Court Cases
        a.    City of St. Louis
        b. Delaware
        c.    California
        d. Remand Motion/Hearing Schedule

2.    Revised MDL Centrality Order, PFS/DFS Implementation Order, and Short Form
      Complaint

3.    Multi-Plaintiff Cases

4.    Defendant Proposed Voluntary Dismissal Order

5.    Status of ESI

6.    Status of Fact Sheets

7.    Discovery timeline and bellwether protocol

8.    Science Day (May 3 at 8:30 a.m.)

9.    505(b)(2) Settlement Committee




                                           1                            Exhibit “A”
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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                 MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                            SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                              PRETRIAL ORDER NO. 44
              (Order Appointing 505(b)(2) Defendants’ Settlement Committee)

       The Court previously appointed counsel to the Plaintiff Settlement Committee and the

Defendant Settlement Committee on December 13, 2016, in Pretrial Order No. 6 (Rec. Doc. 133).

In addition to these committees, this Court now finds that it is appropriate to appoint counsel to a

separate committee for the non-Sanofi Defendants, referred to as the 505(b)(2) Defendants. This

Court contemplates that this 505(b)(2) Defendant Settlement Committee may become part of the

previously appointed Defendant Settlement Committee in the future, or there may be a need for

each 505(b)(2) Defendant to discuss settlement with the Plaintiff Settlement Committee

independently from other Defendants.

       As previously stated in Pretrial Order No. 6 (Rec. Doc. 133), counsel appointed to the

settlement committees are charged with engaging in continuous general settlement discussions on

a regular basis, as opposed to participating in detailed discovery, trial preparations, and

presentations at trial, wherein those time-consuming tasks would distract counsel from pursuing

avenues for potential resolution of some or all of the issues in this multi-district litigation. The

settlement committees are expected to hold regular discussions, in an attempt to establish common

understandings, potential ground rules, component parts and concepts, anticipated relief, necessary

approvals, and ultimately financial details, including drafting of all pertinent documents, in an

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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 420 of 657




attempt to resolve this matter prior to remand of some or all of the member cases. These discussions

are to be both among the separate committee members themselves and with each other across the

adversarial divide, as well as with and/or without the input of the assigned Magistrate Judge in this

matter. In addition, the Court will from time to time, meet by phone and in person with the

settlement committees as so desired.

       Therefore, based upon the nominations submitted to counsel from the 505(b)(2)

Defendants, the Court hereby appoints the following:



505(b)(2) Defendant Settlement Committee:

   x   On behalf of Accord Healthcare, Inc.:

       John P. Wolff, III
       Keogh, Cox & Wilson, Ltd.
       701 Main Street
       Baton Rouge, LA 70802
       (Phone): 225-383-3796
       (Facsimile): 225-343-9612
       Email: jwolff@keoghcox.com

   x   On behalf of Actavis Pharma, Inc.:

       Rex A. Littrell
       Ulmer & Berne LLP
       65 East State Street, Suite 1100
       Columbus, OH 43215
       (Phone): 614-229-0012
       (Facsimile): 614-229-0013
       Email: rlittrell@ulmer.com

   x   On behalf of Hospira Worldwide, LLC and Pfizer Inc.:

       Sheila L. Birnbaum
       Quinn Emanuel Urquhart & Sullivan, LLP
       51 Madison Avenue, 22nd Floor
       New York, New York 10010
       (Phone): 212-849-7000
       (Facsimile): 212-849-7100

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       Email: sheilabirnbaum@quinnemanuel.com

   x   On behalf of McKesson Corporation:

       Habib Nasrullah
       Wheeler Trigg O’Donnell LLP
       370 Seventeenth Street, Suite 4500
       Denver, Colorado 80202
       (Phone): 303-244-1960
       (Facsimile): 303-244-1879
       Email: nasrullah@wtotrial.com

   x   On behalf of Sandoz Inc.:

       Lori G. Cohen
       Greenberg Traurig LLP
       Terminus 200
       3333 Piedmont Road NE, Suite 2500
       Atlanta, GA 30305
       (Phone): 678-553-2100
       (Facsimile): 678-553-2212
       Email: cohenl@gtlaw.com

   x   On behalf of Sun Pharma Global Inc.:

       Bradford R. Carver
       Hinshaw & Culbertson LLP
       28 State Street, 24th Floor
       Boston, MA 02109
       (Phone): 617-213-7002
       (Facsimile): 617-213-7001
       Email: bcarver@hinshawlaw.com

       Moreover, Lori G. Cohen is appointed as chairperson of the committee. The chairperson

shall be responsible for organizing meetings and handling communication with the counterpart

committees as well as with the Court. The terms of appointment to these committees shall be the

same as the appointment of counsel to the liaison committees (see Pretrial Order No. 2, Rec. Doc.

104), i.e., the initial term shall extend until January 1, 2018, and all other provisions of Paragraph

5 of Pretrial Order No. 2 shall apply.




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       In addition, the Court will, from time to time, meet by phone and in person with the

settlement committees as so desired.

       New Orleans, Louisiana, this 11th day of May 2017.



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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                        MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION                                                  SECTION “N” (5)

  THIS DOCUMENT RELATES TO:
  ALL CASES


                                  PRETRIAL ORDER NO. 45
                          (Briefing Schedule for Motions to Remand)

       The Court issues the following briefing schedule for omnibus motions to remand that

applies only to cases transferred to this Court via Conditional Transfer Order in which a decision

has not yet been rendered on remand, regardless of whether a motion to remand was previously

filed in the transferor court. This briefing schedule applies to all cases docketed in the MDL as of

the time of entry of this Order in which remand to state court is sought.

   1. Pursuant to Pretrial Order #43, Plaintiffs shall file an omnibus motion to remand related to

       all cases in a given state (i.e., CA, DE, or MO) on or before May 19, 2017, with a notice

       of submission identifying the submission date of June 21, 2017 at 9:30 a.m.;

   2. Defendants shall file an opposition memorandum to each omnibus motion on or before

       June 2, 2017;

   3. Plaintiffs shall file a reply memorandum, if necessary to address issues raised in

       Defendants' opposition memorandum, on or before June 9, 2017; and

   4. A hearing before the Court with oral argument, if requested pursuant to the Local Rules

       and deemed appropriate by the Court, will be held on June 21, 2017.




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       The Court will issue further Orders regarding cases docketed in the MDL after the date of

this Order in which remand is sought.


       NEW ORLEANS, LOUISIANA,, this 12th day of May 20
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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                          MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION
                                                                       SECTION “N” (5)
  THIS DOCUMENT RELATES TO:
  ALL CASES


                                     PRETRIAL ORDER NO. 46
                             (Order from May 12, 2017 Status Conference)

       A status conference was held on May 12, 2017, at 10:00 a.m. in Judge Kurt D. Engelhardt’s

courtroom. At the conference, Plaintiffs’ Liaison Counsel, Dawn Barrios and Palmer Lambert, and

Defendants’ Liaison Counsel, Douglas Moore and John Olinde, reported to the Court on the topics listed

in “Joint Report No. 3 of Liaison Counsel” (Rec. Doc. 454). IT IS ORDERED that:

       (1) The next meeting of liaison counsel will take place on Friday, June 23, 2017 at 9:00 a.m.

       (2) With regards to the proposed order discussing a discovery schedule and dates for bellwether

           trials contemplated by Pretrial Order No 27 (Rec. Doc. 298), counsel shall have until Friday,

           May 26, 2017 at 5:00 p.m. to submit such order to the Court.

       (3) With regards to discovery related to the issue of personal jurisdiction over the French Sanofi

           entities, counsel shall have until Wednesday, May 17, 2017, to submit a schedule containing

           deadlines for when discovery shall be served, when Defendants shall object to such

           discovery, etc.

       New Orleans, Louisiana, this 15th day        2017.
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE: TAXOTERE (DOCETAXEL)                                  MDL No. 2740
PRODUCTS LIABILITY LITIGATION
                                                             SECTION “N” (5)

THIS DOCUMENT RELATES TO ALL ACTIONS

                            CASE MANAGEMENT ORDER NO. 1
                              (Personal Jurisdiction Discovery)

       On May 16, 2017, the parties met with Magistrate Judge North to discuss various discovery

issues. Magistrate North set the following deadlines that the parties request this Court order:

       On May 26, 2017, Plaintiffs will serve personal jurisdictional discovery relevant to

Sanofi’s and Aventis Pharma S.A.’s Motion to Dismiss (Rec. Doc. 346), following an initial meet

and confer with the Sanofi Defendants scheduled for May 17, 2017.

       By June 2, 2017, the parties will meet and confer again regarding any served personal

jurisdictional discovery.

       By June 30, 2017, the Sanofi Defendants shall provide responses and objections to any

served personal jurisdiction discovery.

       Pursuant to Magistrate Judge North’s May 16, 2017 minute entry (Rec. Doc. 464), the

Magistrate Judge will schedule a hearing to resolve any differences as to the jurisdictional

discovery.

       New Orleans, Louisiana, this 18th
                                       h day of May 2017.



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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: TAXOTERE (DOCETAXEL)                                        MDL No. 2740
PRODUCTS LIABILITY LITIGATION
                                                                   SECTION “N” (5)

THIS DOCUMENT RELATES TO ALL ACTIONS

                           CASE MANAGEMENT ORDER NO. 2
                            (Discovery on French Sanofi Entities)

       Pursuant to Case Management Order No. 1 (Rec. Doc. 456), Plaintiffs were directed by the

Court to serve personal jurisdiction discovery relevant to Sanofi’s and Aventis Pharma S.A.’s

Motion to Dismiss (Rec. Doc. 346), following an initial meet and confer with the Sanofi

Defendants scheduled for May 17, 2017, on Friday, May 26, 2017.

       IT IS ORDERED that any foreign merits discovery relating to the French Sanofi entities

shall be served on Friday, May 26, 2017, in conjunction with the personal jurisdiction discovery.

       IT IS FURTHER ORDERED that Defendants shall submit any objections to such foreign

merits discovery by Thursday, June 15, 2017.

       New Orleans, Louisiana, this 23rd day of May 2017
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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                  MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                             SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES



                               PRETRIAL ORDER NO. 40A
              (Amended Order Regarding Streamlined Service on Hospira, Inc.,
            Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc., and Pfizer Inc.)

I.      SCOPE OF THE ORDER

        This Order amends and supersedes this Court’s previous Pretrial Order No. 40 (Rec. Doc.

328) that was entered on April 14, 2017.1

        This Stipulated Order shall govern (1) cases transferred to this Court by the Judicial Panel

on Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to

Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in this

Court or transferred or removed to this Court. The Order only applies to claims brought by a U.S.

citizen or resident based on usage or purchase of docetaxel in the United States.

II.     STREAMLINED SERVICE OF PROCESS FOR HOSPIRA, INC., HOSPIRA
        WORLDWIDE, LLC F/K/A HOSPIRA WORLDWIDE, INC., AND PFIZER INC.

        A.      Solely for purposes of this Multidistrict Litigation (“MDL”), Hospira, Inc., Hospira

Worldwide, LLC f/k/a Hospira Worldwide, Inc., and Pfizer Inc. agree to waive formal service of



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               For simplicity purposes, this Order completely supersedes Pretrial Order No. 40
and contains all information relevant to the form and schedule for service of Hospira, Inc., Hospira
Worldwide, LLC f/k/a Hospira Worldwide, Inc., and Pfizer Inc.
    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 429 of 657




process under Federal Rule of Civil Procedure 4 and to accept service of docetaxel cases that are

properly commenced in, removed to, or transferred to this MDL. By waiving formal service of

process, Hospira, Inc., Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc., and Pfizer Inc. do

not waive any defenses available to them.

       B.      These procedures for informal service of process are not available in cases in which

the Plaintiff seeks remand to state court unless and until remand is denied. For Plaintiffs seeking

remand, all deadlines set forth in this Order run from the date on which remand is denied.

       C.      Plaintiffs whose Complaints or Short Form Complaints are not subject to Paragraph

B above, who have not already served Hospira, Inc., Hospira Worldwide, LLC f/k/a Hospira

Worldwide, Inc., and Pfizer Inc., and whose case has not yet been docketed in the MDL shall have

ninety (90) days from the date the case is docketed in the MDL to serve the Complaint or Short

Form Complaint, consistent with Pretrial Order No. 15, with a Summons. Per the original Pretrial

Order No. 40 [ECF No. 328], Plaintiffs whose cases were docketed in this MDL on or before April

14, 2017 shall have sixty (60) days from entry of the original Pretrial Order No. 40 (i.e., from April

14, 2017), to serve the Complaint or Short Form Complaint with a Summons.

       For Pfizer Inc., the Complaint or Short Form Complaint, and a Summons shall be served

by electronic mail (“email”) to the following address: PfizerTaxotereMDL@WoltersKluwer.com.

For Hospira, Inc. and/or Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc., the Complaint

or Short Form Complaint, and a Summons shall be served by email to the following address:

HospiraTaxotereMDL@WoltersKluwer.com. As to both Defendants, each email sent to these

addresses shall only be for one Plaintiff and contain one Complaint and Short Form Complaint, if

applicable, and Summons, and the subject line of each email shall state the Plaintiff’s first and last




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name as well as the originating court. The body of each email must also include contact

information for counsel of record.

        D.      Plaintiffs should receive an automatic reply from the mailbox address when a

Complaint and/or Short Form Complaint is served. If no such reply is received within twenty-four

(24) hours, Plaintiffs should re-serve it pursuant to the terms of this Order. Upon successful e-mail

service, the date of the initial effort to serve the Complaint and/or Short Form Complaint via email

shall be deemed the date of service.

        E.      Service will be effective only if addressed as above. General mailing or use of other

methods of transmission, including but not limited to Federal Express or email to an alternate

address, will not be sufficient to effect service.

        F.      In accordance with Pretrial Order No. 1, Hospira, Inc., Hospira Worldwide, LLC

f/k/a Hospira Worldwide, Inc., and Pfizer Inc. are not required to respond to effectively served

Complaints or Short Form Complaints until a date to be set by the Court. Hospira, Inc., Hospira

Worldwide, LLC f/k/a Hospira Worldwide, Inc., and Pfizer Inc. agree to provide thirty (30) days

written notice before moving to dismiss for a technical defect in the service process described in

this section. Failure to serve a Short Form Complaint and/or Complaint within the time periods set

forth above will be subject to the standards governing Fed. R. Civ. P. 4(m). Other than those based

on formal service of process, Hospira, Inc., Hospira Worldwide, LLC f/k/a Hospira Worldwide,

Inc., and Pfizer Inc. reserve all other rights and defenses available to them under federal or state

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law and under applicable treaties and conventions.

        New Orleans, Louisiana, this 31st day of May
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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                        MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION                                                  SECTION “N” (5)

THIS DOCUMENT RELATES TO: ALL CASES


                            PRETRIAL ORDER NO. 47
       [Granting Requests for Oral Argument on Omnibus Motions to Remand]
       Considering the requests for oral argument (Rec. Docs. 468, 471, 477) in connection

with “Plaintiffs’ Omnibus Motion to Remand Certain Cases to the Twenty-Second Judicial

Circuit, City of St. Louis, State of Missouri” (Rec. Doc. 467), “Plaintiffs’ Omnibus Motion to

Remand Certain Cases to the Superior Courts of California” (Rec. Doc. 469), and “Delaware

Plaintiffs’ Motion to Remand to the Superior Court of Delaware” (Rec. Doc. 473);

       IT IS ORDERED that the requests for oral argument are GRANTED, and oral

argument on these motions shall be held on Wednesday, June 21, 2017, at 10:00 a.m.

       Movants will collectively have a total of twenty (20) minutes to argue, and defendants

will collectively have a total of twenty (20) minutes to argue. Any time reserved by movants

for rebuttal must also come from the twenty (20) minutes allotted to movants.

       New Orleans, Louisiana, this 13th
                                      th day of June 2017.


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   Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 432 of 657



                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                        MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION                                                  SECTION “N” (5)

THIS DOCUMENT RELATES TO: ALL CASES


                                PRETRIAL ORDER NO. 48
                [Resetting Oral Argument on Omnibus Motions to Remand]
       IT IS ORDERED that date of oral argument on “Plaintiffs’ Omnibus Motion to

Remand Certain Cases to the Twenty-Second Judicial Circuit, City of St. Louis, State of

Missouri” (Rec. Doc. 467), “Plaintiffs’ Omnibus Motion to Remand Certain Cases to the

Superior Courts of California” (Rec. Doc. 469), and “Delaware Plaintiffs’ Motion to Remand

to the Superior Court of Delaware” (Rec. Doc. 473) shall be reset for Thursday, July 6, 2017,

at 10:30 a.m.

       Movants will collectively have a total of twenty (20) minutes to argue, and defendants

will collectively have a total of twenty (20) minutes to argue. Any time reserved by movants

for rebuttal must also come from the twenty (20) minutes allotted to movants.

       New Orleans, Louisiana, this 22nd             2017.
                                     2nd day of June 2017
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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                        MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION                                                  SECTION “N” (5)

THIS DOCUMENT RELATES TO: ALL CASES


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                                     2nd day of June 2017
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                 MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION                                           SECTION “N” (5)

THIS DOCUMENT RELATES TO:
ALL CASES


                              PRETRIAL ORDER NO. 26A
                     [Modification to Designation of Defense Counsel to
                      Attend Plaintiffs’ Steering Committee Meetings]

       Pursuant to Pretrial Order No. 21 (Rec. Doc. 276), the Court entered Pretrial Order No. 26

(Rec. Doc. 289) to designate counsel on behalf of each of the Defendants to attend the Plaintiffs’

Steering Committee meetings that take place prior to each status conference.

       IT IS ORDERED that Pretrial Order No. 26 is hereby modified to permit Julie A. Callsen

to be substituted in place and stead of Chad A. Sullivan to serve as the defense counsel to attend

such meetings on behalf of Accord Healthcare, Inc.

                                           y of June, 2017.
       New Orleans, Louisiana, this 28th day


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

    In Re: TAXOTERE (DOCETAXEL)                                     MDL NO. 2740
           PRODUCTS LIABILITY
           LITIGATION
                                                         SECTION “N” (5)
    THIS DOCUMENT RELATES TO:
    ALL CASES
                         PRETRIAL ORDER NO. 51
                  (Order from July 7, 2017 Status Conference)

        A status conference was held on July 7, 2017, at 10:00 a.m. in Judge Kurt D. Engelhardt’s

courtroom. At the conference, Plaintiffs’ Liaison Counsel, Dawn Barrios and Palmer Lambert, and

Defendants’ Liaison Counsel, Douglas Moore and John Olinde, reported to the Court on the topics

listed in “Joint Report No. 4 of Liaison Counsel” (Rec. Doc. 622). IT IS ORDERED that:

        (1) The next status conference will take place on Friday, September 8, at 10:00 a.m. in

           Judge Engelhardt’s courtroom, with the meeting of liaison counsel at 8:30 a.m. and

           meeting of the Plaintiffs’ Steering Committee at 9:00 a.m. The Court has set up a

           conference line for the status conference. To participate, call (800) 260-0712 and enter

           access code 427302. 1

        (2) A teleconference regarding issues related to personal jurisdiction discovery shall take

           place on Wednesday, July 12, 2017, at 10:00 a.m. Counsel are to email their

           respective positions to the Court (chynna_anderson@laed.uscourts.gov) by 3:00 p.m.

           on Tuesday, July 11, 2017.

        (3) Liaison counsel shall submit four (4) proposed bellwether trial dates in 2019 to the

           Court by 5:00 pm. on Wednesday, July 12, 2017.



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        In “Joint Report No. 4 of Liaison Counsel” (Rec. Doc. 622), the access code for the call
was incorrectly listed as 423344. The code provided within this Order is the correct access code
for the conference line.
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  (4) Liaison counsel shall have until 5:00 p.m. on Wednesday, July 19, 2017, to submit a

     revised Case Management Order for the first bellwether trial to take place in 2018,

     which details the bifurcated discovery process contemplated at the July 7, 2017 status

     conference. Specifically, the first phase of discovery shall consist of limited discovery

     on proposed plaintiffs with the goal of designating and ranking which plaintiffs are

     most appropriately designated as trial plaintiffs. Further, the second phase of discovery

     shall consist of “trial discovery” on those plaintiffs who have been selected for trial.

  (5) Liaison counsel are to confer with the chairpersons for each Settlement Committee

     regarding a date to participate in a teleconference with the Court.

  (6) Following the conclusion of any liaison counsel meeting, teleconference, or status

     conference, liaison counsel shall submit a proposed order summarizing any important

     instructions, dates, and/or deadlines contemplated by the Court. Counsel shall submit

     such proposed order by 5:00 p.m. on the second business day following the meeting,

     teleconference, or status conference.

  New Orleans, Louisiana, this 18th day
                                      y of July 2017.



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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                         MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION
                                                                      SECTION “N” (5)
  THIS DOCUMENT RELATES TO:
  ALL CASES


                             PRETRIAL ORDER NO. 52
  (Amended Deadlines Regarding Personal Jurisdiction and Potential Discovery Protocols)

       The Court conducted a telephone conference in this matter on Wednesday, July 12, 2017, at

10:00 a.m. In addition to the undersigned and the undersigned’s law clerks, Chynna Anderson and

Jennifer Rogers, attorneys Christopher Coffin (Co-Lead Counsel), Karen Menzies (Co-Lead

Counsel), Dawn Barrios (Co-Liaison Counsel), Palmer Lambert (Co-Liaison Counsel), Andrew

Lemmon (Discovery Co- Chair), Harley Ratliff (Counsel for sanofi-aventis U.S. LLC), Douglas

Moore (Liaison Counsel for sanofi-aventis U.S. LLC), and John Olinde (Liaison Counsel for

505(b)(2) Defendants) participated. As discussed during the teleconference, IT IS ORDERED that:

        (1) The submission date on Sanofi and Aventis Pharma S.A.’s Motion for Protective Order

            (Rec. Doc. 542) is extended from Wednesday, July 19, 2017 to Wednesday, August 2,

            2017. Plaintiffs, through the PSC, shall file their opposition no later than Tuesday, July

            25, 2017, and Defendants shall file their reply, if necessary, no later than Tuesday,

            August 1, 2017.

        (2) Defendants shall file their opposition to Plaintiffs’ Motion to Compel (Rec. Doc. 626)

            no later than Tuesday, July 25, 2017, and Plaintiffs, through the PSC, shall file their

            reply, if necessary, no later than Tuesday, August 1, 2017.

        (3) Notwithstanding the provisions of Pretrial Order No. 15(F) (Rec. Doc. 230), Plaintiffs,

            through the PSC, shall file their opposition to Sanofi and Aventis Pharma S.A.’s Motion


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      to Dismiss for Lack of Personal Jurisdiction (Rec. Doc. 346) no later than Friday,

      September 22, 2017, and Defendants shall file their reply, if necessary, no later than

      Friday, October 6, 2017.

  (4) All personal jurisdiction discovery, relevant to Sanofi and Aventis Pharma S.A.’s

      Motion to Dismiss for Lack of Personal Jurisdiction (Rec. Doc. 346) as to any Defendant

      or Third Party shall be completed by Plaintiffs, through the PSC, no later than Friday,

      September 15, 2017.

  (5) The undersigned shall address the issues raised by the discovery served by Plaintiffs,

      through the PSC, pursuant to Case Management Order Nos. 1 (Rec. Doc. 465) and No.

      2 (Rec. Doc. 474) related to: (1) the Hague Convention, (2) the French Blocking Statute,

      and (3) the French Data Protection Act. All other issues related to this discovery shall

      be heard before the Honorable Magistrate Judge Michael B. North.

  (6) The Parties shall continue to meet and confer regarding the foreign defendants and the

      related motions and discovery.

  (7) As contemplated by Pretrial Order No. 51, the Parties shall jointly submit a protocol for

      the first phase of discovery, including the deadline for the completion of the first phase

      of discovery on or before Wednesday, July 19, 2017.

  (8) The Parties shall meet and confer concerning a protocol regarding general discovery to

      be discussed at the next status conference before Magistrate Judge North.

 New Orleans, Louisiana, this 18th day of July, 2017.




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                                  MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                              SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES


                      PRETRIAL ORDER NO. 5
     [AMENDMENTS TO PLAINTIFFS’ MASTER LONG FORM COMPLAINT,
    EXEMPLAR SHORT FORM COMPLAINT AND PLAINTIFFS’ FACT SHEET]

       By stipulation, the parties have informed the Court that Plaintiffs will be amending their

Master Long Form Complaint and Exemplar Short Form Complaint in the following manner:



        (1) Replace defendant Hospira Worldwide, Inc. with Hospira Worldwide, LLC f/k/a

       Hospira Worldwide, Inc.;

       (2) Remove defendant Sun Pharma Global Inc.;

       (3) Replace defendant Caraco Pharmaceutical Laboratories Ltd. with Sun Pharmaceutical

       Industries, Inc. f/k/a Caraco Pharmaceutical Laboratories Ltd.; and

       (4) Replace Allergan Finance LLC f/k/a Actavis Inc. with Actavis LLC f/k/a Actavis Inc.



       Plaintiffs will likewise amend the Plaintiff Fact Sheet to reflect only those entities named

as defendants in Plaintiffs’ Amended Complaint.

       Defendants Hospira Worldwide, Inc., Sun Pharma Global Inc., Caraco Pharmaceutical

Laboratories Ltd., and Allergan Finance LLC f/k/a Actavis Inc. shall be dismissed without

prejudice, upon the Clerk of Court being apprised of the cases in which they are parties, and these



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Defendants shall have no obligation to plead or otherwise participate in this litigation as of the date

hereof. These amendments will not reset or alter the deadline for responding to the Master Long

Form Complaint, Exemplar Short Form Complaint, or Plaintiff Fact Sheet for any Defendant not

being dismissed pursuant to the Stipulation and this Order.

         Any Plaintiff who had previously filed a case need not refile it to reflect the changes set

forth in this Order and need not re-serve the defendant(s), with the exception of cases previously

served    on    Sun    Pharmaceuticals,    Inc.    f/k/a   Caraco    Laboratories     Ltd.   via   the

Docetaxel@hinshawlaw.com email address Any Plaintiff who previously served a complaint via

the Docetaxel@hinshawlaw.com email while the stay was in place as to Sun Pharmaceuticals, Inc.

f/k/a Caraco Laboratories Ltd. must re-serve his/her complaint via the terms of the amending

Pretrial Order No. 39A on Sun Pharmaceutical Industries, Inc.

         Further, because not all cases name the defendants to be replaced as described above,

within sixty (60) days of filing Plaintiffs’ Amended Master Long Form and Amended Exemplar

Short Form Complaints, the parties will provide the Clerk of Court with a list of cases that name

the defendants to be removed or replaced. For each of the listed cases, plaintiffs will identify the

defendant(s) to be removed or replaced, which will be dismissed without prejudice, and the

defendants to be added.



                New Orleans, Louisiana, this                   2017.
                                         his 20th day of July, 20
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)   )                          MDL No. 2740
PRODUCTS LIABILITY LITIGATION )
                              )                          SECTION: “N” (5)
                              )
THIS DOCUMENT RELATES TO:     )
ALL ACTIONS                   )


                               CASE MANAGEMENT ORDER NO. 3
                                 (TRIAL SCHEDULING ORDER)

     ALL COUNSEL ARE RESPONSIBLE FOR READING, UNDERSTANDING,
 FOLLOWING, AND COMPLYING WITH EACH OF THE PROVISIONS HEREAFTER:

        1.      Applicability of Order:

         The following procedures and schedules will govern the identification and selection of the
initial trial plaintiffs for the first trial. The Federal Rules of Civil Procedure shall apply, subject to
provisions permitting Court orders or stipulations by the Parties to make appropriate modifications.
        The parties shall submit additional proposed Case Management Order(s) to the Court for each
of the four additional trials to be set to begin in 2019.

        2.      Selection of Trial Plaintiffs Against the Sanofi Defendants

       The parties have submitted to the Court the following cases, whose original jurisdiction and
venue is in the Eastern District of Louisiana:

1.   Chetta, Debra          2:16-cv-17731                 6. Kahn, Elizabeth           2:16-cv-17039
2.   Durden, Antoinette     2:16-cv-16635                 7. Martin, Della             2:16-cv-15678
3.   Earnest, Barbara       2:16-cv-17144                 8. Ray, Pearl                2:16-cv-17031
4.   Francis, Tanya         2:16-cv-17410                 9. Thibodeaux, Cynthia       2:16-cv-15859
5.   Johnson, Deborah       2:16-cv-15607                 10. Tuyes, Lisa              2:16-cv-15473

        3.      Phased Discovery

        The above cases will be subject to phased discovery as set forth in a protocol established by
the parties and submitted to the Court. All cases identified herein will be subject to the first phase
of discovery which will conclude on February 6, 2018.

        By February 12, 2018, the parties shall nominate to the Court and rank in order of preference
the four (4) cases that will proceed to the second phase of discovery. On February 16, 2018, the
Court, after hearing from the parties, will select one Plaintiff (Primary Plaintiff) for the first trial date
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and the three alternative Plaintiffs will be ranked second, third and fourth. If the Primary Plaintiff’s
case is dismissed for any reason, the next highest ranked Plaintiff will be set for the first trial date
instead.

         4.     Motions:

         All pre-trial motions for the first trial, including dispositive motions, shall be filed and served
on or before July 30, 2018. Opposition memoranda shall be filed and served on or before August
20, 2018, and reply memoranda shall be filed and served on or before August 29, 2018. Any motions
filed in violation of this order shall be deemed waived unless good cause is shown. Dispositive
motions filed after this date, even pursuant to an extension or with leave of court, will likely be
referred to trial due to time constraints. Trial will not be continued due to pending motions submitted
after this date.

         Requests for oral argument shall be submitted and handled in accordance with Local Rule
78.1.

         Motions shall conform to the following:

                A.      The Court requires concise, pertinent, and well-organized briefs and
                        memoranda of law. Without leave of court, any original or initial opposition
                        brief or memorandum shall be limited to 25 double-spaced pages, excluding
                        exhibits. All pages must be numbered at the bottom.

                B.      Any reply or other supplemental memorandum shall be limited to ten (10)
                        double-spaced and numbered pages, pursuant to Local Rule 7.7, and must be
                        accompanied by a motion for leave to file. Unless otherwise ordered, if a
                        motion is set for oral argument, the proposed reply memorandum must be filed
                        no later than 12:00 p.m. on the third working day preceding the oral argument
                        date. Thus, for example, if a motion is set for oral argument on a Wednesday,
                        the proposed reply memorandum must be filed no later than 12:00 p.m. on the
                        preceding Friday. For motions not set for oral argument, the proposed reply
                        memorandum should be filed as soon as is practicable, unless otherwise
                        ordered. Finally, if time is of the essence, e.g. the proposed reply concerns to
                        a motion scheduled to be considered immediately before trial, counsel should
                        apprise chambers by email or phone to expect an imminent reply, and such
                        reply shall be filed post haste.

                C.      Any brief or memorandum that has more than 15 pages must contain all items
                        listed below. Briefs and memoranda that are 15 pages or less must contain
                        items (3), (4), (5), (6), and (7) listed below.

                        (1)     A table of contents setting forth the page number of each section,
                                including all headings designated in the body of the brief or
                                memorandum.

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             (2)    A table of citations of cases, statutes, rules, textbooks, and other
                    authorities, alphabetically arranged. All citations to United States
                    Supreme Court cases should include a citation to the United States
                    Supreme Court Reporter.

             (3)    A short statement of the nature and stage of the proceeding. A separate
                    time line of relevant factual events and procedural history is almost
                    always helpful, and should be attached to the motion itself.

             (4)    A statement of the issues to be ruled upon by the Court and, with
                    respect to each issue, a short statement, supported by authority, of the
                    standard of review.

             (5)    A short summary of the argument.

             (6)    The argument shall be divided under appropriate headings succinctly
                    setting forth separate points.

             (7)    A short conclusion stating the precise relief sought.

       D.    If a party cites legal authority not found in the United States Code, Supreme
             Court Reporter, Federal Reporter, Federal Rules Decisions, Federal
             Supplement, Southern Reporter, West’s Louisiana Revised Statutes and
             Codes Annotated, or Westlaw, the relevant parts of such authority must be
             submitted as an exhibit. If the authority is a case, the entire case must be
             included.

        E.    One paper copy of any memorandum or brief that, together with its exhibits,
              totals more than 100 pages, must be submitted to chambers when filed. The
              submitted copy must include the case number, date filed, and record
              document number information appearing along the top of documents filed
              electronically utilizing the Court's CM/ECF system.

        F.    A party who submits more than five exhibits shall include a table of contents
              describing each exhibit and listing the tab where it is located. All exhibits
              submitted to chambers as a hard copy in support of a motion, brief, or
              memorandum must be tabbed at the right margin. Exhibits shall not be
              submitted in globo; multi-page exhibits shall be numbered on each page for
              reference. All citations to an exhibit must refer to the letter or number of its
              tab.

             Citations to deposition or affidavit testimony must include the appropriate
             page, line or paragraph numbers. Citations to other documents or materials
             with three or more pages must include some sort of pinpoint citation. For
             example, a contract may be cited by section number, an employee handbook

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                        may be cited by page number, and a document without internal divisions may
                        be Bates-stamped or otherwise marked and cited accordingly.

                G.      All motions in limine for the first trial shall be filed and served on or before
                        August 17, 2018. Opposition memoranda shall be filed and served on or
                        before August 31, 2018, and reply memoranda shall be filed and served on or
                        before September 7, 2018. Such motions shall conform to the provisions set
                        forth hereinabove.

        5.      Disclosures:

        Counsel shall complete all disclosure of information as follows:

       All parties have stipulated that initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) will not
be conducted in this case.

        6.      Discovery:

        This case involves extensive documentary evidence, depositions, and other discovery.

        For the 4 Trial Plaintiffs, second phase discovery and additional fact witness depositions for
use at the first trial shall be taken and all other fact discovery of the first Defendants for trial shall be
completed no later than April 6, 2018.

       Expert depositions and discovery for use at the first trial shall be completed no later than July
27, 2018.

       All discovery disputes shall be promptly brought before the assigned magistrate judge to
ensure that discovery may be completed within this deadline. Trial will not be continued because of
unresolved discovery disputes.

        7.      Amendments:

       Amendments to pleadings, shall be filed no later than February 23, 2018, in accordance with
the Federal Rules of Civil Procedure and Local Rule 7.6. Later amendments will not be allowed
absent good cause, and may not be allowed if the trial date is thereby jeopardized.


        8.      Experts:

         Written reports of experts, as defined by Fed. R. Civ. P. 26(a)(2)(B), who may be witnesses
for plaintiffs shall be obtained and delivered to counsel for defendant as soon as possible, but in no
event later than May 4, 2018. The reports must fully set forth all matters about which the expert will
testify and the basis therefor.


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         Written reports of experts, as defined by Fed. R. Civ. P. 26(a)(2)(B), who may be witnesses
for the first trial defendant shall be obtained and delivered to counsel for plaintiff as soon as possible,
but in no event later than June 1, 2018. The reports must fully set forth all matters about which the
expert will testify and the basis therefor.

        9.      Witnesses and Exhibits:

       Counsel for the parties are ordered to file in the record and serve upon their opponents a
preliminary list of all witnesses who may be called to testify at trial no later than March 9, 2018,
and a preliminary list of all exhibits that may be used at trial no later than July 20, 2018.

         Counsel for the parties are ordered to file in the record and serve upon their opponents a final
list of all witnesses who may or will be called to testify at trial, and all exhibits that may or will be
used at trial no later than August 6, 2018.

        Except by order issued on motion for good cause shown, the Court will not permit any
witness, expert or fact, to testify, or any exhibits to be used, unless there has been compliance with
this Order as it pertains to the witness and/or exhibits.

        10.     Final Pre-Trial Conference:

      A final Pre-Trial Conference will be held in chambers before the undersigned on
Thursday, September 13, 2018 at 9:00 a.m.

        The Final Pre-Trial Conference must be attended in person by the attorneys who will try the
case, unless, prior to the Conference, the Court grants permission for other counsel to attend. Counsel
must be prepared to discuss this case in detail, as set forth in paragraph 1. Attendance by clients/client
representatives is prohibited, unless specifically ordered by the Court.

        A joint proposed Pre-Trial Order must be submitted to chambers electronically or by-hand
no later than 4:00 p.m. on September 11, 2018. If submitted electronically, the joint proposed Pre-
Trial Order shall be emailed to eFile-Engelhardt@laed.uscourts.gov, with a copy to the assigned law
clerk. The joint proposed Pre-Trial Order submitted to the Court must be double spaced, paginated,
and signed by all counsel. It shall be in the precise form set forth in the attached “Pre-Trial Order
Instructions.”

       Final Pre-Trial Conferences will not be continued except for good cause shown in a written
motion presented sufficiently in advance of the Conference for opposing counsel to be notified.

        Failure on the part of counsel to appear at the Conference may result in sanctions, including
but not limited to sua sponte dismissal of the suit, assessment of costs and attorney fees, entry of
default judgment, or other appropriate sanctions.

        11.     Trial:


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        Trial will commence on/or during the week beginning MONDAY, September 24 at 8:30
A.M. before the District Judge with a jury. Except when Monday is a holiday or as otherwise
ordered by the Court, trial will commence on Monday. Attorneys are instructed to report for trial no
later than 30 minutes prior to the scheduled commencement time. The starting time on the first day
of a jury trial may be delayed or moved up because of jury pooling. Trial is estimated to last 10 days.

               A.      Hours: The Court’s hours during trial will vary depending upon the type of
                       case and the needs of the parties, counsel, witnesses, and the Court. Court will
                       normally convene at 8:30 a.m. and adjourn by 5:00 p.m., recessing for lunch
                       between approximately 11:45 a.m. and 1:00 p.m.

               B.      Access at Other Times: Counsel needing access to the courtroom to set up
                       equipment or exhibits before or after normal hours of court must arrange in
                       advance with the Case Manager to have the courtroom open.

               C.      Telephones: Absent an emergency, telephone messages for counsel and/or
                       witnesses will not be taken by the Judge’s staff.

               D.      Filing of Documents: Two copies of any documents filed immediately prior
                       to and during trial should be submitted to the Case Manager who is present in
                       the courtroom.

               E.      Witnesses: Counsel should bear in mind the Court’s hours and arrange for
                       witnesses accordingly. The Court will not recess to permit counsel to call a
                       missing witness unless he or she has been subpoenaed and has failed to appear.

                F.      Jurors: Counsel shall not communicate with any juror or potential juror in
                        any way or by any means, including online via Facebook or any other means
                        of social media, using real or fictitious/alias identities. Counsel shall not
                        instruct any other person to do so, or solicit or plan to receive any such
                        information obtained in this fashion. Should counsel learn that anyone
                        associated with this trial has acted in violation of this paragraph, he/she shall
                        immediately advise the undersigned.

                G.      Seating:

                       (1)    The Court does not designate seating at counsel tables; this is
                              determined on a first-come, first-served basis on the first day of trial.

                       (2)    Unless otherwise instructed, counsel and parties are to enter and leave
                              the courtroom only by the front doors; do not use the Court’s entrance
                              or the side entrances.

       12.     Conferences and Extensions:


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       Deadlines, cut-off dates, or other limits fixed herein may only be extended by the Court upon
timely motion filed in compliance with Local Rules and upon a showing of good cause. Trial will
not be continued, even on joint motion, absent good cause or compelling reason. A trial will not
be continued because of the unavailability of a witness. Counsel should anticipate such possibilities
and be prepared to present testimony by written deposition, videotaped deposition, or by stipulation.
If a continuance is granted, however, deadlines and cut-off dates will not be extended unless
otherwise ordered by the Court.

       13.     Settlement:

        IT IS ORDERED, that a Settlement Conference will be held with Magistrate Judge North
prior to June 29, 2018.

      Only the Magistrate Judge, in his/her discretion, shall have the authority to cancel
and/or reset the settlement conference. The parties shall submit a Joint Confidential Status
Report to the Magistrate Judge no later than July 6, 2018 in the event a resolution has not been
reached by that date.

       14.     Courtroom Procedure and Conduct:

               A.     IT IS ORDERED that the following items are STRICTLY PROHIBITED
                      from entry into the courtroom: All portable communication devices,
                      including all cellular devices (cell phones, smartphones, personal digital
                      assistants, BlackBerrys, iPhones, Droids, wristwatch cellular devices of any
                      kind, etc.); ear piece devices (such as Bluetooth); laptop computers
                      (including iPads or other tablet-style devices); and digital or other types of
                      video cameras or recorders; google glasses, wearable computers, or any
                      other similarly functioning device. You may turn in such devices to Susan
                      Adams, judicial assistant in Section “N”, upon arriving, and pick them up
                      when you have completed business in Section “N.”

               B.     The only exceptions to the above provision shall be (1) authorized court
                      personnel working on this trial; (2) law enforcement personnel (including
                      Court Security Officers and United States Marshals, but not witnesses)
                      participating in this trial as assigned by the Court; and (3) attorneys who are
                      counsel of record and who are seated at counsel tables (not in the public
                      gallery), along with any paralegals or other staff seated at counsel tables (not
                      in the public gallery), who are utilizing laptop computers (including iPads and
                      comparable devices) provided that the use of any such device shall not access
                      or be accessed or connected to the internet, cellular network, broad band, Wifi,
                      or any other outside network designed to transmit or receive messages, sounds
                      or visual images to anyone outside the courtroom. Prior to entry into the
                      courtroom, counsel shall leave all other cellular phone devices or other such
                      electronic devices in Section “N” chambers.


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               C.     Any person possessing a prohibited device within the Section “N” courtroom
                      in violation of Paragraph A shall be subject to (1) monetary sanction and (2)
                      expulsion and permanent prohibition from entry into the courtroom for the
                      duration of this trial, both in addition to having such device confiscated and
                      retained by the Court until trial of the matter is complete.

               D.     IT IS FURTHER ORDERED that food and/or drink (including coffee and
                      bottled water) shall be prohibited from the Section “N” courtroom (Room C-
                      351) and any other designated “overflow” location (if separate from Room C-
                      351); likewise, attendees shall refrain from chewing gum and wearing hats
                      and/or sunglasses (over the eyes or on the head) in the Section “N” courtroom,
                      and shall remove same upon entry. Eating, smoking, and/or reading
                      newspapers or other impertinent books, magazines, etc., in the Section “N”
                      courtroom is strictly prohibited.

               E.     IT IS FURTHER ORDERED that any attempt to comment on or portray
                      (positively or negatively) an opinion of the evidence, a witness, the attorneys,
                      or the position of any party to these court proceedings through physical
                      gestures; facial expressions; audible reactions; or pre-planned, organized or
                      orchestrated selection of attire in the courtroom, shall be prohibited. Offenders
                      shall summarily be excused from the courtroom, sanctioned, or both.


New Orleans, Louisiana, this 21st day off July, 2017.



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CLERK TO FORWARD COPY TO MAGISTRATE JUDGE




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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)   )                     MDL No. 2740
PRODUCTS LIABILITY LITIGATION )
                              )                     SECTION: “N” (5)
                              )
THIS DOCUMENT RELATES TO:     )
ALL ACTIONS                   )

                   CASE MANAGEMENT ORDER NO. 4
      [PROTOCOL FOR INITIAL PHASE OF CASE-SPECIFIC DISCOVERY
       FOR CASES IDENTIFIED IN CASE MANAGEMENT ORDER NO. 3]

     The Court hereby Orders as follows:

  1. Applicability of Order. This protocol governs the initial phase of case-specific discovery

     for cases identified in Case Management Order (“CMO’) No. 3 (Rec. Doc. 66). The

     Federal Rules of Civil Procedure shall apply to these proceedings, subject to provisions

     permitting Court orders or stipulations by the Parties to make appropriate modifications.

  2. Expedited PFS and DFS Process.

     a. All Plaintiffs identified in CMO No. 3 shall, within 15 days of this Order, make a good

         faith effort to cure or challenge deficiencies in the Plaintiff Fact Sheet (PFS) identified

         by Defendants. If a dispute remains following 15 days and after a meet and confer,

         either Party may immediately seek determination of any deficiency issue by requesting

         a brief telephonic hearing before the Honorable Magistrate Judge North. No formal

         briefing shall be required.

     b. For cases identified in CMO No. 3, once a Plaintiff’s PFS is substantially complete as

         defined in PTO No. 22 (Rec. Doc. 325), Defendants’ DFS becomes due in sixty (60)

         days instead of the period of seventy-five (75) days provided for by PTO No. 22.

         Within 15 days after notice by Plaintiffs of any deficiency in a DFS, Defendants shall

         make a good faith effort to cure or challenge deficiencies identified by Plaintiffs. If a

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Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 450 of 657




      dispute remains following a Defendant’s good faith effort to cure or challenge and after

      a meet and confer, either party may immediately seek determination of any deficiency

      issue by requesting a brief telephonic hearing before the Honorable Magistrate Judge

      North. No formal briefing shall be required. All other provisions of PTO No. 22

      otherwise apply.

3. Case-Specific Depositions.

   a. Depositions in the initial phase of case-specific discovery for cases identified in CMO

      No. 3 shall be limited to the following: the Defendant(s) may depose the Plaintiff and

      select three (3) additional witnesses to depose, and Plaintiffs may select two (2)

      witnesses to depose. The parties shall meet and confer regarding the order of taking

      testimony and the allotment of time between the parties in the depositions. The parties

      shall meet and confer about whether additional depositions are reasonably necessary

      to determine if a case should be selected for trial. If an agreement cannot be reached,

      either party may immediately seek determination of the issue by requesting a brief

      telephonic hearing before Magistrate Judge North. No formal briefing shall be

      required.

   b. The parties shall meet and confer regarding the timing of the depositions and if

      necessary seek determination of the issue by requesting a brief telephonic hearing

      before Magistrate Judge North. No formal briefing shall be required.



                                 1st day of July,, 20
   New Orleans, Louisiana, this 21st               22017.
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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 451 of 657




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


 In Re: TAXOTERE (DOCETAXEL)                                                 MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                             SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES


                                PRETRIAL ORDER NO. 54
                        (Docket Control Order –Voluntary Dismissals)

       Presently before the Court is “Defendants Sanofi-Aventis US LLC and Sanofi US Services,

Inc.’s Motion for Entry of Voluntary Dismissal Order” (Rec. Doc. 551). Plaintiffs have filed a

memorandum in opposition (Rec. Doc. 592), to which Defendants have replied (Rec. Doc. 604).

Pursuant to Rule 41 of the Federal Rules of Civil Procedure, which contemplates a typical

responsive pleading schedule that is triggered twenty-one (21) days after service of process, a

plaintiff may dismiss an action without a court order by filing “a notice of dismissal before the

opposing party serves either an answer or a motion for summary judgment.” Fed. R. Civ. P.

41(a)(1)(A)(i). However, this ability to file a notice of dismissal is limited “by any applicable

federal statute.” Fed. R. Civ. P. 41(a)(1)(A).

       In the instant matter, Pretrial Order No. 15 (Rec. Doc. 230), extends the pleading deadlines

beyond the default deadlines of the Federal Rules. While Pretrial Order No. 15 discusses voluntary

dismissals after the Master Answer has been filed, it does not contemplate notices of dismissal

filed prior to the filing of Defendants’ Master Answer. As the Court has seen an increase in the

number of notices of voluntary dismissal filed into the record, it is necessary for the Court to

address notices of voluntary dismissal without prejudice that are filed prior to Defendants’ Master



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Answer. “Other MDL courts, acting pursuant to statutory authority granted to transferee courts by

28 U.S.C. § 1407, have recognized that it is sometimes necessary to put certain restrictions on the

exercise of Rule 41 dismissals in order to effectively and fairly manage complex, consolidated

MDL Litigation.” In re Oil Spill by the Oil Rig "Deepwater Horizon" in the Gulf of Mexico on

Apr., 20, 2010, No. MDL 2179, 2011 WL 1464908, at *4 (E.D. La. Apr. 15, 2011) (citing In re

Genetically Modified Rice Litig., No. 4:06 MD 1811 CDP, 2010 WL 716190, at *8 (E.D.Mo. Feb.

24, 2010)).

         At this point, with discovery underway and the Court and the parties actively engaged in

identifying and preparing cases for trial, dismissal of cases without prejudice has a potentially

detrimental effect on the Court the parties, and the MDL process. Accordingly, because the

timeframe for responsive pleading has been extended beyond that ordinarily contemplated by Rule

41(a)(1)(A)(i), and notwithstanding the fact that Defendants have not yet answered,

         IT IS ORDERED, pursuant to the Court’s managerial authority, that:

   (1)     All voluntary dismissals without prejudice pending in this MDL as of the date of this

           Order or filed hereafter that would result in the dismissal of an entire action against all

           named Defendants shall require leave of Court by properly filed motion. The following

           specific requirements shall apply:

          A. A case will be dismissed only upon a properly noticed motion as to which the Plaintiff

              and the served Defendants have had an opportunity to be heard, or upon a stipulated

              order by both the Plaintiff and all of the Defendants who have been served in that

              action. With such motion to dismiss or stipulated order, Plaintiff must serve a

              completed Plaintiff Fact Sheet and accompanying disclosures in accordance with




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      Pretrial Order Nos. 18 (Rec. Doc. 236), 22 (Rec. Doc. 279), 23 (Rec. Doc. 280), and

      24 (Rec. Doc. 286).

   B. With all voluntary motions to dismiss without prejudice, counsel for the moving

      plaintiff must certify in the motion that Defendants’ Lead and Liaison Counsel were

      contacted in writing at least fourteen (14) days prior to the filing of the motion, and

      all served Defendants have responded in writing stating either: (1) their consent or no

      intended opposition to the motion, or (2) that the motion is opposed and the grounds

      for such opposition. Absent this certification by moving counsel, such motions may

      be stricken.

   C. All motions of Plaintiffs’ counsel to dismiss without prejudice that are opposed by

      one or more Defendants shall be noticed for hearing by moving counsel pursuant to

      the Local Rules of this Court. The motion shall state with specificity: (1) the reason

      each plaintiff seeks dismissal; (2) whether dismissal is sought with or without

      prejudice; (3) the particular reason(s) why certain fields of the Plaintiff Fact Sheet

      may not be completed at this time; and (4) that Plaintiffs’ Liaison Counsel and

      Defendants’ Liaison Counsel have been apprised of such intent to file a motion to

      dismiss at least fourteen (14) days prior to its filing.

   D. The Court shall determine, based upon the showing made and consideration of the

      Plaintiff Fact Sheet, whether such dismissal shall be: (1) denied; (2) granted with

      prejudice; or (3) granted without prejudice. Motions to dismiss without a Plaintiff

      Fact Sheet (or insufficiently completed PFS) shall be granted with prejudice, absent a

      compelling sworn statement by counsel as to why a Plaintiff Fact Sheet cannot be

      substantially completed and submitted.



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(2)   This Order shall apply to stipulations or motions filed hereafter aswell as to

      previously-filed but still pending stipulations and/or motions to dismiss by plaintiffs’

      counsel (i.e., the member case has not yet been terminated by the Court). For those

      previously-filed but still pending stipulations and/or motions to dismiss, counsel shall

      refile a properly noticed motion, subject to the requirements set forth within this Order.

(3)   Plaintiffs retain the right to individually dismiss certain named defendants without

      dismissing the entire action. Specifically, this Order does not apply to dismissals of

      individual defendants in cases where it has been determined that defendants’ product

      was not used and dismissal of that Defendant would not otherwise result in the dismissal

      of the entire action. In such instances, Rule 41 remains applicable.



New Orleans, Louisiana this 21st day off July, 2017.




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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                  MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION                                            SECTION “N” (5)

 THIS DOCUMENT RELATES TO:
 ALL CASES


                              PRETRIAL ORDER NO. 55
     [Order Regarding the Filing of the Amended Master Long Form Complaint and
Substitution of the Amended Exemplar Short Form Complaint and Amended Plaintiff Fact
                                         Sheet]


       Considering the foregoing “Unopposed Motion for Leave to File First Amended Master

Long Form Complaint, for Substitution of Revised Plaintiff Fact Sheet, and for Substitution of

Revised Exemplar Short Form Complaint” (Rec. Doc. 673), IT IS ORDERED that:

       (1) The Motion is hereby GRANTED, and the Clerk shall enter into the master docket

          Plaintiffs’ First Amended Master Long Form Complaint as the next available record

          document number.

       (2) Any responsive pleadings filed by Defendants to the original Master Long Form

          Complaint and Demand for Jury Trial (Rec. Doc. 312) be deemed also responsive to

          the First Amended Master Long Form Complaint and Demand for Jury Trial.

       (3) The revised Plaintiff Fact Sheet (attached as Exhibit B to Plaintiffs’ Consent Motion)

          be and is hereby substituted in place of the current Plaintiff Fact Sheet (Rec. Doc. 236-

          1) as of July, 25, 2017.




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  (4) The revised Exemplar Short Form Complaint (attached Exhibit C to Plaintiffs’ Consent

     Motion) be and is hereby substituted in place of the current Exemplar Short Form

     Complaint (Rec. Doc. 318-1) as of July 25, 2017.

  New Orleans, Louisiana this 25th day of July, 2017.



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                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                                   MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                               SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                              PRETRIAL ORDER NO. 32(A)
      (Streamlined Service on Actavis LLC f/k/a Actavis Inc. and Actavis Pharma, Inc.)

I.      SCOPE OF THE ORDER

        This Stipulated Order shall govern (1) cases transferred to this Court by the Judicial Panel

on Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to

Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in this

Court or transferred or removed to this Court. The Order only applies to claims brought by a U.S.

citizen or resident based on usage or purchase of docetaxel in the United States.

II.     STREAMLINED SERVICE OF PROCESS FOR ACTAVIS LLC F/K/A ACTAVIS
        INC. AND ACTAVIS PHARMA, INC.

        A.     Actavis LLC f/k/a Actavis Inc. and Actavis Pharma, Inc. agree to waive formal

service of process under Federal Rule of Civil Procedure 4 and to accept service of docetaxel cases

that are properly commenced in, removed to, or transferred to this MDL. By waiving formal

service of process, Actavis LLC f/k/a Actavis Inc. and Actavis Pharma, Inc. do not waive any

defenses available to them.

        B.     These procedures for informal service of process are not available in cases in which

the plaintiff seeks remand to state court unless and until remand is denied. For plaintiffs seeking

remand, all deadlines set forth in this Order run from the date on which remand is denied.

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       C.      Plaintiffs whose Complaints or Short Form Complaints are not subject to Paragraph

B above, who have not already served Actavis LLC f/k/a Actavis Inc. and Actavis Pharma, Inc.,

and whose case has not yet been docketed in the MDL shall have ninety (90) days from the date

the case is docketed in the MDL to serve the Complaint or Short Form Complaint with a Summons.

Plaintiffs whose cases already have been docketed in this MDL shall have sixty (60) days from

entry of this Order to serve the Complaint or Short Form Complaint with a Summons. The

Complaint or Short Form Complaint and a Summons shall be served by electronic mail (“email”)

to the following address: actdocecomp@ulmer.com. Each email sent to this address shall only

contain one Complaint or Short Form Complaint and Summons, and the subject line of each email

shall state the plaintiff’s first and last name as well as the originating court. The body of each email

must also include contact information for counsel of record.

       D.      Plaintiffs should receive an automatic reply from the mailbox address when a

Complaint and Summons is served. If no such reply is received within twenty-four (24) hours,

Plaintiffs should re-serve it pursuant to the terms of this Order. Upon successful e-mail service,

the date of the initial effort to serve the Complaint or Short Form Complaint and a Summons via

email shall be deemed the date of service.

       E.      If a Plaintiff has previously filed and served a Complaint against Actavis Pharma,

Inc. or Allergan Finance LLC f/k/a Actavis Inc., the plaintiff will not have to re-file an Amended

Complaint or re-serve the original Complaint.1




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        PTO 32A amends and supersedes PTO 32. The amendment is necessary in connection
with the Parties’ Stipulation Concerning Amendments to the Plaintiffs’ Master Long Form
Complaint, Exemplar Short Form Complaint and Plaintiffs’ Fact Sheet, which corrects the naming
of certain defendants. The PSC will work with the Clerk’s Office to replace Allergan Finance
LLC f/k/a Actavis Inc. with Actavis LLC f/k/a Actavis Inc. Service on Allergan Finance LLC
f/k/a Actavis Inc. prior to entry of this Order shall be deemed effective on Actavis LLC f/k/a
Actavis Inc.

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       F.      Service will be effective only if addressed as above. General mailing or use of other

methods of transmission, including but not limited to Federal Express or email to an alternate

address, will not be sufficient to effect service. In accordance with Pretrial Order No. 1, Actavis

LLC f/k/a Actavis Inc. and Actavis Pharma, Inc. are not required to respond to effectively served

Complaints or Short Form Complaints until a date to be set by the Court. Actavis LLC f/k/a Actavis

Inc. and Actavis Pharma, Inc. agree to provide thirty (30) days written notice before moving to

dismiss for a technical defect in the service process described in this section. Failure to serve a

Complaint or a Short Form Complaint within the time periods set forth above will be subject to

the standards governing Fed. R. Civ. P. 4(m). Other than those based on formal service of process,

Actavis LLC f/k/a Actavis Inc. and Actavis Pharma, Inc. reserve all other rights and defenses

available to them under federal or state law and under applicable treaties and conventions.

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               New Orleans, Louisiana, this  QGG day of $XJXVW,, 2017.
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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                                     MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                                 SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                                  PRETRIAL ORDER NO. 39A
      (Substitution of Defendant and Streamlined Service of Process on Sun Pharmaceutical
                                        Industries, Inc.)

I.        SCOPE OF THE ORDER

          This Stipulated Order shall govern (1) cases transferred to this Court by the Judicial Panel

on Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to

Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in this

Court or transferred or removed to this Court. The Order only applies to claims brought by a U.S.

citizen or resident based on usage or purchase of docetaxel in the United States.

II.       STREAMLINED SERVICE OF PROCESS FOR SUN PHARMACEUTICAL
          INDUSTRIES, INC.

          A.     Sun Pharmaceutical Industries, Inc. agrees to waive formal service of process under

Federal Rule of Civil Procedure 4 and to accept service of docetaxel cases that are properly

commenced in, removed to, or transferred to this MDL. By waiving formal service of process, Sun

Pharmaceutical Industries, Inc. does not waive any defenses available to it. Sun Pharmaceutical

Industries, Inc. does not agree to accept service on behalf of any other Sun entity named in cases

commenced in, removed to, or transferred to this MDL.




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       B.       These procedures for informal service of process are not available in cases in which

the plaintiff seeks remand to state court unless and until remand is denied. For plaintiffs seeking

remand, all deadlines set forth in this Order run from the date on which remand is denied.

       C.      Plaintiffs whose Complaints are not subject to Paragraph B above, who have not

already served Sun Pharmaceutical Industries, Inc., and whose case has not yet been docketed in

the MDL shall have ninety (90) days from the date the case is docketed in the MDL to serve the

Complaint with a Summons. Plaintiffs whose cases already have been docketed in this MDL shall

have sixty (60) days from entry of this Order to serve the Complaint with a Summons. The

Complaint and a Summons shall be served by electronic mail (“email”) to the following address:

docetaxel@hinshawlaw.com. Each email sent to this address shall only contain one Complaint and

Summons, and the subject line of each email shall state the plaintiff’s first and last name as well

as the originating court. The body of each email must also include contact information for counsel

of record.

       D.      Plaintiffs should receive an automatic reply from the mailbox address when a

complaint is served. If no such reply is received within twenty-four (24) hours, Plaintiffs should

re-serve it pursuant to the terms of this Order. Upon successful e-mail service, the date of the initial

effort to serve the Complaint via email shall be deemed the date of service.

       E.      Any Plaintiff who has previously filed a case against Sun Pharma Global FZE

and/or Caraco Pharmaceutical Laboratories, Ltd. need not re-file the Complaint.1 However, if the

Plaintiff served the Complaint by emailing it to docetaxel@hinshawlaw.com while the stay was in


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  PTO 39A amends and supersedes PTO 39. The amendment is necessary in connection with the
Parties’ Stipulation Concerning Amendments to the Plaintiffs’ Long Form Master Complaint,
Exemplar Short Form Complaint and Plaintiffs’ Fact Sheet, which corrects the naming of certain
defendants. The PSC will work with the Clerk’s Office to (1) dismiss Sun Pharma Global Inc.
without prejudice and replace Caraco Pharmaceutical Laboratories, Ltd. with Sun Pharmaceutical
Industries, Inc. f/k/a Caraco Pharmaceutical Laboratories, Ltd.

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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 462 of 657




place beginning on April 19, 2017 through the date of the entry of this PTO 39A on the Court’s

docket, Plaintiff must re-serve the complaint in accordance with the terms of this Order.

       F.      Service will be effective only if addressed as above. General mailing or use of other

methods of transmission, including but not limited to Federal Express or email to an alternate

address, will not be sufficient to effect service. In accordance with Pretrial Order No. 1, Sun

Pharmaceutical Industries, Inc. is not required to respond to effectively served Complaints until a

date to be set by the Court. Sun Pharmaceutical Industries, Inc. agrees to provide thirty (30) days

written notice before moving to dismiss for a technical defect in the service process described in

this section. Failure to serve a Complaint within the time periods set forth above will be subject to

the standards governing Fed. R. Civ. P. 4(m). Other than those based on formal service of process,

Sun Pharmaceutical Industries, Inc. reserves all other rights and defenses available to it under

federal or state law and under applicable treaties and conventions.

       G.      For cases in which plaintiffs have served Sun Pharmaceutical Industries, Inc., any

applicable limitations in Fed. R. Civ. P. 4(m) are extended such that plaintiffs need not serve any

other Sun entities that have been named as defendants until further order of the Court after a meet

and confer of the parties. Such extension shall not waive any rights, obligations, or defenses of the

parties. Further, Sun Pharmaceutical Industries, Inc. shall not move to dismiss a complaint under

Fed. R. Civ. P. 4(m) as to an unserved Sun entity until further order of the Court after a meet and

confer of the parties.

               New Orleans, Louisiana, this QGG day of $XJXVW
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


 In Re: TAXOTERE (DOCETAXEL)                                                  MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                              SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES


                                PRETRIAL ORDER NO. 56
                 (Issuance of Summons with Corrected Defendants’ Names)

       On July 14, 2017, Plaintiffs’ Liaison Counsel filed a “Stipulation Concerning Amendments

to Plaintiffs’ Master Long Form Complaint, Exemplar Short Form Complaint and Plaintiffs’ Fact

Sheet” (Rec. Doc. 642), which informed the Court that counsel would amend the Master Long

Form Complaint and Exemplar Short Form Complaint to (1) replace Defendant Hospira

Worldwide, Inc. with Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc.; (2) remove

Defendant Sun Pharma Global Inc.; (3) replace Defendant Caraco Pharmaceutical Laboratories

Ltd. with Sun Pharmaceutical Industries, Inc. f/k/a Caraco Pharmaceutical Laboratories Ltd.;

and (4) replace Defendant Allergan Finance LLC f/k/a Actavis Inc. with Actavis LLC f/k/a

Actavis Inc. Subsequently, the Court issued Pretrial Order No. 55 (Rec. Doc. 688) on July 26,

2017, allowing Plaintiffs to make such amendments.

       To facilitate such changes in the Court’s CM/ECF system, the parties are to provide a list

of cases that named the Defendants to be replaced, so that the Defendants being dismissed without

prejudice may be terminated in any individual member case and the substituted Defendants may

be added therein. The parties will do so within sixty (60) days of filing Plaintiffs’ Amended Master

Long Form and Short Form Complaints. Furthermore, due to these amendments, the Court has


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issued Pretrial Orders No. 32A (Rec. Doc. ), 39A (Rec. Doc. ), 40A (Rec. Doc. 509),

which correct the Defendants’ names in the orders concerning streamlined service of process

that were previously issued by this Court.1

       Given the large number of cases that require Defendants’ names to be corrected in the

system, the Clerk’s Office will need a reasonable time within which to complete all amendments.

Moreover, given the deadlines for counsel to complete streamlined service of process on

Defendants, the Clerk’s Office may receive a Request for Summons as to a Defendant whose name

has not yet been corrected in the CM/ECF system. In order to comply with Rule 4 of the Federal

Rules of Civil Procedure, the Clerk’s Office will not issue a Summons to a party whose name does

not appear within a member case through the CM/ECF system. However, at this time, in order to

facilitate the issuance of summons without undue or unnecessary delay, IT IS ORDERED that:

       (1) The Court authorizes the Clerk’s Office to issue a Summons to a Defendant whose

           name has not yet been corrected within the Court’s CM/ECF system2;

       (2) Counsel shall refer to the Clerk’s Office’s instructions, attached to this Order as

           “Exhibit A,” for guidance in how to request such Summons through the Court’s

           CM/ECF system;




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        The Court previously issued Pretrial Order Nos. 32 (Rec. Doc. 307), 39 (Rec. Doc. 327),
and 40 (Rec. Doc. 328), which governed the procedure for streamlined service of process on
various Defendants.
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        This Order applies only to those cases in which a Defendant has been previously named in
the member case, but the name of the Defendant has not yet been corrected by the Clerk’s Office
to reflect the amendment to the party name as provided by the parties’ stipulation (Rec. Doc. 642)
and Pretrial Order No. 55 (Rec. Doc. 688). For example, this Order would be applicable to a
member case in which Caraco Pharmaceutical Laboratories Ltd. was previously named as a
Defendant, but the Clerk’s Office has not yet amended the member case to reflect the name of the
Defendant as Sun Pharmaceutical Industries, Inc. f/k/a Caraco Pharmaceutical Laboratories Ltd.
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  (3) When filing a Request for Summons, counsel shall use the “Taxotere Request for

     Summons” form, attached to this Order as “Exhibit B.”

  New Orleans, Louisiana, this 2nd day of August, 2017.




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  Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 466 of 657
                                                                             Exhibit “A”

Taxotere: MDL 2740 Request for Summons on Newly Substituted Defendants
  1. Filing attorney must file a completed Request for Summons form and Summons form.
  2. Enter the member case number in which the Summon applies.
  3. Under Service of Process Category Select – Request for Summons issued.




  4. Attach the completed Request for Summons form as the Main Document and the
     prepared summon(s) as an attachment.
  5. Select the appropriate filer(s) at the prompt.
  6. Select the “New Party” tab to add newly substituted defendant at the prompt, “Select the
     party as to whom summons ISSUED.”
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7. Enter Party name in Last/Business Name field ( Party alias should not be included as the
   named party)




8. Select correctly named party listed in the Search Results.
9. Select the “Create New Party” tab.
10. Proceed accordingly through the docketing screens
11. Select the most recent Complaint/Amended Complaint at the prompt, “Select the
    appropriate event(s) to which your event relates.”
Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 468 of 657




12. Review your final docket text and submit entry.




                Please contact the Court if further assistance is required.
                         Taxotere MDL Helpline 504-589-7715
          Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 469 of 657
                                                                                   Exhibit “B”

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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                             MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                         SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                                PRETRIAL ORDER NO. 57
                         [Setting a Meeting with Liaison Counsel]

       IT IS ORDERED that the next meeting of liaison counsel shall take place on Thursday,

August 17, 2017, at 10:00 a.m. in the undersigned’s chambers.

       New Orleans, Louisiana, this 3rd day of August 2017.



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   Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 471 of 657



                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                         MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION                                                   SECTION “N” (5)

THIS DOCUMENT RELATES TO: ALL CASES


                            PRETRIAL ORDER NO. 58
  [Granting Request for Oral Argument on Defendants’ Motion to Dismiss Plaintiffs’
                  Master Long Form Complaint (Rec. Doc. 489)]
       Considering the request for oral argument (Rec. Doc. 719) in connection with

Defendants’ Motion to Dismiss Plaintiffs’ Master Long Form Complaint (Rec. Doc. 489);

       IT IS ORDERED that the request for oral argument is GRANTED, and oral argument

on this motion shall be held on Wednesday, August 30, 2017, at 9:30 a.m.

       Movants will collectively have a total of fifteen (15) minutes to argue, and Plaintiffs

will collectively have a total of fifteen (15) minutes to argue. Any time reserved by Movants

for rebuttal must also come from the fifteen (15) minutes allotted to Movants.

       New Orleans, Louisiana, this 10th               2017.
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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 472 of 657




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                             MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION
                                                                          SECTION “N” (5)
  THIS DOCUMENT RELATES TO:
  ALL CASES


                                 Case Management Order No. 6
                          [Setting Four Bellwether Trial Dates in 2019]

        As contemplated by this Court at the July 7, 2017 status conference and Pretrial Order No.

51 (Rec. Doc. 660), liaison counsel have submitted four (4) suggested bellwether trial dates in

2019 to the Court. Adopting the parties’ joint submission, IT IS ORDERED that the following

dates shall be set as the initial bellwether trial dates:

        (1) Monday, January 28, 2019;

        (2) Monday, April 8, 2019;

        (3) Monday, July 15, 2019; and

        (4) Monday, November 4, 2019.

        The parties shall submit additional proposed Case Management Order(s) to the Court for

each of these four additional trials to be set to begin in 2019 at a later date.



                                           ay of August, 2017.
        New Orleans, Louisiana, this 29th day



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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 473 of 657




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                   MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION
                                                                SECTION “N” (5)
  THIS DOCUMENT RELATES TO:
  ALL CASES


                              PRETRIAL ORDER NO. 59
  [Resetting the Submission Date on Motion to Dismiss Claims Barred by the Applicable
                                Statutes of Limitations]


      IT IS ORDERED that the submission date on Defendants Sanofi-Aventis U.S. LLC and

Sanofi US Services Inc.’s Motion to Dismiss Claims Barred by the Applicable Statutes of

Limitations (Rec. Doc. 494) is hereby continued from Wednesday, August 30, 2017, to

Wednesday, November 8, 2017.

      New Orleans, Louisiana, this 5th day of September 2017.



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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 474 of 657




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                      MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION                                                SECTION “N” (5)

  THIS DOCUMENT RELATES TO:
  ALL CASES

                             PRETRIAL ORDER NO. 60
     (Order Regarding the Collection of Data of Potential Claimants by the Plaintiffs’
                                Settlement Committee)


Scope and Applicability – “Responsible Attorney(s)” and “Covered Individual(s)”
   1. This order shall govern the gathering of certain information by the Plaintiffs’ Settlement

      Committee appointed by this Court. The goal of this Order and related process is to

      identify, both now and during the pendency of this matter, any and all individuals with

      potential docetaxel-related permanent hair loss claims, and thus any and all putative

      claimants who may be eligible to participate in any future resolution system.

   2. This Order and its requirements apply to all attorneys and law firms (and their co-counsel)

      who have a case now pending, as well as those with a case later filed in, transferred or

      removed to MDL No. 2740 (In Re: Taxotere (Docetaxel) Products Liability Litigation).

      This Order and its requirements further apply to all attorneys and law firms who participate

      or will participate in MDL No. 2740 common benefit work or expense, including all

      attorneys who sign, have signed or who are deemed to have signed the Participation

      Agreement (Exhibit A to PTO 19). Finally, even for those attorneys or law firms not

      specifically covered previously in this paragraph, voluntary participation is strongly

      encouraged by this Court so that such other claimants may have the opportunity to

      participate in any eventual resolution process. To that end, this Order and its requirements


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   Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 475 of 657




      may later be deemed to require compliance by all attorneys and law firms (who have notice

      of this Order) so that they and their clients may be eligible to participate in a future

      resolution system. Each aforementioned attorney/law firm to whom this Order applies

      shall be referred to hereafter as “Responsible Attorney(s).”

   3. Any Responsible Attorneys who fail to comply with this Order may be subject to

      enforcement measures by the Court, and may be prohibited from participating in any MDL

      No. 2740 future resolution system.

   4. The information and data reporting requirements of this Order shall apply only with regard

      to those individuals whose use of docetaxel and permanent hair loss (of some degree) have

      been confirmed by counsel for said claimant. These individuals will be referred to hereafter

      as “Covered Individual(s).” Information and data regarding individuals awaiting such

      confirmation should not be included (unless and until such confirmation is received).

Reporting Requirements – by “Covered Individual(s)”
   5. For each Covered Individual represented by a Responsible Attorney, such Responsible

      Attorney shall report the following information/data (on an Excel spreadsheet in the format

      of Exhibit A hereto): Responsible Attorney and Law Firm Name, Covered Individual

      Name, Date of Birth, City in which Docetaxel was Ingested, State in which Docetaxel was

      Ingested, Name of Facility where Docetaxel was administered (if known), Start Date of

      Docetaxel Use, Stop Date of Docetaxel Use, Name of Docetaxel Manufacturer(s) (drop-

      down provided), Filing Status (filed/unfiled), Filing Jurisdiction (if applicable), Cause

      Number (if applicable). The Responsible Attorney shall be as complete and accurate

      as possible and report and verify all reported information to the best of his/her

      knowledge and ability.


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Reporting Periods
   6. At some time between September 1 and September 30, 2017 (and no later than September

       30, 2017), each Responsible Attorney shall upload the required data/information in a

       completed spreadsheet, in the format of Exhibit A hereto, to MDL Centrality via the

       “Plaintiffs Only” portal (Plaintiffs Only access and uploading instructions can be found on

       the MDL Centrality site). Responsible Attorneys who have not yet registered with MDL

       Centrality can gain access via email request to taxotere@browngreer.com.

   7. Following the submission required by paragraph 5 above, Responsible counsel shall

       regularly supply updated data/information to MDL Centrality via the “Plaintiffs Only”

       portal. Each updated submission shall be made on and to the Responsible Attorney’s

       spreadsheet and shall be comprehensive, including individuals, data and information

       previously reported along with any new individuals, data and/or information highlighted

       in yellow. Should any previously reported individual(s) need to be removed for any reason

       (including because they are no longer represented by the Responsible Attorney, or because

       their potential claim is no longer believed to have merit), those individuals should be

       promptly and clearly identified by counsel. Responsible Attorneys should regularly update

       their spreadsheets so as to keep their submissions as current as possible, and Responsible

       Attorneys are required to ensure that Covered Individuals’ identification and

       data/information are current at the end of each quarter (December 31, March 31, June 30,

       and September 30) of each year.

Confidentiality/Privilege




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Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 477 of 657




8. The raw information and data provided in compliance with this Order shall only be shared

   with   representatives    of   the   Plaintiffs’   Settlement    Committee     and/or    their

   representatives/designees and shall be otherwise kept confidential. As the information and

   data provided in compliance with this Order are likely to be utilized by the Plaintiffs’

   Settlement Committee as part of its analysis of the strength of the case(s) and potential case

   qualification or exclusion criteria, and in furtherance of settlement, it shall be presumed to

   be Plaintiffs’ “work product” by this Court. The raw information and data provided in

   compliance with this Order shall not be shared with representatives of any MDL No. 2740

   (past, present or future) Defendants, their counsel, or their affiliates. Brown Greer shall

   maintain the provided information and data in a secure database accessible only by

   members of the Plaintiffs’ Settlement Committee and/or their representatives/designees.

   In no circumstance shall any information or data provided in compliance with this Order

   be used against a Covered Individual by any Defendant or their counsel (past, present or

   future) in this litigation. While the information provided must be as complete and accurate

   as possible, it shall not be binding upon any Covered Individual.

9. Should this litigation advance to the point where a resolution program is underway, the

   Court may then address methods and vehicles for Responsible Attorneys and Covered

   Individuals to provide similar information to the Defendants for their review, analysis and

   verification.

   New Orleans, Louisiana, this 7th day of September 2017.



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                                                                                                                  MDL No. 2740 In Re: Taxotere (Docetaxel) Products Liability Litigation
                                                                                                                            PTO No. _____ Potential Claimant Data Report
                                                                                                             CONFIDENTIAL WORK PRODUCT - FOR SETTLEMENT COMMITTEE PURPOSES ONLY
Responsible Attorney and   Law                                                               City of Docetaxel    State of Docetaxel   Name of Docetaxel Administation
                                 Covered Individual Last Name   First Name   Date of Birth                                                                               Docetaxel Start Date   Docetaxel Stop Date   Docetaxel Manufacturer   Filing Status   Filing Jurisdiction   Cause Number
            Firm Name                                                                            Ingestion            Ingestion              Facility (if known)
                                                                                                                                                                                                                                                                                                    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 478 of 657




                                                                                                                                                                                                                                                                 Exhibit “A”
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

    In Re: TAXOTERE (DOCETAXEL)                                     MDL NO. 2740
           PRODUCTS LIABILITY
           LITIGATION
                                                                     SECTION “N” (5)
    THIS DOCUMENT RELATES TO:
    ALL CASES


                              PRETRIAL ORDER NO. 61
    [Order Dismissing Count Two and Count Eight of the Master Long Form Complaint]

       On August 30, 2017, the Court held oral argument on Defendants’ Motion to Dismiss

Plaintiffs’ Master Long Form Complaint (Rec. Doc. 489). At the conclusion of the hearing, the

Court denied Defendants’ motion with respect to Count One and Counts Three through Seven of

Plaintiffs’ First Amended Master Long Form Complaint.1 See Rec. Doc. 784. In addition, the Court

ordered that, with respect to Counts Two and Eight, which allege strict liability and breach of

express warranty, respectively, Plaintiffs submit supplemental briefing or an Amended Master

Long Form Complaint to the Court within fourteen days of the Court’s ruling, clearly identifying

what express statements or language constitutes the alleged misrepresentation of warranty. See id.

       In response, Plaintiffs’ Liaison Counsel advised the Court via email, attached hereto as

“Exhibit A,” that the Plaintiffs’ Steering Committee (“PSC”) elected not to file supplemental

briefing or an amendment related to the allegations supporting Counts Two and Eight in the First




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        Defendants filed the motion to dismiss in response to Plaintiffs’ original Master Long Form
Complaint (Rec. Doc. 312), filed on March 31, 2017. However, on July 25, 2017, Plaintiffs filed
a First Amended Master Long Form Complaint (Rec. Doc. 689) in order to correct the names of
various Defendants who were incorrectly named in the original document. This amendment,
however, did not affect the substantive counts of the original Master Long Form Complaint.
Therefore, as Plaintiffs’ First Amended Master Long Form Complaint is now the operative
complaint in this MDL, this Court’s Order pertains to Counts Two and Eight of Plaintiffs’ First
Amended Master Long Form Complaint.
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Amended Master Long Form Complaint. Therefore, the PSC respectfully requested that this Court

enter an order dismissing Counts Two and Eight in the First Amended Master Long Form

Complaint and setting a deadline of two weeks to allow any individual plaintiff to amend her Short

Form Complaint to allege facts supporting analogous state law claims that may be viable on an

individual basis.

       Accordingly, IT IS ORDERED that Count Two and Count Eight of Plaintiffs’ First

Amended Master Long Form Complaint are DISMISSED.

       IT IS FURTHER ORDERED that an individual plaintiff shall have fourteen (14) days

from the date of this Order to amend her Short Form Complaint to allege analogous state law

claims that may be viable on an individual basis.

                                           y of September 2017.
       New Orleans, Louisiana, this 27th day



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          Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 481 of 657


           Taxotere - Order of August 30, 2017                                                     Exhibit “A”
           Palmer Lambert
           to:
           Chynna Anderson
           09/13/2017 09:46 PM
           Cc:
           Douglas Moore, John Olinde, "Jennifer_Rogers@laed.uscourts.gov", Dawn Barrios
           Hide Details
           From: Palmer Lambert <plambert@gainsben.com>
           To: Chynna Anderson <chynna_anderson@laed.uscourts.gov>
           Cc: Douglas Moore <dmoore@irwinllc.com>, John Olinde <olinde@chaffe.com>,
           "Jennifer_Rogers@laed.uscourts.gov" <Jennifer_Rogers@laed.uscourts.gov>, Dawn Barrios <barrios@bkc-
           law.com>
           History: This message has been replied to and forwarded.
Dear Chynna,

Our apologies to the Court and to Defendants' Liaison Counsel for the time of this email. Despite diligent efforts, the
decision on whether the PSC should amend the Master Complaint or submit further briefing was recently made.

Plaintiffs, through the PSC, have considered the Court’s Order of August 30, 2017, and have elected not to file an Amended
Complaint related to the allegations supporting Counts II and VIII in the Master Long Form Complaint. The PSC is advising
all non-PSC plaintiffs’ counsel of this decision tomorrow.

Under PTO 15, individual Plaintiffs have the option to adopt allegations in the Master Complaint or to supplement those
allegations. Individual Plaintiffs may yet be able to identify express statements or language that a Defendant may have
communicated to them or their doctors. Therefore, the PSC respectfully requests that the Court enter an order dismissing
Counts II and VIII in the Master Long Form Complaint and setting a deadline of two weeks to allow any individual counsel
to amend an individual short form to allege facts supporting analogous state law claims that may be viable on an individual
plaintiff basis.

Many thanks,
Dawn and Palmer

M. Palmer Lambert, Esq.
Gainsburgh, Benjamin, David, Meunier & Warshauer, LLC
2800 Energy Centre
1100 Poydras Street
New Orleans, LA 70163
Telephone: 504-522-2304
Cell: 504-495-6857
Facsimile: 504-528-9973
Email: plambert@gainsben.com

www.gainsburghbenjamin.com

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Sent from my iPhone




file:///D:/Users/anderson/AppData/Local/Temp/notes8147B3/~web3661.htm                                                9/22/2017
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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                      MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION
                                                                   SECTION “N” (5)
  THIS DOCUMENT RELATES TO:
  ALL CASES


                                 PRETRIAL ORDER NO. 62
                                  [Master Answer Deadline]

       On August 30, 2017, this Court denied Defendants’ Motion to Dismiss Plaintiffs’ Master

Long Form Complaint as to Count One and Counts Three through Seven. With regard to Counts

Two and Eight, Plaintiffs were given fourteen (14) days to amend or provide supplemental briefing

in order to expressly identify what express statements or language constitutes the alleged

misrepresentation or warranty as alleged in those particular counts. (Rec. Doc. 784).        On

September 13, 2017, Plaintiffs advised the Court that they would not be amending their Master

Complaint as to Counts Two and Eight. Therefore, the Court entered Pretrial Order No. 61,

dismissing Counts Two and Eight. See Rec. Doc. 877.

       Moreover, this Court previously issued Pretrial Order No. 15, in which Section “H” states

that, “Each Defendant shall file a Master Answer on or before 60 days following the filing of the

Master Complaint or within 30 days after the Undersigned’s ruling on all Motions to Dismiss,

whichever is later.” See Rec. Doc. 230. Given the aforementioned dismissal of Counts Two and

Eight, the parties have conferred as to when the Master Answer is due under Pretrial Order No.




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15, and they have suggested to the Court a deadline of Monday, October 16, 2017 to file the

Master Answer. 1

       Given the parties’ agreement, IT IS ORDERED that the Master Answer deadline for each

Defendant is set for Monday, October 16, 2017.

       New Orleans, Louisiana, this 27th
                                       h day of September, 2017
                                                           2017.
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       The parties have also agreed that such deadline will not delay the litigation of this MDL.
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                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                             MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                         SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                                PRETRIAL ORDER NO. 63
                         [Setting a Meeting with Liaison Counsel]

       IT IS ORDERED that the next meeting of liaison counsel shall take place on Friday,

October 6, 2017, at 9:30 a.m. in the undersigned’s chambers.

       New Orleans, Louisiana, this 27th day
                                           y of September 2017.



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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA



IN RE: TAXOTERE (DOCETAXEL)   )                                          MDL No. 2740
PRODUCTS LIABILITY LITIGATION )
                              )                                          SECTION: “N” (5)
                              )
THIS DOCUMENT RELATES TO:     )
ALL ACTIONS                   )



                              CASE MANAGEMENT ORDER NO. 8
                        (TRIAL SCHEDULING ORDER- MDL TRIAL NO. 2)

         ALL COUNSEL ARE RESPONSIBLE FOR READING, UNDERSTANDING,
          FOLLOWING, AND COMPLYING WITH EACH OF THE PROVISIONS
                               HEREAFTER:


          1.        Applicability of Order:

         The following procedures and schedules will govern the identification and selection of the
trial plaintiffs for the second trial. The Federal Rules of Civil Procedure shall apply, subject to
provisions permitting Court orders or stipulations by the Parties to make appropriate modifications.
       The parties shall submit additional proposed Case Management Order(s) to the Court for
each of the three additional trials set in 2019.
          2.        Selection of Trial Plaintiffs

       By October 20, 2017, Plaintiffs and Defendants will each select four (4) cases and then
submit to the Court the eight (8) cases as options for the second trial. The Defendant is not limited
to sanofi. Neither side shall select more than two cases involving the same non-sanofi Defendant.
The original jurisdiction and venue is not limited to the Eastern District of Louisiana.

         The location for the trial is subject to the Court’s determination, after input from the parties,
whether (a) in the discretion of the Court, the Court determines after input from the Parties that
trial of a Plaintiff’s case in another venue is appropriate, (b) the Parties agree to waive Lexecon
permitting the trial of a non-Louisiana Plaintiff’s case in the Eastern District of Louisiana, or (c)
the Court is able to obtain a temporary assignment to try a case in another district pursuant to 28
23482-00016/9527491.1
3013847-1
    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 486 of 657




USC § 292. Otherwise, all parties preserve all Lexecon rights and arguments as to jurisdiction and
venue for trial, including all rights preserved under Pretrial Order No. 5, and cases involving any
non-Eastern District of Louisiana plaintiff shall be remanded for trial in their transferee courts or
the appropriate jurisdiction and venue after pre-trial proceedings are completed.

        3.     Phased Discovery

        The eight proposed cases will be subject to phased discovery as set forth in a protocol
established by the parties and submitted to the Court. All cases will be subject to the first phase
of discovery which will conclude on June 12, 2018.

         By June 18, 2018, the parties shall nominate to the Court and rank in order of preference
the four (4) cases that will proceed to the second phase of discovery. Cases identified in Case
Management Order No. 3 that have not been dismissed or tried as of June 18, 2018 may be
nominated as cases that will proceed to the second phase of discovery. On June 22, 2018, the
Court, after hearing from the parties, will select one or more Plaintiff(s) (Primary Plaintiff(s)) for
the second trial date and will rank the remaining Plaintiffs as alternatives. The parties reserve the
right to object to and file motions addressing whether multiple plaintiffs may be tried in one trial.
If the Primary Plaintiff’s case is dismissed for any reason, the next highest ranked Plaintiff will be
set for the second trial date instead.

        4.     Motions:

       All pre-trial motions for the second trial, including dispositive motions, shall be filed and
served on or before December 6, 2018. Opposition memoranda shall be filed and served on or
before December 20, 2018, and reply memoranda shall be filed and served on or before January
3, 2019. Any motions filed in violation of this order shall be deemed waived unless good cause is
shown. Dispositive motions filed after this date, even pursuant to an extension or with leave of
court, will likely be referred to trial due to time constraints. Trial will not be continued due to
pending motions submitted after this date.

        Requests for oral argument shall be submitted and handled in accordance with Local Rule
78.1.

        Motions shall conform to the following:

               A.      The Court requires concise, pertinent, and well-organized briefs and
                       memoranda of law. Without leave of court, any original or initial opposition
                       brief or memorandum shall be limited to 25 double-spaced pages, excluding
                       exhibits. All pages must be numbered at the bottom.

               B.      Any reply or other supplemental memorandum shall be limited to ten (10)
                       double-spaced and numbered pages, pursuant to Local Rule 7.7, and must
                       be accompanied by a motion for leave to file. Unless otherwise ordered, if
                       a motion is set for oral argument, the proposed reply memorandum must be
                       filed no later than 12:00 p.m. on the third working day preceding the oral
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             argument date. Thus, for example, if a motion is set for oral argument on a
             Wednesday, the proposed reply memorandum must be filed no later than
             12:00 p.m. on the preceding Friday. For motions not set for oral argument,
             the proposed reply memorandum should be filed as soon as is practicable,
             unless otherwise ordered. Finally, if time is of the essence, e.g. the proposed
             reply concerns to a motion scheduled to be considered immediately before
             trial, counsel should apprise chambers by email or phone to expect an
             imminent reply, and such reply shall be filed post haste.

        C.   Any brief or memorandum that has more than 15 pages must contain all
             items listed below. Briefs and memoranda that are 15 pages or less must
             contain items (3), (4), (5), (6), and (7) listed below.

             (1)    A table of contents setting forth the page number of each section,
                    including all headings designated in the body of the brief or
                    memorandum.

             (2)    A table of citations of cases, statutes, rules, textbooks, and other
                    authorities, alphabetically arranged. All citations to United States
                    Supreme Court cases should include a citation to the United States
                    Supreme Court Reporter.

             (3)    A short statement of the nature and stage of the proceeding. A
                    separate time line of relevant factual events and procedural history
                    is almost always helpful, and should be attached to the motion itself.

             (4)    A statement of the issues to be ruled upon by the Court and, with
                    respect to each issue, a short statement, supported by authority, of
                    the standard of review.

             (5)    A short summary of the argument.

             (6)    The argument shall be divided under appropriate headings
                    succinctly setting forth separate points.

             (7)    A short conclusion stating the precise relief sought.

        D.   If a party cites legal authority not found in the United States Code, Supreme
             Court Reporter, Federal Reporter, Federal Rules Decisions, Federal
             Supplement, Southern Reporter, West’s Louisiana Revised Statutes and
             Codes Annotated, or Westlaw, the relevant parts of such authority must be
             submitted as an exhibit. If the authority is a case, the entire case must be
             included.

        E.    One paper copy of any memorandum or brief that, together with its
              exhibits, totals more than 100 pages, must be submitted to chambers when
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                         filed. The submitted copy must include the case number, date filed, and
                         record document number information appearing along the top of
                         documents filed electronically utilizing the Court's CM/ECF system.

                 F.      A party who submits more than five exhibits shall include a table of
                         contents describing each exhibit and listing the tab where it is located. All
                         exhibits submitted to chambers as a hard copy in support of a motion, brief,
                         or memorandum must be tabbed at the right margin. Exhibits shall not be
                         submitted in globo; multi-page exhibits shall be numbered on each page
                         for reference. All citations to an exhibit must refer to the letter or number
                         of its tab.

                        Citations to deposition or affidavit testimony must include the appropriate
                        page, line or paragraph numbers. Citations to other documents or materials
                        with three or more pages must include some sort of pinpoint citation. For
                        example, a contract may be cited by section number, an employee handbook
                        may be cited by page number, and a document without internal divisions
                        may be Bates-stamped or otherwise marked and cited accordingly.

                G.      All motions in limine for the second trial shall be filed and served on or
                        before December 6, 2018. Opposition memoranda shall be filed and served
                        on or before December 20, 2018, and reply memoranda shall be filed and
                        served on or before January 3, 2019. Such motions shall conform to the
                        provisions set forth hereinabove.

        5.      Disclosures:

        Counsel shall complete all disclosure of information as follows:

        All parties have stipulated that initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) will
not be conducted in this case.

        6.      Discovery:

        This case involves extensive documentary evidence, depositions, and other discovery.

        For the 4 Trial Plaintiffs, second phase discovery and additional fact witness depositions
for use at the second trial shall be taken and all other fact discovery of the Defendants for trial shall
be completed no later than August 1, 2018.

     Expert depositions and discovery for use at the second trial shall be completed no later than
November 16, 2018.




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       All discovery disputes shall be promptly brought before the assigned magistrate judge to
ensure that discovery may be completed within this deadline. Trial will not be continued because
of unresolved discovery disputes.

       7.      Amendments:

         Amendments to pleadings, third-party actions, cross-claims and counter-claims shall be
filed no later than June 29, 2018, in accordance with the Federal Rules of Civil Procedure and
Local Rule 7.6. Later amendments will not be allowed absent good cause, and may not be allowed
if the trial date is thereby jeopardized.

       Counsel adding new parties subsequent to the issuance of this Order shall provide each
new party with a copy of it. Pleadings responsive thereto, when required, shall be filed no later
than July 6, 2018.

       8.      Experts:

        Written reports of experts, as defined by Fed. R. Civ. P. 26(a)(2)(B), who may be witnesses
for plaintiffs shall be obtained and delivered to counsel for defendant as soon as possible, but in
no event later than August 31, 2018. The reports must fully set forth all matters about which the
expert will testify and the basis therefor.

        Written reports of experts, as defined by Fed. R. Civ. P. 26(a)(2)(B), who may be witnesses
for the second trial defendant shall be obtained and delivered to counsel for plaintiff as soon as
possible, but in no event later than October 1, 2018. The reports must fully set forth all matters
about which the expert will testify and the basis therefor.

       Any expert witness who was previously deposed in this MDL, shall not be deposed again
absent good cause shown, unless such expert is offering a case-specific opinion or a new opinion
not previously disclosed.

       9.      Witnesses and Exhibits:

       Counsel for the parties are ordered to file in the record and serve upon their opponents a
preliminary list of all witnesses who may be called to testify at trial no later than July 13, 2018,
and a preliminary list of all exhibits that may be used at trial no later than November 19, 2018.

         Counsel for the parties are ordered to file in the record and serve upon their opponents a
final list of all witnesses who may or will be called to testify at trial, and all exhibits that may or
will be used at trial no later than December 3, 2018.

        Except by order issued on motion for good cause shown, the Court will not permit any
witness, expert or fact, to testify, or any exhibits to be used, unless there has been compliance with
this Order as it pertains to the witness and/or exhibits.

       10.     Final Pre-Trial Conference:
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      A final Pre-Trial Conference will be held in chambers before the undersigned on
Thursday, January 17, 2019 at 9:00 a.m.

        The Final Pre-Trial Conference must be attended in person by the attorneys who will try
the case, unless, prior to the Conference, the Court grants permission for other counsel to attend.
Counsel must be prepared to discuss this case in detail, as set forth in paragraph 1. Attendance by
clients/client representatives is prohibited, unless specifically ordered by the Court.

        A joint proposed Pre-Trial Order must be submitted to chambers electronically or by-hand
no later than 4:00 p.m. on January 15, 2019. If submitted electronically, the joint proposed Pre-
Trial Order shall be emailed to eFile-Engelhardt@laed.uscourts.gov, with a copy to the assigned
law clerk. The joint proposed Pre-Trial Order submitted to the Court must be double spaced,
paginated, and signed by all counsel. It shall be in the precise form set forth in the attached “Pre-
Trial Order Instructions.”

       Final Pre-Trial Conferences will not be continued except for good cause shown in a written
motion presented sufficiently in advance of the Conference for opposing counsel to be notified.

        Failure on the part of counsel to appear at the Conference may result in sanctions, including
but not limited to sua sponte dismissal of the suit, assessment of costs and attorney fees, entry of
default judgment, or other appropriate sanctions.

       11.     Trial:

        Trial will commence on/or during the week beginning MONDAY, January 28, 2019 at
8:30 A.M. before the District Judge with a jury. Except when Monday is a holiday or as otherwise
ordered by the Court, trial will commence on Monday. Attorneys are instructed to report for trial
no later than 30 minutes prior to the scheduled commencement time. The starting time on the first
day of a jury trial may be delayed or moved up because of jury pooling. Trial is estimated to last
10 days.

               A.       Hours: The Court’s hours during trial will vary depending upon the type of
                        case and the needs of the parties, counsel, witnesses, and the Court. Court
                        will normally convene at 8:30 a.m. and adjourn by 5:00 p.m., recessing for
                        lunch between approximately 11:45 a.m. and 1:00 p.m.

               B.       Access at Other Times: Counsel needing access to the courtroom to set up
                        equipment or exhibits before or after normal hours of court must arrange in
                        advance with the Case Manager to have the courtroom open.

               C.       Telephones: Absent an emergency, telephone messages for counsel and/or
                        witnesses will not be taken by the Judge’s staff.



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               D.     Filing of Documents: Two copies of any documents filed immediately
                      prior to and during trial should be submitted to the Case Manager who is
                      present in the courtroom.

               E.     Witnesses: Counsel should bear in mind the Court’s hours and arrange for
                      witnesses accordingly. The Court will not recess to permit counsel to call a
                      missing witness unless he or she has been subpoenaed and has failed to
                      appear.

                F.     Jurors: Counsel shall not communicate with any juror or potential juror
                       in any way or by any means, including online via Facebook or any other
                       means of social media, using real or fictitious/alias identities. Counsel shall
                       not instruct any other person to do so, or solicit or plan to receive any such
                       information obtained in this fashion. Should counsel learn that anyone
                       associated with this trial has acted in violation of this paragraph, he/she
                       shall immediately advise the undersigned.

                G.     Seating:

                      (1)     The Court does not designate seating at counsel tables; this is
                              determined on a first-come, first-served basis on the first day of trial.

                      (2)     Unless otherwise instructed, counsel and parties are to enter and
                              leave the courtroom only by the front doors; do not use the Court’s
                              entrance or the side entrances.

       12.     Conferences and Extensions:

        Deadlines, cut-off dates, or other limits fixed herein may only be extended by the Court
upon timely motion filed in compliance with Local Rules and upon a showing of good cause. Trial
will not be continued, even on joint motion, absent good cause or compelling reason. A trial
will not be continued because of the unavailability of a witness. Counsel should anticipate such
possibilities and be prepared to present testimony by written deposition, videotaped deposition, or
by stipulation. If a continuance is granted, however, deadlines and cut-off dates will not be
extended unless otherwise ordered by the Court.

       13.     Settlement:

        IT IS ORDERED, that a Settlement Conference will be held with Magistrate Judge North
prior to November 5, 2018.

       Only the Magistrate Judge, in his/her discretion, shall have the authority to cancel
and/or reset the settlement conference. The parties shall submit a Joint Confidential Status
Report to the Magistrate Judge no later than November 9, 2018 in the event a resolution has
not been reached by that date.

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  14.   Courtroom Procedure and Conduct:

        A.    IT IS ORDERED that the following items are STRICTLY
              PROHIBITED from entry into the courtroom: All portable
              communication devices, including all cellular devices (cell phones,
              smartphones, personal digital assistants, BlackBerrys, iPhones, Droids,
              wristwatch cellular devices of any kind, etc.); ear piece devices (such as
              Bluetooth); laptop computers (including iPads or other tablet-style
              devices); and digital or other types of video cameras or recorders; google
              glasses, wearable computers, or any other similarly functioning device. You
              may turn in such devices to Susan Adams, judicial assistant in Section “N”,
              upon arriving, and pick them up when you have completed business in
              Section “N.”

        B.    The only exceptions to the above provision shall be (1) authorized court
              personnel working on this trial; (2) law enforcement personnel (including
              Court Security Officers and United States Marshals, but not witnesses)
              participating in this trial as assigned by the Court; and (3) attorneys who are
              counsel of record and who are seated at counsel tables (not in the public
              gallery), along with any paralegals or other staff seated at counsel tables
              (not in the public gallery), who are utilizing laptop computers (including
              iPads and comparable devices) provided that the use of any such device
              shall not access or be accessed or connected to the internet, cellular network,
              broad band, Wifi, or any other outside network designed to transmit or
              receive messages, sounds or visual images to anyone outside the courtroom.
              Prior to entry into the courtroom, counsel shall leave all other cellular phone
              devices or other such electronic devices in Section “N” chambers.

        C.    Any person possessing a prohibited device within the Section “N”
              courtroom in violation of Paragraph A shall be subject to (1) monetary
              sanction and (2) expulsion and permanent prohibition from entry into the
              courtroom for the duration of this trial, both in addition to having such
              device confiscated and retained by the Court until trial of the matter is
              complete.

        D.    IT IS FURTHER ORDERED that food and/or drink (including coffee and
              bottled water) shall be prohibited from the Section “N” courtroom (Room
              C-351) and any other designated “overflow” location (if separate from
              Room C-351); likewise, attendees shall refrain from chewing gum and
              wearing hats and/or sunglasses (over the eyes or on the head) in the Section
              “N” courtroom, and shall remove same upon entry. Eating, smoking, and/or
              reading newspapers or other impertinent books, magazines, etc., in the
              Section “N” courtroom is strictly prohibited.


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              E.      IT IS FURTHER ORDERED that any attempt to comment on or portray
                      (positively or negatively) an opinion of the evidence, a witness, the
                      attorneys, or the position of any party to these court proceedings through
                      physical gestures; facial expressions; audible reactions; or pre-planned,
                      organized or orchestrated selection of attire in the courtroom, shall be
                      prohibited. Offenders shall summarily be excused from the courtroom,
                      sanctioned, or both.


New Orleans, Louisiana, this 11th day off October, 2017.



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CLERK TO FORWARD COPY TO MAGISTRATE JUDGE




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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                                   MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION                                                             SECTION “N” (5)

  THIS DOCUMENT RELATES TO:

  Fuller v. Sanofi, S.A. et al., Case No. 2:17-cv-01812
  Pickrell v. Sanofi, S.A. et al., Case No. 2:17-cv-01813
  Wright v. Sanofi, S.A. et al., Case No. 2:17-cv-01814
  Castagnola v. Sanofi S.A., Case No. 2:17-cv-03864
  Jenkins v. Sanofi S.A., et al., Case No. 2:17-cv-03866
  Gardner v. Sanofi S.A. et al., Case No. 2:17-cv-03865
  Ernyes-Kofler, et al. v. Sanofi S.A. et al., Case No. 2:17-cv-03867
  McCallister, et al. v. Sanofi S.A. et al., Case No. 2:17-cv-02356
  Smith v. Sanofi-Aventis U.S. LLC, et al., Case No. 2:17-cv-05832
  Johnson v. Sanofi S.A. et al., Case No. 2:17-cv-05833



                               PRETRIAL ORDER NO. 64
  [Order Clarifying the Court’s Ruling (Rec. Doc. 784) on California Plaintiffs’ Motion to
                                        Remand]

       On August 30, 2017, this Court ruled on Plaintiffs’ Omnibus Motion to Remand Certain

Cases to the Superior Courts of California (Rec. Doc. 469), and the motion was GRANTED IN

PART and DENIED IN PART. For the sake of clarity in the record, the Court reiterates its

ruling herein.

       With regard to: (1) Pickrell v. Sanofi, S.A. et al., Case No. 2:17-cv-01813, (2) Jenkins v.

Sanofi S.A., et al., Case No. 2:17-cv-03866, and (3) Smith v. Sanofi-Aventis U.S. LLC, et al., Case

No. 2:17-cv-05832, Plaintiffs’ motion to remand is GRANTED, and these cases shall be

REMANDED to California state court.

       With regard to: (1) Fuller v. Sanofi, S.A. et al., Case No. 2:17-cv-01812, (2) Wright v.

Sanofi, S.A. et al., Case No. 2:17-cv-01814, (3) Castagnola v. Sanofi S.A., Case No. 2:17-cv-


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03864, (4) Gardner v. Sanofi S.A. et al., Case No. 2:17-cv-03865, and (5) Johnson v. Sanofi S.A.

et al., Case No. 2:17-cv-05833, Plaintiffs’ motion to remand is DENIED. 1

       With regard to: (1) Ernyes-Kofler, et al. v. Sanofi S.A. et al., Case No. 2:17-cv-03867, and

(2) McCallister, et al. v. Sanofi S.A. et al., Case No. 2:17-cv-02356, counsel were ordered to submit

supplemental briefing on the severance of these two multi-plaintiff cases within ten days of the

Court’s August 30, 2017 ruling. 2

       New Orleans, Louisiana, this 12th day of October 2017.



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        These Plaintiffs were further ordered to file a motion to dismiss without prejudice as to
McKesson within ten days of the Court’s August 30, 2017 ruling on the motion. Plaintiffs complied
with this Court’s ruling thereafter. See Rec. Docs. 792, 832, 836, 852, and 853.
2
        Plaintiffs complied with this Court’s Order and submitted supplemental briefing on
September 11, 2017. See Rec. Doc. 837.
                                                 2
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

    In Re: TAXOTERE (DOCETAXEL)                                        MDL NO. 2740
           PRODUCTS LIABILITY
           LITIGATION
                                                                       SECTION “N” (5)
    THIS DOCUMENT RELATES TO:
    ALL CASES


                                  PRETRIAL ORDER NO. 65
                        [Procedure for Severance of Multi-Plaintiff Cases]

       The Court is aware of a number of complaints that have more than one plaintiff, excluding a

plaintiff with a derivative claim. For these multi-plaintiff cases,1 the Court deems it appropriate to

sever the individual claims and assign to each plaintiff’s claim an individual civil action number.

       The Court therefore issues this Order on these multi-plaintiff cases, as well as any multi-

plaintiff cases later removed or transferred to this MDL, and the procedure to sever plaintiffs from

these cases in order that each plaintiff (and any plaintiff with a derivative claim) has her own

individual complaint.

       To facilitate the efficient administration of these actions, IT IS ORDERED that:

       (1) Within thirty (30) days of transfer into the MDL for cases not currently pending in the

           MDL, the lead plaintiff in each multi-plaintiff action shall file an ex parte motion and

           proposed order requesting severance of the individual plaintiffs in these multi-plaintiff

           cases. With regard to all pending multi-plaintiff cases as of the date of the entry of this

           Order, plaintiffs, through the PSC, shall file a single omnibus ex parte motion to sever

           within thirty (30) days of entry of this Order. Any motion and proposed order shall treat


1
        In the multi-plaintiff City of St. Louis cases referenced in Plaintiffs’ Omnibus Motion to
Remand Certain Cases to the Twenty-Second Judicial Circuit, City of St. Louis, State of Missouri
(Rec. Doc. 467), those plaintiffs have agreed to withdraw their motions for remand and acquiesce in
the transfer of their cases to this Court and, thus, this Order is applicable to those plaintiffs.

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          an individual plaintiff who has used a docetaxel product who is joined with a plaintiff with

          a derivative claim based on the other plaintiff’s use of a docetaxel product as one

          “individual plaintiff.”

      (2) Upon the filing of any ex parte motion to sever by plaintiffs, this Court shall issue an

          Order of Severance for those cases.

      (3) Within 45 days from the Order of Severance, the individual plaintiffs (and any plaintiff

          with a derivative claim) must file a Short Form Complaint,2 as well as pay the filing fee.

          The Short Form Complaint shall have two attachments when filed: (1) the Severance

          Order; and (2) the originally filed complaint. The Clerk will assign a new docket number

          to each individual plaintiff’s Short Form Complaint and the docket number that had been

          assigned to the original multi-plaintiff case will be terminated once 45 days from the Order

          of Severance have passed.

      (4) Generally, neither Civil Cover Sheets nor Summons will be required for the severed civil

          actions. If a defendant has already been served in the case, no further service shall be

          required on that defendant. Service of the filed Short Form Complaint according to the

          procedures set forth by prior Pretrial Orders entered in this MDL shall be sufficient to

          effectuate service of the severed civil actions if service on the defendant(s) had not yet

          been accomplished in the multi-plaintiff action. Plaintiffs are not permitted to add new

          defendants when filing the Short Form Complaints in multi-plaintiff cases pursuant to this

          Pretrial Order. Rather, any substantive amendments to severed actions are governed by

          the Local Rules of the Eastern District of Louisiana.



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      See Pretrial Order No. 41. The Short Form Complaint shall be filed as an original complaint
and not in the master docket. 6HHDWWDFKHG([KLELW$IRUGHWDLOHGILOLQJLQVWUXFWLRQV
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 (5) Any individual Short Form Complaint filed within the time provided by this Pretrial Order

    and subject to the terms of this Pretrial Order will be deemed to have been filed on and

    relate back to the original filing date of the multi-plaintiff civil action from which the

    applicable action was severed. Additionally, any statute of limitations defense that existed

    as of the filing dates of the original multi-plaintiff complaints shall be preserved.

 (6) Defendants’ obligations with respect to filing responsive pleadings are not affected by this

    Order and are governed by prior Pretrial Orders entered in this MDL.

 (7) For plaintiffs in multi-plaintiff cases removed to this Court, plaintiffs shall complete their

    Plaintiff Fact Sheets within the deadlines set forth in Amended PTO No. 22 (Rec. Doc.

    325) as if the case were filed in the MDL on the date an individual civil action number is

    assigned.

 (8) The named plaintiffs in the proposed class action, in which certification has been denied

    (Rec. Doc. 647), shall complete their Plaintiff Fact Sheets within the deadlines set forth

    in Amended PTO No. 22 (Rec. Doc. 325) as if the case were filed in the MDL on the date

    an individual civil action number is assigned.

 (9) Upon denial of subsequent motions to remand or motions for class certification, the

    plaintiffs in those cases shall complete the Plaintiff Fact Sheets within the deadlines set

    forth in Amended PTO No. 22 (Rec. Doc. 325) as if the case were filed in the MDL on

    the date of the Court’s order denying plaintiffs’ motion to remand or for class certification.

 New Orleans, Louisiana, this 16th day of October, 2017.




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            Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 499 of 657
                           Filing Individual Severed Taxotere Cases

     Documents Needed
     Have the following PDFs available before starting the severed civil case opening process:
              &   Short Form Complaint
              &   Severance Order
              &   Original Complaint
     Note: A civil cover sheet is not required

     Opening the Individual Severed Cases
     Login to CMECF and select Civil on the main menu bar, then under Open a Case, click
     on the link CIVIL CASE.
            & In the "Other Court Name" field enter "EDLA"
            & In "Other court number" field enter the original case number of the Multi
                Plaintiff Complaint
            & Jurisdiction is "4" (Diversity)
            & For most cases: Cause of action is: 28:1332pl (Diversity - Product Liability)
            & Nature of suit: 367 (Personal Injury: Health Care/Pharmaceutical Personal
                Injury Product Liability)
            & Citizenship of 1st named pla: either 1-Citizen This State, or 2-Citizen Other
                State
            & Citizenship of 1st named defendant: either 3 - Citizen or Subject of a Foreign
                Country (if Sanofi is named as a defendant), or 5 - Incorporated/Principal
                Business Other State
            & Jury demand "p" for plaintiff, no Class Action, no $ demand
            & County is the Louisiana parish of residence for the 1st named plaintiff, or "Out
                of State", or "Out of Country"
            & Add individual plaintiffs as listed in the Short Form Complaint
            & Add defendants as selected and indicated in the Short Form Complaint
            & Do not select or enter named defendant with aliases.
                & Ex.(incorrect party name). Hospira Worldwide, LLC fka Hospira
                    Worldwide, Inc.)
                & Ex. (correct party name) - select Hospira Worldwide, LLC then
                    separately enter the alias name (Hospira Worldwide, Inc.) under the alias
                    field for the applicable defendant.

     Docketing the Lead Event/Individual Severed Complaint
          & Select the link "Docket Lead Event", select the event "Complaint"
          & Select the plaintiff(s) as the filer
          & Create the attorney/party association
          & Select the defendant(s) that this filing is against

     The Short Form Complaint will be the Main document with Attachments of:
           •      Severance Order
           •      Original Complaint




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

    In Re: TAXOTERE (DOCETAXEL)                                                   MDL NO. 2740
           PRODUCTS LIABILITY
           LITIGATION                                                             SECTION “N” (5)

    THIS DOCUMENT RELATES TO:

    MEMBER CASES LISTED HEREIN



                                PRETRIAL ORDER NO. 66
    [Order Clarifying this Court’s Ruling on Delaware Motion to Remand (Rec. Doc. 784)]

        On August 30, 2017, this Court ruled on Delaware Plaintiffs’ Motion to Remand to the

Superior Court of Delaware (Rec. Doc. 473). Plaintiffs’ motion was GRANTED, and the cases

listed herein 1 were ordered to be REMANDED to the Superior Court of Delaware. See Rec.

Doc. 784. For the sake of clarity in the record, the Court reiterates its ruling herein.

        IT IS ORDERED that Delaware Plaintiffs’ Motion to Remand to the Superior Court of

Delaware (Rec. Doc. 473) is GRANTED, and the cases listed below are hereby REMANDED

to the Superior Court of Delaware:

        1. Gradney et al v. Sanofi U.S. Services Inc., Case No. 2:17-cv-01891

        2. Sullivan v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-02874

        3. Marino et al v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-02891

        4. Allen et al v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03871

        5. Arrington v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03893




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       Plaintiffs’ counsel informed the Court that the list of cases contained in the Court’s August
30, 2017 Minute Entry, which reflects the Court’s ruling on the motion, is incomplete and/or
contains duplicative case numbers. Therefore, the Court issues this Order to correctly identify
those cases that were ordered to be remanded to the Superior Court of Delaware.
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  6. Blunt v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03895

  7. Brooks v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03896

  8. Chapman et al v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03905

  9. Coleman et al v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03908

  10. Cook v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03909

  11. Cross et al v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03910

  12. Darden v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03911

  13. Davis v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03912

  14. Fair et al v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03917

  15. Garrett v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03933

  16. Hampton v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03935

  17. Harmon et al v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03938

  18. Haynes v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03939

  19. Haywood v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03941

  20. Youngblood v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03947

  21. Wilson v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03948

  22. Young v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03952

  23. Jackson v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03953

  24. Knighten et al. v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03954

  25. Washington v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03960

  26. Lamb v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03962

  27. Walker v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03964

  28. Lewis v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03965



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       29. Livings v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03968

       30. Ray v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03969

       31. Walker v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03970

       32. Payton, et al., v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03974

       33. Walker et al v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03975

       34. Turner v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03976

       35. Nixon v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03978

       36. Marbury v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-03979

       37. Mullins v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-04008

       38. Myrick v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-04009

       39. Nation v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-04011

       40. Self v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-04016

       41. Smith v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-04017

       42. Thomas v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-04020

       43. Stewart v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-04021

       44. Stone v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-04023

       45. Taylor, et al v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-04025

       46. Strother et al v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-04028

       47. Evans et al v. Sanofi U.S. Services Inc. et al., Case No. 2:17-cv-05419

New Orleans, Louisiana, this 24th day off October 2017.



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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                        MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION
                                                                     SECTION “N” (5)
  THIS DOCUMENT RELATES TO:
  ALL CASES


                             PRETRIAL ORDER NO. 67
  [Order Setting Next Meeting of Liaison Counsel and Next General Status Conference]

       On October, 6, 2017, the Court held a meeting with liaison counsel in the undersigned’s

chambers. At that meeting, the Court set the date for the next meeting of liaison counsel as well as

the date for the next general status conference. Thus, IT IS ORDERED that:

       1. The next meeting of liaison counsel and the Court will take place on Friday,

           November 17, 2017, at 9:30 a.m. in the undersigned’s chambers. Counsel are to

           submit a proposed agenda for the meeting via email on or before Wednesday,

           November 15, 2017, by 5:00 p.m.

       2. The next general status conference will take place on Friday, December 15, 2017, at

           10:00 a.m. in the undersigned’s courtroom, with the meeting of liaison counsel at 8:30

           a.m. and meeting of the Plaintiffs’ Steering Committee at 9:00 a.m. The Court has set

           up a conference line for the status conference. To participate, call (866) 615-1886 and

           enter access code 432133.

       New Orleans, Louisiana, this 26th day
                                           y of October, 2017.



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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 504 of 657




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                      MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION
                                                                   SECTION “N” (5)
  THIS DOCUMENT RELATES TO:
  ALL CASES


                              PRETRIAL ORDER NO. 68
                (October 27, 2017 Conference of the Steering Committees)

      The Court held a Steering Committees conference of appointed counsel for Plaintiffs and

Defendants on October 27, 2017. As discussed during the conference, IT IS ORDERED that:

      1. On or before Thursday, November 2, 2017, Plaintiffs, through the Plaintiffs’ Steering

          Committee (“PSC”), shall submit via email to the Court the “Guidance Regarding

          Potential Sources of Electronically Stored Information” previously agreed to among

          the parties and distributed by the PSC to all Plaintiffs’ counsel.       On or before

          Thursday, November 2, 2017, the PSC and the Defendants shall each separately

          submit: 1) any proposed amendments to the “Guidance Regarding Potential Sources of

          Electronically Stored Information;” and/or 2) protocols or instructions that the parties

          believe will resolve the concerns raised by Defendants in the October 27, 2017 Steering

          Committees conference regarding Plaintiffs’ counsel’s Electronically Stored

          Information (“ESI”) obligations set forth in the Plaintiff Fact Sheet (Rec. Doc. 236-1).

      2. Defendants shall submit a revised proposed Order to Show Cause whereby the

          plaintiffs identified in Appendices C and D of Joint Report No. 5 (Rec. Doc. 839) that

          remain deficient as of October 27, 2017 are required to show cause why their case

          should not be dismissed with prejudice for failure to comply with Amended Pretrial




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     Order No. 22 (Rec. Doc. 325) in a written submission of no more than two pages

     double-spaced. Defendants are not required to submit a response unless otherwise

     ordered by the Court.

  3. Pursuant to the revised Plaintiff Fact Sheet (Rec. Doc. 236-1), each plaintiff shall

     produce representative photographs that have meaning and provide insight into her hair

     at times relevant to her case. This is best demonstrated with dated photos taken both

     before and after the Taxotere/docetaxel treatment. For clarity, “before” photographs

     shall be dated; should be portrait-type photographs taken closest in time to starting

     treatment; and, in any event, should be no earlier than five (5) years prior to infusion.

     The photographs should clearly depict the condition of the plaintiff’s hair. The plaintiff

     should not wear wigs, scarves, hats or any other accessories which conceal or cover her

     hair in the photograph. Notwithstanding the clarifications herein, which are intended

     to reduce disputes regarding the sufficiency of photographs, the Plaintiffs’ obligations

     as set forth and described in the PFS remain intact and are not altered by this Order.

  New Orleans, Louisiana, this 9th day of November, 2017
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                                 MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                            SECTION “N” (5)

THIS DOCUMENT RELATES TO:
ALL CASES

                       PRETRIAL ORDER NO. 69
   [DEADLINE FOR SUBMISSION OF APPLICATIONS FOR COURT APPOINTED
                     POSITIONS WITHIN MDL 2740]

       Throughout the progression of MDL No. 2740, In re: Taxotere (Docetaxel) Products

Liability Litigation, the Court has appointed counsel to various positions for a term until January

1, 2018. These appointments include: (1) Plaintiffs’ Liaison Counsel (Rec. Doc. 104); (2)

Defendants’ Liaison Counsel (Rec. Doc. 104); (3) Plaintiffs’ Steering Committee (Rec. Doc. 104);

(4) Plaintiffs’ Settlement Committee (Rec. Doc. 133); (5) Defendants’ Settlement Committee

(Rec. Doc. 133); (6) Plaintiffs’ Federal-State Liaison Counsel (Rec. Doc. 156); (7) Defense

Counsel Designated to Attend Plaintiffs’ Steering Committee Meetings (Rec. Doc. 289); and (8)

505(b)(2) Defendants’ Settlement Committee (Rec. Doc. 371). With regard to all of these

appointed positions, counsel were given a deadline of Wednesday, November 15, 2017, to apply

or reapply for such positions for the upcoming term.

       IT IS ORDERED that counsel shall submit their applications to the Court in the same

manner in which the applications were originally ordered to be submitted for the present term.

Thus, counsel are advised to review the Pretrial Orders for instructions on how the applications

should be properly submitted to the Court. However, all applications shall also include a list or




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summary of counsel’s qualifications for the position, whether or not such list or summary was

originally required by the Court.


                                           y of November 2017.
       New Orleans, Louisiana, this 14th day                7
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 IN RE: TAXOTERE (DOCETAXEL)   )                      MDL No. 2740
 PRODUCTS LIABILITY LITIGATION )
                               )                      SECTION: “N” (5)
                               )
 THIS DOCUMENT RELATES TO:     )
 ALL ACTIONS                   )


                    CASE MANAGEMENT ORDER NO. 8A
       THAT AMENDS AND SUPERSEDES CASE MANAGEMENT ORDER NO. 8
              (TRIAL SCHEDULING ORDER- MDL TRIAL NO. 2)

       ALL COUNSEL ARE RESPONSIBLE FOR READING, UNDERSTANDING,
        FOLLOWING, AND COMPLYING WITH EACH OF THE PROVISIONS
                             HEREAFTER:


        1.      Applicability of Order:

        This Order amends and supersedes this Court’s previous Case Management Order No. 8
 (Rec. Doc. 935) that was signed on October 11, 2017.
          The following procedures and schedules will govern the identification and selection of the
 trial plaintiffs for the second trial. The Federal Rules of Civil Procedure shall apply, subject to
 provisions permitting Court orders or stipulations by the Parties to make appropriate modifications.
        The parties shall submit additional proposed Case Management Order(s) to the Court for
 each of the three additional trials set in 2019.

        2.      Selection of Trial Plaintiffs

        The parties have submitted to the Court the following cases:

1.Addelson, Barbara; Case No. 2:16-cv-16041           5. Kinderdine, Christine; Case No. 2:17-cv-00348
2. Cazayoux, Priscilla; Case No. 2:17-cv-00766        6. Mills, Jacqueline; Case No. 2:17-cv-02689
3. Crayton, Sheila; Case No. 2:17-cv-05923            7. Phillips, June; Case No. 2:16-cv-15397
4. Gahan, Kelly; Case No. 2:16-cv-15283               8. Sylvest, Lisa; Case No. 2:16-cv-15841




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      The selection of the Defendant was not limited to sanofi, and the original jurisdiction and
venue was not limited to the Eastern District of Louisiana.

          The location for the trial is subject to the Court’s determination, after input from the
parties, whether (a) in the discretion of the Court, the Court determines after input from the Parties
that trial of a Plaintiff’s case in another venue is appropriate, (b) the Parties agree to waive Lexecon
permitting the trial of a non-Louisiana Plaintiff’s case in the Eastern District of Louisiana, or (c)
the Court is able to obtain a temporary assignment to try a case in another district pursuant to 28
USC § 292. Otherwise, all parties preserve all Lexecon rights and arguments as to jurisdiction and
venue for trial, including all rights preserved under Pretrial Order No. 5, and cases involving any
non-Eastern District of Louisiana plaintiff shall be remanded for trial in their transferee courts or
the appropriate jurisdiction and venue after pre-trial proceedings are completed.

        3.     Phased Discovery

        The eight proposed cases will be subject to phased discovery as set forth in a protocol
established by the parties and submitted to the Court. All cases will be subject to the first phase
of discovery which will conclude on June 12, 2018.

         By June 18, 2018, the parties shall nominate to the Court and rank in order of preference
the four (4) cases that will proceed to the second phase of discovery. Cases identified in Case
Management Order No. 3 that have not been dismissed or tried as of June 18, 2018 may be
nominated as cases that will proceed to the second phase of discovery. On June 22, 2018, the
Court, after hearing from the parties, will select one or more Plaintiff(s) (Primary Plaintiff(s)) for
the second trial date and will rank the remaining Plaintiffs as alternatives. The parties reserve the
right to object to and file motions addressing whether multiple plaintiffs may be tried in one trial.
If the Primary Plaintiff’s case is dismissed for any reason, the next highest ranked Plaintiff will be
set for the second trial date instead.

        4.     Motions:

       All pre-trial motions for the second trial, including dispositive motions, shall be filed and
served on or before December 6, 2018. Opposition memoranda shall be filed and served on or
before December 20, 2018, and reply memoranda shall be filed and served on or before January
3, 2019. Any motions filed in violation of this order shall be deemed waived unless good cause is
shown. Dispositive motions filed after this date, even pursuant to an extension or with leave of
court, will likely be referred to trial due to time constraints. Trial will not be continued due to
pending motions submitted after this date.

        Requests for oral argument shall be submitted and handled in accordance with Local Rule
78.1.

        Motions shall conform to the following:


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        A.   The Court requires concise, pertinent, and well-organized briefs and
             memoranda of law. Without leave of court, any original or initial opposition
             brief or memorandum shall be limited to 25 double-spaced pages, excluding
             exhibits. All pages must be numbered at the bottom.

        B.   Any reply or other supplemental memorandum shall be limited to ten (10)
             double-spaced and numbered pages, pursuant to Local Rule 7.7, and must
             be accompanied by a motion for leave to file. Unless otherwise ordered, if
             a motion is set for oral argument, the proposed reply memorandum must be
             filed no later than 12:00 p.m. on the third working day preceding the oral
             argument date. Thus, for example, if a motion is set for oral argument on a
             Wednesday, the proposed reply memorandum must be filed no later than
             12:00 p.m. on the preceding Friday. For motions not set for oral argument,
             the proposed reply memorandum should be filed as soon as is practicable,
             unless otherwise ordered. Finally, if time is of the essence, e.g. the proposed
             reply concerns to a motion scheduled to be considered immediately before
             trial, counsel should apprise chambers by email or phone to expect an
             imminent reply, and such reply shall be filed post haste.

        C.   Any brief or memorandum that has more than 15 pages must contain all
             items listed below. Briefs and memoranda that are 15 pages or less must
             contain items (3), (4), (5), (6), and (7) listed below.

             (1)    A table of contents setting forth the page number of each section,
                    including all headings designated in the body of the brief or
                    memorandum.

             (2)    A table of citations of cases, statutes, rules, textbooks, and other
                    authorities, alphabetically arranged. All citations to United States
                    Supreme Court cases should include a citation to the United States
                    Supreme Court Reporter.

             (3)    A short statement of the nature and stage of the proceeding. A
                    separate time line of relevant factual events and procedural history
                    is almost always helpful, and should be attached to the motion itself.

             (4)    A statement of the issues to be ruled upon by the Court and, with
                    respect to each issue, a short statement, supported by authority, of
                    the standard of review.

             (5)    A short summary of the argument.



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                 (6)    The argument shall be divided under appropriate headings
                        succinctly setting forth separate points.

                 (7)    A short conclusion stating the precise relief sought.

         D.      If a party cites legal authority not found in the United States Code, Supreme
                 Court Reporter, Federal Reporter, Federal Rules Decisions, Federal
                 Supplement, Southern Reporter, West’s Louisiana Revised Statutes and
                 Codes Annotated, or Westlaw, the relevant parts of such authority must be
                 submitted as an exhibit. If the authority is a case, the entire case must be
                 included.

          E.      One paper copy of any memorandum or brief that, together with its
                  exhibits, totals more than 100 pages, must be submitted to chambers when
                  filed. The submitted copy must include the case number, date filed, and
                  record document number information appearing along the top of
                  documents filed electronically utilizing the Court's CM/ECF system.

          F.      A party who submits more than five exhibits shall include a table of
                  contents describing each exhibit and listing the tab where it is located. All
                  exhibits submitted to chambers as a hard copy in support of a motion, brief,
                  or memorandum must be tabbed at the right margin. Exhibits shall not be
                  submitted in globo; multi-page exhibits shall be numbered on each page
                  for reference. All citations to an exhibit must refer to the letter or number
                  of its tab.

                 Citations to deposition or affidavit testimony must include the appropriate
                 page, line or paragraph numbers. Citations to other documents or materials
                 with three or more pages must include some sort of pinpoint citation. For
                 example, a contract may be cited by section number, an employee handbook
                 may be cited by page number, and a document without internal divisions
                 may be Bates-stamped or otherwise marked and cited accordingly.

         G.      All motions in limine for the second trial shall be filed and served on or
                 before December 6, 2018. Opposition memoranda shall be filed and served
                 on or before December 20, 2018, and reply memoranda shall be filed and
                 served on or before January 3, 2019. Such motions shall conform to the
                 provisions set forth hereinabove.

  5.     Disclosures:

  Counsel shall complete all disclosure of information as follows:



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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 512 of 657




        All parties have stipulated that initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) will
not be conducted in this case.

        6.      Discovery:

        This case involves extensive documentary evidence, depositions, and other discovery.

        For the 4 Trial Plaintiffs, second phase discovery and additional fact witness depositions
for use at the second trial shall be taken and all other fact discovery of the Defendants for trial shall
be completed no later than August 1, 2018.

     Expert depositions and discovery for use at the second trial shall be completed no later than
November 16, 2018.

       All discovery disputes shall be promptly brought before the assigned magistrate judge to
ensure that discovery may be completed within this deadline. Trial will not be continued because
of unresolved discovery disputes.

        7.      Amendments:

         Amendments to pleadings, third-party actions, cross-claims and counter-claims shall be
filed no later than June 29, 2018, in accordance with the Federal Rules of Civil Procedure and
Local Rule 7.6. Later amendments will not be allowed absent good cause, and may not be allowed
if the trial date is thereby jeopardized.

       Counsel adding new parties subsequent to the issuance of this Order shall provide each
new party with a copy of it. Pleadings responsive thereto, when required, shall be filed no later
than July 6, 2018.

        8.      Experts:

        Written reports of experts, as defined by Fed. R. Civ. P. 26(a)(2)(B), who may be witnesses
for plaintiffs shall be obtained and delivered to counsel for defendant as soon as possible, but in
no event later than August 31, 2018. The reports must fully set forth all matters about which the
expert will testify and the basis therefor.

        Written reports of experts, as defined by Fed. R. Civ. P. 26(a)(2)(B), who may be witnesses
for the second trial defendant shall be obtained and delivered to counsel for plaintiff as soon as
possible, but in no event later than October 1, 2018. The reports must fully set forth all matters
about which the expert will testify and the basis therefor.




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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 513 of 657




       Any expert witness who was previously deposed in this MDL, shall not be deposed again
absent good cause shown, unless such expert is offering a case-specific opinion or a new opinion
not previously disclosed.

       9.      Witnesses and Exhibits:

       Counsel for the parties are ordered to file in the record and serve upon their opponents a
preliminary list of all witnesses who may be called to testify at trial no later than July 13, 2018,
and a preliminary list of all exhibits that may be used at trial no later than November 19, 2018.

         Counsel for the parties are ordered to file in the record and serve upon their opponents a
final list of all witnesses who may or will be called to testify at trial, and all exhibits that may or
will be used at trial no later than December 3, 2018.

        Except by order issued on motion for good cause shown, the Court will not permit any
witness, expert or fact, to testify, or any exhibits to be used, unless there has been compliance with
this Order as it pertains to the witness and/or exhibits.

       10.     Final Pre-Trial Conference:

      A final Pre-Trial Conference will be held in chambers before the undersigned on
Thursday, January 17, 2019 at 9:00 a.m.

        The Final Pre-Trial Conference must be attended in person by the attorneys who will try
the case, unless, prior to the Conference, the Court grants permission for other counsel to attend.
Counsel must be prepared to discuss this case in detail, as set forth in paragraph 1. Attendance by
clients/client representatives is prohibited, unless specifically ordered by the Court.

        A joint proposed Pre-Trial Order must be submitted to chambers electronically or by-hand
no later than 4:00 p.m. on January 15, 2019. If submitted electronically, the joint proposed Pre-
Trial Order shall be emailed to eFile-Engelhardt@laed.uscourts.gov, with a copy to the assigned
law clerk. The joint proposed Pre-Trial Order submitted to the Court must be double spaced,
paginated, and signed by all counsel. It shall be in the precise form set forth in the attached “Pre-
Trial Order Instructions.”

       Final Pre-Trial Conferences will not be continued except for good cause shown in a written
motion presented sufficiently in advance of the Conference for opposing counsel to be notified.

        Failure on the part of counsel to appear at the Conference may result in sanctions, including
but not limited to sua sponte dismissal of the suit, assessment of costs and attorney fees, entry of
default judgment, or other appropriate sanctions.




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       11.     Trial:

        Trial will commence on/or during the week beginning MONDAY, January 28, 2019 at
8:30 A.M. before the District Judge with a jury. Except when Monday is a holiday or as otherwise
ordered by the Court, trial will commence on Monday. Attorneys are instructed to report for trial
no later than 30 minutes prior to the scheduled commencement time. The starting time on the first
day of a jury trial may be delayed or moved up because of jury pooling. Trial is estimated to last
10 days.

               A.       Hours: The Court’s hours during trial will vary depending upon the type of
                        case and the needs of the parties, counsel, witnesses, and the Court. Court
                        will normally convene at 8:30 a.m. and adjourn by 5:00 p.m., recessing for
                        lunch between approximately 11:45 a.m. and 1:00 p.m.

               B.       Access at Other Times: Counsel needing access to the courtroom to set up
                        equipment or exhibits before or after normal hours of court must arrange in
                        advance with the Case Manager to have the courtroom open.

               C.       Telephones: Absent an emergency, telephone messages for counsel and/or
                        witnesses will not be taken by the Judge’s staff.

               D.       Filing of Documents: Two copies of any documents filed immediately
                        prior to and during trial should be submitted to the Case Manager who is
                        present in the courtroom.

               E.       Witnesses: Counsel should bear in mind the Court’s hours and arrange for
                        witnesses accordingly. The Court will not recess to permit counsel to call a
                        missing witness unless he or she has been subpoenaed and has failed to
                        appear.

                F.       Jurors: Counsel shall not communicate with any juror or potential juror
                         in any way or by any means, including online via Facebook or any other
                         means of social media, using real or fictitious/alias identities. Counsel shall
                         not instruct any other person to do so, or solicit or plan to receive any such
                         information obtained in this fashion. Should counsel learn that anyone
                         associated with this trial has acted in violation of this paragraph, he/she
                         shall immediately advise the undersigned.

                G.       Seating:

                        (1)    The Court does not designate seating at counsel tables; this is
                               determined on a first-come, first-served basis on the first day of trial.



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                      (2)     Unless otherwise instructed, counsel and parties are to enter and
                              leave the courtroom only by the front doors; do not use the Court’s
                              entrance or the side entrances.

       12.     Conferences and Extensions:

        Deadlines, cut-off dates, or other limits fixed herein may only be extended by the Court
upon timely motion filed in compliance with Local Rules and upon a showing of good cause. Trial
will not be continued, even on joint motion, absent good cause or compelling reason. A trial
will not be continued because of the unavailability of a witness. Counsel should anticipate such
possibilities and be prepared to present testimony by written deposition, videotaped deposition, or
by stipulation. If a continuance is granted, however, deadlines and cut-off dates will not be
extended unless otherwise ordered by the Court.

       13.     Settlement:

        IT IS ORDERED, that a Settlement Conference will be held with Magistrate Judge North
prior to November 5, 2018.

       Only the Magistrate Judge, in his/her discretion, shall have the authority to cancel
and/or reset the settlement conference. The parties shall submit a Joint Confidential Status
Report to the Magistrate Judge no later than November 9, 2018 in the event a resolution has
not been reached by that date.

       14.     Courtroom Procedure and Conduct:

               A.     IT IS ORDERED that the following items are STRICTLY
                      PROHIBITED from entry into the courtroom: All portable
                      communication devices, including all cellular devices (cell phones,
                      smartphones, personal digital assistants, BlackBerrys, iPhones, Droids,
                      wristwatch cellular devices of any kind, etc.); ear piece devices (such as
                      Bluetooth); laptop computers (including iPads or other tablet-style
                      devices); and digital or other types of video cameras or recorders; google
                      glasses, wearable computers, or any other similarly functioning device. You
                      may turn in such devices to Susan Adams, judicial assistant in Section “N”,
                      upon arriving, and pick them up when you have completed business in
                      Section “N.”

               B.     The only exceptions to the above provision shall be (1) authorized court
                      personnel working on this trial; (2) law enforcement personnel (including
                      Court Security Officers and United States Marshals, but not witnesses)
                      participating in this trial as assigned by the Court; and (3) attorneys who are


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                     counsel of record and who are seated at counsel tables (not in the public
                     gallery), along with any paralegals or other staff seated at counsel tables
                     (not in the public gallery), who are utilizing laptop computers (including
                     iPads and comparable devices) provided that the use of any such device
                     shall not access or be accessed or connected to the internet, cellular network,
                     broad band, Wifi, or any other outside network designed to transmit or
                     receive messages, sounds or visual images to anyone outside the courtroom.
                     Prior to entry into the courtroom, counsel shall leave all other cellular phone
                     devices or other such electronic devices in Section “N” chambers.

              C.     Any person possessing a prohibited device within the Section “N”
                     courtroom in violation of Paragraph A shall be subject to (1) monetary
                     sanction and (2) expulsion and permanent prohibition from entry into the
                     courtroom for the duration of this trial, both in addition to having such
                     device confiscated and retained by the Court until trial of the matter is
                     complete.

              D.     IT IS FURTHER ORDERED that food and/or drink (including coffee and
                     bottled water) shall be prohibited from the Section “N” courtroom (Room
                     C-351) and any other designated “overflow” location (if separate from
                     Room C-351); likewise, attendees shall refrain from chewing gum and
                     wearing hats and/or sunglasses (over the eyes or on the head) in the Section
                     “N” courtroom, and shall remove same upon entry. Eating, smoking, and/or
                     reading newspapers or other impertinent books, magazines, etc., in the
                     Section “N” courtroom is strictly prohibited.

              E.     IT IS FURTHER ORDERED that any attempt to comment on or portray
                     (positively or negatively) an opinion of the evidence, a witness, the
                     attorneys, or the position of any party to these court proceedings through
                     physical gestures; facial expressions; audible reactions; or pre-planned,
                     organized or orchestrated selection of attire in the courtroom, shall be
                     prohibited. Offenders shall summarily be excused from the courtroom,
                     sanctioned, or both.

New Orleans, Louisiana, this 14th day off November, 2017.



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CLERK TO FORWARD COPY TO MAGISTRATE JUDGE


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                                  MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                             SECTION “N” (5)

THIS DOCUMENT RELATES TO:
ALL ACTIONS


                                 PRETRIAL ORDER NO. 70
                              (Regarding Contact with Physicians)


       The following will govern the parties’ interactions with an MDL Plaintiff’s prescribing and

treating physicians. As used in this order, an “MDL Plaintiff’s prescribing or treating physician”

is a physician who has one or more patients who have filed a lawsuit (or whose representative has

filed a lawsuit) pending in this MDL proceeding alleging that the patient sustained an injury caused

by docetaxel. A “prescribing physician” is the physician identified in Plaintiff’s Fact Sheet as the

physician who prescribed docetaxel to the Plaintiff, as recorded in MDL Centrality; a “treating

physician” is the physician who treated the injury alleged in the Plaintiffs’ Fact Sheet, as recorded

in MDL Centrality.

   1. Plaintiffs’ counsel may engage in ex parte communications with any MDL Plaintiff’s

       prescribing or treating physician. With respect to any such ex parte communications, at

       least 48 hours before the deposition of the Plaintiff’s prescribing or treating physician,

       Plaintiff’s counsel shall disclose to Defendants’ counsel each of the following:

           a. the date(s) of each such ex parte communication;

           b. the approximate duration of each such ex parte communication;
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       c. the location of each such ex parte communication;

       d. the participants in each such ex parte communication; and

       e. the identity of the documents, photographs, or other materials that were shown or

          provided to the treating physician by Plaintiffs’ counsel in connection with each

          such ex parte communication.

2. Defendants’ counsel will not engage in ex parte communications with any MDL Plaintiff’s

   prescribing or treating physician, except as permitted in paragraph 3 and its subdivisions

   and except that non-lawyer staff for Defendants’ counsel may contact the office of a

   prescribing or treating physician for purposes of deposition scheduling. Nothing herein

   shall bar any employee, agent or representative of the Defendants from engaging in

   communications with physicians in the ordinary course of business.

3. Going forward from the date of this Order, Defendants’ counsel may engage in ex parte

   communications with up to 30 MDL Plaintiffs’ prescribing or treating physicians (to be

   divided between the Defendants, collectively) for the purpose of obtaining physician-

   experts with respect to the trial Plaintiffs. In addition, Defendants’ counsel may retain as

   expert witnesses up to 20 MDL Plaintiffs’ prescribing or treating physicians (to be divided

   between the Defendants, collectively), no matter when the physicians were initially

   contacted by Defendants’ counsel.

       a. All ex parte communications by Defendants’ counsel with an MDL Plaintiff’s

          prescribing or treating physician prior to any fact deposition conducted of that

          physician must be limited to non-substantive discussions until the physician has

          affirmatively expressed a bona fide interest in being considered as a retained expert.


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     b. Defendants’ counsel shall not retain physician-experts who are prescribing or

        treating physicians of the trial Plaintiffs outlined in Case Management Order No. 3

        (“CMO 3”) [Doc. No. 669], until after those cases are tried, removed from the trial

        docket, or dismissed.

     c. Defendants’ counsel shall disclose to Plaintiffs’ counsel on the date set forth in

        CMO 3 for disclosure of testifying experts, the name of any testifying expert who

        per MDL Centrality has patients who are plaintiffs in the MDL proceeding, and the

        experts themselves shall have no further affirmative disclosure obligations. No

        disclosures pursuant to CMO 3 are necessary for consulting experts until such time

        as an expert is identified as a testifying expert. Consulting experts contacted or

        retained by Defendants’ counsel shall be subject to all of the requirements of this

        Order to the same extent as testifying experts, except that the disclosure

        requirements set forth in this subparagraph 3(c) shall not apply to consulting experts

        until they are identified as testifying experts.

     d. Defendants’ counsel may communicate with a prospective physician-expert about

        his or her general clinical experiences with docetaxel, provided the Defendants’

        counsel shall not communicate with a physician-expert who has acted as a

        prescribing or treating physician about any of his or her specific patients who has

        taken docetaxel.

     e. The Defendants shall not use a physician as a consulting or testifying expert in a

        case where that physician’s present or former patient is a plaintiff in that case.




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     f. Defendants may rely on the disclosures in Plaintiffs’ Fact Sheets as recorded in

        MDL Centrality at the time the physician-expert is retained, in determining whether

        a physician is an MDL Plaintiff’s prescribing or treating physician. Subsequent

        disclosures in Plaintiffs’ Fact Sheets as recorded in MDL Centrality shall not

        impact the count toward the cap in paragraph 3.

     g. The numerical limit in paragraph 3 above is subject to modification by agreement

        of the parties or by court order for good cause shown. The limitation shall be

        subject to re-evaluation by the Court should any additional plaintiffs subsequently

        be selected for discovery or trial.

     h. This order denies in part and grants in part “Sanofi-Aventis U.S. LLC and Sanofi

        US Services, Inc.’s Motion for Entry of a Protocol Regarding Ex Parte Contact

        With Physicians” [Doc. No. 917]. The Court overrules Defendants’ and Plaintiffs’

        objections to the extent this order is inconsistent with the positions of either party

        as articulated in their written submissions or oral argument.

     New Orleans, Louisiana, this 21st day of November 2017.




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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


IN RE: TAXOTERE (DOCETAXEL)   )                              MDL NO. 2740
PRODUCTS LIABILITY LITIGATION )
                              )                              SECTION: “N” (5)
                              )
THIS DOCUMENT RELATES TO:     )
ALL CASES                     )

                   CASE MANAGEMENT ORDER NO. 10
      (PROTOCOL FOR INITIAL PHASE OF CASE-SPECIFIC DISCOVERY
       FOR CASES IDENTIFIED IN CASE MANAGEMENT ORDER NO. 8A)

     The Court hereby Orders as follows:

  1. Applicability of Order. This protocol governs the initial phase of case-specific discovery

     for cases identified in Case Management Order No. 8A (“CMO No. 8A”) (Rec. Doc. 1099).

     The Federal Rules of Civil Procedure shall apply to these proceedings, subject to provisions

     permitting Court orders or stipulations by the Parties to make appropriate modifications.

  2. Expedited Plaintiff Fact Sheet and Defendant Fact Sheet Process.

     a. All Plaintiffs identified in CMO No. 8A shall, within twenty-one (21) days of this

         Order, make a good faith effort to cure or challenge deficiencies in the Plaintiff Fact

         Sheet (“PFS”) identified by Defendants. If a dispute remains following twenty-one

         (21) days and after a meet and confer, either Party may immediately seek determination

         of any deficiency issue by requesting a brief telephonic hearing before the Honorable

         Magistrate Judge Michael B. North. No formal briefing shall be required.

     b. For cases identified in CMO No. 8A, within fifteen (15) days after notice by Plaintiffs

         of any deficiency in a Defendant Fact Sheet (“DFS”), Defendants shall make a good

         faith effort to cure or challenge deficiencies identified by Plaintiffs. If a dispute remains

         following a Defendant’s good faith effort to cure or challenge and after a meet and


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      confer, either party may immediately seek determination of any deficiency issue by

      requesting a brief telephonic hearing before the Honorable Magistrate Judge Michael

      B. North. No formal briefing shall be required. All other provisions of Amended

      Pretrial Order No. 22 (Rec. Doc. 325) otherwise apply.

3. Case-Specific Depositions.

   a. Depositions in the initial phase of case-specific discovery for cases identified in CMO

      No. 8A shall be limited to the following: (1) the Defendant(s) may depose the Plaintiff

      and select three (3) additional witnesses to depose; and (2) Plaintiffs may select two (2)

      witnesses to depose. The parties shall meet and confer regarding the order of taking

      testimony and the allotment of time between the parties in the depositions. The parties

      shall meet and confer about whether additional depositions are reasonably necessary

      to determine if a case should be selected for trial. If an agreement cannot be reached,

      either party may immediately seek determination of the issue by requesting a brief

      telephonic hearing before Magistrate Judge Michael B. North. No formal briefing

      shall be required.

   b. The parties shall meet and confer regarding the timing of the depositions and if

      necessary seek determination of the issue by requesting a brief telephonic hearing

      before Magistrate Judge Michael B. North. No formal briefing shall be required.

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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                                  MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                             SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                                  PRETRIAL ORDER NO. 71
                   [Governing Plaintiffs’ Responsibilities Relevant to ESI]

       Concerned that certain Plaintiffs in this MDL do not appear to have adequately and timely

produced responsive electronically stored information (“ESI”) as required by the Plaintiff Fact

Sheet (“PFS”), the Court enters this Order governing Plaintiffs’ identification, preservation,

collection, and production of ESI. The Court also orders all Plaintiffs and their counsel to review

and familiarize themselves with the revised “Guidance Regarding Potential Sources of

Electronically Stored Information,” attached here as Exhibit A.

       1.      Applicability. This Order applies to all Plaintiffs in MDL 2740 and shall govern

all document requests served on Plaintiffs, including the document requests in Section IX of the

PFS and any future requests for production that may be served by Defendants.

       2.      Sources of ESI. To the extent a plaintiff used or maintained any of the following

ESI sources five (5) years prior to her docetaxel treatment or any time since her treatment, each

plaintiff shall search the following sources for responsive ESI, regardless of whether such sources

are currently in use by that plaintiff: (i) any email accounts used by plaintiff; (ii) any electronic

devices used by plaintiff (e.g., desktop or laptop computers, tablets, mobile phones, digital

cameras); (iii) any other hardware storage devices used by plaintiff (e.g., external hard drives,



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memory cards, USB or thumb drives, CDs/DVDs); (iv) any social media used by plaintiff (e.g.,

Facebook, Instagram, LinkedIn, Twitter, MySpace, YouTube, Pinterest, or other online

collaboration tools such as Google+ or Yahoo! groups); (v) any website where a plaintiff made

online postings (e.g., on a blog, message board, etc.); (vi) any cloud storage used by plaintiff (e.g.,

DropBox, Microsoft Office365 Account, Google Drive, iCloud, Amazon Drive, etc.).

        3.      Search obligations. Each plaintiff shall do reasonable searches on each of the

sources identified in ¶ 2 of this Order (to the extent they exist) to identify and collect potentially

responsive ESI for counsel review. Reasonably diligent searches may require running search

terms; reviewing files, communications, videos, and photographs; or otherwise conducting an

actual, physical search of the sources. Plaintiff’s counsel shall take an active role in identifying,

preserving, collecting, reviewing, and producing all responsive ESI. To the extent individual

plaintiff’s counsel has questions regarding these obligations, counsel shall consult with Plaintiffs’

Liaison Counsel (Palmer Lambert and Dawn Barrios), Karen Barth Menzies or Plaintiffs’ ESI

Consultant, Paul McVoy, for clarification.

        4.      Search terms. Where feasible, each plaintiff or her attorney shall run the following

terms through any available search function on the sources identified in ¶ 2. Each term should be

run separately: (a) breast cancer; (b) cancer; (c) chemotherapy; (d) chemo; (e) hair loss; (f) hair;

(g) bald; (h) taxotere; (i) docetaxel; (j) taxane; (k) alopecia; (l) sanofi; (m) pharmaceutical; (n) side

effect; (o) warning; and any other terms likely to retrieve a ESI response to a request for

production.

        5.      Production format. Plaintiffs shall produce all responsive ESI in a manner that

preserves any metadata. To the extent individual plaintiff’s counsel needs assistance in how to

properly preserve responsive metadata, counsel shall consult with Plaintiffs’ Liaison Counsel




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(Palmer Lambert and Dawn Barrios), Karen Barth Menzies or Plaintiffs’ ESI Consultant, Paul

McVoy. 1

        6.       Disclosures. Each plaintiff shall provide a written statement to Defendants signed

by the plaintiff and her attorney, which shall be produced along with the responsive documents.

To the extent that a plaintiff’s obligation to produce responsive documents has already come due

by way of a previously submitted PFS or other request for production by Defendants as of the date

of this Order, that plaintiff shall have 45 days from entry of this Order to produce the written

statement. The written statement shall provide:

             a. A description of any employer-owned email accounts, other individuals or other
                locations, and resources where responsive ESI may exist; and

             b. A description of unique, non-duplicative ESI within the scope of discovery that
                was lost or destroyed and whether plaintiff used any consumer backup tools (e.g.,
                Carbonite, Backblaze, Crashplan, etc.).

        7.       Rule 26(g) certification. Any statement, declarations or certifications made by a

plaintiff or her attorney regarding information and documents produced in discovery in this

litigation, including the PFS declaration and the disclosure required under ¶ 5 of this Order, shall

be subject to Rule 26(g)(3).

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 Email: counsel can collect the relevant .OST and .PST files from Outlook. See how to add email accounts to
Outlook at https://support.office.com/en-us/article/Outlook-email-setup-6e27792a-9267-4aa4-8bb6-c84ef146101b.
Facebook: see how to download Facebook data at https://www.facebook.com/help/131112897028467.
iPhone: see how to download iPhone data at https://support.apple.com/en-us/HT203977.
Computer zip files: see how to collect loose files using a .ZIP file at https://support.microsoft.com/en-
us/help/14200/windows-compress-uncompress-zip-files.


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                                            EXHIBIT A

Supplemental Guidance Regarding Potential Sources of Electronically Stored Information

       This document contains guidance on how a lawyer and her client can comply with their
shared discovery obligations relating to Electronically Stored Information (“ESI”). Individual
Counsel are reminded of their obligations under Federal Rule of Civil Procedure (FRCP) 26(g) to
conduct a “reasonable inquiry” into ESI. Individual Counsel are reminded of the preservation
requirements of PTO 1.

       As a reminder, the Plaintiff Fact Sheet requires that you produce with the fact sheet certain
documents and/or ESI. Specifically, you must produce [“Social media or internet posts to or
through any site (including, but not limited to, Facebook. MySpace, LinkedIn, Google Plus,
Windows Live, YouTube, Twitter, Instagram, Pinterest, blogs, and Internet chat rooms/message
boards) relating to Taxotere or Docetaxel or any of your claims in this lawsuit.”] (see PFS
[Document Request 18]) and representative photographs of your client from before her treatment,
during her treatment, 6 months after her treatment, and how your client looks today (see
[Document Requests 24-28]).

        Keep in mind, this guidance does not provide an exhaustive list of sources that any
individual may have, but it provides guidance on how you may discuss the information with your
clients. The most important thing is to try and get your clients to think about how they use their
computers, phones, and other technology so that you may then search those sources for potentially
discoverable information.

       Many times, individuals may not know what you mean with questions like “does your
phone automatically synch with the cloud?” because relatives might have helped them set up their
devices. When planning to talk with a client about these potential sources of discoverable
information, it can be helpful if the individual brings along her own personal “tech nerd” (which
may be a family member) to assist in answering questions.

         Throughout your conversations with your client, you should keep in mind that your goal is
to get that person to think about how they use technology now and how they have used technology
in the past. If you get pushback from your client, it often helps to remind her that these are typical
questions asked to everyone on both sides of the lawsuit. Assure your client of her privacy and that
both sides have a legal obligation to protect confidential information produced during the course
of the litigation.

        Another important area to cover with your clients is replacing the hardware they use, like
computers or phones. Individuals will often be involved in a case over many years and may not
realize that the desktop computers, phones or other devices they want to upgrade may contain
discoverable information. Have a discussion about future upgrades to devices and the importance
of keeping your office informed about hardware changes. Let them know that an upgrade is fine,
as long as the correct steps are taken to preserve the potentially discoverable information on the
device.



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        Finally, you only need to concern yourself with sources of information within the scope of
discovery. This can get confusing to people that are not accustomed to participating in litigation.
One example is for an individual that currently works and has a work email address. You should
only be interested in that email source IF the person sends or receives discoverable emails using
that account.

        With regard to specific sources, here are some helpful points to consider when helping your
clients think about how they communicate and store information.

       Traditional Electronically Stored Information. Email and user created documents are
what we often associate with ESI. You should consider discussing with your clients the various
email accounts they may use or may have used in the past that may contain information that may
be discoverable. Also, be sure to ask about old accounts that your clients may or may not have
access to anymore. In addition to email, be sure to ask your clients about where they save
documents that they may create, like journals or letters. It may be on a physical device or in some
cloud storage location.

        If your client says that she has emailed about her hair loss, it may be easiest to walk her
through searching that email for certain terms, like (by way of example), (a) breast cancer; (b)
cancer; (c) chemotherapy; (d) chemo; (e) hair loss; (f) hair; (g) bald; (h) taxotere; (i) docetaxel; (j)
taxane; (k) alopecia; (l) sanofi; (m) pharmaceutical; (n) side effect; (o) warning; and any other
terms likely to retrieve a ESI response to a request for production. Remember, your client has
probably never had to search for and turn emails over to a lawyer. So, you should do more than
tell your client she needs to send you emails and pictures relating to her chemotherapy and hair
loss.

        Social Media. More and more individuals communicate about their lives using social
media. Exploring the individual’s use of social media is important. In addition to the usual
questions about Facebook and twitter, try and consider asking about applications that the person
might not realize are social media, like LinkedIn or Flickr. Keep in mind that some clients may
say that they do not use social media, but during the course of the conversation will realize that
they do. You should identify both current and past accounts that your client may have used.

       Text or Instant messages. Younger people may utilize text messaging more often than
older people, but you should still discuss the use of these services with everyone.

       Photographs. The Plaintiff Fact Sheets calls for the production of certain photographs.
Photographs that your client may have to produce with the PFS may be in electronic format. You
should make every effort to collect those photographs from your client in a way that preserves the
metadata with the photographs, such as the date taken. This guidance also applies to other
documents or information your client may have. To the extent it is proportional and not unduly
burdensome, you should try to get the information in an electronic format that preserves the
information’s metadata and upload that through MDL Centrality.

      Many attorneys have been uploading PDFs of pictures with dates written or typed on the
PDF. Where possible, you should upload to Centrality a copy of the original digital file, for
example a .jpeg file and use a different method of indicating the date (such as putting the date in
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the file name). It is not helpful to print a picture that was originally in electronic form and scan it
back in, or take a picture of an electronic picture and submit that file because all potential date
information is lost. Often times, the digital version of the picture will retain in its metadata the
“date taken.” We have confirmed with the Centrality administrator that Centrality leaves this
metadata information intact. If you want to be sure that the date information is uploaded, you can
also put the date of the photograph in the name of the picture file and the “document type
description” on MDL Centrality.

        The Court has made clear that it is the Plaintiff’s obligation to provide photographic
evidence which accurately and adequately reflects Plaintiff’s hair loss injuries. Providing
sufficient photographs within 5 years prior to chemotherapy, which depict Plaintiff’s hair prior to
treatment with Taxotere, and providing sufficient current photographs, which demonstrate
plaintiff’s current hair loss following treatment with Taxotere, is needed to prove the client’s claim.

        Technology has become so pervasive in our world that oftentimes people forget about how
much they use it to communicate with their community of friends, family and others. It is
incumbent on each attorney to gently but firmly probe the responses to the PFS. If a client indicates
that she has no or very few photographs, probe beyond that initial answer. Were her children or
spouse with her at her chemotherapy treatments? Might they have pictures on their phones from
before, during or after chemotherapy treatments? Does a parent, child, or spouse have recent
picture on their phones? It should be helpful if you explain to your client why these pictures are
crucial to her case – so she understands that they are an important part of proving her case.

       Having a conversation with your clients about how they communicate and store
information up front will help focus your clients on areas that may need to be searched to see if
they have potentially discoverable information. This process will help your clients help themselves
by enabling the collection and production of the information now so as to avoid a spoliation issue
down the road. Also, as lawyers, you have all seen defense counsel ask a plaintiff about how
they communicate in depositions and whether they have information that they have not given
you. Use your experience as a lawyer, having seen what defendants look for, to also help guide
you through this process.


                    The PSC has lawyers who can assist your office if your staff has
                    general questions on how to talk to your clients about ESI, how
                    to retrieve ESI, how to upload it to Centrality, and how to
                    respond to deficiencies. Please use these lawyers as a resource.
                    For ESI-related questions, you can contact Zachary L. Wool at
                    (504) 524-3300 or zwool@bkc-law.com, or you can contact
                    Abby        McClellan       at      (816)      714-7123       or
                    mcclellan@stuevesiegel.com.




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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


 IN RE: TAXOTERE (DOCETAXEL)                                       MDL NO. 2740
 PRODUCTS LIABILITY LITIGATION
                                                                   SECTION “N” (5)

 THIS DOCUMENT RELATES TO:
 ALL CASES

                               PRETRIAL ORDER NO. 72
        [Dismissal of Sanofi S.A. and Aventis Pharma S.A. (“French Defendants”)]

       On November 3, 2017, Plaintiffs in this MDL, through the Plaintiffs’ Steering Committee,

and Defendants, Sanofi S.A., Aventis Pharma S.A., Sanofi-Aventis U.S. LLC, and Sanofi US

Services Inc., through their counsel, filed a “Stipulation of Terms Related to Defendants, Sanofi

and Aventis Pharma S.A.” (Rec. Doc. 1072). Thus, pursuant to the parties’ stipulation, IT IS

ORDERED that Sanofi S.A. and Aventis Pharma S.A. (“French Defendants”) are DISMISSED

WITHOUT PREJUDICE.

       IT IS FURTHER ORDERED that in order to facilitate the efficient termination of the

French Defendants in the individual member cases within the Court’s CM/ECF system, liaison

counsel shall provide a list of cases in which the French Defendants have been named to the Court

on or before Monday, January 22, 2018.

       New Orleans, Louisiana, this 4th day of January 2018.




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                                            UNITED STATES DISTRICT
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE: TAXOTERE (DOCETAXEL)                                                   MDL 2740
PRODUCTS LIABILITY LITIGATION


THIS DOCUMENT RELATES TO:                                                     SECTION “N” (5)
ALL CASES

                            PRETRIAL ORDER NO. 73
[Granting Defendants’ Motion for Substitution of Second Amended Exemplar Short Form
            Complaint and Amending the Exemplar Short Form Complaint]

        On December 14, 2017, Defendants filed a Motion for Substitution of Second Amended

Exemplar Short Form Complaint (Rec. Doc. 1254), through Defendant’ Liaison Counsel, with the

consent of Plaintiffs, through Plaintiffs’ Liaison Counsel;

        IT IS ORDERED that the Motion for Substitution of Second Amended Exemplar Short

Form Complaint be and is hereby GRANTED and the version of the Short Form Complaint

attached as Exhibit A to this Order 1 is substituted in place of the current Amended Exemplar Short

Form Complaint that is found as Exhibit A (Rec. Doc. 318-1) to Pretrial Order No. 37 (Rec. Doc.

318).

        Counsel are directed to only use this Court-approved version of the Short Form Complaint,

which is effective as of January 4, 2018. This form is available on the Court’s Taxotere webpage

as well as through MDL Centrality. Counsel are further instructed that this Order does not require


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        While the version of the Short Form Complaint adopted by this Court is substantively the
same as the proposed Second Amended Short Form Complaint (Rec. Doc. 1254-2) submitted by
counsel, the Court has made changes to the title of the Short Form Complaint. The Court-approved
version of the Short Form Complaint that is attached to this Order and also found as Exhibit A
(Rec. Doc. 318-1) to Pretrial Order No. 37 (Rec. Doc. 318) is entitled “Short Form Complaint
(Effective as of January 4, 2018)” for purposes of clarity. Furthermore, the Court has inserted a
footnote after this title to explain that this version of the Short Form Complaint shall supersede all
other versions and should be the only version used by counsel for future filings.
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counsel who have previously filed a Short Form Complaint on an old version of the form to refile

                                           on of the form.
a Short Form Complaint on the updated version

       New Orleans, Louisiana, this 4th day of January 201
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                                                       2018.

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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                                    :   MDL NO. 2740
PRODUCTS LIABILITY LITIGATION                                  :
                                                               :   SECTION “N” (5)
                                                               :   JUDGE ENGELHARDT
                                                               :   MAG. JUDGE NORTH
                                                      ,        :
                                                               :   COMPLAINT & JURY DEMAND
         Plaintiff(s),                                         :
                                                               :   Civil Action No.:
vs.                                                            :
                                                               :
                                                               :
                                                      ,        :
                                                               :
         Defendant(s).                                         :
-------------------------------------------------------------- :


                  SHORT FORM COMPLAINT (Effective as of January 4, 2018) 1

           Plaintiff(s) incorporate by reference the Amended Master Long Form Complaint and Jury

Demand filed in the above-referenced case on July 25, 2017. Pursuant to Pretrial Order No. 15,

this Short Form Complaint adopts allegations and encompasses claims as set forth in the Amended

Master Long Form Complaint against Defendant(s).

           Plaintiff(s) further allege as follows:

    1.        Plaintiff:




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           This version of the Short Form Complaint supersedes all prior versions of the form
           pursuant to Pretrial Order No. 73. This Court-approved version of the Short Form
           Complaint is available on the Court’s Taxotere webpage and through MDL Centrality.



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2.       Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss

         of consortium):



3.       Other type of Plaintiff and capacity (i.e., administrator, executor, guardian,

         conservator):



4.       Current State of Residence:

5.       State in which Plaintiff(s) allege(s) injury:

6.       Defendants (check all Defendants against whom a Complaint is made):

         a.     Taxotere Brand Name Defendants

                         A.     Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.

                         B.     Sanofi-Aventis U.S. LLC

         b.     Other Brand Name Drug Sponsors, Manufacturers, Distributors

                         A.     Sandoz Inc.

                         B.     Accord Healthcare, Inc.

                         C.     McKesson Corporation d/b/a McKesson Packaging

                         D.     Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc.

                         E.     Hospira, Inc.

                         F.     Sun Pharma Global FZE

                         G.     Sun Pharmaceutical Industries, Inc. f/k/a Caraco Pharmaceutical
                                Laboratories Ltd.
                         H.     Pfizer Inc.

                         I.     Actavis LLC f/k/a Actavis Inc.

                         J.     Actavis Pharma, Inc.




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                         K.        Other:




7.       Basis for Jurisdiction:

                  Diversity of Citizenship

                  Other (any additional basis for jurisdiction must be pled in sufficient detail as
                  required by the applicable Federal Rules of Civil Procedure):




8.       Venue:

         District Court and Division in which remand and trial is proper and where you might
         have otherwise filed this Short Form Complaint absent the direct filing Order entered by
         this Court:




9.       Brand Product(s) used by Plaintiff (check applicable):

                  A.     Taxotere

                  B.     Docefrez

                  C.     Docetaxel Injection

                  D.     Docetaxel Injection Concentrate

                  E.     Unknown

                  F.     Other:




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10.       First date and last date of use (or approximate date range, if specific dates are unknown)
          for Products identified in question 9:




11.       State in which Product(s) identified in question 9 was/were administered:




12.           Nature and extent of alleged injury (including duration, approximate
              date of onset (if known), and description of alleged injury):




13.           Counts in Master Complaint brought by Plaintiff(s):

                     Count I – Strict Products Liability - Failure to Warn
                     Count III – Negligence
                     Count IV – Negligent Misrepresentation
                     Count V – Fraudulent Misrepresentation
                     Count VI – Fraudulent Concealment
                     Count VII – Fraud and Deceit

                     Other: Plaintiff(s) may assert the additional theories and/or
                     State Causes of Action against Defendant(s) identified by
                     selecting “Other” and setting forth such claims below. If
                     Plaintiff(s) includes additional theories of recovery, for
                     example, Redhibition under Louisiana law or state consumer
                     protection claims, the specific facts and allegations supporting
                     additional theories must be pleaded by Plaintiff in sufficient
                     detail as required by the applicable Federal Rules of Civil
                     Procedure.




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14.       Name of Attorney(s), Bar Number(s), Law Firm(s), Phone Number(s),
          Email Address(es) and Mailing Address(es) representing Plaintiff(s):

                                        By:




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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

    IN RE: TAXOTERE (DOCETAXEL)                                       MDL NO. 2740
    PRODUCTS LIABILITY LITIGATION
                                                                      SECTION “N” (5)

    THIS DOCUMENT RELATES TO:
    ALL CASES

                                PRETRIAL ORDER NO. 74
                      [Procedures for Withdrawal of Plaintiff’s Counsel]

        This Order governs the procedure for all pending and future Motions for the Withdrawal

of Plaintiff’s Counsel.

1.      In addition to satisfying the requirements of Local Rule 83.2.11 of this Court and the

        applicable state Rules of Professional Conduct, a Motion for the Withdrawal of Plaintiff’s

        Counsel which would leave the plaintiff unrepresented, even temporarily, requires leave

        of Court and must be accompanied by the following to be considered by the Court:

        (a)    a written certification by moving counsel that Defendants’ Liaison Counsel and

               the Contact Counsel for each named and served Defendant1 have been contacted

               in writing at least fourteen (14) days prior to the filing of the motion and all served

               Defendants have responded in writing with either their consent to or no intention

               to oppose the motion, or have responded in writing that the motion is opposed.

               Absent such written certification, the Clerk of Court is directed not to accept the

               motion for filing;



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      See Exhibit “A” to this Order for the current list of names of Contact Counsel for each
Defendant.


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  (b)   a written statement by moving counsel indicating whether or not each Plaintiff

        subject to the motion has communicated to moving counsel an objection to the

        requested withdrawal, and whether the Plaintiff has communicated an intention to

        obtain other counsel, and, if so, also has indicated the expected length of time

        required to do so. When moving counsel has been unable to communicate with the

        Plaintiff due to Plaintiff being unresponsive to Plaintiff’s counsel’s efforts to

        communicate with Plaintiff, moving counsel, as required by Local Rule 83.2.11,

        must submit in an affidavit (1) a statement that all reasonable efforts were made to

        communicate with the Plaintiff, such as by telephone, email, text message and

        certified mail, return receipt requested, and (2) detailed information for each

        attempted communication. Moving counsel shall attach to the affidavit copies of

        the return receipts of any certified letters mailed to the Plaintiff in the course of

        efforts to communicate with her, and also shall preserve for potential Court review

        in camera copies of all text messages, emails and letters sent in the course of efforts

        to communicate with the Plaintiff. Moving counsel’s inability to communicate

        with the client will not necessarily result in permission to withdraw as counsel;

  (c)   a written statement by moving counsel indicating whether or not (1) each Plaintiff

        subject to the motion has complied with Amended Pretrial Order No. 22 (Rec. Doc.

        325), which requires service via MDL Centrality of a Plaintiff Fact Sheet (PFS) in

        these proceedings within seventy-five (75) days from the date the case is docketed

        in this MDL, or is otherwise timely if the law firm has more than twenty-five (25)

        PFS due on the same day and (2) such Plaintiff is subject to a show cause order. If

        the Plaintiff does not comply with Court Orders (including the submission of a



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              completed PFS) as a result of being out of communication with the moving

              counsel, the Court may in its discretion dismiss the Plaintiff’s case.

2.     This Order shall apply to motions filed hereafter and previously filed but still pending

       motions of Plaintiff’s counsel to withdraw, and counsel seeking to withdraw shall amend

       or supplement the motion in order to comply with the provisions of this Order.

3.     All motions of Plaintiffs’ counsel to withdraw, which are opposed by one or more

       Defendants, shall be noticed for hearing by moving counsel only on a date specified by

       the Court as the date for a general status conference in these proceedings, and any needed

       argument on such motions will be conducted immediately following the status conference

       on that date. For a motion to withdraw as counsel to be noticed for hearing at the status

       conference, however, the motion must be filed at least twenty-one (21) days before the

       conference.

              New Orleans, Louisiana,, this 4th day
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                                                             y 2018.




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                                    EXHIBIT “A”


Julie A. Callsen                             Counsel for Defendant Accord Healthcare
Brandon D. Cox                               Inc.
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Cleveland, OH 44113-7213
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julie.callsen@tuckerellis.com
brandon.cox@tuckerellis.com




R. Clifton Merrell                           Counsel for Defendant Sandoz, Inc.
Evan Holden
GREENBERG TRAURIG, LLP
Terminus 200
3333 Piedmont Road NE, Suite 2500
Atlanta, GA 30305
Telephone: 678-553-2100
Facsimile: 678-553-2100
cohenl@gtlaw.com
merrellc@gtlaw.com
holdene@gtlaw.com


Mark S. Cheffo                               Counsel for Defendants Hospira, Inc.,
Mara Cusker Gonzalez                         Hospira Worldwide, LLC, formerly doing
QUINN EMANUEL URQUHART &                     business as Hospira Worldwide, Inc., and
SULLIVAN, LLP                                Pfizer Inc.
51 Madison Ave., 22nd Floor
New York, NY 10010
Telephone: 212-849-7000
Facsimile: 212-849-7100
markcheffo@quinnemanuel.com
maracuskergonzalez@quinnemanuel.com




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Harley V. Ratliff                       Counsel for Defendants Sanofi-Aventis U.S.
Kelly Bieri                             LLC and Sanofi U.S. Services Inc.
SHOOK, HARDY& BACON L.L.P.
2555 Grand Boulevard,
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Telephone: 816-474-6550
Facsimile: 816-421-5547
hratliff@shb.com
kbieri@shb.com



Erin M. Bosman                          Counsel for Defendant McKesson
Julie Y. Park                           Corporation d/b/a McKesson Packaging
MORRISON & FOERSTER LLP                 Service
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Telephone: 858-720-5100
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ebosman@mofo.com
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Geoffrey M. Coan                        Counsel for Defendant Sun
Kathleen E. Kelly                       Pharmaceuticals Industries, Inc. f/k/a
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kbeck@ulmer.com



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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)   )                                               MDL No. 2740
PRODUCTS LIABILITY LITIGATION )
                              )                                               SECTION: “N” (5)
                              )
THIS DOCUMENT RELATES TO:     )
ALL ACTIONS                   )

                              CASE MANAGEMENT ORDER NO. 12
                             (PRODUCT IDENTIFICATION ORDER)

        Amended Pretrial Order No. 22 (Rec. Doc. 325) requires each Plaintiff to submit to the

Defendants a complete and verified Plaintiff Fact Sheet (“PFS”) to be accompanied by all

responsive documents in Plaintiff’s possession within seventy-five (75) days of the date the case

is docketed in this MDL. The PFS has both questions related to the identification of the

Taxotere/docetaxel/docefrez (“docetaxel”) infused and to the production of records to identify the

manufacturer of the docetaxel infused. See Pretrial Order 18, Attachment 1 (Rec. Doc. 236-1).1

        Recognizing the importance of determining product identification in MDL 2740, IT IS

ORDERED that:

        1.       Within fifteen (15) days of the entry of this Order, or within thirty (30) days after

filing a Short Form Complaint, each Plaintiff must make a diligent, good faith, and documented

effort to: (a) determine the facility, center, hospital, or clinic (hereinafter “infusion facility”) in

which the Plaintiff was infused with docetaxel; (b) determine the time frame Plaintiff was treated

with docetaxel at such infusion facility; and (c) request, order, and ultimately pay for medical,



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    Pretrial Order No. 18 (Rec. Doc. 236) requires each Plaintiff’s PFS to be accompanied by any “records
    demonstrating use of Taxotere® or other docetaxel” in the Plaintiff’s possession. If the manufacturer of such
    docetaxel is unknown, the Plaintiff must certify to have made “reasonable, good faith efforts to identify the
    manufacturer of the Docetaxel used in my treatment, including requesting records from my infusion pharmacy.”
    See Pretrial Order No. 18, Attachment 1 at Part III (Rec. Doc. 236-1).

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pharmacy, billing (i.e., a patient itemized statement), and/or insurance billing records from such

infusion facility containing the National Drug Code (“NDC”) number(s) for the docetaxel Plaintiff

received, or other proof of the identity of the manufacturer of the docetaxel Plaintiff received as

provided in Paragraph 6 of this Order (“Product ID Information”). All initial requests for records

containing Product ID Information shall be in writing and accompanied by a medical authorization

signed by the Plaintiff. Plaintiff is strongly encouraged to contact the infusion facility by telephone

before sending such written request to determine where and/or to whom such written request(s)

should be sent. 2 The written request shall request production of such Product ID Information no

more than thirty (30) days after the written request. If Plaintiffs have substantially complied with

these obligations prior to the entry of this Order, they shall notify Defendants in accordance with

Paragraph 3 of this Order, within seven (7) days of entry of this Order.

        2.       If records are not received within thirty (30) days of the issuance of the written

request, Plaintiff shall make a diligent, good faith, and documented effort to follow-up with the

infusion facility in writing and/or by phone to obtain (i) Product ID Information; or (ii) written

notice that the infusion facility either does not possess Product ID Information or will not provide

Product ID Information to Plaintiff.

        3.       If Plaintiff has not received Product ID Information within thirty (30) days of the

Plaintiff’s initial written request, or if Plaintiff receives written notice from the infusion facility

that it does not possess or will not disclose Product ID Information to Plaintiff, Plaintiff shall notify

the named Defendant(s) in writing within seven (7) days, through Defense Liaison Counsel (John



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    Plaintiffs should recognize that infusion facilities may maintain and/or store patient records in different
    departments and/or locations. For instance, medical records may be maintained in the records department while
    billing records may be maintained in the billing department.

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Olinde – 505b2liaison@chaffe.com and Douglas Moore – dmoore@irwinllc.com) and the contact

person for the Defendant(s) named and served in the lawsuit,3 that Product ID Information has not

been received and shall provide Defendant(s) with the following information: (i) Plaintiff’s name;

(ii) Plaintiff’s MDL case number; (iii) copies of all written requests for Product ID Information

sent by Plaintiff to the infusion facility; (iv) copies of all documented responses from the infusion

facility to Plaintiff; and (v) an executed certification by Plaintiff or Plaintiff’s counsel certifying

that Plaintiff has made a diligent, good faith, and documented effort to obtain Product ID

Information.

        4.       Within fourteen (14) days of receiving notice from Plaintiff that Plaintiff has not

obtained Product ID Information, each named and served Defendant shall determine whether it

possesses Product ID Information for Plaintiff. If the named and served Defendant possesses

Product ID Information, it shall provide all parties to the action with such Product ID Information

within the fourteen (14) day period. If a named and served Defendant does not possess Product

ID Information, within twenty-one (21) days of notification to the Defendants that Plaintiff has

taken all the steps described above, the named and served Defendants shall collectively send one

letter to the infusion facility, identifying themselves as manufacturers of docetaxel and requesting

Product ID Information to be produced within fourteen (14) days of receipt of the letter. If the

infusion facility provides Product ID Information, Defendants shall provide counsel for Plaintiff

and Plaintiffs’ Liaison Counsel a copy of the response from the infusion facility within seven (7)

days of receipt of the Product ID Information.              Should the infusion facility fail to provide the

Defendants with Product ID Information within thirty (30) days of Defendants’ letter to the



3
    The name and email address of the contact person for each Defendant are listed in Exhibit A attached hereto.

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infusion facility, Defendants shall provide counsel for Plaintiff a copy of the request letter to, and

any responses from, the infusion facility.

        5.        Within seven (7) days of Plaintiff receiving notice that named Defendant(s) do not

possess Product ID Information after Defendants have taken the steps set forth in the preceding

paragraph, Plaintiff shall issue a subpoena requiring the infusion facility to release Product ID

Information within fourteen (14) days. Plaintiff shall provide a copy of the subpoena pursuant to

FRCP 45, through Defense Liaison Counsel (John Olinde – 505b2liaison@chaffe.com and

Douglas Moore – dmoore@irwinllc.com) and the contact person for the Defendant(s) named and

served in the lawsuit. 4 If the infusion facility fails to comply with the subpoena, the Court shall

take appropriate action.

        6.        The following information is presumed sufficient evidence to establish the identity

of the manufacturer(s) or labeler of docetaxel in this MDL:

             a.       National Drug Code ( “NDC”) numbers contained in a patient’s medical,

                      pharmacy, billing or insurance records; or

             b.       A Certificate of Authenticity of Product Identification Administered

                      (“Certification”) identifying the manufacturer(s) or labeler for Plaintiff and the

                      correct dates of treatment, signed by an authorized person on behalf of the

                      patient’s infusion pharmacy, treatment facility, or other authorized health care

                      professional. Such Certification need not be notarized and can be in the form

                      of the Certification attached hereto as Exhibit B.




4
    The name and email address of the contact person for each Defendant are listed in Exhibit A attached hereto.

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               c.       Medical and/or billing records showing that docetaxel was administered prior

                        to March 8, 2011, is evidence that the docetaxel was manufactured by sanofi.

         7.         If Plaintiff obtains Product ID Information, Plaintiff shall upload such evidence to

MDL Centrality within seven (7) days of receipt of such evidence. Plaintiff shall submit such

evidence under the “Product Identification” document type field.

         8.         Where Product ID Information exists, Defendants in MDL 2740 will not dispute

such evidence without offering testimonial or documentary evidence to rebut the presumption. If

any party obtains contrary testimonial or documentary evidence regarding Product ID Information,

it shall notify counsel for all named parties of the existence of such evidence within seven (7) days

of its discovery. If such evidence is not produced by the close of discovery once a case is identified

in a trial scheduling order, the existing Product ID Information will be deemed affirmative

evidence of the identity of the manufacturer or labeler of a plaintiff’s docetaxel, absent good cause

shown.

         9.         Within fourteen (14) days of the date Plaintiff uploads the Product ID Information

to MDL Centrality, Plaintiff shall voluntarily dismiss any and all named Defendants not identified

by the Product ID Information.

         10.        If Plaintiff fails to voluntarily dismiss any Defendant not identified by the Product

ID Information within fourteen (14) days of the date Plaintiff uploads such evidence to MDL

Centrality, such Defendant may place the issue on the Agenda for the next Status Conference. No

briefing is required. Twenty-one (21) days prior to the next Status Conference, Defense Liaison

Counsel shall identify to Plaintiffs’ Liaison Counsel the cases Defendants intend to place on the

Agenda for the next Status Conference pursuant to this Order. Any case naming Defendants

without proper Product ID Information at the time of that Status Conference will be subject to an

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Order to Show Cause, returnable at the following Status Conference, which will require Plaintiff

to show cause why her claims against said Defendant (s) should not be dismissed.

       11.     Any Plaintiff who has served a PFS as of the date of this Order and fails to comply

with the requirements of Paragraphs 1-3 within forty-five (45) days of this Order, or fails to comply

with the requirements of Paragraph 5, shall be subject to dismissal upon motion by Defendants,

absent good cause shown. For all other Plaintiffs, failure to comply with Paragraphs 1-3 of this

Order within the time permitted to serve a PFS under Amended Pretrial Order No. 22 (Rec. Doc.

325), or failure to comply with the requirements of Paragraph 5 of this Order, shall subject such

Plaintiff to dismissal upon motion by Defendants, absent good cause shown.

       12.     Any Plaintiff who lacks Product ID Information after complying with Paragraphs

1-5 of this Order shall be authorized to conduct discovery to the relevant infusion facility,

distributor, and healthcare providers, limited in scope solely to determine Product ID Information,

for a period of no more than seventy-five (75) days from the issuance date on the subpoena issued

pursuant to Paragraph 5 of this Order, regardless of whether a response is provided by the infusion

facility. If Product ID Information is not determined following the 75-day period set forth above,

Plaintiff’s case may be subject to dismissal upon motion by any named Defendant.

       New Orleans, Louisiana, this 12th day of January 2018.



                                                      ________________________________
                                                      KURT D. ENGELHARDT
                                                      UNITED STATES DISTRICT JUDGE




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                                    EXHIBIT A


Julie A. Callsen                            Counsel for Defendant Accord Healthcare
Brandon D. Cox                              Inc.
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Cleveland, OH 44113-7213
Telephone: 216-592-5000
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noproductid@tuckerellis.com


R. Clifton Merrell                          Counsel for Defendant Sandoz, Inc.
Evan Holden
GREENBERG TRAURIG, LLP
Terminus 200
3333 Piedmont Road NE, Suite 2500
Atlanta, GA 30305
Telephone: 678-553-2100
Facsimile: 678-553-2100
Sandoz-Taxotere-ProdID@gtlaw.com


Mara Cusker Gonzalez                        Counsel for Defendants Hospira, Inc.,
Sara Roitman                                Hospira Worldwide, LLC, formerly doing
QUINN EMANUEL URQUHART &                    business as Hospira Worldwide, Inc., and
SULLIVAN, LLP                               Pfizer Inc.
51 Madison Ave., 22nd Floor
New York, NY 10010
Telephone: 212-849-7000
Facsimile: 212-849-7100
docetaxelproductid@quinnemanuel.com


Harley V. Ratliff                           Counsel for Defendants Sanofi-Aventis U.S.
Kelly Bieri                                 LLC and Sanofi U.S. Services Inc.
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2555 Grand Boulevard,
Kansas City, MO 64108
Telephone: 816-474-6550
Facsimile: 816-421-5547
noproductid@shb.com



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Erin M. Bosman                          Counsel for Defendant McKesson
Julie Y. Park                           Corporation d/b/a McKesson Packaging
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Geoffrey M. Coan                        Counsel for Defendant Sun
Kathleen E. Kelly                       Pharmaceuticals Industries, Inc. f/k/a
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Telephone: 617-213-7000
Facsimile: 617-213-7001
docenoprodid@hinshawlaw.com


Sheryl Ritter                           Counsel for Defendant Actavis Pharma,
Kimberly L. Beck                        Inc.
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sritter@ulmer.com
kbeck@ulmer.com




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        STATEMENT REGARDING CHEMOTHERAPY DRUG ADMINISTERED
PATIENT NAME:

DATE OF BIRTH:          /         /                                                 SSN:        /        /


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        ***PLEASE MARK THE NDC FOR THE TAXOTERE/DOCETAXEL ADMINISTERED ȗȗȗ

SANOFI AVENTIS US LLC                           ACCORD                               DR REDDYS LAB LTD.
   ප0075-8003-01                          HEALTHCARE, INC.                              ප43598-258-11
   ප0075-8004-04                            ප16729-120-49 KIT                          ප43598-259-40
                                             ප16729-228-50 KIT
SANOFI AVENTIS US LLC                        ප16729-267-63                          TEVA PHARMS USA
d/b/a WINTHROP US                            ප16729-267-64                              ප0703-5720-01
   ප0955-1020-01                            ප16729-267-65                              ප0703-5730-01
   ප0955-1021-04
                                          SAGENT PHARMACEUTICALS                     NORTHSTAR RX LLC
HOSPIRA, INC.                                 ප25021-222-01                            ප16714-465-01
  ප0409-0201-02                              ප25021-222-04                            ප16714-500-01
  ප0409-0201-10                              ප25021-222-07
  ප0409-0201-20                                                                     EAGLE PHARMACEUTICALS
  ප0409-0201-25                          PFIZER LABORATORIES                            ප42367-121-25
  ප0409-0201-26                              ප0069-9141-11                             ප42367-121-29
  ප0409-0201-27                              ප0069-9141-22
                                              ප0069-9142-11                         SUN PHARMACEUTICAL
McKESSON PACKAGING                            ප0069-9142-22                         INDUSTRIES, INC.
SERVICES                                      ප0069-9144-11                             ප47335-285-41
   ප63739-932-11                                                                        ප47335-286-41
   ප63739-971-17                         ACTAVIS PHARMA, INC.
                                              ප45963-734-54                         ප PATIENT WAS NOT
SANDOZ INC.                                   ප45963-765-52                         ADMINISTERED
   ප66758-050-01                             ප45963-781-74                         TAXOTERE/DOCETAXEL
   ප66758-050-02                             ප45963-790-56
   ප66758-050-03                                                                    PATIENT
   ප66758-950-02                                                                    ප WAS / පWAS NOT
   ප66758-950-03                                                                    ADMINISTERED
   ප66758-950-04                                                                    TAXOL/PACLITAXEL



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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                                MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                           SECTION “N” (5)

THIS DOCUMENT RELATES TO:
ALL CASES

                           PRETRIAL ORDER NO. 75
                  [APPOINTMENT OF COUNSEL WITHIN MDL 2740]

       Throughout the progression of MDL No. 2740, In re: Taxotere (Docetaxel) Products

Liability Litigation, the Court appointed counsel to various positions for a term until January 1,

2018. These appointments include: (1) Plaintiffs’ Liaison Counsel (Rec. Doc. 104); (2)

Defendants’ Liaison Counsel (Rec. Doc. 104); (3) Plaintiffs’ Steering Committee (Rec. Doc. 104);

(4) Plaintiffs’ Settlement Committee (Rec. Doc. 133); (5) Defendants’ Settlement Committee

(Rec. Doc. 133); (6) Plaintiffs’ Federal-State Liaison Counsel (Rec. Doc. 156); (7) Defense

Counsel Designated to Attend Plaintiffs’ Steering Committee Meetings (Rec. Doc. 289); and (8)

505(b)(2) Defendants’ Settlement Committee (Rec. Doc. 371).

       On November 14, 2017, the Court issued Pretrial Order No. 69 (Rec. Doc. 1095),

reminding counsel to submit applications for Court-appointed positions within MDL 2740 by

Wednesday, November 15, 2017 and ordering counsel to submit such applications to the Court in

the same manner in which such applications were submitted for the initial term.

   Having received and reviewed all applications submitted by counsel, IT IS ORDERED that

the Court reappoints counsel to their respective positions within MDL 2740 from the previous term

that concluded on January 1, 2018.




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   All appointments shall be for a term beginning from the date of this Order until January 1,

2019, at which time the Court will appoint or reappoint counsel for the next one year term.

Applications for the subsequent term shall be submitted no later than November 15, 2018. Counsel

are further advised to consult the Pretrial Orders to review the duties and responsibilities associated

with their respective positions.

   New Orleans, Louisiana, this 12th day of January 2018.



                                                       _________________________________
                                                       KURT D. ENGELHARDT
                                                       UNITED STATES DISTRICT JUDGE




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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                    MDL NO. 2740
PRODUCTS LIABILITY LITIGATION
                                                                                SECTION "N" (5)
THIS DOCUMENT RELATES TO:
ALL ACTIONS


                                PRETRIAL ORDER NO. 70A
            (Replacing Pretrial Order No. 70 Regarding Contact with Physicians)

        Pretrial Order No. 70 (Rec. Doc. 1137) is hereby replaced in its entirety by this Pretrial Order

No. 70A.

        The following will govern the parties' interactions with an MDL Plaintiff's prescribing and

treating physicians in cases subject to Case Management Orders 3, 8A, and any trial Plaintiffs once

identified in a similar trial scheduling CMO (“Bellwether Trial CMOs”). As used in this order, an

"MDL Plaintiff's prescribing or treating physician" is a physician who has one or more patients who

have filed a lawsuit (or whose representative has filed a lawsuit) pending in this MDL proceeding

alleging that the patient sustained an injury caused by docetaxel. A "prescribing physician" is the

physician identified in Plaintiff's Fact Sheet as the physician who prescribed docetaxel to the

Plaintiff, as recorded in MDL Centrality; a "treating physician" is the physician who treated the

injury alleged in the Plaintiffs' Fact Sheet, as recorded in MDL Centrality.

   1.          Plaintiffs' counsel may engage in ex parte communications with any MDL

           Plaintiff's prescribing or treating physician. With respect to any such ex parte

           communications, at least 48 hours before the deposition of the Plaintiff's prescribing or

           treating physician, Plaintiff's counsel shall disclose to Defendants' counsel each of the

           following:


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            a. the date(s) of each such ex parte communication;

            b. the approximate duration of each such ex parte communication;

            c. the location of each such ex parte communication;

            d. the participants in each such ex parte communication; and

            e. the identity of the documents, photographs, or other materials that were

                shown or provided to the treating physician by Plaintiffs' counsel in

                connection with each such ex parte communication.

2.      Defendants' counsel will not engage in ex parte communications with any MDL

     Plaintiff s prescribing or treating physician, except as permitted in Paragraph 3 and its

     subdivisions and except that non-lawyer staff for Defendants' counsel may contact the

     office of a prescribing or treating physician for purposes of deposition scheduling.

     Nothing herein shall bar any employee, agent or representative of the Defendants from

     engaging in communications with physicians in the ordinary course of business.

3.      Going forward from the original date of Pretrial Order No. 70 (November 21,

     2017), Defendants' counsel may engage in ex parte communications with up to 30

     MDL Plaintiffs' prescribing or treating physicians within the State of Louisiana (to be

     divided between the Defendants, collectively) for the purpose of obtaining physician-

     experts and may retain as expert witnesses up to 20 MDL Plaintiffs' prescribing or

     treating physicians (to be divided between the Defendants, collectively), no matter

     when the physicians were initially contacted by Defendants’ counsel. Counsel for each

     individual Defendant may also engage in ex parte communications with up to 30 MDL

     Plaintiffs' prescribing or treating physicians located outside of the State of Louisiana

     for the purpose of obtaining physician-experts and may retain as expert witnesses up to



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     20 MDL Plaintiffs' prescribing or treating physicians located outside of the State of

     Louisiana, no matter when the physicians were initially contacted by Defendants’

     counsel.

            a. All ex parte communications by Defendants' counsel with an MDL Plaintiff’s

                prescribing or treating physician prior to any fact deposition conducted of that

                physician must be limited to non-substantive discussions until the physician

                has affirmatively expressed a bona fide interest in being considered as a

                retained expert.

            b. Once a Plaintiff becomes subject to a Bellwether Trial CMO, Defendants'

                counsel for the trial Defendant shall not retain physician-experts who are

                prescribing or treating physicians of such Plaintiffs until after those cases

                are tried, removed from the trial docket, or dismissed. To the extent

                Defendants retained a physician-expert who is a prescribing or treating

                physician of a Plaintiff subject to a Bellwether Trial CMO before the

                Plaintiff became subject to a Bellwether Trial CMO, Defendants shall be

                permitted to use such physician-expert in any case, except as provided in

                Paragraph 3.e.

            c. Defendants' counsel shall disclose to Plaintiffs' counsel on the date set forth

                in the applicable Bellwether Trial CMO for disclosure of testifying experts,

                the name of any testifying expert who per MDL Centrality has patients who

                are plaintiffs in the MDL proceeding, and the experts themselves shall have

                no further affirmative disclosure obligations. No disclosures pursuant to a

                Bellwether Trial CMO are necessary for consulting experts until such time



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             as an expert is identified as a testifying expert. Consulting experts contacted

             or retained by Defendants' counsel shall be subject to all of the requirements

             of this Order to the same extent as testifying experts, except that the

             disclosure requirements set forth in this subparagraph 3(c) shall not apply

             to consulting experts until they are identified as testifying experts.

          d. Defendants' counsel may communicate with a prospective physician-expert

             about his or her general clinical experiences with docetaxel, provided the

             Defendants' counsel shall not communicate with a physician-expert who has

             acted as a prescribing or treating physician about any of his or her specific

             patients who has taken docetaxel.

          e. The Defendants shall not use a physician as a consulting or testifying expert

             in a case where that physician's present or former patient is a plaintiff in that

             case.

          f. Defendants may rely on the disclosures in Plaintiffs' Fact Sheets as recorded

             in MDL Centrality at the time the physician-expert is retained, in

             determining whether a physician is an MDL Plaintiff's prescribing or

             treating physician. Subsequent disclosures in newly-filed or amended

             Plaintiffs' Fact Sheets as recorded in MDL Centrality shall not impact the

             count toward the cap in Paragraph 3.

          g. Given the numerical limitations on the number of physicians Defendants

             may contact as described in this Order, each Defendant shall maintain a

             current record of the number of physicians contacted and the number




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                retained and provide it to the Court or its designee in camera at the Court’s

                request.

            h. This Order denies in part and grants in part "Sanofi-Aventis U.S. LLC and

                Sanofi US Services, Inc.'s Motion for Entry of a Protocol Regarding Ex

                Parte Contact With Physicians" (Rec. Doc. 917). The Court overrules

                Defendants' and Plaintiffs' objections to the extent this order is inconsistent

                with the positions of either party as articulated in their written submissions

                or oral argument.



                                  th day of January 2018..
   New Orleans, Louisiana, this 26th




                                       KURT D. ENGELHAR
                                       KURT
                                       K       ENGELHARDT
                                                       RDT
                                       UNITED STATES DISTRICT
                                                     DISTRI
                                                         RIICT
                                                         R  C JUDGE




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                    MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                               SECTION “N” (5)
THIS DOCUMENT RELATES
TO ALL CASES


                            PRETRIAL ORDER NO. 71A
 [Replacing Pretrial Order No. 71 Governing Plaintiffs’ Responsibilities Relevant to ESI]

       This Pretrial Order No. 71A amends and supersedes Pretrial Order No. 71 (Rec. Doc. 1306)

to provide Plaintiffs additional time to comply with the obligations set forth in the original Pretrial

Order No. 71.

       Concerned that certain Plaintiffs in this MDL do not appear to have adequately and timely

produced responsive electronically stored information (“ESI”) as required by the Plaintiff Fact

Sheet (“PFS”), the Court enters this Order governing Plaintiffs’ identification, preservation,

collection, and production of ESI. The Court also orders all Plaintiffs and their counsel to review

and familiarize themselves with the revised “Guidance Regarding Potential Sources of

Electronically Stored Information,” attached here as Exhibit A.

       1.       Applicability. This Order applies to all Plaintiffs in MDL 2740 and shall govern

all document requests served on Plaintiffs, including the document requests in Section IX of the

PFS and any future requests for production that may be served by Defendants.

       2.       Sources of ESI. To the extent a plaintiff used or maintained any of the following

ESI sources five (5) years prior to her docetaxel treatment or any time since her treatment, each

plaintiff shall search the following sources for responsive ESI, regardless of whether such sources

are currently in use by that plaintiff: (i) any email accounts used by plaintiff; (ii) any electronic
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devices used by plaintiff (e.g., desktop or laptop computers, tablets, mobile phones, digital

cameras); (iii) any other hardware storage devices used by plaintiff (e.g., external hard drives,

memory cards, USB or thumb drives, CDs/DVDs); (iv) any social media used by plaintiff (e.g.,

Facebook, Instagram, LinkedIn, Twitter, MySpace, YouTube, Pinterest, or other online

collaboration tools such as Google+ or Yahoo! groups); (v) any website where a plaintiff made

online postings (e.g., on a blog, message board, etc.); (vi) any cloud storage used by plaintiff (e.g.,

DropBox, Microsoft Office365 Account, Google Drive, iCloud, Amazon Drive, etc.).

       3.      Search obligations. Each plaintiff shall do reasonable searches on each of the

sources identified in ¶ 2 of this Order (to the extent they exist) to identify and collect potentially

responsive ESI for counsel review. Reasonably diligent searches may require running search

terms; reviewing files, communications, videos, and photographs; or otherwise conducting an

actual, physical search of the sources. Plaintiff’s counsel shall take an active role in identifying,

preserving, collecting, reviewing, and producing all responsive ESI. To the extent individual

plaintiff’s counsel has questions regarding these obligations, counsel shall consult with Plaintiffs’

Liaison Counsel (Palmer Lambert and Dawn Barrios), Karen Barth Menzies or Plaintiffs’ ESI

Consultant, Paul McVoy, for clarification.

       4.      Search terms. Where feasible, each plaintiff or her attorney shall run the following

terms through any available search function on the sources identified in ¶ 2. Each term should be

run separately: (a) breast cancer; (b) cancer; (c) chemotherapy; (d) chemo; (e) hair loss; (f) hair; (g)

bald; (h) taxotere; (i) docetaxel; (j) taxane; (k) alopecia; (l) sanofi; (m) pharmaceutical; (n) side

effect; (o) warning; and any other terms likely to retrieve a ESI response to a request for production.

       5.      Production format. Plaintiffs shall produce all responsive ESI in a manner that

preserves any metadata. To the extent individual plaintiff’s counsel needs assistance in how to

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properly preserve responsive metadata, counsel shall consult with Plaintiffs’ Liaison Counsel

(Palmer Lambert and Dawn Barrios), Karen Barth Menzies, or Plaintiffs’ ESI Consultant, Paul

McVoy. 1

         6.       Disclosures. Each plaintiff shall provide a written statement to Defendants signed

by the plaintiff and her attorney, which shall be produced along with the responsive documents.

To the extent that a plaintiff’s PFS and responsive documents are due, pursuant to Amended

Pretrial Order No. 22 (Rec. Doc. 325), within 105 days of December 15, 2017, i.e., the date of

entry of the original Pretrial Order No. 71 (Rec. Doc. 1306), that plaintiff shall have 105 days from

the date the PFS is due to produce the written statement. To the extent that a plaintiff’s obligation

to produce responsive documents has already come due by way of a previously submitted PFS or

other request for production by Defendants as of the date of this Order, that plaintiff shall have

105 days from December 15, 2017 to produce the written statement.2 Notwithstanding the above

deadlines, plaintiffs identified in Case Management Order No. 3 (Rec. Doc. 669) and Case

Management Order No. 8A (Rec. Doc. 1099) shall have forty-five (45) days from December 15,

2017 to produce the written statement. Plaintiffs subject to any future Bellwether Trial Case

Management Orders, and who have not already completed the disclosure within the above

described time period, shall have twenty (20) days from the date of selection to produce the written


1
  E-mail: counsel can collect the relevant .OST and .PST files from Outlook. See how to add email accounts to Outlook
at           https://support.office.com/en-us/article/Outlook-email-setup-6e27792a-9267-4aa4-8bb6-c84ef146101b.
Facebook: see how to download Facebook data at https://www.facebook.com/help/131112897028467. iPhone: see
how to download iPhone data at https://support.apple.com/en-us/HT203977. Computer zip files: see how to collect
loose files using a .ZIP file at https://support.microsoft.com/enus/help/14200/windows-compress-uncompress-zip-
files.
2
  In the event any single law firm has more than fifty (50) written statements due on the same date for plaintiffs whose
obligation to produce responsive documents has already come due by way of a previously submitted PFS or other
request for production by Defendants as of December 15, 2017, that firm shall submit to Defendants at fifty (50)
written statements in accordance with the above schedule, an additional fifty (50) written statements within forty-five
(45) days of those submissions; and any additional written statements within forty-five (45) days of those submissions.

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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 562 of 657




statement. The written statement may be uploaded to MDL Centrality within the deadlines set forth

in this Order and shall provide:

       a. A description of any employer-owned email accounts, other individuals or other

       locations, and resources where responsive ESI may exist; and

       b. A description of unique, non-duplicative ESI within the scope of discovery that was lost

       or destroyed and whether plaintiff used any consumer backup tools (e.g., Carbonite,

       Backblaze, Crashplan, etc.).

       7.       Rule 26(g) certification. Any statement, declarations or certifications made by a

plaintiff or her attorney regarding information and documents produced in discovery in this

litigation, including the PFS declaration and the disclosure required under ¶ 5 of this Order, shall

be subject to Rule 26(g)(3).



       New Orleans, Louisiana this 26th day of January 201
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                                              UNITED STATES DISTRICT
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                                            EXHIBIT A

Supplemental Guidance Regarding Potential Sources of Electronically Stored Information

       This document contains guidance on how a lawyer and her client can comply with their
shared discovery obligations relating to Electronically Stored Information (“ESI”). Individual
Counsel are reminded of their obligations under Federal Rule of Civil Procedure (FRCP) 26(g) to
conduct a “reasonable inquiry” into ESI. Individual Counsel are reminded of the preservation
requirements of PTO 1.

       As a reminder, the Plaintiff Fact Sheet requires that you produce with the fact sheet certain
documents and/or ESI. Specifically, you must produce [“Social media or internet posts to or
through any site (including, but not limited to, Facebook. MySpace, LinkedIn, Google Plus,
Windows Live, YouTube, Twitter, Instagram, Pinterest, blogs, and Internet chat rooms/message
boards) relating to Taxotere or Docetaxel or any of your claims in this lawsuit.”] (see PFS
[Document Request 18]) and representative photographs of your client from before her treatment,
during her treatment, 6 months after her treatment, and how your client looks today (see
[Document Requests 24-28]).

        Keep in mind, this guidance does not provide an exhaustive list of sources that any
individual may have, but it provides guidance on how you may discuss the information with your
clients. The most important thing is to try and get your clients to think about how they use their
computers, phones, and other technology so that you may then search those sources for potentially
discoverable information.

       Many times, individuals may not know what you mean with questions like “does your
phone automatically synch with the cloud?” because relatives might have helped them set up their
devices. When planning to talk with a client about these potential sources of discoverable
information, it can be helpful if the individual brings along her own personal “tech nerd” (which
may be a family member) to assist in answering questions.

         Throughout your conversations with your client, you should keep in mind that your goal is
to get that person to think about how they use technology now and how they have used technology
in the past. If you get pushback from your client, it often helps to remind her that these are typical
questions asked to everyone on both sides of the lawsuit. Assure your client of her privacy and that
both sides have a legal obligation to protect confidential information produced during the course
of the litigation.

        Another important area to cover with your clients is replacing the hardware they use, like
computers or phones. Individuals will often be involved in a case over many years and may not
realize that the desktop computers, phones or other devices they want to upgrade may contain
discoverable information. Have a discussion about future upgrades to devices and the importance
of keeping your office informed about hardware changes. Let them know that an upgrade is fine,
as long as the correct steps are taken to preserve the potentially discoverable information on the
device.



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        Finally, you only need to concern yourself with sources of information within the scope of
discovery. This can get confusing to people that are not accustomed to participating in litigation.
One example is for an individual that currently works and has a work email address. You should
only be interested in that email source IF the person sends or receives discoverable emails using
that account.

        With regard to specific sources, here are some helpful points to consider when helping your
clients think about how they communicate and store information.

       Traditional Electronically Stored Information. Email and user created documents are
what we often associate with ESI. You should consider discussing with your clients the various
email accounts they may use or may have used in the past that may contain information that may
be discoverable. Also, be sure to ask about old accounts that your clients may or may not have
access to anymore. In addition to email, be sure to ask your clients about where they save
documents that they may create, like journals or letters. It may be on a physical device or in some
cloud storage location.

        If your client says that she has emailed about her hair loss, it may be easiest to walk her
through searching that email for certain terms, like (by way of example), (a) breast cancer; (b)
cancer; (c) chemotherapy; (d) chemo; (e) hair loss; (f) hair; (g) bald; (h) taxotere; (i) docetaxel; (j)
taxane; (k) alopecia; (l) sanofi; (m) pharmaceutical; (n) side effect; (o) warning; and any other
terms likely to retrieve a ESI response to a request for production. Remember, your client has
probably never had to search for and turn emails over to a lawyer. So, you should do more than
tell your client she needs to send you emails and pictures relating to her chemotherapy and hair
loss.

        Social Media. More and more individuals communicate about their lives using social
media. Exploring the individual’s use of social media is important. In addition to the usual
questions about Facebook and twitter, try and consider asking about applications that the person
might not realize are social media, like LinkedIn or Flickr. Keep in mind that some clients may
say that they do not use social media, but during the course of the conversation will realize that
they do. You should identify both current and past accounts that your client may have used.

       Text or Instant messages. Younger people may utilize text messaging more often than
older people, but you should still discuss the use of these services with everyone.

       Photographs. The Plaintiff Fact Sheets calls for the production of certain photographs.
Photographs that your client may have to produce with the PFS may be in electronic format. You
should make every effort to collect those photographs from your client in a way that preserves the
metadata with the photographs, such as the date taken. This guidance also applies to other
documents or information your client may have. To the extent it is proportional and not unduly
burdensome, you should try to get the information in an electronic format that preserves the
information’s metadata and upload that through MDL Centrality.

      Many attorneys have been uploading PDFs of pictures with dates written or typed on the
PDF. Where possible, you should upload to Centrality a copy of the original digital file, for
example a .jpeg file and use a different method of indicating the date (such as putting the date in
                                                2
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the file name). It is not helpful to print a picture that was originally in electronic form and scan it
back in, or take a picture of an electronic picture and submit that file because all potential date
information is lost. Often times, the digital version of the picture will retain in its metadata the
“date taken.” We have confirmed with the Centrality administrator that Centrality leaves this
metadata information intact. If you want to be sure that the date information is uploaded, you can
also put the date of the photograph in the name of the picture file and the “document type
description” on MDL Centrality.

        The Court has made clear that it is the Plaintiff’s obligation to provide photographic
evidence which accurately and adequately reflects Plaintiff’s hair loss injuries. Providing
sufficient photographs within 5 years prior to chemotherapy, which depict Plaintiff’s hair prior to
treatment with Taxotere, and providing sufficient current photographs, which demonstrate
plaintiff’s current hair loss following treatment with Taxotere, is needed to prove the client’s claim.

        Technology has become so pervasive in our world that oftentimes people forget about how
much they use it to communicate with their community of friends, family and others. It is
incumbent on each attorney to gently but firmly probe the responses to the PFS. If a client indicates
that she has no or very few photographs, probe beyond that initial answer. Were her children or
spouse with her at her chemotherapy treatments? Might they have pictures on their phones from
before, during or after chemotherapy treatments? Does a parent, child, or spouse have recent
picture on their phones? It should be helpful if you explain to your client why these pictures are
crucial to her case – so she understands that they are an important part of proving her case.

       Having a conversation with your clients about how they communicate and store
information up front will help focus your clients on areas that may need to be searched to see if
they have potentially discoverable information. This process will help your clients help themselves
by enabling the collection and production of the information now so as to avoid a spoliation issue
down the road. Also, as lawyers, you have all seen defense counsel ask a plaintiff about how
they communicate in depositions and whether they have information that they have not given
you. Use your experience as a lawyer, having seen what defendants look for, to also help guide
you through this process.


                    The PSC has lawyers who can assist your office if your staff has
                    general questions on how to talk to your clients about ESI, how
                    to retrieve ESI, how to upload it to Centrality, and how to
                    respond to deficiencies. Please use these lawyers as a resource.
                    For ESI-related questions, you can contact Zachary L. Wool at
                    (504) 524-3300 or zwool@bkc-law.com, or you can contact
                    Abby        McClellan       at      (816)      714-7123       or
                    mcclellan@stuevesiegel.com.




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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                             MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                        SECTION “N” (5)

THIS DOCUMENT RELATES TO:
ALL CASES

                       PRETRIAL ORDER NO. 76
    [SETTING THE NEXT MEETING OF LIAISON COUNSEL AND THE NEXT
                   GENERAL STATUS CONFERENCE]

     IT IS ORDERED that:

     1. The next meeting of liaison counsel and the Court will take place on Monday,

        February 5, 2018, at 9:30 a.m. in the undersigned’s chambers. Counsel are to submit

        a proposed agenda for the meeting via email on or before Thursday, February 1, 2018,

        by 5:00 p.m.

     2. The next general status conference will take place on Wednesday, March 7, 2018, at

        10:00 a.m. in the undersigned’s courtroom, with the meeting of liaison counsel at 8:30

        a.m. and meeting of the Plaintiffs’ Steering Committee at 9:00 a.m. The Court has set

        up a conference line for the status conference. To participate, call (800) 260-0702 and

        enter access code 444319.

     New Orleans, Louisiana, this 31st day
                                         y of January 2018.



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                                                 UNITED STATES DISTRICT
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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA


 IN RE: TAXOTERE (DOCETAXEL)                                       MDL NO. 2740
 PRODUCTS LIABILITY LITIGATION
                                                                   SECTION “N” (5)

 THIS DOCUMENT RELATES TO ALL CASES


                               PRETRIAL ORDER NO. 77
                   [Additional California Plaintiffs’ Motions to Remand]

       This Court’s August 30, 2017 ORDER on Plaintiffs’ Omnibus Motion to Remand Certain

Cases to the Superior Courts of California (Rec. Doc. 784) (the “ORDER”) shall be instructive for

future cases removed to this MDL from California Superior Courts naming McKesson Corporation

(“McKesson”) as a defendant. The Court recognizes that future complaints may be filed naming

McKesson as a defendant that present factual allegations that may be arguably distinguishable

from those addressed by the ORDER. In order to streamline the briefing of these future motions

to remand by California Plaintiffs who name McKesson as a non-diverse defendant,

       IT IS ORDERED that:

       (1) Plaintiffs who file cases in California Superior Courts naming McKesson as a

           Defendant that are subsequently removed by a Defendant and transferred to this MDL

           shall meet and confer in an attempt to resolve the remand issue prior to submission of

           any briefing. This meet and confer process shall require the following:

              a. The Plaintiff shall provide any information possessed concerning McKesson’s

                  alleged connection to the Plaintiff’s use of Taxotere/docetaxel (including the

                  Plaintiff’s treatment time period, and the facility where Taxotere/docetaxel was
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                  administered to the Plaintiff) within seven (7) days of the case being docketed

                  in this MDL.

               b. In response to Plaintiff’s informational statement detailed above, Defendant

                  McKesson shall provide Plaintiff’s counsel with a written statement indicating

                  whether McKesson distributed Taxotere/Docetaxel to the facility named in the

                  Plaintiff’s informational statement, during the timeframe that Plaintiff was

                  being treated, OR the Defendant(s) shall provide any information contradicting

                  or otherwise demonstrating a lack of McKesson’s connection to the Plaintiff

                  within seven (7) days of the Plaintiff providing such information.

       If the parties are unable to informally resolve the matter after a meet and confer and

exchange of information, they shall engage in the expedited briefing process set forth herein.1

       (2) In the Court’s minute entry of July 6, 2017 (Rec. Doc. 618), the Court required the

           Plaintiffs to file individualized statements regarding their alleged connection to

           McKesson as a supplement to the Plaintiffs’ Omnibus Motion to Remand. Similarly,

           Plaintiffs who seek remand to the California Superior Courts, and who are unable to

           reach agreement with Defendants on a consent remand order per the previous

           paragraph, shall submit brief, individualized statements, not to exceed two (2) pages in

           length per Plaintiff, regarding the alleged connection to McKesson within thirty (30)

           days of the case being docketed in this MDL. By this Pretrial Order No. 77, the




1
  To the extent counsel are participating in this MDL, the Court encourages an informal exchange
of this information and a meet-and-confer prior to the service of the lawsuit on any Defendant, in
an effort to avoid removal of cases that are not distinguishable from the cases remanded in the
ORDER. Any such meet-and-confer shall not otherwise alter any Defendant’s deadline to remove
a case as set forth in the Federal Rules of Civil Procedure and federal statutes.

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          Plaintiffs seeking remand shall be deemed to have adopted the prior briefing of the

          Plaintiffs supporting the Plaintiffs’ Omnibus Motion to Remand. 2

       (3) Within fifteen (15) days of the Plaintiff’s filing their individualized statement,

          Defendants may file a response brief not to exceed two (2) pages in length per Plaintiff.

          By this Pretrial Order No. 77, a Defendant or Defendants opposing remand shall be

          permitted to adopt the prior briefing of sanofi-aventis U.S. LLC in opposition to

          Plaintiffs’ Omnibus Motion to Remand.

       (4) No oral argument shall be held unless requested.

       New Orleans, Louisiana, this 7th day of February, 2018.



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                                                    UNITED STATES DISTRICT
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2
  Should additional relevant case cites become available, these cases may be identified in the
parties’ 2-page submissions.
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                         MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION                                                   SECTION “N” (5)

  THIS DOCUMENT RELATES TO:
  ALL CASES


                            PRETRIAL ORDER NO. 37A
      [Amends and Supersedes Pretrial Order No. 37 with Procedures for Short Form
         Complaints and Motions for Leave to Amend Short Form Complaints]

       Pretrial Order No. 37 (Rec. Doc. 318) is hereby amended and superseded by this Pretrial

Order No. 37A.

       Pretrial Order No. 15 (Rec. Doc. 230) ordered the Plaintiffs, through the Plaintiffs’ Steering

Committee (PSC), to submit a proposed Pretrial Order with an attached exemplar Short Form

Complaint. The exemplar Short Form Complaint is attached as Exhibit A to this Order, and this

version of the exemplar Short Form Complaint was approved in Pretrial Order No. 73 (Rec. Doc.

1463). Short Form Complaints shall be used by Plaintiffs’ counsel consistent with Pretrial Order

No. 15, and counsel are encouraged to review it prior to using the form provided by the PSC. Only

one Plaintiff (and any secondary/consortium/representative Plaintiff(s) claiming through or on

behalf of the Plaintiff) is allowed on each Short Form Complaint. The Short Form Complaint is

intended to provide guidance for individual counsel who should refer to the Amended Master Long

Form Complaint (Rec. Doc. 689) in conjunction with the use of the Short Form Complaint.

Individual Plaintiffs’ counsel shall tailor the form to correspond to each Plaintiff’s

claims/allegations.




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       If the Short Form Complaint is a Plaintiff’s original pleading, it must be filed as a new

complaint through the Court’s CM/ECF system consistent with the Local Rules1 and served with

a summons, pursuant to Rule 4 of the Federal Rules of Civil Procedure, or pursuant to relevant

Pretrial Orders regarding “streamlined” service of process entered in this MDL, and not filed in

the master MDL docket. If the Short Form Complaint is filed as an amended complaint, it should

be filed in the member case,2 and not in the MDL master file.

       For any case where Plaintiff seeks leave to amend a prior complaint, including a Short

Form Complaint, counsel for Plaintiff shall contact in writing Defense Liaison Counsel (John

Olinde – olinde@chaffe.com and Douglas Moore – dmoore@irwinllc.com) and the Contact person

for each Defendant(s) presently named and for any Defendant sought to be added in the lawsuit,

for consent or opposition to the proposed motion, at least fourteen (14) days in advance of filing

the motion. 3 If no notice of any opposition is received by Plaintiff’s counsel from any Defendant

within the fourteen (14) day period, Plaintiff may file the motion for leave to amend as unopposed.

       Any unserved Defendant presently named or sought to be added by a motion to amend may

enter a Special Appearance solely for the purpose of addressing the proposed motion or a motion

filed. Such Special Appearance does not waive service or any defenses, including defenses based

on service of process or personal jurisdiction, if such defenses are available. Further, such Special

Appearance does not eliminate the requirement of proper service pursuant to Rule 4 of the Federal

Rules of Civil Procedure or pursuant to relevant Pretrial Orders regarding “streamlined” service




1
        See Eastern District of Louisiana website for instructions on opening a new case.
http://www.laed.uscourts.gov/case-information/cmecf/efiling-new-case
2
        Filing attorneys shall use the event “Taxotere Amended Complaint” found under the
Service of Process Category in the Court’s CM/ECF system.
3
        The contact person for each Defendant for purposes of this Order are listed in Exhibit B
attached.
                                                 2
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of process entered in this MDL. The Court’s authorization for such a Special Appearance does not

have any effect on Plaintiffs’ right to assert any challenges, including lack of standing, to an

objection to the filing of an amending complaint filed by a Defendant in which Plaintiff seeks to

add as a Defendant.

        If any Defendant provides notice of opposition to a proposed motion for leave to amend

within the timeframe set forth hereinabove, Plaintiff shall file the motion as opposed and shall

notice the motion for submission in accordance with the Local Rules of the Eastern District of

Louisiana.

        If further direction regarding filing is needed, please contact the Court at (504) 589-7715.

If further direction regarding the Short Form Complaint is needed, Counsel may contact Plaintiffs’

Liaison Counsel, Dawn Barrios or Palmer Lambert, with any questions regarding the exemplar

form.


                                      4th day of February, 20
        New Orleans, Louisiana, this 14th                   018.
                                                           2018.



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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                                    :   MDL NO. 2740
PRODUCTS LIABILITY LITIGATION                                  :
                                                               :   SECTION “N” (5)
                                                               :   JUDGE ENGELHARDT
                                                               :   MAG. JUDGE NORTH
                                                      ,        :
                                                               :   COMPLAINT & JURY DEMAND
         Plaintiff(s),                                         :
                                                               :   Civil Action No.:
vs.                                                            :
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                                                      ,        :
                                                               :
         Defendant(s).                                         :
-------------------------------------------------------------- :


                  SHORT FORM COMPLAINT (Effective as of January 4, 2018) 1

           Plaintiff(s) incorporate by reference the Amended Master Long Form Complaint and Jury

Demand filed in the above-referenced case on July 25, 2017. Pursuant to Pretrial Order No. 15,

this Short Form Complaint adopts allegations and encompasses claims as set forth in the Amended

Master Long Form Complaint against Defendant(s).

           Plaintiff(s) further allege as follows:

    1.        Plaintiff:




1
           This version of the Short Form Complaint supersedes all prior versions of the form
           pursuant to Pretrial Order No. 73. This Court-approved version of the Short Form
           Complaint is available on the Court’s Taxotere webpage and through MDL Centrality.



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2.       Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss

         of consortium):



3.       Other type of Plaintiff and capacity (i.e., administrator, executor, guardian,

         conservator):



4.       Current State of Residence:

5.       State in which Plaintiff(s) allege(s) injury:

6.       Defendants (check all Defendants against whom a Complaint is made):

         a.     Taxotere Brand Name Defendants

                         A.     Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.

                         B.     Sanofi-Aventis U.S. LLC

         b.     Other Brand Name Drug Sponsors, Manufacturers, Distributors

                         A.     Sandoz Inc.

                         B.     Accord Healthcare, Inc.

                         C.     McKesson Corporation d/b/a McKesson Packaging

                         D.     Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc.

                         E.     Hospira, Inc.

                         F.     Sun Pharma Global FZE

                         G.     Sun Pharmaceutical Industries, Inc. f/k/a Caraco Pharmaceutical
                                Laboratories Ltd.
                         H.     Pfizer Inc.

                         I.     Actavis LLC f/k/a Actavis Inc.

                         J.     Actavis Pharma, Inc.




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                         K.        Other:




7.       Basis for Jurisdiction:

                  Diversity of Citizenship

                  Other (any additional basis for jurisdiction must be pled in sufficient detail as
                  required by the applicable Federal Rules of Civil Procedure):




8.       Venue:

         District Court and Division in which remand and trial is proper and where you might
         have otherwise filed this Short Form Complaint absent the direct filing Order entered by
         this Court:




9.       Brand Product(s) used by Plaintiff (check applicable):

                  A.     Taxotere

                  B.     Docefrez

                  C.     Docetaxel Injection

                  D.     Docetaxel Injection Concentrate

                  E.     Unknown

                  F.     Other:




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10.       First date and last date of use (or approximate date range, if specific dates are unknown)
          for Products identified in question 9:




11.       State in which Product(s) identified in question 9 was/were administered:




12.           Nature and extent of alleged injury (including duration, approximate
              date of onset (if known), and description of alleged injury):




13.           Counts in Master Complaint brought by Plaintiff(s):

                     Count I – Strict Products Liability - Failure to Warn
                     Count III – Negligence
                     Count IV – Negligent Misrepresentation
                     Count V – Fraudulent Misrepresentation
                     Count VI – Fraudulent Concealment
                     Count VII – Fraud and Deceit

                     Other: Plaintiff(s) may assert the additional theories and/or
                     State Causes of Action against Defendant(s) identified by
                     selecting “Other” and setting forth such claims below. If
                     Plaintiff(s) includes additional theories of recovery, for
                     example, Redhibition under Louisiana law or state consumer
                     protection claims, the specific facts and allegations supporting
                     additional theories must be pleaded by Plaintiff in sufficient
                     detail as required by the applicable Federal Rules of Civil
                     Procedure.




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14.       Name of Attorney(s), Bar Number(s), Law Firm(s), Phone Number(s),
          Email Address(es) and Mailing Address(es) representing Plaintiff(s):

                                        By:




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                                    EXHIBIT B

Julie A. Callsen                            Counsel for Defendant Accord Healthcare
Brandon D. Cox                              Inc.
TUCKER ELLIS LLP
950 Main Avenue, Suite 1100
Cleveland, OH 44113-7213
Telephone: 216-592-5000
Facsimile: 216-592-5009
julie.callsen@tuckerellis.com
brandon.cox@tuckerellis.com

                                            Counsel for Defendant Sandoz, Inc.
R. Clifton Merrell
Evan Holden
GREENBERG TRAURIG, LLP
Terminus 200
3333 Piedmont Road NE, Suite 2500
Atlanta, GA 30305
Telephone: 678-553-2100
Facsimile: 678-553-2100
merrellc@gtlaw.com
holdene@gtlaw.com


Mark S. Cheffo                              Counsel for Defendants Hospira, Inc.,
Mara Cusker Gonzalez                        Hospira Worldwide, LLC, formerly doing
Lavinia Denniston                           business as Hospira Worldwide, Inc., and
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)   )                                      MDL NO. 2740
PRODUCTS LIABILITY LITIGATION )
                              )                                      SECTION: “N” (5)
                              )
THIS DOCUMENT RELATES TO:     )
ALL ACTIONS                   )

                     CASE MANAGEMENT ORDER NO. 13
    [ORDER SELECTING FIRST BELLWETHER TRIAL PLAINTIFF(S) PURSUANT TO
               CASE MANAGEMENT ORDER NO. 3 (REC. DOC. 669)]

        As contemplated by Case Management Order No. 3 (Rec. Doc. 669), 1 the parties have,

through memoranda submitted to the Court, nominated and ranked four (4) cases to proceed to the

second phase of discovery for the first bellwether trial set for Monday, September 24, 2018. Having

carefully considered the parties’ written submissions, IT IS ORDERED that the following

plaintiffs, in order of preference, are designated to proceed to the second phase of discovery:


        (1)   Antoinette Durden, Case No. 2:16-cv-16635 (Primary Plaintiff);
        (2)   Tanya Francis, Case No. 2:16-cv-17410;
        (3)   Barbara Earnest, Case No. 2:16-cv-17144;
        (4)   Lisa Tuyes, Case No. 2:16-cv-15473;
                                               73;

        New Orleans, Louisiana, this 9th day of March 20
                                                      2018.
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       The Court also issued Case Management Order No. 11 (Rec. Doc. 1430), which amended
and superseded Case Management Order No. 3 (Rec. Doc. 669) with regard to certain deadlines.
However, if not specifically listed in Case Management Order No. 11 as an amended deadline, all
other deadlines established in Case Management Order No. 3 remain in effect.
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                             MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                        SECTION “N” (5)

THIS DOCUMENT RELATES TO:
ALL CASES

                       PRETRIAL ORDER NO. 78
    [SETTING THE NEXT MEETING OF LIAISON COUNSEL AND THE NEXT
                   GENERAL STATUS CONFERENCE]

     IT IS ORDERED that:

     1. The next meeting of liaison counsel and the Court will take place on Monday, April

        16, 2018, at 9:30 a.m. in the undersigned’s chambers. Counsel are to submit a proposed

        agenda for the meeting via email on or before Thursday, April 12, 2018, by 5:00 p.m.

     2. The next general status conference will take place on Thursday, April 26, 2018, at

        10:00 a.m. in the undersigned’s courtroom, with the meeting of liaison counsel at 8:30

        a.m. and meeting of the Plaintiffs’ Steering Committee at 9:00 a.m. The Court has set

        up a conference line for the status conference. To participate, call (800) 260-0719 and

        enter access code 447200.

     New Orleans, Louisiana, this 5th day of April 2018.



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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 582 of 657




                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA


 IN RE: TAXOTERE (DOCETAXEL)                                       MDL NO. 2740
 PRODUCTS LIABILITY LITIGATION
                                                                   SECTION “N” (5)

 THIS DOCUMENT RELATES TO ALL CASES


                              PRETRIAL ORDER NO. 77A
   [Replacing Pretrial Order No. 77 Regarding California Plaintiffs’ Motion to Remand]

       This Pretrial Order No. 77A replaces Pretrial Order No. 77 (Rec. Doc. 1633) to clarify

when a case is considered to be docketed in the MDL.

       The Court’s August 30, 2017 ORDER on Plaintiffs’ Omnibus Motion to Remand Certain

Cases to the Superior Courts of California (Rec. Doc. 784) (the “ORDER”) shall be instructive for

future cases removed to this MDL from California Superior Courts naming McKesson Corporation

(“McKesson”) as a defendant. The Court recognizes that future complaints may be filed naming

McKesson as a defendant that present factual allegations that may be arguably distinguishable

from those addressed by the ORDER. In order to streamline the briefing of these future motions

to remand by California Plaintiffs who name McKesson as a non-diverse defendant,

       IT IS ORDERED that:

       (1) Plaintiffs who file cases in California Superior Courts naming McKesson as a

           Defendant that are subsequently removed by a Defendant and transferred to this MDL,

           shall meet and confer in an attempt to resolve the remand issue prior to submission of

           any briefing. This meet and confer process shall require the following:




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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 583 of 657




               a. The Plaintiff shall provide any information possessed concerning McKesson’s

                  alleged connection to the Plaintiff’s use of Taxotere/docetaxel (including the

                  Plaintiff’s treatment time period, and the facility where Taxotere/docetaxel was

                  administered to the Plaintiff) within seven (7) days of the case being docketed

                  in this MDL. A case is considered docketed in this MDL when the online

                  docket is made available for the individual case number and the parties who

                  have appeared receive electronic notice that the docket is available online.

               b. In response to Plaintiff’s informational statement detailed above, Defendant

                  McKesson shall provide Plaintiff’s counsel with a written statement indicating

                  whether McKesson distributed Taxotere/Docetaxel to the facility named in the

                  Plaintiff’s informational statement, during the timeframe that plaintiff was

                  being treated, OR the Defendant(s) shall provide any information contradicting

                  or otherwise demonstrating a lack of McKesson’s connection to the Plaintiff

                  within seven (7) days of the Plaintiff providing such information.

       If the parties are unable to informally resolve the matter after a meet and confer and

exchange of information, they shall engage in the expedited briefing process set forth herein.1

       (2) In the Court’s minute entry of July 6, 2017 (Rec. Doc. 618), the Court required the

           Plaintiffs to file individualized statements regarding their alleged connection to

           McKesson as a supplement to the Plaintiffs’ Omnibus Motion to Remand. Similarly,




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  To the extent counsel are participating in this MDL, the Court encourages an informal exchange
of this information and a meet-and-confer prior to the service of the lawsuit on any Defendant, in
an effort to avoid removal of cases that are not distinguishable from the cases remanded in the
ORDER. Any such meet-and-confer shall not otherwise alter any Defendant’s deadline to remove
a case as set forth in the Federal Rules of Civil Procedure and federal statutes.


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          Plaintiffs who seek remand to the California Superior Courts, and who are unable to

          reach agreement with Defendants on a consent remand order per the previous

          paragraph, shall submit brief, individualized statements, not to exceed two (2) pages in

          length per Plaintiff, regarding the alleged connection to McKesson within thirty (30)

          days of the case being docketed in this MDL. By this Pretrial Order No. 77A, the

          Plaintiffs seeking remand shall be deemed to have adopted the prior briefing of the

          Plaintiffs supporting the Plaintiffs’ Omnibus Motion to Remand. 2

       (3) Within fifteen (15) days of the Plaintiff’s filing their individualized statement,

          Defendants may file a response brief not to exceed two (2) pages in length per Plaintiff.

          By this Pretrial Order No. 77A, a Defendant or Defendants opposing remand shall be

          permitted to adopt the prior briefing of sanofi-aventis U.S. LLC in opposition to

          Plaintiffs’ Omnibus Motion to Remand.

       (4) No oral argument shall be held unless requested.

       New Orleans, Louisiana, this 11th day of April, 2018.



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  Should additional relevant case cites become available, these cases may be identified in the
parties’ 2-page submissions.
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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                             MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                        SECTION “N” (5)
THIS DOCUMENT RELATES TO
ALL CASES


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    >ORDER AMENDING PRETRIAL ORDER NO. 44 REPLACING SETTLEMENT
        COUNSEL FOR ACCORD HEALTHCARE INC. AND SANDOZ INC.@

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       IT IS HEREBY ORDERED that Pretrial Order No. 44 (Rec. Doc. No. 371) is amended

as follows:

       (1) Matthew P. Moriarty is hereby appointed to the 505(b)(2) Settlement Committee in

place of John P. Wolff, III on behalf of Accord Healthcare Inc.;

       (2) Russell A. “Chip” Gaudreau is hereby appointed to the 505(b)(2) Settlement

Committee in place of Lori G. Cohen on behalf of Sandoz Inc.; and

       (3) Russell A. “Chip” Gaudreau will also assume Ms. Cohen’s former role as

Chairperson of the 505(b)(2) Settlement Committee.

       New Orleans, Louisiana this WKday of $SULO 2018.




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     Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 586 of 657




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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA



IN RE: TAXOTERE (DOCETAXEL)                             MDL NO. 16-2740
PRODUCTS LIABILITY LITIGATION

This document relates to all cases                      SECTION H(5)


                        PRETRIAL ORDER NO. 79


      IT IS ORDERED that the next general status conference is SET for
July 18, 2018 at 10:30a.m. in Judge Milazzo’s courtroom (&224). It shall be
preceded by a meeting with liaison and lead counsel at 8:30 a.m. and a Steering
Committee meeting at 9:30 a.m. The Court will set up a conference line for the
status conference to be disseminated at a later date.




                      New Orleans, Louisiana this 13th day of June, 2018.




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                                    JANE TRICHE MILAZZO
                                    UNITED STATES DISTRICT JUDGE
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)   )                        MDL No. 2740
PRODUCTS LIABILITY LITIGATION )
                              )                        SECTION: “H” (5)
                              )
THIS DOCUMENT RELATES TO:     )
ALL ACTIONS                   )

                            CASE MANAGEMENT ORDER NO. 14
                              (TRIAL SCHEDULING ORDER)

       The Court hereby Orders as follows:

       1.      Applicability of Order. The following procedures and schedules will govern the

identification and selection of the initial Plaintiffs (as defined below) whose claims will be

adjudicated in a succession of trials. The Federal Rules of Civil Procedure shall apply to these

proceedings, subject to provisions permitting Court orders or stipulations by the Parties to make

appropriate modifications.      The procedures, provisions and schedules set forth in Case

Management Order Nos. 3, 4, 6, 8, 8A, 8B, 10, and 11 are no longer in effect and are hereby

replaced and superseded by this Case Management Order.

2.     Trials. The Court believes that conducting successive trials will further the efficient

progress of this litigation. The Court sets initial trials for the following dates:

       a.      May 13-24, 2019 (for a case involving only alleged use of Taxotere sold by sanofi)

       b.      September 16-27, 2019

       c.      January 27-February 7, 2020

       d.      May 11-22, 2020

       e.      September 14-25, 2020

       The selection of a trial pool and the locations for the trials is subject to whether (i) in the

discretion of the Court, the Court determines after input from the Parties that trial of a Plaintiff’s


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case in another venue is appropriate, (ii) the Parties agree to waive Lexecon permitting the trial

of a non-Louisiana Plaintiff’s case in the Eastern District of Louisiana, or (iii) the Court, after

input from the Parties, is interested in and able to obtain a temporary assignment to try a case in

another district pursuant to 28 U.S.C § 292. Absent the above, all parties preserve all Lexecon

rights and arguments as to jurisdiction and venue for trial, including all rights preserved under

Pretrial Order No. 5, and cases involving any non-Eastern District of Louisiana plaintiff shall be

remanded for trial in their transferor courts or the appropriate jurisdiction and venue after pre-

trial proceedings are completed.

3.       First Trial Plaintiff Selection. The trial selections for the first sanofi-only trial (“First

Trial”) were established in Case Management Order No. 13 (Rec. Doc. 1819):

                           1. Durden, Antoinette 2:16-cv-16635
                           2. Earnest, Barbara 2:16-cv-17144
                           3. Francis, Tanya 2:16-cv-17410
                           4. Tuyes, Lisa 2:16-cv-15473

         Any additional fact witness depositions necessary for the First Trial shall be concluded by

November 7, 2018.

4.       Expert Discovery. The following schedule shall apply to expert discovery for the First

Trial:

         a.     Plaintiff General and Specific Expert Reports. On or before November 7, 2018,

Plaintiffs shall designate and provide reports for general causation and liability experts and, for

each expert, provide at least three dates the expert is available for deposition before December 10,

2018.

         b.     Sanofi Defendant General and Specific Expert Reports. On or before December

10, 2018, sanofi Defendants shall designate and provide reports for general causation and liability

experts and, for each expert, provide at least three dates the expert is available for deposition before


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January 25, 2019.

          c.      Rebuttal Reports. Rebuttal expert reports shall be submitted, if necessary and for

good cause shown, to address only new issues raised in the Defendant expert reports, within

fourteen (14) days of receipt of the expert report to which the rebuttal report is addressed. Rebuttal

expert reports shall not be duplicative of the initial expert reports.

          d.      Depositions. At least ten (10) days prior to an expert’s deposition, any party may

notify the party producing the expert that it was unable to obtain materials listed on an expert’s

“materials relied upon” list, pursuant to FRCP, Rule 26(a)(2)(B)(ii-iv), and request that said

materials be provided. In response to such request, the producing party shall provide the requested

documents or materials, or excerpts therefrom, to the requesting party within 72 hours of the

deposition.

                  (i)     The limitations on expert discovery set forth in Rule 26 of the Federal Rules

                          of Civil Procedure, including the provision of Rule 26(b)(4)(A)-(D) limiting

                          discovery with respect to draft reports, communications with experts, and

                          depositions of consulting experts, shall apply to all cases subject to this

                          Order.

Nothing in paragraphs 4(a) – (b) above preclude the parties from taking any expert’s deposition

after the deadline by which the producing party is to make them available.

5.        Briefing Schedule for Dispositive/Daubert Motions for the First Trial. 1

          a.      Motions and Briefs: February 8, 2019

          b.      Response in Opposition Briefs: March 8, 2019



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    The parties acknowledge that Defendants who were not parties to earlier trials may have different or
         additional legal, factual, and/or expert arguments and defenses than Defendants in earlier trials.
         Those non-party Defendants shall be deemed to preserve all such arguments and defenses.

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          c.    Reply Briefs: March 15, 2019

          d.    Hearing and Argument: Week of March 25, 2019

6.        Schedule for Trial Preparation Documents for the First Trial.

          a.    Jury Questionnaire: April 1, 2019

          b.    Final Witness List: April 5, 2019

          c.    Exhibit Lists and Deposition Designations: April 12, 2019

          d.    Motions in Limine: April 15, 2019

          e.    Plaintiffs’ and Defendants’ Counter Deposition Designations: April 26, 2019

          f.    Plaintiffs’ and Defendants’ Objections to Exhibits and Deposition

                Designations: May 3, 2019

          g.    Plaintiffs’ and Defendants’ Jury Charges: May 3, 2019

          h.    Oppositions to Motions in Limine: April 26, 2019

          i.    Reply Briefs Regarding Motions in Limine: May 6, 2019

          j.    Final Pretrial Conference: Week of May 6, 2019

          k.    Trial Date: May 13, 2019

7.        Second, Third, Fourth, and Fifth Trial Case Selection and Discovery.

          a.    Trial Pool. The Trial Pool for the first five trial dates shall consist of forty (40)

Plaintiffs. The parties have already submitted to the Court the following sixteen (16) Plaintiffs,

which remain in the eligible trial pool and are otherwise subject to the additional dates set forth

herein:

 1. Durden, Antoinette 2:16-cv-16635                  9. Addelson, Barbara 2:16-cv-16041
 2. Earnest, Barbara 2:16-cv-17144                    10. Bland, Keri 2:17䇲 cv䇲㻜㻢㻜㻡㻥
 3. Francis, Tanya 2:16-cv-17410                      11. Crayton, Shelia 2:17-cv-05923
 4. Tuyes, Lisa 2:16-cv-15473                         12. Gahan, Kelly 2:16-cv-15283
 5. Martin, Della 2:16-cv-15678                       13. Kinderdine, Christine 2:17-cv-00348
 6. Thibodeaux, Cynthia 2:16-cv-15859                 14. Mills, Jacqueline 2:17-cv-02689

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 7. Johnson, Deborah 2:16-cv-15607                     15. Phillips, June 2:16-cv-15397
 8. Kahn, Elizabeth 2:16-cv-17039                      16. Sylvest, Lisa 2:16-cv-15841

       b.      Final Plaintiff Selection for the Second Trial. By January 4, 2019, the Parties

shall submit briefing in which they each propose representative Plaintiffs from the previously

selected sixteen (16) cases, identified in paragraph 7(a) supra, for the Second Trial. Each Party

shall propose three (3) Plaintiffs for the trial setting. Plaintiffs and Defendants will each submit

via email to the Court a letter brief no longer than five (5) pages in length describing: (i) the names

and ranking in order of preference the plaintiffs that party is nominating, (ii) the reasons supporting

these selections and suggested rankings, and (iii) the reasons why the other potential candidates

are not appropriate selections. These memoranda shall be submitted simultaneously on an ex parte

basis at 5:30 p.m., and each party shall serve the other with a copy of their submission no later

than 5:45 p.m. that day. After considering the Parties’ submissions, the Court shall select one (1)

trial Plaintiff and one (1) alternate Plaintiff for the Second Trial, with such selection to occur no

later than January 11, 2019. In order to facilitate preparedness for trial, both the selected trial

Plaintiff and alternate trial Plaintiff for each trial setting will involve the same, single Defendant.

       c.      Trial Pool Nomination. By November 1, 2018, twenty-four (24) additional

Plaintiffs shall be selected for inclusion in the Trial Pool for the third, fourth, and fifth trials as

follows:

               Plaintiffs:                             12 Selections

               Defendants (Collectively):              12 Selections

Of them, the parties will each identify select six (6) plaintiffs (for a total of twelve (12)), who will

be subject to Phase I discovery between November 1, 2018 and June 1, 2019. The remaining

twelve (12) plaintiffs shall be subject to Phase I discovery between June 1, 2019 and September

30, 2019. For the additional twenty-four (24) Plaintiffs, the Court expects the Parties to select


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Plaintiffs whose claims are representative of the characteristics of claims in the litigation overall.

Plaintiffs nominated for the Trial Pool must have product identification as defined in Case

Management Order No. 12 (Rec. Doc. 1506). The Parties disagree on whether cases without single-

defendant product ID should be selected for the Trial Pool and will address that issue with the Court

prior to November 1, 2018. The Parties will each send their nominations in list format (including

Plaintiff name and MDL Docket No.) to one another and the Court.

       d.      Initial Case-Specific Depositions in Trial Pool Cases. Absent good cause shown,

or unless otherwise agreed upon, discovery in each of the Trial Pool cases shall be limited to the

following: Defendant(s) may depose the Plaintiff and select three (3) additional witnesses to

depose, and Plaintiffs may select two (2) witnesses to depose. The deadline for completing Phase

1 depositions in the Trial Pool cases for the second trial shall be December 14, 2018. The deadline

for completing Phase 1 depositions in the Trial Pool cases for the third trial shall be April 19,

2019. The deadline for completing Phase 1 depositions in the Trial Pool cases for the fourth and

fifth trials will be September 30, 2019.

8.     Schedule for Second, Third, Fourth, and Fifth Trials. All other corresponding dates for

the second, third, fourth, and fifth trials, not specifically defined in the paragraphs hereinabove,

are outlined in Table 1 attached hereto.



                                               _______________________________________
                                               HON. JANE T. MILAZZO
                                               UNITED STATES DISTRICT COURT JUDGE




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                                Trial 1               Trial 2                 Trial 3             Trial 4                Trial 5
        Deadlines             May 13, 2019      September 16, 2019        January 27, 2020      May 11, 2020       September 14, 2020
Trial Pool Nomination
          ¶ 7(a)               Completed            Completed            November 1, 2018     November 1, 2018     November 1, 2018
  Phase I Discovery in                                                                        Per paragraph 7(c)   Per paragraph 7(c)
Trial Pool Cases ¶ 7(d)        Completed        December 14, 2018          April 19, 2019          and (d)              and (d)
Final Plaintiff Selection
- Parties' Nomination ¶
           7(b)                Completed         January 4, 2019           May 17, 2019        August 30, 2019     December 28, 2020
Final Plaintiff Selection
  - Court's Selection ¶
           7(b)                Completed         January 11, 2019          May 24, 2019       September 6, 2019     January 3, 2020
 Phase II Discovery in
   Selected Trial Pool
          Cases             November 7, 2018      March 4, 2019            July 15, 2019      October 21, 2019     February 14, 2020
Plaintiff General Expert
     Reports ¶ 4(a)         November 7, 2018     March 22, 2019           August 2, 2019      November 8, 2019       March 6, 2020
   Defendant General
 Expert Reports ¶ 4(b)      December 10, 2018     April 19, 2019         September 6, 2019    December 6, 2019       April 10, 2020
     Plaintiff Expert
    depositions ¶ 4(a)      December 10, 2018     April 19, 2019         September 6, 2019    December 6, 2019       April 10, 2020
    Defendant Expert
   Depositions ¶ 4(b)        January 25, 2018     May 17, 2019            October 7, 2019      January 6, 2020       May 11, 2020
 Motions and Briefs ¶
          65(a)              February 8, 2019     May 31, 2019           November 1, 2019     February 7, 2020        June 5, 2020
  Opposition Briefs ¶
           5(b)               March 8, 2019       July 19, 2019         November 22, 2019      March 6, 2020         July 10, 2020

  Reply Briefs ¶ 5(c)        March 15, 2019       July 26, 2019          November 29, 2019     March 13, 2020        July 17, 2020
Hearing and Argument        Week of March 25,    Week of July 29,       Week of December 9,    Week of March        Week of July 27,
        ¶ 5(d)                    2019                2019                     2019              23, 2020                2020
 Jury Questionnaire ¶
         6(a)                 April 1, 2019       August 5, 2019         December 16, 2019     March 30, 2020        August 3, 2020
 Final Witness List ¶
         6(b)                 April 5, 2019       August 9, 2019        December 20, 2019       April 3, 2020        August 7, 2020
   Exhibit Lists and
      Deposition
  Designations ¶ 6(c)         April 12, 2019     August 16, 2019        December 27, 2019      April 10, 2020       August 14, 2020
 Motions in Limine ¶
         6(d)                 April 15, 2019     August 19, 2019        December 30, 2019      April 13, 2020       August 17, 2020
Counter Designations ¶
         6(e)                 April 26, 2019     August 30, 2019          January 10, 2020     April 24, 2020       August 28, 2020
Oppositions to Motions
   in Limine ¶ 6(h)           April 26, 2019     August 30, 2019          January 10, 2020     April 24, 2020       August 28, 2020
     Objections to
  Designations ¶ 6(f)          May 3, 2019      September 6, 2019         January 17, 2020      May 1, 2020        September 4, 2020
    Plaintiffs’ and
   Defendants’ Jury
    Charges ¶ 6(g)            May 3, 2019       September 6, 2019         January 17, 2020      May 1, 2020        September 4, 2020
     Final Pretrial          Week of May 6,
   Conference ¶ 6(j)             2019           September 11, 2019        January 22, 2020      May 6, 2020        September 9, 2020




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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA



IN RE: TAXOTERE (DOCETAXEL)                           MDL NO. 16-2740
PRODUCTS LIABILITY LITIGATION

This document relates to all cases                    SECTION H(5)


                        PRETRIAL ORDER NO. 80


      IT IS ORDERED that the next general status conference is SET for
August 16, 2018 at 10:00a.m. in Judge Milazzo’s courtroom (B224). It shall
be preceded by a meeting with liaison and lead counsel at 8:30 a.m. The Court
will set up a conference line for the status conference to be disseminated at a
later date.




                      New Orleans, Louisiana this 18th day of July, 2018.




                                    ____________________________________
                                    JANE TRICHE MILAZZO
                                    UNITED STATES DISTRICT JUDGE
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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)   )                                      MDL No. 16-2740
PRODUCTS LIABILITY LITIGATION )
                              )                                      SECTION: “N” (5)
THIS DOCUMENT RELATES TO:     )
ALL ACTIONS                   )

                         CASE MANAGEMENT ORDER NO. 12A
                     (AMENDED PRODUCT IDENTIFICATION ORDER)

        Case Management Order No. 12 (“CMO 12”) (Rec. Doc. 1506) was entered on January

12, 2018. An amendment to CMO 12 is necessary to clarify the parties’ obligations and the

procedures governing the discovery of Product ID Information and subsequent dismissal of

defendants whose product was not used. This Order applies to all present and future cases

docketed in MDL 2740 as well as all parties in the litigation and supersedes CMO 12. Each party

must discharge the obligations of this Order in a diligent, good faith, and documented manner.

        Amended Pretrial Order No. 22 (Rec. Doc. 325) requires each Plaintiff to submit to the

Defendants a complete and verified Plaintiff Fact Sheet (“PFS”) to be accompanied by all

responsive documents in Plaintiff’s possession within seventy-five (75) days of the date the case

is docketed in this MDL. The PFS contains questions related to the identification of the

Taxotere/docetaxel/docefrez (“docetaxel”) infused and to the production of records to identify the

manufacturer of the docetaxel infused. See Pretrial Order 18, Attachment 1 (Rec. Doc. 236-1).1

        Recognizing the importance of determining product identification in MDL 2740, IT IS

ORDERED that:




1
    Pretrial Order No. 18 (Rec. Doc. 236) requires each Plaintiff’s PFS to be accompanied by any “records
    demonstrating use of Taxotere® or other docetaxel” in the Plaintiff’s possession. If the manufacturer of such
    docetaxel is unknown, the Plaintiff must certify to have made “reasonable, good faith efforts to identify the
    manufacturer of the Docetaxel used in my treatment, including requesting records from my infusion pharmacy.”
    See Pretrial Order No. 18, Attachment 1 at Part III (Rec. Doc. 236-1).


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          1.        Within sixty (60) days after filing a Short Form Complaint, each Plaintiff must: (a)

determine the facility, center, hospital, or clinic (hereinafter “infusion facility”) in which the

Plaintiff was infused with docetaxel; (b) determine the time frame Plaintiff was treated with

docetaxel at such infusion facility; and (c) request, order, and ultimately pay for medical,

pharmacy, billing (i.e., a patient itemized statement), insurance billing records from such infusion

facility containing the National Drug Code (“NDC”) number(s) for the docetaxel Plaintiff received,

and/or completion of the attached Exhibit B form entitled “Statement Regarding Chemotherapy

Drug Administered”, 2 or other proof of the identity of the manufacturer or labeler of the docetaxel

Plaintiff received as provided in Paragraph 6 of this Order (“Product ID Information”). All initial

requests for records containing Product ID Information shall be in writing and accompanied by a

valid medical authorization signed by the Plaintiff. Plaintiff is strongly encouraged to contact the

infusion facility by telephone before sending such written request to determine where and/or to

whom such written request(s) should be sent. 3 The written request shall request production of such

Product ID Information no more than thirty (30) days after the written request. If Plaintiffs have

substantially complied with these obligations prior to the entry of this Order, they shall notify

Defendants in accordance with Paragraph 3 or Paragraph 7 of this Order, within twenty-one (21)

days of entry of this Order, unless Plaintiff has already done so in connection with the original CMO

12.

          If a Plaintiff has already obtained Product ID Information, uploaded it in accordance with

this Order, and dismissed any defendant named which, according to the Product ID Information


2
      The Plaintiff’s Letter shall request that the form (1) identify the Plaintiff and the correct dates of treatment, (2) is
      signed by an authorized person on behalf of the patient’s infusion pharmacy, treatment facility, or other authorized
      health care professional, as defined in Paragraph 6 of this Order, and (3) need not be notarized.
3
      Plaintiffs should recognize that infusion facilities may maintain and/or store patient records in different
      departments and/or locations. For instance, medical records may be maintained in the records department while
      billing records may be maintained in the billing department.


                                                              2
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received did not manufacture or label the product Plaintiff received, in accordance with the

presumption in Paragraph 6 of this Order, the Plaintiff has no further obligations under this Order.

If all of Plaintiff’s infusions of docetaxel occurred prior to March 8, 2011, the Plaintiff shall have no

obligations under this Order.

        2.       If records are not received within thirty (30) days of the issuance of the written

request, Plaintiff shall make a diligent, good faith, and documented effort to follow-up with the

infusion facility in writing and/or by phone to obtain (i) Product ID Information; or (ii) written

notice that the infusion facility either does not possess Product ID Information or will not provide

Product ID Information to Plaintiff. In particular, if Plaintiff receives written notice from the

infusion facility that Plaintiff has requested Product ID Information from the incorrect entity and

identifies the appropriate facility(y/ies), Plaintiff shall request Product ID Information from the

other facilities/record holders identified by the infusion facility pursuant to Paragraph 1.

        3.       If Plaintiff has not received Product ID Information within sixty (60) days of the

Plaintiff’s initial written request, Plaintiff shall notify the named Defendant(s) in writing within

seven (7) days, through Defense Liaison Counsel (John Olinde – 505b2liaison@chaffe.com and

Douglas Moore – noproductid@shb.com) and the contact person for the Defendant(s) named 4 and

served in the lawsuit, that Product ID Information has not been received and shall provide

Defendant(s) with the following information: (i) Plaintiff’s name; (ii) Plaintiff’s MDL case

number; (iii) copies of all written requests for Product ID Information sent by Plaintiff to the

infusion facility; (iv) copies of all documented responses from the infusion facility to Plaintiff; and

(v) unless provided as an attachment to Plaintiff’s PFS in the form authorized by Rec. Doc. 236-

1, a valid authorization for the release of Plaintiff’s medical records, which contains Plaintiff’s



4
        Exhibit A provides the contact e-mail addresses for each Defendant in this litigation.


                                                         3
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name, date of birth, social security number, and Plaintiff’s signature.

       4.      Within sixty (60) days of receiving notice from Plaintiff that Plaintiff has not

obtained Product ID Information, each named and served Defendant shall determine whether it

possesses Product ID Information for Plaintiff. If the named and served Defendant possesses

Product ID Information, it shall provide all parties to the action with such Product ID Information

within the fourteen (14) day period. If a named and served Defendant does not possess Product

ID Information, within twenty-one (21) days of notification to the Defendants that Plaintiff has

taken all the steps described above, the named and served Defendants shall collectively send one

letter to the infusion facility at the facility and address of Plaintiff’s Paragraph 1 and 2 requests,

identifying themselves as manufacturers or labelers of docetaxel and requesting Product ID

Information only and/or completion of the attached Exhibit B form entitled “Statement Regarding

Chemotherapy Drug Administered” to be produced within fourteen (14) days of receipt of the

letter. The letter will advise the infusion pharmacy the Product ID information is to be provided to

the Defendant submitting the request and that Defendants’ request is not intended to duplicate prior

records responses from the facility and, if it would, to advise Defendants of the same. If the

infusion facility provides Product ID Information, Defendants shall provide counsel for Plaintiff

and Plaintiffs’ Liaison Counsel a copy of the response from the infusion facility within seven (7)

days of receipt of the Product ID Information. If such evidence satisfies the showing set forth in

Paragraph 6 of this Order, Plaintiff shall comply with Paragraphs 7 and 9.

               a.      If the infusion facility requires payment either before or after the production

                       of such records, Defendants shall promptly notify the Plaintiffs and




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                        Plaintiffs shall bear the cost of such payment. 5 The parties shall coordinate

                        with each other and the infusion facility to effectuate such payment.

               b.       Defendants shall use the authorization provided as an attachment to

                        Plaintiff’s PFS in the form authorized by Rec. Doc. 236-1 and if an

                        authorization has not been uploaded, Defendant shall so notify Plaintiff and

                        Plaintiff shall promptly provide a valid authorization.                  If Defendants’

                        request for Product ID Information is rejected by the infusion facility due

                        to a deficient or invalid authorization, Defendants shall notify Plaintiff of

                        the rejection by providing Plaintiff with a copy of the rejection notice;

                        Plaintiff shall then promptly provide Defendants with an updated

                        authorization that addresses each identified deficiency. Once Plaintiff

                        provides an updated authorization to Defendants, Defendants shall re-

                        submit their request for Product ID Information using the updated

                        authorization.

               c.       If the infusion facility directs Defendants to a different facility, department,

                        or location (“Different Facility”) to obtain Product ID Information,

                        Defendants shall notify Plaintiff within fourteen (14) days of receiving such

                        notice by providing Plaintiff with a copy of such notice. If Plaintiff did not

                        request Product ID Information from such Different Facility, Plaintiff shall

                        re-issue her request to such Different Facility by taking the steps outlined

                        in paragraphs 1 and 2 above within fourteen (14) days of receipt of notice



5
      Plaintiffs are not required to satisfy prepayment requests from a facility for records that are duplicative of
      previously obtained records or records that do not contain Product ID information, but the onus will be on
      Plaintiffs to investigate and demonstrate that such conditions are met if refusing to pay.


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                            of the Different Facility. If Plaintiff did request Product ID Information

                            from such Different Facility, Defendants shall re-issue their request to such

                            Different Facility by taking the steps outlined in Paragraph 4 within fourteen

                            (14) days of receipt of notice of the Different Facility.

                   d.       Should the infusion facility fail to provide the Defendants with Product ID

                            Information within thirty (30) days of Defendants’ letter to the infusion

                            facility, 6 Defendants shall provide counsel for Plaintiff a copy of the request

                            letter to, and any responses from, the infusion facility within fourteen (14)

                            days.

          5.       Within thirty (30) days of Plaintiff receiving notice that named Defendant(s) do not

possess Product ID Information after Defendants have taken the steps set forth in the preceding

paragraph, Plaintiff shall issue a subpoena 7 requiring the infusion facility to release Product ID

Information. 8 Plaintiff shall provide a copy of the subpoena pursuant to FRCP 45, through Defense

Liaison        Counsel     (John     Olinde      –505b2liaison@chaffe.com               and     Douglas       Moore       –

noproductid@shb.com) and the contact person 9 for the Defendant(s) named and served in the

lawsuit. If the infusion facility fails to comply with the subpoena, the Court shall take appropriate

action including a Show Cause Order and/or setting a hearing on a motion to compel.

          6.       The following information is presumed sufficient evidence to establish the identity



6
          Or within thirty (30) days of Defendants’ letter to the Different Facility, if triggered by the preceding
          paragraph (c), whichever is later.
7
          Without waiver of any protections afforded third parties under FRCP 45 and upon prior confirmation from
          the facility of consent to alternate service, the subpoena may be served via both Express Courier which has
          tracking information (i.e., FedEx or UPS) or and certified mail, as a satisfaction of in lieu of personal service.
8
          Without waiver of any protections afforded third parties under FRCP 45 and in an effort to reduce the costs
          of this process, the infusion facility may be encouraged by the Plaintiff to produce responsive documents via
          electronic production to Plaintiffs’ counsel, rather than physical production within 100 miles of the infusion
          facility.
9
          See Exhibit A.


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of the manufacturer(s) or labeler of docetaxel in this MDL:

              a.      National Drug Code (“NDC”) numbers contained in a patient’s medical,

                      pharmacy, billing or insurance records; or

              b.      A Statement Regarding Chemotherapy Drug Administered (“Statement”)

                      identifying the manufacturer(s) or labeler of the drug administered to

                      Plaintiff and the correct dates of treatment, certified and signed by an

                      authorized person on behalf of the patient’s infusion pharmacy, treatment

                      facility, or other authorized health care professional, provider, or insurance

                      carrier. Such Statement need not be notarized and can be in the form of the

                      Statement attached hereto as Exhibit B. An “authorized person” must be an

                      infusion pharmacist or other person who regularly keeps or reviews records

                      of patient treatment in the course of employment by the Plaintiff’s infusion

                      facility, medical facility or health insurance company.

              c.      Medical and/or billing records showing that docetaxel was administered

                      prior to March 8, 2011, is evidence that the docetaxel was manufactured by

                      sanofi.

       7.     If any party obtains Product ID Information at any time during this MDL

proceeding, that party shall notify all other named parties within thirty (30) days of receipt of

obtaining the Product ID Information.       Within thirty (30) days of obtaining Product ID

Information, Plaintiff shall upload such evidence to MDL Centrality under the “Product

Identification” document type field of MDL Centrality.

       8.     Where Plaintiff has submitted Product ID Information as defined in Paragraph 6,

Defendants in MDL 2740 will not dispute such evidence without offering testimonial or



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documentary evidence to rebut the presumption. If any party obtains contrary testimonial or

documentary evidence regarding Product ID Information (“contrary evidence”), it shall notify

counsel for all named parties of the existence of such evidence within seven (7) days of its

discovery. In all cases subject to a trial scheduling order, any contrary evidence obtained must be

produced by the close of Phase I discovery. Otherwise, once a case is identified in a trial

scheduling order and after the close of Phase I discovery, the existing Product ID Information will

be deemed affirmative evidence of the identity of the manufacturer or labeler of a plaintiff’s

docetaxel, absent good cause shown. 10

       9.      Within thirty (30) days of the date Plaintiff uploads the Product ID Information for

all docetaxel infusions to MDL Centrality, Plaintiff shall voluntarily dismiss any and all named

Defendants not identified by the Product ID Information.

               a.       The Form Dismissal to be used by Plaintiffs is attached as Exhibit C. This

                        form, which requires a signature by plaintiffs’ counsel only, shall be used

                        to effectuate dismissals pursuant to this Order, notwithstanding the

                        requirements of FRCP 41, and PTOs 15 (Rec. Doc. 230) and 54 (Rec. Doc.

                        671), which may require additional signatures by parties who have been

                        served to effectuate dismissals pursuant to those provisions.

               b.       Plaintiffs should also submit an Amended PFS to update Section III.1, 2,

                        and 3 to reflect the correct defendant(s) and remove the defendants that are

                        dismissed in connection with this Order.

               c.       Defendants previously named and/or served on Plaintiff’s Short Form

                        Complaint hereby reserve any and all defenses that existed up to the time of


10
       For all cases identified under CMO 14, Paragraph 3, contrary evidence must be produced prior to the close
       of Phase II discovery.


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                       filing such dismissal.

               d.      Plaintiffs acknowledge that Defendants have not confirmed the sufficiency

                       of any product identification obtained and agree that Defendants retain their

                       right to timely dispute product identification pursuant to Paragraph 8 above.

                       Defendants acknowledge that if a Defendant disputes Product ID

                       Information pursuant to Paragraph 8 above, the Plaintiff retains the right to

                       reinstate her claims against any dismissed Defendant pursuant to Federal

                       Rule of Civil Procedure 60(b)(6).

               e.      To the extent Plaintiffs need to contact Defendants in connection with the

                       procedure provided in Paragraph 9 specifically, plaintiff should use the

                       contact information provided for each Defendant in Exhibit A.

       10.     If Plaintiff fails to seek voluntary dismissal of any Defendant not identified by the

Product ID Information within thirty (30) days of the date Plaintiff uploads such evidence for all

docetaxel infusions to MDL Centrality, such Plaintiff’s claims against said Defendants not

identified by the Product ID information may be subject to dismissal pursuant to PTO No. 22A after

the procedural steps set forth in PTO No. 22A are satisfied.

       11.     Any Plaintiff who has served or will serve a PFS and failed or fails to comply with

the requirements of Paragraphs 1-3 or Paragraph 5, shall be subject to dismissal pursuant to PTO

No. 22A after the procedural steps set forth in PTO No. 22A are satisfied.

       12      Any Plaintiff who lacks Product ID Information after complying with Paragraphs

1-5 of this Order shall be authorized to conduct discovery to the relevant infusion facility,

distributor, and healthcare providers, limited in scope solely to determine Product ID Information,

for a period of no more than one-hundred and twenty (120) days from the issuance date on the



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subpoena issued pursuant to Paragraph 5 of this Order, or, in cases where such subpoenas have

already been issued, within 120 days of entry of this Order, whichever is later, regardless of

whether a response is provided by the infusion facility. If any firm needs to conduct discovery

pursuant to this provision for more than 25 Plaintiffs, it shall identify to Defendants sets of 25

Plaintiffs whose deadlines shall be extended by successive 30-day periods so that no firm is

required to take more than 25 deposition pursuant to this Order in a calendar month. If Product ID

Information is not determined following the 120-day (or staggered, if applicable) period set forth

above, the issue may be brought to the attention of the Court for appropriate adjudication.



New Orleans, Louisiana, this 24th day of July, 2018.



                                                 JANE T. MILAZZO
                                                 UNITED STATES DISTRICT JUDGE




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                                    EXHIBIT A


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Fax: 212-698-3599
docetaxelproductid@dechert.com

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City, MO 64108 Telephone:
816-474-6550
Facsimile: 816-421-5547
noproductid@shb.com




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Kimberly L. Beck                      Counsel for Defendant Actavis Pharma,
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                                     EXHIBIT B

         STATEMENT REGARDING CHEMOTHERAPY DRUG ADMINISTERED

    PATIENT NAME:

    DATE OF BIRTH:   /    /                                 SSN:     /     /


          TO BE COMPLETED BY REPRESENTATIVE OF ONCOLOGIST/INFUSION CENTER

         ***PLEASE MARK THE NDC FOR THE TAXOTERE/DOCETAXEL ADMINISTERED ȗȗȗ

SANOFI AVENTIS US LLC                 ACCORD                DR REDDYS LAB LTD.
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                                             EXHIBIT C

                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                         MDL NO. 2740
PRODUCTS LIABILITY LITIGATION
                                                    SECTION “H” (5)

                                                    JUDGE MILAZZO
                                                    MAG. JUDGE NORTH

                                                    NOTICE OF PARTIAL DISMISSAL
                                                    WITH PREJUDICE AS TO ALL
                                                    EXCEPT [Defendant(s) for whom
                                                    Plaintiffs have obtained product
                                                    identification]
THIS DOCUMENT RELATES TO:
                                                    Civil Action No.: 2:XX-cv-XXXXX




       Pursuant to CMO 12A, Plaintiff dismisses with prejudice all previously named defendants in this

matter except [defendant(s) for whom plaintiffs have obtained product identification], each party to bear

its own costs. Plaintiff seeks this partial dismissal pursuant to paragraph 9 of Case Management Order

No. 12 (Rec. Doc. 1506). Plaintiff’s claims against the remaining defendants are not dismissed, or

otherwise affected, by this Notice of Partial Dismissal with Prejudice.         If warranted under the

circumstances, Plaintiff may seek relief from this dismissal of claims pursuant to Federal Rule of Civil

Procedure 60(b)(6).

Dated this _______ day of _________, 2018


[Plaintiff’s counsel’s signature block]




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                                     CERTIFICATE OF SERVICE


       I hereby certify that on _______, ___, 2018, I electronically filed the foregoing with the Clerk of
the Court by using the CM/ECF system, which will send a notice of electronic filing to all counsel of
record who are CM/ECF participants.
        DATED: __________, ___, 2018                 /s/_________________________________




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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)   )                                 MDL No. 16-2740
PRODUCTS LIABILITY LITIGATION )
                              )                                 SECTION: “H” (5)
                              )
THIS DOCUMENT RELATES TO:     )
ALL ACTIONS                   )



                             PRETRIAL ORDER NO. 22A
                (SHOW CAUSE ORDER PROCESS FOR DISMISSAL OF CASES)


          This Order modifies Amended Pretrial Order No. 22 (Rec. Doc. 325) (“PTO 22”) 1 ,

paragraph 5, with respect to the procedure for show cause orders and governs the Defendants’

requests for dismissal of the Complaint of any Plaintiff who allegedly fails to submit a complete

and verified PFS.

          1.       This Order applies to any Plaintiff who does not comply with the requirements of

PTO 22, Paragraphs 2-3 and Paragraphs 5-6 by providing a complete and verified PFS, signed and

dated Authorizations, and all responsive documents requested in the PFS within the time periods

set forth therein;

          2.       In any such instance where thirty (30) days have passed, Defendants may serve a

Notice of Non-Compliance upon Plaintiffs’ Liaison Counsel.                     The Notice of Non-Compliance

shall be in spreadsheet format and shall include columns for the last name of the plaintiff, the first

name of the Plaintiff, the case number, the date the complaint was filed, the name and contact


1
    Specifically, the following language from paragraph 5 of PTO 22 is superseded by this Pretrial Order:

Afterwards, Defendants may add the name and case number of any Plaintiff who fails to cure deficiencies within the
thirty-day cure period to the Agenda for the next Status Conference. No briefing is required. Any Plaintiff who remains
deficient at the time of that Status Conference will be subject to an Order to Show Cause, returnable at the following
Status Conference, which will require Plaintiff to show cause why her Complaint should not be dismissed with
prejudice.
    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 613 of 657




information of the Plaintiff’s counsel, the Plaintiff’s MDL Centrality number, and a description of

the discovery non-compliance.

       3.      Within thirty (30) days of being identified on a Notice of Non-Compliance, each

Plaintiff must serve Defendants with the complete and verified disclosures, along with the requisite

responsive documents for PTO 22 by uploading such evidence to the applicable document-type

field on MDL Centrality. Each Plaintiff shall at the same time confirm compliance by email to the

counsel identified in attached Exhibit A and Plaintiffs’ Liaison Counsel. During this thirty (30)

day period, the parties shall meet and confer through Plaintiffs’ Liaison Counsel, or their designee,

with Defendants’ Liaison Counsel, or their designee.

      4.        Any Plaintiff who remains non-compliant with Paragraph 3 above, may be placed

on the call docket by the Defendants subject to possible dismissal with prejudice or other

appropriate relief. The call docket will be taken up after the status conferences, which date will

be published by the Court on the Court’s website. No later than fourteen days before the call

docket, Defense Liaison Counsel shall file the list of the cases by name and number subject to

dismissal under this order. There shall be no briefing by any party. At the hearing, Liaison

Counsel or their designees will advise the Court of any cases that may be removed from the list by

agreement. At the call docket, each party will have the opportunity to address the Court, in person

or via telephone, or through Liaison Counsel or its designee, regarding the matter. Any Plaintiff

who fails to appear at the call docket and establish good cause for the failure to make discovery

disclosures as required herein, may have her case dismissed with prejudice, or be subject to any

other such relief as the Court may order.

      5.       The Court will employ this same show cause procedure with regard to the alleged

violations by the Plaintiffs of CMO 12A and PTO 71A, when the Court so directs.




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New Orleans, Louisiana this 24th day of July, 2018.




                                               HON. JANE T. MILAZZO
                                               UNITED STATES DISTRICT JUDGE




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                                       EXHIBIT A

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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                   )      MDL No. 16-2740
PRODUCTS LIABILITY LITIGATION                 )
                                              )      SECTION: “H” (5)
                                              )
This document relates to all cases            )


                           PRETRIAL ORDER NO. 81

      IT IS ORDERED that the next general status conference is SET for

September 27, 2018, at 10:00 a.m. in Judge Milazzo’s courtroom (C224). It shall be

preceded by a meeting with liaison and lead counsel at 8:30 a.m. The Court will set

up a conference line for the status conference to be disseminated at a later date.




                          New Orleans, Louisiana this 21st day of August, 2018.




                                           HON. JANE TRICHE MILAZZO
                                           UNITED STATES DISTRICT JUDGE
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


IN RE: TAXOTERE (DOCETAXEL)                                MDL NO. 16-2740
PRODUCTS LIABILITY
LITIGATION
                                                           SECTION H(5)
This documents relates to all cases


                           PRETRIAL ORDER NO. 82
              (Procedure for Adding Sagent Pharmaceuticals, Inc.)

       This   stipulated   order   delineates     the   process   for   adding   Sagent

Pharmaceuticals, Inc., as a Defendant in this Multidistrict Litigation.

       IT IS HEREBY ORDERED:

1.     Plaintiffs, through the PSC, are hereby granted leave to, and shall file, a

       Second    Amended     Master    Long      Form   Complaint,      naming   Sagent

       Pharmaceuticals, Inc. (“Sagent”) as a Defendant, and shall serve the Second

       Amended Master Long Form Complaint on Sagent, together with a summons,

       pursuant to Federal Rule of Civil Procedure 4. Plaintiffs shall file the Second

       Amended Master Long Form Complaint no later than seven (7) days

       following entry of this Pretrial Order.

2.     The Second Amended Master Long Form Complaint shall be identical to the

       First Amended Master Long Form Complaint (Rec. Doc. 689), except that

       Plaintiffs may add allegations upon which they seek to premise liability

       against Sagent and Actavis LLC f/k/a Actavis Inc. (“Actavis”) and Plaintiffs
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       may add allegations regarding the transactions involving docetaxel between

       Sagent and Actavis.

3.     No Defendants other than Sagent and Actavis shall plead in response to the

       Second Amended Master Long Form Complaint, and each Defendant’s

       answer and defenses to the First Amended Master Long Form Complaint is

       hereby deemed to be its answer and defenses to the Second Amended Master

       Long Form Complaint.

             (a) Actavis shall plead in response to the Second Amended Master

             Long Form Complaint within 30 days of its docketing. Actavis’ answer

             and defenses to the First Amended Master Long Form Complaint may

             be incorporated by reference into its answer and defenses to the Second

             Amended Master Long Form Complaint, except that Actavis also may

             answer any allegations in the Second Amended Master Long Form

             Complaint that have been added pursuant to paragraph 2 of this

             Order, and Actavis may include any additional defenses in response to

             such allegations.

             (b) Sagent shall file an answer in response to the Second Amended

             Master Long Form Complaint within sixty (60) days of service.

             (c) Except for the deadlines contained herein for filing the Second

             Amended Master Long Form Complaint and for pleading in response

             to the Second Amended Master Long Form Complaint, the applicable




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             provisions of PTO No. 15 shall apply to any answer filed by Actavis or

             Sagent to the Second Amended Master Long Form Complaint.

4.     For all Short Form Complaints filed in this MDL, the first sentence of the

       Short Form Complaint is hereby amended to read as follows: “Plaintiff(s)

       incorporate by reference the operative Master Long Form Complaint and

       Jury Demand filed in the above-referenced case.” Any Plaintiff wishing to

       name Sagent as a Defendant in a particular case shall add “Sagent

       Pharmaceuticals, Inc.” to the box provided in the Short Form Complaint for

       identifying any “other” Defendant(s). (Paragraph 6(b)(K) of the version of the

       Short Form Complaint approved by the Court pursuant to PTO No. 73,

       effective as of January 4, 2018 (Rec. Doc. 1463-1)). The filing of a Short Form

       Complaint naming Sagent or Actavis pursuant to the provisions of this

       Pretrial Order as a Defendant(s) does not trigger any responsive pleading

       deadline, pursuant to PTO No. 42, all provisions of which shall apply to

       Sagent and Actavis.



       New Orleans, Louisiana, this 20th day of September, 2018.




                                       _________________________________
                                       JANE TRICHE MILAZZO
                                       UNITED STATES DISTRICT JUDGE




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                       MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                  SECTION “H” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                          PRETRIAL ORDER NO. 83
             (Streamlined Service on Sagent Pharmaceuticals, Inc.)

I.       SCOPE OF THE ORDER

         This Stipulated Order shall govern (1) cases transferred to this Court by the

Judicial Panel on Multidistrict Litigation, pursuant to its Order of October 4,

2016; (2) any tag-along actions subsequently transferred to this Court by the

Judicial Panel on Multidistrict Litigation pursuant to Rule 7.1 of the Rules of

Procedure of that Panel; and (3) all related cases originally filed in this Court or

transferred or removed to this Court. The Order only applies to claims brought by

a U.S. citizen or resident based on usage or purchase of docetaxel in the United

States.

II.     STREAMLINED  SERVICE                   OF   PROCESS        FOR      SAGENT
        PHARMACEUTICALS, INC.

        A.    Solely for purposes of this Multidistrict Litigation, (“MDL”) Sagent

Pharmaceuticals, Inc. (“Sagent”) agrees to waive formal service of process under

Federal Rule of Civil Procedure 4 and to accept service of Short Form Complaints

in docetaxel cases that are properly commenced in, removed to, or transferred to


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this MDL. By waiving formal service of process, Sagent does not waive any

defenses available to it.

     B.     These procedures for informal service of process are not available in

cases in which the Plaintiff seeks remand to state court unless and until remand is

denied. For Plaintiffs seeking remand, all deadlines set forth in this Order run

from the date on which remand is denied.

     C.     Plaintiffs whose Complaints are not subject to Paragraph B above,

who have not already named and served Sagent, shall have ninety (90) days from

the date the case is docketed in the MDL, or the date a Plaintiff’s motion for leave

to amend to add Sagent is granted, whichever is later, to serve the Short Form

Complaint (Rec. Doc. 1463-1) with a Summons. Plaintiffs whose cases already

have been docketed in this MDL, and in which Sagent is already named as a

defendant, shall have sixty (60) days from entry of this Order to serve the Short

Form Complaint with a Summons. The Short Form Complaint and a Summons

shall be served by electronic       mail (“email”) to the following address:

sagentservice@ulmer.com. Each email sent to this address shall only contain one

Short Form Complaint and Summons, and the subject line of each email shall

state the plaintiff’s first and last name as well as the originating court. The body

of each email must also include contact information for counsel of record.

     D.     Plaintiffs should receive an automatic reply from the mailbox address

when a Short Form Complaint is served. If no such reply is received within

twenty-four (24) hours, Plaintiffs should re-serve it pursuant to the terms of this


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Order. Upon successful e-mail service, the date of the initial effort to serve the

Short Form Complaint via email shall be deemed the date of service.

     E.     Service will be effective only if addressed as above. General mailing or

use of other methods of transmission, including but not limited to Federal Express

or email to an alternate address, will not be sufficient to effect service.       In

accordance with Pretrial Order Nos. 1 and 42, Sagent is not required to respond to

effectively served Short Form Complaints until a date to be set by the Court.

Sagent agrees to provide thirty (30) days written notice before moving to dismiss

for a technical defect in the service process described in this section. Failure to

serve a Short Form Complaint within the time periods set forth above will be subject

to the standards governing Fed. R. Civ. P. 4(m). Other than those based on

formal service of process, Sagent reserves all other rights and defenses available

to it under federal or state law and under applicable treaties and conventions.

      New Orleans, Louisiana, this 24th day of September, 2018




                                      _________________________________________
                                      JANE TRICHE MILAZZO
                                      UNITED STATES DISTRICT JUDGE




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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                   )     MDL No. 16-2740
PRODUCTS LIABILITY LITIGATION                 )
                                              )     SECTION: “H” (5)
                                              )
This document relates to all cases            )



                           PRETRIAL ORDER NO. 84

      IT IS ORDERED that the next general status conference is SET for

November 15, 2018, at 10:00 a.m. in Judge Milazzo’s courtroom (C224). It shall be

preceded by a meeting with liaison and lead counsel at 8:30 a.m. The dial-in number

for the general status conference is (800) 260-0702, and the access code is 455209.

      IT IS FURTHER ORDERED that a meeting with liaison and lead counsel is

SET for December 19, 2018, at 9:00 a.m. No general status conference will follow

this meeting.

      New Orleans, Louisiana, this 4th day of October, 2018.




                                       _________________________________
                                       HON. JANE TRICHE MILAZZO
                                       UNITED STATES DISTRICT JUDGE
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)   )                        MDL No. 2740
PRODUCTS LIABILITY LITIGATION )
                              )                        SECTION: “H” (5)
                              )
THIS DOCUMENT RELATES TO:     )
ALL ACTIONS                   )

                CASE MANAGEMENT ORDER NO. 15
     (AGREED ORDER REGARDING PATHOLOGY PROTOCOL FOR
   PRESERVATION AND TESTING OF TISSUE SAMPLES TAKEN FROM
   PLAINTIFFS AND HANDLING OF PLAINTIFFS’ PATHOLOGY SLIDES)

        The Court hereby Orders as follows:

        1.     Applicability of Order. The following procedures will govern the

pathology materials for any Plaintiff in MDL No. 2740. To the extent that any biopsied

tissue or pathology materials exist for any Plaintiff, Plaintiff will maintain and preserve the

tissue samples and pathology in an appropriate manner that preserves it for examination,

testing, and use by both parties, as set out herein. Non-trial-pool Plaintiffs shall only be

subject to paragraphs 1-6 of this Order, unless they are later named as a trial pool Plaintiff.

        2.     Definitions. As set forth herein, the term “pathology materials” refers to

any tissue sample collected from a Plaintiff’s scalp, including but not limited to tissue

obtained from punch biopsies, shave biopsies, and incisional biopsies, as well as slides

made from tissue. As set forth herein, the term “gross specimen material” refers to any

pathology materials that are not on a slide, including but not limited to the paraffin-

embedded tissue block.

        3.     Request for Preservation of Pathology Materials. Within forty-five (45)

days of Plaintiff having undergone a procedure related to her alleged injury, Plaintiff’s

counsel in such case shall send a Request for Preservation of Pathology Materials (attached

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as Exhibit A) to the facility where the procedure occurred (unless such a request in a

similar form has already been sent).

        4.      Notice of Existence of Specimen. Once a Plaintiff has undergone a biopsy

or Plaintiff’s counsel has otherwise learned of the existence of pathology materials,

Plaintiff shall within sixty (60) days (within seven (7) days for trial pool Plaintiffs)

supplement her Plaintiff Fact Sheet (“PFS”) to advise Defendants of the existence of

pathology materials and any additional responsive information resulting therefrom

including:

        -    Section VII, Hair Loss History;




        -    Section IX, Document Requests and Authorizations;




        -    Section VI.6 (“Have you ever received treatment for the injury you allege in

             this lawsuit?”), providing a copy of the request for preservation letter sent to

             the provider; and

        -    Section VI.7 – 8, to the extent applicable.

        5.      Apportioning and Preservation of Pathology Materials and Pathology

Slides. Each party is entitled to a representative, comparable, and approximately equal

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portion of the gross specimen material. Either side may request such material, and any

slides, from the healthcare provider or facility maintaining the same with notice to

opposing Liaison Counsel. Upon request, if authorizations attached to the PFS are deemed

insufficient by the healthcare provider or facility, Plaintiff shall provide defendants with

valid authorizations for release of such materials or slides.

        a. Whichever Party Obtains Material First Agrees to Reserve Half for the

Other Party. To the extent that either side requests and obtains such material, that

“obtaining” party agrees to maintain and preserve the gross specimen material. And that

party agrees to reserve one-half of the pathology materials for sectioning by the other party.

The obtaining party agrees to provide the other party with any slides obtained from the

pathology materials within ten (10) business days after the slides are requested by the other

party. Each party agrees to maintain the slides in an appropriate manner that preserves

them for examination, testing, and use by both parties. In addition, the obtaining party

agrees to provide the other party with the entirety of the remaining gross specimen material

within ten (10) business days after it is requested by the other party.

        b. Mutual Notification and Sharing of Slides from Remaining Non-Sectioned

Materials. To the extent that either side creates slides from the remaining non-sectioned

pathology materials (the gross specimen material), that party agrees to notify the other side

and provide that party with the opportunity to examine such slides. Each side agrees to

provide the other party with any newly created slides within ten (10) business days after

the slides are requested by the party. Each side also agrees to maintain any such slides in

an appropriate manner that preserves them for examination, testing, and use by both parties.




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        Each party shall be responsible for maintaining any slides they create in a manner

that preserves them for trial. Either side shall be responsible for maintaining the gross

specimen material upon its appropriate transfer to that side.

        6.     Maintaining Chain of Custody. The parties agree that Plaintiff and

Defendants shall document the chain of custody for all pathology materials using the form

attached as Exhibit A. A copy of the chain of custody shall be provided to the other party

or the Court upon request.       Plaintiff will complete and maintain chain of custody

information for such pathology materials that are already in possession of Plaintiff or

Plaintiff’s representatives, and provide the same on request of Defendants. If a party

provides the pathology materials to consulting experts retained on their behalf, such party

shall continue to maintain the chain of custody form with the name, address, and receiving

signature of the party to whom the pathology materials are sent. The parties may create a

redacted copy of the chain of custody form that redacts the identifying information of any

consulting expert or retained expert if the discovery of said expert’s identity is premature

under the applicable rules and the Court’s Order and Reasons of November 1, 2018 (Rec.

Doc. 4836).

        7.     Trial Plaintiff Selections – Express Sharing Dates. The parties recognize

that both sides will require access to pathology materials or slides in anticipation of expert

discovery deadlines. Therefore, notwithstanding the status of any pending requests or prior

transfers under the provisions above, and unless the parties jointly make other

arrangements, for cases subject to trial selection under Case Management Order No. 14

(Rec. Doc. 3064), or amendments thereof, Defendants shall transfer any pathology material

or slides currently in their custody to Plaintiffs four weeks before Plaintiffs’ applicable


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General and Specific Expert Report deadline. Plaintiffs will maintain custody of such

materials or slides from the date four weeks before Plaintiffs’ applicable General and

Specific Expert Report deadline up to and including the date such reports are due. On the

date that Plaintiffs’ General and Specific Expert Reports are due, they will also transfer to

defendants’ custody of any pathology material or slides, which shall remain in defendants’

custody until the date of Defendants’ General and Specific Expert Reports. Plaintiffs may

request such pathology materials or slides for examination during the period for rebuttal

reports only.    The parties shall maintain custody of their respective slides and

apportionments of gross specimen material during the pre-trial period, but may jointly

arrange transfer or inspection at the maintaining parties’ convenience. New slides created

during pre-trial, but not disclosed to the other side may be excluded from evidence at trial.


        New Orleans, Louisiana this 8th day of November, 2018.




                                                  HON. JANE T. MILAZZO
                                                  UNITED STATES DISTRICT JUDGE




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)   )             MDL No. 2740
PRODUCTS LIABILITY LITIGATION )
                              )             SECTION: “H” (5)
                              )
THIS DOCUMENT RELATES TO:     )
ALL ACTIONS                   )

                CASE MANAGEMENT ORDER NO. 15
     (AGREED ORDER REGARDING PATHOLOGY PROTOCOL FOR
   PRESERVATION AND TESTING OF TISSUE SAMPLES TAKEN FROM
   PLAINTIFFS AND HANDLING OF PLAINTIFFS’ PATHOLOGY SLIDES)

                    EXHIBIT A - CHAIN OF CUSTODY FORM

                           [Case Name and Number]


     Released by:

     Name:
     ____________________________________________________________________

     Company/Organization:
     ______________________________________________________________

     Address:
     ____________________________________________________________________

     Telephone Number:
     _________________________________________________________________

     Date:
     ____________________________________________________________________

     Time:
     ____________________________________________________________________

     Signature of Recipient:
     _______________________________________________________________




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         ITEM DESCRIPTION (To Be Completed By The Sending Custodian)

Gross Description of Item      Photographed    Manner          of Size     of Other identifying marks
(including date of surgery     While in Your   Preservation       Specimen    or comments
when material removed and      Possession      (paraffin block,
slide numbers if applicable)   (Yes/No)        histology slides,
                                               loose and       in
                                               liquid, etc.)




         Note any change of condition:
         ________________________________________________________________________
         ________________________________________________________________________


         Received by:

         Name:__________________________________________________________________

         Company/Organization:____________________________________________________

         Address:________________________________________________________________

         Telephone Number: _______________________________________________________

         Date:___________________________________________________________________

         Time:___________________________________________________________________

         Signature of Recipient:_____________________________________________________



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                                           EXHIBIT B

IMPORTANT – REQUEST FOR PRESERVATION OF PATHOLOGY MATERIALS

[Date]

Attn: [Facility & Department]
[Address]

Re: [Date of Anticipated Procedure and Case Caption]

Dear [Department]:

I represent the Plaintiff, Ms. [Plaintiff’s first and last name] (your patient), and Defendants’
Liaison Counsel, Douglas Moore and John Olinde, copied below represent the Defendants,
Sanofi-Aventis U.S. LLC and Sanofi US Services, Inc. (Sanofi), in the above referenced
lawsuit. There is no litigation pending against your facility or treating physician in this
matter. I write to request that you preserve the pathology material from Ms. [Plaintiff’s last
name]’s procedure, performed by Dr. [physician’s first and last name].

It is important that any pathology obtained during this upcoming procedure be preserved for
future analysis. The parties request that you preserve the specimen(s) as follows:

    1. Please preserve all explanted materials.
    2. Please process the pathology specimens according to your usual practice for the
       creation of histology slides.
    3. Please document the procedure and the retention of all pathology according to your
       usual practice.
    4. Do not discard or destroy any pathology or documentation related to this procedure.

  Very truly yours,

  __________________
  [Counsel for Plaintiff]
  Counsel for Plaintiff


  cc: Douglas Moore, Esq. (Liaison Counsel for Defendants, Sanofi-Aventis U.S. LLC and
  Sanofi US Services, Inc.)
  John Olinde, Esq. (Liaison Counsel for 505(b)(2) Defendants)




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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)   )                       MDL No. 2740
PRODUCTS LIABILITY LITIGATION )
                              )                       SECTION: “H” (5)
                              )
THIS DOCUMENT RELATES TO:     )
ALL ACTIONS                   )


                        CASE MANAGEMENT ORDER NO. 14A
                    (AMENDMENT TO TRIAL SCHEDULING ORDER)

       The Court hereby amends paragraph 7(c) and paragraph 7(d) of CMO No. 14 (Rec. Doc.

3064) as follows:

       7(c).   Trial Pool Nomination. By November 1, 2018, eighteen (18) additional Plaintiffs

shall be selected for inclusion in the Trial Pool for the third, fourth, and fifth trials as follows.

Neither side shall select more than three (3) cases involving the same non-sanofi Defendant:

               Plaintiffs:                    9 Selections

               Defendants (Collectively): 9 Selections

Three (3) of the nine (9) Plaintiff selections on November 1, 2018 are replacements for the

Barbara Addelson, Kelly Gahan, and Jacqueline Mills cases listed in paragraph 7(a) of CMO No.

14. Three (3) of the nine (9) Defendants’ selections on November 1, 2018 are replacements for

the Lisa Tuyes, Lisa Sylvest, and Keri Bland cases listed in paragraph 7(a) of CMO No. 14. The

Christine Kinderdine case listed in paragraph 7(a) of CMO No. 14 is withdrawn from the Trial

Pool. The eighteen (18) cases selected on November 1, 2018 shall be subject to Phase I discovery

between November 1, 2018 and May 10, 2019.
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        On May 1, 2019, twelve (12) additional plaintiffs shall be selected for inclusion in the Trial

Pool for the fourth and fifth trials as follows:

                Plaintiffs:                        6 Selections

                Defendants (Collectively): 6 Selections

The twelve (12) cases selected on May 1, 2019 shall be subject to Phase I discovery between May

1, 2019 and September 30, 2019.

        For the selections on November 1, 2018 and May 1, 2019, the Court expects the parties to

select Plaintiffs whose claims are representative of the characteristics of claims in the litigation

overall. Unless otherwise agreed upon by the parties or ordered by the Court, venue for each

selected case must be proper in a United States District Court over which the United States Court

of Appeals for the Fifth Circuit has jurisdiction. Plaintiffs nominated for the Trial Pool must have

product identification as defined in Case Management Order No. 12A (Rec. Doc. 3492), and,

unless otherwise agreed upon by the parties or ordered by the Court, must have single-defendant

product identification. The Parties will each send their nominations in list format (including

Plaintiff name and MDL Docket No.) to one another and the Court.

        The parties retain all rights, including the right to assert any argument as to how to handle

any Trial Pool case that is sought to be dismissed or excluded from the Trial Pool.

        7(d).   Initial Case-Specific Depositions in Trial Pool Cases. Absent good cause shown,

or unless otherwise agreed upon, discovery in each of the Trial Pool cases shall be limited to the

following: Defendant(s) may depose the Plaintiff and select three (3) additional witnesses to

depose, and Plaintiffs may select two (2) witnesses to depose. The deadline for completing Phase

1 depositions in the Trial Pool cases for the second trial shall be December 14, 2018. The deadline



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for completing Phase 1 depositions in the Trial Pool cases for the third trial shall be May 10, 2019.

The deadline for completing Phase 1 depositions in the Trial Pool cases for the fourth and fifth

trials will be September 30, 2019.

       All other provisions of CMO No. 14 shall remain in full force and effect.

       IT IS SO ORDERED.

       New Orleans, Louisiana, this 8th day of November, 2018.



                                                      ____________________________
                                                      HON. JANE T. MILAZZO
                                                      UNITED STATES DISTRICT JUDGE




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                                    PRETRIAL ORDER NO. 70B
              (Replacing Pretrial Order No. 70A Regarding Contact with Physicians)

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                        PRETRIAL ORDER NO. _85
(PROTOCOL FOR PTO 71A AND PRIVILEGE LOG DEFICIENCIES OF NON-BELLWETHER
               PLAINTIFFS BEFORE THE MAGISTRATE JUDGE)

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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                  )     MDL No. 16-2740
PRODUCTS LIABILITY LITIGATION                )
                                             )     SECTION: “H” (5)
                                             )
This document relates to all cases           )


                           PRETRIAL ORDER NO. 86

      IT IS ORDERED that the next show cause hearing is SET for December 19,

2018, at 10:00 a.m. in Judge Milazzo’s courtroom (C224). It shall be preceded by a

meeting with liaison and lead counsel at 9:00 a.m. The dial-in number for the show

cause hearing is (800) 260-0702 and the access code is 457635.



      New Orleans, Louisiana this 26th day of November, 2018.




                                         HON. JANE T. MILAZZO
                                         UNITED STATES DISTRICT JUDGE
    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 649 of 657




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 IN RE: TAXOTERE (DOCETAXEL)                                              MDL NO. 2740
 PRODUCTS LIABILITY LITIGATION
                                                                       SECTION “H” (5)

                                                                 JUDGE MILAZZO
                                                        MAGISTRATE JUDGE NORTH
 THIS DOCUMENT RELATES TO:
 ALL CASES


                      PRETRIAL ORDER NO. 87:
        (NON-TRIAL POOL DISMISSALS WITH PREJUDICE AS TO ALL
                           DEFENDANTS)

   1. Applicability of Order. The following procedures will govern the dismissal with

prejudice of any non-Trial Pool Plaintiff as to the entire action against all defendants in

MDL No. 2740.

       a.     No Applicability to Trial Pool Plaintiffs. This order does not apply to

   any Plaintiff identified in or pursuant to Case Management Order No. 14 (Rec. Doc.

   3064) or in a similar trial scheduling CMO.

       b.     No Applicability to Product Identification Dismissals. This order

   does not apply to any partial voluntary dismissal with prejudice of all previously

   named defendants in a matter except the defendant(s) for whom Plaintiffs have

   obtained product identification, which is governed by Case Management Order No.

   12A (Rec. Doc. 3492).

       c.     No Applicability to Dismissals without Prejudice. This order also

   does not apply to any voluntary dismissal without prejudice, which is governed by

   Federal Rule of Civil Procedure 41, Pretrial Order No. 15 (Rec. Doc. 230) and Pretrial

   Order No. 54 (Rec. Doc. 671).
    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 650 of 657




   2. Averment of Basis for Dismissal. On Plaintiff’s averment of the basis for

dismissal as set forth in the Form Dismissal attached as Exhibit A, Plaintiffs may dismiss

their entire action with prejudice, with each party to bear its own costs. Plaintiffs must

check the box(es) in Exhibit A that apply to their bases for dismissal. Defendants agree

that they will not seek any costs, fees or sanctions against a Plaintiff or her counsel in

any individual, non-trial cases in connection with voluntary dismissals pursuant to this

Order.

   3. Form Dismissal. The Form Dismissal to be used by Plaintiffs is attached as

Exhibit A. This form, which requires a signature by Plaintiffs’ counsel only, shall be used

to effectuate dismissals pursuant to this Order, notwithstanding the requirements of

FRCP 41, and PTOs 15 (Rec. Doc. 230) and 54 (Rec. Doc. 671), which may require

additional signatures by parties who have been served to effectuate dismissals pursuant

to those provisions.

   4. The parties reserve their rights to seek modification of this Order as the litigation

proceeds for good cause shown.

   5. If warranted under the circumstances, Plaintiff may seek relief from this dismissal

of claims pursuant to Federal Rule of Civil Procedure 60(b)(6).




   New Orleans, Louisiana, this 27th day of November, 2018.




                                         ______________________________________
                                         HON. JANE TRICHE MILAZZO
                                         UNITED STATES DISTRICT JUDGE

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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 651 of 657




                                      EXHIBIT A

                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)
                                                                         MDL NO. 2740
PRODUCTS LIABILITY LITIGATION
                                                                       SECTION “H” (5)

                                                                    JUDGE MILAZZO
                                                                 MAG. JUDGE NORTH

THIS DOCUMENT RELATES TO:

Civil Action No.: 2:XX-cv-XXXXX


    NON-TRIAL POOL PLAINTIFF’S STIPULATION OF DISMISSAL WITH
                PREJUDICE AS TO ALL DEFENDANTS

       Pursuant to Federal Rule of Civil Procedure 41(a)(ii) and PTO No. 87, all parties

who have appeared stipulate to the dismissal of the present action with prejudice, with

each party to bear its own costs, on Plaintiff’s averment of the basis for dismissal as

follows:

                         YOU MUST CHECK ALL THAT APPLY

 տ Plaintiff lacks evidence of being administered a Taxotere (docetaxel) product
   manufactured by an MDL defendant;

 տ Plaintiff lacks evidence of suffering a permanent hair loss injury; and/or

 տ Other




     If warranted under the circumstances, Plaintiff may seek relief from this dismissal

of claims pursuant to Federal Rule of Civil Procedure 60(b).


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    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 652 of 657




     Dated this _______ day of _________, 2018


[Plaintiff’s counsel’s signature block]




                             CERTIFICATE OF SERVICE


       I hereby certify that on _______, ___, 2018, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to all counsel of record who are CM/ECF participants.

DATED: __________, ___, 2018                      /s/_________________________________




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      Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 653 of 657




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                            MDL NO. 2740
PRODUCTS LIABILITY LITIGATION
                                                                       SECTION “H” (5)
THIS DOCUMENT RELATES TO
ALL CASES

                       PRETRIAL ORDER NO. 
            REAPPOINTMENT OF DEFENSE LIAISON COUNSEL AND
      REAPPOINTMENT/APPOINTING OF SETTLEMENT COUNSEL POSITIONS

        Having considered the 505(b)(2) Defendants' Reapplication for Defense Liaison Counsel

and Settlement Counsel Positions 'RF 

        ,7,625'(5(' that John F. Olinde is reappointed as Defense Liaison Counsel

for the 505(b)(2) Defendants

        ,7 ,6 )857+(5 25'(5(' that the following individuals are appointed to

the 505(b)(2) Settlement Committee:

 1.      Accord Healthcare Inc. - Matthew P. Moriarty;

 2.      Actavis Pharma, Inc. - Rex A. Littrell;

 3.      Hospira, Inc., Hospira Worldwide, LLC formerly
         doing business as Hospira Worldwide, Inc. and Pfizer Inc. - Sheila L. Birnbaum;

 4.      McKesson Packaging Services, a division of McKesson Corporation - Habib
         Nasrullah;

 5.      Sandoz Inc. – Russell A. “Chip” Gaudreau, Chairperson; and

 6.      Sun Pharmaceutical Industries, Inc. f/k/a Caraco Pharmaceutical Laboratories, Ltd.
         – Daniel W. McGrath.

        New Orleans, Louisiana this WK day of 1RYHPEHU, 2018.




                                                    _________________________________
                                                    HONORABLE JANE T. MILAZZO
                                                    UNITED STATES DISTRICT JUDGE
     Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 654 of 657



                            IN THE UNITED STATES DISTRICT COURT FOR
                             THE EASTERN DISTRICT OF LOUIS IANA
---------------------------------------------------------
IN RE: T AX OT ER E ( DOC ET A XE L)                          :    MD L N O . 1 6 -27 40
PRODUCTS LIABILITY LITIGATION                                 :                         :
                                                              :    SECTION “N”(5)
-------------------------------------------------------       :
                                                              :    HON. JANE T. MILAZZO
THIS DOCUMENT RELATES TO                                      :
ALL CASES                                                     :
------------------------------------------------------        :

                         35(75,$/ORDER 12
       RE-APPOINTING PLAINTIFFS’ SETTLEMENT COMMITTEE MEMBERS

         %HIRUH WKH &RXUW LV 3ODLQWLIIV  0RWLRQ IRU 5HDSSRLQWPHQW RI 3ODLQWLIIV  6HWWOHPHQW

&RPPLWWHH0HPEHUV 'RF 

         IT IS ORDERED that the0RWLRQLV*5$17('DQGWKH Court hereby re-appoints

the following members to the Plaintiffs’ Settlement Committee: Ben W. Gordon, Jr., Mark

R. Niemeyer, Dennis C. Reich, Ashlea G. Schwarz, and Irving J. Warshauer.




         New Orleans, Louisiana, this WK day of November, 2018




                                                         HON. JANE TRICHE MILAZZO
                                                         UNITED STATES DISTRICT JUDGE
    Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 655 of 657




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                             MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                        SECTION “H” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                          PRETRIAL ORDER NO. 
             REAPPOINTMENT OF SANOFI-AVENTIS U.S. LLC AND
         SANOFI U.S. SERVICES INC.’S DEFENSE LIAISON COUNSEL AND
                      SETTLEMENT COUNSEL POSITIONS


       Having considered Defendants sanofi-aventis U.S. LLC and Sanofi U.S. Services Inc.’s

Reapplication for Defense Liaison Counsel and Settlement Counsel Positions 'RF 

       ,7,625'(5(' that Douglas J. Moore is reappointed as Defense Liaison

Counsel for Defendants sanofi-aventis U.S. LLC and Sanofi U.S. Services Inc.

       ,7,6)857+(525'(5(' that the following individuals are reappointed to the

Settlement Committee for sanofi-aventis U.S. LLC and Sanofi U.S. Services Inc.:

        Bruce H. Nagel;

        Harvey L. Kaplan;

        Jon Strongman; and

        Brian S. Rudick.

          New Orleans, Louisiana this WK day of 1RYHPEHU, 2018.




                                                 ________________________________
                                                 HONORABLE JANE TRICHE MILAZZO
                                                 UNITED STATES DISTRICT JUDGE
   Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 656 of 657




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                  )     MDL No. 16-2740
PRODUCTS LIABILITY LITIGATION                )
                                             )     SECTION: “H” (5)
                                             )
This document relates to all cases           )


                           PRETRIAL ORDER NO. 91

      IT IS ORDERED that the next general status conference and show cause

hearing will be held on January 18, 2019, at 10:00 a.m. in Judge Milazzo’s

courtroom (C224). It shall be preceded by a meeting with liaison and lead counsel at

8:30 a.m. The dial-in number for the general status conference and show cause

hearing is (800) 260-0712 and the access code is 461324.




                         New Orleans, Louisiana, this 20th day of December, 2018.




                                          HON. JANE TRICHE MILAZZO
                                          UNITED STATES DISTRICT JUDGE
   Case 2:19-cv-01365-JTM-MBN Document 8 Filed 02/28/19 Page 657 of 657




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                  )     MDL No. 16-2740
PRODUCTS LIABILITY LITIGATION                )
                                             )     SECTION: “H” (5)
                                             )
This document relates to all cases           )


                           PRETRIAL ORDER NO. 92

      IT IS ORDERED that the next general status conference and show cause

hearing will be held on February 21, 2019, at 10:00 a.m. in Judge Milazzo’s

courtroom (C224). It shall be preceded by a meeting with liaison and lead counsel at

8:30 a.m. The dial-in number for the general status conference and show cause

hearing is (800) 260-0712 and the access code is 463704.




                         New Orleans, Louisiana this 28th day of January, 2019.




                                          HON. JANE TRICHE MILAZZO
                                          UNITED STATES DISTRICT JUDGE
